                                                               Case 2:19-bk-23085-BB        Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49       Desc
                                                                                             Main Document    Page 1 of 377


                                                                1   JEFFREY A. KRIEGER (SBN 156535)
                                                                    JKrieger@GreenbergGlusker.com
                                                                2   KEITH PATRICK BANNER (SBN 259502)
                                                                    KBanner@GreenbergGlusker.com
                                                                3   GREENBERG GLUSKER FIELDS CLAMAN &
                                                                    MACHTINGER LLP
                                                                4   2049 Century Park East, Suite 2600
                                                                    Los Angeles, California 90067
                                                                5   Telephone:    310-553-3610
                                                                    Facsimile:    310-553-0687
                                                                6
                                                                    General Bankruptcy Counsel for Jason M. Rund,
                                                                7   Chapter 7 Trustee

                                                                8
                                                                                               UNITED STATES BANKRUPTCY COURT
                                                                9
                                                                                                CENTRAL DISTRICT OF CALIFORNIA
                                                               10
                                                                                                       LOS ANGELES DIVISION
GREENBERG GLUSKER FIELDS CLAMAN




                                                               11

                                                               12
                          2049 Century Park East, Suite 2600
                            Los Angeles, California 90067




                                                                    In re:                                          Case No. 2:19-bk-23085-BB
       & MACHTINGER LLP




                                                               13
                                                                    YOUTH POLICY INSTITUTE, INC.,                   Chapter 7
                                                               14
                                                                                             Debtor.                GREENBERG GLUSKER FIELDS
                                                               15                                                   CLAMAN & MACHTINGER LLP’S
                                                                                                                    FIRST AND FINAL APPLICATION
                                                               16                                                   FOR COMPENSATION AND
                                                                                                                    REIMBURSEMENT OF EXPENSES
                                                               17
                                                                                                                    DECLARATION OF KEITH PATRICK
                                                               18                                                   BANNER IN SUPPORT THEREOF

                                                               19
                                                                                                                    Date:       [TO BE SET]
                                                               20                                                   Time:       [TO BE SET]
                                                                                                                    Place:      Courtroom 1539
                                                               21                                                   Judge:      United States Bankruptcy Court
                                                                                                                                255 E. Temple Street
                                                               22                                                               Los Angeles, CA 90012

                                                               23

                                                               24

                                                               25

                                                               26

                                                               27

                                                               28
                                                                                                                                     FINAL FEE APPLICATION
                                                                                                                                    OF GREENBERG GLUSKER

                                                                    76214-00002/4176374.3
                                                               Case 2:19-bk-23085-BB            Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                                          Desc
                                                                                                 Main Document    Page 2 of 377


                                                                1                                                  TABLE OF CONTENTS
                                                                2                                                                                                                                   Page
                                                                3
                                                                    I.     INTRODUCTORY STATEMENT AND SUMMARY ..................................................... 1
                                                                4          A.   Local Rules and Guidelines .................................................................................... 1
                                                                5          B.   Summary Table ....................................................................................................... 2
                                                                    II.    JURISDICTION AND VENUE ......................................................................................... 2
                                                                6
                                                                    III.   OVERVIEW OF CHAPTER 7 CASE AND SERVICES PERFORMED ......................... 3
                                                                7          A.   Commencement of the Bankruptcy Case ................................................................ 3
                                                                8          B.   Retention of Greenberg Glusker ............................................................................. 3
                                                                           C.   Significant Events During the Reporting Period..................................................... 3
                                                                9
                                                                                1.      The Grand Jury Subpoena ........................................................................... 4
                                                               10               2.      The Debtor’s Headquarters ......................................................................... 5
GREENBERG GLUSKER FIELDS CLAMAN




                                                               11               3.      The Debtor’s 401(k) Plan ............................................................................ 6
                                                                                4.      Other Debtor Operational Facilities ............................................................ 8
                          2049 Century Park East, Suite 2600




                                                               12
                            Los Angeles, California 90067




                                                                                5.      The Debtor’s Numerous Storage Facilities ................................................. 9
       & MACHTINGER LLP




                                                               13               6.      Collection of Grant Receivables ............................................................... 10
                                                               14               7.      Resolution of Potential Preference Claims ............................................... 12
                                                                                        a.        Resolution of Various Potential Preference Claims ..................... 12
                                                               15
                                                                                        b.        Resolution of Potential Preference Claim Against California
                                                               16                                 Community Foundation................................................................. 13
                                                                                8.      Commercial Tort Litigation ...................................................................... 14
                                                               17
                                                                    IV.    NARRATIVE STATEMENT OF SERVICES RENDERED AND TIME
                                                               18          EXPENDED...................................................................................................................... 16
                                                                           A.   Services Rendered – Generally ............................................................................. 16
                                                               19
                                                                           B.   Services Rendered – Classification ....................................................................... 16
                                                               20               1.      Summary Table ......................................................................................... 16
                                                               21               2.      Case Administration (B110) ..................................................................... 17
                                                                                3.      Asset Analysis and Recovery (B120) ....................................................... 17
                                                               22
                                                                                4.      Asset Disposition (B130) .......................................................................... 18
                                                               23               5.      Relief from Stay (B140) ............................................................................ 18
                                                               24               6.      Meeting of and Communications with Creditors (B150).......................... 18
                                                                                7.      Fee/Employment Applications (B160) ..................................................... 18
                                                               25
                                                                                8.      Fee/Employment Objections (B170)......................................................... 19
                                                               26               9.      Avoidance Action Analysis (B180) .......................................................... 19
                                                               27               10.     Assumption/Rejection of Leases and Contracts (B185) ........................... 19
                                                                                11.     Other Contested Matters (B190) ............................................................... 19
                                                               28
                                                                                                                                                                INTERIM FEE APPLICATION OF
                                                                                                                                     ii
                                                                                                                                                                      GREENBERG GLUSKER
                                                               Case 2:19-bk-23085-BB              Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                                         Desc
                                                                                                   Main Document    Page 3 of 377


                                                                1                                                   TABLE OF CONTENTS
                                                                                                                         (continued)
                                                                2                                                                                                                                   Page
                                                                3

                                                                4                12.    Employee Benefits/Pensions (B220)......................................................... 19
                                                                5                13.    Financing/Cash Collateral (B230)............................................................. 20
                                                                                 14.    Tax Issues (B240) ..................................................................................... 20
                                                                6
                                                                                 15.    Claims Administration (B310) .................................................................. 20
                                                                7                16.    Grant Receivables (B410) ......................................................................... 20
                                                                8                17.    Commercial Tort Claims (B420) .............................................................. 21
                                                                             C.  Services Rendered – Detailed Time Entries.......................................................... 21
                                                                9
                                                                             D.  Services Rendered – Detailed Listings By Time Spent by Each
                                                               10                Professional ........................................................................................................... 21
GREENBERG GLUSKER FIELDS CLAMAN




                                                                             E.  Expenses Incurred ................................................................................................. 21
                                                               11
                                                                             F.  Statement of No Sharing ....................................................................................... 22
                          2049 Century Park East, Suite 2600




                                                               12   V.       REQUEST FOR COMPENSATION................................................................................ 22
                            Los Angeles, California 90067
       & MACHTINGER LLP




                                                               13   VI.      CONCLUSION ................................................................................................................. 23

                                                               14

                                                               15

                                                               16

                                                               17

                                                               18

                                                               19

                                                               20

                                                               21

                                                               22

                                                               23

                                                               24

                                                               25

                                                               26

                                                               27

                                                               28
                                                                                                                                                                     FINAL FEE APPLICATION
                                                                                                                                      iii
                                                                                                                                                                    OF GREENBERG GLUSKER

                                                                    76214-00002/4176374.3
                                                               Case 2:19-bk-23085-BB                 Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                                              Desc
                                                                                                      Main Document    Page 4 of 377


                                                                1                                                     TABLE OF AUTHORITIES
                                                                2                                                                                                                                           Page
                                                                3
                                                                    CASES
                                                                4
                                                                    In re Hunt,
                                                                5       238 F.3d 1098 (9th Cir. 2001)................................................................................................. 22

                                                                6   Kerr v. Screen Extras Guild,
                                                                       526 F.2d 67 (9th Cir. 1975)....................................................................................................... 1
                                                                7
                                                                    Stetson v. Grissom,
                                                                8       821 F.3d 1157 (9th Cir. 2016)................................................................................................... 1

                                                                9   Yermakov v. Fitzsimmons (In re Yermakov),
                                                                       718 F.2d 1465 (9th Cir. 1983)................................................................................................. 22
                                                               10
                                                                    STATUTES
GREENBERG GLUSKER FIELDS CLAMAN




                                                               11
                                                                    11 U.S.C. § 327 ............................................................................................................................. 22
                          2049 Century Park East, Suite 2600




                                                               12
                            Los Angeles, California 90067




                                                                    11 U.S.C. § 330 ......................................................................................................................... 1, 22
       & MACHTINGER LLP




                                                               13
                                                                    11 U.S.C. § 331 ............................................................................................................................... 1
                                                               14
                                                                    11 U.S.C. § 341 ............................................................................................................................... 3
                                                               15
                                                                    11 U.S.C. § 547 ............................................................................................................................. 12
                                                               16
                                                                    11 U.S.C. § 550 ............................................................................................................................. 12
                                                               17
                                                                    11 U.S.C. § 701 ............................................................................................................................... 3
                                                               18
                                                                    11 U.S.C. § 704 ............................................................................................................................... 7
                                                               19
                                                                    28 U.S.C. § 157 ............................................................................................................................... 2
                                                               20
                                                                    28 U.S.C. § 1334 ............................................................................................................................. 2
                                                               21
                                                                    28 U.S.C. § 1408 ............................................................................................................................. 2
                                                               22
                                                                    28 U.S.C. § 1409 ............................................................................................................................. 2
                                                               23
                                                                    OTHER AUTHORITIES
                                                               24
                                                                    Fed. R. Bankr. P. 2016 .................................................................................................................... 2
                                                               25
                                                                    Fed. R. Bankr. P. 6007 ................................................................................................................ 8, 9
                                                               26
                                                                    Local Bankruptcy Rule 2016-1 ........................................................................................... 1, 16, 21
                                                               27
                                                                    Local Bankruptcy Rule 6007-1 ................................................................................................... 8, 9
                                                               28
                                                                                                                                                                       INTERIM FEE APPLICATION OF
                                                                                                                                           iv
                                                                                                                                                                             GREENBERG GLUSKER
                                                               Case 2:19-bk-23085-BB          Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                           Desc
                                                                                               Main Document    Page 5 of 377


                                                                1            TO THE HONORABLE SHERI BLUEBOND, UNITED STATES BANKRUPTCY

                                                                2   JUDGE, THE DEBTOR, THE UNITED STATES TRUSTEE, AND ALL PARTIES-IN-

                                                                3   INTEREST HEREIN:

                                                                4            Greenberg Glusker Fields Claman & Machtinger LLP (“Greenberg Glusker”), general

                                                                5   bankruptcy counsel to Jason M. Rund, Chapter 7 Trustee (the “Trustee”) of the bankruptcy estate

                                                                6   of Debtor Youth Policy Institute, Inc. (“YPI” or the “Debtor”), hereby submits its first and final

                                                                7   application (this “Final Fee Application”) for compensation and reimbursement of expenses

                                                                8   advanced by Greenberg Glusker pursuant to section 330 of title 11 of the United States Code,

                                                                9   11 U.S.C. §§ 101, et seq. (the “Bankruptcy Code”) in conjunction with its work on behalf of the

                                                               10   bankruptcy estate and its representation of the Trustee.
GREENBERG GLUSKER FIELDS CLAMAN




                                                               11            By this Final Fee Application, Greenberg Glusker respectfully requests final allowance

                                                               12   and payment of the sum $567,802.66, consisting of $558,314.50 1 in fees and $9,488.16 in
                          2049 Century Park East, Suite 2600
                            Los Angeles, California 90067
       & MACHTINGER LLP




                                                               13   expenses for the period of November 11, 2019 through July 31, 2023 (the “Reporting Period”)

                                                               14   I.       INTRODUCTORY STATEMENT AND SUMMARY

                                                               15            A.        Local Rules and Guidelines

                                                               16            Local Bankruptcy Rule 2016-1 sets forth certain requirements that a professional must

                                                               17   satisfy in order to obtain an award for fees and costs. Additional standards to be employed in the

                                                               18   preparation of fee applications are set forth in the Guide to Applications for Retainers, and

                                                               19   Professional and Insider Compensation (the “Compensation Guidelines”) published by the Office

                                                               20   of the United States Trustee (the “U.S. Trustee”). Finally, cases applying sections 330 and 331 of

                                                               21   the Bankruptcy Code have called for courts to consider the twelve factors articulated by the Ninth

                                                               22   Circuit Court of Appeals in Kerr v. Screen Extras Guild, 526 F.2d 67, 70 (9th Cir. 1975), cert.

                                                               23   denied, 425 U.S. 951 (1976); see also Stetson v. Grissom, 821 F.3d 1157, 1167 (9th Cir. 2016)

                                                               24   (applying the Kerr factors). As set forth herein, this Final Fee Application complies with all

                                                               25   statutory provisions and applicable rules and guidelines.

                                                               26

                                                               27   1
                                                                     This amount includes an estimate of $3,000.00 for work through the closing of the bankruptcy case. As discussed
                                                                    herein, Greenberg Glusker requests permission, as may be required, to file a supplemental declaration for any such
                                                               28   additional fees incurred.
                                                                                                                                                       FINAL FEE APPLICATION
                                                                                                                             1
                                                                                                                                                      OF GREENBERG GLUSKER

                                                                    76214-00002/4176374.3
                                                               Case 2:19-bk-23085-BB          Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                           Desc
                                                                                               Main Document    Page 6 of 377


                                                                1            TO THE HONORABLE SHERI BLUEBOND, UNITED STATES BANKRUPTCY

                                                                2   JUDGE, THE DEBTOR, THE UNITED STATES TRUSTEE, AND ALL PARTIES-IN-

                                                                3   INTEREST HEREIN:

                                                                4            Greenberg Glusker Fields Claman & Machtinger LLP (“Greenberg Glusker”), general

                                                                5   bankruptcy counsel to Jason M. Rund, Chapter 7 Trustee (the “Trustee”) of the bankruptcy estate

                                                                6   of Debtor Youth Policy Institute, Inc. (“YPI” or the “Debtor”), hereby submits its first and final

                                                                7   application (this “Final Fee Application”) for compensation and reimbursement of expenses

                                                                8   advanced by Greenberg Glusker pursuant to section 330 of title 11 of the United States Code,

                                                                9   11 U.S.C. §§ 101, et seq. (the “Bankruptcy Code”) in conjunction with its work on behalf of the

                                                               10   bankruptcy estate and its representation of the Trustee.
GREENBERG GLUSKER FIELDS CLAMAN




                                                               11            By this Final Fee Application, Greenberg Glusker respectfully requests final allowance

                                                               12   and payment of the sum $567,802.66, consisting of $558,314.50 1 in fees and $9,488.16 in
                          2049 Century Park East, Suite 2600
                            Los Angeles, California 90067
       & MACHTINGER LLP




                                                               13   expenses for the period of November 11, 2019 through July 31, 2023 (the “Reporting Period”)

                                                               14   I.       INTRODUCTORY STATEMENT AND SUMMARY

                                                               15            A.        Local Rules and Guidelines

                                                               16            Local Bankruptcy Rule 2016-1 sets forth certain requirements that a professional must

                                                               17   satisfy in order to obtain an award for fees and costs. Additional standards to be employed in the

                                                               18   preparation of fee applications are set forth in the Guide to Applications for Retainers, and

                                                               19   Professional and Insider Compensation (the “Compensation Guidelines”) published by the Office

                                                               20   of the United States Trustee (the “U.S. Trustee”). Finally, cases applying sections 330 and 331 of

                                                               21   the Bankruptcy Code have called for courts to consider the twelve factors articulated by the Ninth

                                                               22   Circuit Court of Appeals in Kerr v. Screen Extras Guild, 526 F.2d 67, 70 (9th Cir. 1975), cert.

                                                               23   denied, 425 U.S. 951 (1976); see also Stetson v. Grissom, 821 F.3d 1157, 1167 (9th Cir. 2016)

                                                               24   (applying the Kerr factors). As set forth herein, this Final Fee Application complies with all

                                                               25   statutory provisions and applicable rules and guidelines.

                                                               26

                                                               27   1
                                                                     This amount includes an estimate of $3,000.00 for work through the closing of the bankruptcy case. As discussed
                                                                    herein, Greenberg Glusker requests permission, as may be required, to file a supplemental declaration for any such
                                                               28   additional fees incurred.
                                                                                                                                                       FINAL FEE APPLICATION
                                                                                                                             1
                                                                                                                                                      OF GREENBERG GLUSKER

                                                                    76214-00002/4176374.3
                                                               Case 2:19-bk-23085-BB        Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                  Desc
                                                                                             Main Document    Page 7 of 377


                                                                1             B.       Summary Table

                                                                2    Applicant                                   Greenberg Glusker Fields Claman & Machtinger LLP
                                                                     Date of Entry of Employment Order                     January 10, 2020 [Docket No. 66]
                                                                3
                                                                     Final Fee Application Period                      November 11, 2019 through July 31, 2023
                                                                4    Date Services Commenced                                     November 11, 2019
                                                                5    Date of Prior Fee Applications                                      N/A
                                                                     Advance Fee Payment Received                                       None
                                                                6
                                                                     Advance Fee Payment Remaining                                       N/A
                                                                7
                                                                     Fees Previously Awarded                                            None
                                                                8    Expenses Previously Awarded                                        None

                                                                9    Payments Made Pursuant to                                           N/A
                                                                     Prior Applications
                                                               10    Amount Remaining to Be Paid                                         N/A
GREENBERG GLUSKER FIELDS CLAMAN




                                                                     Pursuant to Prior Applications
                                                               11
                                                                     Amounts Requested in Prior                                          N/A
                                                               12    Applications, but Reserved
                          2049 Century Park East, Suite 2600
                            Los Angeles, California 90067
       & MACHTINGER LLP




                                                                     Total Amount of Fees Requested for                              $558,314.50
                                                               13    Reporting Period
                                                               14    Total Amount of Expenses Requested                               $9,488.16
                                                                     for Reporting Period
                                                               15    Total Blended Hourly Rate for                                     $563.54
                                                                     Reporting Period
                                                               16
                                                                     Current Balance of Bankruptcy                                  $4,177,844.43
                                                               17    Estate Funds

                                                               18
                                                                    II.       JURISDICTION AND VENUE
                                                               19
                                                                              The above-captioned bankruptcy court (the “Bankruptcy Court”) has jurisdiction over this
                                                               20
                                                                    Final Fee Application pursuant to 28 U.S.C. §§ 157 and 1334. This is a core proceeding pursuant
                                                               21
                                                                    to 28 U.S.C. § 157(b)(2). The venue of the case is proper pursuant to 28 U.S.C. §§ 1408 and 1409.
                                                               22
                                                                    Greenberg Glusker consents to the entry of a final judgment or order with respect to the Final Fee
                                                               23
                                                                    Application if it is determined that the Bankruptcy Court, absent consent of the parties, cannot enter
                                                               24
                                                                    a final order or judgment consistent with Article III of the United States Constitution. The statutory
                                                               25
                                                                    predicate for the relief requested herein is section 330 of the Bankruptcy Code and Rule 2016 of
                                                               26
                                                                    the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules” and each a “Bankruptcy
                                                               27
                                                                    Rule”).
                                                               28
                                                                                                                                             FINAL FEE APPLICATION
                                                                                                                      2
                                                                                                                                            OF GREENBERG GLUSKER

                                                                    76214-00002/4176374.3
                                                               Case 2:19-bk-23085-BB         Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49              Desc
                                                                                              Main Document    Page 8 of 377


                                                                1   III.     OVERVIEW OF CHAPTER 7 CASE AND SERVICES PERFORMED

                                                                2            A.        Commencement of the Bankruptcy Case

                                                                3            On November 5, 2019 (the “Petition Date”), the Debtor filed a voluntary petition (the

                                                                4   “Petition”) under chapter 7 of the Bankruptcy Code, commencing the within chapter 7 bankruptcy

                                                                5   case. The Debtor filed the Petition on an emergency basis without the required schedules,

                                                                6   statements and other case commencement documents listed in section 2.1(b) of the Court Manual.

                                                                7   The Debtor’s creditor matrix accompanying the Petition consists of approximately 356 pages and

                                                                8   lists approximately 2,760 parties. See BNC Certificate of Notice of Petition, Docket No. 6. After

                                                                9   obtaining an extension of the deadline to file its required disclosure schedules and statements (See

                                                               10   Docket No. 9), on December 3, 2019, the Debtor filed its Schedules, Statement of Financial
GREENBERG GLUSKER FIELDS CLAMAN




                                                               11   Affairs and other case commencement documents [Docket Nos. 15 & 16] (collectively,

                                                               12   “Schedules and SOFA”).
                          2049 Century Park East, Suite 2600
                            Los Angeles, California 90067
       & MACHTINGER LLP




                                                               13            On the Petition Date, the Trustee was duly appointed the chapter 7 trustee pursuant to

                                                               14   section 701 of the Bankruptcy Code. The first chapter 7 meeting of creditors pursuant to section

                                                               15   341(a) of the Bankruptcy Code (the “341(a) Meeting”) was held on December 11, 2019 at 9:00

                                                               16   a.m., at which the Debtor’s representatives appeared. The 341(a) Meeting was thereafter

                                                               17   continued from time to time until concluded on July 9, 2020. See Docket No. 146.

                                                               18            B.        Retention of Greenberg Glusker

                                                               19            On December 10, 2019, the Trustee filed his Chapter 7 Trustee’s Application to Employ

                                                               20   Greenberg Glusker Fields Claman & Machtinger LLP as General Bankruptcy Counsel [Docket

                                                               21   No. 29] (the “Employment Application”). On January 10, 2020, the Bankruptcy Court entered its

                                                               22   Order Approving Chapter 7 Trustee’s Application to Employ Greenberg Glusker Fields Claman

                                                               23   & Machtinger LLP as General Bankruptcy Counsel [Docket No. 66] (the “Employment Order”)

                                                               24   approving the Trustee’s employment of Greenberg Glusker as his general bankruptcy counsel,

                                                               25   effective as of November 11, 2019.

                                                               26            C.        Significant Events During the Reporting Period

                                                               27            From its inception, this chapter 7 bankruptcy case has presented unique challenges not

                                                               28   often encountered in chapter 7 cases. The Debtor was a nonprofit entity which, prior to the
                                                                                                                                            FINAL FEE APPLICATION
                                                                                                                      3
                                                                                                                                           OF GREENBERG GLUSKER

                                                                    76214-00002/4176374.3
                                                               Case 2:19-bk-23085-BB        Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                Desc
                                                                                             Main Document    Page 9 of 377


                                                                1   Petition Date operated at nearly 100 sites in the Los Angeles area, with a focus on the highest

                                                                2   need communities. In operating these programs, the Debtor was funded primarily through

                                                                3   sizeable federal and state government grants. In fact, the Debtor’s most recent publicly available

                                                                4   tax return discloses grants totaling more than $40 million for both fiscal years 2016/2017 and

                                                                5   2015/2016. In operating these programs, the Debtor maintained hundreds of employees, operated

                                                                6   from multiple locations, and worked closely with numerous schools and local, state and federal

                                                                7   government agencies to provide services to thousands of children and adults in the greater Los

                                                                8   Angeles area, ranging from after-school programs to day labor and employment programs.

                                                                9            As detailed in the corporate resolutions accompanying the Debtor’s Petition (See Docket

                                                               10   No. 1, the “Resolutions”), the Debtor’s collapse was swift and unexpected. In early 2019, an
GREENBERG GLUSKER FIELDS CLAMAN




                                                               11   audit revealed irregularities in expense reimbursements made to the former CEO, Dixon

                                                               12   Slingerland (“Mr. Slingerland”), and inaccurate disclosures and reports made in connection with
                          2049 Century Park East, Suite 2600
                            Los Angeles, California 90067
       & MACHTINGER LLP




                                                               13   the various grants the Debtor received. The Debtor’s Board of Directors therefore formed a

                                                               14   special committee and investigated these irregularities. Through its investigations, the special

                                                               15   committee concluded that Mr. Slingerland used the Debtor’s funds for unauthorized and personal

                                                               16   expenditures, and that he directed inaccurate reporting to certain government agencies. The

                                                               17   Trustee has learned that such irregularities strained ties with government agencies working with

                                                               18   YPI and resulted in a precipitous decrease in grant revenue. In addition, the special committee’s

                                                               19   investigations revealed that Mr. Slingerland’s personal use of YPI’s funds depleted YPI of at least

                                                               20   $1.9 million of company funds in the five years leading up to the bankruptcy case, which

                                                               21   immediately became the subject of a criminal investigation.

                                                               22            The amalgamation of the events leading up to the bankruptcy filing and the Debtor’s

                                                               23   unique and sizable operations presented a number of early administrative challenges for the

                                                               24   Trustee requiring extensive assistance from Greenberg Glusker, including those discussed below.

                                                               25                      1.   The Grand Jury Subpoena

                                                               26            The events detailed in the Debtor’s Resolutions, especially those relating to alleged

                                                               27   falsified and/or incorrect reporting to government agencies, prompted numerous government

                                                               28   agencies to launch investigations into the affairs of the Debtor and Mr. Slingerland. One such
                                                                                                                                             FINAL FEE APPLICATION
                                                                                                                       4
                                                                                                                                            OF GREENBERG GLUSKER

                                                                    76214-00002/4176374.3
                                                               Case 2:19-bk-23085-BB        Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                 Desc
                                                                                            Main Document    Page 10 of 377


                                                                1   investigation was initiated by the U.S. Department of Labor (the “DOL”), as to which the United

                                                                2   States Department of Justice (the “DOJ”) issued and served a grand jury subpoena on the Trustee

                                                                3   shortly after the Petition Date on November 26, 2019 (the “Grand Jury Subpoena”). The Grand

                                                                4   Jury Subpoena required immediate and ongoing attention of Greenberg Glusker and the Trustee

                                                                5   with respect to the Trustee’s obligations thereunder, certain of which are further discussed herein.

                                                                6                      2.   The Debtor’s Headquarters

                                                                7            According to the Debtor’s Schedule G, Item 2.146, the Debtor disclosed an unexpired

                                                                8   commercial lease (the “Beverly Lease”) with lessor MDB International Branding, LLC (the

                                                                9   “MDB”) relating to the Debtor’s lease of its headquarters located at 2707-11 Beverly Blvd., Los

                                                               10   Angeles, CA 90057 (the “Beverly Facility”). The Debtor’s Schedule G further indicates that
GREENBERG GLUSKER FIELDS CLAMAN




                                                               11   there were 35 months left on the Beverly Lease as of the Petition Date. Investigation into the

                                                               12   Beverly Lease revealed that the lease commenced December 1, 2017 and expired November 30,
                          2049 Century Park East, Suite 2600
                            Los Angeles, California 90067
       & MACHTINGER LLP




                                                               13   2022 with a base rent of approximately $67,000.00 per month, plus applicable charges. Prior to

                                                               14   the Petition Date, the Debtor paid rent through October 31, 2019.

                                                               15            Shortly after the Petition Date, Greenberg Glusker accompanied the Trustee and his field

                                                               16   agent to inspect the Beverly Facility and observed that the facility was a large commercial space

                                                               17   consisting of approximately 29,024 square feet of office space with a large attached warehouse,

                                                               18   loading dock and rooftop parking. As of the Petition Date, the Debtor no longer occupied the

                                                               19   Beverly Facility, but left a large amount of personal property onsite.

                                                               20            Complicating the Trustee’s administration of the Beverly Lease was the fact that prior to

                                                               21   the Petition Date, the Debtor and the non-profit organization Think Together (“TT”) entered into

                                                               22   an arrangement whereby TT began to occupy much of the space in the Beverly Facility formerly

                                                               23   occupied by the Debtor and began utilizing the Debtor’s personal property left at the site to run

                                                               24   TT’s own afterschool programs; all without the landlord’s consent.

                                                               25            An additional complication relating to the Beverly Facility was the Trustee’s obligations

                                                               26   under the Grand Jury Subpoena with respect to the plethora of documents left by the Debtor at the

                                                               27   facility. Greenberg Glusker and the Trustee coordinated with the DOL and the DOJ to permit

                                                               28   their respective agents full access to the Beverly Facility to retrieve all documents related to the
                                                                                                                                              FINAL FEE APPLICATION
                                                                                                                      5
                                                                                                                                             OF GREENBERG GLUSKER

                                                                    76214-00002/4176374.3
                                                               Case 2:19-bk-23085-BB        Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                  Desc
                                                                                            Main Document    Page 11 of 377


                                                                1   Grand Jury Subpoena. On January 16, 2020, approximately 15 agents of the DOL, the Los

                                                                2   Angeles Unified School District Office of the Inspector General (“LAUSD”), and the Federal

                                                                3   Bureau of Investigation (“FBI”) visited the Beverly Facility to inspect and retrieve responsive

                                                                4   documents and interview former employees of the Debtor. On January 23, 2020, the DOL,

                                                                5   LAUSD and FBI conducted a second site visit, during which approximately 16 agents, again,

                                                                6   inspected and retrieved documents responsive to the Grand Jury Subpoena.

                                                                7            Yet one more layer of complication relating to the Beverly Facility was the fact that the

                                                                8   City of Los Angeles (the “City”) asserted ownership over numerous documents located at the

                                                                9   property, consisting of intake sheets, reports and other documents maintained in connection with

                                                               10   the with various programs run by the Debtor pre-petition which were funded by the City
GREENBERG GLUSKER FIELDS CLAMAN




                                                               11   (collectively, the “City Program Materials”). Greenberg Glusker and the Trustee worked closely

                                                               12   with the City regarding the City Program Materials, including a site visit on March 11, 2020
                          2049 Century Park East, Suite 2600
                            Los Angeles, California 90067
       & MACHTINGER LLP




                                                               13   during which the City identified and labeled all documents constituting the City Program

                                                               14   Materials. Thereafter, the Trustee abandoned the City Program Materials pursuant to the Notice

                                                               15   of Chapter 7 Trustee’s Intent to Abandon Certain City Program Materials Relating to City of Los

                                                               16   Angeles Programs Located at Beverly Facility [Docket No. 99].

                                                               17            Ultimately, through a multi-month process, Greenberg Glusker and the Trustee worked

                                                               18   extensively with all parties-in-interest to resolve all issues with respect to Beverly Facility,

                                                               19   ensuring that, among other things, (i) the DOL retrieved all documents applicable to their

                                                               20   investigations; (ii) the City recovered their program materials; (iii) the Beverly Lease was

                                                               21   rejected; (iv) all remaining property was abandoned (as approved by order of the Bankruptcy

                                                               22   Court entered on March 13, 2020 [Docket No. 98]) and (iv) the administrative claim of the

                                                               23   landlord MDB was resolved pursuant to a compromise approved by order entered on June 4, 2020

                                                               24   [Docket No. 134].

                                                               25                      3.   The Debtor’s 401(k) Plan

                                                               26            Prior to the Petition Date, as disclosed in the Debtor’s Schedules and SOFA, the Debtor

                                                               27   maintained and served as the plan administrator for two separate retirement plans, a 401(k) plan

                                                               28   and a 403(b) plan (collectively, the “Debtor 401(k) Plan”). Through their investigation, the
                                                                                                                                              FINAL FEE APPLICATION
                                                                                                                       6
                                                                                                                                             OF GREENBERG GLUSKER

                                                                    76214-00002/4176374.3
                                                               Case 2:19-bk-23085-BB        Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                Desc
                                                                                            Main Document    Page 12 of 377


                                                                1   Trustee and Greenberg Glusker learned that the Debtor 401(k) Plans were very large plans,

                                                                2   consisting of approximately 331 employee accounts. Given that section 704(a)(11) of the

                                                                3   Bankruptcy Code requires that the Trustee to succeed Debtor as plan administrators under the

                                                                4   Debtor 401(k) Plan, it was the Trustee’s duty to ensure that the Debtor 401(k) Plan be

                                                                5   administered (with employee balances distributed to the employees) and dissolved in an orderly

                                                                6   fashion (the “401(k) Termination Process”).

                                                                7            Early in the chapter 7 bankruptcy case, the Trustee worked with Kravitz, LLC, an

                                                                8   Ascensus Company (“Kravitz”), which agreed to continue to perform certain services necessary

                                                                9   for the 401(k) Termination Process, as reflected in the Stipulation Between Chapter 7 Trustee and

                                                               10   Kravitz, LLC Regarding Wind-Down and Dissolution of Debtor’s 401(k) Plan [Docket No. 44]
GREENBERG GLUSKER FIELDS CLAMAN




                                                               11   filed on December 19, 2019. On December 23, 2019, the Bankruptcy Court entered its Order

                                                               12   Approving Stipulation Between Chapter 7 Trustee and Kravitz Inc. [sic] Regarding Wind-Down
                          2049 Century Park East, Suite 2600
                            Los Angeles, California 90067
       & MACHTINGER LLP




                                                               13   and Dissolution of the Debtor’s 401(k) Plan [Docket No. 55] pursuant to which the Bankruptcy

                                                               14   Court, among other things, (1) deemed the 401(k) Plan terminated; and (2) authorized the Trustee

                                                               15   to continue the 401(k) Termination Process utilizing the services of Kravitz.

                                                               16            Though Kravitz was able to assist in much of the 401(k) Termination Process, Kravitz was

                                                               17   unable to complete the final process of administering the accounts of approximately 186

                                                               18   participants in the 401(k) Plan that did not respond to the various notices relating to the 401(k)

                                                               19   Termination Process. To complete the process, the Trustee engaged the services of PenChecks

                                                               20   Trust Company of America (“PenChecks”) as reflected in the Stipulation Between Chapter 7

                                                               21   Trustee and PenChecks Trust Company of America Regarding Final Wind-Down and Dissolution

                                                               22   of the Debtor’s 401(k) Plan [Docket No. 151], which the Bankruptcy Court approved by order

                                                               23   entered September 8, 2020 [Docket No. 153].

                                                               24            Although the 401(k) Termination Process was time consuming and required a significant

                                                               25   administrative commitment of the bankruptcy estate, including extensive involvement of

                                                               26   Greenberg Glusker, the process completed in early 2020 and the 401(k) Plan has been terminated

                                                               27   and fully administered.

                                                               28
                                                                                                                                            FINAL FEE APPLICATION
                                                                                                                      7
                                                                                                                                           OF GREENBERG GLUSKER

                                                                    76214-00002/4176374.3
                                                               Case 2:19-bk-23085-BB        Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                Desc
                                                                                            Main Document    Page 13 of 377


                                                                1                      4.   Other Debtor Operational Facilities

                                                                2            Other than the Debtor’s headquarters at the Beverly Facility, the investigation of

                                                                3   Greenberg Glusker and the Trustee revealed that the Debtor also operated from a

                                                                4   distribution/warehouse facility located at 12843 Foothill Blvd., Unit B, Sylmar California 91342

                                                                5   (the “Sylmar Facility”). Greenberg Glusker accompanied the Trustee and his field agent to

                                                                6   inspect the Sylmar facility, a 7,000 square foot warehouse and office space, which had largely

                                                                7   been vacated by the Debtor. The Debtor also left behind certain personal property at the facility

                                                                8   consisting of fixtures, furniture, supplies, clothing, and office equipment, including computers,

                                                                9   printers, office supplies, and certain documents.

                                                               10            Following Greenberg Glusker’s and the Trustee’s further investigation into the Sylmar
GREENBERG GLUSKER FIELDS CLAMAN




                                                               11   Facility, including a detailed assessment of whether any documents left therein were responsive

                                                               12   to the Grand Jury Subpoena, Greenberg Glusker, on behalf of the Trustee filed the Chapter 7
                          2049 Century Park East, Suite 2600
                            Los Angeles, California 90067
       & MACHTINGER LLP




                                                               13   Trustee’s Motion for Order Approving: (1) Rejection of Unexpired Lease Relating to Sylmar

                                                               14   Facility; and (2) Abandonment of Personal Property Located at the Sylmar Facility [Docket No.

                                                               15   77] on January 21, 2020, which the Bankruptcy Court subsequently granted by order entered on

                                                               16   February 11, 2020 [Docket No. 87].

                                                               17            Around the same time that the Trustee and Greenberg Glusker investigated the Sylmar

                                                               18   Facility, the Trustee learned of a facility at San Fernando Gardens, 10995 Lehigh Ave., Pacoima,

                                                               19   CA 91331 (“San Fernando Gardens”) at which the Debtor conducted minor operations. The

                                                               20   Trustee and Greenberg Glusker learned that, pre-petition, the Debtor ceased operations from San

                                                               21   Fernando Gardens but left certain personal property at the site generally consisting of materials

                                                               22   and equipment used by the Debtor prepetition in conducting its programs, including books,

                                                               23   classroom-type materials, toys, furniture, computers, office supplies, equipment, games and

                                                               24   clothing. Once determined that such property was of inconsequential value to the bankruptcy

                                                               25   estate, Greenberg Glusker, on behalf of the Trustee, filed a Notice of Chapter 7 Trustee’s Intent to

                                                               26   Abandon Certain Personal Property of the Debtor Located at San Fernando Gardens [Docket

                                                               27   No. 79]. With no opposition filed thereto, the personal property at the San Fernando Gardens was

                                                               28   abandoned pursuant to Bankruptcy Rule 6007(a) and Local Bankruptcy Rule 6007-1.
                                                                                                                                             FINAL FEE APPLICATION
                                                                                                                        8
                                                                                                                                            OF GREENBERG GLUSKER

                                                                    76214-00002/4176374.3
                                                               Case 2:19-bk-23085-BB        Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                Desc
                                                                                            Main Document    Page 14 of 377


                                                                1            In late 2021, it was discovered that the Debtor also conducted minor operations from the

                                                                2   Pacoima Entrepreneurial Center located at 13420 Van Nuys Boulevard, Pacoima California

                                                                3   91331-3007 (the “PEC Premises”). The Debtor’s Schedules and SOFA disclosed a month-to-

                                                                4   month lease relating to PEC Premises with Valley Economic Development Corporation

                                                                5   (“VEDC”). Through investigation, the Trustee and Greenberg Glusker learned that the Debtor

                                                                6   previously conducted certain programs from the PEC Premises, but apparently abandoned the

                                                                7   space pre-petition. Further investigation revealed that the Debtor left certain personal property at

                                                                8   the PEC Premises generally consisting of materials and equipment used by the Debtor pre-

                                                                9   petition in conducting its programs, including documents, office furniture, computers, office

                                                               10   supplies and equipment. Once determined that such property was of inconsequential value to the
GREENBERG GLUSKER FIELDS CLAMAN




                                                               11   bankruptcy estate, Greenberg Glusker, on behalf of the Trustee, filed a Notice of Chapter 7

                                                               12   Trustee’s Intent to Abandon Certain Personal Property of the Debtor Located at the Pacoima
                          2049 Century Park East, Suite 2600
                            Los Angeles, California 90067
       & MACHTINGER LLP




                                                               13   Entrepreneurial Center [Docket No. 208]. With no opposition filed thereto, the personal property

                                                               14   at the PEC Premises was abandoned pursuant to Bankruptcy Rule 6007(a) and Local Bankruptcy

                                                               15   Rule 6007-1.

                                                               16                      5.   The Debtor’s Numerous Storage Facilities

                                                               17            Shortly after the Petition Date, the investigations of Greenberg Glusker and the Trustee

                                                               18   revealed that the Debtor stored personal property at numerous storage facilities. The Debtor’s

                                                               19   storage facilities included (collectively, the “Debtor Storage Units”): (i) twelve separate storage

                                                               20   units at Arleta Storage, 8919 Woodman Ave., Arleta, CA 91331 (the “Arleta Storage Units”);

                                                               21   (ii) a storage unit at Nova Storage, 13043 Foothill Blvd., Sylmar, CA 91342 (the “Nova Storage

                                                               22   Unit”); and (iii) a storage unit at Extra Space Storage located at 4728 Fountain Ave., Los

                                                               23   Angeles, CA 90029 (the “Extra Space Storage Unit”).

                                                               24            In addition to the administrative time required to inspect and evaluate the extensive

                                                               25   amount of personal property housed at the Debtor Storage Units, a prevailing complication to the

                                                               26   administration of the units was the Grand Jury Subpoena. Beyond evaluating whether the

                                                               27   personal property contained in the units could be administered for the benefit of creditors,

                                                               28   Greenberg Glusker and the Trustee were required to evaluate whether any of the units contained
                                                                                                                                             FINAL FEE APPLICATION
                                                                                                                      9
                                                                                                                                            OF GREENBERG GLUSKER

                                                                    76214-00002/4176374.3
                                                               Case 2:19-bk-23085-BB        Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49              Desc
                                                                                            Main Document    Page 15 of 377


                                                                1   documents that may be responsive to the Grand Jury Subpoena. As such, to the extent any unit

                                                                2   potentially contained documents responsive to the Grand Jury Subpoena, Greenberg Glusker

                                                                3   coordinated with the DOL for their inspection and recovery of documents prior to abandonment.

                                                                4   Similarly, Greenberg Glusker coordinated with the City and the State of California with respect to

                                                                5   certain of the Debtor Storage Units so that any City Program Materials could be retrieved, as

                                                                6   necessary. See e.g., Stipulation at Docket No. 124.

                                                                7            An example of the administrative coordination necessary for the Debtor Storage Units

                                                                8   relates to the Arleta Storage Units. After Greenberg Glusker, the Trustee and his field agent

                                                                9   inspected the twelve Arleta Storage Units, it was determined that four of the units may contain

                                                               10   documents responsive to the Grand Jury Subpoena. As such, on January 17, 2020, Greenberg
GREENBERG GLUSKER FIELDS CLAMAN




                                                               11   Glusker filed a notice on behalf of the Trustee abandoning only the eight units that appeared to

                                                               12   contain no such documents [Docket No. 74]. Thereafter, Greenberg Glusker coordinated with the
                          2049 Century Park East, Suite 2600
                            Los Angeles, California 90067
       & MACHTINGER LLP




                                                               13   DOL for an inspection of the remaining Arleta Storage Units. Once the inspection completed,

                                                               14   Greenberg Glusker filed a second notice on behalf of the Trustee abandoning the remaining units

                                                               15   [Docket No. 113].

                                                               16            Similar processes were followed regarding the remaining Debtor Storage Units, including

                                                               17   the Nova Storage Unit, which was actually leased under the name of a former employee of the

                                                               18   Debtor, which complicated the Trustee’s access to, and administration of the storage unit. As of

                                                               19   the date of this Final Fee Application, all of the Debtor Storage Units have been abandoned by the

                                                               20   bankruptcy estate. See Docket Nos. 74, 113, 122, 141.

                                                               21                      6.   Collection of Grant Receivables

                                                               22            In the Debtor’s Schedules and SOFA, the Debtor disclosed significant receivables due

                                                               23   from various grant agencies, including approximately $2.627 million in billed receivables due and

                                                               24   a total of approximately $5.675 in “unbilled” receivables relating to grants from the California

                                                               25   Department of Education (“CDE”) and/or the U.S. Department of Education (“DOE”). Following

                                                               26   their retention, Greenberg Glusker undertook extensive efforts to evaluate and collect these

                                                               27   receivables. During such efforts, Greenberg Glusker quickly learned that the receivables

                                                               28   disclosed by the Debtor appeared to be grossly overstated and many had been either already paid
                                                                                                                                           FINAL FEE APPLICATION
                                                                                                                    10
                                                                                                                                          OF GREENBERG GLUSKER

                                                                    76214-00002/4176374.3
                                                               Case 2:19-bk-23085-BB         Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49               Desc
                                                                                             Main Document    Page 16 of 377


                                                                1   or were subject to significant offsets.

                                                                2            For instance, with respect to the “unbilled” grants, Greenberg Glusker through its

                                                                3   investigation learned that such grant funds related to the 21st Century Community Learning

                                                                4   Center Program (the “21st Century Grant”) administered by the CDE and funded in part by the

                                                                5   DOE. Greenberg Glusker further learned that on September 20, 2019 – approximately six weeks

                                                                6   prior to the Petition Date – the Debtor received a 21st Century Grant payment totaling $4,176,182,

                                                                7   which was to be used only for programs relating to the 21st Century Grant for the period of July –

                                                                8   October 2019. Instead, Greenberg Glusker learned through investigation that the Debtor used

                                                                9   those funds to repay certain creditors and fund certain operations not related to the 21st Century

                                                               10   Grant, as detailed in the proof of claim filed by the CDE which has been designated by the Clerk
GREENBERG GLUSKER FIELDS CLAMAN




                                                               11   of the Bankruptcy Court as Claim No. 156 (as amended, the “CDE Claim”). Given this apparent

                                                               12   misuse of funds, there did not appear to any basis to recover any of the “unbilled” grant
                          2049 Century Park East, Suite 2600
                            Los Angeles, California 90067
       & MACHTINGER LLP




                                                               13   receivables disclosed by the Debtor in its Schedules and SOFA.

                                                               14            As to the approximately $2.627 million in “billed” receivables disclosed by the Debtor in

                                                               15   the Schedules and SOFA, Greenberg Glusker learned through extensive investigation that many

                                                               16   of the disclosed receivables had previously been paid to the Debtor pre-petition or were subject to

                                                               17   significant offsets due to the Debtor’s apparent misreporting and/or misuse of restricted funds.

                                                               18   An example of offsets relating to such grants is reflected in the proof of claim filed by the Los

                                                               19   Angeles Unified School District (the “LAUSD”) which has been designated by the Clerk of the

                                                               20   Bankruptcy Court as Claim No. 142 (the “LAUSD Claim”). As detailed in the LASD Claim,

                                                               21   though the LAUSD owed the Debtor a total of $399,115.53 as of the Petition Date, the Debtor

                                                               22   apparently owed the LAUSD a total of $693,216.00, which completely offset any pre-petition

                                                               23   receivable due to YPI.

                                                               24            A similar situation was faced with a receivable due from the City of Los Angeles

                                                               25   Economic & Workforce Development Department (the “EWDD”), which, according to the

                                                               26   Debtor’s disclosures, owed the Debtor approximately $660,000 for EWDD programs

                                                               27   administered by the Debtor. Following extensive discussions with the EWDD and the turnover of

                                                               28   numerous documents and information as part of EWDD’s audit process, EWDD maintained that
                                                                                                                                            FINAL FEE APPLICATION
                                                                                                                     11
                                                                                                                                           OF GREENBERG GLUSKER

                                                                    76214-00002/4176374.3
                                                               Case 2:19-bk-23085-BB          Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                Desc
                                                                                              Main Document    Page 17 of 377


                                                                1   the EWDD receivable was fully offset by amounts owed to the EWDD in excess of $1 million.

                                                                2   As such, the bankruptcy estate could not recover any portion of that receivable.

                                                                3            Ultimately, through extensive efforts, Greenberg Glusker was able to collect a total of

                                                                4   $590,583.11 in grant receivables, including a payment of $460,078.60 from the Housing +

                                                                5   Community Investment Department, City of Los Angeles (“HCID”) as the result of a compromise

                                                                6   approved by the Bankruptcy Court by order entered February 12, 2021 [Docket No. 178].

                                                                7                      7.     Resolution of Potential Preference Claims

                                                                8                             a.      Resolution of Various Potential Preference Claims

                                                                9            In connection with their engagement, Greenberg Glusker also investigated potential

                                                               10   preference and other avoidance claims held by the bankruptcy estate. Through investigation,
GREENBERG GLUSKER FIELDS CLAMAN




                                                               11   Greenberg Glusker confirmed that certain payments made by the Debtor during the 90-day pre-

                                                               12   petition period were potentially preferential transfers and may be subject to avoidance and
                          2049 Century Park East, Suite 2600
                            Los Angeles, California 90067
       & MACHTINGER LLP




                                                               13   recovery under sections 547 and 550 of the Bankruptcy Code, including the following pre-

                                                               14   petition transfers:

                                                               15                 •    A transfer to the Princeton Review (“TPR”) in the amount of $26,000 made on

                                                               16                      August 14, 2019;

                                                               17                 •    A transfer to Benuck & Rainey, Inc. (“B&R”) in the amount of $10,000 made on

                                                               18                      August 14, 2019;

                                                               19                 •    A transfer to Orenda Education, dba Principal’s Exchange (“Orenda”) in the

                                                               20                      amount of $34,420.00 made on August 14, 2019;

                                                               21                 •    A series of transfers to Vision Service Plan (“VSP”) totaling $23,118.92 made

                                                               22                      between August 19, 2019 and October 25, 2019; and

                                                               23                 •    A series of transfers to Kaiser Foundation Health Plan, Inc. (“Kaiser”) totaling

                                                               24                      $1,066,220.85 made between August 19, 2019 and October 24, 2019.

                                                               25                 •    A series of transfers to California Dental Network (“CDN”) totaling $20,487.60

                                                               26                      made between August 19, 2019 and October 25, 2019.

                                                               27             Following investigation into these potential preferential transfers, Greenberg Glusker

                                                               28   served demand letters on the transfer recipients and thereafter engaged in extensive good faith
                                                                                                                                               FINAL FEE APPLICATION
                                                                                                                        12
                                                                                                                                              OF GREENBERG GLUSKER

                                                                    76214-00002/4176374.3
                                                               Case 2:19-bk-23085-BB        Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49               Desc
                                                                                            Main Document    Page 18 of 377


                                                                1   negotiations with each. Taking into account various available defenses, Greenberg Glusker

                                                                2   worked with the potential preference recipients and achieved resolutions regarding each without

                                                                3   the need for litigation, resulting in an aggregate recovery to the estate of $362,574.90. Following

                                                                4   resolution of each of these potential preference claims, Greenberg Glusker, on behalf of the

                                                                5   Trustee, prepared and filed the Chapter 7 Trustee’s Omnibus Motion Under Fed. R. Bankr. P.

                                                                6   9010 for Order Approving Compromises with Certain Potential Preferential Transfer Recipients

                                                                7   [Docket No. 186] (“Omnibus 9019 Motion”), which was approved by an omnibus order entered

                                                                8   by the Bankruptcy Court on November 29, 2021 [Docket No. 201].

                                                                9            In addition to the preference claims addressed in the Omnibus 9019 Motion, the Trustee

                                                               10   separately resolved a potential preference claim against Principal Life Insurance Company for
GREENBERG GLUSKER FIELDS CLAMAN




                                                               11   $69,849.72 for pre-petition dental benefits provided to the Debtor’s employees. The Trustee

                                                               12   agreed to accept payment of $10,000 in satisfaction of any preference claim against the estate, as
                          2049 Century Park East, Suite 2600
                            Los Angeles, California 90067
       & MACHTINGER LLP




                                                               13   detailed in the Trustee’s Chapter 7 Trustee’s Motion Under Fed. R. Bankr. P. 9019 for Order

                                                               14   Approving Compromise with Principal Life Insurance Company [Docket No. 1925], which was

                                                               15   approved by order entered by the Bankruptcy Court on November 30, 2021 [Docket No. 203].

                                                               16                           b.     Resolution of Potential Preference Claim Against California

                                                               17                                  Community Foundation

                                                               18            In addition to the potential preference claims discussed above, Greenberg Glusker

                                                               19   investigated and pursued an additional potential preference claim against California Community

                                                               20   Foundation (“CCF”). In the Debtor’s Schedules and SOFA, specifically in response to question 3

                                                               21   of the SOFA, the Debtor’s response identified as “3.23”, disclosed a transfer in the 90-day pre-

                                                               22   petition period to CCF in the amount of $2,005,000 (the “CCF Transfer”). Upon further

                                                               23   investigation by Greenberg Glusker and the Trustee, it was confirmed that the CCF Transfer did

                                                               24   occur within the ninety (90) day period prior to the Petition Date, and that the Transfer was the

                                                               25   repayment, in full, of an unsecured loan in the amount of $2,000,000 made by CCF to YPI

                                                               26   pursuant to, among other documents, a promissory note and loan agreement each dated August

                                                               27   29, 2019 (the “CCF Loan”). The Trustee and Greenberg Glusker further learned that the CCF

                                                               28   Loan was an emergency, short-term bridge loan made to YPI to cover its operations, including
                                                                                                                                            FINAL FEE APPLICATION
                                                                                                                     13
                                                                                                                                           OF GREENBERG GLUSKER

                                                                    76214-00002/4176374.3
                                                               Case 2:19-bk-23085-BB        Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49              Desc
                                                                                            Main Document    Page 19 of 377


                                                                1   outstanding payroll and past-due payroll taxes.

                                                                2            Following initial investigations into the CCF Transfer and service of a demand, Greenberg

                                                                3   Glusker, on behalf of the Trustee, engaged in extensive good faith negotiations with CCF, though

                                                                4   their counsel Sasha Gurvitz, Esq. of KTBS Law LLP. As a result of those negotiations, a

                                                                5   settlement was reached, pursuant to which, among other things, CCF agreed to pay to the

                                                                6   bankruptcy estate a settlement payment in the amount of $400,000. After reaching the settlement,

                                                                7   Greenberg Glusker, on behalf of the Trustee, prepared and filed the Chapter 7 Trustee’s Motion

                                                                8   Under Fed. R. Bankr. P. 9019 for Order Approving Compromise with California Community

                                                                9   Foundation [Docket No. 219], which was approved by an order of the Bankruptcy Court entered

                                                               10   on March 8, 2022 [Docket No. 222].
GREENBERG GLUSKER FIELDS CLAMAN




                                                               11                      8.   Commercial Tort Litigation

                                                               12            Given the disclosures in the Debtor’s Resolutions and the ongoing criminal investigations
                          2049 Century Park East, Suite 2600
                            Los Angeles, California 90067
       & MACHTINGER LLP




                                                               13   initiated by the DOL, Greenberg Glusker and the Trustee investigated the potential claims against

                                                               14   Mr. Slingerland regarding the apparent theft of at least $1.9 million of the company’s funds in the

                                                               15   five years leading up to the bankruptcy case and his purported misreporting of information to the

                                                               16   various government agencies regarding non-profit grants. As part of this investigation,

                                                               17   Greenberg Glusker worked closely with Grobstein Teeple LLP, the forensic accounting firm

                                                               18   engaged by the special committee, which uncovered much of the apparent theft in their pre-

                                                               19   petition investigations. Greenberg Glusker further engaged in extensive negotiations with

                                                               20   Hanover Insurance Company (“Hanover”) in an effort to recover against a Hanover Crime

                                                               21   Coverage Policy NO. xx5902 (the “Crime Policy”) in effect at the time the apparent theft

                                                               22   occurred.

                                                               23            When the efforts to recover on the Crime Policy claim were unsuccessful, Greenberg

                                                               24   Glusker further investigated potential claims (the “Commercial Tort Claims”) against Mr.

                                                               25   Slingerland, his wife Susanne Steinke (“Ms. Steinke”), her professional corporation Suzanne M.

                                                               26   Steinke a Professional Corporation (“Steinke APC”), YPI’s former CFO Steven Schultz (“Mr.

                                                               27   Schultz”), and the Debtor’s former auditor Hill Morgan and Associates (“Hill Morgan”). With

                                                               28   respect to the Commercial Tort Claims, the Trustee and Greenberg Glusker ultimately engaged
                                                                                                                                           FINAL FEE APPLICATION
                                                                                                                      14
                                                                                                                                          OF GREENBERG GLUSKER

                                                                    76214-00002/4176374.3
                                                               Case 2:19-bk-23085-BB        Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                 Desc
                                                                                            Main Document    Page 20 of 377


                                                                1   special counsel The Law Office of Philip Dracht (“Dracht”) to pursue those claims on a

                                                                2   contingency fee arrangement. The Bankruptcy Court approved Dracht’s employment by order

                                                                3   entered on August 20, 2021 [Docket No. 184].

                                                                4            On November 3, 2021, Dracht filed a complaint on behalf of the bankruptcy estate against

                                                                5   Mr. Slingerland, Ms. Steinke, Steinke APC, Mr. Schultz, and Hill Morgan (collectively,

                                                                6   “Defendants”) initiating adversary no. 2:21-ap-01221-BB (the “Adversary Proceeding”). Prior to,

                                                                7   and after the commencement of the Adversary Proceeding, Greenberg Glusker provided

                                                                8   assistance to special counsel, as necessary, to further the litigation. In addition, the Adversary

                                                                9   Proceeding itself centered around extensive negotiations among the Trustee, Defendants and the

                                                               10   applicable insurance carriers RSUI Indemnity Company (“RSUI”, together with Hanover,
GREENBERG GLUSKER FIELDS CLAMAN




                                                               11   “Insurers”) and Hanover. Greenberg Glusker actively participated in such negotiations, which

                                                               12   included attendance at three separate mediations held during the course of the Adversary
                          2049 Century Park East, Suite 2600
                            Los Angeles, California 90067
       & MACHTINGER LLP




                                                               13   Proceeding with mediator Leonard Gumport, Esq., held on May 2, 2022, June 29, 2022 and

                                                               14   August 17, 2022. See Mediator’s Certificates at Adv. Docket Nos. 42, 56 and 60.

                                                               15            The multiple mediations and extensive negotiation between the Trustee and

                                                               16   Defendants/Insurers were fruitful and the parties entered into a settlement agreement whereby an

                                                               17   aggregate settlement payment of $4,886,796.00 was paid to the estate, as follows:

                                                               18   (a) $2,761,796.00 was funded by RSUI under the Non-Profit Organization Management Liability

                                                               19   Policy, policy no. xx9767; (b) $2,000,000.00 was funded by Hanover under the Hanover Excess

                                                               20   Advantage, policy no. xx1903; and (c) $125,000.00 was funded by Slingerland. The settlement

                                                               21   agreement between the Trustee and Defendants/Insurers was submitted by Greenberg Glusker to

                                                               22   the Bankruptcy Court through the Chapter 7 Trustee’s Motion Under Fed. R. Bankr. P. 9019 for

                                                               23   Order Approving Compromise with Dixon Slingerland, Steven Schultz, Suzanne Steinke, Suzanne

                                                               24   M. Steinke a Professional Corporation, Hill Morgan and Associates, LLP, RSUI Indemnity

                                                               25   Company and Hanover Insurance Company [Docket No. 240], which was approved by order of

                                                               26   the Bankruptcy Court entered on February 8, 2023 [Docket No. 246].

                                                               27

                                                               28
                                                                                                                                             FINAL FEE APPLICATION
                                                                                                                      15
                                                                                                                                            OF GREENBERG GLUSKER

                                                                    76214-00002/4176374.3
                                                               Case 2:19-bk-23085-BB         Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49              Desc
                                                                                             Main Document    Page 21 of 377


                                                                1   IV.      NARRATIVE STATEMENT OF SERVICES RENDERED AND TIME

                                                                2            EXPENDED

                                                                3            A.        Services Rendered – Generally

                                                                4            The services rendered by Greenberg Glusker in this bankruptcy case were integral to its

                                                                5   success. Greenberg Glusker, as general bankruptcy, was involved in every facet of this

                                                                6   bankruptcy case, and guided the Trustee through the chapter 7 process. All of Greenberg

                                                                7   Glusker’s work during the bankruptcy case has been highly beneficial to the bankruptcy estate

                                                                8   and its creditors. Therefore, Greenberg Glusker requests allowance, on a final basis, of all of the

                                                                9   fees and costs it has incurred during the Reporting Period and further requests approval of any

                                                               10   fees incurred following the Reporting Period subject to, as may be required, the filing of a
GREENBERG GLUSKER FIELDS CLAMAN




                                                               11   supplemental declaration sufficiently detailing such fees incurred.

                                                               12            B.        Services Rendered – Classification
                          2049 Century Park East, Suite 2600
                            Los Angeles, California 90067
       & MACHTINGER LLP




                                                               13            Pursuant to the Compensation Guidelines and Local Bankruptcy Rule 2016-1(a)(1)(D),

                                                               14   Greenberg Glusker has classified all services performed for which compensation is sought into

                                                               15   separate categories. Greenberg Glusker attempted to place the services performed in the category

                                                               16   that best relates to the service provided, however, because certain services may relate to one or

                                                               17   more categories, services pertaining to one category may in fact be included in another category.

                                                               18                      1.    Summary Table

                                                               19            The following is a summary of the time recorded in the activity category used by

                                                               20   Greenberg Glusker during the Reporting Period:

                                                               21
                                                                                            Project Categories                      Total Hours         Total Fees
                                                               22                                                                    Recorded
                                                               23    B110 – Case Administration                                           22.3      $       10,106.00
                                                                     B120 – Asset Analysis and Recovery                                   154.6     $       84,820.00
                                                               24
                                                                     B130 – Asset Disposition                                             31.7      $       16,831.00
                                                               25
                                                                     B140 – Relief from Stay                                               9.0      $        4,666.50
                                                               26    B150 – Meeting and Communications with Creditors                     15.4      $        7,695.50
                                                               27    B160 – Fee/Employment Application                                    28.8      $       16,583.00
                                                               28
                                                                                                                                             FINAL FEE APPLICATION
                                                                                                                       16
                                                                                                                                            OF GREENBERG GLUSKER

                                                                    76214-00002/4176374.3
                                                               Case 2:19-bk-23085-BB         Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49               Desc
                                                                                             Main Document    Page 22 of 377


                                                                1                           Project Categories                       Total Hours          Total Fees
                                                                                                                                      Recorded
                                                                2    B170 – Fee/Employment Objections                                     0.8        $          540.00
                                                                3    B180 – Avoidance Action Analysis                                    61.5        $       35,762.50
                                                                4    B185 – Assumption/Rejection of Leases and Contracts                 82.3        $       43,876.00
                                                                5    B190 – Other Contested Matters                                      86.8        $       48,280.50
                                                                     B220 – Employee Benefits/Pensions                                   13.9        $        7,355.00
                                                                6
                                                                     B230 – Financing/Cash Collateral                                    73.5        $       41,642.50
                                                                7
                                                                     B240 – Tax Issues                                                    7.4        $        4,230.50
                                                                8    B310 – Claims Administration and Objections                         35.8        $       21,440.50
                                                                9    B410 – Grant Receivables                                            76.8        $       40,992.00
                                                               10    B420 – Commercial Tort Claims                                      284.8        $      170,493.00
GREENBERG GLUSKER FIELDS CLAMAN




                                                                     Totals:                                                            985.4        $      555,314.50
                                                               11

                                                               12                      2.    Case Administration (B110)
                          2049 Century Park East, Suite 2600
                            Los Angeles, California 90067
       & MACHTINGER LLP




                                                               13            During the Reporting Period, Greenberg Glusker used this category to record time related

                                                               14   to general tasks related to the administration of the bankruptcy estate and/or miscellaneous

                                                               15   necessary tasks that did not fit clearly into any other fee category. Greenberg Glusker expended a

                                                               16   total of 22.3 hours with respect to services under this category during the Reporting Period,

                                                               17   representing a total of $10,106.00 in professional fees.

                                                               18                      3.    Asset Analysis and Recovery (B120)

                                                               19            During the Reporting Period, Greenberg Glusker used this subject category to record its

                                                               20   time related to investigation of potential litigation and/or insurance assets of the bankruptcy

                                                               21   estate. Greenberg Glusker’s extensive services in the category included the following: (a) pursuit

                                                               22   of potential preference claims, including drafting of demand letters and related negotiations;

                                                               23   (b) review and analysis of the Debtor’s accounting records; (c) analysis of insurance coverage

                                                               24   issues and the filing of insurance claims; and (d) investigation into the identification and recovery

                                                               25   of potential assets of the estate. Greenberg Glusker expended a total of 154.6 hours with respect

                                                               26   to services under this category during the Reporting Period, representing a total of $84,820.00 in

                                                               27   professional fees.

                                                               28
                                                                                                                                             FINAL FEE APPLICATION
                                                                                                                     17
                                                                                                                                            OF GREENBERG GLUSKER

                                                                    76214-00002/4176374.3
                                                               Case 2:19-bk-23085-BB        Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                 Desc
                                                                                            Main Document    Page 23 of 377


                                                                1                      4.   Asset Disposition (B130)

                                                                2            During the Reporting Period, Greenberg Glusker used this category to record time related

                                                                3   to: (a) abandonment of the Debtor Storage Units and other property of the Debtor; and

                                                                4   (b) analysis of potential sale of personal property assets of the Debtor. Greenberg Glusker

                                                                5   expended a total of 31.7 hours with respect to services under this category during the Reporting

                                                                6   Period, representing a total of $16,831 in professional fees.

                                                                7                      5.   Relief from Stay (B140)

                                                                8            During the Reporting Period, Greenberg Glusker used this subject category to record its

                                                                9   time primarily relating to negotiations and stipulations with certain creditors regarding relief from

                                                               10   stay to pursue applicable insurance. Greenberg Glusker expended a total of 9.0 hours with
GREENBERG GLUSKER FIELDS CLAMAN




                                                               11   respect to services under this category during the Reporting Period, representing a total of

                                                               12   $4,666.50 in professional fees.
                          2049 Century Park East, Suite 2600
                            Los Angeles, California 90067
       & MACHTINGER LLP




                                                               13                      6.   Meeting of and Communications with Creditors (B150)

                                                               14            During the Reporting Period, Greenberg Glusker used this category to record time related

                                                               15   to: (a) the questioning of the Debtor’s representative at the 341(a) Meeting and related

                                                               16   preparations; and (b) various communications with creditors of the Debtor. Greenberg Glusker

                                                               17   expended a total of 15.4 hours with respect to services under this category during the Reporting

                                                               18   Period, representing a total of $7,695.50 in professional fees.

                                                               19                      7.   Fee/Employment Applications (B160)

                                                               20            During the Reporting Period, Greenberg Glusker used this category to record time related

                                                               21   to: (a) Greenberg Glusker’s Employment Application; (b) the engagement agreement with, and

                                                               22   employment application for the Trustee’s special counsel, Dracht; (c) the employment

                                                               23   applications of the Trustee’s field agent and his accountant; (d) the final fee application of the

                                                               24   Trustee’s field agent; and (d) Greenberg Glusker’s preparation of this Final Fee Application.

                                                               25   Greenberg Glusker expended a total of 28.8 hours with respect to services under this category

                                                               26   during the Reporting Period, representing a total of $16,583.00 in professional fees.

                                                               27

                                                               28
                                                                                                                                             FINAL FEE APPLICATION
                                                                                                                      18
                                                                                                                                            OF GREENBERG GLUSKER

                                                                    76214-00002/4176374.3
                                                               Case 2:19-bk-23085-BB         Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49              Desc
                                                                                             Main Document    Page 24 of 377


                                                                1                      8.    Fee/Employment Objections (B170)

                                                                2            During the Reporting Period, Greenberg Glusker used this category to record the minimal

                                                                3   amount of time related to potential formal and informal objections to employment or fee

                                                                4   applications. Greenberg Glusker expended a total of 0.8 hours with respect to services under this

                                                                5   category during the Reporting Period, representing a total of $540.00 in professional fees.

                                                                6                      9.    Avoidance Action Analysis (B180)

                                                                7            During the Reporting Period, Greenberg Glusker used this category to record the amount

                                                                8   of time associated with reviewing the Debtor’s extensive financial records, its schedules and other

                                                                9   documents to investigate potential avoidance claims. Greenberg Glusker expended a total of 61.5

                                                               10   hours with respect to services under this category during the Reporting Period, representing a
GREENBERG GLUSKER FIELDS CLAMAN




                                                               11   total of $35,762.50 in professional fees.

                                                               12                      10.   Assumption/Rejection of Leases and Contracts (B185)
                          2049 Century Park East, Suite 2600
                            Los Angeles, California 90067
       & MACHTINGER LLP




                                                               13            During the Reporting Period, Greenberg Glusker used this subject category to record its

                                                               14   time related to the rejection of the Debtor’s real property leases and related matters. Greenberg

                                                               15   Glusker expended a total of 82.3 hours with respect to services under this category during the

                                                               16   Reporting Period, representing a total of $43,876.00 in professional fees.

                                                               17                      11.   Other Contested Matters (B190)

                                                               18            During the Reporting Period, Greenberg Glusker used this category to record time related

                                                               19   to communication and interactions with the DOL, DOJ and related agencies and other tasks

                                                               20   relating to the Grand Jury Subpoena. Greenberg Glusker expended a total of 86.8 hours with

                                                               21   respect to services under this category during the Reporting Period, representing a total of

                                                               22   $48,280.50 in professional fees.

                                                               23                      12.   Employee Benefits/Pensions (B220)

                                                               24            During the Reporting Period, Greenberg Glusker used this category to record time related

                                                               25   to the extensive process of winding down the Debtor 401(k) Plan, and the various filings

                                                               26   associated therewith. Greenberg Glusker expended a total of 13.9 hours with respect to services

                                                               27   under this category during the Reporting Period, representing a total of $7,355.00 in professional

                                                               28   fees.
                                                                                                                                            FINAL FEE APPLICATION
                                                                                                                     19
                                                                                                                                           OF GREENBERG GLUSKER

                                                                    76214-00002/4176374.3
                                                               Case 2:19-bk-23085-BB         Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49               Desc
                                                                                             Main Document    Page 25 of 377


                                                                1                      13.   Financing/Cash Collateral (B230)

                                                                2            During the Reporting Period, Greenberg Glusker used this category to record time related

                                                                3   to the negotiations and agreements with secured creditor Nonprofit Finance Fund, a New York

                                                                4   not-for-profit corporation (“NFF”), including time relating to the Stipulation Between Chapter 7

                                                                5   Trustee and Secured Creditor Nonprofit Finance Fund: (1) Authorizing Use of Cash Collateral;

                                                                6   (2) Granting Certain Carve Outs from Senior Lien in Favor of the Bankruptcy Estate; and

                                                                7   (3) Resolving Disputes Regarding Secured Claim and Extent of Lien [Docket No. 106] and

                                                                8   various filings related thereto. Greenberg Glusker expended a total of 73.5 hours with respect to

                                                                9   services under this category during the Reporting Period, representing a total of $41,642.50 in

                                                               10   professional fees.
GREENBERG GLUSKER FIELDS CLAMAN




                                                               11                      14.   Tax Issues (B240)

                                                               12            During the Reporting Period, Greenberg Glusker used this category to record time related
                          2049 Century Park East, Suite 2600
                            Los Angeles, California 90067
       & MACHTINGER LLP




                                                               13   to investigation and recovery of the Debtor’s prepetition overpayment of taxes under the Federal

                                                               14   Unemployment Tax Act. Greenberg Glusker expended a total of 7.4 hours with respect to

                                                               15   services under this category during the Reporting Period, representing a total of $4,230.50 in

                                                               16   professional fees.

                                                               17                      15.   Claims Administration (B310)

                                                               18            During the Reporting Period, Greenberg Glusker used this category to record time related

                                                               19   to: (a) analysis of the numerous proofs of claim filed in the bankruptcy case; and (b) resolution of

                                                               20   various claim through communications with creditors and the filing of stipulations related thereto.

                                                               21   Greenberg Glusker expended a total of 35.8 hours with respect to services under this category

                                                               22   during the Reporting Period, representing a total of $21,440.50 in professional fees.

                                                               23                      16.   Grant Receivables (B410)

                                                               24            During the Reporting Period, Greenberg Glusker used this category to record time related

                                                               25   to its extensive efforts to collect on the grant receivables disclosed by the Debtor, including

                                                               26   various filings related thereto. Greenberg Glusker expended a total of 76.80 hours with respect to

                                                               27   services under this category during the Reporting Period, representing a total of $40,992.00 in

                                                               28   professional fees.
                                                                                                                                             FINAL FEE APPLICATION
                                                                                                                     20
                                                                                                                                            OF GREENBERG GLUSKER

                                                                    76214-00002/4176374.3
                                                               Case 2:19-bk-23085-BB         Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                Desc
                                                                                             Main Document    Page 26 of 377


                                                                1                      17.   Commercial Tort Claims (B420)

                                                                2            During the Reporting Period, Greenberg Glusker used this category to record time related

                                                                3   to the pursuit of the Commercial Tort Claims, including extensive efforts to collect against the

                                                                4   Crime Policy and Greenberg Glusker’s role in the Adversary Proceeding and resolution thereof.

                                                                5   Greenberg Glusker expended a total of 284.8 hours with respect to services under this category

                                                                6   during the Reporting Period, representing a total of $170,493.00 in professional fees.

                                                                7            C.        Services Rendered – Detailed Time Entries

                                                                8            In accordance with Local Bankruptcy Rule 2016-1(a)(1)(E), attached as Exhibit 2 to the

                                                                9   accompanying Declaration of Keith Patrick Banner (the “Banner Declaration”) are Greenberg

                                                               10   Glusker’s invoices applicable to the Reporting Period detailing the date, description and time
GREENBERG GLUSKER FIELDS CLAMAN




                                                               11   spent for each service performed the Greenberg Glusker’s professionals.

                                                               12            D.        Services Rendered – Detailed Listings By Time Spent by Each Professional
                          2049 Century Park East, Suite 2600
                            Los Angeles, California 90067
       & MACHTINGER LLP




                                                               13            In accordance with Local Bankruptcy Rule 2016-1(a)(1)(E), (G), and (H), attached as

                                                               14   Exhibit 3 to the Banner Declaration is a listing of (i) each attorney employed by Greenberg

                                                               15   Glusker who rendered services to the Debtor during the Reporting Period, including their hourly

                                                               16   rate, total hours worked, total fees incurred during the Reporting Period, and (ii) the categories in

                                                               17   which services were rendered. Copies of the professional biographies for the professionals of

                                                               18   Greenberg Glusker primarily performing services during the Reporting Period are attached as

                                                               19   Exhibit 5 to the Banner Declaration.

                                                               20            E.        Expenses Incurred

                                                               21            Greenberg Glusker also maintained contemporaneous records of all actual and necessary

                                                               22   expenses incurred in the rendition of professional services to its clients in the ordinary course of

                                                               23   its business. During the Reporting Period Greenberg Glusker incurred a total of $9,488.16 in

                                                               24   actual and necessary expenses in connection with its representation of the Trustee. A summary of

                                                               25   expenses, by category, incurred by Greenberg Glusker during the Reporting Period is attached to

                                                               26   the Banner Declaration as Exhibit 4. Unless otherwise stated, the expenses reflected therein are at

                                                               27   actual costs.

                                                               28
                                                                                                                                             FINAL FEE APPLICATION
                                                                                                                      21
                                                                                                                                            OF GREENBERG GLUSKER

                                                                    76214-00002/4176374.3
                                                               Case 2:19-bk-23085-BB         Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49               Desc
                                                                                             Main Document    Page 27 of 377


                                                                1            F.        Statement of No Sharing

                                                                2            There is no agreement or understanding between Greenberg Glusker and any other entity

                                                                3   regarding the sharing of compensation received or to be received for services rendered to the

                                                                4   Trustee or in connection with the bankruptcy case, except among the partners of Greenberg

                                                                5   Glusker.

                                                                6   V.       REQUEST FOR COMPENSATION

                                                                7            Pursuant to section 330(a)(1) of the Bankruptcy Code, the Bankruptcy Court may award

                                                                8   to professionals who have been employed under section 327 of the Bankruptcy Code reasonable

                                                                9   compensation for their services, as well as reimbursement for all actual and necessary expenses.

                                                               10   11 U.S.C. § 330 (a)(1). As stated by the Ninth Circuit Court of Appeals in Yermakov v.
GREENBERG GLUSKER FIELDS CLAMAN




                                                               11   Fitzsimmons (In re Yermakov), 718 F.2d 1465, 1471 (9th Cir. 1983): “The primary method used

                                                               12   to determine a reasonable attorney fee in a bankruptcy case is to multiply the number of hours
                          2049 Century Park East, Suite 2600
                            Los Angeles, California 90067
       & MACHTINGER LLP




                                                               13   expended by an hourly rate.” See also In re Hunt, 238 F.3d 1098, 1005 (9th Cir. 2001) (citing In

                                                               14   re Yermakov). Section 330(a)(3) further provides that the Bankruptcy Court “shall consider the

                                                               15   nature, the extent and the value of such services, taking into account all relevant factors.” 11

                                                               16   U.S.C. § 330(a)(3). These factors include the time spent on the services, the rates charged for the

                                                               17   services, whether the services were necessary or beneficial, whether the services were performed

                                                               18   within a reasonable amount of time, whether the professional has demonstrated skill and

                                                               19   experience in its field, and whether the compensation is reasonably based on compensation

                                                               20   customarily charged by comparable professionals.

                                                               21            Greenberg Glusker submits that the professional services rendered to the Trustee during

                                                               22   the Reporting Period were reasonable, necessary and expected to benefit the bankruptcy estate

                                                               23   and its constituents at the time they were incurred. These services required a high level of

                                                               24   professional competence and expertise and have required an expenditure of substantial time and

                                                               25   effort. Greenberg Glusker believes its services were performed efficiently and effectively and

                                                               26   have contributed to the substantial assets being recovered to the bankruptcy estate for distribution

                                                               27   to creditors. The hourly rates billed by Greenberg Glusker are customary for the professional

                                                               28   services rendered in other matters and are fair and reasonable.
                                                                                                                                            FINAL FEE APPLICATION
                                                                                                                     22
                                                                                                                                           OF GREENBERG GLUSKER

                                                                    76214-00002/4176374.3
                                                               Case 2:19-bk-23085-BB             Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                            Desc
                                                                                                 Main Document    Page 28 of 377


                                                                1   VI.        CONCLUSION

                                                                2              Based on the foregoing, Greenberg Glusker respectfully requests that the Bankruptcy

                                                                3   Court (1) allow, on a final basis, compensation to Greenberg Glusker incurred during the

                                                                4   Reporting Period in the total amount of $567,802.66, consisting of $558,314.50 2 in professional

                                                                5   fees and $9,488.16 in actual and necessary expenses; (2) authorize, as necessary, Greenberg

                                                                6   Glusker to file a supplemental declaration of fees incurred after the Reporting Period incurred in

                                                                7   connection with the Final Fee Application and other related matters; (3) authorize the Trustee to

                                                                8   pay to Greenberg Glusker the amounts requested hereunder; and (4) grant to Greenberg Glusker

                                                                9   such other and further relief that the Bankruptcy Court deems necessary and appropriate.

                                                               10
GREENBERG GLUSKER FIELDS CLAMAN




                                                               11
                                                                        DATED: August 15, 2023                                  GREENBERG GLUSKER FIELDS CLAMAN
                                                               12
                          2049 Century Park East, Suite 2600




                                                                                                                                & MACHTINGER LLP
                            Los Angeles, California 90067
       & MACHTINGER LLP




                                                               13
                                                                                                                                By: /s/Keith Patrick Banner
                                                               14                                                                  JEFFREY A. KRIEGER
                                                                                                                                   KEITH PATRICK BANNER
                                                               15                                                                  General Bankruptcy Counsel for Jason M.
                                                                                                                                   Rund, Chapter 7 Trustee
                                                               16

                                                               17

                                                               18

                                                               19

                                                               20

                                                               21

                                                               22

                                                               23

                                                               24

                                                               25

                                                               26

                                                               27
                                                                    2
                                                                        This amount includes an estimate of $3,000.00 for work through the closing of the bankruptcy case.
                                                               28
                                                                                                                                                         FINAL FEE APPLICATION
                                                                                                                               23
                                                                                                                                                        OF GREENBERG GLUSKER

                                                                    76214-00002/4176374.3
                                                               Case 2:19-bk-23085-BB             Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                          Desc
                                                                                                 Main Document    Page 29 of 377


                                                                1                               DECLARATION OF KEITH PATRICK BANNER

                                                                2              I, Keith Patrick Banner, being fully sworn, hereby declare:

                                                                3              1.       I am an attorney at law duly licensed to practice in the State of California and

                                                                4   before this bankruptcy court (the “Bankruptcy Court”). I am a partner in the law firm of

                                                                5   Greenberg Glusker Fields Claman & Machtinger LLP (“Greenberg Glusker”), general bankruptcy

                                                                6   counsel for Jason M. Rund, Chapter 7 Trustee (the “Trustee”) of the bankruptcy estate of Debtor

                                                                7   Youth Policy Institute, Inc. (“YPI” or the “Debtor”). I have personal knowledge of the facts set

                                                                8   forth herein, or have gained knowledge of them from the records regularly maintained by my

                                                                9   firm, and if called upon to do so, could and would competently testify to these facts.

                                                               10              2.       I make this Declaration in support of the accompanying Greenberg Glusker Fields
GREENBERG GLUSKER FIELDS CLAMAN




                                                               11   Claman & Machtinger LLP’s First and Final Application for Compensation and Reimbursement
                          2049 Century Park East, Suite 2600




                                                               12   of Expenses (the “Final Fee Application”). 3 The Final Fee Application seeks approval of
                            Los Angeles, California 90067
       & MACHTINGER LLP




                                                               13   compensation for services rendered and reimbursement actual and necessary expenses incurred in

                                                               14   its representation of the Trustee for the period of November 11, 2019 through July 31, 2023 (the

                                                               15   “Reporting Period”). In further support of the Final Fee Application, I hereby incorporate herein

                                                               16   by reference the case docket and individual pleadings filed in the within chapter 7 bankruptcy

                                                               17   case.

                                                               18              3.       The Final Fee Application complies with the requirements set forth in the “Guide

                                                               19   to Applications for Retainers, and Professional and Insider Compensation (the “Compensation

                                                               20   Guidelines”) published by the Office of the United States Trustee.

                                                               21              4.       Greenberg Glusker commenced post-petition services for the Trustee on

                                                               22   November 11, 2019. On December 10, 2019, the Trustee filed his Chapter 7 Trustee’s

                                                               23   Application to Employ Greenberg Glusker Fields Claman & Machtinger LLP as General

                                                               24   Bankruptcy Counsel [Docket No. 29] (the “Employment Application”). On January 10, 2020, the

                                                               25   Bankruptcy Court entered its Order Approving Chapter 7 Trustee’s Application to Employ

                                                               26   Greenberg Glusker Fields Claman & Machtinger LLP as General Bankruptcy Counsel [Docket

                                                               27   No. 66] (the “Employment Order”) approving the Trustee’s employment of Greenberg Glusker as

                                                               28
                                                                    3
                                                                        Capitalized terms not otherwise defined herein have the meanings ascribed to them in the Final Fee Application.
                                                                    76214-00002/4898848.1
                                                                                                                               24                                        DECLARATION
                                                               Case 2:19-bk-23085-BB          Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                Desc
                                                                                              Main Document    Page 30 of 377


                                                                1   his general bankruptcy counsel, effective as of November 11, 2019. A true and correct copy of

                                                                2   the Employment Order is attached hereto as Exhibit 1 and is incorporated herein by this

                                                                3   reference.

                                                                4            5.        In the ordinary course of business, Greenberg Glusker maintains records of time

                                                                5   expended by lawyers and paralegals in rendering services to its clients. The time records were

                                                                6   made contemporaneously with the rendition of professional services and were prepared by the

                                                                7   professionals who have rendered these services. Attached hereto as Exhibit 2 and incorporated

                                                                8   herein by reference are true and correct copies of Greenberg Glusker’s time records for the

                                                                9   Reporting Period, as represented by the Greenberg Glusker’s invoices generated for the Reporting

                                                               10   Period. Exhibit 2 contains detailed invoices describing the services rendered, time expended, and
GREENBERG GLUSKER FIELDS CLAMAN




                                                               11   expenses incurred by Greenberg Glusker during the Reporting Period.
                          2049 Century Park East, Suite 2600




                                                               12            6.        Attached hereto as Exhibit 3 and incorporated herein by reference is a listing of
                            Los Angeles, California 90067
       & MACHTINGER LLP




                                                               13   (i) each attorney employed by Greenberg Glusker who rendered services to the Trustee during the

                                                               14   Reporting Period, including their hourly rate, total hours worked and total fees incurred during

                                                               15   the Reporting Period, and (ii) the categories in which services were rendered.

                                                               16            7.        The total blended hourly rate with respect to Greenberg Glusker’s work during the

                                                               17   Reporting Period is $563.54 per hour.

                                                               18            8.        Greenberg Glusker maintained contemporaneous records of all actual and

                                                               19   necessary expenses incurred in the rendition of professional services to its clients in the ordinary

                                                               20   course of its business. During the Reporting Period, Greenberg Glusker incurred a total of

                                                               21   $9,488.16 in actual and necessary expenses in connection with representing the Trustee in the

                                                               22   chapter 7 bankruptcy case. Attached as Exhibit 4 is a summary of expenses, by category,

                                                               23   incurred by Greenberg Glusker during the Reporting Period. Unless otherwise stated in

                                                               24   Exhibit 4, the expenses reflected therein are at actual costs.

                                                               25            9.        Attached collectively as Exhibit 5 hereto and incorporated herein by this reference

                                                               26   are copies of biographies of Greenberg Glusker’s professionals who primarily worked on this

                                                               27   matter during the Reporting Period.

                                                               28
                                                                                                                        25                                  DECLARATION
                                                                    76214-00002/4898848.1
                                                               Case 2:19-bk-23085-BB          Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49             Desc
                                                                                              Main Document    Page 31 of 377


                                                                1            10.       There is no agreement or understanding between Greenberg Glusker and any other

                                                                2   entity regarding the sharing of compensation received or to be received for services rendered to

                                                                3   the Debtor or in connection with the chapter 7 bankruptcy case, except among the partners of

                                                                4   Greenberg Glusker.

                                                                5            I declare under penalty of perjury under the laws of the United States of America that the

                                                                6   foregoing is true and correct.

                                                                7            Executed this 15th day of August 2023 at Los Angeles, California.

                                                                8

                                                                9

                                                               10                                                       KEITH PATRICK BANNER
GREENBERG GLUSKER FIELDS CLAMAN




                                                               11
                          2049 Century Park East, Suite 2600




                                                               12
                            Los Angeles, California 90067
       & MACHTINGER LLP




                                                               13

                                                               14

                                                               15

                                                               16

                                                               17

                                                               18

                                                               19

                                                               20

                                                               21

                                                               22

                                                               23

                                                               24

                                                               25

                                                               26

                                                               27

                                                               28
                                                                                                                      26                                 DECLARATION
                                                                    76214-00002/4898848.1
Case 2:19-bk-23085-BB   Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49   Desc
                        Main Document    Page 32 of 377




               Exhibit 1
                                                                    Case
                                                                    Case2:19-bk-23085-BB
                                                                         2:19-bk-23085-BB Doc
                                                                                          Doc265
                                                                                               66 Filed
                                                                                                   Filed01/10/20
                                                                                                        08/15/23 Entered
                                                                                                                   Entered01/10/20
                                                                                                                           08/15/2314:58:34
                                                                                                                                   18:10:49 Desc
                                                                                                                                            Desc
                                                                                          Main
                                                                                           MainDocument
                                                                                                 Document Page
                                                                                                             Page331of
                                                                                                                     of377
                                                                                                                        2


                                                                     1   JASON M. RUND, Chapter 7 Trustee (SBN 166514)
                                                                         SHERIDAN & RUND
                                                                     2   840 Apollo Street, Suite 351
                                                                         El Segundo, CA 90245                                   FILED & ENTERED
                                                                     3   Telephone: 310.640.1200
                                                                         Email: trustee@srlawyers.com
                                                                     4                                                                JAN 10 2020
                                                                         JEFFREY A. KRIEGER (SBN 156535)
                                                                     5   JKrieger@GreenbergGlusker.com
                                                                         KEITH PATRICK BANNER (SBN 259502)                       CLERK U.S. BANKRUPTCY COURT
                                                                                                                                 Central District of California
                                                                     6   KBanner@GreenbergGlusker.com                            BY wesley DEPUTY CLERK
                                                                         GREENBERG GLUSKER FIELDS CLAMAN
                                                                     7   & MACHTINGER LLP
                                                                         1900 Avenue of the Stars, 21st Floor
                                                                     8   Los Angeles, California 90067-4590
                                                                         Telephone: 310.553.3610
                                                                     9   Fax: 310.553.0687

                                                                    10   Proposed Attorneys for Jason M. Rund,
                                                                         Chapter 7 Trustee
GREENBERG GLUSKER FIELDS CLAMAN




                                                                    11
                             Los Angeles, California 90067-4590
                             1900 Avenue of the Stars, 21st Floor




                                                                    12                           UNITED STATES BANKRUPTCY COURT
       & MACHTINGER LLP




                                                                    13                              CENTRAL DISTRICT OF CALIFORNIA

                                                                    14                                   LOS ANGELES DIVISION

                                                                    15
                                                                    16   In re:                                   Case No. 2:19-bk-23085-BB

                                                                    17   YOUTH POLICY INSTITUTE, INC.,            Chapter 7

                                                                    18                    Debtor.                 ORDER APPROVING CHAPTER 7
                                                                                                                  TRUSTEE’S APPLICATION TO EMPLOY
                                                                    19                                            GREENBERG GLUSKER FIELDS
                                                                                                                  CLAMAN & MACHTINGER LLP AS
                                                                    20                                            GENERAL BANKRUPTCY COUNSEL

                                                                    21                                            [NO HEARING REQUIRED]

                                                                    22
                                                                    23
                                                                         ///
                                                                    24
                                                                         ///
                                                                    25
                                                                         ///
                                                                    26
                                                                         ///
                                                                    27
                                                                         ///
                                                                    28
                                                                                                                              ORDER APPROVING APPLICATION TO
                                                                                                                                            EMPLOY COUNSEL

                                                                                                                                             Exhibit 1, page 33
                                                                    Case
                                                                    Case2:19-bk-23085-BB
                                                                         2:19-bk-23085-BB Doc
                                                                                          Doc265
                                                                                               66 Filed
                                                                                                   Filed01/10/20
                                                                                                        08/15/23 Entered
                                                                                                                   Entered01/10/20
                                                                                                                           08/15/2314:58:34
                                                                                                                                   18:10:49 Desc
                                                                                                                                            Desc
                                                                                          Main
                                                                                           MainDocument
                                                                                                 Document Page
                                                                                                             Page342of
                                                                                                                     of377
                                                                                                                        2


                                                                     1           The Court having considered the Chapter 7 Trustee’s Application to Employ Greenberg

                                                                     2   Glusker Fields Claman & Machtinger LLP as General Bankruptcy Counsel [Docket No. 29] (the

                                                                     3   “Application”) filed by Jason M. Rund, Chapter 7 Trustee (the “Trustee”) of the bankruptcy

                                                                     4   estate of Debtor Youth Policy Institute, Inc. (the “Debtor”), which seeks an order authorizing the

                                                                     5   employment of Greenberg Glusker Fields Claman & Machtinger LLP (“Greenberg Glusker”) as

                                                                     6   general bankruptcy counsel pursuant to the terms of that certain engagement agreement (the

                                                                     7   “Engagement Agreement”) attached as Exhibit 2 to the Declaration of Jeffrey A. Krieger

                                                                     8   accompanying the Application; it appearing that this Court has jurisdiction over this matter

                                                                     9   pursuant to 28 U.S.C. §§ 157 and 1334; it appearing that due and adequate notice of the

                                                                    10   Application having been given under the circumstances; no timely response or request for hearing
GREENBERG GLUSKER FIELDS CLAMAN




                                                                    11   having been filed with respect to the Application; and after due deliberation and good cause
                             Los Angeles, California 90067-4590
                             1900 Avenue of the Stars, 21st Floor




                                                                    12   appearing therefor,
       & MACHTINGER LLP




                                                                    13           IT IS ORDERED THAT:

                                                                    14           1.      The Application is GRANTED.

                                                                    15           2.      The Trustee is authorized to retain Greenberg Glusker as his general bankruptcy

                                                                    16   counsel under section 327(a) of title 11 of the United States Code, 11 U.S.C. §§ 101, et seq. (the

                                                                    17   “Bankruptcy Code”) pursuant to the terms and conditions set forth in the Engagement Agreement

                                                                    18   and Application, effective as of November 11, 2019.

                                                                    19           3.      Any fees authorized to be paid to Greenberg Glusker hereunder are subject to the

                                                                    20   Court’s subsequent approval of interim and/or final fee applications made pursuant to sections
                                                                    21   330 and/or 331 of the Bankruptcy Code.

                                                                    22                                                 # # #

                                                                    23
                                                                    24
                                                                    25
                                                                         Date: January 10, 2020
                                                                                                                     &[!!5lµ
                                                                                                                        Sheri Bluebond
                                                                                                                        United States Bankruptcy Judge

                                                                    26
                                                                    27
                                                                    28
                                                                                                                                      ORDER APPROVING APPLICATION TO
                                                                                                                         2
                                                                                                                                                    EMPLOY COUNSEL

                                                                                                                                                         Exhibit 1, page 34
Case 2:19-bk-23085-BB   Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49   Desc
                        Main Document    Page 35 of 377




               Exhibit 2
        Case 2:19-bk-23085-BB                   Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                                     Desc
                                                Main Document    Page 36 of 377
                                                    GREENBERG GLUSKER
          2049 Century Park East                                                             General billing questions: (310) 201-7492
          Suite 2600                                                                                                    (310) 785-6842
          Los Angeles, CA 90067                                                                             Payments: (310) 785-6846
                                                                                                                       Fax: (310) 553-7018
                                                   Jason M. Rund, Chapter 7 Trustee

          Client # 76214                                                                                       Charges through: 11/30/19
          Invoice date: 12/10/19
          Invoice # 669983



                                                                                              Payments and
Matter                                                      Previous             Current       Retainers To          Adjustments
Number Name                                                 Balance             Charges           12/10/19           To 12/10/19        Amount Due
00002   Youth Policy Institute, Inc.                          $ 0.00         $ 23,785.00             $ 0.00               $ 0.00        $ 23,785.00

                                                       ___________          __________          __________           __________       ___________
             Bill Total                                      $ 0.00         $ 23,785.00              $ 0.00               $ 0.00       $ 23,785.00




                                                                         Jason M. Rund, Chapter 7 Trustee
                                                                         Sheridan & Rund
                                                                         840 Apollo Street
                                                                         Suite 351
                                                                         El Segundo, CA 90402




   Please reflect the client name and number, and the matters being paid. Payments received will apply first to accrued interest and then to
   costs and fees.
    Atty : JAK, #264 / P1052487                                          Page 1                                       Tax ID # XX-XXXXXXX
                                                                                                                     Exhibit 2, page 36
   Case 2:19-bk-23085-BB             Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                          Desc
                                     Main Document    Page 37 of 377
                                         GREENBERG GLUSKER

     2049 Century Park East                                                        General billing questions: (310) 201-7492
     Suite 2600                                                                                               (310) 785-6842
     Los Angeles, CA 90067                                                                        Payments: (310) 785-6846
                                                                                                          Fax: (310) 553-7018
     Client # 76214,     Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,     Youth Policy Institute, Inc.

     Invoice date: 12/10/19                                                                       Charges through: 11/30/19
     Invoice # 669983



                                                            FEES
 Date      Timekeeper                               Description of Services                       Hours         Amount

 B100 – Administration
    B110 – Case Administration
 11/13/19 JA Krieger           Meeting with debtor reps (2); follow up meeting with Trustee        2.50       $ 1,562.50
                               and estate accountant (.5)
 11/13/19 K Banner             Telephone call with M. Connor regarding her employment at           2.60       $ 1,235.00
                               YPI (.1); meeting with Robins Kaplan, Grobstein Teeple, and
                               Trustee regarding overview of matter, including Trustee team
                               conference following the same (2.5).
 11/14/19 K Banner             Review and revise meeting notes (.4); confer with J. Krieger        1.10        $ 522.50
                               regarding action items (.2); email exchange with Trustee and
                               team regarding the same (.1).
 11/17/19 JA Krieger           Review email from K. Meeks regarding 401k consultant                0.20        $ 125.00
                               contact info (.1); emails with J. Rund regarding same and
                               preparation of response to K. Meeks (.1).
 11/18/19 JA Krieger           Review email from Trustee to B. Schwartz and preparation of         0.40        $ 250.00
                               response to Trustee (.1); review email from Trustee and K.
                               Banner regarding site visit (.1); review email from Trustee
                               regarding landlord (.1); review email from K. Banner regarding
                               401(k) issues (.1)
 11/19/19 JA Krieger           Review email to Debtor's counsel regarding 401k termination         0.10         $ 62.50
                               issues and preparation of email to K. Banner regarding
                               insurance policy issues
 11/19/19 K Banner             Email exchange with K. Meek regarding 401(k) plan (.1).             0.10         $ 47.50
 11/22/19 JA Krieger           Follow up with K. Banner regarding resolution and next steps        0.50        $ 312.50
                               (.4); review email from J. Rund regarding stipulation regarding
                               court approval (.1)
           Total B110 – Case Administration                                                        7.50       $ 4,117.50


    B120 – Asset Analysis and Recovery
 11/11/19 K Banner             Initial review tax returns, crime policy insurance claim, D&O       2.00        $ 950.00
                               policy and other information provided by the Trustee (1.5);
                               telephone call with Trustee regarding initial thoughts in
                               advance of meeting (.5).
 11/12/19 JA Krieger           Conference with K. Banner regarding insurance policy issues         0.90        $ 562.50
                               (.3); conference with J. Sokol regarding D&O and crime policy
                               issues and evaluation of claim (.6).
 11/12/19 K Banner             Research regarding potential employment of financial advisor        1.40        $ 665.00
                               previously employed by Debtor (.5); conference with J. Krieger
                               regarding assessment of insurance policies, including
                               conference with J. Sokol regarding the same (.9).
 11/14/19 JA Krieger           Review email from H. Weg regarding follow up on meeting             0.10         $ 62.50
 11/14/19 JA Krieger           Conference call with R. Ordeneaux if Armanini regarding audit,      0.50        $ 312.50
Atty : JAK, #264 / P1052487                                Page 2                                 Tax ID # XX-XXXXXXX
                                                                                                 Exhibit 2, page 37
   Case 2:19-bk-23085-BB            Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                            Desc
                                    Main Document    Page 38 of 377
                                        GREENBERG GLUSKER

     2049 Century Park East                                                        General billing questions: (310) 201-7492
     Suite 2600                                                                                               (310) 785-6842
     Los Angeles, CA 90067                                                                        Payments: (310) 785-6846
                                                                                                           Fax: (310) 553-7018
     Client # 76214,     Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,     Youth Policy Institute, Inc.

     Invoice date: 12/10/19                                                                        Charges through: 11/30/19
     Invoice # 669983

                                                             FEES
 Date       Timekeeper                               Description of Services                       Hours         Amount
                               work papers, CDE request for documents, etc.
 11/14/19   K Banner           Review insurance quote and D&O policy (.5); telephone call           0.70        $ 332.50
                               with S. Thomas regarding amounts owed to Debtor and email
                               exchange with Trustee regarding the same (.2).
 11/14/19   K Banner           Telephone conference with J. Krieger and R. Ordeneax                 0.70        $ 332.50
                               regarding audit and other background information from
                               Arminino and conference with J. Krieger thereafter (1.0); draft
                               and revise notes relating to Armanino telephone conference
                               (.1).
 11/15/19   JA Krieger         Review correspondence between K. Banner and counsel for LA           0.30        $ 187.50
                               Unified (.1); review email string between R. Ordeneaux of
                               Armanino and Cal Dept of Education (.2).
 11/15/19   JA Krieger         Preparation of email memorandum to J. Sokol regarding                0.30        $ 187.50
                               insurance issues.
 11/15/19   JA Krieger         Preparation of email to J. Rund regarding Armanino conditions        0.40        $ 250.00
                               for approval of turnover of work papers to CDE (.1): telephone
                               conference(s) with J. Rund regarding same (.2); preparation of
                               email to R. Ordeneaux regarding changes (.1).
 11/15/19   K Banner           Email exchange with S. Thomas of LAUSD regarding payment             0.60        $ 285.00
                               of receivable (.1); email exchange with Trustee regarding
                               AUSA meeting (.1); email exchange with H. Wegg regarding
                               D&O policy and confer with J. Sokol regarding the same (.2);
                               confer with J. Krieger regarding tasks outstanding (.2).
 11/16/19   JA Krieger         Review email from H. Weg regarding 401k disbursement                 0.30        $ 187.50
                               consent (.1); preparation of email to Trustee and review
                               response regarding same and regarding Oshiro (.1); preparation
                               of email to H Weg and review email from Oshiro regarding site
                               visit on 11/22 (.1).
 11/18/19   JA Krieger         Preparation of email to J. Sokol regarding insurance analysis        0.10         $ 62.50
 11/18/19   JB Sokol           Review insurance policies and tender correspondence to               1.00        $ 675.00
                               analyze need for tail coverage.
 11/19/19   JA Krieger         Analyze insurance documents and tenders in preparation for           0.40        $ 250.00
                               call with J. Sokol.
 11/19/19   JA Krieger         Telephone conference(s) with J. Sokol and K. Banner regarding        0.90        $ 562.50
                               insurance policy analysis and extension issues
 11/19/19   JA Krieger         Telephone conference(s) with J. Rund regarding possible              0.20        $ 125.00
                               extension of D&O coverage.
 11/19/19   JA Krieger         Telephone conference(s) with T. Portas regarding insurance           0.50        $ 312.50
                               extension (.3); emails with T. Portas regarding excess D&O
                               policy (.1); preparation of email to J. Rund regarding same (.1)
 11/19/19   K Banner           Telephone call with B. Howard regarding receivables (.4);            1.40        $ 665.00
                               telephone conference with J. Sokol and J. Krieger regarding
                               insurance claims (1.0).
 11/20/19   K Banner           Review form from LAUSD regarding payment and email                   0.40        $ 190.00
                               exchange with the Trustee regarding the same (.2); email
                               exchange with S. Thomas regarding the same (.1); confer with
Atty : JAK, #264 / P1052487                               Page 3                                   Tax ID # XX-XXXXXXX
                                                                                                  Exhibit 2, page 38
   Case 2:19-bk-23085-BB              Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                             Desc
                                      Main Document    Page 39 of 377
                                          GREENBERG GLUSKER

     2049 Century Park East                                                           General billing questions: (310) 201-7492
     Suite 2600                                                                                                  (310) 785-6842
     Los Angeles, CA 90067                                                                           Payments: (310) 785-6846
                                                                                                              Fax: (310) 553-7018
     Client # 76214,     Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,     Youth Policy Institute, Inc.

     Invoice date: 12/10/19                                                                           Charges through: 11/30/19
     Invoice # 669983

                                                               FEES
 Date       Timekeeper                                Description of Services                         Hours         Amount
                                J. Krieger regarding D&O policy developments (.1).
 11/21/19   JA Krieger          Review emails from K. Banner to DOJ and to client regarding            0.10         $ 62.50
                                preservation of computer images and Covington call regarding
                                production and preservation of data
 11/21/19   JA Krieger          Review email from insurance broker regarding endorsement               0.20        $ 125.00
                                (.1); preparation of emails to J. Sokol and to Trustee regarding
                                same (.1).
 11/21/19   JA Krieger          Conference call with insurance brokers regarding tail and              0.40        $ 250.00
                                excess policies.
 11/21/19   JB Sokol            Review and analyze ERP endorsement to D&O policy and                   0.30        $ 202.50
                                policy coverage.
 11/21/19   K Banner            Draft email summary to Trustee regarding latest developments           0.70        $ 332.50
                                re potential D&O claims against directors (.3); telephone
                                conference with insurance brokers R. Porlas and B. Brennan
                                regarding policy extension and other matters (.4).
 11/22/19   K Banner            Attend site visit of YPI Beverly facility with Trustee and D.          4.30       $ 2,042.50
                                Fife (2.7); travel time relating to the same (1.5); email exchange
                                with D. Shallman regarding conference re D&O policy (.1).
 11/25/19   JA Krieger          Preparation for call with counsel for board of directors.              0.10         $ 62.50
 11/25/19   JA Krieger          Telephone conference(s) with counsel for board of directors            0.80        $ 500.00
                                regarding insurance coverage issues (.4); follow up with K.
                                Banner regarding same (.1); analyze insurance coverage
                                regarding tail timing (.3).
 11/25/19   K Banner            Telephone conference with J. Krieger and D. Shallman                   0.50        $ 237.50
                                regarding D&O claims and confer with J. Krieger thereafter.
 11/26/19   JA Krieger          Review DC nonprofit law regarding possible liability of                0.20        $ 125.00
                                directors.
 11/26/19   JA Krieger          Address issues regarding claims against CEO.                           0.10         $ 62.50
 11/26/19   JA Krieger          Preparation of email to J. Sokol regarding insurance issues.           0.20        $ 125.00
 11/26/19   K Banner            Email exchange with Trustee and S. Thomas of LAUSD                     1.50        $ 712.50
                                regarding accounts receivable (.2); research regarding liability
                                of directors for DC Non-Profits (.9); confer with J. Krieger
                                regarding the same (.2); email exchange with Trustee regarding
                                the same (.1); email exchange with D. Oshiro regarding LA
                                County receivable (.1).
 11/27/19   JA Krieger          Telephone conference(s) with J. Sokol regarding requirement of         0.40        $ 250.00
                                making claim under insurance policy.
 11/27/19   JB Sokol            Analyze need to file action against CEO before policy                  0.40        $ 270.00
                                expiration; discuss same with Jeff Kreiger.
            Total B120 – Asset Analysis and Recovery                                                  23.30     $ 12,517.50


    B160 – Fee/Employment Applications
 11/20/19 K Banner            Draft portions of GG employment application.                             0.50        $ 237.50
           Total B160 – Fee/Employment Applications                                                    0.50        $ 237.50


Atty : JAK, #264 / P1052487                                  Page 4                                   Tax ID # XX-XXXXXXX
                                                                                                     Exhibit 2, page 39
   Case 2:19-bk-23085-BB              Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                          Desc
                                      Main Document    Page 40 of 377
                                          GREENBERG GLUSKER

     2049 Century Park East                                                         General billing questions: (310) 201-7492
     Suite 2600                                                                                                (310) 785-6842
     Los Angeles, CA 90067                                                                         Payments: (310) 785-6846
                                                                                                           Fax: (310) 553-7018
     Client # 76214,     Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,     Youth Policy Institute, Inc.

     Invoice date: 12/10/19                                                                        Charges through: 11/30/19
     Invoice # 669983

                                                            FEES
 Date       Timekeeper                              Description of Services                        Hours         Amount

    B185 – Assumption/Rejection of Leases and Contracts
 11/18/19 K Banner             Extended email exchanges with Trustee regarding landlord of          0.20         $ 95.00
                               Beverly location, documents and site visit and other matters.
 11/19/19 K Banner             Telephone calls with S. Soloway regarding Beverly property           0.50        $ 237.50
                               lease (.4); email exchange with Trustee regarding the same (.1).
           Total B185 – Assumption/Rejection of Leases and Contracts                                0.70        $ 332.50


    B190 – Other Contested Matters (excluding assumption/rejection motions)
 11/15/19 JA Krieger           Review emails between K. Banner and trustee regarding                0.10         $ 62.50
                               communication with AUSA from dept. of Labor (.1).
 11/15/19 K Banner             Email exchange with G. Weiner regarding conference call (.1).        0.10         $ 47.50
 11/18/19 K Banner             Email exchange with B. Howard regarding YPI documents (.1);          0.80        $ 380.00
                               telephone conference with K. Jaimez, C. Penilla, and Trustee
                               regarding AUSA subpoenas (.4); telephone conference with
                               Trustee thereafter to discuss options (.3),
 11/19/19 JA Krieger           Review multiple emails with AUSA regarding subpoena for              0.10         $ 62.50
                               records
 11/19/19 K Banner             Draft email to AUSA regarding subpoena for documents and             0.40        $ 190.00
                               records (.2); email exchange with C. Penilla regarding the same
                               (.1); email exchange with A. Sarnoff regarding prior forensic
                               imaging of computers (.1).
 11/20/19 JA Krieger           Conference call with Covington regarding response to grand           0.50        $ 312.50
                               jury subpoena and insurance coverage (.3); follow up regarding
                               privilege analysis (.1); review email from Armanino regarding
                               turnover of work papers to CDE (.1).
 11/20/19 K Banner             Extended email exchange with D. Fife regarding requests of           1.00        $ 475.00
                               AUSA (.2); email exchange with K. Meek regarding conference
                               with Covington (.1); email exchange with K. Jaimez regarding
                               AUSA inquiries (.1); review proposed change to consent from
                               Arminino and email exchange with R. Ordeneaux (.2); email
                               exchange with Trustee regarding the same (.1); telephone
                               conference with Covington attorneys regarding criminal
                               subpoenas and other matters (.3).
 11/21/19 K Banner             Email exchange with D. Fife regarding computer imaging (.1);         0.30        $ 142.50
                               draft email to AUSA regarding status of data gathering (.2).
 11/26/19 K Banner             Email exchange with D. Shallman regarding access to Dixon            0.20         $ 95.00
                               computer (.1); email exchange with AUSA regarding subpoena
                               (.1).
 11/27/19 K Banner             Email exchange with D. Shallman regarding Dixon computer             0.10         $ 47.50
                               access.
           Total B190 – Other Contested Matters (excluding assumption/rejection motions)            3.60       $ 1,815.00


            Total B100 – Administration                                                            35.60     $ 19,020.00
Atty : JAK, #264 / P1052487                                Page 5                                  Tax ID # XX-XXXXXXX
                                                                                                  Exhibit 2, page 40
   Case 2:19-bk-23085-BB             Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                           Desc
                                     Main Document    Page 41 of 377
                                         GREENBERG GLUSKER

     2049 Century Park East                                                        General billing questions: (310) 201-7492
     Suite 2600                                                                                               (310) 785-6842
     Los Angeles, CA 90067                                                                        Payments: (310) 785-6846
                                                                                                           Fax: (310) 553-7018
     Client # 76214,     Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,     Youth Policy Institute, Inc.

     Invoice date: 12/10/19                                                                        Charges through: 11/30/19
     Invoice # 669983

                                                            FEES
 Date       Timekeeper                              Description of Services                        Hours         Amount


 B200 – Operations
    B220 – Employee Benefits/Pensions
 11/18/19 K Banner             Telephone calls with K. Meek regarding 401(k) plan (.4); email       0.50        $ 237.50
                               exchange with Trustee regarding the same (.1).
 11/20/19 K Banner             Email exchange with Trustee regarding T. Rowe Price (.1);            0.20         $ 95.00
                               email exchange with K. Meek regarding the same (.1).
 11/21/19 K Banner             Email exchange with K. Meek regarding 401k plan.                     0.10         $ 47.50
 11/22/19 JA Krieger           Conference call with trustee, consultant and debtor's counsel        0.80        $ 500.00
                               regarding 401(k) issues (.8).
 11/22/19 K Banner             Email exchange with K. Meek re 401(k) plan (.1); telephone           1.30        $ 617.50
                               conference with K. Meek, Trustee, D. Fife, B. Schwartz, and R.
                               Dineros (.9); confer with J. Krieger regarding the same (.3).
 11/25/19 JA Krieger           Review email from K. Banner regarding 401(k) stipulation (.1);       0.20        $ 125.00
                               conference with K. Banner regarding counterparty to stipulation
                               (.1).
 11/25/19 JA Krieger           Telephone conference(s) with J. Rund regarding 401(k) issues         1.30        $ 812.50
                               (.5); telephone conference(s) with K. Palm of Kravitz regarding
                               401(k) termination issues (.4); follow up with J. Rund regarding
                               same (.2); review email from K. Meek and emails from K. Palm
                               regarding 401(k) (.2)
 11/25/19 K Banner             Review proposed stipulation regarding 401k plan termination          1.30        $ 617.50
                               and email exchange with Trustee regarding the same (.3);
                               telephone conferences with Trustee and J. Krieger regarding
                               401k plan (.6); telephone conference with K. Palm of Kravitz
                               and J. Krieger regarding the same (.4).
 11/26/19 JA Krieger           Review email from Trustee and email from R. Dineros                  0.10         $ 62.50
                               regarding stepping down.
 11/26/19 JA Krieger           Conference with K. Banner regarding communication with T.            0.10         $ 62.50
                               Rowe through Debtor; review email to Debtor's counsel.
 11/26/19 JA Krieger           Conference call with Debtor and Debtor's CEO regarding 401K          0.30        $ 187.50
                               termination and information on 403(b) plan.
 11/26/19 K Banner             Email exchange with K. Meek regarding 401k plan (.1);                0.90        $ 427.50
                               telephone conference with Trustee regarding 401(k) plan (.4);
                               telephone conference with K. Meek and D. Grunfield regarding
                               the same (.4).
           Total B220 – Employee Benefits/Pensions                                                  7.10       $ 3,792.50


    B230 – Financing/Cash Collateral
 11/15/19 JA Krieger           Conference call with counsel for debtor's lender regarding bk        0.40        $ 250.00
                               issues.
 11/18/19 JA Krieger           Review email from counsel for lender and review issues with          0.30        $ 187.50
                               K. Banner(.2) ; preparation of email to client (.1).
 11/18/19 K Banner             Confer with J. Krieger regarding cash collateral and secured         0.30        $ 142.50
Atty : JAK, #264 / P1052487                                Page 6                                  Tax ID # XX-XXXXXXX
                                                                                                  Exhibit 2, page 41
   Case 2:19-bk-23085-BB               Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                           Desc
                                       Main Document    Page 42 of 377
                                           GREENBERG GLUSKER

     2049 Century Park East                                                          General billing questions: (310) 201-7492
     Suite 2600                                                                                                 (310) 785-6842
     Los Angeles, CA 90067                                                                          Payments: (310) 785-6846
                                                                                                             Fax: (310) 553-7018
     Client # 76214,       Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,       Youth Policy Institute, Inc.

     Invoice date: 12/10/19                                                                          Charges through: 11/30/19
     Invoice # 669983

                                                              FEES
 Date        Timekeeper                               Description of Services                        Hours         Amount
                                 claims.
 11/19/19    JA Krieger          Conference call with Trustee and K. Banner regarding letter          0.30        $ 187.50
                                 from Sidley & Austin and approach regarding timing and use of
                                 cash collateral
 11/19/19    K Banner            Telephone conference with J. Rund regarding secured claims           0.30        $ 142.50
                                 and other matters.
 11/25/19    JA Krieger          Review lender's notice of non-consent of use of cash collateral.     0.10         $ 62.50
             Total B230 – Financing/Cash Collateral                                                   1.70        $ 972.50


             Total B200 – Operations                                                                  8.80       $ 4,765.00


 Total fees for this matter:                                                                                    $ 23,785.00




Atty : JAK, #264 / P1052487                                  Page 7                                  Tax ID # XX-XXXXXXX
                                                                                                    Exhibit 2, page 42
   Case 2:19-bk-23085-BB              Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                                 Desc
                                      Main Document    Page 43 of 377
                                          GREENBERG GLUSKER

     2049 Century Park East                                                                General billing questions: (310) 201-7492
     Suite 2600                                                                                                       (310) 785-6842
     Los Angeles, CA 90067                                                                                Payments: (310) 785-6846
                                                                                                                  Fax: (310) 553-7018
     Client # 76214,    Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,    Youth Policy Institute, Inc.

     Invoice date: 12/10/19                                                                                Charges through: 11/30/19
     Invoice # 669983

                                           Summary Of Attorney Time By Task
                                              ______________________

                                                                Hours              Rate                  Value

             B110 – Case Administration
               K Banner                                           3.80           475.00              $ 1,805.00
               JA Krieger                                         3.70           625.00              $ 2,312.50

             B120 – Asset Analysis and Recovery
               K Banner                                          14.20           475.00              $ 6,745.00
               JA Krieger                                         7.40           625.00              $ 4,625.00
               JB Sokol                                           1.70           675.00              $ 1,147.50

             B160 – Fee/Employment Applications
               K Banner                                           0.50           475.00               $ 237.50

             B185 – Assumption/Rejection of Leases and Contracts
               K Banner                                          0.70            475.00               $ 332.50

             B190 – Other Contested Matters (excluding assumption/rejection motions)
               K Banner                                           2.90            475.00             $ 1,377.50
               JA Krieger                                         0.70            625.00               $ 437.50

             B220 – Employee Benefits/Pensions
               K Banner                                           4.30           475.00              $ 2,042.50
               JA Krieger                                         2.80           625.00              $ 1,750.00

             B230 – Financing/Cash Collateral
               K Banner                                           0.60           475.00               $ 285.00
               JA Krieger                                         1.10           625.00               $ 687.50

             Total                                               44.40                              $ 23,785.00




Atty : JAK, #264 / P1052487                                   Page 8                                      Tax ID # XX-XXXXXXX
                                                                                                         Exhibit 2, page 43
   Case 2:19-bk-23085-BB             Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                              Desc
                                     Main Document    Page 44 of 377
                                         GREENBERG GLUSKER

     2049 Century Park East                                                         General billing questions: (310) 201-7492
     Suite 2600                                                                                                (310) 785-6842
     Los Angeles, CA 90067                                                                         Payments: (310) 785-6846
                                                                                                              Fax: (310) 553-7018
     Client # 76214,      Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,      Youth Policy Institute, Inc.

     Invoice date: 12/10/19                                                                          Charges through: 11/30/19
     Invoice # 669983

                                                Summary By Task
                                             ______________________

                                             Task                                           Hours              Value
                                             B110 – Case Administration                      7.50         $ 4,117.50
                                             B120 – Asset Analysis and Recovery             23.30        $ 12,517.50
                                             B160 – Fee/Employment Applications              0.50           $ 237.50
                                             B185 – Assumption/Rejection of Leases           0.70           $ 332.50
                                             and Contracts
                                             B190 – Other Contested Matters (excluding       3.60         $ 1,815.00
                                             assumption/rejection motions)
                                             B220 – Employee Benefits/Pensions               7.10         $ 3,792.50
                                             B230 – Financing/Cash Collateral                1.70           $ 972.50
   Total                                                                                    44.40        $ 23,785.00




                                           RECAP OF AMOUNTS DUE
 Total Previous Balance                                                                              $ 0.00
                                                                                                              __________
 Balance Forward                                                                                                   $ 0.00
 Current Month Fees                                                                          $ 23,785.00
 Current Month Costs                                                                              $ 0.00
                                                                                                              __________
 Total Current Charges                                                                                        $ 23,785.00
                                                                                                              __________
 Total Due from Current Charges                                                                               $ 23,785.00
                                                                                                              __________
 AMOUNT DUE                                                                                                   $ 23,785.00




                                             Summary Of Attorney Time
                                             ______________________

             Attorney                                        Hours      Rate             Value
             J Krieger                                       15.70    625.00        $ 9,812.50
             J Sokol                                          1.70    675.00        $ 1,147.50
             K Banner                                        27.00    475.00       $ 12,825.00
             Total                                           44.40                 $ 23,785.00



Atty : JAK, #264 / P1052487                               Page 9                                     Tax ID # XX-XXXXXXX
                                                                                                    Exhibit 2, page 44
         Case 2:19-bk-23085-BB                 Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                                     Desc
                                               Main Document    Page 45 of 377

                                                      GREENBERG GLUSKER
          2049 Century Park East                                                            General billing questions: (310) 201-7492
          Suite 2600                                                                                                   (310) 785-6842
          Los Angeles, CA 90067                                                                            Payments: (310) 785-6846
                                                                                                                      Fax: (310) 553-7018
                                                  Jason M. Rund, Chapter 7 Trustee

          Client # 76214                                                                                      Charges through: 11/30/19
          Invoice date: 12/10/19
          Invoice # 669983




                                                                                              Payments and
Matter                                                     Previous             Current        Retainers To        Adjustments
Number      Name                                           Balance             Charges            12/10/19         To 12/10/19         Amount Due
00002       Youth Policy Institute, Inc.                     $ 0.00         $ 23,785.00              $ 0.00             $ 0.00         $ 23,785.00

                                                      ___________          __________          __________           __________       ___________
            Bill Total                                      $ 0.00         $ 23,785.00              $ 0.00               $ 0.00       $ 23,785.00


                                  PLEASE ENCLOSE THIS PAGE WITH YOUR REMITTANCE


                                           Wire instructions for the GENERAL account in US Dollars:
                                         Bank Name:               First Republic Bank
                                                                  111 Pine Street
                                                                  San Francisco, CA 94111
                                         SWIFT CODE:              FRBBUS6S
                                         ABA:                     321081669
                                         Account Name:            Greenberg Glusker Fields Claman &
                                                                  Machtinger
                                         Account No.:             #997-0005-4655




  Please reflect the client name and number, and the matters being paid. Payments received will apply first to accrued interest and then to
  costs and fees.
   Atty : JAK, #264 / P1052487                                         Page 10                                       Tax ID # XX-XXXXXXX
                                                                                                                    Exhibit 2, page 45
        Case 2:19-bk-23085-BB                   Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                                     Desc
                                                Main Document    Page 46 of 377
                                                    GREENBERG GLUSKER
          2049 Century Park East                                                             General billing questions: (310) 201-7492
          Suite 2600                                                                                                    (310) 785-6842
          Los Angeles, CA 90067                                                                             Payments: (310) 785-6846
                                                                                                                       Fax: (310) 553-7018
                                                   Jason M. Rund, Chapter 7 Trustee

          Client # 76214                                                                                       Charges through: 12/31/19
          Invoice date: 01/24/20
          Invoice # 671843



                                                                                              Payments and
Matter                                                      Previous             Current       Retainers To          Adjustments
Number Name                                                  Balance            Charges           01/24/20           To 01/24/20        Amount Due
00002   Youth Policy Institute, Inc.                     $ 23,785.00         $ 46,658.07             $ 0.00               $ 0.00        $ 70,443.07

                                                       ___________          __________          __________           __________       ___________
             Bill Total                                 $ 23,785.00         $ 46,658.07              $ 0.00               $ 0.00       $ 70,443.07




                                                                         Jason M. Rund, Chapter 7 Trustee
                                                                         Sheridan & Rund
                                                                         840 Apollo Street
                                                                         Suite 351
                                                                         El Segundo, CA 90402




   Please reflect the client name and number, and the matters being paid. Payments received will apply first to accrued interest and then to
   costs and fees.
    Atty : JAK, #264 / P1056359                                          Page 1                                       Tax ID # XX-XXXXXXX
                                                                                                                     Exhibit 2, page 46
   Case 2:19-bk-23085-BB              Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                            Desc
                                      Main Document    Page 47 of 377
                                          GREENBERG GLUSKER

     2049 Century Park East                                                          General billing questions: (310) 201-7492
     Suite 2600                                                                                                 (310) 785-6842
     Los Angeles, CA 90067                                                                          Payments: (310) 785-6846
                                                                                                             Fax: (310) 553-7018
     Client # 76214,     Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,     Youth Policy Institute, Inc.

     Invoice date: 01/24/20                                                                          Charges through: 12/31/19
     Invoice # 671843



                                                             FEES
 Date       Timekeeper                               Description of Services                         Hours         Amount

 B100 – Administration
    B110 – Case Administration
 12/02/19 JA Krieger           Conference with K. Banner regarding landlord call and impact           0.20        $ 125.00
                               on possible sale of personal property to Think Together as well
                               as lease disposition
 12/05/19 JA Krieger           Address issues regarding limit notice motion                           0.10          $ 62.50
 12/05/19 JA Krieger           Review and revise motion to limit notice                               0.30         $ 187.50
 12/05/19 K Banner             Draft and revise motion to limit notice (1.9); confer with J.          2.30       $ 1,092.50
                               Krieger regarding the same (.2); email exchange with Trustee
                               regarding the same (.1).
 12/06/19 K Banner             Draft and revise application for OST re limit notice motion and        2.70       $ 1,282.50
                               accompanying Rund Declaration (.8); review and revise motion
                               to limit notice (.5); email exchange with Trustee regarding the
                               same (.1); review schedule E/F and compile top 20 unsecured
                               creditors list (.4); draft proposed order on OST application (.3);
                               review court's calendar for available dates and telephone call
                               with chambers regarding the same (.2); review entered OST
                               order and draft notice of hearing on motion to limit notice (.4).
 12/09/19 K Banner              review appropriate parties for telephonic notice of motion to         0.70        $ 332.50
                               limit notice (.1); review case docket for appearances and
                               developments (.1); draft declaration re service of notice and
                               motion to limit notice (.5).
 12/10/19 K Banner             Draft and revise order limiting notice.                                0.40        $ 190.00
 12/11/19 JA Krieger           Attend hearing on motion to limit notice                               0.50        $ 312.50
 12/11/19 K Banner             Review order limiting scope of notice (.1); email exchange with        0.30        $ 142.50
                               mailing agent regarding service of the same (.2).
 12/13/19 K Banner             Email exchange with N. Voorhies regarding services of order            0.20         $ 95.00
                               limiting notice (.1); review certificate of notice prior to filing
                               (.1).
 12/24/19 K Banner             Review case docket for developments,                                   0.10          $ 47.50
           Total B110 – Case Administration                                                           7.80       $ 3,870.00


    B120 – Asset Analysis and Recovery
 12/02/19 JA Krieger           Review emails and correspondence between debtor and                    0.40        $ 250.00
                               insurance companies
 12/02/19 JA Krieger           Analyze insurance coverage issues (.2); preparation of email           0.40        $ 250.00
                               memorandum to K. Banner (.1); t/call(s) to T. Porlas from
                               Marsh (.1)
 12/02/19 K Banner             Review correspondence and other information regarding D&O              0.60        $ 285.00
                               insurance claim and confer with J. Krieger regarding the same
                               (.3); extended email exchange with K. Meek regarding
                               information request regarding D&O claims (.2); review further
Atty : JAK, #264 / P1056359                                 Page 2                                   Tax ID # XX-XXXXXXX
                                                                                                    Exhibit 2, page 47
   Case 2:19-bk-23085-BB            Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                          Desc
                                    Main Document    Page 48 of 377
                                        GREENBERG GLUSKER

     2049 Century Park East                                                      General billing questions: (310) 201-7492
     Suite 2600                                                                                             (310) 785-6842
     Los Angeles, CA 90067                                                                      Payments: (310) 785-6846
                                                                                                         Fax: (310) 553-7018
     Client # 76214,     Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,     Youth Policy Institute, Inc.

     Invoice date: 01/24/20                                                                      Charges through: 12/31/19
     Invoice # 671843

                                                             FEES
 Date       Timekeeper                              Description of Services                      Hours         Amount
                               correspondence from K. Meek regarding D&O claims (.1).
 12/03/19   K Banner           Confer with J. Krieger regarding D&O Claims.                       0.10         $ 47.50
 12/04/19   K Banner           Email exchange with K. Meek regarding Arleta storage (.1);         0.80        $ 380.00
                               email exchange with Trustee regarding the same (.1); email
                               exchange with D. Oshiro regarding Think Together's potential
                               purchase of assets (.1); preliminary review of schedules and
                               statements (.3); email exchange with Trustee regarding Iron
                               Mountain storage (.1); email exchange with K. Meek regarding
                               the same (.1).
 12/05/19   B Davidoff         Conference with Jeff Krieger and Keith Banner regarding            0.60        $ 435.00
                               analysis of recovery of A/R.
 12/05/19   JA Krieger         Address insurance issues                                           0.10         $ 62.50
 12/05/19   JA Krieger         Preparation of demand letter (.3); preparation of                  0.50        $ 312.50
                               correspondence to insurance company (.2)
 12/05/19   JA Krieger         Analyze correspondence from Hanover regarding insurance            0.60        $ 375.00
                               claim (.2); analyze insurance policy from RSUI (.4)
 12/05/19   JA Krieger         Emails with T. Porlas regarding call on insurance issues           0.10         $ 62.50
 12/05/19   K Banner           Telephone call with B. Howard regarding IRS payment and            1.40        $ 665.00
                               storage information (.3); email exchange Trustee regarding the
                               same (.2); email exchange with K. Meek regarding the same
                               (.1); review and analyze schedules and statements filed by
                               Debtor (.5); review information from Think Together regarding
                               cell phone service and email exchange with Trustee regarding
                               the same (.2); email exchange with Trustee regarding potential
                               employment of an individual to collect receivables (.1).
 12/06/19   JA Krieger         Telephone conference(s) with Marsh McLellan brokers                1.00        $ 625.00
                               regarding status of all claims and sorting out same
 12/06/19   JA Krieger         Review and respond to multiple emails from D. Brown, counsel       0.30        $ 187.50
                               for Hanover insurance
 12/06/19   K Banner           Telephone conference with Trustee and T. Shokrai regarding         0.60        $ 285.00
                               site and property inspections.
 12/09/19   JA Krieger         Telephone conference(s) with J. Rund regarding insurance           0.20        $ 125.00
                               policy issues and claims; and regarding result of call with
                               Marsh McLelland
 12/09/19   K Banner           Email exchange with C. Penilla regarding Ford Van (.1);            0.30        $ 142.50
                               review title and other information regarding the same (.1);
                               email exchange with the Trustee regarding the same (.1).
 12/10/19   D Parino           Research regarding board of director nonprofit liability in        0.50        $ 162.50
                               Washington DC
 12/10/19   JA Krieger         Revise correspondence to insurance company and demand to           0.50        $ 312.50
                               Slingerland (.3); preparation of email memorandum to J. Sokol
                               (.2)
 12/11/19   D Parino           Research RE Nonprofit director liability and collectibility of     3.70       $ 1,202.50
                               government grants by creditors
 12/12/19   JB Sokol           Prepare claim letters to Slingerland and insurer.                  0.40         $ 270.00
 12/12/19   K Banner           Email exchange with Trustee regarding potential collection of      2.40       $ 1,140.00
Atty : JAK, #264 / P1056359                              Page 3                                  Tax ID # XX-XXXXXXX
                                                                                                Exhibit 2, page 48
   Case 2:19-bk-23085-BB            Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                             Desc
                                    Main Document    Page 49 of 377
                                        GREENBERG GLUSKER

     2049 Century Park East                                                         General billing questions: (310) 201-7492
     Suite 2600                                                                                                (310) 785-6842
     Los Angeles, CA 90067                                                                         Payments: (310) 785-6846
                                                                                                            Fax: (310) 553-7018
     Client # 76214,     Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,     Youth Policy Institute, Inc.

     Invoice date: 01/24/20                                                                         Charges through: 12/31/19
     Invoice # 671843

                                                              FEES
 Date       Timekeeper                                Description of Services                       Hours         Amount
                               receivables (.1); telephone call with J. Krieger regarding
                               strategy re the same (.2); email exchange with S. Thomas
                               regarding collection of LAUSD receivable (.1); research
                               regarding proper procedure and form for paraprofessional
                               agreement for collection of receivables (.6); draft and revise
                               paraprofessional agreement re receivables (1.4).
 12/12/19   K Banner           Email exchange with K. Meek regarding property at San                 0.20         $ 95.00
                               Fernando Gardens facility (.1); email exchange with Trustee
                               regarding the same (.1).
 12/13/19   D Parino           Research RE Nonprofit director liability and collectibility of        2.00        $ 650.00
                               government grants by creditors
 12/13/19   JA Krieger         Review email from K. Banner regarding Armanino documents              0.20        $ 125.00
                               (.1); t/call(s) to R. Ordenaux regarding approval letter (.1)
 12/13/19   JA Krieger         Review and revise draft agreement with D. Oshiro (.2); review         0.40        $ 250.00
                               local rules regarding paraprofessionals (.1); conference with K.
                               Banner regarding necessary revisions (.1)
 12/13/19   JA Krieger         Telephone conference(s) with J. Sokol regarding revisions to          0.50        $ 312.50
                               insurance letter and demand (.2); revise same (.2); preparation
                               of email to trustee (.1)
 12/13/19   JB Sokol           Prepare claim letters to former CEO and other directors and           0.30        $ 202.50
                               officers.
 12/13/19   K Banner           Confer with J. Krieger regarding paraprofessional agreement re        1.70        $ 807.50
                               grant administration (.2); review and revise draft of the same
                               (.4); email exchange with Trustee regarding the same (.1);
                               telephone conference with B. Howard and J. Krieger regarding
                               grant receivables (.5); confer with J. Krieger regarding the same
                               (.2); Draft email to J. Brumley regarding property left with
                               HACLA (.2); email exchange with Trustee regarding the same
                               (.1).
 12/14/19   JA Krieger         Review email from Trustee regarding demand to Slingerland             0.10         $ 62.50
                               and correspondence to insurance company
 12/16/19   JA Krieger         Telephone conference(s) with D. Brown regarding insurance             0.30        $ 187.50
                               policies
 12/16/19   JA Krieger         Preparation of demand letter to CFO (.2); preparation of              0.90        $ 562.50
                               demand letter to Board members (.2); review schedules (.3);
                               preparation of email to J. Sokol regarding insurance issues (.2)
 12/16/19   JB Sokol           Prepare claim letters to former CFO and other directors.              0.50        $ 337.50
 12/17/19   JA Krieger         Review email from Sokol regarding insurance demands (.1);             0.50        $ 312.50
                               review policy language (.1); review and revise letters to
                               Officers and Directors (.3)
 12/17/19   JA Krieger         Review proof of loss forms and correspondence from Hanover            1.20        $ 750.00
                               (.3); preparation of email to D. Brown regarding same (.1);
                               telephone conference(s) with T. Porlas regarding MM
                               correspondence to insurance company from Nov. 5 (.2); further
                               emails with J. Sokol regarding demand letters (.2); revise
                               demand letters (.1); preparation of email summary to J. Rund
Atty : JAK, #264 / P1056359                                Page 4                                   Tax ID # XX-XXXXXXX
                                                                                                   Exhibit 2, page 49
   Case 2:19-bk-23085-BB              Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                            Desc
                                      Main Document    Page 50 of 377
                                          GREENBERG GLUSKER

     2049 Century Park East                                                          General billing questions: (310) 201-7492
     Suite 2600                                                                                                 (310) 785-6842
     Los Angeles, CA 90067                                                                          Payments: (310) 785-6846
                                                                                                             Fax: (310) 553-7018
     Client # 76214,     Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,     Youth Policy Institute, Inc.

     Invoice date: 01/24/20                                                                          Charges through: 12/31/19
     Invoice # 671843

                                                             FEES
 Date       Timekeeper                               Description of Services                         Hours         Amount
                                (.3)
 12/17/19   JA Krieger          Review email from J. Rund regarding board members address             0.10         $ 62.50
                                info; finalize and execute letter to insurance company
 12/17/19   JA Krieger          Conference call with Trustee regarding insurance issues               0.40        $ 250.00
 12/17/19   JB Sokol            Prepare claim letters to former CFO and other directors.              0.30        $ 202.50
 12/17/19   K Banner            Email exchange with K. Meek and B. Howard regarding                   1.30        $ 617.50
                                contact information for board members re D&O claims (.1);
                                review prior correspondence and schedules regarding storage
                                units in preparation for call with field agent (.3); telephone
                                conference with Trustee and T. Shokrai regarding storage
                                spaces and other property (.5); telephone conference with
                                Trustee and J. Krieger regarding commercial tort claims (.4).
 12/19/19   JA Krieger          Preparation of correspondence to insurance company regarding          0.20        $ 125.00
                                claim against Schultz (CFO)
 12/19/19   K Banner            Email exchange with T. Shokrai regarding Nova storage                 0.20         $ 95.00
                                inspection (.1); email exchange with J. Brown regarding the
                                same (.1).
 12/20/19   JA Krieger          Emails with brokers regarding policy expiration, etc.                 0.30        $ 187.50
 12/20/19   K Banner            Draft correspondence to S. Thomas of LAUSD regarding                  0.50        $ 237.50
                                receivable and contract and other matters with the LAUSD (.2);
                                email exchange with Trustee regarding the same (.1); telephone
                                call with S. Thomas regarding the same (.2).
 12/23/19   JA Krieger          Telephone conference(s) with B. Brennan and T. Porlas                 2.20       $ 1,375.00
                                regarding additional insurance policies (.5); telephone
                                conference(s) with J. Rund regarding consideration of
                                extensions (.6); preparation of emails to brokers (.1); follow up
                                conference call with brokers and J. Rund (.2); preparation of
                                email to secured lender regarding extension of coverage (.2);
                                review email from lenders' counsel and respond (.2);
                                preparation of modified letters to Slingerland, Schultz and
                                insurance company (.4)
 12/24/19   K Banner            Email exchange with T. Shokrai regarding personal property at         0.20         $ 95.00
                                Beverly facility (.1); email exchange with G. Weiner regarding
                                the same (.1).
            Total B120 – Asset Analysis and Recovery                                                 30.00     $ 15,480.00


    B130 – Asset Disposition
 12/04/19 JA Krieger            Conference with K. Banner regarding contact from landlord             0.20        $ 125.00
                                and timing of sale of assets and need to discuss with lender
 12/09/19   JA Krieger          Conference with Trustee regarding analysis of sale of physical        0.10         $ 62.50
                                assets
            Total B130 – Asset Disposition                                                            0.30        $ 187.50


    B150 – Meetings of and Communications with Creditors
Atty : JAK, #264 / P1056359                                 Page 5                                   Tax ID # XX-XXXXXXX
                                                                                                    Exhibit 2, page 50
   Case 2:19-bk-23085-BB              Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                            Desc
                                      Main Document    Page 51 of 377
                                          GREENBERG GLUSKER

     2049 Century Park East                                                          General billing questions: (310) 201-7492
     Suite 2600                                                                                                 (310) 785-6842
     Los Angeles, CA 90067                                                                          Payments: (310) 785-6846
                                                                                                             Fax: (310) 553-7018
     Client # 76214,     Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,     Youth Policy Institute, Inc.

     Invoice date: 01/24/20                                                                          Charges through: 12/31/19
     Invoice # 671843

                                                              FEES
 Date     Timekeeper                                 Description of Services                         Hours         Amount
 12/04/19 JA Krieger           Preparation of email to K. Banner regarding 341(a) and review          0.20        $ 125.00
                               response (.1); review email from J. Rund regarding 341(a) (.1)
 12/05/19   K Banner           Telephone call with K. Haff from Impact Inventory regarding            0.10         $ 47.50
                               their claim.
 12/09/19   K Banner           Email exchange with J. Copeland regarding Impaq proof of               0.10         $ 47.50
                               claim.
 12/10/19   K Banner           Telephone call with K. Meek regarding 341(a) (.2); review              0.80        $ 380.00
                               schedules and SOFA in preparation for 341(a) (.6).
 12/11/19   K Banner           Review Debtor's schedules and statements in advance of 341(a)          5.40       $ 2,565.00
                               (.6); confer with the Trustee prior to and following 341(a) (.5);
                               conduct 341(a) meeting of creditors (2.5); travel time relating to
                               the same (1.5); telephone call with K. Meek regarding the same
                               (.1); confer with J. Krieger regarding the same (.2).
 12/12/19   K Banner           Email exchange with K. Meek regarding continued 341(a).                0.10         $ 47.50
 12/13/19   K Banner           Draft correspondence to A. Rukhadze regarding City Year's              0.30        $ 142.50
                               demand for payment (.2); review petition and creditor matrix
                               for service of the same on City Year (.1).
 12/22/19   JA Krieger         Review email from sub teachers rep                                     0.10         $ 62.50
 12/23/19   K Banner           Draft email to S. McKenzie regarding teachers on reserve               0.20         $ 95.00
                               claim.
 12/24/19   K Banner           Draft letter to T. Stanton regarding claim of Camino Nuevo.            0.40         $ 190.00
            Total B150 – Meetings of and Communications with Creditors                                7.70       $ 3,702.50


    B160 – Fee/Employment Applications
 12/05/19 JA Krieger         Address issues regarding employment application                          0.10         $ 62.50
 12/06/19 K Banner           Confer with J. Krieger regarding employment application.                 0.20         $ 95.00
 12/09/19 JA Krieger         Conference with K. Banner regarding provisions of                        0.10         $ 62.50
                             employment application
 12/09/19 K Banner           Draft and revise GG employment application (1.8); confer with            2.20       $ 1,045.00
                             J. Krieger and B. Davidoff regarding employment application
                             (.3); email exchange with B. Howard regarding creditor list
                             (.1).
 12/10/19 K Banner           Review and revise draft GG employment application (.4); draft            0.90        $ 427.50
                             notice of GG employment application (.4); email exchange with
                             Trustee regarding the same (.1).
 12/16/19 K Banner           Confer with J. Krieger regarding supplemental declaration for            0.20         $ 95.00
                             GG employment application.
 12/18/19 K Banner           Draft and revise employment application of D. Oshiro (.6);               0.70        $ 332.50
                             email exchange with D. Oshiro regarding the same (.1).
 12/19/19 K Banner           Review and revise Oshiro employment application (.2); email              0.30        $ 142.50
                             exchange with Trustee regarding the same (.1).
 12/20/19 K Banner           Email exchange with Trustee regarding Oshiro employment                  0.40        $ 190.00
                             application (.1); email exchange with D. Oshiro regarding the
                             same (.1); review employment application prior to filing (.2).
 12/24/19 JA Krieger         Review and revise notice of application to employ Interco (.1);          0.50        $ 312.50
Atty : JAK, #264 / P1056359                                 Page 6                                   Tax ID # XX-XXXXXXX
                                                                                                    Exhibit 2, page 51
   Case 2:19-bk-23085-BB              Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                            Desc
                                      Main Document    Page 52 of 377
                                          GREENBERG GLUSKER

     2049 Century Park East                                                          General billing questions: (310) 201-7492
     Suite 2600                                                                                                 (310) 785-6842
     Los Angeles, CA 90067                                                                          Payments: (310) 785-6846
                                                                                                             Fax: (310) 553-7018
     Client # 76214,     Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,     Youth Policy Institute, Inc.

     Invoice date: 01/24/20                                                                          Charges through: 12/31/19
     Invoice # 671843

                                                             FEES
 Date       Timekeeper                              Description of Services                          Hours         Amount
                               review and revise application to employ Interco (.3);
                               conference with K. Banner regarding finalizing (.1)
 12/24/19   K Banner           Draft and revise application to employ field agent (1.0); draft        2.10        $ 997.50
                               and revise declarations in support of the same (.5); draft and
                               review notice of application to employ field agent (.5); email
                               exchange with Trustee and T. Shokrai regarding the same (.1).
            Total B160 – Fee/Employment Applications                                                  7.70       $ 3,762.50


    B185 – Assumption/Rejection of Leases and Contracts
 12/02/19 K Banner             Telephone call with S. Soloway, counsel to landlord for the            0.40        $ 190.00
                               Beverly property (.2); draft correspondence to Trustee
                               regarding the same (.2).
 12/04/19 K Banner             Telephone call with Trustee regarding Beverly landlord and             0.60        $ 285.00
                               other items (.5); telephone call with S. Soloway regarding the
                               same (.1).
 12/09/19 JA Krieger           Conference with K. Banner regarding LL proposal and counter            0.20        $ 125.00
                               offer
 12/09/19 K Banner             Telephone call with Beverly Landlord regarding                         1.00        $ 475.00
                               assumption/rejection of lease (.1); telephone call with D.
                               Meadows regarding Beverly property (.6); email exchange with
                               Trustee regarding the same (.1); telephone call with B. Bass
                               regarding Arleta storage (.2).
 12/10/19 K Banner             Telephone call with Trustee regarding Beverly property                 1.00        $ 475.00
                               proposal (.3); email exchange with and telephone call with D.
                               Meadows regarding proposal (.5); confer with J. Krieger
                               regarding latest developments re Beverly (.2).
 12/11/19 JA Krieger           Telephone conference(s) with K. Banner regarding options for           0.30        $ 187.50
                               discussion with landlord (.1); review emails with J. Rund (.2)
 12/11/19 K Banner             Confer with J. Krieger regarding strategy re Beverly property          0.60        $ 285.00
                               (.2); email exchange with Trustee regarding the same (.1);
                               email exchange with D. Meadows regarding the same (.1); draft
                               proposal to D. Meadows (.2).
 12/12/19 K Banner             Review notice of lien regarding Extra Space Storage (.1); email        0.50        $ 237.50
                               exchange with K. Meek regarding the same (.1); email
                               exchange with D. Meadows regarding Beverly property (.1);
                               telephone call and email exchange with J. Brown regarding
                               Nova Storage (.2).
 12/13/19 K Banner             Email exchange with Trustee regarding express space storage            0.80        $ 380.00
                               (.1); confer with J. Krieger regarding latest developments re
                               storage units (.2); draft and revise letter to Extra Space Storage
                               (.5).
 12/16/19 JA Krieger           Review and revise stipulation with landlord (.2); conference           0.40        $ 250.00
                               with K. Banner regarding revisions and service issues (.2)
 12/16/19 K Banner             Email exchange with K. Meek regarding Beverly stipulation              1.60        $ 760.00
                               (.1); draft and revise stipulation for relief from stay re Beverly
Atty : JAK, #264 / P1056359                                 Page 7                                   Tax ID # XX-XXXXXXX
                                                                                                    Exhibit 2, page 52
   Case 2:19-bk-23085-BB             Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                           Desc
                                     Main Document    Page 53 of 377
                                         GREENBERG GLUSKER

     2049 Century Park East                                                        General billing questions: (310) 201-7492
     Suite 2600                                                                                               (310) 785-6842
     Los Angeles, CA 90067                                                                        Payments: (310) 785-6846
                                                                                                           Fax: (310) 553-7018
     Client # 76214,     Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,     Youth Policy Institute, Inc.

     Invoice date: 01/24/20                                                                        Charges through: 12/31/19
     Invoice # 671843

                                                            FEES
 Date      Timekeeper                               Description of Services                        Hours         Amount
                             Facility (1.2); confer with J. Krieger regarding the same (.1);
                             email exchange with Trustee regarding the same (.1); email
                             exchange with D. Meadows regarding the same (.1).
 12/17/19 K Banner           Email exchange with B. Bass regarding Arleta storage.                  0.10         $ 47.50
 12/18/19 JA Krieger         Review and revise motion to extend time to assume/reject               0.80        $ 500.00
                             executory contracts (.4); conference with K. Banner regarding
                             open issues in motion (.3); review redline of motion (.1)
 12/18/19 K Banner           Research regarding extension of time to assume/reject and              4.20       $ 1,995.00
                             timing of motion with deadline (.5); draft and revise motion for
                             extension of time to assume/reject executory contracts (2.5);
                             confer with J. Krieger regarding the same (.2); email exchange
                             with B. Howard regarding contract counterparties (.1); review
                             and revise relief from stay stipulation (.1); email exchange with
                             K. Meek regarding the same (.1); email exchange and telephone
                             call with D. Meadows regarding the same (.2); draft Rund
                             declaration in connection with motion for extension of time to
                             assume/reject (.5).
 12/19/19 JA Krieger         Address service issues on contract counterparties                      0.20         $ 125.00
 12/19/19 K Banner           Review local rules regarding procedures for Beverly landlord           2.40       $ 1,140.00
                             stipulation (.1); extended email exchange with D. Meadows
                             regarding the same (.2); review Debtor's SOFA, debtor's grant
                             documents produced and public records for information
                             regarding grant counterparties in connection with motion to
                             extend time to assume/reject (.9); draft notice of motion to limit
                             notice (.6); review and revise motion for extension of time to
                             assume/reject (.5); email exchange with B. Bass regarding
                             motion to extend assumption/rejection (.1).
 12/20/19 JA Krieger         Review Meadows, Meek and Banner emails regarding relief                0.30        $ 187.50
                             from stay stipulation (.2); conference with K. Banner regarding
                             same (.1)
 12/20/19 K Banner           Extended email exchange with D. Meadows regarding                      1.10        $ 522.50
                             stipulation re: Beverly property (.2); draft amended notice of
                             motion re extension of time to assume/reject (.1); draft and
                             revise order approving stipulation regarding Beverly property
                             (.4); revise stipulation re Beverly property to add Debtor (.2);
                             telephone calls and email exchanges with K. Meek and D.
                             Meadows regarding the same (.2).
 12/22/19 K Banner           Telephone call with K. Meek regarding relief from stay                 0.30        $ 142.50
                             stipulation re Beverly (.2); email exchange with D. Meadows
                             regarding the same (.1).
 12/23/19 JA Krieger         Emails with D. Meadows regarding stipulation                           0.10         $ 62.50
 12/23/19 K Banner           Revise stipulation re Beverly facility and review prior to filing      0.40        $ 190.00
                             (.3); email exchange with D. Meadows regarding the same (.1).
 12/26/19 K Banner           Email exchange with B. Bass regarding Arleta storage.                  0.10          $ 47.50
          Total B185 – Assumption/Rejection of Leases and Contracts                                17.40       $ 8,610.00


Atty : JAK, #264 / P1056359                                Page 8                                  Tax ID # XX-XXXXXXX
                                                                                                  Exhibit 2, page 53
   Case 2:19-bk-23085-BB              Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                           Desc
                                      Main Document    Page 54 of 377
                                          GREENBERG GLUSKER

     2049 Century Park East                                                          General billing questions: (310) 201-7492
     Suite 2600                                                                                                 (310) 785-6842
     Los Angeles, CA 90067                                                                          Payments: (310) 785-6846
                                                                                                            Fax: (310) 553-7018
     Client # 76214,     Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,     Youth Policy Institute, Inc.

     Invoice date: 01/24/20                                                                         Charges through: 12/31/19
     Invoice # 671843

                                                             FEES
 Date       Timekeeper                               Description of Services                        Hours         Amount

    B190 – Other Contested Matters (excluding assumption/rejection motions)
 12/02/19 K Banner             Email exchanges with D. Fife regarding computer imaging and           0.70        $ 332.50
                               file transfer (.2); review AUSA subpoena and limited waiver
                               and consent to search (.3); email exchange with Trustee
                               regarding the same (.1); email exchange with K. Jaimez
                               regarding the same (.1).
 12/05/19 K Banner             Email exchange with AUSA regarding subpoena compliance                0.60        $ 285.00
                               (.2); review subpoena (.2); email exchange with A. Flores
                               regarding Ca Labor Commission inquiries and email exchange
                               with K. Meek regarding the same (.2).
 12/06/19 K Banner             Email exchange with A. Flores regarding subpoena for payroll          0.30        $ 142.50
                               records and review debtor's schedules regarding the same (.2);
                               email exchange with D. Fife regarding AUSA subpoena (.1).
 12/07/19 K Banner             Email exchange with D. Fife regarding compliance with AUSA            0.10         $ 47.50
                               subpoena.
 12/09/19 K Banner             Draft email to AUSA regarding compliance with subpoena and            0.20         $ 95.00
                               paper documents.
 12/13/19 K Banner             Email exchange with AUSA regarding turnover of information.           0.20         $ 95.00
 12/16/19 K Banner             Meeting with C. Penilla (DOJ) regarding grand jury subpoena           0.20         $ 95.00
                               and turnover of information.
           Total B190 – Other Contested Matters (excluding assumption/rejection motions)             2.30       $ 1,092.50


            Total B100 – Administration                                                             73.20     $ 36,705.00


 B200 – Operations
    B220 – Employee Benefits/Pensions
 12/03/19 K Banner             Email exchange with K. Meek regarding 401k plan (.1); email           0.20         $ 95.00
                               exchange with Trustee regarding the same (.1).
 12/05/19 K Banner             Email exchange with K. Meek regarding 401k plan.                      0.10         $ 47.50
 12/06/19 K Banner             Email exchange with Trustee regarding 401k options.                   0.10         $ 47.50
 12/13/19 JA Krieger           Review and revise stipulation with Kravitz regarding 401(k)           0.20        $ 125.00
                               (.1); conference with K. Banner regarding changes and filing
                               (.1)
 12/13/19 K Banner             Draft and revise stipulation regarding 401(k) plan termination        1.10        $ 522.50
                               (.9); email exchange with Trustee regarding the same (.1);
                               email exchange with K. Palm regarding the same (.1).
 12/19/19 K Banner             Review and revise final version of 401(k) stipulation (.2); draft     0.60        $ 285.00
                               and revise order approving 401(k) stipulation (.4).
 12/23/19 K Banner             Review entered order on 401(k) stipulation (.1); email                0.20         $ 95.00
                               exchange with K. Palm regarding the same (.1).
           Total B220 – Employee Benefits/Pensions                                                   2.50       $ 1,217.50



Atty : JAK, #264 / P1056359                                 Page 9                                  Tax ID # XX-XXXXXXX
                                                                                                   Exhibit 2, page 54
   Case 2:19-bk-23085-BB              Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                           Desc
                                      Main Document    Page 55 of 377
                                          GREENBERG GLUSKER

     2049 Century Park East                                                         General billing questions: (310) 201-7492
     Suite 2600                                                                                                (310) 785-6842
     Los Angeles, CA 90067                                                                         Payments: (310) 785-6846
                                                                                                            Fax: (310) 553-7018
     Client # 76214,     Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,     Youth Policy Institute, Inc.

     Invoice date: 01/24/20                                                                         Charges through: 12/31/19
     Invoice # 671843

                                                              FEES
 Date      Timekeeper                                Description of Services                        Hours         Amount
    B230 – Financing/Cash Collateral
 12/04/19 K Banner             Conference with J. Krieger regarding cash collateral; email           0.30        $ 142.50
                               exchange with G. Weiner regarding loan documents (.1).
 12/05/19 JA Krieger           Analyze cash collateral issues                                        0.20        $ 125.00
 12/05/19 JA Krieger           Meeting with B. Davidoff regarding cash collateral issues             0.60        $ 375.00
 12/05/19 K Banner             Review and analyze NFF security agreement and related                 1.50        $ 712.50
                               documents (.5); research regarding post-petition liens (.4);
                               conference with B. Davidoff and J. Krieger regarding options
                               for cash collateral arrangement (.6).
 12/06/19 JA Krieger           Conference call with counsel for secured lender regarding sale        0.50        $ 312.50
                               of assets and cash collateral issues
 12/06/19 JA Krieger           Follow up analysis of cash collateral issues                          0.30        $ 187.50
 12/06/19 K Banner             Telephone conference with G. Weiner, S. Newman and J.                 1.00        $ 475.00
                               Krieger regarding cash collateral (.5); confer with J. Krieger
                               thereafter regarding strategy (.5).
 12/09/19 JA Krieger           Telephone conference(s) with Trustee regarding cash collateral        0.10         $ 62.50
                               discussion with lender's counsel
 12/10/19 JA Krieger           Telephone conference(s) with counsel for lender regarding cash        0.30        $ 187.50
                               collateral issues
 12/10/19 K Banner             Telephone conference with G. Weiner and J. Krieger regarding          0.30        $ 142.50
                               NFF claim and confer with J. Krieger.
 12/12/19 JA Krieger           Telephone conference(s) with K. Banner regarding scope of             0.80        $ 500.00
                               security interest (.2); research regarding security interest
                               attachment to commercial tort claim and after acquired property
                               (.5); preparation of email memorandum to K. Banner regarding
                               same (.1)
 12/13/19 JA Krieger           Analyze NFF's security interest                                       0.20        $ 125.00
 12/13/19 K Banner             Research regarding commercial tort claims and after-acquired          0.40        $ 190.00
                               property.
 12/16/19 JA Krieger           Analyze issues regarding use of cash collateral and lender's          0.50        $ 312.50
                               security interest
 12/16/19 K Banner             Follow-up research on after-acquired provisions and                   0.50        $ 237.50
                               commercial tort claims.
 12/17/19 JA Krieger           Conference call with trustee regarding secured lender issues          0.80        $ 500.00
                               and cash collateral
 12/17/19 K Banner             Email exchange with Trustee regarding secured lender                  0.90        $ 427.50
                               discussions (.1); telephone conference with J. Krieger and
                               Trustee regarding negotiations with secured lender (.8).
 12/18/19 JA Krieger           Meeting with K. Banner regarding approach for cash collateral         0.50        $ 312.50
                               conference call with lender
 12/18/19 JA Krieger           Review agreement and UCC-1 in preparation of proposal to              2.00       $ 1,250.00
                               secured lender (1.5); .Conference call with counself for
                               secured lender regarding cash collateral proposal (.4); follow up
                               with K. Banner (.1)
 12/18/19 K Banner             Conference with J. Krieger and B. Davidoff regarding cash             1.00        $ 475.00
                               collateral issues and strategy (.3); review UCC filings of NFF
Atty : JAK, #264 / P1056359                                Page 10                                  Tax ID # XX-XXXXXXX
                                                                                                   Exhibit 2, page 55
   Case 2:19-bk-23085-BB               Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                         Desc
                                       Main Document    Page 56 of 377
                                           GREENBERG GLUSKER

     2049 Century Park East                                                         General billing questions: (310) 201-7492
     Suite 2600                                                                                                (310) 785-6842
     Los Angeles, CA 90067                                                                         Payments: (310) 785-6846
                                                                                                           Fax: (310) 553-7018
     Client # 76214,       Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,       Youth Policy Institute, Inc.

     Invoice date: 01/24/20                                                                        Charges through: 12/31/19
     Invoice # 671843

                                                              FEES
 Date        Timekeeper                               Description of Services                      Hours         Amount
                                 and confer with J. Krieger regarding the same (.2); telephone
                                 conference with G. Weiner regarding cash collateral
                                 negotiations (.4); email exchange with G. Weiner regarding
                                 Oshiro agreement (.1).
 12/19/19    JA Krieger          Review and revise paralegal motion (.2); telephone                 0.30        $ 187.50
                                 conference(s) with Trustee regarding secured lender discussion
                                 (.1)
 12/24/19    JA Krieger          Emails with secured lender's counsel regarding insurance on        0.20        $ 125.00
                                 collateral
             Total B230 – Financing/Cash Collateral                                                13.20       $ 7,365.00


             Total B200 – Operations                                                               15.70       $ 8,582.50


 Total fees for this matter:                                                                                  $ 45,287.50




Atty : JAK, #264 / P1056359                                Page 11                                 Tax ID # XX-XXXXXXX
                                                                                                  Exhibit 2, page 56
   Case 2:19-bk-23085-BB                Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                               Desc
                                        Main Document    Page 57 of 377
                                            GREENBERG GLUSKER

     2049 Century Park East                                                                General billing questions: (310) 201-7492
     Suite 2600                                                                                                       (310) 785-6842
     Los Angeles, CA 90067                                                                                Payments: (310) 785-6846
                                                                                                                  Fax: (310) 553-7018
     Client # 76214,    Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,    Youth Policy Institute, Inc.

     Invoice date: 01/24/20                                                                                Charges through: 12/31/19
     Invoice # 671843

                                           Summary Of Attorney Time By Task
                                              ______________________

                                                                Hours              Rate                  Value

             B110 – Case Administration
               K Banner                                           6.70           475.00              $ 3,182.50
               JA Krieger                                         1.10           625.00                $ 687.50

             B120 – Asset Analysis and Recovery
               K Banner                                          10.30           475.00              $ 4,892.50
               D Parino                                           6.20           325.00              $ 2,015.00
               JA Krieger                                        11.40           625.00              $ 7,125.00
               JB Sokol                                           1.50           675.00              $ 1,012.50
               B Davidoff                                         0.60           725.00                $ 435.00

             B130 – Asset Disposition
               JA Krieger                                         0.30           625.00               $ 187.50

             B150 – Meetings of and Communications with Creditors
               K Banner                                          7.40            475.00              $ 3,515.00
               JA Krieger                                        0.30            625.00                $ 187.50

             B160 – Fee/Employment Applications
               K Banner                                           7.00           475.00              $ 3,325.00
               JA Krieger                                         0.70           625.00                $ 437.50

             B185 – Assumption/Rejection of Leases and Contracts
               K Banner                                          15.10           475.00              $ 7,172.50
               JA Krieger                                         2.30           625.00              $ 1,437.50

             B190 – Other Contested Matters (excluding assumption/rejection motions)
               K Banner                                           2.30            475.00             $ 1,092.50

             B220 – Employee Benefits/Pensions
               K Banner                                           2.30           475.00              $ 1,092.50
               JA Krieger                                         0.20           625.00                $ 125.00

             B230 – Financing/Cash Collateral
               K Banner                                           5.90           475.00              $ 2,802.50
               JA Krieger                                         7.30           625.00              $ 4,562.50

             Total                                               88.90                              $ 45,287.50




Atty : JAK, #264 / P1056359                                  Page 12                                      Tax ID # XX-XXXXXXX
                                                                                                         Exhibit 2, page 57
   Case 2:19-bk-23085-BB              Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                               Desc
                                      Main Document    Page 58 of 377
                                          GREENBERG GLUSKER

     2049 Century Park East                                                           General billing questions: (310) 201-7492
     Suite 2600                                                                                                  (310) 785-6842
     Los Angeles, CA 90067                                                                           Payments: (310) 785-6846
                                                                                                                Fax: (310) 553-7018
     Client # 76214,      Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,      Youth Policy Institute, Inc.

     Invoice date: 01/24/20                                                                            Charges through: 12/31/19
     Invoice # 671843

                                                  Summary By Task
                                               ______________________

                                               Task                                           Hours             Value
                                               B110 – Case Administration                      7.80        $ 3,870.00
                                               B120 – Asset Analysis and Recovery             30.00       $ 15,480.00
                                               B130 – Asset Disposition                        0.30          $ 187.50
                                               B150 – Meetings of and Communications           7.70        $ 3,702.50
                                               with Creditors
                                               B160 – Fee/Employment Applications              7.70        $ 3,762.50
                                               B185 – Assumption/Rejection of Leases          17.40        $ 8,610.00
                                               and Contracts
                                               B190 – Other Contested Matters (excluding       2.30        $ 1,092.50
                                               assumption/rejection motions)
                                               B220 – Employee Benefits/Pensions               2.50        $ 1,217.50
                                               B230 – Financing/Cash Collateral               13.20        $ 7,365.00
   Total                                                                                      88.90       $ 45,287.50




                                                           COSTS
                       Date       Description                                                         Amount
                       12/13/19   VENDOR: Federal Express INVOICE#: 687265611                         $ 10.47
                                  DATE: 12/19/2019
                                  Tracking #777246785602
                                  From: greenberg, glusker, 1900 Avenue of the Stars, 21st,
                                  LOS ANGELES, CA 90067
                                   To: EXTRA SPACE STORAGE, Los Angeles - Fountain
                                  Ave, 4728 Fountain Ave., LOS ANGELES, CA 90029
                       12/31/19   WESTLAW                                                         $ 710.51
                       12/06/19   VENDOR: Golden State Overnight; INVOICE#: 4088431;               $ 14.74
                                  DATE: 12/15/2019 - Priority Overnight Delivery on
                                  12/06/19
                       12/06/19   VENDOR: Golden State Overnight; INVOICE#: 4088431;                  $ 14.74
                                  DATE: 12/15/2019 - Priority Overnight Delivery on
                                  12/06/19
                       12/06/19   VENDOR: Golden State Overnight; INVOICE#: 4088431;                  $ 27.58
                                  DATE: 12/15/2019 - Priority Overnight Delivery on
                                  12/06/19
                       12/06/19   VENDOR: Golden State Overnight; INVOICE#: 4088431;                  $ 14.74
                                  DATE: 12/15/2019 - Priority Overnight Delivery on
                                  12/06/19
                       12/06/19   VENDOR: Golden State Overnight; INVOICE#: 4088431;                  $ 14.74
                                  DATE: 12/15/2019 - Priority Overnight Delivery on
                                  12/06/19


Atty : JAK, #264 / P1056359                                 Page 13                                    Tax ID # XX-XXXXXXX
                                                                                                      Exhibit 2, page 58
   Case 2:19-bk-23085-BB             Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                       Desc
                                     Main Document    Page 59 of 377
                                         GREENBERG GLUSKER

     2049 Century Park East                                                    General billing questions: (310) 201-7492
     Suite 2600                                                                                           (310) 785-6842
     Los Angeles, CA 90067                                                                    Payments: (310) 785-6846
                                                                                                       Fax: (310) 553-7018
     Client # 76214,      Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,      Youth Policy Institute, Inc.

     Invoice date: 01/24/20                                                                   Charges through: 12/31/19
     Invoice # 671843

                                                         COSTS
                       Date       Description                                               Amount
                       12/06/19   VENDOR: Golden State Overnight; INVOICE#: 4088431;        $ 14.74
                                  DATE: 12/15/2019 - Priority Overnight Delivery on
                                  12/06/19
                       12/06/19   VENDOR: Golden State Overnight; INVOICE#: 4088431;         $ 14.74
                                  DATE: 12/15/2019 - Priority Overnight Delivery on
                                  12/06/19
                       12/06/19   VENDOR: Golden State Overnight; INVOICE#: 4088431;         $ 14.74
                                  DATE: 12/15/2019 - Priority Overnight Delivery on
                                  12/06/19
                       12/06/19   VENDOR: Golden State Overnight; INVOICE#: 4088431;         $ 14.74
                                  DATE: 12/15/2019 - Priority Overnight Delivery on
                                  12/06/19
                       12/06/19   VENDOR: Golden State Overnight; INVOICE#: 4088431;         $ 27.58
                                  DATE: 12/15/2019 - Priority Overnight Delivery on
                                  12/06/19
                       12/06/19   VENDOR: Golden State Overnight; INVOICE#: 4088431;         $ 20.65
                                  DATE: 12/15/2019 - Priority Overnight Delivery on
                                  12/06/19
                       12/06/19   VENDOR: Golden State Overnight; INVOICE#: 4088431;         $ 14.74
                                  DATE: 12/15/2019 - Priority Overnight Delivery on
                                  12/06/19
                       12/06/19   VENDOR: Golden State Overnight; INVOICE#: 4088431;         $ 14.74
                                  DATE: 12/15/2019 - Priority Overnight Delivery on
                                  12/06/19
                       12/06/19   VENDOR: Golden State Overnight; INVOICE#: 4088431;         $ 14.74
                                  DATE: 12/15/2019 - Priority Overnight Delivery on
                                  12/06/19
                       12/06/19   VENDOR: Golden State Overnight; INVOICE#: 4088431;         $ 15.74
                                  DATE: 12/15/2019 - Priority Overnight Delivery on
                                  12/06/19
                       12/09/19   VENDOR: First Legal Network, LLC INVOICE#:                  $ 9.75
                                  10277644 DATE: 12/15/2019

                       12/10/19   VENDOR: First Legal Network, LLC INVOICE#:                  $ 9.75
                                  10277644 DATE: 12/15/2019

                       12/10/19   VENDOR: First Legal Network, LLC INVOICE#:                  $ 9.75
                                  10277644 DATE: 12/15/2019

                       12/12/19   VENDOR: Golden State Overnight; INVOICE#: 4088431;         $ 33.40
                                  DATE: 12/15/2019 - Ground Delivery on 12/12/19
                       12/18/19   VENDOR: Golden State Overnight; INVOICE#: 4092833;         $ 11.78
                                  DATE: 12/31/2019 - Ground Delivery on 12/18/19
                       12/19/19   VENDOR: First Legal Network, LLC INVOICE#:                  $ 9.75
                                  10279857 DATE: 12/23/2019


Atty : JAK, #264 / P1056359                             Page 14                              Tax ID # XX-XXXXXXX
                                                                                            Exhibit 2, page 59
   Case 2:19-bk-23085-BB                 Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                         Desc
                                         Main Document    Page 60 of 377
                                             GREENBERG GLUSKER

     2049 Century Park East                                                          General billing questions: (310) 201-7492
     Suite 2600                                                                                                 (310) 785-6842
     Los Angeles, CA 90067                                                                          Payments: (310) 785-6846
                                                                                                             Fax: (310) 553-7018
     Client # 76214,      Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,      Youth Policy Institute, Inc.

     Invoice date: 01/24/20                                                                         Charges through: 12/31/19
     Invoice # 671843

                                                            COSTS
                       Date           Description                                                 Amount
                       12/23/19       VENDOR: First Legal Network, LLC INVOICE#:                   $ 9.75
                                      10279857 DATE: 12/23/2019

                       12/23/19       VENDOR: First Legal Network, LLC INVOICE#:                    $ 9.75
                                      10279857 DATE: 12/23/2019

                       12/23/19       VENDOR: Golden State Overnight; INVOICE#: 4092833;           $ 19.59
                                      DATE: 12/31/2019 - Priority Overnight Delivery on
                                      12/23/19
           through 12/31/19           Telephone                                                    $ 9.38
           through 12/31/19           Postage                                                    $ 263.25

                       Total costs for this matter:                                             $ 1,370.57


                                               Summary Of Costs by Expenses Code
                                                  ______________________

                              Expense                                                  Value
                              E105 – Telephone                                         $9.38

                              E106 – Online research                                 $710.51

                              E107 – Delivery services/messengers                    $376.96

                              E108 – Postage                                         $273.72

                              Total                                                $ 1,370.57




Atty : JAK, #264 / P1056359                                     Page 15                            Tax ID # XX-XXXXXXX
                                                                                                  Exhibit 2, page 60
   Case 2:19-bk-23085-BB             Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                      Desc
                                     Main Document    Page 61 of 377
                                         GREENBERG GLUSKER

     2049 Century Park East                                                    General billing questions: (310) 201-7492
     Suite 2600                                                                                           (310) 785-6842
     Los Angeles, CA 90067                                                                    Payments: (310) 785-6846
                                                                                                      Fax: (310) 553-7018
     Client # 76214,      Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,      Youth Policy Institute, Inc.

     Invoice date: 01/24/20                                                                   Charges through: 12/31/19
     Invoice # 671843

                                           RECAP OF AMOUNTS DUE
 Total Previous Balance                                                                 $ 23,785.00
                                                                                                      __________
 Balance Forward                                                                                      $ 23,785.00
 Current Month Fees                                                                     $ 45,287.50
 Current Month Costs                                                                     $ 1,370.57
                                                                                                      __________
 Total Current Charges                                                                                $ 46,658.07
                                                                                                      __________
 Total Due from Current Charges                                                                       $ 46,658.07
                                                                                                      __________
 AMOUNT DUE                                                                                           $ 70,443.07




                                             Summary Of Attorney Time
                                             ______________________

             Attorney                                        Hours     Rate         Value
             B Davidoff                                       0.60   725.00      $ 435.00
             D Parino                                         6.20   325.00    $ 2,015.00
             J Krieger                                       23.60   625.00   $ 14,750.00
             J Sokol                                          1.50   675.00    $ 1,012.50
             K Banner                                        57.00   475.00   $ 27,075.00
             Total                                           88.90            $ 45,287.50




Atty : JAK, #264 / P1056359                             Page 16                              Tax ID # XX-XXXXXXX
                                                                                            Exhibit 2, page 61
         Case 2:19-bk-23085-BB                 Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                                     Desc
                                               Main Document    Page 62 of 377

                                                      GREENBERG GLUSKER
          2049 Century Park East                                                            General billing questions: (310) 201-7492
          Suite 2600                                                                                                   (310) 785-6842
          Los Angeles, CA 90067                                                                            Payments: (310) 785-6846
                                                                                                                      Fax: (310) 553-7018
                                                  Jason M. Rund, Chapter 7 Trustee

          Client # 76214                                                                                      Charges through: 12/31/19
          Invoice date: 01/24/20
          Invoice # 671843




                                                                                              Payments and
Matter                                                     Previous             Current        Retainers To        Adjustments
Number      Name                                            Balance            Charges            01/24/20         To 01/24/20         Amount Due
00002       Youth Policy Institute, Inc.                $ 23,785.00         $ 46,658.07              $ 0.00             $ 0.00         $ 70,443.07

                                                      ___________          __________          __________           __________       ___________
            Bill Total                                 $ 23,785.00         $ 46,658.07              $ 0.00               $ 0.00       $ 70,443.07


                                  PLEASE ENCLOSE THIS PAGE WITH YOUR REMITTANCE


                                           Wire instructions for the GENERAL account in US Dollars:
                                         Bank Name:               First Republic Bank
                                                                  111 Pine Street
                                                                  San Francisco, CA 94111
                                         SWIFT CODE:              FRBBUS6S
                                         ABA:                     321081669
                                         Account Name:            Greenberg Glusker Fields Claman &
                                                                  Machtinger
                                         Account No.:             #997-0005-4655




  Please reflect the client name and number, and the matters being paid. Payments received will apply first to accrued interest and then to
  costs and fees.
   Atty : JAK, #264 / P1056359                                         Page 17                                       Tax ID # XX-XXXXXXX
                                                                                                                    Exhibit 2, page 62
        Case 2:19-bk-23085-BB                   Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                                     Desc
                                                Main Document    Page 63 of 377
                                                    GREENBERG GLUSKER
          2049 Century Park East                                                             General billing questions: (310) 201-7492
          Suite 2600                                                                                                    (310) 785-6842
          Los Angeles, CA 90067                                                                             Payments: (310) 785-6846
                                                                                                                       Fax: (310) 553-7018
                                                   Jason M. Rund, Chapter 7 Trustee

          Client # 76214                                                                                       Charges through: 01/31/20
          Invoice date: 02/05/20
          Invoice # 673037



                                                                                              Payments and
Matter                                                      Previous             Current       Retainers To          Adjustments
Number Name                                                  Balance            Charges           02/05/20           To 02/05/20        Amount Due
00002   Youth Policy Institute, Inc.                     $ 70,443.07         $ 30,616.25             $ 0.00               $ 0.00       $ 101,059.32

                                                       ___________          __________          __________           __________       ___________
             Bill Total                                 $ 70,443.07         $ 30,616.25              $ 0.00               $ 0.00      $ 101,059.32




                                                                         Jason M. Rund, Chapter 7 Trustee
                                                                         Sheridan & Rund
                                                                         840 Apollo Street
                                                                         Suite 351
                                                                         El Segundo, CA 90402




   Please reflect the client name and number, and the matters being paid. Payments received will apply first to accrued interest and then to
   costs and fees.
    Atty : JAK, #264 / P1059145                                          Page 1                                       Tax ID # XX-XXXXXXX
                                                                                                                     Exhibit 2, page 63
   Case 2:19-bk-23085-BB              Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                           Desc
                                      Main Document    Page 64 of 377
                                          GREENBERG GLUSKER

     2049 Century Park East                                                         General billing questions: (310) 201-7492
     Suite 2600                                                                                                (310) 785-6842
     Los Angeles, CA 90067                                                                         Payments: (310) 785-6846
                                                                                                            Fax: (310) 553-7018
     Client # 76214,     Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,     Youth Policy Institute, Inc.

     Invoice date: 02/05/20                                                                         Charges through: 01/31/20
     Invoice # 673037



                                                             FEES
 Date       Timekeeper                               Description of Services                        Hours         Amount

 B100 – Administration
    B110 – Case Administration
 01/06/20 JA Krieger           Review emails from T. Shokrai regarding Nova storage facility.        0.20        $ 132.00
 01/15/20 K Banner             Review case docket for developments.                                  0.10         $ 52.50
 01/23/20 K Banner             Review case docket for developments.                                  0.10         $ 52.50
 01/30/20 K Banner             Review case docket for developments.                                  0.10         $ 52.50
           Total B110 – Case Administration                                                          0.50        $ 289.50


    B120 – Asset Analysis and Recovery
 01/01/20 K Banner             Email exchange with K. Meek re D&O coverage.                          0.10         $ 52.50
 01/17/20 JA Krieger           Review email from K. Banner regarding Nova storage (.1);              0.50        $ 330.00
                               review lien notice (.1); review and revise letter to Nova (.3).
 01/17/20 K Banner             Email exchange with G. Weiner regarding grant inquiries (.1);         0.20        $ 105.00
                               email exchange with B. Howard regarding the same (.1).
 01/20/20 K Banner             Email exchange with G. Weiner regarding grant collections.            0.10         $ 52.50
 01/21/20 JA Krieger           Review email from K. Banner to D. Oshiro regarding grant              0.20        $ 132.00
                               recovery status (.1); telephone conference(s) with K. Banner
                               regarding call with secured lender regarding abandonment of
                               assets (.1)
 01/21/20 K Banner             Telephone conference with Trustee and T. Shokrai regarding            1.80        $ 945.00
                               status of inspections and various storage units (.8); telephone
                               conference with Trustee, G. Weiner, B Howard and
                               representatives from NFF regarding grant receivables (.5);
                               conference with the Trustee thereafter regarding the same (.2);
                               draft email to D. Oshiro regarding status of grant collection
                               (.1); further email exchange with G. Weiner (.2).
 01/23/20 JA Krieger           Conference with K. Banner regarding status of grant collection        0.50        $ 330.00
                               and other claims; regarding abandonment notices and regarding
                               call with lender, lender's counsel and B. Howard (.3); review
                               emails from K. Banner to multiple storage companies regarding
                               automatic stay and review response from Nova's counsel (.2).
 01/23/20 K Banner             Review receivable back up from B. Howard and email                    0.90        $ 472.50
                               exchange with G. Weiner (.2); draft email to D. Oshiro
                               following up on status of collection work (.1); research
                               regarding extent of setoff to pre-petition unsecured claims (.4);
                               email exchange with S. Thomas regarding LAUSD receivable
                               (.1); telephone call with S. Thomas regarding the same (.1).
 01/28/20 K Banner             Email exchange with D. Oshiro regarding grant collection.             0.10          $ 52.50
           Total B120 – Asset Analysis and Recovery                                                  4.40       $ 2,472.00


    B130 – Asset Disposition
Atty : JAK, #264 / P1059145                                 Page 2                                  Tax ID # XX-XXXXXXX
                                                                                                   Exhibit 2, page 64
   Case 2:19-bk-23085-BB              Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                          Desc
                                      Main Document    Page 65 of 377
                                          GREENBERG GLUSKER

     2049 Century Park East                                                         General billing questions: (310) 201-7492
     Suite 2600                                                                                                (310) 785-6842
     Los Angeles, CA 90067                                                                         Payments: (310) 785-6846
                                                                                                           Fax: (310) 553-7018
     Client # 76214,     Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,     Youth Policy Institute, Inc.

     Invoice date: 02/05/20                                                                        Charges through: 01/31/20
     Invoice # 673037

                                                               FEES
 Date     Timekeeper                                  Description of Services                      Hours          Amount
 01/16/20 JA Krieger            Review and revise notice of abandonment of storage units            0.20         $ 132.00
 01/16/20 K Banner              Email exchange with G. Weiner regarding abandonment of              4.30       $ 2,257.50
                                property at Arleta (.1); review pictures from T. Shokrai
                                regarding Arleta facility (.4); draft and revise notice of
                                abandonment and accompanying Rund and Shokrai
                                declarations (1.2); review pictures from T. Shokrai regarding
                                Sylmar Facility (.3); draft and revise motion to abandon assets
                                and reject lease at Sylmar Facility and accompanying
                                declarations (1.8); research regarding the same (.2); telephone
                                call with B. Bass regarding Arleta abandonment (.3).
 01/16/20   K Banner            Review report from auctioneer (.1); email exchange with             0.20        $ 105.00
                                Trustee regarding the same (.1).
 01/17/20   K Banner            Email exchange with Trustee regarding notice of abandonment         0.70        $ 367.50
                                re Arleta (.1); email exchange with T. Shokrai regarding the
                                same (.1); review and revise abandonment notice re Arleta and
                                accompanying declarations and exhibits (.5).
 01/22/20   K Banner            Review information and pictures relating to SFV Community           0.80        $ 420.00
                                Gardens (.3); draft and revise notice of abandonment regarding
                                SFV Community Gardens (.4); email exchange with Trustee
                                and T. Shokrai regarding the same (.1).
            Total B130 – Asset Disposition                                                          6.20       $ 3,282.00


    B150 – Meetings of and Communications with Creditors
 01/07/20 K Banner            Email exchange with T. Porlas regarding pending worker's              0.20        $ 105.00
                              compensation claims.
 01/08/20 K Banner            Email exchange with D. Flores regarding deadline to file proofs       0.10         $ 52.50
                              of claim.
 01/09/20 K Banner            Telephone call with K. Eisenhower of Shields for Families             0.20        $ 105.00
                              regarding receiving notice of bankruptcy.
 01/14/20 JA Krieger          Review email from MEDA (creditor) regarding BK info                   0.10         $ 66.00
 01/15/20 K Banner            Email exchange with J. Spindle regarding MEDA claim.                  0.10         $ 52.50
 01/16/20 K Banner            Email exchange with M. Guzman regarding CETF's claim.                 0.10         $ 52.50
 01/28/20 K Banner            Telephone call with T. McQueen of Think Together regarding            0.50        $ 262.50
                              their claim and other matters (.4); email exchange with Trustee
                              regarding the same (.1).
 01/31/20 K Banner            Telephone call with American GTS regarding claim in                   0.20        $ 105.00
                              bankruptcy and various notices received.
           Total B150 – Meetings of and Communications with Creditors                               1.50        $ 801.00


    B160 – Fee/Employment Applications
 01/08/20 K Banner           Review case docket for the filing of any oppositions to                0.80        $ 420.00
                             outstanding employment applications (.1); draft and revise
                             order granting application to employ GG as general counsel
                             (.4); review and revise application to employ field agent and
Atty : JAK, #264 / P1059145                                 Page 3                                 Tax ID # XX-XXXXXXX
                                                                                                  Exhibit 2, page 65
   Case 2:19-bk-23085-BB              Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                           Desc
                                      Main Document    Page 66 of 377
                                          GREENBERG GLUSKER

     2049 Century Park East                                                         General billing questions: (310) 201-7492
     Suite 2600                                                                                                (310) 785-6842
     Los Angeles, CA 90067                                                                         Payments: (310) 785-6846
                                                                                                            Fax: (310) 553-7018
     Client # 76214,     Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,     Youth Policy Institute, Inc.

     Invoice date: 02/05/20                                                                         Charges through: 01/31/20
     Invoice # 673037

                                                             FEES
 Date       Timekeeper                              Description of Services                         Hours         Amount
                               accompanying notice (.3).
 01/10/20   K Banner           Review entered order employing GG as general counsel.                 0.10         $ 52.50
 01/15/20   K Banner           Draft order on application to employ Oshiro as paraprofessional       0.50        $ 262.50
                               (.3); review and revise declaration re non-opposition regarding
                               the same (.2).
 01/16/20   K Banner           Review entered order on Oshiro employment application.                0.10         $ 52.50
 01/27/20   K Banner           Draft proposed order employing field agent.                           0.40        $ 210.00
 01/28/20   K Banner           Review entered order employing field agent (.1); email                0.20        $ 105.00
                               exchange with field agent regarding the same (.1).
            Total B160 – Fee/Employment Applications                                                 2.10       $ 1,102.50


    B185 – Assumption/Rejection of Leases and Contracts
 01/03/20 JA Krieger           Review Flores email regarding motion for extension of time to         0.10         $ 66.00
                               assume/reject
 01/06/20 JA Krieger           Review email from K. Banner responding to Flores email                0.10         $ 66.00
                               regarding motion for extension of time to assume/reject
 01/06/20 K Banner             Email exchange with B. Bass regarding Arleta storage (.1);            2.00       $ 1,050.00
                               email exchange with Trustee regarding the same (.1); draft
                               email to JPL counsel regarding executory contract (.2); email
                               exchange with B. Howard regarding the same (.1); review
                               video inventory from T. Shokrai regarding Arleta and Nova
                               locations (.4); telephone conference with T. Shokrai and
                               Trustee regarding various site inspections (1.0); follow up
                               telephone call with T. Shokrai regarding site inspection (.1).
 01/07/20 K Banner             Telephone call with B. Bass regarding Arleta storage.                 0.20        $ 105.00
 01/14/20 JA Krieger           Review judge's tentative on hearing on motion to extend (.1);         0.20        $ 132.00
                               preparation of email to K. Banner regarding response (.1).
 01/14/20 K Banner             Review tentative ruling in advance of hearing on motion to            0.20        $ 105.00
                               extend time (.1); email exchange with Trustee regarding the
                               same (.1).
 01/15/20 JA Krieger           Review motion for extension of time to assume/reject contracts        0.10         $ 66.00
 01/15/20 JA Krieger           Telephone conference(s) with K. Banner regarding response to          0.30        $ 198.00
                               tentative ruling on motion and issues in preparation for hearing
                               (.3).
 01/15/20 K Banner             Review tentative ruling on motion to extend time and confer           2.30       $ 1,207.50
                               with J. Krieger regarding upcoming hearing on motion to
                               extend time and Arleta/foothill facility inspections (.4); review
                               motion, schedules, Think Together agreement and various other
                               documents in preparation for hearing on motion to extend time
                               to assume/reject (.6); attend hearing telephonically on motion to
                               extend assumption rejection (.6); draft order on motion to
                               extend time (.4); review digital inventory of Arleta storage and
                               draft email to G. Weiner regarding contents of Arleta storage
                               (.3).
 01/17/20 JA Krieger           Review and revise motion to reject Sylmar lease and to                0.40        $ 264.00
Atty : JAK, #264 / P1059145                                 Page 4                                  Tax ID # XX-XXXXXXX
                                                                                                   Exhibit 2, page 66
   Case 2:19-bk-23085-BB             Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                          Desc
                                     Main Document    Page 67 of 377
                                         GREENBERG GLUSKER

     2049 Century Park East                                                       General billing questions: (310) 201-7492
     Suite 2600                                                                                              (310) 785-6842
     Los Angeles, CA 90067                                                                       Payments: (310) 785-6846
                                                                                                          Fax: (310) 553-7018
     Client # 76214,    Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,    Youth Policy Institute, Inc.

     Invoice date: 02/05/20                                                                       Charges through: 01/31/20
     Invoice # 673037

                                                            FEES
 Date      Timekeeper                               Description of Services                       Hours         Amount
                             abandon property
 01/17/20 K Banner           Review entered order extending time to assume/reject.                 0.10         $ 52.50
 01/21/20 K Banner           Review and revise motion to reject least at Sylmar facility (.4);     1.20        $ 630.00
                             email exchange with B. Howard regarding the same (.1); email
                             exchange with Trustee regarding the same (.1); email exchange
                             with T. Shokrai regarding the same (.1); draft notice of motion
                             to reject/abandon re Sylmar facility (.5).
 01/23/20 K Banner           Draft and revise motion to reject Beverly lease and abandon           2.00       $ 1,050.00
                             property thereon (1.7); confer with J. Krieger regarding latest
                             developments (.2); email exchange with D. Meadows regarding
                             Beverly Lease (.1).
 01/24/20 K Banner           Email exchange with Trustee regarding rejection of Beverly            0.70        $ 367.50
                             lease (.1); email exchange with D. Meadows regarding the
                             same (.1); review and revise motion to reject Beverly Lease and
                             abandon property (.5).
 01/27/20 JA Krieger         Review and revise draft motion to reject lease (.3); review and       0.90        $ 594.00
                             revise declaration of Rund and Shokrai (.2); conference with K.
                             Banner regarding issues for motion (.4).
 01/27/20 K Banner           Email exchange with D. Meadows regarding motion to                    2.30       $ 1,207.50
                             reject/abandon re Beverly Facility (.2); review and revise
                             motion to reject/abandon Beverly Facility (.5); draft and revise
                             declarations in support of the same (.6); confer with J. Krieger
                             regarding motion to reject/abandon Beverly Facility (.5);
                             telephone call with Trustee regarding Beverly rejection motion
                             and other matters (.5).
 01/28/20 K Banner           Review and revise motion to Reject/Abandone re Beverly                1.10        $ 577.50
                             Facility and accompanying declarations and exhibits for filing
                             (.5); email exchange with B. Bass regarding remaining unts at
                             Arleta (.1); draft notice of motion to reject/abandon re Beverly
                             Facility (.5).
          Total B185 – Assumption/Rejection of Leases and Contracts                               14.20       $ 7,738.50


    B190 – Other Contested Matters (excluding assumption/rejection motions)
 01/06/20 K Banner             Telephone conference with AUSA regarding subpoena (.4);             0.70        $ 367.50
                               confer with J. Krieger regarding the same (.2); email exchange
                               with K. Jaimez regarding the same (.1).
 01/07/20 K Banner             Email exchange with B. Howard regarding inquiries from              0.20        $ 105.00
                               AUSA (.1); email exchange with AUSA regarding the same
                               (.1).
 01/09/20 K Banner             Email exchange with Trustee regarding AUSA discussions (.1);        0.50        $ 262.50
                               telephone call with K. Jaimez regarding the same (.2); email
                               exchange with K. Meek regarding AUSA inspection (.1);
                               follow up email exchange with K. Jaimez regarding AUSA
                               inquiries (.1).
 01/10/20 K Banner             Review AUSA subpoena in preparation for site inspections (.3);      3.80       $ 1,995.00
Atty : JAK, #264 / P1059145                                Page 5                                 Tax ID # XX-XXXXXXX
                                                                                                 Exhibit 2, page 67
   Case 2:19-bk-23085-BB            Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                               Desc
                                    Main Document    Page 68 of 377
                                        GREENBERG GLUSKER

     2049 Century Park East                                                          General billing questions: (310) 201-7492
     Suite 2600                                                                                                 (310) 785-6842
     Los Angeles, CA 90067                                                                          Payments: (310) 785-6846
                                                                                                              Fax: (310) 553-7018
     Client # 76214,     Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,     Youth Policy Institute, Inc.

     Invoice date: 02/05/20                                                                           Charges through: 01/31/20
     Invoice # 673037

                                                             FEES
 Date       Timekeeper                               Description of Services                          Hours         Amount
                               conduct site inspection of Arleta storage and foothill facility for
                               information regarding responsive documents regarding AUSA
                               subpoena (2.5); travel time relating to the same (1.0).
 01/13/20   JA Krieger         Review emails from K. Banner, K. Meek and K. Jaimez                     0.40        $ 264.00
                               regarding AUSA site visit to review documents for subpoena
 01/13/20   K Banner           Email exchange with J. Jaimez regarding AUSA inspection                 0.30        $ 157.50
                               (.1); email exchange with K. Meek regarding the same (.1);
                               email exchange with T. Shokrai regarding the same (.1).
 01/15/20   JA Krieger         Telephone conference(s) with K. Banner regarding response to            0.50        $ 330.00
                               AUSA regarding Arleta and addressing Nova storage issue (.5)
 01/15/20   K Banner           Detailed email exchange between K. Meek and K. Jaimez                   1.50        $ 787.50
                               regarding Debtor's role during AUSA/DOJ inspection (.3);
                               review subpoena from Ca. Dept. of Indust. Relations served on
                               Ultimate Software (.2); email exchange with Trustee regarding
                               the same (.1); confer with J. Krieger regarding latest
                               developments re AUSA subpoena and other matters (.5); email
                               exchange with T. Shokrai regarding AUSA inspection (.1);
                               draft email to AUSA regarding Arleta inspection (.3).
 01/16/20   K Banner           Email exchange with R. Chai regarding Ca Dept Indus.                    0.80        $ 420.00
                               Relations subpoena (.1); telephone conference with Trustee
                               regarding Nova storage issue and various other outstanding
                               matters (.7).
 01/17/20   JA Krieger         Review email from T. Shokrai regarding US attorney document             0.10         $ 66.00
                               review at location.
 01/17/20   K Banner           Draft and revise letter to Nova Storage regarding Anna                  2.30       $ 1,207.50
                               Beccerra unit (.9); email exchange with Trustee and J. Krieger
                               regarding the same (.1); review correspondence with Ultimate
                               Software in preparation for call with the same (.2); telephone
                               call with M. Tran and R. Chai regarding responding to Ultimate
                               Software subpoena and other outstanding issues (.5); draft
                               email to Trustee and D. Fife regarding the same (.1); email
                               exchange with R. Chai following conversation (.1); telephone
                               call with D. Devine regarding Ultipro proposal (.3); review
                               report from field agent regarding AUSA/DOJ inspection (.1).
 01/21/20   K Banner           Telephone call with Louis Pachella regarding Nova Storage               0.90        $ 472.50
                               (.2); telephone call with D. Devine regarding Ultimate Software
                               w-2 processing (.3); telephone call with Trustee regarding the
                               same (.3); review letter from L. Pachella and email exchange
                               with Trustee regarding the same (.1).
 01/22/20   K Banner           Draft email to B. Marks, counsel for Ultimate Software                  1.10        $ 577.50
                               regarding ongoing dispute re w-2s (.2); email exchange with
                               Trustee regarding the same (.1); review prior correspondence
                               and information relating to Extra Space Storage (.3); draft and
                               revise letter to Extra Space Storage (.5).
 01/23/20   K Banner           Review Nova storage related correspondence (.2); draft Anna             0.70        $ 367.50
                               Beccerra letter regarding the same (.3); email exchange with
Atty : JAK, #264 / P1059145                                Page 6                                     Tax ID # XX-XXXXXXX
                                                                                                     Exhibit 2, page 68
   Case 2:19-bk-23085-BB             Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                         Desc
                                     Main Document    Page 69 of 377
                                         GREENBERG GLUSKER

     2049 Century Park East                                                       General billing questions: (310) 201-7492
     Suite 2600                                                                                              (310) 785-6842
     Los Angeles, CA 90067                                                                       Payments: (310) 785-6846
                                                                                                         Fax: (310) 553-7018
     Client # 76214,    Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,    Youth Policy Institute, Inc.

     Invoice date: 02/05/20                                                                      Charges through: 01/31/20
     Invoice # 673037

                                                             FEES
 Date      Timekeeper                                Description of Services                     Hours         Amount
                              Trustee regarding the same (.1); email exchange with D. Fife
                              regarding Ultimate Software dispute (.1).
 01/24/20 K Banner            Email exchange with B. Marks regarding Ultimate Software            0.40        $ 210.00
                              dispute (.1); telephone call with B. Marks regarding
                              negotiations (.1); email exchange with Trustee regarding the
                              same (.1); email exchange with A. Beccerra regarding Nova
                              storage issue (.1).
 01/27/20 JA Krieger          Review subpoena response from payroll company (.1);                 0.20        $ 132.00
                              telephone conference(s) with K. Banner regarding same and
                              obtaining W-2s (.1)
 01/27/20 K Banner            Review responses of Ultimate Software to 3rd party subpoena         0.30        $ 157.50
                              (.2); email exchange with R. Chai regarding the same (.1).
 01/28/20 K Banner            Extended email exchange with B. Marks regarding Ultimate            0.40        $ 210.00
                              Software proposal (.2); email exchange with Trustee regarding
                              the same (.1); email exchange with A. Beccerra regarding Nova
                              storage facility (.1).
 01/29/20 A Azar              Research issues regarding obligation of trustee to issue W-2 to     1.90        $ 807.50
                              former employees
 01/29/20 JA Krieger          Conference with K. Banner regarding W-2 distribution dispute        0.50        $ 330.00
                              (.2); conference with K. Sterman regarding employee issues
                              (.1); preparation of email to K. Banner regarding same (.1);
                              telephone conference(s) with A. Azar regarding research on w-
                              2 issues (.1)
 01/29/20 K Banner            Email exchange with B. Marks regarding Ultimate Software            0.50        $ 262.50
                              dispute (.1); email exchange with Trustee and D. Fife regarding
                              the same (.1); confer with J. Krieger regarding options to
                              compel Ultimate Software to act (.2); email exchange with D.
                              Devine regarding the same (.1).
 01/30/20 JA Krieger          Telephone conference(s) with K. Banner regarding resolution         0.20        $ 132.00
                              with payroll company for W-2s (.1); review email string with
                              payroll company regarding same (.1).
 01/30/20 K Banner            Review tax analysis from A. Azar (.2); telephone conference         1.90        $ 997.50
                              with A. Azar regarding the same (.1); email exchange with
                              Trustee regarding the same (.1); telephone conference with B.
                              Marks, D. Devine, D. Fife and Trustee regarding Ultimate
                              Software (.6); telephone conference with Trustee and D. Fife
                              regarding the same (.4); follow up telephone call with Trustee
                              regarding the same and draft proposal to B. Marks (.4); email
                              exchange with D. Devine regarding the same (.1).
 01/31/20 K Banner            Email exchange with D. Devine regarding w-2 issuance (.2);          0.40        $ 210.00
                              email exchange with Trustee regarding the same (.1); telephone
                              call with S. Torres former employee regarding w-2 issuance
                              (.1).
          Total B190 – Other Contested Matters (excluding assumption/rejection motions)          20.50     $ 10,829.00



Atty : JAK, #264 / P1059145                               Page 7                                 Tax ID # XX-XXXXXXX
                                                                                                Exhibit 2, page 69
   Case 2:19-bk-23085-BB               Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                         Desc
                                       Main Document    Page 70 of 377
                                           GREENBERG GLUSKER

     2049 Century Park East                                                        General billing questions: (310) 201-7492
     Suite 2600                                                                                               (310) 785-6842
     Los Angeles, CA 90067                                                                        Payments: (310) 785-6846
                                                                                                           Fax: (310) 553-7018
     Client # 76214,       Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,       Youth Policy Institute, Inc.

     Invoice date: 02/05/20                                                                        Charges through: 01/31/20
     Invoice # 673037

                                                            FEES
 Date        Timekeeper                             Description of Services                        Hours         Amount
             Total B100 – Administration                                                           49.40     $ 26,514.50


 B200 – Operations
    B230 – Financing/Cash Collateral
 01/06/20 K Banner             Email exchange with G. Weiner regarding property at Beverly          0.40        $ 210.00
                               facility (.2); confer with J. Krieger regarding latest
                               developments re cash collateral (.2).
 01/07/20 K Banner             Email exchange with G. Weiner regarding 341(a).                      0.10         $ 52.50
 01/13/20 JA Krieger           Review emails from G. Weiner regarding update from                   0.20        $ 132.00
                               auctioneer on value and request to speak to Oshiro (.1); emails
                               with K. Banner regarding response (.1)
 01/15/20 K Banner             Email exchange with Trustee regarding request of NFF's               0.50        $ 262.50
                               counsel (.1); extended email exchange with G. Weiner
                               regarding NFF inquiries (.2); review pre-petition financials
                               NFF received from Debtor (.2).
 01/16/20 JA Krieger           Review email from G. Weiner (.1); conference with K. Banner          0.20        $ 132.00
                               regarding response (.1)
 01/16/20 K Banner             Email exchange with G. Weiner regarding cash collateral              0.10         $ 52.50
                               arrangement.
 01/24/20 K Banner             Email exchange with G. Weiner regarding status of                    0.10         $ 52.50
                               negotiations re cash collateral.
 01/28/20 JA Krieger           Telephone conference(s) with counsel for lender (NFF) and K.         1.10        $ 726.00
                               Banner regarding cash collateral counteroffer (.3); conference
                               call with K. Banner and Trustee regarding response (.8)
 01/28/20 K Banner             Email exchange with G. Weiner regarding cash collateral              1.20        $ 630.00
                               negotiations (.1); telephone conference with G. Weiner and J.
                               Krieger regarding cash collateral proposal (.3); telephone
                               conference with Trustee and J. Krieger regarding the same (.8).
 01/29/20 JA Krieger           Review and revise draft settlement proposal to counsel for NFF       0.70        $ 462.00
                               (.5); conference with K. Banner regarding same (.2).
 01/29/20 K Banner             Draft and revise proposal for NFF arrangement (.6); confer with      1.10        $ 577.50
                               J. Krieger regarding the same (.4); email exchange with Trustee
                               regarding the same (.1).
 01/30/20 K Banner             Email exchange with G. Weiner regarding cash collateral (.1);        1.00        $ 525.00
                               telephone conference with G. Weiner regarding cash collateral
                               (.4); telephone conference with J. Rund regarding the same (.3);
                               confer with J. Krieger regarding developments (.2).
           Total B230 – Financing/Cash Collateral                                                   6.70       $ 3,814.50


             Total B200 – Operations                                                                6.70       $ 3,814.50


 Total fees for this matter:                                                                                  $ 30,329.00


Atty : JAK, #264 / P1059145                                Page 8                                  Tax ID # XX-XXXXXXX
                                                                                                  Exhibit 2, page 70
   Case 2:19-bk-23085-BB                Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                               Desc
                                        Main Document    Page 71 of 377
                                            GREENBERG GLUSKER

     2049 Century Park East                                                                General billing questions: (310) 201-7492
     Suite 2600                                                                                                       (310) 785-6842
     Los Angeles, CA 90067                                                                                Payments: (310) 785-6846
                                                                                                                  Fax: (310) 553-7018
     Client # 76214,    Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,    Youth Policy Institute, Inc.

     Invoice date: 02/05/20                                                                                Charges through: 01/31/20
     Invoice # 673037


                                           Summary Of Attorney Time By Task
                                              ______________________

                                                                Hours              Rate                  Value

             B110 – Case Administration
               K Banner                                           0.30           525.00               $ 157.50
               JA Krieger                                         0.20           660.00               $ 132.00

             B120 – Asset Analysis and Recovery
               K Banner                                           3.20           525.00              $ 1,680.00
               JA Krieger                                         1.20           660.00                $ 792.00

             B130 – Asset Disposition
               K Banner                                           6.00           525.00              $ 3,150.00
               JA Krieger                                         0.20           660.00                $ 132.00

             B150 – Meetings of and Communications with Creditors
               K Banner                                          1.40            525.00               $ 735.00
               JA Krieger                                        0.10            660.00                $ 66.00

             B160 – Fee/Employment Applications
               K Banner                                           2.10           525.00              $ 1,102.50

             B185 – Assumption/Rejection of Leases and Contracts
               K Banner                                          12.10           525.00              $ 6,352.50
               JA Krieger                                         2.10           660.00              $ 1,386.00

             B190 – Other Contested Matters (excluding assumption/rejection motions)
               K Banner                                          16.70            525.00             $ 8,767.50
               A Azar                                             1.90            425.00               $ 807.50
               JA Krieger                                         1.90            660.00             $ 1,254.00

             B230 – Financing/Cash Collateral
               K Banner                                           4.50           525.00              $ 2,362.50
               JA Krieger                                         2.20           660.00              $ 1,452.00

             Total                                               56.10                              $ 30,329.00




Atty : JAK, #264 / P1059145                                   Page 9                                      Tax ID # XX-XXXXXXX
                                                                                                         Exhibit 2, page 71
   Case 2:19-bk-23085-BB                Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                                  Desc
                                        Main Document    Page 72 of 377
                                            GREENBERG GLUSKER

     2049 Century Park East                                                              General billing questions: (310) 201-7492
     Suite 2600                                                                                                     (310) 785-6842
     Los Angeles, CA 90067                                                                              Payments: (310) 785-6846
                                                                                                                     Fax: (310) 553-7018
     Client # 76214,      Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,      Youth Policy Institute, Inc.

     Invoice date: 02/05/20                                                                                 Charges through: 01/31/20
     Invoice # 673037

                                                         Summary By Task
                                                      ______________________

                                                  Task                                             Hours             Value
                                                  B110 – Case Administration                        0.50          $ 289.50
                                                  B120 – Asset Analysis and Recovery                4.40        $ 2,472.00
                                                  B130 – Asset Disposition                          6.20        $ 3,282.00
                                                  B150 – Meetings of and Communications             1.50          $ 801.00
                                                  with Creditors
                                                  B160 – Fee/Employment Applications                2.10        $ 1,102.50
                                                  B185 – Assumption/Rejection of Leases            14.20        $ 7,738.50
                                                  and Contracts
                                                  B190 – Other Contested Matters (excluding        20.50       $ 10,829.00
                                                  assumption/rejection motions)
                                                  B230 – Financing/Cash Collateral                  6.70        $ 3,814.50
   Total                                                                                           56.10       $ 30,329.00




                                                          COSTS
                       Date         Description                                                            Amount
                       01/09/20     VENDOR: First Legal Network, LLC INVOICE#:                             $ 10.25
                                    10284898 DATE: 1/15/2020

                       01/16/20     VENDOR: First Legal Network, LLC INVOICE#:                             $ 10.25
                                    10287015 DATE: 1/23/2020

                       01/21/20     VENDOR: First Legal Network, LLC INVOICE#:                             $ 10.25
                                    10287015 DATE: 1/23/2020

                       01/22/20     VENDOR: First Legal Network, LLC INVOICE#:                             $ 10.25
                                    10287015 DATE: 1/23/2020

                   01/15/20         CourtCall US Bankruptcy Court                                       $ 35.00
                   01/29/20         CourtCall US Bankruptcy Court                                       $ 35.00
           through 01/31/20         Telephone                                                           $ 40.95
           through 01/31/20         Postage                                                            $ 135.30

                       Total costs for this matter:                                                    $ 287.25


                                             Summary Of Costs by Expenses Code
                                                ______________________

                              Expense                                                      Value
                              E105 – Telephone                                            $40.95

Atty : JAK, #264 / P1059145                                    Page 10                                      Tax ID # XX-XXXXXXX
                                                                                                           Exhibit 2, page 72
   Case 2:19-bk-23085-BB                 Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                          Desc
                                         Main Document    Page 73 of 377
                                             GREENBERG GLUSKER

     2049 Century Park East                                                           General billing questions: (310) 201-7492
     Suite 2600                                                                                                  (310) 785-6842
     Los Angeles, CA 90067                                                                           Payments: (310) 785-6846
                                                                                                              Fax: (310) 553-7018
     Client # 76214,      Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,      Youth Policy Institute, Inc.

     Invoice date: 02/05/20                                                                           Charges through: 01/31/20
     Invoice # 673037

                              Expense                                                  Value
                              E107 – Delivery services/messengers                     $41.00

                              E108 – Postage                                         $135.30

                              E123 – Other professionals                              $70.00

                              Total                                                  $ 287.25




                                                 RECAP OF AMOUNTS DUE
 Total Previous Balance                                                                         $ 70,443.07
                                                                                                              __________
 Balance Forward                                                                                              $ 70,443.07
 Current Month Fees                                                                             $ 30,329.00
 Current Month Costs                                                                               $ 287.25
                                                                                                               __________
 Total Current Charges                                                                                         $ 30,616.25
                                                                                                               __________
 Total Due from Current Charges                                                                                $ 30,616.25
                                                                                                               __________
 AMOUNT DUE                                                                                                   $ 101,059.32




                                                   Summary Of Attorney Time
                                                   ______________________

             Attorney                                               Hours     Rate         Value
             A Azar                                                  1.90   425.00      $ 807.50
             J Krieger                                               7.90   660.00    $ 5,214.00
             K Banner                                               46.30   525.00   $ 24,307.50
             Total                                                  56.10            $ 30,329.00




Atty : JAK, #264 / P1059145                                     Page 11                              Tax ID # XX-XXXXXXX
                                                                                                    Exhibit 2, page 73
         Case 2:19-bk-23085-BB                 Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                                     Desc
                                               Main Document    Page 74 of 377

                                                      GREENBERG GLUSKER
          2049 Century Park East                                                            General billing questions: (310) 201-7492
          Suite 2600                                                                                                   (310) 785-6842
          Los Angeles, CA 90067                                                                            Payments: (310) 785-6846
                                                                                                                      Fax: (310) 553-7018
                                                  Jason M. Rund, Chapter 7 Trustee
          Client # 76214                                                                                      Charges through: 01/31/20
          Invoice date: 02/05/20
          Invoice # 673037




                                                                                              Payments and
Matter                                                     Previous             Current        Retainers To        Adjustments
Number      Name                                            Balance            Charges            02/05/20         To 02/05/20         Amount Due
00002       Youth Policy Institute, Inc.                $ 70,443.07         $ 30,616.25              $ 0.00             $ 0.00        $ 101,059.32

                                                      ___________          __________          __________           __________       ___________
            Bill Total                                 $ 70,443.07         $ 30,616.25              $ 0.00               $ 0.00      $ 101,059.32


                                  PLEASE ENCLOSE THIS PAGE WITH YOUR REMITTANCE


                                           Wire instructions for the GENERAL account in US Dollars:
                                         Bank Name:               First Republic Bank
                                                                  111 Pine Street
                                                                  San Francisco, CA 94111
                                         SWIFT CODE:              FRBBUS6S
                                         ABA:                     321081669
                                         Account Name:            Greenberg Glusker Fields Claman &
                                                                  Machtinger
                                         Account No.:             #997-0005-4655




  Please reflect the client name and number, and the matters being paid. Payments received will apply first to accrued interest and then to
  costs and fees.
   Atty : JAK, #264 / P1059145                                         Page 12                                       Tax ID # XX-XXXXXXX
                                                                                                                    Exhibit 2, page 74
        Case 2:19-bk-23085-BB                   Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                                     Desc
                                                Main Document    Page 75 of 377
                                                    GREENBERG GLUSKER
          2049 Century Park East                                                             General billing questions: (310) 201-7577
          Suite 2600                                                                                                    (310) 785-6842
          Los Angeles, CA 90067                                                                             Payments: (310) 785-6846
                                                                                                                       Fax: (310) 553-7018
                                                   Jason M. Rund, Chapter 7 Trustee

          Client # 76214                                                                                       Charges through: 02/29/20
          Invoice date: 05/17/23
          Invoice # 732438
          (Replaces Invoice # 675607)



                                                                                              Payments and
Matter                                                     Previous              Current       Retainers To          Adjustments
Number Name                                                 Balance             Charges           05/17/23           To 05/17/23        Amount Due
00002   Youth Policy Institute, Inc.                   $ 101,059.32          $ 36,146.38             $ 0.00               $ 0.00       $ 137,205.70

                                                       ___________          __________          __________           __________       ___________
             Bill Total                                $ 101,059.32         $ 36,146.38              $ 0.00               $ 0.00      $ 137,205.70




                                                                         Jason M. Rund, Chapter 7 Trustee
                                                                         Sheridan & Rund
                                                                         840 Apollo Street
                                                                         Suite 351
                                                                         El Segundo, CA 90402




   Please reflect the client name and number, and the matters being paid. Payments received will apply first to accrued interest and then to
   costs and fees.
    Atty : JAK, #264 / P1215616                                          Page 1                                       Tax ID # XX-XXXXXXX
                                                                                                                     Exhibit 2, page 75
   Case 2:19-bk-23085-BB              Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                            Desc
                                      Main Document    Page 76 of 377
                                          GREENBERG GLUSKER

     2049 Century Park East                                                          General billing questions: (310) 201-7577
     Suite 2600                                                                                                 (310) 785-6842
     Los Angeles, CA 90067                                                                          Payments: (310) 785-6846
                                                                                                             Fax: (310) 553-7018
     Client # 76214,     Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,     Youth Policy Institute, Inc.
     Invoice date: 05/17/23                                                                          Charges through: 02/29/20
     Invoice # 732438
     (Replaces Invoice # 675607)



                                                             FEES
 Date       Timekeeper                               Description of Services                         Hours         Amount

 B100 – Administration
    B110 – Case Administration
 02/03/20 K Banner             Review case docket for developments.                                   0.10         $ 52.50
 02/07/20 JA Krieger           Review T. Porlas email regarding payroll audit (.1); preparation       0.20        $ 132.00
                               of email to T. Porlas regarding same (.1).
 02/07/20 K Banner             Review case docket for developments.                                   0.10         $ 52.50
 02/11/20 K Banner             Review case docket for developments.                                   0.10         $ 52.50
           Total B110 – Case Administration                                                           0.50        $ 289.50


    B120 – Asset Analysis and Recovery
 02/03/20 K Banner             Email exchange with S. Thomas regarding LAUSD receivable.              0.10         $ 52.50
 02/04/20 K Banner             Review information from LAUSD in advance of call (.3);                 1.50        $ 787.50
                               telephone call with S. Thomas regarding LAUSD (.5); draft
                               email to Trustee regarding the same (.3); telephone call with J.
                               Rund regarding the same (.4).
 02/07/20 K Banner             Email exchange with K. Meek regarding corporate records of             0.20        $ 105.00
                               YPI (.1); telephone call with K. Meek regarding the same (.1).
 02/10/20 JA Krieger           Review correspondence from City of Los Angeles regarding               0.30        $ 198.00
                               records request (.2); preparation of email to Trustee regarding
                               response (.1).
 02/11/20 JA Krieger           Review emails from trustee regarding response to city of LA            0.30        $ 198.00
                               and regarding obtaining information from Debtor (.2); review
                               email to Oshiro regarding response to City of LA (.1).
 02/11/20 K Banner             Draft email to D. Oshiro regarding status of grant collection.         0.20        $ 105.00
 02/12/20 K Banner             Email exchange with G. Weiner regarding personal property at           1.50        $ 787.50
                               Beverly (.1); email exchange with S. Van Horn regarding the
                               same (.1); review detailed inventory of documents relating to
                               Beverly facility in light of EWDD requests (.6); email exchange
                               with Trustee regarding the same (.1); email exchange with T.
                               Shokrai regarding the same (.1); telephone call with Trustee
                               regarding the same (.4); draft email to M. Sparnicht regarding
                               Extra Space Storage (.1).
 02/13/20 K Banner             Telephone call with C. Rajapakse regarding EWDD receivables            1.40        $ 735.00
                               and related information (.8); draft summary of call for Trustee
                               (.2); telephone call with T. Shokrai regarding various site visits
                               to schedule (.4).
 02/14/20 K Banner             Telephone conference with D. Oshiro and Trustee regarding              2.00       $ 1,050.00
                               various grant receivables and other matters (.9); telephone
                               conference with Trustee regarding the same (.5); email
                               exchange and telephone call with B. Howard regarding
                               Microsoft 360 account (.3); draft email to N. Pham regarding
                               the same (.1); attempts to access OneDrive account of Debtor
Atty : JAK, #264 / P1215616                                 Page 2                                   Tax ID # XX-XXXXXXX
                                                                                                    Exhibit 2, page 76
   Case 2:19-bk-23085-BB             Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                          Desc
                                     Main Document    Page 77 of 377
                                         GREENBERG GLUSKER

     2049 Century Park East                                                        General billing questions: (310) 201-7577
     Suite 2600                                                                                               (310) 785-6842
     Los Angeles, CA 90067                                                                        Payments: (310) 785-6846
                                                                                                          Fax: (310) 553-7018
     Client # 76214,     Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,     Youth Policy Institute, Inc.
     Invoice date: 05/17/23                                                                       Charges through: 02/29/20
     Invoice # 732438
     (Replaces Invoice # 675607)

                                                            FEES
 Date       Timekeeper                              Description of Services                       Hours         Amount
                                (.2).
 02/18/20   K Banner            Email exchange with N. Pham regarding OneDrive access (.1);        1.20        $ 630.00
                                Review of Microsoft 365 admin account and select individual
                                One Drive account (1.0); email exchange with Trustee
                                regarding the same (.1).
 02/20/20   JA Krieger          Review emails in preparation for conference call with EWDD         1.20        $ 792.00
                                (.4); conference with K. Banner regarding preparation for same
                                (.2); conference call with EWDD regarding information needed
                                to pay grant receivable (.6).
 02/20/20   K Banner            Review bank statements from Wells Fargo for October-               1.40        $ 735.00
                                November 2019 (.2); email exchange with C. Prince regarding
                                insurance policies (.1); review prior correspondence and
                                information in preparation for call with EWDD (.2); telephone
                                call and follow up email with EWDD representatives regarding
                                grant receivables and other issues (.6); draft summary for
                                Trustee regarding the same (.3).
 02/21/20   JA Krieger          Review emails from K. Banner and from J. Rund regarding            0.20        $ 132.00
                                EWDD and City attorney follow up.
 02/24/20   K Banner            Telephone call and email exchange with C. Rajapakse                0.40        $ 210.00
                                regarding EWDD receivables (.2); email exchange with Trustee
                                regarding the same (.1); email exchange with D. Oshiro
                                regarding the same (.1).
 02/25/20   K Banner            Email exchange and telephone call with T. Shokrai regarding        0.30        $ 157.50
                                assets discovered at Beverly and Nova storage inspection (.2);
                                confer with J. Krieger regarding latest developments (.1).
 02/28/20   JA Krieger          Review email(s) from D. Oshiro and from trustee regarding          0.10         $ 66.00
                                grants recovery progress.
 02/28/20   K Banner            Telephone call with T. Shokrai regarding latest inspections.       0.20         $ 105.00
            Total B120 – Asset Analysis and Recovery                                              12.50       $ 6,846.00


    B130 – Asset Disposition
 02/04/20 K Banner            Review procedural posture of Arleta abandonment per inquiry          0.30        $ 157.50
                              from B. Bass (.2); email exchange with B. Bass regarding the
                              same (.1).
 02/07/20 K Banner            Research regarding abandonment of business records.                  0.40        $ 210.00
 02/11/20 K Banner            Email exchange with T. Shokrai regarding potential sale of           0.10         $ 52.50
                              vehicles.
 02/13/20 JA Krieger          Review emails from trustee regarding Oshiro situation.               0.10         $ 66.00
 02/25/20 JA Krieger          Review mulitple emails from T. Shokrai regarding new rooftop         0.30        $ 198.00
                              storage at Beverly and regarding Nova (video of facility).
          Total B130 – Asset Disposition                                                           1.20        $ 684.00


    B150 – Meetings of and Communications with Creditors
 02/11/20 K Banner            Email exchange with Trustee regarding 341(a) (.1); email             0.30        $ 157.50
Atty : JAK, #264 / P1215616                                Page 3                                 Tax ID # XX-XXXXXXX
                                                                                                 Exhibit 2, page 77
   Case 2:19-bk-23085-BB              Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                           Desc
                                      Main Document    Page 78 of 377
                                          GREENBERG GLUSKER

     2049 Century Park East                                                         General billing questions: (310) 201-7577
     Suite 2600                                                                                                (310) 785-6842
     Los Angeles, CA 90067                                                                         Payments: (310) 785-6846
                                                                                                            Fax: (310) 553-7018
     Client # 76214,     Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,     Youth Policy Institute, Inc.
     Invoice date: 05/17/23                                                                         Charges through: 02/29/20
     Invoice # 732438
     (Replaces Invoice # 675607)

                                                          FEES
 Date       Timekeeper                           Description of Services                            Hours         Amount
                               exchange with K. Meek regarding the same (.1); email
                               exchange with G. Weiner regarding the same (.1).
            Total B150 – Meetings of and Communications with Creditors                               0.30        $ 157.50


    B160 – Fee/Employment Applications
 02/20/20 B Davidoff          Conference with Jeff Krieger regarding employment                      0.25        $ 181.25
                              application in YPI case.
 02/13/20 JA Krieger          Analyze matrix report for possible supplement to employment            1.50        $ 990.00
                              app.
 02/20/20 JA Krieger          Analyze matrix for possible employment app supplement.                 1.00        $ 660.00
 02/25/20 JA Krieger          Review matrix and schedule for potential employment app                0.80        $ 528.00
                              supplemental disclosure.
           Total B160 – Fee/Employment Applications                                                  3.55       $ 2,359.25


    B185 – Assumption/Rejection of Leases and Contracts
 02/07/20 K Banner             Email exchange with S. Thomas regarding LAUSD lease of                2.70       $ 1,417.50
                               real property (.1); draft proposed order regarding rejection of
                               Sylmar lease (.4); review master lease, subleases, lease abstract
                               and other information regarding lease of 1075 N. Western Ave.
                               (.5); telephone call to M. Gabay regarding 1075 N. Western
                               (.1); telephone call with C. Prince (counsel to D. Slingerland)
                               regarding motion to abandon Beverly (.3); conferences with J.
                               Krieger regarding the same (.7); telephone calls with T. Shokrai
                               regarding latest developments at Beverly Facility (.4); draft
                               email to D. Meadows regarding the same (.1); email to L.
                               Pacella regarding Nova Storage unit (.1).
 02/10/20 K Banner             Review and revise declaration of non-opposition regarding             0.10         $ 52.50
                               motion to reject/abandon Sylmar Facility.
 02/11/20 K Banner             Review entered order regarding rejection/abandonment of               0.10         $ 52.50
                               Sylmar facility.
 02/12/20 K Banner             Email exchange with D. Meadows regarding Beverly motion               0.80        $ 420.00
                               (.1); draft and revise order granting motion to reject/abandon
                               Beverly facility (.4); email exchange with G. Weiner regarding
                               Beverly lease (.1); confer with J. Krieger regarding response
                               from D. Slingerland's counsel and email exchange with C.
                               Prince (.2).
 02/13/20 K Banner             Extended email exchange with C. Prince regarding documents            0.20        $ 105.00
                               at Beverly.
 02/19/20 K Banner             Email exchange and telephone call with T. Shokrai regarding           0.40        $ 210.00
                               status of securing documents at Beverly (.3); email exchange
                               with D. Meadows regarding Beverly facility (.1).
 02/20/20 JA Krieger           Review and revise rejection/abandonment order (.1); review            0.40        $ 264.00
                               email from G. Weiner regarding status of order and of personal
                               property at Beverly location (.1); telephone conference(s) with
Atty : JAK, #264 / P1215616                                 Page 4                                  Tax ID # XX-XXXXXXX
                                                                                                   Exhibit 2, page 78
   Case 2:19-bk-23085-BB           Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                            Desc
                                   Main Document    Page 79 of 377
                                       GREENBERG GLUSKER

     2049 Century Park East                                                       General billing questions: (310) 201-7577
     Suite 2600                                                                                              (310) 785-6842
     Los Angeles, CA 90067                                                                       Payments: (310) 785-6846
                                                                                                          Fax: (310) 553-7018
     Client # 76214,     Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,     Youth Policy Institute, Inc.
     Invoice date: 05/17/23                                                                       Charges through: 02/29/20
     Invoice # 732438
     (Replaces Invoice # 675607)

                                                             FEES
 Date       Timekeeper                              Description of Services                       Hours         Amount
                              G. Weiner regarding same (.2).
 02/20/20   K Banner          Email exchange with B. Bass regarding Arleta storage units           1.60        $ 840.00
                              (.1); telephone call with Trustee regarding Beverly order and
                              other matters (.5); confer with J. Krieger regarding Beverly
                              order (.2); review and revise Beverly order and declaration re
                              non-opposition (.3); email exchange with D. Meadows
                              regarding the same (.1); telephone conference with G. Weiner
                              and J. Krieger regarding the same (.2); follow up telephone call
                              with G. Weiner regarding the same (.2).
 02/21/20   JA Krieger        Analyze multiple emails from counsel for landlord, counsel for       0.70        $ 462.00
                              Think Together regarding property on premises (.4); review
                              issues with K. Banner (.3).
 02/21/20   K Banner          Extended email exchange with D. Meadows and G. Weiner                0.40        $ 210.00
                              regarding documents at Beverly location.
 02/24/20   JA Krieger        Conference with K. Banner regarding addressing issues with           0.20        $ 132.00
                              landlord and remaining documents.
 02/24/20   JA Krieger        Review emails from D. Meadows regarding site visit and               0.30        $ 198.00
                              proposal.
 02/24/20   K Banner          Email exchange with D. Meadows regarding Beverly (.2);               0.30        $ 157.50
                              email exchange with Trustee and T. Shokrai regarding the same
                              (.1).
 02/25/20   JA Krieger        Review multiple emails from landlord's counsel regarding             0.40        $ 264.00
                              removal of documents from premises (.1); review responses
                              (.1); preparation of email to landlord's counsel regarding
                              resolution and possible call (.1); review response from counsel
                              (.1).
 02/25/20   K Banner          Email exchange and telephone call with D. Meadows regarding          0.30        $ 157.50
                              Beverly facility.
 02/26/20   JA Krieger        Conference with K. Banner regarding resolution with landlord's       0.10         $ 66.00
                              counsel.
 02/26/20   JA Krieger        Review message from court clerk regarding hearing on                 0.70        $ 462.00
                              rejection/abandonment motion (.1); telephone conference(s)
                              with courtroom deputy regarding scheduling hearing (.2);
                              telephone conference(s) with court clerk regarding same (.1);
                              further telephone conference(s) with court clerk regarding
                              possible hearing dates (.1); review and revise notice of hearing
                              (.1); telephone conference(s) with J. Rund regarding hearing
                              date on motion (.1).
 02/26/20   JA Krieger        Review multiple emails with counsel for landlord regarding           0.20        $ 132.00
                              hearing.
 02/26/20   K Banner          Review case docket for status of Beverly abandonment order           1.00        $ 525.00
                              and other developments (.1); conference with J. Krieger
                              regarding latest developments regarding Beverly motion,
                              including conference call with judge's chambers (.4); draft
                              notice of hearing on Beverly motion per request from chambers
                              (.4); email exchange with D. Meadows regarding the same (.1).
Atty : JAK, #264 / P1215616                              Page 5                                   Tax ID # XX-XXXXXXX
                                                                                                 Exhibit 2, page 79
   Case 2:19-bk-23085-BB             Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                           Desc
                                     Main Document    Page 80 of 377
                                         GREENBERG GLUSKER

     2049 Century Park East                                                        General billing questions: (310) 201-7577
     Suite 2600                                                                                               (310) 785-6842
     Los Angeles, CA 90067                                                                        Payments: (310) 785-6846
                                                                                                           Fax: (310) 553-7018
     Client # 76214,     Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,     Youth Policy Institute, Inc.
     Invoice date: 05/17/23                                                                        Charges through: 02/29/20
     Invoice # 732438
     (Replaces Invoice # 675607)

                                                           FEES
 Date     Timekeeper                               Description of Services                         Hours         Amount
 02/27/20 JA Krieger           Review emails from trustee's field agent regarding relocation of     0.20        $ 132.00
                               documents at landlord's and Think Together location.
 02/28/20   K Banner           Email exchange with G. Weiner regarding Beverly motion (.1);         0.40        $ 210.00
                               extended email exchange with D. Medows, T. Dillman and G.
                               Weiner regarding property at Beverly (.3).
 02/29/20   K Banner           Email exchange with G. Weiner and D. Meadows regarding               0.20        $ 105.00
                               Beverly.
            Total B185 – Assumption/Rejection of Leases and Contracts                              11.70       $ 6,574.50


    B190 – Other Contested Matters (excluding assumption/rejection motions)
 02/01/20 K Banner             Email to D. Devine regarding filing of w-2s.                         0.10         $ 52.50
 02/03/20 K Banner             Email exchange with D. Devine regarding w-2 filings (.1);            0.20        $ 105.00
                               email exchange with Trustee regarding the same (.1).
 02/05/20 K Banner             Email exchange with D. Devine regarding filing of w-2s.              0.10         $ 52.50
 02/06/20 K Banner             Email exchange D. Devine regarding apparent discrepancy in           0.10         $ 52.50
                               w-2 courtesy copies.
 02/10/20 K Banner             Email exchange with D. Devine regarding w-2 inconsistencies          0.30        $ 157.50
                               (.1); email exchange with L. Pacella and Trustee regarding
                               Nova Storage unit (.2).
 02/11/20 K Banner             Email exchange with L. Pacella regarding Nova storage issue.         0.10         $ 52.50
 02/12/20 JA Krieger           Review emails with counsel for storage regarding possible stay       0.20        $ 132.00
                               violation.
 02/12/20 K Banner             Email exchange with L. Pacella regarding Nova storage dispute        0.20        $ 105.00
                               (.1); email exchange with T. Shokrai regarding the same (.1).
 02/13/20 K Banner             Email exchange with T. Maimon regarding w-2.                         0.10         $ 52.50
           Total B190 – Other Contested Matters (excluding assumption/rejection motions)            1.40        $ 762.00


            Total B100 – Administration                                                            31.15     $ 17,672.75


 B200 – Operations
    B230 – Financing/Cash Collateral
 02/06/20 K Banner             Review proposal from NFF and email exchange with Trustee             0.30        $ 157.50
                               (.2); email exchange with G. Weiner regarding the same (.1).
 02/07/20 JA Krieger           Telephone conference(s) with K. Banner and conference call           1.50        $ 990.00
                               with client regarding response to secured creditor.
 02/07/20 K Banner             Telephone conference with J. Krieger and Trustee regarding           0.90        $ 472.50
                               strategy going forward re cash collateral arrangement and other
                               outstanding matters.
 02/11/20 JA Krieger           Review email from G. Weiner, counsel for NFF regarding               0.30        $ 198.00
                               global resolution (.1); review and revise response (.2).
 02/11/20 K Banner             Draft and revise proposal to NFF (.5); confer with J. Krieger        0.90        $ 472.50
                               regarding the same (.2); email exchange with Trustee regarding
                               the same (.1); email exchange with G. Weiner regarding the
Atty : JAK, #264 / P1215616                                Page 6                                  Tax ID # XX-XXXXXXX
                                                                                                  Exhibit 2, page 80
   Case 2:19-bk-23085-BB           Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                            Desc
                                   Main Document    Page 81 of 377
                                       GREENBERG GLUSKER

     2049 Century Park East                                                       General billing questions: (310) 201-7577
     Suite 2600                                                                                              (310) 785-6842
     Los Angeles, CA 90067                                                                       Payments: (310) 785-6846
                                                                                                          Fax: (310) 553-7018
     Client # 76214,     Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,     Youth Policy Institute, Inc.
     Invoice date: 05/17/23                                                                       Charges through: 02/29/20
     Invoice # 732438
     (Replaces Invoice # 675607)

                                                          FEES
 Date       Timekeeper                            Description of Services                         Hours         Amount
                              same (.1).
 02/12/20   JA Krieger        Review correspondence to and from counsel for NFF regarding          0.10         $ 66.00
                              possible resolution.
 02/14/20   K Banner          Review proposal from NFF and confer with J. Krieger and              0.60        $ 315.00
                              Trustee regarding the same (.3); email exchange with G.
                              Weiner regarding the same (.1); draft proposed response to NFF
                              proposal (.2).
 02/18/20   JA Krieger        Conference with K. Banner regarding response to NFF (.1);            0.20        $ 132.00
                              review finalized version of email to NFF regarding cash
                              collateral deal (.1).
 02/18/20   K Banner          Review and revise response to NFF proposal and confer with J.        0.20        $ 105.00
                              Krieger regarding the same.
 02/19/20   K Banner          Draft and revise stipulation regarding NFF lien and carve out        3.50       $ 1,837.50
                              (3.2); confer with J. Krieger regarding the same (.3).
 02/20/20   JA Krieger        Review email from counsel for NFF regarding due diligence            0.10         $ 66.00
                              documents.
 02/20/20   JA Krieger        Review and revise stipulation with NFF regarding carveout etc.       0.60        $ 396.00
 02/20/20   K Banner          Draft and revise stipulation re NFF secured claim.                   1.50        $ 787.50
 02/21/20   JA Krieger        Conference with K. Banner regarding changes to stipulation           0.60        $ 396.00
                              with NFF.
 02/21/20   JA Krieger        Review email from K. Banner to counsel for NFF regarding             0.10         $ 66.00
                              due diligence documents.
 02/21/20   JA Krieger        Review correspondence with trustee regarding NFF stipulation.        0.10         $ 66.00
 02/21/20   K Banner          Email exchange with G. Weiner regarding document request re          1.20        $ 630.00
                              NFF transfers (.1); conference with J. Krieger regarding NFF
                              stipulation (.6); review and revise NFF stipulation (.4); email
                              exchange with Trustee regarding the same (.1).
 02/24/20   JA Krieger        Review email from J. Rund regarding comments on draft                0.60        $ 396.00
                              stipulation with NFF (.1); review email from K. Banner
                              regarding possible issues (.1); conference with K. Banner
                              regarding proposed revisions (.2); review redline of stipulation
                              (.2).
 02/24/20   JA Krieger        Review and revise stipulation (.5); conference call with J. Rund     2.90       $ 1,914.00
                              (.4) ; meet with K. Banner regarding carveout issues (.6);
                              analyze structural issues (.8); assess second lien issues for
                              agreement with NFF (.6).
 02/24/20   K Banner          Review and revise NFF stipulation (.7); conferences with J.          1.80        $ 945.00
                              Krieger regarding the same, including new developments and
                              inquiries (portion of time conference call with J. Krieger and
                              Trustee) (1.0); email exchange with Trustee regarding the same
                              (.1).
 02/25/20   JA Krieger        Review emails regarding follow up on obtaining due diligence         0.10         $ 66.00
                              documents from NFF and review NFF's counsel's response.
 02/25/20   K Banner          Email exchange with G. Weiner regarding documents requested          0.10         $ 52.50
                              from NFF.
 02/26/20   JA Krieger        Review email from counsel for NFF regarding lender                   0.10         $ 66.00
Atty : JAK, #264 / P1215616                              Page 7                                   Tax ID # XX-XXXXXXX
                                                                                                 Exhibit 2, page 81
   Case 2:19-bk-23085-BB               Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                       Desc
                                       Main Document    Page 82 of 377
                                           GREENBERG GLUSKER

     2049 Century Park East                                                       General billing questions: (310) 201-7577
     Suite 2600                                                                                              (310) 785-6842
     Los Angeles, CA 90067                                                                       Payments: (310) 785-6846
                                                                                                         Fax: (310) 553-7018
     Client # 76214,     Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,     Youth Policy Institute, Inc.
     Invoice date: 05/17/23                                                                      Charges through: 02/29/20
     Invoice # 732438
     (Replaces Invoice # 675607)

                                                          FEES
 Date        Timekeeper                           Description of Services                        Hours         Amount
                              documents for due diligence.
 02/28/20 JA Krieger          Telephone conference(s) with K. Banner regarding due                0.40        $ 264.00
                              diligence documents from NFF(.1); review documents (.3).
 02/28/20 JA Krieger          Review multiple emails from counsel for Landlord, NFF and           0.70        $ 462.00
                              Think Together regarding moving property (.5); review K.
                              Banner responses (.2).
 02/28/20 K Banner            Review and analyze documents from NFF regarding loan                0.60        $ 315.00
                              payments and transfers in connection with cash collateral
                              arrangement (.5); email exchange with G. Weiner regarding the
                              same (.1).
 02/29/20 JA Krieger          Review email from G. Weiner regarding request for                   0.20        $ 132.00
                              modification of abandonment motion to include stay relief (.1);
                              review K. Banner email regarding same (.1).
          Total B230 – Financing/Cash Collateral                                                 20.20     $ 11,766.00


             Total B200 – Operations                                                             20.20     $ 11,766.00


 Total fees for this matter:                                                                                $ 29,438.75




Atty : JAK, #264 / P1215616                               Page 8                                 Tax ID # XX-XXXXXXX
                                                                                                Exhibit 2, page 82
   Case 2:19-bk-23085-BB                Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                               Desc
                                        Main Document    Page 83 of 377
                                            GREENBERG GLUSKER

     2049 Century Park East                                                                General billing questions: (310) 201-7577
     Suite 2600                                                                                                       (310) 785-6842
     Los Angeles, CA 90067                                                                                Payments: (310) 785-6846
                                                                                                                  Fax: (310) 553-7018
     Client # 76214,     Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,     Youth Policy Institute, Inc.
     Invoice date: 05/17/23                                                                                Charges through: 02/29/20
     Invoice # 732438
     (Replaces Invoice # 675607)

                                           Summary Of Attorney Time By Task
                                              ______________________

                                                                Hours              Rate                  Value

             B110 – Case Administration
               K Banner                                           0.30           525.00               $ 157.50
               JA Krieger                                         0.20           660.00               $ 132.00

             B120 – Asset Analysis and Recovery
               K Banner                                          10.40           525.00              $ 5,460.00
               JA Krieger                                         2.10           660.00              $ 1,386.00

             B130 – Asset Disposition
               K Banner                                           0.80           525.00               $ 420.00
               JA Krieger                                         0.40           660.00               $ 264.00

             B150 – Meetings of and Communications with Creditors
               K Banner                                          0.30            525.00               $ 157.50

             B160 – Fee/Employment Applications
               JA Krieger                                         3.30           660.00              $ 2,178.00
               B Davidoff                                         0.25           725.00                $ 181.25

             B185 – Assumption/Rejection of Leases and Contracts
               K Banner                                          8.50            525.00              $ 4,462.50
               JA Krieger                                        3.20            660.00              $ 2,112.00

             B190 – Other Contested Matters (excluding assumption/rejection motions)
               K Banner                                           1.20            525.00              $ 630.00
               JA Krieger                                         0.20            660.00              $ 132.00

             B230 – Financing/Cash Collateral
               K Banner                                          11.60           525.00              $ 6,090.00
               JA Krieger                                         8.60           660.00              $ 5,676.00

             Total                                               51.35                              $ 29,438.75




Atty : JAK, #264 / P1215616                                   Page 9                                      Tax ID # XX-XXXXXXX
                                                                                                         Exhibit 2, page 83
    Case 2:19-bk-23085-BB               Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                               Desc
                                        Main Document    Page 84 of 377
                                            GREENBERG GLUSKER

     2049 Century Park East                                                             General billing questions: (310) 201-7577
     Suite 2600                                                                                                    (310) 785-6842
     Los Angeles, CA 90067                                                                             Payments: (310) 785-6846
                                                                                                                  Fax: (310) 553-7018
     Client # 76214,     Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,     Youth Policy Institute, Inc.
     Invoice date: 05/17/23                                                                              Charges through: 02/29/20
     Invoice # 732438
     (Replaces Invoice # 675607)

                                                        Summary By Task
                                                     ______________________

                                                 Task                                           Hours             Value
                                                 B110 – Case Administration                      0.50          $ 289.50
                                                 B120 – Asset Analysis and Recovery             12.50        $ 6,846.00
                                                 B130 – Asset Disposition                        1.20          $ 684.00
                                                 B150 – Meetings of and Communications           0.30          $ 157.50
                                                 with Creditors
                                                 B160 – Fee/Employment Applications              3.55        $ 2,359.25
                                                 B185 – Assumption/Rejection of Leases          11.70        $ 6,574.50
                                                 and Contracts
                                                 B190 – Other Contested Matters (excluding       1.40             $ 762.00
                                                 assumption/rejection motions)
                                                 B230 – Financing/Cash Collateral               20.20       $ 11,766.00
   Total                                                                                        51.35       $ 29,438.75




                                                            COSTS
                       Date        Description                                                       Amount
                       02/20/20    VENDOR: Donlin, Recano & Company, Inc.; INVOICE#:                $ 292.76
                                   6049-2; DATE: 2/20/2020 - Professional Services
                                   rendered re: Youth Policy (GG) January 2020
                       01/23/20    VENDOR: First Legal Network, LLC INVOICE#:                           $ 10.25
                                   10288495 DATE: 1/31/2020

                       01/27/20    VENDOR: First Legal Network, LLC INVOICE#:                           $ 10.25
                                   10288495 DATE: 1/31/2020

                       01/29/20    VENDOR: First Legal Network, LLC INVOICE#:                           $ 10.25
                                   10288495 DATE: 1/31/2020

                       02/01/20    VENDOR: Golden State Overnight; INVOICE#: 4112142;                   $ 16.36
                                   DATE: 1/15/2020 - Ground Delivery Services on
                                   01/06/20
                       02/11/20    VENDOR: First Legal Network, LLC INVOICE#:                           $ 10.25
                                   10293147 DATE: 2/15/2020

                       02/20/20    VENDOR: First Legal Network, LLC INVOICE#:                           $ 10.25
                                   10295479 DATE: 2/23/2020

                       02/01/20    VENDOR: Dolin, Recano & Company, Inc.; INVOICE#:                $ 6,311.01
                                   6049-1; DATE: 1/24/2020 - Professional Services
                                   rendered re: Youth Policy (GG) December 2019

                      Total costs for this matter:                                                 $ 6,671.38
Atty : JAK, #264 / P1215616                                   Page 10                                  Tax ID # XX-XXXXXXX
                                                                                                      Exhibit 2, page 84
   Case 2:19-bk-23085-BB             Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                             Desc
                                     Main Document    Page 85 of 377
                                         GREENBERG GLUSKER

     2049 Century Park East                                                        General billing questions: (310) 201-7577
     Suite 2600                                                                                               (310) 785-6842
     Los Angeles, CA 90067                                                                        Payments: (310) 785-6846
                                                                                                             Fax: (310) 553-7018
     Client # 76214,     Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,     Youth Policy Institute, Inc.
     Invoice date: 05/17/23                                                                          Charges through: 02/29/20
     Invoice # 732438
     (Replaces Invoice # 675607)



                                          Summary Of Costs by Expenses Code
                                             ______________________

                          Expense                                                    Value
                          E107 – Delivery services/messengers                      $360.37

                          E123 – Other professionals                             $6,311.01

                          Total                                                  $ 6,671.38




                                             RECAP OF AMOUNTS DUE
 Total Previous Balance                                                                       $ 521,424.49
                                                                                                              __________
 Balance Forward                                                                                             $ 521,424.49
 Current Month Fees                                                                            $ 29,438.75
 Current Month Costs                                                                            $ 6,671.38
 Discount                                                                                          $ 36.25
                                                                                                              __________
 Total Current Charges                                                                                        $ 36,146.38
                                                                                                              __________
 Total Due from Current Charges                                                                               $ 36,146.38
                                                                                                              __________
 AMOUNT DUE                                                                                                  $ 557,570.87




                                               Summary Of Attorney Time
                                               ______________________

             Attorney                                           Hours     Rate          Value
             B Davidoff                                          0.25   725.00       $ 181.25
             J Krieger                                          18.00   660.00    $ 11,880.00
             K Banner                                           33.10   525.00    $ 17,377.50
             Total                                              51.35             $ 29,438.75




Atty : JAK, #264 / P1215616                                 Page 11                                 Tax ID # XX-XXXXXXX
                                                                                                   Exhibit 2, page 85
        Case 2:19-bk-23085-BB                   Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                                     Desc
                                                Main Document    Page 86 of 377

                                                       GREENBERG GLUSKER
          2049 Century Park East                                                             General billing questions: (310) 201-7577
          Suite 2600                                                                                                    (310) 785-6842
          Los Angeles, CA 90067                                                                             Payments: (310) 785-6846
                                                                                                                       Fax: (310) 553-7018
                                                   Jason M. Rund, Chapter 7 Trustee
                                                            Due Date: June 7, 2023

          Client # 76214                                                                                       Charges through: 02/29/20
          Invoice date: 05/17/23
          Invoice # 732438
          (Replaces Invoice # 675607)




                                                                                              Payments and
Matter                                                     Previous              Current       Retainers To          Adjustments
Number Name                                                 Balance             Charges           05/17/23           To 05/17/23        Amount Due
00002   Youth Policy Institute, Inc.                   $ 101,059.32          $ 36,146.38             $ 0.00               $ 0.00       $ 137,205.70

                                                       ___________          __________          __________           __________       ___________
             Bill Total                                $ 101,059.32         $ 36,146.38              $ 0.00               $ 0.00      $ 137,205.70


                                   PLEASE ENCLOSE THIS PAGE WITH YOUR REMITTANCE


                                            Wire instructions for the GENERAL account in US Dollars:
                                          Bank Name:               First Republic Bank
                                                                   111 Pine Street
                                                                   San Francisco, CA 94111
                                          SWIFT CODE:              FRBBUS6S
                                          ABA:                     321081669
                                          Account Name:            Greenberg Glusker Fields Claman &
                                                                   Machtinger
                                          Account No.:             #997-0005-4655




   Please reflect the client name and number, and the matters being paid. Payments received will apply first to accrued interest and then to
   costs and fees.
    Atty : JAK, #264 / P1215616                                         Page 12                                       Tax ID # XX-XXXXXXX
                                                                                                                     Exhibit 2, page 86
        Case 2:19-bk-23085-BB                   Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                                     Desc
                                                Main Document    Page 87 of 377
                                                    GREENBERG GLUSKER
          2049 Century Park East                                                             General billing questions: (310) 201-7492
          Suite 2600                                                                                                    (310) 785-6842
          Los Angeles, CA 90067                                                                             Payments: (310) 785-6846
                                                                                                                       Fax: (310) 553-7018
                                                   Jason M. Rund, Chapter 7 Trustee

          Client # 76214                                                                                       Charges through: 03/31/20
          Invoice date: 04/30/20
          Invoice # 676953



                                                                                              Payments and
Matter                                                     Previous              Current       Retainers To          Adjustments
Number Name                                                 Balance             Charges           04/30/20           To 04/30/20        Amount Due
00002   Youth Policy Institute, Inc.                   $ 137,205.70          $ 33,878.33             $ 0.00               $ 0.00       $ 171,084.03

                                                       ___________          __________          __________           __________       ___________
             Bill Total                                $ 137,205.70         $ 33,878.33              $ 0.00               $ 0.00      $ 171,084.03




                                                                         Jason M. Rund, Chapter 7 Trustee
                                                                         Sheridan & Rund
                                                                         840 Apollo Street
                                                                         Suite 351
                                                                         El Segundo, CA 90402




   Please reflect the client name and number, and the matters being paid. Payments received will apply first to accrued interest and then to
   costs and fees.
    Atty : JAK, #264 / P1066565                                          Page 1                                       Tax ID # XX-XXXXXXX
                                                                                                                     Exhibit 2, page 87
   Case 2:19-bk-23085-BB             Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                          Desc
                                     Main Document    Page 88 of 377
                                         GREENBERG GLUSKER

     2049 Century Park East                                                       General billing questions: (310) 201-7492
     Suite 2600                                                                                              (310) 785-6842
     Los Angeles, CA 90067                                                                       Payments: (310) 785-6846
                                                                                                          Fax: (310) 553-7018
     Client # 76214,     Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,     Youth Policy Institute, Inc.

     Invoice date: 04/30/20                                                                       Charges through: 03/31/20
     Invoice # 676953



                                                            FEES
 Date       Timekeeper                              Description of Services                       Hours         Amount

 B100 – Administration
    B110 – Case Administration
 03/03/20 K Banner             Review case docket for developments.                                0.10         $ 52.50
 03/13/20 K Banner             Review case docket for developments.                                0.10         $ 52.50
 03/16/20 K Banner             Review case docket for developments.                                0.10         $ 52.50
 03/24/20 K Banner             Review case docket for developments.                                0.10         $ 52.50
           Total B110 – Case Administration                                                        0.40        $ 210.00


    B120 – Asset Analysis and Recovery
 03/03/20 K Banner             Review correspondence from D. Oshiro regarding books and            0.20        $ 105.00
                               records of company (.1); email exchange with Trustee
                               regarding the same (.1).
 03/05/20 JA Krieger           Telephone conference(s) with J. Sokol regarding completion of       0.60        $ 396.00
                               proof of loss
 03/05/20 K Banner             Confer with J. Rund and J. Krieger regarding books and records      0.50        $ 262.50
                               and other matters outstanding.
 03/06/20 K Banner             Email exchange with D. Oshiro regarding Think Together's            0.20        $ 105.00
                               moving of documents (.1); email exchange with N. Pham
                               regarding certain of YPI computers (.1).
 03/09/20 K Banner             ); telephone call with T. Shokrai regarding various site visits     0.30        $ 157.50
                               (.2); email exchange with C. Prince regarding D. Slingerland
                               access to records (.1).
 03/10/20 JA Krieger           Review email from J. Rund regarding insurance letter and proof      0.10         $ 66.00
                               of loss
 03/11/20 JA Krieger           Review email from S. Harper regarding notary jurat and              0.30        $ 198.00
                               acknowledgment (.2); telephone conference(s) with K. Banner
                               regarding revisions to insurance letter (.1); .
 03/11/20 JA Krieger           Revise and finalize proof of loss and cover letter                  0.40         $ 264.00
 03/25/20 K Banner             Review videos and pictures from Nova storage facility.              0.30         $ 157.50
           Total B120 – Asset Analysis and Recovery                                                2.90       $ 1,711.50


    B130 – Asset Disposition
 03/06/20 K Banner              Email exchange with B. Bass regarding abandonment of Arleta        0.30        $ 157.50
                                (.1); email exchange with K. Jaimez regarding the same (.1);
                                email exchange with T. Shokrai regarding city inspection of
                                Arleta and Nova (.1).
 03/12/20   JA Krieger          Telephone conference(s) with K. Banner regarding city of LA's      0.20        $ 132.00
                                interest in documents and possible estate abandonment of
                                program materials and maintenance of financial records
 03/26/20   K Banner            Email exchange with Trustee regarding the same and other           0.50        $ 262.50
                                outstanding issues regarding document and other property
Atty : JAK, #264 / P1066565                                Page 2                                 Tax ID # XX-XXXXXXX
                                                                                                 Exhibit 2, page 88
   Case 2:19-bk-23085-BB             Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                         Desc
                                     Main Document    Page 89 of 377
                                         GREENBERG GLUSKER

     2049 Century Park East                                                       General billing questions: (310) 201-7492
     Suite 2600                                                                                              (310) 785-6842
     Los Angeles, CA 90067                                                                       Payments: (310) 785-6846
                                                                                                         Fax: (310) 553-7018
     Client # 76214,    Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,    Youth Policy Institute, Inc.

     Invoice date: 04/30/20                                                                      Charges through: 03/31/20
     Invoice # 676953

                                                            FEES
 Date      Timekeeper                               Description of Services                      Hours         Amount
                              abandonment (.3); draft email to T. Shokrai regarding
                              outstanding to do items (.2).
 03/27/20 K Banner            Telephone conference with Trustee regarding documents at            0.50        $ 262.50
                              storage facilities and other outstanding matters.
 03/30/20 K Banner            Email exchange with T. Shokrai and Trustee regarding status of      0.10         $ 52.50
                              various items outstanding.
 03/31/20 K Banner            Email exchange with C. Prince regarding inspection of               1.20        $ 630.00
                              documents by D. Slingerland (.1); telephone conference with
                              Trustee and T. Shokrai regarding outstanding issues regarding
                              abandonment and/or sale of documents and assets (.9); confer
                              with J. Krieger regarding the same (.2),
          Total B130 – Asset Disposition                                                          2.80       $ 1,497.00


    B150 – Meetings of and Communications with Creditors
 03/06/20 K Banner            Email exchange with K. Meek regarding 341(a).                       0.10         $ 52.50
 03/09/20 K Banner            Telephone call to and email exchange with A. Sarnoff                0.10         $ 52.50
                              regarding Transperfect claim.
 03/12/20 K Banner            Email exchange with W. Loo-Smart regarding inquires from            0.10         $ 52.50
                              vendors regarding claims.
 03/25/20 K Banner            Review information regarding worker's compensation claim of         0.20        $ 105.00
                              Cesar Castellanos and email exchange to T. Gill regarding the
                              same.
           Total B150 – Meetings of and Communications with Creditors                             0.50        $ 262.50


    B185 – Assumption/Rejection of Leases and Contracts
 03/02/20 K Banner             Email exchange with D. Meadows and T. Dillman regarding            0.40        $ 210.00
                               Beverly (.2); confer with the Trustee regarding the same (.1);
                               email exchange with G. Weiner regarding proposed order on
                               Beverly (.1).
 03/03/20 JA Krieger           Telephone conference(s) with counsel for NFF regarding             0.20        $ 132.00
                               request for relief from stay supplement to order
 03/03/20 K Banner             Email exchange with G. Weiner regarding Beverly motion (.1);       0.30        $ 157.50
                               telephone conference with G. Weiner and J. Krieger regarding
                               the same (.2).
 03/04/20 K Banner             Email exchange with D. Meadows, T. Dillman and G. Weiner           0.10         $ 52.50
                               regarding Beverly facility.
 03/05/20 JA Krieger           Telephone conference(s) with D. Meadows regarding possible         0.50        $ 330.00
                               hearing issues
 03/05/20 JA Krieger           Telephone conference(s) with K. Banner regarding hearing on        0.30        $ 198.00
                               lease rejection
 03/05/20 K Banner             Confer with J. Krieger regarding latest developments re:           0.20        $ 105.00
                               Beverly facility.
 03/09/20 K Banner             Review court's calendar regarding any tentative for Beverly        1.60        $ 840.00
                               motion (.1); email exchange with B. Bass regarding Arleta
Atty : JAK, #264 / P1066565                               Page 3                                 Tax ID # XX-XXXXXXX
                                                                                                Exhibit 2, page 89
   Case 2:19-bk-23085-BB              Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                          Desc
                                      Main Document    Page 90 of 377
                                          GREENBERG GLUSKER

     2049 Century Park East                                                        General billing questions: (310) 201-7492
     Suite 2600                                                                                               (310) 785-6842
     Los Angeles, CA 90067                                                                        Payments: (310) 785-6846
                                                                                                           Fax: (310) 553-7018
     Client # 76214,     Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,     Youth Policy Institute, Inc.

     Invoice date: 04/30/20                                                                        Charges through: 03/31/20
     Invoice # 676953

                                                            FEES
 Date       Timekeeper                             Description of Services                         Hours         Amount
                             storage units (.1); confer with J. Krieger regarding strategy re
                             Beverly Motion (.6); telephone conference with J. Krieger and
                             Trustee regarding the same (.5); telephone conference with D.
                             Meadows and J. Krieger regarding the same (.3).
 03/10/20 JA Krieger         Review email from D. Meadows regarding possible approach               2.50       $ 1,650.00
                             for hearing on abandonment and rejection (.2); preparation of
                             email to J. Rund regarding same (.1); telephone conference(s)
                             with J. Rund regarding approach at hearing (.7); preparation for
                             hearing (.6); telephone conference(s) with D. Meadows
                             regarding approach at hearing (.9)
 03/10/20 JA Krieger         Analyze research memorandum on 365(d)(3) and 503 (b)                   0.20        $ 132.00
                             interplay
 03/10/20 K Banner           Review detailed proposal from D. Meadows regarding Beverly             0.30        $ 157.50
                             motion and confer with J. Krieger regarding the same.
 03/10/20 LR Fishelman       Meeting with Jeff Krieger and Keith Banner re: research re:            0.20         $ 80.00
                             lease amount recoverable by landlord in context of rejected
                             lease post-petition.
 03/10/20 LR Fishelman       Research and draft brief email memorandum re: landlord's               4.00       $ 1,600.00
                             ability to recover unpaid rent post-petition where lease rejected.
 03/11/20 JA Krieger         Preparation for hearing on abandonment and rejection                   2.10       $ 1,386.00
 03/11/20 JA Krieger         Attend hearing on motion to abandon property and reject lease          1.00         $ 660.00
 03/11/20 JA Krieger         Telephone conference(s) with K. Banner regarding order                 0.20         $ 132.00
 03/11/20 K Banner           Conferences with J. Krieger regarding strategy for Beverly             2.90       $ 1,522.50
                             motion (.2); research regarding application of security deposit
                             upon rejection (.4); attend hearing on Beverly motion
                             (telephonic) (1.0); draft and revise proposed order on
                             rejection/abandonment motion based on outcome of hearing
                             (.4); telephone call with D. Meadows regarding hearing (.1);
                             telephone conference with T. Shokrai, J. Krieger, and Trustee
                             regarding Beverly facility and documents located thereon (.8).
 03/17/20 K Banner           Review order extending time to assume/reject executory                 0.20        $ 105.00
                             contracts and court's calendar regarding and analyze timing of
                             additional motion.
          Total B185 – Assumption/Rejection of Leases and Contracts                                17.20       $ 9,450.00


    B190 – Other Contested Matters (excluding assumption/rejection motions)
 03/12/20 K Banner             Review digital inventories re: retained units at Arleta storage      0.40        $ 210.00
                               and email exchange with AUSA regarding the same (.3); email
                               exchange with T. Shokrai regarding the same (.1).
 03/25/20 K Banner             Draft correspondence to AUSA regarding documents at Nova             0.20        $ 105.00
                               storage potentially responsive to subpoena.
           Total B190 – Other Contested Matters (excluding assumption/rejection motions)            0.60        $ 315.00


            Total B100 – Administration                                                            24.40     $ 13,446.00
Atty : JAK, #264 / P1066565                                Page 4                                  Tax ID # XX-XXXXXXX
                                                                                                  Exhibit 2, page 90
   Case 2:19-bk-23085-BB              Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                            Desc
                                      Main Document    Page 91 of 377
                                          GREENBERG GLUSKER

     2049 Century Park East                                                          General billing questions: (310) 201-7492
     Suite 2600                                                                                                 (310) 785-6842
     Los Angeles, CA 90067                                                                          Payments: (310) 785-6846
                                                                                                             Fax: (310) 553-7018
     Client # 76214,     Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,     Youth Policy Institute, Inc.

     Invoice date: 04/30/20                                                                          Charges through: 03/31/20
     Invoice # 676953

                                                             FEES
 Date       Timekeeper                               Description of Services                         Hours         Amount


 B200 – Operations
    B220 – Employee Benefits/Pensions
 03/05/20 WE Lane              Confer with J. Krieger re: personnel file/employment issue.            0.20        $ 125.00
           Total B220 – Employee Benefits/Pensions                                                    0.20        $ 125.00


    B230 – Financing/Cash Collateral
 03/11/20 K Banner             Email exchange with K. Lay regarding cash collateral                   0.50        $ 262.50
                               stipulation (.1); review comments of NFF to stipulation re NFF
                               secured claim (.4).
 03/12/20 JA Krieger           Review email from Trustee regarding comments on NFF                    0.10         $ 66.00
                               stipulation
 03/12/20 JA Krieger           Telephone conference(s) with K. Banner regarding analysis of           1.00        $ 660.00
                               NFF's revisions to stipulation and additional revisions
 03/12/20 JA Krieger           Review further redline of stipulation (.1); address issues             0.80        $ 528.00
                               regarding same with K. Banner
 03/12/20 JA Krieger           Conference call with Trustee and K. Banner regarding timing            0.40        $ 264.00
                               issues on payment of secured claim under NFF stipulation
 03/12/20 K Banner             Conference with J. Krieger reviewing changes to NFF                    3.90       $ 2,047.50
                               stipulation and discussing strategy relating thereto (1.0); review
                               and revise NFF stipulation (1.4); further conference with J.
                               Krieger regarding revisions to NFF stipulation (.8); email to
                               Trustee regarding the same (.1); telephone conference with
                               Trustee and portions with J. Krieger regarding NFF Stipulation
                               (.6).
 03/13/20 JA Krieger           Due diligence on lender's loan documents and transfers                 0.80        $ 528.00
 03/13/20 K Banner             Further analysis of loan documents relating to NFF and confer          0.70        $ 367.50
                               with J. Krieger regarding the same (.5); review and revise NFF
                               stipulation and email to G. Weiner (.2).
 03/16/20 K Banner             Draft and revise portions of motion to approve stipulation with        0.40        $ 210.00
                               NFF.
 03/17/20 JA Krieger           Analyze emails from G. Weiner and attached redline of                  0.40        $ 264.00
                               stipulation (.2); telephone conference(s) with K. Banner
                               regarding same (.2)
 03/17/20 K Banner             Email exchange with G. Weiner regarding NFF stipulation (.1);          0.40        $ 210.00
                               review comments of NFF to NFF stipulation and confer with J.
                               Krieger regarding the same (.2); email exchange with Trustee
                               regarding the same (.1).
 03/18/20 JA Krieger           Telephone conference(s) with K. Banner regarding NFF                   0.20        $ 132.00
                               stipulation and due diligence regarding NFF
 03/18/20 JA Krieger           Conference call with Trustee and K. Banner regarding NFF               0.30        $ 198.00
                               stipulation and 9019
 03/18/20 K Banner             Telephone conference (portion of) with Trustee and J. Krieger          0.60        $ 315.00
                               regarding NFF stipulation (.2); review and revise NFF
Atty : JAK, #264 / P1066565                                  Page 5                                  Tax ID # XX-XXXXXXX
                                                                                                    Exhibit 2, page 91
   Case 2:19-bk-23085-BB              Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                          Desc
                                      Main Document    Page 92 of 377
                                          GREENBERG GLUSKER

     2049 Century Park East                                                        General billing questions: (310) 201-7492
     Suite 2600                                                                                               (310) 785-6842
     Los Angeles, CA 90067                                                                        Payments: (310) 785-6846
                                                                                                           Fax: (310) 553-7018
     Client # 76214,     Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,     Youth Policy Institute, Inc.

     Invoice date: 04/30/20                                                                        Charges through: 03/31/20
     Invoice # 676953

                                                            FEES
 Date       Timekeeper                             Description of Services                         Hours         Amount
                              stipulation and prepare and review execution copy prior to
                              circulation to NFF (.3); email exchange with G. Weiner
                              regarding the same (.1).
 03/19/20 K Banner            Draft and revise 9019 motion to approve NFF stipulation.              1.70        $ 892.50
 03/20/20 K Banner            Prepare and review fully executed copy of NFF stipulation and         0.20        $ 105.00
                              email exchange with Trustee and G. Weiner.
 03/20/20 K Banner            Review and revise 9019 motion re NFF stipulation (.5); draft          1.00        $ 525.00
                              and revise Trustee declaration in support of the same (.5).
 03/22/20 JA Krieger          Review and revise 9019 motion regarding use of cash collateral        0.40        $ 264.00
 03/23/20 JA Krieger          Telephone conference(s) with K. Banner regarding 9019                 0.20        $ 132.00
                              motion and hearing timing issues in light of General order
 03/23/20 K Banner            Confer with J. Krieger regarding procedure for 9019 motion            0.60        $ 315.00
                              (.2); review and revise 9019 motion and email exchange with
                              Trustee (.4).
 03/24/20 JA Krieger          Telephone conference(s) with K. Banner regarding changes to           0.20        $ 132.00
                              9019 motion
 03/24/20 K Banner            Confer with J. Krieger regarding 9019 motion and review and           0.50        $ 262.50
                              revise 9019 motion (.4); email exchange with Trustee regarding
                              the same (.1).
 03/25/20 K Banner            Review and revise 9019 motion and email to G. Weiner.                 0.20        $ 105.00
 03/30/20 K Banner            Email exchange with G. Weiner regarding 9019 motion.                  0.10         $ 52.50
 03/31/20 JA Krieger          Review email from counsel for NFF and review redline of 9019          0.10         $ 66.00
                              motion
 03/31/20 K Banner            Review comments of NFF to 9019 motion and review and                  0.60        $ 315.00
                              revise the same (.4); email exchange with G. Weiner regarding
                              the same (.1); confer with J. Krieger regarding the same (.1),
          Total B230 – Financing/Cash Collateral                                                   16.30       $ 9,219.00


            Total B200 – Operations                                                                16.50       $ 9,344.00


 B300 – Claims and Plan
    B310 – Claims Administration and Objections
 03/12/20 JA Krieger           Review settlement offer from landlord                                0.20        $ 132.00
 03/16/20 K Banner             Preliminary review of claims register and review of select           0.30        $ 157.50
                               proofs of claim.
 03/17/20 K Banner             Review notice of claims filed by A.M., a minor and I.A., a           0.90        $ 472.50
                               minor regarding molestation claims against former YPI
                               employee (.3); review LAUSD proof of claim (.1); email
                               exchange with M. Galvez regarding Dophin trucking claim (.1);
                               general review of claims register for recently filed significant
                               claims (.4).
 03/18/20 JA Krieger           Conference call with K. Banner and Trustee regarding                 0.20        $ 132.00
                               insurance coverage for certain claims filed
 03/18/20 K Banner             Telephone conference (portion of) with Trustee and J. Krieger        0.30        $ 157.50
Atty : JAK, #264 / P1066565                                Page 6                                  Tax ID # XX-XXXXXXX
                                                                                                  Exhibit 2, page 92
   Case 2:19-bk-23085-BB             Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                          Desc
                                     Main Document    Page 93 of 377
                                         GREENBERG GLUSKER

     2049 Century Park East                                                        General billing questions: (310) 201-7492
     Suite 2600                                                                                               (310) 785-6842
     Los Angeles, CA 90067                                                                        Payments: (310) 785-6846
                                                                                                          Fax: (310) 553-7018
     Client # 76214,     Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,     Youth Policy Institute, Inc.

     Invoice date: 04/30/20                                                                       Charges through: 03/31/20
     Invoice # 676953

                                                             FEES
 Date       Timekeeper                              Description of Services                       Hours         Amount
                              regarding recently filed claims.
 03/31/20 JA Krieger          Analyze Meadows settlement offer (.2); telephone                     0.40        $ 264.00
                              conference(s) with K. Banner regarding analysis and counter
                              (.2)
 03/31/20 K Banner            Review detailed information from D. Meadows and case                 0.80        $ 420.00
                              authority relating to asserted administrative claim of Beverly
                              Landlord (.4); email exchange with Trustee regarding the same
                              (.1); Confer with J. Krieger regarding the same (.3),
          Total B310 – Claims Administration and Objections                                        3.10       $ 1,735.50


            Total B300 – Claims and Plan                                                           3.10       $ 1,735.50


 B400 – Bankruptcy-Related Advice
    B410 – Grant Receivables
 03/04/20 K Banner            Review correspondence regarding site inspections of EWDD             0.20        $ 105.00
                              for information relating to EWDD grants and communication
                              with D. Oshiro.
 03/06/20 JA Krieger          Review email from D. Oshiro regarding the City of LA                 0.20        $ 132.00
                              statements about grants (.1); review email from K. Banner
                              regarding response (.1)
 03/06/20 K Banner            Email exchange with T. Shokrai regarding EWDD inspection             0.10         $ 52.50
                              of documents in connection with EWDD grants.
 03/10/20 K Banner            Review information from EWDD regarding Beverly site visit            0.10         $ 52.50
                              re: documents relating to EWDD grants.
 03/11/20 K Banner            Draft email to C. Rajapakse regarding EWDD materials                 0.30        $ 157.50
                              relating to EWDD grants.
 03/12/20 K Banner            Email exchange with T. Shokrai regarding moving of EWDD              0.20        $ 105.00
                              materials relating to EWDD grants and review of pictures
                              regarding the same.
 03/13/20 K Banner            Telephone conference with C. Rajapakse regarding                     2.20       $ 1,155.00
                              abandonment of records to City (.4); telephone call with
                              Trustee regarding the same (.2); draft email to City
                              representatives regarding the same (.2); draft and revise notice
                              of abandonment re: City Program Materials and accompanying
                              declarations (1.1); email exchange with Trustee and T. Shokrai
                              regarding the same (.1); final review of notice of abandonment
                              prior to filing (.2).
 03/13/20 K Banner            Telephone conference with C. Rajapakse and C. Bundock                0.80        $ 420.00
                              regarding EWDD receivable (.4); telephone conference with
                              Trustee regarding the same (.2); confer with J. Krieger
                              regarding the same (.2).
 03/17/20 K Banner            Email exchange with D. Oshiro regarding information requests         0.20        $ 105.00
                              of City in connection with receivable (.1); email exchange with
                              C. Rajapakse regarding the same (.1).
Atty : JAK, #264 / P1066565                                Page 7                                 Tax ID # XX-XXXXXXX
                                                                                                 Exhibit 2, page 93
   Case 2:19-bk-23085-BB              Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                           Desc
                                      Main Document    Page 94 of 377
                                          GREENBERG GLUSKER

     2049 Century Park East                                                         General billing questions: (310) 201-7492
     Suite 2600                                                                                                (310) 785-6842
     Los Angeles, CA 90067                                                                         Payments: (310) 785-6846
                                                                                                            Fax: (310) 553-7018
     Client # 76214,       Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,       Youth Policy Institute, Inc.

     Invoice date: 04/30/20                                                                         Charges through: 03/31/20
     Invoice # 676953

                                                               FEES
 Date     Timekeeper                                   Description of Services                      Hours         Amount
 03/25/20 K Banner               Email exchange with D. Oshiro regarding City grant collection       0.10         $ 52.50
                                 efforts.
 03/25/20    K Banner            Extended email exchange with C. Rajapakse regarding status of       0.50        $ 262.50
                                 City's retrieval of documents from Beverly facility relating to
                                 EWDD grants and inspection of documents at other facilities
                                 (.3); further email exchange with C. Rajapakse and Trustee
                                 regarding Nova Storage document retrieval (.2).
 03/26/20    K Banner            Extended email exchange with C. Rajapakse regarding EWDD            0.30        $ 157.50
                                 files located at Nova and Arleta relating to EWDD grants and
                                 review of Arleta storage photos in connection with the same.
             Total B410 – Grant Receivables                                                          5.20       $ 2,757.00


    B420 – Commercial Tort Claims
 03/02/20 JA Krieger           Review and respond to email from counsel for Hanover                  0.20        $ 132.00
 03/03/20 JA Krieger           Telephone conference(s) with J. Sokol regarding insurance             0.10         $ 66.00
                               proof of loss
 03/04/20 JA Krieger           Analyze crime insurance policy claim documents                        1.50         $ 990.00
 03/05/20 JA Krieger           Telephone conference(s) with J. Rund regarding various issues         0.40         $ 264.00
 03/05/20 JA Krieger           Preparation of proof of loss and letter to insurance company          2.00       $ 1,320.00
 03/05/20 JB Sokol             Conference with Jeff Krieger re preparation of proof of claim         0.60         $ 417.00
                               against Fidelity carrier.
 03/05/20 K Banner             Review prior insurance correspondence and exhibits (.3);              0.70        $ 367.50
                               review prior audits of the Debtor in relation to the same (.4).
 03/06/20 JA Krieger           Prepare proof of loss and review and revise cover letter to           0.60        $ 396.00
                               insurance company counsel
 03/09/20 JA Krieger           Review and revise correspondence to insurance company                 0.40        $ 264.00
 03/09/20 JA Krieger           Review and revise proof of loss                                       0.50        $ 330.00
 03/09/20 JB Sokol             Preparation of proof of claim against Fidelity carrier.               0.30        $ 208.50
 03/09/20 K Banner             Review documents in our possession for information necessary          0.30        $ 157.50
                               for insurance proof of loss.
 03/10/20 JA Krieger           Review and revise draft letter to insurance company regarding         1.00        $ 660.00
                               proof of loss (.8); preparation of email to J. Rund regarding
                               same (.2)
 03/10/20 JB Sokol             Conference with Jeff Krieger re preparation of proof of claim         0.60        $ 417.00
                               against Fidelity carrier.
 03/11/20 K Banner             Confer with J. Krieger regarding proof of loss for insurance          0.30        $ 157.50
                               claims.
 03/12/20 JA Krieger           Finalize letter to insurance company for proof of loss                0.40         $ 264.00
           Total B420 – Commercial Tort Claims                                                       9.90       $ 6,411.00


             Total B400 – Bankruptcy-Related Advice                                                 15.10       $ 9,168.00


 Total fees for this matter:                                                                                   $ 33,693.50
Atty : JAK, #264 / P1066565                                 Page 8                                  Tax ID # XX-XXXXXXX
                                                                                                   Exhibit 2, page 94
   Case 2:19-bk-23085-BB           Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49         Desc
                                   Main Document    Page 95 of 377
                                       GREENBERG GLUSKER

     2049 Century Park East                                       General billing questions: (310) 201-7492
     Suite 2600                                                                              (310) 785-6842
     Los Angeles, CA 90067                                                       Payments: (310) 785-6846
                                                                                       Fax: (310) 553-7018
     Client # 76214,    Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,    Youth Policy Institute, Inc.

     Invoice date: 04/30/20                                                      Charges through: 03/31/20
     Invoice # 676953




Atty : JAK, #264 / P1066565                           Page 9                    Tax ID # XX-XXXXXXX
                                                                               Exhibit 2, page 95
   Case 2:19-bk-23085-BB                Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                               Desc
                                        Main Document    Page 96 of 377
                                            GREENBERG GLUSKER

     2049 Century Park East                                                                General billing questions: (310) 201-7492
     Suite 2600                                                                                                       (310) 785-6842
     Los Angeles, CA 90067                                                                                Payments: (310) 785-6846
                                                                                                                  Fax: (310) 553-7018
     Client # 76214,    Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,    Youth Policy Institute, Inc.

     Invoice date: 04/30/20                                                                                Charges through: 03/31/20
     Invoice # 676953

                                           Summary Of Attorney Time By Task
                                              ______________________

                                                                Hours              Rate                  Value

             B110 – Case Administration
               K Banner                                           0.40           525.00               $ 210.00

             B120 – Asset Analysis and Recovery
               K Banner                                           1.50           525.00               $ 787.50
               JA Krieger                                         1.40           660.00               $ 924.00

             B130 – Asset Disposition
               K Banner                                           2.60           525.00              $ 1,365.00
               JA Krieger                                         0.20           660.00                $ 132.00

             B150 – Meetings of and Communications with Creditors
               K Banner                                          0.50            525.00               $ 262.50

             B185 – Assumption/Rejection of Leases and Contracts
               K Banner                                          6.00            525.00              $ 3,150.00
               LR Fishelman                                      4.20            400.00              $ 1,680.00
               JA Krieger                                        7.00            660.00              $ 4,620.00

             B190 – Other Contested Matters (excluding assumption/rejection motions)
               K Banner                                           0.60            525.00              $ 315.00

             B220 – Employee Benefits/Pensions
               WE Lane                                            0.20           625.00               $ 125.00

             B230 – Financing/Cash Collateral
               K Banner                                          11.40           525.00              $ 5,985.00
               JA Krieger                                         4.90           660.00              $ 3,234.00

             B310 – Claims Administration and Objections
               K Banner                                           2.30           525.00              $ 1,207.50
               JA Krieger                                         0.80           660.00                $ 528.00

             B410 – Grant Receivables
               K Banner                                           5.00           525.00              $ 2,625.00
               JA Krieger                                         0.20           660.00                $ 132.00

             B420 – Commercial Tort Claims
               K Banner                                           1.30           525.00                $ 682.50
               JA Krieger                                         7.10           660.00              $ 4,686.00
               JB Sokol                                           1.50           695.00              $ 1,042.50

             Total                                               59.10                              $ 33,693.50



Atty : JAK, #264 / P1066565                                  Page 10                                      Tax ID # XX-XXXXXXX
                                                                                                         Exhibit 2, page 96
   Case 2:19-bk-23085-BB                 Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                                 Desc
                                         Main Document    Page 97 of 377
                                             GREENBERG GLUSKER

     2049 Century Park East                                                              General billing questions: (310) 201-7492
     Suite 2600                                                                                                     (310) 785-6842
     Los Angeles, CA 90067                                                                              Payments: (310) 785-6846
                                                                                                                     Fax: (310) 553-7018
     Client # 76214,      Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,      Youth Policy Institute, Inc.

     Invoice date: 04/30/20                                                                                 Charges through: 03/31/20
     Invoice # 676953


                                                         Summary By Task
                                                      ______________________

                                                  Task                                             Hours             Value
                                                  B110 – Case Administration                        0.40          $ 210.00
                                                  B120 – Asset Analysis and Recovery                2.90        $ 1,711.50
                                                  B130 – Asset Disposition                          2.80        $ 1,497.00
                                                  B150 – Meetings of and Communications             0.50          $ 262.50
                                                  with Creditors
                                                  B185 – Assumption/Rejection of Leases            17.20        $ 9,450.00
                                                  and Contracts
                                                  B190 – Other Contested Matters (excluding         0.60             $ 315.00
                                                  assumption/rejection motions)
                                                  B220 – Employee Benefits/Pensions                 0.20          $ 125.00
                                                  B230 – Financing/Cash Collateral                 16.30        $ 9,219.00
                                                  B310 – Claims Administration and                  3.10        $ 1,735.50
                                                  Objections
                                                  B410 – Grant Receivables                          5.20        $ 2,757.00
                                                  B420 – Commercial TortClaims                      9.90        $ 6,411.00
   Total                                                                                           59.10       $ 33,693.50




                                                          COSTS
                       Date         Description                                                            Amount
                       12/24/19     VENDOR: Federal Express; INVOICE#: 6-886-12136;                        $ 50.66
                                    DATE: 1/2/2020 - Delvery Services
                       01/17/20     VENDOR: Federal Express; INVOICE#: 6-905-99688;                        $ 43.72
                                    DATE: 1/23/2020 - Delivery Services
                       01/22/20     VENDOR: Federal Express; INVOICE#: 6-912-62312;                        $ 10.90
                                    DATE: 1/30/2020 - Delivery Services
                       02/27/20     VENDOR: First Legal Network, LLC INVOICE#:                             $ 10.25
                                    10296865 DATE: 2/29/2020

                       03/24/20     U.S. Bankruptcy Court                                                  $ 31.85
                       03/24/20     U.S. Bankruptcy Court                                                  $ 37.45

                       Total costs for this matter:                                                    $ 184.83


                                              Summary Of Costs by Expenses Code
                                                 ______________________

                              Expense                                                      Value
                              E107 – Delivery services/messengers                        $115.53


Atty : JAK, #264 / P1066565                                     Page 11                                     Tax ID # XX-XXXXXXX
                                                                                                           Exhibit 2, page 97
   Case 2:19-bk-23085-BB                 Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                      Desc
                                         Main Document    Page 98 of 377
                                             GREENBERG GLUSKER

     2049 Century Park East                                                      General billing questions: (310) 201-7492
     Suite 2600                                                                                             (310) 785-6842
     Los Angeles, CA 90067                                                                      Payments: (310) 785-6846
                                                                                                          Fax: (310) 553-7018
     Client # 76214,      Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,      Youth Policy Institute, Inc.

     Invoice date: 04/30/20                                                                       Charges through: 03/31/20
     Invoice # 676953

                              Expense                                             Value
                              E123 – Other professionals                         $69.30

                              Total                                             $ 184.83




                                                 RECAP OF AMOUNTS DUE
 Total Previous Balance                                                                    $ 137,205.70
                                                                                                           __________
 Balance Forward                                                                                          $ 137,205.70
 Current Month Fees                                                                         $ 33,693.50
 Current Month Costs                                                                           $ 184.83
                                                                                                           __________
 Total Current Charges                                                                                     $ 33,878.33
                                                                                                           __________
 Total Due from Current Charges                                                                            $ 33,878.33
                                                                                                           __________
 AMOUNT DUE                                                                                               $ 171,084.03




                                                   Summary Of Attorney Time
                                                   ______________________

             Attorney                                          Hours     Rate         Value
             J Krieger                                         21.60   660.00   $ 14,256.00
             J Sokol                                            1.50   695.00    $ 1,042.50
             K Banner                                          31.60   525.00   $ 16,590.00
             L Fishelman                                        4.20   400.00    $ 1,680.00
             W Lane                                             0.20   625.00      $ 125.00
             Total                                             59.10            $ 33,693.50




Atty : JAK, #264 / P1066565                                  Page 12                             Tax ID # XX-XXXXXXX
                                                                                                Exhibit 2, page 98
         Case 2:19-bk-23085-BB                 Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                                     Desc
                                               Main Document    Page 99 of 377

                                                      GREENBERG GLUSKER
          2049 Century Park East                                                            General billing questions: (310) 201-7492
          Suite 2600                                                                                                   (310) 785-6842
          Los Angeles, CA 90067                                                                            Payments: (310) 785-6846
                                                                                                                      Fax: (310) 553-7018
                                                  Jason M. Rund, Chapter 7 Trustee
                                                           Due Date: May 21, 2020

          Client # 76214                                                                                      Charges through: 03/31/20
          Invoice date: 04/30/20
          Invoice # 676953




                                                                                              Payments and
Matter                                                    Previous              Current        Retainers To        Adjustments
Number      Name                                           Balance             Charges            04/30/20         To 04/30/20         Amount Due
00002       Youth Policy Institute, Inc.              $ 137,205.70          $ 33,878.33              $ 0.00             $ 0.00        $ 171,084.03

                                                      ___________          __________          __________           __________       ___________
            Bill Total                                $ 137,205.70         $ 33,878.33              $ 0.00               $ 0.00      $ 171,084.03


                                  PLEASE ENCLOSE THIS PAGE WITH YOUR REMITTANCE


                                           Wire instructions for the GENERAL account in US Dollars:
                                         Bank Name:               First Republic Bank
                                                                  111 Pine Street
                                                                  San Francisco, CA 94111
                                         SWIFT CODE:              FRBBUS6S
                                         ABA:                     321081669
                                         Account Name:            Greenberg Glusker Fields Claman &
                                                                  Machtinger
                                         Account No.:             #997-0005-4655




  Please reflect the client name and number, and the matters being paid. Payments received will apply first to accrued interest and then to
  costs and fees.
   Atty : JAK, #264 / P1066565                                         Page 13                                       Tax ID # XX-XXXXXXX
                                                                                                                    Exhibit 2, page 99
        Case 2:19-bk-23085-BB                  Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                                      Desc
                                               Main Document   Page 100 of 377
                                                   GREENBERG GLUSKER
          2049 Century Park East                                                             General billing questions: (310) 201-7492
          Suite 2600                                                                                                    (310) 785-6842
          Los Angeles, CA 90067                                                                             Payments: (310) 785-6846
                                                                                                                       Fax: (310) 553-7018
                                                   Jason M. Rund, Chapter 7 Trustee

          Client # 76214                                                                                       Charges through: 04/30/20
          Invoice date: 06/25/20
          Invoice # 679417



                                                                                              Payments and
Matter                                                     Previous              Current       Retainers To          Adjustments
Number Name                                                 Balance             Charges           06/25/20           To 06/25/20        Amount Due
00002   Youth Policy Institute, Inc.                   $ 171,084.03          $ 27,387.25             $ 0.00               $ 0.00       $ 198,471.28

                                                       ___________          __________          __________           __________       ___________
             Bill Total                                $ 171,084.03         $ 27,387.25              $ 0.00               $ 0.00      $ 198,471.28




                                                                         Jason M. Rund, Chapter 7 Trustee
                                                                         Sheridan & Rund
                                                                         840 Apollo Street
                                                                         Suite 351
                                                                         El Segundo, CA 90402




   Please reflect the client name and number, and the matters being paid. Payments received will apply first to accrued interest and then to
   costs and fees.
    Atty : JAK, #264 / P1074403                                          Page 1                                       Tax ID # XX-XXXXXXX
                                                                                                                    Exhibit 2, page 100
   Case 2:19-bk-23085-BB             Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                               Desc
                                     Main Document   Page 101 of 377
                                         GREENBERG GLUSKER

     2049 Century Park East                                                           General billing questions: (310) 201-7492
     Suite 2600                                                                                                  (310) 785-6842
     Los Angeles, CA 90067                                                                           Payments: (310) 785-6846
                                                                                                               Fax: (310) 553-7018
     Client # 76214,     Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,     Youth Policy Institute, Inc.

     Invoice date: 06/25/20                                                                             Charges through: 04/30/20
     Invoice # 679417



                                                             FEES
 Date       Timekeeper                               Description of Services                           Hours         Amount

 B100 – Administration
    B110 – Case Administration
 04/02/20 K Banner             Review case docket for developments and the court's                      0.10         $ 52.50
                               scheduling of upcoming hearings.
 04/07/20 K Banner             Review case docket for developments.                                     0.10         $ 52.50
           Total B110 – Case Administration                                                             0.20        $ 105.00


    B120 – Asset Analysis and Recovery
 04/09/20 K Banner             Review information in Trustee's possession regarding FUTA                0.90        $ 472.50
                               Tax overpayment and email exchange with D. Fife and the
                               Trustee regarding the same (.4); preliminary review of bank
                               statements, schedules and other documents relating to potential
                               avoidance claims (.5).
 04/15/20 K Banner             Review bank statements from Universal Bank and email                     0.30        $ 157.50
                               exchange with Trustee regarding the same.
           Total B120 – Asset Analysis and Recovery                                                     1.20        $ 630.00


    B130 – Asset Disposition
 04/03/20 JA Krieger            Review correspondence to extra space storage regarding                  0.10         $ 66.00
                                inspection of premises
 04/03/20   K Banner            Draft notice of intent to abandon Ford Transit Van (.6); email          0.90        $ 472.50
                                exchange with Trustee regarding the same (.1); extended email
                                exchange with D. Meadows regarding abandonment of
                                documents at Beverly Facility (.2).
 04/06/20   K Banner            Email exchange with B. Bass regarding potential abandonment             0.50        $ 262.50
                                of contents of Arleta storage units (.2); review and revise notice
                                of abandonment re Ford Transit van prior to filing (.2); research
                                regarding appropriate Ford Motor Credit service address (.1).
 04/08/20   K Banner            Telephone call with J. Krieger, including telephone conference          0.30        $ 157.50
                                with D. Meadows regarding documents which have not been
                                abandoned at Beverly Facility.
 04/10/20   JA Krieger          Conference call with K. Banner and Trustee regarding                    0.20        $ 132.00
                                remaining documents in storage facility and remaining
                                governmental interest
 04/21/20   K Banner            Review case docket for developments and any oppositions to              0.30        $ 157.50
                                abandonment notice (.1); review videos from T. Shokrai
                                regarding removal of documents from Beverly facility (.2).
 04/22/20   K Banner            Telephone call with T. Shokrai regarding removal of                     1.60        $ 840.00
                                documents from Beverly and inspections at Arleta storage (.3);
                                draft notice of intent to abandon remaining units at Arleta
                                storage and accompanying declarations (1.2); email exchange
Atty : JAK, #264 / P1074403                                 Page 2                                     Tax ID # XX-XXXXXXX
                                                                                                     Exhibit 2, page 101
   Case 2:19-bk-23085-BB             Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                           Desc
                                     Main Document   Page 102 of 377
                                         GREENBERG GLUSKER

     2049 Century Park East                                                       General billing questions: (310) 201-7492
     Suite 2600                                                                                              (310) 785-6842
     Los Angeles, CA 90067                                                                       Payments: (310) 785-6846
                                                                                                           Fax: (310) 553-7018
     Client # 76214,    Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,    Youth Policy Institute, Inc.

     Invoice date: 06/25/20                                                                         Charges through: 04/30/20
     Invoice # 679417

                                                            FEES
 Date      Timekeeper                               Description of Services                        Hours         Amount
                              with B. Bass regarding the same (.1).
 04/23/20 K Banner            Review and revise notice of abandonment #2 re Arleta Storage          0.30        $ 157.50
                              (.2); email exchange with Trustee and T. Shokrai regarding the
                              same (.1).
 04/27/20 K Banner            Review and review notice of abandonment re remaining units at         0.70        $ 367.50
                              Arleta storage (.3); review photographic inventory of applicable
                              units at Arleta and assemble exhibits to accompany notice of
                              abandonment (.4).
 04/29/20 K Banner            Email exchange with C. Penilla regarding documents at Nova            0.20        $ 105.00
                              storage (.1); email exchange with Trustee regarding the same
                              (.1).
          Total B130 – Asset Disposition                                                            5.10       $ 2,718.00


    B150 – Meetings of and Communications with Creditors
 04/09/20 K Banner            Email exchange with M. Laverty regarding update of C3                 0.10         $ 52.50
                              Business Solutions address.
 04/14/20 K Banner            Review creditor matrix and schedules for claim of Shaheed             0.20        $ 105.00
                              Chappel and telephone call to Mr. Chappel.
 04/15/20 K Banner            Telephone call with S. Chappel regarding potential claim              0.10         $ 52.50
                              against the debtor.
 04/20/20 K Banner            Email exchange with L. Padilla and review complaint                   0.20        $ 105.00
                              previously filed against the Debtor.
 04/21/20 K Banner            Review creditor list and schedules for information regarding          0.50        $ 262.50
                              Laura Padilla Draft and extended email exchange with L.
                              Padilla regarding bankruptcy filing and her numerous inquiries
                              (.4); email exchange with G. Weiner regarding the same (.1).
           Total B150 – Meetings of and Communications with Creditors                               1.10        $ 577.50


    B180 – Avoidance Action Analysis
 04/14/20 K Banner            Research regarding potential recovery of delinquent payroll           1.90        $ 997.50
                              taxes as a preference (1.6); review bank statements regarding
                              the same and draft request for information to Trustee and D.
                              Fife (.3).
 04/15/20 K Banner            Review documents available for information relating to payroll        1.30        $ 682.50
                              tax payment (.3); review and analyze bank statements relating
                              to payroll tax payment (1.0).
           Total B180 – Avoidance Action Analysis                                                   3.20       $ 1,680.00


    B185 – Assumption/Rejection of Leases and Contracts
 04/01/20 JA Krieger           Telephone conference(s) with Trustee regarding response to           0.50        $ 330.00
                               settlement offer
 04/01/20 JA Krieger           Preparation of email to D. Meadows regarding settlement              0.50        $ 330.00
 04/01/20 K Banner             Telephone conference with Trustee and J. Krieger regarding           0.80        $ 420.00
Atty : JAK, #264 / P1074403                               Page 3                                   Tax ID # XX-XXXXXXX
                                                                                                 Exhibit 2, page 102
   Case 2:19-bk-23085-BB           Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                               Desc
                                   Main Document   Page 103 of 377
                                       GREENBERG GLUSKER

     2049 Century Park East                                                         General billing questions: (310) 201-7492
     Suite 2600                                                                                                (310) 785-6842
     Los Angeles, CA 90067                                                                         Payments: (310) 785-6846
                                                                                                             Fax: (310) 553-7018
     Client # 76214,     Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,     Youth Policy Institute, Inc.

     Invoice date: 06/25/20                                                                           Charges through: 04/30/20
     Invoice # 679417

                                                             FEES
 Date       Timekeeper                               Description of Services                         Hours         Amount
                               strategy re: Beverly admin claim (.5); review and revise
                               correspondence to D. Meadows regarding the same (.3).
 04/02/20   JA Krieger         Review and respond to email from D. Meadows regarding                  0.10         $ 66.00
                               settlement and timing of payment
 04/06/20   JA Krieger         Telephone conference(s) with D. Meadows regarding                      0.40        $ 264.00
                               settlement
 04/06/20   JA Krieger         Communicate with K. Banner regarding possible settlement               0.20        $ 132.00
                               offer from landlord
 04/06/20   K Banner           Email exchange with G. Weiner regarding deadline to assume             0.10         $ 52.50
                               or reject.
 04/07/20   JA Krieger         Review offer from landlord regarding settlement (.1);                  0.40        $ 264.00
                               preparation of email to Trustee explaining same (.1); review
                               Trustee approval (.1); and preparation of confirmation of
                               agreement to landlord's counsel (.1)
 04/08/20   JA Krieger         Review emails from D. Meadows (.1); address issues regarding           0.70        $ 462.00
                               abandonment and impact on LL (.2); telephone conference(s)
                               with K. Banner regarding same (.2); conference call with D.
                               Meadows regarding resolution (.2)
 04/08/20   K Banner           Email exchange with D. Meadows regarding status of lease               0.10         $ 52.50
                               with Think Together.
 04/09/20 JA Krieger           Review and revise draft 9019 motion                                    0.40         $ 264.00
 04/09/20 K Banner             Draft and revise 9019 motion regarding MDB stipulation.                2.10       $ 1,102.50
 04/10/20 JA Krieger           Telephone conference(s) with K. Banner regarding lease issues          0.30         $ 198.00
                               (.2); conference call with Trustee regarding same (.1)
 04/10/20   K Banner           Telephone conference with J. Krieger and Trustee (portions of)         1.40        $ 735.00
                               regarding settlement with Beverly landlord (.5); further
                               research regarding application of security deposit against
                               administrative claim (.9).
 04/14/20   JA Krieger         Telephone conference(s) with K. Banner regarding issues                0.10         $ 66.00
                               remaining on settlement with Landlord
 04/14/20   JA Krieger         Analyze cases regarding application of landlord security               0.70        $ 462.00
                               deposit v. categories of rent
 04/14/20   JA Krieger         Review changes to settlement stipulation (.1); telephone               0.30        $ 198.00
                               conference(s) with K. Banner regarding impact (.1); t/call(s) to
                               LL's counsel (.1)
 04/14/20   JA Krieger         Telephone conference(s) with D. Meadows regarding                      0.10         $ 66.00
                               stipulation
 04/14/20   K Banner           Review and revise 9019 motion re Beverly Facility admin                1.70        $ 892.50
                               claim (.3); draft and revise declaration of Trustee in support of
                               the same (.7); review MDB POC and revise stipulation
                               regarding MDB administrative claim in light of the same (.7).
 04/16/20   JA Krieger         Review correspondence with D. Meadows regarding settlement             0.10         $ 66.00
                               stipulation
 04/16/20   JA Krieger          review revisions to stipulation (.1); telephone conference(s)         0.30        $ 198.00
                               with K. Banner regarding additional revisions (.1); review
                               correspondence with Trustee (.1)
Atty : JAK, #264 / P1074403                                Page 4                                    Tax ID # XX-XXXXXXX
                                                                                                   Exhibit 2, page 103
   Case 2:19-bk-23085-BB             Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                            Desc
                                     Main Document   Page 104 of 377
                                         GREENBERG GLUSKER

     2049 Century Park East                                                        General billing questions: (310) 201-7492
     Suite 2600                                                                                               (310) 785-6842
     Los Angeles, CA 90067                                                                        Payments: (310) 785-6846
                                                                                                            Fax: (310) 553-7018
     Client # 76214,     Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,     Youth Policy Institute, Inc.

     Invoice date: 06/25/20                                                                          Charges through: 04/30/20
     Invoice # 679417

                                                              FEES
 Date     Timekeeper                                 Description of Services                        Hours         Amount
 04/16/20 K Banner             Review and revise stipulation re: administrative claim and POC        0.60        $ 315.00
                               of MDB and email exchange with D. Meadows (.3); review
                               revised stipulation from MDB regarding administrative claim,
                               confer with J. Krieger regarding the same and email exchange
                               with Trustee (.3).
 04/17/20   JA Krieger         Telephone conference(s) with J. Rund regarding response to            0.30        $ 198.00
                               proposed changes to settlement stipulation
 04/17/20   K Banner           Telephone conference with J. Krieger and Trustee regarding            0.60        $ 315.00
                               MDB admin claim proposal (.3); review and revise MDB
                               admin. claim stipulation (.3).
 04/18/20   JA Krieger         Review and revise settlement stipulation (.2); preparation of         0.30        $ 198.00
                               email to D. Meadows regarding further changes (.1)
 04/20/20   JA Krieger         Preparation of email to D. Meadows regarding revised                  0.20        $ 132.00
                               settlement stipulation (.1); review email from D. Meadows (.1)
 04/20/20   K Banner           Review and revise MDB stipulation and redline thereof (.2);           0.70        $ 367.50
                               review and revise MDB 9019 motion (.3); confer with J.
                               Krieger regarding responses from counsel (.2).
 04/22/20   JA Krieger         Review email from D. Meadows regarding comments on                    0.10         $ 66.00
                               stipulation
 04/22/20   K Banner           Email exchange with D. Meadows regarding latest                       0.10         $ 52.50
                               developments regarding Beverly facility.
 04/23/20   JA Krieger         Review email string with creditor regarding potential late-filed      0.10         $ 66.00
                               claim
 04/27/20   JA Krieger         Telephone conference(s) with D. Meadows regarding                     0.40        $ 264.00
                               settlement stipulation
 04/27/20   JA Krieger         Telephone conference(s) with K. Banner regarding settlement           0.10         $ 66.00
                               stipulation
 04/28/20   JA Krieger         Review K. Banner email regarding updated settlement                   0.10         $ 66.00
                               stipulation
 04/28/20   K Banner           Review and revise stipulation with MDB regarding                      0.60        $ 315.00
                               administrative claim (.5); email exchange with D. Meadows
                               regarding the same (.1).
 04/29/20   JA Krieger         Review and revise 9019 motion to approve settlement                   0.30        $ 198.00
                               stipulation with landlord (.2); telephone conference(s) with K.
                               Banner regarding changes (.1)
 04/29/20   K Banner           Review and revise 9019 motion with MDB regarding                      1.40        $ 735.00
                               administrative claim (.6); confer with J. Krieger regarding the
                               same (.2); draft notice of motion to approve compromise with
                               MDB regarding administrative claim (.5); email exchange with
                               Trustee regarding the same (.1).
 04/30/20   K Banner           Review and revise MDB stipulation, notice, motion and                 0.50        $ 262.50
                               accompanying declaration prior to filing.
            Total B185 – Assumption/Rejection of Leases and Contracts                               17.70     $ 10,237.50


    B190 – Other Contested Matters (excluding assumption/rejection motions)
Atty : JAK, #264 / P1074403                                Page 5                                   Tax ID # XX-XXXXXXX
                                                                                                  Exhibit 2, page 104
   Case 2:19-bk-23085-BB            Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                           Desc
                                    Main Document   Page 105 of 377
                                        GREENBERG GLUSKER

     2049 Century Park East                                                       General billing questions: (310) 201-7492
     Suite 2600                                                                                              (310) 785-6842
     Los Angeles, CA 90067                                                                       Payments: (310) 785-6846
                                                                                                          Fax: (310) 553-7018
     Client # 76214,    Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,    Youth Policy Institute, Inc.

     Invoice date: 06/25/20                                                                        Charges through: 04/30/20
     Invoice # 679417

                                                             FEES
 Date     Timekeeper                                Description of Services                       Hours         Amount
 04/03/20 K Banner            Draft and revise follow up letter to M. Sparnicht regarding          0.80        $ 420.00
                              Extra Space Storage refusal to permit access to unit.
 04/06/20 K Banner            Review information inventory from the City regarding Arleta          0.60        $ 315.00
                              storage and email exchange with J. Andre regarding contents of
                              Arleta storage units and DOL's position regarding the same
                              (.2); review oracle database information and email exchange
                              with Trustee regarding the same per inquiry from AUSA (.2);
                              email exchange with M. Sparnicht regarding inspection of
                              Extra Space Storage unit (.1); email exchange with B. Howard
                              regarding Oracle access (.1).
 04/07/20 K Banner            Email exchange with J. Andre regarding DOL's potential               0.20        $ 105.00
                              inspection of Nova Storage (.1); further email exchange with B.
                              Howard regarding Oracle access (.1).
 04/09/20 JA Krieger          Review multiple emails with US Attorney regarding subpoena           0.20        $ 132.00
                              issues
 04/09/20 K Banner            Email exchange with J. Andre regarding AUSA inspection of            0.40        $ 210.00
                              remaining storage units (.1); email exchange with T. Shokrai
                              regarding the same (.1); extended email exchange with B.
                              Howard and J. Andre regarding AUSA interview re: Debtor's
                              electronic records (.2).
 04/10/20 K Banner            Telephone call with T. Shokrai regarding AUSA inspection of          0.10         $ 52.50
                              storage units (.2); email exchange with J. Andre regarding the
                              same (.1).
 04/13/20 K Banner            Telephone call with T. Shokrai regarding AUSA site                   0.30        $ 157.50
                              inspections (.1); email exchange with J. Andre and C. Penilla
                              regarding the same (.2).
 04/15/20 K Banner            Attend telephone interview of Ben Howard conducted by                2.20       $ 1,155.00
                              AUSA/DOL (2.0); telephone call with B. Howard thereafter
                              (.1); confer with J. Krieger regarding the same (.1),
 04/16/20 K Banner            Review revised expense report information from B. Howard             0.30        $ 157.50
                              regarding AUSA investigation and email to C. Penilla.
 04/27/20 K Banner            Email exchange with C. Penilla regarding DOL inspection of           1.00        $ 525.00
                              Nova storage and other issues (.2); telephone conference with
                              Trustee regarding Iron Mountain documents and review of
                              various documents relating to the same (.6); research regarding
                              appropriate Iron Mountain contact (.2).
          Total B190 – Other Contested Matters (excluding assumption/rejection motions)            6.10       $ 3,229.50


           Total B100 – Administration                                                            34.60     $ 19,177.50


 B200 – Operations
    B230 – Financing/Cash Collateral
 04/01/20 K Banner             Draft and revise notice of motion to approve stip. with NFF         1.70        $ 892.50
                               (.5); draft and revise mandatory Form F4001-2 in connection
Atty : JAK, #264 / P1074403                               Page 6                                  Tax ID # XX-XXXXXXX
                                                                                                Exhibit 2, page 105
   Case 2:19-bk-23085-BB              Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                            Desc
                                      Main Document   Page 106 of 377
                                          GREENBERG GLUSKER

     2049 Century Park East                                                          General billing questions: (310) 201-7492
     Suite 2600                                                                                                 (310) 785-6842
     Los Angeles, CA 90067                                                                          Payments: (310) 785-6846
                                                                                                             Fax: (310) 553-7018
     Client # 76214,     Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,     Youth Policy Institute, Inc.

     Invoice date: 06/25/20                                                                           Charges through: 04/30/20
     Invoice # 679417

                                                            FEES
 Date       Timekeeper                             Description of Services                           Hours         Amount
                              with the same (.5); review and revise 9019 motion, notice,
                              declaration and other pleadings prior to filing (.5); review filed
                              pleadings (.2).
 04/27/20 K Banner            Telephone call with G. Weiner and K. Lay regarding upcoming             0.30        $ 157.50
                              9019 motion hearing and other matters.
 04/28/20 K Banner            Review tentative ruling regarding cash collateral motion and            1.20        $ 630.00
                              confer with J. Krieger (.2); draft and revise draft order on
                              motion to approve NFF stipulation (1.0).
 04/29/20 JA Krieger          Review and revise proposed order on financing motion (.3);              0.40        $ 264.00
                              telephone conference(s) with K. Banner regarding same (.1)
 04/30/20 JA Krieger          Review correspondence with counsel for NFF regarding order              0.10         $ 66.00
                              granting motion to approve settlement
 04/30/20 K Banner            Review and revise proposed order on cash collateral/carve out           0.30        $ 157.50
                              motion with NFF and email exchange with G. Weiner.
          Total B230 – Financing/Cash Collateral                                                      4.00       $ 2,167.50


            Total B200 – Operations                                                                   4.00       $ 2,167.50


 B300 – Claims and Plan
    B310 – Claims Administration and Objections
 04/08/20 K Banner             Draft and revise stipulation regarding administrative claim of         1.50        $ 787.50
                               MDB.
 04/23/20 K Banner             Email exchange with G. Weiner regarding claim of L. Padilla            0.40        $ 210.00
                               (.1); review litigation search, state court complaint and prior
                               correspondence relating to the same and draft email to Trustee
                               regarding the same (.3).
 04/24/20 K Banner             Confer with Trustee regarding potential late claim of L. Padilla       0.50        $ 262.50
                               and review underlying state court case docket regarding the
                               same (.2); email exchange with L. Padilla regarding the same
                               (.1); review notice of stay and voluminous attachments
                               previously filed in underlying state court action re L. Padilla
                               (.2).
           Total B310 – Claims Administration and Objections                                          2.40       $ 1,260.00


            Total B300 – Claims and Plan                                                              2.40       $ 1,260.00


 B400 – Bankruptcy-Related Advice
    B410 – Grant Receivables
 04/02/20 K Banner            Email to D. Oshiro regarding status of EWDD grant                       0.10         $ 52.50
                              receivables.
 04/07/20 K Banner            Email exchange with Trustee regarding efforts of D. Oshiro to           0.10         $ 52.50
                              collect receivables.
Atty : JAK, #264 / P1074403                                 Page 7                                   Tax ID # XX-XXXXXXX
                                                                                                   Exhibit 2, page 106
   Case 2:19-bk-23085-BB             Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                            Desc
                                     Main Document   Page 107 of 377
                                         GREENBERG GLUSKER

     2049 Century Park East                                                         General billing questions: (310) 201-7492
     Suite 2600                                                                                                (310) 785-6842
     Los Angeles, CA 90067                                                                         Payments: (310) 785-6846
                                                                                                            Fax: (310) 553-7018
     Client # 76214,     Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,     Youth Policy Institute, Inc.

     Invoice date: 06/25/20                                                                          Charges through: 04/30/20
     Invoice # 679417

                                                             FEES
 Date     Timekeeper                                 Description of Services                        Hours         Amount
 04/09/20 JA Krieger            Review correspondence with Oshiro regarding grant                    0.20        $ 132.00
                                receivables
 04/09/20   K Banner            Review and revise email to D. Oshiro regarding grant collection      0.10         $ 52.50
                                progress.
 04/10/20   K Banner            Draft detailed correspondence to City of LA regarding                0.40        $ 210.00
                                information needed for EWDD receivables and email exchange
                                with Trustee regarding the same (.3); review entered order
                                approving employment of Trustee's counsel (.1).
 04/13/20   K Banner            Email exchange with C. Rajapakse regarding scheduling a call         0.10         $ 52.50
                                relating to EWDD grant collections.
 04/14/20   K Banner            Email exchange with C. Rajapakse regarding scheduling a call         0.10         $ 52.50
                                to discuss EWDD receivables.
 04/16/20   K Banner            Email exchange with C. Rjapakse regarding removal of EWDD            0.30        $ 157.50
                                documents from Beverly (.1); email exchange and telephone
                                call with T. Shokrai regarding the same (.2).
 04/16/20   K Banner            Review EWDD receivable information received from YPI in              2.30       $ 1,207.50
                                preparation for call with EWDD regarding the same (.3);
                                telephone conference with C. Rajapakse and other city
                                representatives regarding EWDD receivables (1.3); telephone
                                conference with Trustee following call regarding the same (.7).
 04/17/20   K Banner            Email exchange with C. Rajapakse regarding City's retrieval of       0.20        $ 105.00
                                EWDD documents relating to city grants (.1); email exchange
                                with Trustee regarding the same (.1).
 04/22/20   K Banner            Confer with Trustee regarding status of D. Oshiro grant              0.10         $ 52.50
                                collection efforts.
 04/23/20   K Banner            Confer with Trustee regarding progress of D. Oshiro in grant         0.10         $ 52.50
                                collections.
            Total B410 – Grant Receivables                                                           4.10       $ 2,179.50


    B420 – Commercial Tort Claims
 04/01/20 JA Krieger           Review correspondence from Hanover insurance's counsel (.1);          0.40        $ 264.00
                               preparation of email to trustee (.1); preparation of email to J.
                               Sokol regarding same (.1); review response from J. Sokol (.1)
 04/01/20 JB Sokol             Review correspondence from excess D&O insurer.                        0.20        $ 139.00
 04/01/20 K Banner             Review letter from Hanover regarding excess coverage.                 0.20        $ 105.00
 04/02/20 JA Krieger           Conference with K. Banner regarding letter from insurance             0.10         $ 66.00
                               company regarding coverage
 04/14/20 JA Krieger           Telephone conference(s) with K. Banner regarding insurance            0.10         $ 66.00
                               claims and response from attorney Brown
 04/14/20 K Banner             Review correspondence relating to excess D&O coverage and             0.30        $ 157.50
                               crime policy for status and strategy and confer with J. Krieger
                               regarding the same.
 04/21/20 JA Krieger           Review email from J. Rund regarding CFO communication to              0.10         $ 66.00
                               CEO
 04/21/20 K Banner             Review email discovered by Trustee relating to potential              0.20        $ 105.00
Atty : JAK, #264 / P1074403                                 Page 8                                  Tax ID # XX-XXXXXXX
                                                                                                  Exhibit 2, page 107
   Case 2:19-bk-23085-BB             Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                           Desc
                                     Main Document   Page 108 of 377
                                         GREENBERG GLUSKER

     2049 Century Park East                                                       General billing questions: (310) 201-7492
     Suite 2600                                                                                              (310) 785-6842
     Los Angeles, CA 90067                                                                       Payments: (310) 785-6846
                                                                                                           Fax: (310) 553-7018
     Client # 76214,       Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,       Youth Policy Institute, Inc.

     Invoice date: 06/25/20                                                                         Charges through: 04/30/20
     Invoice # 679417

                                                          FEES
 Date        Timekeeper                          Description of Services                           Hours         Amount
                            discrepancies in use of grant proceeds and confer with the
                            Trustee regarding the same.
 04/24/20 JA Krieger        Telephone conference(s) with J. Sokol regarding claims against          0.50        $ 330.00
                            insurance policies and CEO
 04/24/20 JB Sokol          Conference with Jeff Krieger re further demands on insurers.            0.50        $ 347.50
 04/27/20 JA Krieger        Conference with K. Banner regarding evidence for claim                  0.10         $ 66.00
                            against former CEO
 04/27/20 JA Krieger        Review correspondence with insurance company regarding                  0.60        $ 396.00
                            claim (.2); review policy provisions (.2); preparation of email to
                            J. Sokol (.1); conference with K. Banner regarding collating
                            evidence (.1)
 04/28/20 JA Krieger        Review insurance recovery issues with K. Banner                         0.10         $ 66.00
 04/30/20 JA Krieger        Telephone conference(s) with J. Sokol regarding insurance               0.10         $ 66.00
                            claims
          Total B420 – Commercial Tort Claims                                                       3.50       $ 2,240.00


             Total B400 – Bankruptcy-Related Advice                                                 7.60       $ 4,419.50


 Total fees for this matter:                                                                                  $ 27,024.50




Atty : JAK, #264 / P1074403                                Page 9                                  Tax ID # XX-XXXXXXX
                                                                                                 Exhibit 2, page 108
   Case 2:19-bk-23085-BB                Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                               Desc
                                        Main Document   Page 109 of 377
                                            GREENBERG GLUSKER

     2049 Century Park East                                                                General billing questions: (310) 201-7492
     Suite 2600                                                                                                       (310) 785-6842
     Los Angeles, CA 90067                                                                                Payments: (310) 785-6846
                                                                                                                  Fax: (310) 553-7018
     Client # 76214,    Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,    Youth Policy Institute, Inc.

     Invoice date: 06/25/20                                                                                Charges through: 04/30/20
     Invoice # 679417

                                           Summary Of Attorney Time By Task
                                              ______________________

                                                                Hours              Rate                  Value

             B110 – Case Administration
               K Banner                                           0.20           525.00               $ 105.00

             B120 – Asset Analysis and Recovery
               K Banner                                           1.20           525.00               $ 630.00

             B130 – Asset Disposition
               K Banner                                           4.80           525.00              $ 2,520.00
               JA Krieger                                         0.30           660.00                $ 198.00

             B150 – Meetings of and Communications with Creditors
               K Banner                                          1.10            525.00               $ 577.50

             B180 – Avoidance Action Analysis
               K Banner                                           3.20           525.00              $ 1,680.00

             B185 – Assumption/Rejection of Leases and Contracts
               K Banner                                          10.70           525.00              $ 5,617.50
               JA Krieger                                         7.00           660.00              $ 4,620.00

             B190 – Other Contested Matters (excluding assumption/rejection motions)
               K Banner                                           5.90            525.00             $ 3,097.50
               JA Krieger                                         0.20            660.00               $ 132.00

             B230 – Financing/Cash Collateral
               K Banner                                           3.50           525.00              $ 1,837.50
               JA Krieger                                         0.50           660.00                $ 330.00

             B310 – Claims Administration and Objections
               K Banner                                           2.40           525.00              $ 1,260.00

             B410 – Grant Receivables
               K Banner                                           3.90           525.00              $ 2,047.50
               JA Krieger                                         0.20           660.00                $ 132.00

             B420 – Commercial Tort Claims
               K Banner                                           0.70           525.00                $ 367.50
               JA Krieger                                         2.10           660.00              $ 1,386.00
               JB Sokol                                           0.70           695.00                $ 486.50

             Total                                               48.60                              $ 27,024.50




Atty : JAK, #264 / P1074403                                  Page 10                                     Tax ID # XX-XXXXXXX
                                                                                                       Exhibit 2, page 109
   Case 2:19-bk-23085-BB                 Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                                  Desc
                                         Main Document   Page 110 of 377
                                             GREENBERG GLUSKER

     2049 Century Park East                                                               General billing questions: (310) 201-7492
     Suite 2600                                                                                                      (310) 785-6842
     Los Angeles, CA 90067                                                                               Payments: (310) 785-6846
                                                                                                                      Fax: (310) 553-7018
     Client # 76214,      Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,      Youth Policy Institute, Inc.

     Invoice date: 06/25/20                                                                                  Charges through: 04/30/20
     Invoice # 679417

                                                         Summary By Task
                                                      ______________________

                                                   Task                                             Hours             Value
                                                   B110 – Case Administration                        0.20          $ 105.00
                                                   B120 – Asset Analysis and Recovery                1.20          $ 630.00
                                                   B130 – Asset Disposition                          5.10        $ 2,718.00
                                                   B150 – Meetings of and Communications             1.10          $ 577.50
                                                   with Creditors
                                                   B180 – Avoidance Action Analysis                  3.20        $ 1,680.00
                                                   B185 – Assumption/Rejection of Leases            17.70       $ 10,237.50
                                                   and Contracts
                                                   B190 – Other Contested Matters (excluding         6.10        $ 3,229.50
                                                   assumption/rejection motions)
                                                   B230 – Financing/Cash Collateral                  4.00        $ 2,167.50
                                                   B310 – Claims Administration and                  2.40        $ 1,260.00
                                                   Objections
                                                   B410 – Grant Receivables                          4.10        $ 2,179.50
                                                   B420 – Commercial Tort Claims                     3.50        $ 2,240.00
   Total                                                                                            48.60       $ 27,024.50




                                                              COSTS
                       Date         Description                                                             Amount
                       04/09/20     VENDOR: Federal Express; INVOICE#: 6-981-37995;                         $ 10.16
                                    DATE: 4/9/2020
                       04/27/20     VENDOR: Federal Express; INVOICE#: 6-999-28851;                         $ 10.11
                                    DATE: 4/30/2020 - Federal Express services week
                                    ending 4/30/2020
                       04/24/20     19STCV08196                                                          $ 40.00
                       04/30/20     VENDOR: EXCELSIOR; INVOICE#: 75880; DATE:                           $ 302.48
                                    4/30/2020 - Prints assemnbled, color prints, envelopes,
                                    label sheets, postage and delivery

                       Total costs for this matter:                                                     $ 362.75


                                               Summary Of Costs by Expenses Code
                                                  ______________________

                              Expense                                                       Value
                              E106 – Online research                                       $40.00

                              E108 – Postage                                               $20.27



Atty : JAK, #264 / P1074403                                     Page 11                                  Tax ID # XX-XXXXXXX
                                                                                                       Exhibit 2, page 110
   Case 2:19-bk-23085-BB                 Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                           Desc
                                         Main Document   Page 111 of 377
                                             GREENBERG GLUSKER

     2049 Century Park East                                                           General billing questions: (310) 201-7492
     Suite 2600                                                                                                  (310) 785-6842
     Los Angeles, CA 90067                                                                           Payments: (310) 785-6846
                                                                                                               Fax: (310) 553-7018
     Client # 76214,      Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,      Youth Policy Institute, Inc.

     Invoice date: 06/25/20                                                                            Charges through: 04/30/20
     Invoice # 679417

                              Expense                                                  Value
                              E118 – Litigation support vendors                      $302.48

                              Total                                                  $ 362.75




                                                 RECAP OF AMOUNTS DUE
 Total Previous Balance                                                                         $ 171,084.03
                                                                                                                __________
 Balance Forward                                                                                               $ 171,084.03
 Current Month Fees                                                                              $ 27,024.50
 Current Month Costs                                                                                $ 362.75
                                                                                                                __________
 Total Current Charges                                                                                          $ 27,387.25
                                                                                                                __________
 Total Due from Current Charges                                                                                 $ 27,387.25
                                                                                                                __________
 AMOUNT DUE                                                                                                    $ 198,471.28




                                                   Summary Of Attorney Time
                                                   ______________________

             Attorney                                               Hours     Rate         Value
             J Krieger                                              10.30   660.00    $ 6,798.00
             J Sokol                                                 0.70   695.00      $ 486.50
             K Banner                                               37.60   525.00   $ 19,740.00
             Total                                                  48.60            $ 27,024.50




Atty : JAK, #264 / P1074403                                       Page 12                            Tax ID # XX-XXXXXXX
                                                                                                   Exhibit 2, page 111
         Case 2:19-bk-23085-BB                Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                                      Desc
                                              Main Document   Page 112 of 377

                                                      GREENBERG GLUSKER
          2049 Century Park East                                                            General billing questions: (310) 201-7492
          Suite 2600                                                                                                   (310) 785-6842
          Los Angeles, CA 90067                                                                            Payments: (310) 785-6846
                                                                                                                      Fax: (310) 553-7018
                                                  Jason M. Rund, Chapter 7 Trustee

          Client # 76214                                                                                      Charges through: 04/30/20
          Invoice date: 06/25/20
          Invoice # 679417




                                                                                              Payments and
Matter                                                    Previous              Current        Retainers To        Adjustments
Number      Name                                           Balance             Charges            06/25/20         To 06/25/20         Amount Due
00002       Youth Policy Institute, Inc.              $ 171,084.03          $ 27,387.25              $ 0.00             $ 0.00        $ 198,471.28

                                                      ___________          __________          __________           __________       ___________
            Bill Total                                $ 171,084.03         $ 27,387.25              $ 0.00               $ 0.00      $ 198,471.28


                                  PLEASE ENCLOSE THIS PAGE WITH YOUR REMITTANCE


                                           Wire instructions for the GENERAL account in US Dollars:
                                         Bank Name:               First Republic Bank
                                                                  111 Pine Street
                                                                  San Francisco, CA 94111
                                         SWIFT CODE:              FRBBUS6S
                                         ABA:                     321081669
                                         Account Name:            Greenberg Glusker Fields Claman &
                                                                  Machtinger
                                         Account No.:             #997-0005-4655




  Please reflect the client name and number, and the matters being paid. Payments received will apply first to accrued interest and then to
  costs and fees.
   Atty : JAK, #264 / P1074403                                         Page 13                                       Tax ID # XX-XXXXXXX
                                                                                                                   Exhibit 2, page 112
        Case 2:19-bk-23085-BB                  Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                                      Desc
                                               Main Document   Page 113 of 377
                                                   GREENBERG GLUSKER
          2049 Century Park East                                                             General billing questions: (310) 201-7492
          Suite 2600                                                                                                    (310) 785-6842
          Los Angeles, CA 90067                                                                             Payments: (310) 785-6846
                                                                                                                       Fax: (310) 553-7018
                                                   Jason M. Rund, Chapter 7 Trustee

          Client # 76214                                                                                       Charges through: 05/31/20
          Invoice date: 10/27/20
          Invoice # 686479



                                                                                              Payments and
Matter                                                     Previous              Current       Retainers To          Adjustments
Number Name                                                 Balance             Charges           10/27/20           To 10/27/20        Amount Due
00002   Youth Policy Institute, Inc.                   $ 198,471.28          $ 22,711.00             $ 0.00               $ 0.00       $ 221,182.28

                                                       ___________          __________          __________           __________       ___________
             Bill Total                                $ 198,471.28         $ 22,711.00              $ 0.00               $ 0.00      $ 221,182.28




                                                                         Jason M. Rund, Chapter 7 Trustee
                                                                         Sheridan & Rund
                                                                         840 Apollo Street
                                                                         Suite 351
                                                                         El Segundo, CA 90402




   Please reflect the client name and number, and the matters being paid. Payments received will apply first to accrued interest and then to
   costs and fees.
    Atty : JAK, #264 / P1091291                                          Page 1                                       Tax ID # XX-XXXXXXX
                                                                                                                    Exhibit 2, page 113
   Case 2:19-bk-23085-BB             Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                             Desc
                                     Main Document   Page 114 of 377
                                         GREENBERG GLUSKER

     2049 Century Park East                                                         General billing questions: (310) 201-7492
     Suite 2600                                                                                                (310) 785-6842
     Los Angeles, CA 90067                                                                         Payments: (310) 785-6846
                                                                                                             Fax: (310) 553-7018
     Client # 76214,     Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,     Youth Policy Institute, Inc.

     Invoice date: 10/27/20                                                                           Charges through: 05/31/20
     Invoice # 686479



                                                            FEES
 Date       Timekeeper                              Description of Services                          Hours         Amount

 B100 – Administration
    B110 – Case Administration
 05/08/20 K Banner             Review case docket for developments.                                   0.10         $ 52.50
 05/27/20 K Banner             Review case docket for developments.                                   0.10         $ 52.50
 05/29/20 JA Krieger           Review notice of intent to pay insurance as administrative             0.10         $ 66.00
                               expense
           Total B110 – Case Administration                                                           0.30        $ 171.00


    B120 – Asset Analysis and Recovery
 05/28/20 K Banner             Review Think Together agreement and draft email to M. Heyn             0.30        $ 157.50
                               regarding funding of 21st Century programs relating to
                               assignment.
           Total B120 – Asset Analysis and Recovery                                                   0.30        $ 157.50


    B130 – Asset Disposition
 05/04/20 K Banner              Draft and revise notice of abandonment for Nova storage and           1.10        $ 577.50
                                accompanying declarations (1.0); email exchange with Trustee
                                and T. Shokrai regarding the same (.1).
 05/05/20   K Banner            Review and revise notice of abandonment re: Nova storage and          0.60        $ 315.00
                                accompanying exhibits prior to filing (.5); telephone call with
                                T. Shokrai regarding upcoming inspection of Extra Space
                                storage (.1).
 05/08/20   K Banner            Review pictures from T. Shokrai regarding contents of storage         0.50        $ 262.50
                                unit at Extra Space Storage and confer with J. Krieger
                                regarding the same.
 05/11/20   K Banner            Further review of Extra Space Storage photo inventory (.3);           0.80        $ 420.00
                                draft email to C. Rajapakse regarding the same (.1); review
                                correspondence from Cal. DOJ and review filed abandonments
                                notices in light of the same (.2); email exchange with Trustee
                                regarding the same (.1); email exchange with B. Bass regarding
                                the same (.1).
 05/12/20   K Banner            Draft email to M. Heyn regarding CDE inspection of Nova and           1.40        $ 735.00
                                Arleta storage (.2); email exchange with L. Pacella regarding
                                CDE inspection of Nova (.1); draft and revise stipulation with
                                CDE regardign Nova and Arleta abandonment notices (1.1).
 05/13/20   K Banner            Review and revise stipulation with CDE regarding Arleta and           0.70        $ 367.50
                                Nova storage prior to filing (.2); draft and revise order on the
                                CDE stipulation (.4); email exchange with M. Heyn regarding
                                the same (.1).
 05/14/20   K Banner            Review entered order approving stipulation with CDE (.1);             0.20        $ 105.00
                                email exchange with M. Heyn regarding the same (.1).
Atty : JAK, #264 / P1091291                                Page 2                                    Tax ID # XX-XXXXXXX
                                                                                                   Exhibit 2, page 114
   Case 2:19-bk-23085-BB             Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                            Desc
                                     Main Document   Page 115 of 377
                                         GREENBERG GLUSKER

     2049 Century Park East                                                         General billing questions: (310) 201-7492
     Suite 2600                                                                                                (310) 785-6842
     Los Angeles, CA 90067                                                                         Payments: (310) 785-6846
                                                                                                            Fax: (310) 553-7018
     Client # 76214,     Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,     Youth Policy Institute, Inc.

     Invoice date: 10/27/20                                                                          Charges through: 05/31/20
     Invoice # 686479

                                                             FEES
 Date     Timekeeper                                 Description of Services                        Hours         Amount
 05/15/20 K Banner            Confer with J. Krieger regarding latest developments re: CDE           0.40        $ 210.00
                              inspection of documents (.2); telephone call with T. Shokrai
                              regarding CDE inspection (.2).
 05/18/20 K Banner            Draft and revise letter to J. Corrigan regarding Iron Mountain         0.70        $ 367.50
                              documents.
 05/19/20 K Banner            Email exchange with C. Penilla regarding status of Iron                0.30        $ 157.50
                              Mountain documents(.2); review and revise letter to Iron
                              Mountain (.1).
 05/21/20 K Banner            Email exchange with J. Corrigan regarding Iron Mountain                0.20        $ 105.00
                              documents (.1); email exchange with Trustee regarding the
                              same (.1).
 05/27/20 K Banner            Email exchange with Trustee regarding remaining Ford van               2.20       $ 1,155.00
                              (.1); draft notice of abandonment for 2014 Ford Van (.7);
                              telephone call with T. Shokrai regarding CDE removal of
                              documents from Nova and Arleta (.2); telephone call with M.
                              Heyn regarding the same (.2); further review of Extra Space
                              Storage photographic inventory (.3); review FTP site of
                              photographic inventory of Extra Space Storage (.2); email
                              exchange with C. Rajapakse regarding the same (.1); email
                              exchange with C. Penilla regarding the same (.1); email
                              exchange with M. Heyn regarding the same (.1); final review of
                              Notice of abandonment re: Ford van prior to filing (.2).
 05/28/20 K Banner            Review filed copy of notice of abandonment (.1); email                 0.30        $ 157.50
                              exchange with C. Rajapakse regarding Extra Space storage unit
                              (.1); email exchange with V. McDonnel at the City regarding
                              any potential documents relating to Family Source programs
                              (.1).
 05/29/20 K Banner            Email exchange with C. Penilla regarding Extra Space Storage           0.50        $ 262.50
                              documents (.1); email exchange with Trustee regarding the
                              same (.1); email exchange with T. Shokrai regarding CDE
                              recovery of documents from Arleta and Nova (.1); email
                              exchange with B. Bass regarding abandonment of Arleta
                              storage units (.2).
 05/30/20 K Banner            Email exchange with T. Shokrai regarding update regarding              0.10         $ 52.50
                              Nova and Arleta storage.
          Total B130 – Asset Disposition                                                            10.00       $ 5,250.00


    B140 – Relief from Stay/Adequate Protection Proceedings
 05/15/20 K Banner              Review relief from stay motion filed by Ford Motor credit (.2);      0.30        $ 157.50
                                email exchange with Trustee regarding the same (.1).
           Total B140 – Relief from Stay/Adequate Protection Proceedings                             0.30        $ 157.50


    B150 – Meetings of and Communications with Creditors
 05/04/20 K Banner            Email exchange with G. Weiner regarding continued 341(a).              0.10         $ 52.50
Atty : JAK, #264 / P1091291                                 Page 3                                  Tax ID # XX-XXXXXXX
                                                                                                  Exhibit 2, page 115
   Case 2:19-bk-23085-BB             Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                           Desc
                                     Main Document   Page 116 of 377
                                         GREENBERG GLUSKER

     2049 Century Park East                                                        General billing questions: (310) 201-7492
     Suite 2600                                                                                               (310) 785-6842
     Los Angeles, CA 90067                                                                        Payments: (310) 785-6846
                                                                                                           Fax: (310) 553-7018
     Client # 76214,     Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,     Youth Policy Institute, Inc.

     Invoice date: 10/27/20                                                                         Charges through: 05/31/20
     Invoice # 686479

                                                          FEES
 Date     Timekeeper                              Description of Services                          Hours         Amount
 05/05/20 K Banner             Email exchange with G. Weiner regarding continued 341(a).            0.10         $ 52.50
 05/07/20 K Banner             Extended email exchange with L. Pachella regarding Nova              0.20        $ 105.00
                               Storage claim.
            Total B150 – Meetings of and Communications with Creditors                              0.40        $ 210.00


    B180 – Avoidance Action Analysis
 05/04/20 K Banner            Further review of documents from B. Howard regarding                  0.40        $ 210.00
                              potential IRS preference payment.
           Total B180 – Avoidance Action Analysis                                                   0.40        $ 210.00


    B190 – Other Contested Matters (excluding assumption/rejection motions)
 05/15/20 JA Krieger           Review vmails from M. Heyn regarding documents relating to           0.90        $ 594.00
                               21st Century Grant (.2); telephone conference(s) with M. Heyn
                               (.2); telephone conference(s) with J. Rund regarding takeover
                               of document responsibility by CA (.3); preparation of emails to
                               Banner regarding same (.2)
           Total B190 – Other Contested Matters (excluding assumption/rejection motions)            0.90        $ 594.00


            Total B100 – Administration                                                            12.60       $ 6,750.00


 B200 – Operations
    B220 – Employee Benefits/Pensions
 05/28/20 K Banner             Review 401k balance report and related correspondence.               0.20        $ 105.00
           Total B220 – Employee Benefits/Pensions                                                  0.20        $ 105.00


    B230 – Financing/Cash Collateral
 05/01/20 K Banner             Final review of order approving NFF stipulation and email            0.30        $ 157.50
                               exchange with G. Weiner.
 05/04/20 K Banner             Review entered order on NFF stipulation.                             0.20        $ 105.00
 05/15/20 K Banner             Review deficiency accounting from NFF and email exchange             0.20        $ 105.00
                               with Trustee.
 05/26/20 K Banner             Email exchange with K. Lay regarding NFF inquiries.                  0.10         $ 52.50
 05/29/20 K Banner             Telephone conference with G. Weiner and K. Lay regarding             0.40        $ 210.00
                               inquiries from NFF and status of case.
           Total B230 – Financing/Cash Collateral                                                   1.20        $ 630.00


    B240 – Tax Issues
 05/01/20 K Banner             Review 2017 Tax return.                                              0.20        $ 105.00
           Total B240 – Tax Issues                                                                  0.20        $ 105.00


Atty : JAK, #264 / P1091291                                Page 4                                  Tax ID # XX-XXXXXXX
                                                                                                 Exhibit 2, page 116
   Case 2:19-bk-23085-BB              Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                          Desc
                                      Main Document   Page 117 of 377
                                          GREENBERG GLUSKER

     2049 Century Park East                                                        General billing questions: (310) 201-7492
     Suite 2600                                                                                               (310) 785-6842
     Los Angeles, CA 90067                                                                        Payments: (310) 785-6846
                                                                                                           Fax: (310) 553-7018
     Client # 76214,     Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,     Youth Policy Institute, Inc.

     Invoice date: 10/27/20                                                                         Charges through: 05/31/20
     Invoice # 686479

                                                            FEES
 Date       Timekeeper                              Description of Services                        Hours         Amount

            Total B200 – Operations                                                                 1.60        $ 840.00


 B300 – Claims and Plan
    B310 – Claims Administration and Objections
 05/04/20 K Banner             Review proof of claim filed by California Dept. of education.        0.20        $ 105.00
           Total B310 – Claims Administration and Objections                                        0.20        $ 105.00


            Total B300 – Claims and Plan                                                            0.20        $ 105.00


 B400 – Bankruptcy-Related Advice
    B410 – Grant Receivables
 05/12/20 JA Krieger           Review email from G. Jasso regarding payment from                    0.80        $ 528.00
                               Mayorâ€™s office (.1); conference with K. Banner regarding
                               history and response (.2) preparation of draft response and
                               preparation of email to client (.3); . Rv client comments and
                               finalize (.2)
 05/15/20 JA Krieger           Preparation of email to Mayor's office regarding payment (.1);       0.20        $ 132.00
                               review email response from Mayor's office regarding same (.1)
 05/15/20 K Banner             Confer with J. Krieger regarding strategy regarding receivable       0.20        $ 105.00
                               from Mayor's office.
 05/28/20 JA Krieger           Review email from K. Banner regarding response to G. Jasso           0.50        $ 330.00
                               regarding mayor's office grant (.1); preparation of email to G.
                               Jasso and review response (.2); review K. Banner email to
                               EWDD regarding receivable (.1); preparation of email to
                               Trustee (.1)
 05/28/20 K Banner             Review information regarding EWDD grant receivables,                 1.30        $ 682.50
                               compile spreadsheet and draft email to EWDD regarding
                               collection of the same (.4); review YPI documents relating to
                               the Promise Neighborhoods grant receivable and draft
                               correspondence to E. Nash regarding the same (.7); email
                               exchange with the Trustee regarding the same (.1); review
                               correspondence from LA Mayor's office regarding status of
                               receivable (.1).
           Total B410 – Grant Receivables                                                           3.00       $ 1,777.50


    B420 – Commercial Tort Claims
 05/04/20 K Banner             Review detailed report from B. Howard regarding D.                   0.60        $ 315.00
                               Slingerland AMEX misuse and confer with J. Krieger regarding
                               the same (.3); review voluminous documents from B. Howard
                               regarding information relating to the same (.3).
 05/06/20 JA Krieger           Review email from counsel for Hanover (.1); preparation of           0.30        $ 198.00
Atty : JAK, #264 / P1091291                                Page 5                                  Tax ID # XX-XXXXXXX
                                                                                                 Exhibit 2, page 117
   Case 2:19-bk-23085-BB           Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                               Desc
                                   Main Document   Page 118 of 377
                                       GREENBERG GLUSKER

     2049 Century Park East                                                         General billing questions: (310) 201-7492
     Suite 2600                                                                                                (310) 785-6842
     Los Angeles, CA 90067                                                                         Payments: (310) 785-6846
                                                                                                             Fax: (310) 553-7018
     Client # 76214,     Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,     Youth Policy Institute, Inc.

     Invoice date: 10/27/20                                                                           Charges through: 05/31/20
     Invoice # 686479

                                                              FEES
 Date       Timekeeper                               Description of Services                         Hours         Amount
                               email to J. Sokol and review response (.2)
 05/06/20   JB Sokol           Review correspondence from insurer.                                    0.30        $ 208.50
 05/07/20   JA Krieger         Analyze D. Brown letter regarding insurance coverage (.3);             0.70        $ 462.00
                               review emails from J. Sokol regarding response (.2); telephone
                               conference(s) with K. Banner (.1); preparation of email to J.
                               Rund regarding insurance claim (.1)
 05/07/20   K Banner           Review latest detailed correspondence from Hanover regarding           0.40        $ 210.00
                               crime policy claim and confer with J. Krieger regarding the
                               same (.3); email to Trustee regarding strategy going forward
                               (.1).
 05/08/20   JA Krieger         Review email from J. Rund regarding insurance recovery (.1);           0.20        $ 132.00
                               review email from K. Banner regarding same and regarding
                               corporate records (.1)
 05/08/20   JA Krieger         Telephone conference(s) with K. Banner regarding response to           0.30        $ 198.00
                               insurance company letter (.2); preparation of email to J. Sokol
                               regarding same (.1)
 05/08/20   K Banner           Email exchange with Trustee regarding documents requested              0.30        $ 157.50
                               by Hanover (.1); conference with J. Krieger regarding strategy
                               to respond to Hanover (.2).
 05/11/20   JA Krieger         Telephone conference(s) with K. Banner regarding evidence              0.20        $ 132.00
                               gathering for insurance claim
 05/11/20   K Banner           Review detailed information request regarding crime policy             0.30        $ 157.50
                               claim and email to B. Howard.
 05/13/20   JA Krieger         Conference call with B. Howard and K. Banner regarding                 2.40       $ 1,584.00
                               documents in response to demand from Hanover (2.2); follow
                               up telephone conference(s) with K. Banner regarding items to
                               do post- conf. call for recovering from Hanover (.3)
 05/13/20   K Banner           Telephone conference with B. Howard and J. Krieger regarding           2.40       $ 1,260.00
                               crime policy and detailed information request from Hanover
                               (2.2); confer with J. Krieger thereafter regarding strategy (.2).
 05/15/20   JA Krieger         Telephone conference(s) with B. Alexander regarding special            0.50        $ 330.00
                               committee privilege issues
 05/15/20   JA Krieger         Telephone conference(s) with K. Banner regarding insurance             0.30        $ 198.00
                               recovery issues (.1); preparation of email to J. Sokol regarding
                               extension from Hanover and responses to document inquiry (.2)
 05/15/20   RP Cestero         Conference with J. Krieger re attorney-client privilege issues.        0.50         $ 337.50
 05/18/20   K Banner           Review and analyze YPI documents relating policies and                 2.00       $ 1,050.00
                               procedures in response to inquiry re crime policy (1.0); review
                               and analyze prior audits in light of insurer's inquiry re crime
                               policy (.5); confer with J. Krieger regarding tolling agreement
                               in relation to the same (.1); preliminary review of voluminous
                               documents from B. Howard regarding evidence supporting
                               crime policy claim (.4).
 05/19/20   JA Krieger         Conference call with J. Sokol and K. Banner regarding                  2.00       $ 1,320.00
                               response to Hanover insurance and analysis of evidence
 05/19/20   JB Sokol           Call with Jeff Krieger to discuss handling of insurance claim          2.00       $ 1,390.00
Atty : JAK, #264 / P1091291                                Page 6                                    Tax ID # XX-XXXXXXX
                                                                                                   Exhibit 2, page 118
   Case 2:19-bk-23085-BB             Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                           Desc
                                     Main Document   Page 119 of 377
                                         GREENBERG GLUSKER

     2049 Century Park East                                                        General billing questions: (310) 201-7492
     Suite 2600                                                                                               (310) 785-6842
     Los Angeles, CA 90067                                                                        Payments: (310) 785-6846
                                                                                                           Fax: (310) 553-7018
     Client # 76214,       Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,       Youth Policy Institute, Inc.

     Invoice date: 10/27/20                                                                         Charges through: 05/31/20
     Invoice # 686479

                                                              FEES
 Date        Timekeeper                              Description of Services                       Hours         Amount
                               against theft carrier and claim against D&O policy.
 05/19/20    K Banner          Confer with J. Krieger regarding preliminary observations            2.60       $ 1,365.00
                               relating to document request from Hanover re crime policy (.2);
                               continue review of voluminous documents from B. Howard
                               relating to Slingerland embezzlement (.4); conference with J.
                               Sokol and J. Krieger regarding crime policy and strategy to
                               respond to insurance carrier and evaluation of information from
                               B. Howard (2.0).
 05/20/20    K Banner          Review prior correspondence from Hanover and draft portions          2.20       $ 1,155.00
                               of letter responding to their voluminous requests re: crime
                               policy (1.5); further review of documents from B. Howard in
                               connection with the same (.7).
 05/26/20    K Banner          Review and analyze documents from D. Slingerland in                  1.30        $ 682.50
                               response to Special Committee investigations (re: crime policy
                               claim) and review and revise letter to Hanover regarding
                               various requests for information.
 05/27/20    JA Krieger        Conference with K. Banner regarding response to counsel for          0.60        $ 396.00
                               insurance company (.2); review information from forensic
                               accountant for special committee (4)
             Total B420 – Commercial Tort Claims                                                   22.40     $ 13,238.50


             Total B400 – Bankruptcy-Related Advice                                                25.40     $ 15,016.00


 Total fees for this matter:                                                                                  $ 22,711.00




Atty : JAK, #264 / P1091291                                Page 7                                  Tax ID # XX-XXXXXXX
                                                                                                 Exhibit 2, page 119
   Case 2:19-bk-23085-BB                Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                               Desc
                                        Main Document   Page 120 of 377
                                            GREENBERG GLUSKER

     2049 Century Park East                                                                General billing questions: (310) 201-7492
     Suite 2600                                                                                                       (310) 785-6842
     Los Angeles, CA 90067                                                                                Payments: (310) 785-6846
                                                                                                                  Fax: (310) 553-7018
     Client # 76214,    Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,    Youth Policy Institute, Inc.

     Invoice date: 10/27/20                                                                                Charges through: 05/31/20
     Invoice # 686479

                                           Summary Of Attorney Time By Task
                                              ______________________

                                                                Hours              Rate                  Value

             B110 – Case Administration
               K Banner                                           0.20           525.00               $ 105.00
               JA Krieger                                         0.10           660.00                $ 66.00

             B120 – Asset Analysis and Recovery
               K Banner                                           0.30           525.00               $ 157.50

             B130 – Asset Disposition
               K Banner                                          10.00           525.00              $ 5,250.00

             B140 – Relief from Stay/Adequate Protection Proceedings
               K Banner                                           0.30           525.00               $ 157.50

             B150 – Meetings of and Communications with Creditors
               K Banner                                          0.40            525.00               $ 210.00

             B180 – Avoidance Action Analysis
               K Banner                                           0.40           525.00               $ 210.00

             B190 – Other Contested Matters (excluding assumption/rejection motions)
               JA Krieger                                         0.90            660.00              $ 594.00

             B220 – Employee Benefits/Pensions
               K Banner                                           0.20           525.00               $ 105.00

             B230 – Financing/Cash Collateral
               K Banner                                           1.20           525.00               $ 630.00

             B240 – Tax Issues
               K Banner                                           0.20           525.00               $ 105.00

             B310 – Claims Administration and Objections
               K Banner                                           0.20           525.00               $ 105.00

             B410 – Grant Receivables
               K Banner                                           1.50           525.00               $ 787.50
               JA Krieger                                         1.50           660.00               $ 990.00

             B420 – Commercial Tort Claims
               K Banner                                          12.10           525.00              $ 6,352.50
               JA Krieger                                         7.50           660.00              $ 4,950.00
               JB Sokol                                           2.30           695.00              $ 1,598.50
               RP Cestero                                         0.50           675.00                $ 337.50

             Total                                               39.80                              $ 22,711.00

Atty : JAK, #264 / P1091291                                   Page 8                                     Tax ID # XX-XXXXXXX
                                                                                                       Exhibit 2, page 120
   Case 2:19-bk-23085-BB            Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                            Desc
                                    Main Document   Page 121 of 377
                                        GREENBERG GLUSKER

     2049 Century Park East                                                         General billing questions: (310) 201-7492
     Suite 2600                                                                                                (310) 785-6842
     Los Angeles, CA 90067                                                                         Payments: (310) 785-6846
                                                                                                           Fax: (310) 553-7018
     Client # 76214,      Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,      Youth Policy Institute, Inc.

     Invoice date: 10/27/20                                                                         Charges through: 05/31/20
     Invoice # 686479



                                                Summary By Task
                                             ______________________

                                             Task                                           Hours            Value
                                             B110 – Case Administration                      0.30         $ 171.00
                                             B120 – Asset Analysis and Recovery              0.30         $ 157.50
                                             B130 – Asset Disposition                       10.00       $ 5,250.00
                                             B140 – Relief from Stay/Adequate                0.30         $ 157.50
                                             Protection Proceedings
                                             B150 – Meetings of and Communications           0.40          $ 210.00
                                             with Creditors
                                             B180 – Avoidance Action Analysis                0.40          $ 210.00
                                             B190 – Other Contested Matters (excluding       0.90          $ 594.00
                                             assumption/rejection motions)
                                             B220 – Employee Benefits/Pensions               0.20          $ 105.00
                                             B230 – Financing/Cash Collateral                1.20          $ 630.00
                                             B240 – Tax Issues                               0.20          $ 105.00
                                             B310 – Claims Administration and                0.20          $ 105.00
                                             Objections
                                             B410 – Grant Receivables                        3.00       $ 1,777.50
                                             B420 – Commercial Tort Claims                  22.40      $ 13,238.50
   Total                                                                                    39.80      $ 22,711.00




                                           RECAP OF AMOUNTS DUE
 Total Previous Balance                                                                     $ 198,471.28
                                                                                                            __________
 Balance Forward                                                                                           $ 198,471.28
 Current Month Fees                                                                          $ 22,711.00
 Current Month Costs                                                                              $ 0.00
                                                                                                            __________
 Total Current Charges                                                                                      $ 22,711.00
                                                                                                            __________
 Total Due from Current Charges                                                                             $ 22,711.00
                                                                                                            __________
 AMOUNT DUE                                                                                                $ 221,182.28




Atty : JAK, #264 / P1091291                               Page 9                                  Tax ID # XX-XXXXXXX
                                                                                                Exhibit 2, page 121
   Case 2:19-bk-23085-BB           Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                     Desc
                                   Main Document   Page 122 of 377
                                       GREENBERG GLUSKER

     2049 Century Park East                                                   General billing questions: (310) 201-7492
     Suite 2600                                                                                          (310) 785-6842
     Los Angeles, CA 90067                                                                   Payments: (310) 785-6846
                                                                                                   Fax: (310) 553-7018
     Client # 76214,     Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,     Youth Policy Institute, Inc.

     Invoice date: 10/27/20                                                                   Charges through: 05/31/20
     Invoice # 686479

                                            Summary Of Attorney Time
                                            ______________________

             Attorney                                       Hours     Rate         Value
             J Krieger                                      10.00   660.00    $ 6,600.00
             J Sokol                                         2.30   695.00    $ 1,598.50
             K Banner                                       27.00   525.00   $ 14,175.00
             R Cestero                                       0.50   675.00      $ 337.50
             Total                                          39.80            $ 22,711.00




Atty : JAK, #264 / P1091291                            Page 10                               Tax ID # XX-XXXXXXX
                                                                                           Exhibit 2, page 122
        Case 2:19-bk-23085-BB                  Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                                      Desc
                                               Main Document   Page 123 of 377

                                                       GREENBERG GLUSKER
          2049 Century Park East                                                             General billing questions: (310) 201-7492
          Suite 2600                                                                                                    (310) 785-6842
          Los Angeles, CA 90067                                                                             Payments: (310) 785-6846
                                                                                                                       Fax: (310) 553-7018
                                                   Jason M. Rund, Chapter 7 Trustee


          Client # 76214                                                                                       Charges through: 05/31/20
          Invoice date: 10/27/20
          Invoice # 686479




                                                                                              Payments and
Matter                                                     Previous              Current       Retainers To          Adjustments
Number Name                                                 Balance             Charges           10/27/20           To 10/27/20        Amount Due
00002   Youth Policy Institute, Inc.                   $ 198,471.28          $ 22,711.00             $ 0.00               $ 0.00       $ 221,182.28

                                                       ___________          __________          __________           __________       ___________
             Bill Total                                $ 198,471.28         $ 22,711.00              $ 0.00               $ 0.00      $ 221,182.28


                                   PLEASE ENCLOSE THIS PAGE WITH YOUR REMITTANCE


                                            Wire instructions for the GENERAL account in US Dollars:
                                          Bank Name:               First Republic Bank
                                                                   111 Pine Street
                                                                   San Francisco, CA 94111
                                          SWIFT CODE:              FRBBUS6S
                                          ABA:                     321081669
                                          Account Name:            Greenberg Glusker Fields Claman &
                                                                   Machtinger
                                          Account No.:             #997-0005-4655




   Please reflect the client name and number, and the matters being paid. Payments received will apply first to accrued interest and then to
   costs and fees.
    Atty : JAK, #264 / P1091291                                         Page 11                                       Tax ID # XX-XXXXXXX
                                                                                                                    Exhibit 2, page 123
        Case 2:19-bk-23085-BB                  Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                                      Desc
                                               Main Document   Page 124 of 377
                                                   GREENBERG GLUSKER
          2049 Century Park East                                                             General billing questions: (310) 201-7492
          Suite 2600                                                                                                    (310) 785-6842
          Los Angeles, CA 90067                                                                             Payments: (310) 785-6846
                                                                                                                       Fax: (310) 553-7018
                                                   Jason M. Rund, Chapter 7 Trustee


          Client # 76214                                                                                       Charges through: 06/30/20
          Invoice date: 07/07/20
          Invoice # 684946



                                                                                              Payments and
Matter                                                     Previous              Current       Retainers To          Adjustments
Number Name                                                 Balance             Charges           07/07/20           To 07/07/20        Amount Due
00002   Youth Policy Institute, Inc.                   $ 221,182.28          $ 25,281.73             $ 0.00               $ 0.00       $ 246,464.01

                                                       ___________          __________          __________           __________       ___________
             Bill Total                                $ 221,182.28         $ 25,281.73              $ 0.00               $ 0.00      $ 246,464.01




                                                                         Jason M. Rund, Chapter 7 Trustee
                                                                         Sheridan & Rund
                                                                         840 Apollo Street
                                                                         Suite 351
                                                                         El Segundo, CA 90402




   Please reflect the client name and number, and the matters being paid. Payments received will apply first to accrued interest and then to
   costs and fees.
    Atty : JAK, #264 / P1078078                                          Page 1                                       Tax ID # XX-XXXXXXX
                                                                                                                    Exhibit 2, page 124
   Case 2:19-bk-23085-BB              Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                            Desc
                                      Main Document   Page 125 of 377
                                          GREENBERG GLUSKER

     2049 Century Park East                                                          General billing questions: (310) 201-7492
     Suite 2600                                                                                                 (310) 785-6842
     Los Angeles, CA 90067                                                                          Payments: (310) 785-6846
                                                                                                             Fax: (310) 553-7018
     Client # 76214,     Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,     Youth Policy Institute, Inc.

     Invoice date: 07/07/20                                                                           Charges through: 06/30/20
     Invoice # 684946



                                                             FEES
 Date       Timekeeper                               Description of Services                         Hours         Amount

 B100 – Administration
    B110 – Case Administration
 06/23/20 JA Krieger           Review email from D. Shallman regarding FEC inquiry                    0.10         $ 66.00
 06/29/20 K Banner             Review case docket for developments.                                   0.10         $ 52.50
           Total B110 – Case Administration                                                           0.20        $ 118.50


    B120 – Asset Analysis and Recovery
 06/02/20 K Banner             Review oracle information from D. Oshiro and email exchange            0.80        $ 420.00
                               with B. Howard regarding the same (.3); access and review
                               Oracle database (.3); extended email exchange with D. Oshiro
                               regarding the same (.2).
 06/03/20 K Banner             Telephone call with Trustee regarding access to MIP system             0.90        $ 472.50
                               (.4); draft letter to R. Jennison regarding Applianz server (.5).
 06/04/20 K Banner             Review letter to R. Jennison regarding Applianz server prior to        0.20        $ 105.00
                               transmittal and email exchange with Trustee regarding the
                               same.
 06/08/20 K Banner             Review of accounting records from Microsoft One Drive of D.            0.70        $ 367.50
                               Oshiro.
 06/09/20 K Banner             Telephone conference with Trustee and D. Fife regarding                0.80        $ 420.00
                               various areas for potential recovery into the estate.
 06/10/20 K Banner             Review response from Applianz re: cloud server and confer              0.30        $ 157.50
                               with the Trustee regarding the same (.2); email exchange with
                               K. Jaimez regarding the same (.1).
 06/11/20 K Banner             Telephone call with R. Jennison regarding Applianz server.             0.20         $ 105.00
 06/15/20 K Banner             Continue review and analysis of documents stored on YPI One            2.50       $ 1,312.50
                               Drive for information relevant to investigations, including
                               board minutes (2.2); email exchange with Trustee regarding
                               certain files discovered (.1); email exchange with M. Heyn
                               regarding 21 Century programs and assignment to Think
                               Together (.1); email exchange with the Trustee regarding the
                               same (.1).
 06/16/20 K Banner             Continue review of OneDrive files of individual employees.             0.50         $ 262.50
           Total B120 – Asset Analysis and Recovery                                                   6.90       $ 3,622.50


    B130 – Asset Disposition
 06/04/20 K Banner               Telephone call and email exchange with T. Shokrai regarding          0.20        $ 105.00
                                 Nova and Arleta storage units.
 06/15/20   K Banner             Email exchange with M. Heyn regarding documents at Extra             0.10         $ 52.50
                                 Space Storage.
 06/18/20   K Banner             Email exchange with M. Heyn regarding CDE recovery of                1.30        $ 682.50
                                 documents at Extra Space (.2); email exchange with Trustee
Atty : JAK, #264 / P1078078                                 Page 2                                   Tax ID # XX-XXXXXXX
                                                                                                   Exhibit 2, page 125
   Case 2:19-bk-23085-BB              Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                             Desc
                                      Main Document   Page 126 of 377
                                          GREENBERG GLUSKER

     2049 Century Park East                                                          General billing questions: (310) 201-7492
     Suite 2600                                                                                                 (310) 785-6842
     Los Angeles, CA 90067                                                                          Payments: (310) 785-6846
                                                                                                              Fax: (310) 553-7018
     Client # 76214,     Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,     Youth Policy Institute, Inc.

     Invoice date: 07/07/20                                                                            Charges through: 06/30/20
     Invoice # 684946

                                                           FEES
 Date       Timekeeper                             Description of Services                            Hours         Amount
                              regarding the same (.1); email exchange with T. Shokrai
                              regarding the same (.1); draft and revise notice of abandonment
                              for Extra Space Storage (.8); email exchange with Trustee and
                              T. Shokrai regarding the same (.1).
 06/22/20 JA Krieger          Review notice of abandonment of storage unit                             0.10         $ 66.00
 06/22/20 K Banner            Review and revise notice of abandonment re: Extra Space                  0.80        $ 420.00
                              Storage (.4); review catalog of pictures from Extra Space
                              Storage for inclusion (.4).
 06/25/20 K Banner            Email exchange with T. Shokrai regarding CDE inspection of               0.10         $ 52.50
                              Extra Space Storage.
 06/26/20 K Banner            Email exchange with M. Heyn regarding inspection of Extra                0.10         $ 52.50
                              Space Storage.
          Total B130 – Asset Disposition                                                               2.70       $ 1,431.00


    B150 – Meetings of and Communications with Creditors
 06/09/20 K Banner            Review order on relief from stay motion by Ford Motor Credit.            0.10         $ 52.50
 06/29/20 K Banner            Review information regarding potential claim of Cal. State LA            0.20        $ 105.00
                              and draft correspondence to R. Olaerts regarding the same.
           Total B150 – Meetings of and Communications with Creditors                                  0.30        $ 157.50


    B185 – Assumption/Rejection of Leases and Contracts
 06/01/20 JA Krieger           Review and respond to email from D. Meadows regarding                   0.20        $ 132.00
                               admin claim
 06/01/20 K Banner             Review case docket for status on motion re Beverly (.1); review         0.30        $ 157.50
                               court's tentative ruling on motion re Beverly Facility (.1); email
                               exchange with D. Meadows regarding the same (.1).
 06/02/20 K Banner             Review court's tentative rulings for any updated regarding              0.10         $ 52.50
                               Beverly motion.
 06/03/20 K Banner             Review case docket for status of 9019 motion (.1); draft and            0.70        $ 367.50
                               revise order granting 9019 motion re: MDB stipulation (.5);
                               email exchange with G. Weiner regarding deposit held by MDB
                               (.1).
 06/04/20 JA Krieger           Review emails with counsel for NFF regarding landlord claim             0.10         $ 66.00
                               to security deposit
 06/04/20 K Banner             Email exchange with G. Weiner regarding MDB claim (.2);                 0.30        $ 157.50
                               review entered order on MDB 9019 motion (.1).
           Total B185 – Assumption/Rejection of Leases and Contracts                                   1.70        $ 933.00


    B190 – Other Contested Matters (excluding assumption/rejection motions)
 06/01/20 JA Krieger           Review email from AUSA and attachments (.1); review emails              0.30        $ 198.00
                               with trustee (.1); preparation of response (.1)
 06/01/20 K Banner             Email exchange with K. Jaimez regarding AUSA subpoena                   0.90        $ 472.50
                               (.1); email exchange and telephone call with Trustee regarding
Atty : JAK, #264 / P1078078                                 Page 3                                    Tax ID # XX-XXXXXXX
                                                                                                    Exhibit 2, page 126
   Case 2:19-bk-23085-BB             Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                             Desc
                                     Main Document   Page 127 of 377
                                         GREENBERG GLUSKER

     2049 Century Park East                                                         General billing questions: (310) 201-7492
     Suite 2600                                                                                                (310) 785-6842
     Los Angeles, CA 90067                                                                         Payments: (310) 785-6846
                                                                                                             Fax: (310) 553-7018
     Client # 76214,     Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,     Youth Policy Institute, Inc.

     Invoice date: 07/07/20                                                                           Charges through: 06/30/20
     Invoice # 684946

                                                              FEES
 Date       Timekeeper                               Description of Services                         Hours         Amount
                                the same (.5); email exchange with B. Howard regarding the
                                same (.1); draft email to D. Oshiro regarding AUSA inquiries
                                (.2).
 06/04/20   K Banner            Revise Custodian of Records declaration received from AUSA            1.50        $ 787.50
                                and email to the Trustee (.6); telephone conference with Trustee
                                regarding the same and other matters (.5); further review and
                                revise AUSA declaration (.4).
 06/05/20   K Banner            Draft proposed response to AUSA regarding inquiries (.4);             1.00        $ 525.00
                                email exchange and telephone call with Trustee regarding the
                                same (.4); review and revise declaration regarding debtor's
                                records (.1); email exchange with K. Jaimez regarding the same
                                (.1).
 06/08/20   K Banner            Email to C. Penilla regarding DOL Microsoft 365 Account               0.10         $ 52.50
                                access.
 06/12/20   K Banner            Email exchange with C. Penilla regarding DOL questions re:            0.30        $ 157.50
                                analysis of Special Committee Report (.1); email exchange with
                                B. Howard regarding the same and review of detailed response
                                from B. Howard regarding report (.2).
 06/15/20   K Banner            Email exchange with C. Penilla regarding DOL questions (.1);          1.20        $ 630.00
                                email exchange with B. Howard regarding the same (.1); email
                                exchange with K. Jaimez regarding AUSA access to Oracle and
                                Applianz databases (.1); research regarding UV&S entity in
                                Kansas and Applianz company (.3); draft and revise letter to L.
                                Spence regarding Applianz database (.6).
 06/22/20   K Banner            Email exchange with C. Pennilla regarding DOL access to               0.20        $ 105.00
                                Microsoft 365 database (.1); email exchange with N. Pham
                                regarding the same (.1).
 06/23/20   K Banner            Review correspondence from D. Shallman regarding potential            0.20        $ 105.00
                                return of campaign contributions and email exchange with
                                Trustee regarding the same.
 06/24/20   JA Krieger          Review correspondence from D, Shallman regarding FEC                  0.20        $ 132.00
                                action
 06/24/20   K Banner            Email exchange with D. Shallman regarding potential political         0.90        $ 472.50
                                donation refunds (.1); review inventory from Iron Mountain
                                (.3); email exchange with Trustee regarding the same (.1);
                                review FEC complaint and sua sponte from D. Shallman (.3);
                                confer with J. Krieger regarding the same (.1).
 06/26/20   JA Krieger          Review email string with AG's office regarding document               0.20        $ 132.00
                                production
 06/29/20   JA Krieger          Review emails with FEC                                                0.20        $ 132.00
 06/29/20   K Banner            Review SEC sua sponte and complaint in preparation for                0.40        $ 210.00
                                conference call with Trustee (.2); draft email to K. Roche
                                regarding FEC investigations (.2).
            Total B190 – Other Contested Matters (excluding assumption/rejection motions)             7.60       $ 4,111.50



Atty : JAK, #264 / P1078078                                 Page 4                                   Tax ID # XX-XXXXXXX
                                                                                                   Exhibit 2, page 127
   Case 2:19-bk-23085-BB              Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                             Desc
                                      Main Document   Page 128 of 377
                                          GREENBERG GLUSKER

     2049 Century Park East                                                          General billing questions: (310) 201-7492
     Suite 2600                                                                                                 (310) 785-6842
     Los Angeles, CA 90067                                                                          Payments: (310) 785-6846
                                                                                                              Fax: (310) 553-7018
     Client # 76214,     Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,     Youth Policy Institute, Inc.

     Invoice date: 07/07/20                                                                            Charges through: 06/30/20
     Invoice # 684946

                                                             FEES
 Date       Timekeeper                               Description of Services                          Hours         Amount
            Total B100 – Administration                                                               19.40     $ 10,374.00


 B200 – Operations
    B220 – Employee Benefits/Pensions
 06/08/20 K Banner             Email exchange with D. Oshiro regarding former employees                0.20        $ 105.00
                               unable to locate for 401k payment (.1); email exchange K.
                               Palm regarding the same (.1).
           Total B220 – Employee Benefits/Pensions                                                     0.20        $ 105.00


            Total B200 – Operations                                                                    0.20        $ 105.00


 B300 – Claims and Plan
    B310 – Claims Administration and Objections
 06/16/20 JA Krieger           Emails with client regarding admin claim inquiry and treatment          0.20        $ 132.00
 06/16/20 K Banner             Review information regarding admin. claim of B. Schwartz.               0.10         $ 52.50
 06/19/20 JA Krieger           Review and respond to multiple emails from counsel for                  0.20        $ 132.00
                               administrative creditor
           Total B310 – Claims Administration and Objections                                           0.50        $ 316.50


            Total B300 – Claims and Plan                                                               0.50        $ 316.50


 B400 – Bankruptcy-Related Advice
    B410 – Grant Receivables
 06/04/20 K Banner            Email exchange with E. Nash regarding promise neighborhood               0.20        $ 105.00
                              grant receivables (.1); email exchange with Trustee regarding
                              the same (.1).
 06/08/20 K Banner            Review and analyze documentation relating to HCID receivable             1.10        $ 577.50
                              and draft email to L. Salvador regarding collection of the HCID
                              receivable (.9); email exchange with Trustee regarding the
                              same (.2).
 06/18/20 K Banner            Email to L. Salvador regarding status of HCID payment (.1);              0.90        $ 472.50
                              review and analyze documents of the Debtor relating to Learn
                              for Life grant receivables and draft letter to Learn for Life (.7);
                              email exchange with Trustee regarding the same (.1).
 06/22/20 K Banner            Review correspondence from HCID regarding grant receivable               0.50        $ 262.50
                              and review documents from the Debtor regarding the same (.4);
                              email exchange with Trustee regarding the same (.1).
 06/25/20 K Banner            Review information from Learn4Life receivables and compare               0.40        $ 210.00
                              against Debtor's bank statements (.3); email exchange with
                              Trustee regarding the same (.1).
 06/29/20 K Banner            Review information on HCID grant receivable in preparation               0.90        $ 472.50
Atty : JAK, #264 / P1078078                                 Page 5                                    Tax ID # XX-XXXXXXX
                                                                                                    Exhibit 2, page 128
   Case 2:19-bk-23085-BB              Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                             Desc
                                      Main Document   Page 129 of 377
                                          GREENBERG GLUSKER

     2049 Century Park East                                                           General billing questions: (310) 201-7492
     Suite 2600                                                                                                  (310) 785-6842
     Los Angeles, CA 90067                                                                           Payments: (310) 785-6846
                                                                                                              Fax: (310) 553-7018
     Client # 76214,     Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,     Youth Policy Institute, Inc.

     Invoice date: 07/07/20                                                                            Charges through: 06/30/20
     Invoice # 684946

                                                                FEES
 Date       Timekeeper                               Description of Services                          Hours         Amount
                                for call with Trustee (.2); telephone call with Trustee regarding
                                outstanding receivables and other matters (.7).
 06/30/20   K Banner            Draft correspondence to T. Leung regarding receivable due              1.20        $ 630.00
                                from HCID (.5); email exchange with Trustee regarding the
                                same (.1); draft email to G. Ruvalcaba regarding outstanding
                                grant receivable due from EWDD (.3); email exchange with
                                Trustee regarding the same (.1); draft email to E. Nash
                                regarding status of receivable for Promise Neighborhoods (.2).
            Total B410 – Grant Receivables                                                             5.20       $ 2,730.00


    B420 – Commercial Tort Claims
 06/05/20 JA Krieger           Review correspondence from Brown and preparation of                     0.30        $ 198.00
                               responsive email; review response from Brown
 06/05/20 K Banner             Confer with J. Krieger regarding correspondence to Hanover              1.70        $ 892.50
                               counsel (.1); continue to draft and revise letter to Hanover
                               regarding crime policy (1.6).
 06/11/20 JA Krieger           Telephone conference(s) with K. Banner regarding response to            0.10         $ 66.00
                               Hanover
 06/15/20 JA Krieger           Review and revise claim letter response to D. Brown, counsel            0.80        $ 528.00
                               for Hanover
 06/15/20 JA Krieger           Telephone conference(s) with K. banner regarding                        0.30        $ 198.00
                               correspondence to D. Brown (.2); preparation of email to D.
                               Shallman regarding info for insurance claim (.1)
 06/15/20 K Banner             Review and revise letter to D. Brown regarding Hanover claim            1.80        $ 945.00
                               (1.6); confer with J. Krieger regarding the same (.2).
 06/16/20 JA Krieger           Analyze Grobstein spreadsheet in preparation for call with B.           1.20        $ 792.00
                               Howard (.4); conference call with B. Howard and K. Banner
                               (.8)
 06/16/20 K Banner             Review Board minutes retrieved from OneDrive of M. Leong                2.10       $ 1,102.50
                               and review and revise correspondence to Hanover (1.0); email
                               exchange with Trustee regarding the same (.1); review
                               documents in advance of call with B. Howard regarding special
                               committee investigation of D. Slingerland (.2); telephone
                               conference with B. Howard and J. Krieger regarding response
                               to Hanover (.8).
 06/17/20 JA Krieger           Telephone conference(s) with K. Banner in preparation for call          1.20        $ 792.00
                               with counsel for Special Committee (.2); conference call with
                               counsel for Special Committee regarding response to Hanover
                               document request (.7); follow up with K. Banner (.2);
                               preparation of email to J. Sokol (.1)
 06/17/20 JA Krieger           Telephone conference(s) with J. Sokol regarding insurance and           2.00       $ 1,320.00
                               attorney client privilege issues (.4); conference call with
                               Trustee and K. Banner regarding same (.7); review and revise
                               correspondence to insurance company (.3); telephone
                               conference(s) with K. Banner regarding same and regarding
Atty : JAK, #264 / P1078078                                  Page 6                                   Tax ID # XX-XXXXXXX
                                                                                                    Exhibit 2, page 129
   Case 2:19-bk-23085-BB             Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                         Desc
                                     Main Document   Page 130 of 377
                                         GREENBERG GLUSKER

     2049 Century Park East                                                      General billing questions: (310) 201-7492
     Suite 2600                                                                                             (310) 785-6842
     Los Angeles, CA 90067                                                                      Payments: (310) 785-6846
                                                                                                         Fax: (310) 553-7018
     Client # 76214,       Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,       Youth Policy Institute, Inc.

     Invoice date: 07/07/20                                                                       Charges through: 06/30/20
     Invoice # 684946

                                                          FEES
 Date        Timekeeper                           Description of Services                        Hours         Amount
                            response to Shallman (.5); t/call(s) to D. Shallman (.1)
 06/17/20 JB Sokol          Call with Jeff Krieger to discuss handling of insurance claim         0.50        $ 347.50
                            against theft carrier and claim against D&O policy.
 06/17/20 K Banner          Telephone conference with D. Shallman regarding special               4.20       $ 2,205.00
                            committee investigations and response to Hanover (.7); confer
                            with J. Krieger regarding the same (.3); email exchange with
                            Trustee regarding the same (.1); review and revise letter to
                            Hanover (1.3); telephone conference with J. Sokol and J.
                            Krieger regarding potential privilege issues re: insurance claim
                            (.4); telephone conference with Trustee and J. Krieger
                            regarding privilege and other issues relating to crime policy
                            claim (.5); further conference with J. Krieger regarding the
                            same (.5); review board minutes from 2012 to 2019 regarding
                            any housing allowance approved (.4).
 06/19/20 JA Krieger        Emails with J. Sokol regarding crime policy letter                    0.10         $ 66.00
 06/23/20 JB Sokol          Review and revise letter to insurer.                                  0.90        $ 625.50
 06/24/20 JA Krieger        Review J. Sokol revisions to letter to insurance counsel (.1);        0.50        $ 330.00
                            review correspondence with trustee and regarding formation of
                            FTP site for insurance counsel (.2); conference with K. Banner
                            regarding finalizing with FTP site (.2)
 06/24/20 K Banner          Email exchange with Trustee regarding draft correspondence to         1.40        $ 735.00
                            Hanover (.1); review and revise letter to Hanover (.2); review
                            document database and identify documents to include in
                            voluminous production to Hanover (1.0); confer with J.
                            Krieger regarding the same (.1).
 06/25/20 K Banner          Review and revise letter to Hanover re: crime policy and review       0.50        $ 262.50
                            supporting documents uploaded to FTP site.
 06/26/20 JA Krieger        Finalize and execute correspondence to D. Brown regarding             0.30        $ 198.00
                            crime policy claim
          Total B420 – Commercial Tort Claims                                                    19.90     $ 11,603.50


             Total B400 – Bankruptcy-Related Advice                                              25.10     $ 14,333.50


 Total fees for this matter:                                                                                $ 25,129.00




Atty : JAK, #264 / P1078078                              Page 7                                  Tax ID # XX-XXXXXXX
                                                                                               Exhibit 2, page 130
   Case 2:19-bk-23085-BB                Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                               Desc
                                        Main Document   Page 131 of 377
                                            GREENBERG GLUSKER

     2049 Century Park East                                                                General billing questions: (310) 201-7492
     Suite 2600                                                                                                       (310) 785-6842
     Los Angeles, CA 90067                                                                                Payments: (310) 785-6846
                                                                                                                  Fax: (310) 553-7018
     Client # 76214,    Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,    Youth Policy Institute, Inc.

     Invoice date: 07/07/20                                                                                Charges through: 06/30/20
     Invoice # 684946

                                           Summary Of Attorney Time By Task
                                              ______________________

                                                                Hours              Rate                  Value

             B110 – Case Administration
               K Banner                                           0.10           525.00                 $ 52.50
               JA Krieger                                         0.10           660.00                 $ 66.00

             B120 – Asset Analysis and Recovery
               K Banner                                           6.90           525.00              $ 3,622.50

             B130 – Asset Disposition
               K Banner                                           2.60           525.00              $ 1,365.00
               JA Krieger                                         0.10           660.00                 $ 66.00

             B150 – Meetings of and Communications with Creditors
               K Banner                                          0.30            525.00               $ 157.50

             B185 – Assumption/Rejection of Leases and Contracts
               K Banner                                          1.40            525.00               $ 735.00
               JA Krieger                                        0.30            660.00               $ 198.00

             B190 – Other Contested Matters (excluding assumption/rejection motions)
               K Banner                                           6.70            525.00             $ 3,517.50
               JA Krieger                                         0.90            660.00               $ 594.00

             B220 – Employee Benefits/Pensions
               K Banner                                           0.20           525.00               $ 105.00

             B310 – Claims Administration and Objections
               K Banner                                           0.10           525.00                $ 52.50
               JA Krieger                                         0.40           660.00               $ 264.00

             B410 – Grant Receivables
               K Banner                                           5.20           525.00              $ 2,730.00

             B420 – Commercial Tort Claims
               K Banner                                          11.70           525.00              $ 6,142.50
               JA Krieger                                         6.80           660.00              $ 4,488.00
               JB Sokol                                           1.40           695.00                $ 973.00

             Total                                               45.20                              $ 25,129.00




Atty : JAK, #264 / P1078078                                   Page 8                                     Tax ID # XX-XXXXXXX
                                                                                                       Exhibit 2, page 131
   Case 2:19-bk-23085-BB                 Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                                  Desc
                                         Main Document   Page 132 of 377
                                             GREENBERG GLUSKER

     2049 Century Park East                                                               General billing questions: (310) 201-7492
     Suite 2600                                                                                                      (310) 785-6842
     Los Angeles, CA 90067                                                                               Payments: (310) 785-6846
                                                                                                                      Fax: (310) 553-7018
     Client # 76214,      Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,      Youth Policy Institute, Inc.

     Invoice date: 07/07/20                                                                                  Charges through: 06/30/20
     Invoice # 684946

                                                         Summary By Task
                                                      ______________________

                                                   Task                                             Hours             Value
                                                   B110 – Case Administration                        0.20          $ 118.50
                                                   B120 – Asset Analysis and Recovery                6.90        $ 3,622.50
                                                   B130 – Asset Disposition                          2.70        $ 1,431.00
                                                   B150 – Meetings of and Communications             0.30          $ 157.50
                                                   with Creditors
                                                   B185 – Assumption/Rejection of Leases             1.70             $ 933.00
                                                   and Contracts
                                                   B190 – Other Contested Matters (excluding         7.60        $ 4,111.50
                                                   assumption/rejection motions)
                                                   B220 – Employee Benefits/Pensions                 0.20             $ 105.00
                                                   B310 – Claims Administration and                  0.50             $ 316.50
                                                   Objections
                                                   B410 – Grant Receivables                          5.20        $ 2,730.00
                                                   B420 – Commercial Tort Claims                    19.90       $ 11,603.50
   Total                                                                                            45.20       $ 25,129.00




                                                              COSTS
                       Date           Description                                                        Amount
                       05/05/20       VENDOR: EXCELSIOR; INVOICE#: 75881; DATE:                         $ 142.62
                                      5/5/2020 - Prints assembled, envelopes, labels sheets,
                                      postage and delivery
                       05/07/20       VENDOR: Federal Express; INVOICE#: 7-005-36861;                       $ 10.11
                                      DATE: 5/7/2020 - Account Number:0904-0424-5

                       Total costs for this matter:                                                     $ 152.73


                                              Summary Of Costs by Expenses Code
                                                 ______________________

                              Expense                                                       Value
                              E107 – Delivery services/messengers                          $10.11

                              E118 – Litigation support vendors                           $142.62

                              Total                                                      $ 152.73




Atty : JAK, #264 / P1078078                                       Page 9                                 Tax ID # XX-XXXXXXX
                                                                                                       Exhibit 2, page 132
   Case 2:19-bk-23085-BB            Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                       Desc
                                    Main Document   Page 133 of 377
                                        GREENBERG GLUSKER

     2049 Century Park East                                                    General billing questions: (310) 201-7492
     Suite 2600                                                                                           (310) 785-6842
     Los Angeles, CA 90067                                                                    Payments: (310) 785-6846
                                                                                                      Fax: (310) 553-7018
     Client # 76214,      Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,      Youth Policy Institute, Inc.

     Invoice date: 07/07/20                                                                    Charges through: 06/30/20
     Invoice # 684946

                                           RECAP OF AMOUNTS DUE
 Total Previous Balance                                                                $ 221,182.28
                                                                                                       __________
 Balance Forward                                                                                      $ 221,182.28
 Current Month Fees                                                                     $ 25,129.00
 Current Month Costs                                                                       $ 152.73
                                                                                                       __________
 Total Current Charges                                                                                 $ 25,281.73
                                                                                                       __________
 Total Due from Current Charges                                                                        $ 25,281.73
                                                                                                       __________
 AMOUNT DUE                                                                                           $ 246,464.01




                                             Summary Of Attorney Time
                                             ______________________

             Attorney                                        Hours     Rate         Value
             J Krieger                                        8.60   660.00    $ 5,676.00
             J Sokol                                          1.40   695.00      $ 973.00
             K Banner                                        35.20   525.00   $ 18,480.00
             Total                                           45.20            $ 25,129.00




Atty : JAK, #264 / P1078078                             Page 10                               Tax ID # XX-XXXXXXX
                                                                                            Exhibit 2, page 133
         Case 2:19-bk-23085-BB                Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                                      Desc
                                              Main Document   Page 134 of 377

                                                      GREENBERG GLUSKER
          2049 Century Park East                                                            General billing questions: (310) 201-7492
          Suite 2600                                                                                                   (310) 785-6842
          Los Angeles, CA 90067                                                                            Payments: (310) 785-6846
                                                                                                                      Fax: (310) 553-7018
                                                  Jason M. Rund, Chapter 7 Trustee

          Client # 76214                                                                                      Charges through: 06/30/20
          Invoice date: 07/07/20
          Invoice # 684946




                                                                                              Payments and
Matter                                                    Previous              Current        Retainers To        Adjustments
Number      Name                                           Balance             Charges            07/07/20         To 07/07/20         Amount Due
00002       Youth Policy Institute, Inc.              $ 221,182.28          $ 25,281.73              $ 0.00             $ 0.00        $ 246,464.01

                                                      ___________          __________          __________           __________       ___________
            Bill Total                                $ 221,182.28         $ 25,281.73              $ 0.00               $ 0.00      $ 246,464.01


                                  PLEASE ENCLOSE THIS PAGE WITH YOUR REMITTANCE


                                           Wire instructions for the GENERAL account in US Dollars:
                                         Bank Name:               First Republic Bank
                                                                  111 Pine Street
                                                                  San Francisco, CA 94111
                                         SWIFT CODE:              FRBBUS6S
                                         ABA:                     321081669
                                         Account Name:            Greenberg Glusker Fields Claman &
                                                                  Machtinger
                                         Account No.:             #997-0005-4655




  Please reflect the client name and number, and the matters being paid. Payments received will apply first to accrued interest and then to
  costs and fees.
   Atty : JAK, #264 / P1078078                                         Page 11                                       Tax ID # XX-XXXXXXX
                                                                                                                   Exhibit 2, page 134
        Case 2:19-bk-23085-BB                  Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                                      Desc
                                               Main Document   Page 135 of 377
                                                   GREENBERG GLUSKER
          2049 Century Park East                                                             General billing questions: (310) 201-7492
          Suite 2600                                                                                                    (310) 785-6842
          Los Angeles, CA 90067                                                                             Payments: (310) 785-6846
                                                                                                                       Fax: (310) 553-7018
                                                   Jason M. Rund, Chapter 7 Trustee

          Client # 76214                                                                                       Charges through: 07/31/20
          Invoice date: 08/06/20
          Invoice # 686451



                                                                                              Payments and
Matter                                                     Previous              Current       Retainers To          Adjustments
Number Name                                                 Balance             Charges           08/06/20           To 08/06/20        Amount Due
00002   Youth Policy Institute, Inc.                   $ 246,464.01           $ 4,722.60             $ 0.00               $ 0.00       $ 251,186.61

                                                       ___________          __________          __________           __________       ___________
             Bill Total                                $ 246,464.01          $ 4,722.60              $ 0.00               $ 0.00      $ 251,186.61




                                                                         Jason M. Rund, Chapter 7 Trustee
                                                                         Sheridan & Rund
                                                                         840 Apollo Street
                                                                         Suite 351
                                                                         El Segundo, CA 90402




   Please reflect the client name and number, and the matters being paid. Payments received will apply first to accrued interest and then to
   costs and fees.
    Atty : JAK, #264 / P1082423                                          Page 1                                       Tax ID # XX-XXXXXXX
                                                                                                                    Exhibit 2, page 135
   Case 2:19-bk-23085-BB             Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                           Desc
                                     Main Document   Page 136 of 377
                                         GREENBERG GLUSKER

     2049 Century Park East                                                         General billing questions: (310) 201-7492
     Suite 2600                                                                                                (310) 785-6842
     Los Angeles, CA 90067                                                                         Payments: (310) 785-6846
                                                                                                           Fax: (310) 553-7018
     Client # 76214,     Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,     Youth Policy Institute, Inc.

     Invoice date: 08/06/20                                                                         Charges through: 07/31/20
     Invoice # 686451



                                                             FEES
 Date       Timekeeper                               Description of Services                       Hours         Amount

 B100 – Administration
    B110 – Case Administration
 07/23/20 K Banner             Review case docket for developments.                                 0.10         $ 52.50
           Total B110 – Case Administration                                                         0.10         $ 52.50


    B120 – Asset Analysis and Recovery
 07/20/20 K Banner             Review ITT case from Trustee relating to potential liability of      0.30        $ 157.50
                               directors.
           Total B120 – Asset Analysis and Recovery                                                 0.30        $ 157.50


    B130 – Asset Disposition
 07/07/20 K Banner              Review case docket for status of abandonment notice re Extra        0.10         $ 52.50
                                Space Storage.
            Total B130 – Asset Disposition                                                          0.10         $ 52.50


    B150 – Meetings of and Communications with Creditors
 07/27/20 K Banner            Review correspondence from Oracle's counsel and review                0.30        $ 157.50
                              pleadings filed by the same (.2); email to S. Christianson (.1).
 07/28/20 K Banner            Review correspondence from Trustee regarding 341(a) and               0.20        $ 105.00
                              confer with J. Krieger.
 07/29/20 K Banner            Research regarding statutory effect of concluding 341(a) in           0.40        $ 210.00
                              non-individual case (.3); email exchange with Trustee regarding
                              the same (.1).
           Total B150 – Meetings of and Communications with Creditors                               0.90        $ 472.50


    B190 – Other Contested Matters (excluding assumption/rejection motions)
 07/02/20 K Banner             Email exchange with Trustee regarding Applianz database.             0.10         $ 52.50
 07/15/20 K Banner             Review prior correspondence regarding Iron Mountain and D.           0.30        $ 157.50
                               Slingerland per DOL request and email exchange with C.
                               Penilla.
 07/16/20 K Banner             Draft and revise correspondence to D. Miller regarding DOL           0.30        $ 157.50
                               access to Oracle account.
 07/31/20 K Banner             Review information regarding status of FEC action and email          0.20        $ 105.00
                               exchange with Trustee regarding the same.
           Total B190 – Other Contested Matters (excluding assumption/rejection motions)            0.90        $ 472.50


            Total B100 – Administration                                                             2.30       $ 1,207.50


Atty : JAK, #264 / P1082423                                 Page 2                                 Tax ID # XX-XXXXXXX
                                                                                                 Exhibit 2, page 136
   Case 2:19-bk-23085-BB              Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                            Desc
                                      Main Document   Page 137 of 377
                                          GREENBERG GLUSKER

     2049 Century Park East                                                         General billing questions: (310) 201-7492
     Suite 2600                                                                                                (310) 785-6842
     Los Angeles, CA 90067                                                                         Payments: (310) 785-6846
                                                                                                             Fax: (310) 553-7018
     Client # 76214,     Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,     Youth Policy Institute, Inc.

     Invoice date: 08/06/20                                                                           Charges through: 07/31/20
     Invoice # 686451

                                                             FEES
 Date       Timekeeper                               Description of Services                         Hours         Amount

 B300 – Claims and Plan
    B310 – Claims Administration and Objections
 07/09/20 K Banner             Review amended claim of Jessica Hendricks.                             0.10         $ 52.50
           Total B310 – Claims Administration and Objections                                          0.10         $ 52.50


            Total B300 – Claims and Plan                                                              0.10         $ 52.50


 B400 – Bankruptcy-Related Advice
    B410 – Grant Receivables
 07/02/20 K Banner             Review response from HCID regarding grant receivable (.2);             0.50        $ 262.50
                               email exchange with Trustee regarding the same (.1); draft
                               email to D. Oshiro regarding HCID receivable (.2).
 07/06/20 JA Krieger           Telephone conference(s) with K. Banner regarding strategy on           0.40        $ 264.00
                               recalcitrant account debtors on grants (.2); review emails to and
                               from Oshiro regarding same (.2)
 07/06/20 K Banner             Email exchange with D. Oshiro regarding HCID receivable.               0.10         $ 52.50
 07/07/20 K Banner             Email exchange with Trustee and D. Oshiro regarding                    0.10         $ 52.50
                               conference re HCID receivable.
 07/08/20 K Banner             Review documents regarding HCID receivable in advance of               1.20        $ 630.00
                               call with D. Oshiro and Trustee (.2); telephone conference with
                               J. Rund and D. Oshiro regarding HCID grant receivable (.7);
                               telephone conference with J. Rund regarding the same (.3).
 07/09/20 JA Krieger           Telephone conference(s) with K. Banner regarding Oshiro call           0.30        $ 198.00
                               and follow up on collecting receivables (.2); preparation of
                               follow up email to Mayor's office regarding payment (.1)
 07/09/20 K Banner             Confer with J. Krieger regarding latest developments regarding         1.50        $ 787.50
                               grant receivables (.2); review and analyze one drive records for
                               information relating to HCID grant receivable (1.2); review
                               correspondence from the Mayor's office regarding receivable
                               and email exchange with Trustee (.1).
 07/13/20 K Banner             Continue review of One Drive files for information relating to         1.50        $ 787.50
                               HCID and other grant receivables.
 07/23/20 K Banner             Review correspondence and reports from W. Loo-Smart                    0.50        $ 262.50
                               regarding EWDD receivable (.4); email exchange with Trustee
                               regarding the same (.1).
 07/27/20 K Banner             Further review of EWDD findings and email to D. Oshiro                 0.20        $ 105.00
                               regarding the same.
 07/29/20 K Banner             Email to D. Oshiro following up on EWDD correspondence.                0.10          $ 52.50
           Total B410 – Grant Receivables                                                             6.40       $ 3,454.50


            Total B400 – Bankruptcy-Related Advice                                                    6.40       $ 3,454.50


Atty : JAK, #264 / P1082423                                 Page 3                                   Tax ID # XX-XXXXXXX
                                                                                                   Exhibit 2, page 137
   Case 2:19-bk-23085-BB                  Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                               Desc
                                          Main Document   Page 138 of 377
                                              GREENBERG GLUSKER

     2049 Century Park East                                                                  General billing questions: (310) 201-7492
     Suite 2600                                                                                                         (310) 785-6842
     Los Angeles, CA 90067                                                                                  Payments: (310) 785-6846
                                                                                                                    Fax: (310) 553-7018
     Client # 76214,       Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,       Youth Policy Institute, Inc.

     Invoice date: 08/06/20                                                                                  Charges through: 07/31/20
     Invoice # 686451

                                                                FEES
 Date        Timekeeper                                 Description of Services                             Hours         Amount

 Total fees for this matter:                                                                                            $ 4,714.50


                                             Summary Of Attorney Time By Task
                                                ______________________

                                                                  Hours              Rate                  Value

               B110 – Case Administration
                 K Banner                                           0.10           525.00                $ 52.50

               B120 – Asset Analysis and Recovery
                 K Banner                                           0.30           525.00               $ 157.50

               B130 – Asset Disposition
                 K Banner                                           0.10           525.00                $ 52.50

               B150 – Meetings of and Communications with Creditors
                 K Banner                                          0.90            525.00               $ 472.50

               B190 – Other Contested Matters (excluding assumption/rejection motions)
                 K Banner                                           0.90            525.00              $ 472.50

               B310 – Claims Administration and Objections
                 K Banner                                           0.10           525.00                $ 52.50

               B410 – Grant Receivables
                 K Banner                                           5.70           525.00              $ 2,992.50
                 JA Krieger                                         0.70           660.00                $ 462.00

               Total                                                8.80                               $ 4,714.50




Atty : JAK, #264 / P1082423                                     Page 4                                     Tax ID # XX-XXXXXXX
                                                                                                         Exhibit 2, page 138
   Case 2:19-bk-23085-BB                 Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                                    Desc
                                         Main Document   Page 139 of 377
                                             GREENBERG GLUSKER

     2049 Century Park East                                                              General billing questions: (310) 201-7492
     Suite 2600                                                                                                     (310) 785-6842
     Los Angeles, CA 90067                                                                              Payments: (310) 785-6846
                                                                                                                        Fax: (310) 553-7018
     Client # 76214,      Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,      Youth Policy Institute, Inc.

     Invoice date: 08/06/20                                                                                    Charges through: 07/31/20
     Invoice # 686451

                                                         Summary By Task
                                                      ______________________

                                                  Task                                                Hours                Value
                                                  B110 – Case Administration                           0.10              $ 52.50
                                                  B120 – Asset Analysis and Recovery                   0.30             $ 157.50
                                                  B130 – Asset Disposition                             0.10              $ 52.50
                                                  B150 – Meetings of and Communications                0.90             $ 472.50
                                                  with Creditors
                                                  B190 – Other Contested Matters (excluding            0.90             $ 472.50
                                                  assumption/rejection motions)
                                                  B310 – Claims Administration and                     0.10              $ 52.50
                                                  Objections
                                                  B410 – Grant Receivables                             6.40        $ 3,454.50
   Total                                                                                               8.80        $ 4,714.50




                                                           COSTS
                       Date           Description                                                             Amount
                       07/16/20       VENDOR: Wells Fargo Card Services, Inc. INVOICE#:                        $ 8.10
                                      20200731-159 DATE: 7/31/2020
                                      Pacer (PACER800-676-6856IR, 800-676-6856 TX)

                       Total costs for this matter:                                                            $ 8.10


                                             Summary Of Costs by Expenses Code
                                                ______________________

                              Expense                                                         Value
                              E124 – Other                                                    $8.10

                              Total                                                       $ 8.10




Atty : JAK, #264 / P1082423                                     Page 5                                     Tax ID # XX-XXXXXXX
                                                                                                         Exhibit 2, page 139
   Case 2:19-bk-23085-BB            Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                         Desc
                                    Main Document   Page 140 of 377
                                        GREENBERG GLUSKER

     2049 Century Park East                                                   General billing questions: (310) 201-7492
     Suite 2600                                                                                          (310) 785-6842
     Los Angeles, CA 90067                                                                   Payments: (310) 785-6846
                                                                                                        Fax: (310) 553-7018
     Client # 76214,      Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,      Youth Policy Institute, Inc.

     Invoice date: 08/06/20                                                                     Charges through: 07/31/20
     Invoice # 686451

                                           RECAP OF AMOUNTS DUE
 Total Previous Balance                                                               $ 246,464.01
                                                                                                         __________
 Balance Forward                                                                                        $ 246,464.01
 Current Month Fees                                                                        $ 4,714.50
 Current Month Costs                                                                           $ 8.10
                                                                                                         __________
 Total Current Charges                                                                                     $ 4,722.60
                                                                                                         __________
 Total Due from Current Charges                                                                            $ 4,722.60
                                                                                                         __________
 AMOUNT DUE                                                                                             $ 251,186.61




                                             Summary Of Attorney Time
                                             ______________________

             Attorney                                        Hours     Rate        Value
             J Krieger                                        0.70   660.00     $ 462.00
             K Banner                                         8.10   525.00   $ 4,252.50
             Total                                            8.80            $ 4,714.50




Atty : JAK, #264 / P1082423                             Page 6                                Tax ID # XX-XXXXXXX
                                                                                            Exhibit 2, page 140
         Case 2:19-bk-23085-BB                Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                                      Desc
                                              Main Document   Page 141 of 377

                                                      GREENBERG GLUSKER
          2049 Century Park East                                                            General billing questions: (310) 201-7492
          Suite 2600                                                                                                   (310) 785-6842
          Los Angeles, CA 90067                                                                            Payments: (310) 785-6846
                                                                                                                      Fax: (310) 553-7018
                                                  Jason M. Rund, Chapter 7 Trustee

          Client # 76214                                                                                      Charges through: 07/31/20
          Invoice date: 08/06/20
          Invoice # 686451




                                                                                              Payments and
Matter                                                    Previous              Current        Retainers To        Adjustments
Number      Name                                           Balance             Charges            08/06/20         To 08/06/20         Amount Due
00002       Youth Policy Institute, Inc.              $ 246,464.01           $ 4,722.60              $ 0.00             $ 0.00        $ 251,186.61

                                                      ___________          __________          __________           __________       ___________
            Bill Total                                $ 246,464.01          $ 4,722.60              $ 0.00               $ 0.00      $ 251,186.61


                                  PLEASE ENCLOSE THIS PAGE WITH YOUR REMITTANCE


                                           Wire instructions for the GENERAL account in US Dollars:
                                         Bank Name:               First Republic Bank
                                                                  111 Pine Street
                                                                  San Francisco, CA 94111
                                         SWIFT CODE:              FRBBUS6S
                                         ABA:                     321081669
                                         Account Name:            Greenberg Glusker Fields Claman &
                                                                  Machtinger
                                         Account No.:             #997-0005-4655




  Please reflect the client name and number, and the matters being paid. Payments received will apply first to accrued interest and then to
  costs and fees.
   Atty : JAK, #264 / P1082423                                          Page 7                                       Tax ID # XX-XXXXXXX
                                                                                                                   Exhibit 2, page 141
        Case 2:19-bk-23085-BB                  Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                                      Desc
                                               Main Document   Page 142 of 377
                                                   GREENBERG GLUSKER
          2049 Century Park East                                                             General billing questions: (310) 201-7492
          Suite 2600                                                                                                    (310) 785-6842
          Los Angeles, CA 90067                                                                             Payments: (310) 785-6846
                                                                                                                       Fax: (310) 553-7018
                                                   Jason M. Rund, Chapter 7 Trustee
          Client # 76214                                                                                       Charges through: 08/31/20
          Invoice date: 09/02/20
          Invoice # 686454



                                                                                              Payments and
Matter                                                     Previous              Current       Retainers To          Adjustments
Number Name                                                 Balance             Charges           09/02/20           To 09/02/20        Amount Due
00002   Youth Policy Institute, Inc.                   $ 251,186.61           $ 9,013.60             $ 0.00               $ 0.00       $ 260,200.21

                                                       ___________          __________          __________           __________       ___________
             Bill Total                                $ 251,186.61          $ 9,013.60              $ 0.00               $ 0.00      $ 260,200.21




                                                                         Jason M. Rund, Chapter 7 Trustee
                                                                         Sheridan & Rund
                                                                         840 Apollo Street
                                                                         Suite 351
                                                                         El Segundo, CA 90402




   Please reflect the client name and number, and the matters being paid. Payments received will apply first to accrued interest and then to
   costs and fees.
    Atty : JAK, #264 / P1086642                                          Page 1                                       Tax ID # XX-XXXXXXX
                                                                                                                    Exhibit 2, page 142
   Case 2:19-bk-23085-BB              Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                             Desc
                                      Main Document   Page 143 of 377
                                          GREENBERG GLUSKER

     2049 Century Park East                                                          General billing questions: (310) 201-7492
     Suite 2600                                                                                                 (310) 785-6842
     Los Angeles, CA 90067                                                                          Payments: (310) 785-6846
                                                                                                              Fax: (310) 553-7018
     Client # 76214,     Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,     Youth Policy Institute, Inc.

     Invoice date: 09/02/20                                                                            Charges through: 08/31/20
     Invoice # 686454



                                                              FEES
 Date       Timekeeper                                Description of Services                         Hours         Amount

 B100 – Administration
    B140 – Relief from Stay/Adequate Protection Proceedings
 08/03/20 K Banner              Email exchange with D. Sharpe regarding minor molestation              0.40        $ 210.00
                                claims (.2); confer with J. Krieger regarding liquidating minor
                                claims (.2).
 08/07/20 JA Krieger            Telephone conference(s) with D. Sharpe, counsel for minor              0.60        $ 396.00
                                claimant (.4); follow up with K. Banner (.1); review email to J.
                                Rund (.1)
 08/07/20 K Banner              Review claim of I.A. Minor in advance of call with D. Sharpe           1.60        $ 840.00
                                (.2); review various insurance policies of the Debtor regarding
                                the same (.3); telephone conference with J. Krieger and D.
                                Sharpe regarding his proof of claim (.8); confer with J. Krieger
                                following call regarding strategy (.3).
 08/11/20 JA Krieger            Telephone conference(s) with J. Rund and K. Banner regarding           0.30        $ 198.00
                                relief from stay to pursue insurance claim
 08/12/20 K Banner              Draft and revise stipulation for relief from stay regarding claim      0.90        $ 472.50
                                of A.M., a Minor.
 08/13/20 JA Krieger            Review and revise stipulation regarding relief from stay to            0.60        $ 396.00
                                pursue insurance, etc. (.4); telephone conference(s) with K.
                                Banner regarding same (.2)
 08/13/20 K Banner              Review state court complaint, amended complaint and other              0.90        $ 472.50
                                pleadings relating to A.M., minor claim and review and revise
                                stipulation re: relief from stay and confer with J. Krieger (.8);
                                email exchange with Trustee regarding the same (.1).
 08/14/20 JA Krieger            Review stipulation with creditor regarding limited relief from         0.40        $ 264.00
                                stay(.2) and email from K. Banner regarding same (.1); review
                                response from creditor's counsel(.1)
 08/14/20 K Banner              Review and revise stipulation regarding relief from stay and           0.80        $ 420.00
                                email to D. Sharpe (.3); draft and revise proposed order on
                                stipulation (.5).
 08/28/20 K Banner              Email to D. Sharpe regarding status of relief from stay                0.40        $ 210.00
                                stipulation for AM minor claim (.1); review stipulation and
                                review and revise order regarding relief from stay stipulation
                                prior to filing (.3).
 08/31/20 K Banner              Review and revise notice of lodgment relating to stipulation for       0.20        $ 105.00
                                relief from stay with A.M.
           Total B140 – Relief from Stay/Adequate Protection Proceedings                               7.10       $ 3,984.00


    B150 – Meetings of and Communications with Creditors
 08/03/20 K Banner            Email exchange with G. Weiner regarding 341(a).                          0.10         $ 52.50
           Total B150 – Meetings of and Communications with Creditors                                  0.10         $ 52.50


Atty : JAK, #264 / P1086642                                  Page 2                                   Tax ID # XX-XXXXXXX
                                                                                                    Exhibit 2, page 143
   Case 2:19-bk-23085-BB             Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                          Desc
                                     Main Document   Page 144 of 377
                                         GREENBERG GLUSKER

     2049 Century Park East                                                       General billing questions: (310) 201-7492
     Suite 2600                                                                                              (310) 785-6842
     Los Angeles, CA 90067                                                                       Payments: (310) 785-6846
                                                                                                          Fax: (310) 553-7018
     Client # 76214,    Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,    Youth Policy Institute, Inc.

     Invoice date: 09/02/20                                                                        Charges through: 08/31/20
     Invoice # 686454

                                                            FEES
 Date      Timekeeper                               Description of Services                       Hours         Amount

    B190 – Other Contested Matters (excluding assumption/rejection motions)
 08/18/20 K Banner             Telephone call and email exchange with M. Heyn regarding            0.30        $ 157.50
                               CDE's request for information relating to Iron Mountain
                               documents.
           Total B190 – Other Contested Matters (excluding assumption/rejection motions)           0.30        $ 157.50


            Total B100 – Administration                                                            7.50       $ 4,194.00


 B400 – Bankruptcy-Related Advice
    B410 – Grant Receivables
 08/03/20 K Banner             Email exchange with D. Oshiro regarding EWDD and HCID               0.10         $ 52.50
                               receivables.
 08/04/20 K Banner             Email exchange with D. Oshiro regarding HCID and EWDD               0.10         $ 52.50
                               receivables.
 08/05/20 K Banner             Email exchange with D. Oshiro following up on HCID and              0.10         $ 52.50
                               EWDD receivables.
 08/07/20 K Banner             Email exchange with D. Oshiro regarding HCID and EWDD               0.20        $ 105.00
                               receivables.
 08/11/20 K Banner             Review and analyze numerous emails from D. Oshiro relating          1.90        $ 997.50
                               to HCID receivable (.8); telephone conference with D. Oshiro
                               and Trustee regarding HCID and EWDD receivables (1.1).
 08/12/20 JA Krieger           Review email response to T. Leung of HDIC regarding                 0.40        $ 264.00
                               requested information; review zip file attachments
 08/12/20 K Banner             Review Applianz access information for information regarding        2.10       $ 1,102.50
                               archived books and records relating to grant receivables (.2);
                               draft and revise proposed response to City regarding HCID
                               receivable (1.3); email exchange with Trustee regarding the
                               same (.1); access and preliminary review of Applianz database
                               (.4); email exchange with Trustee regarding the same (.1).
 08/13/20 JA Krieger           Telephone conference(s) with K. Banner regarding response to        0.20        $ 132.00
                               city and possible claim for unjust enrichment
 08/13/20 K Banner             Continued attempts to access MIP servers for information            0.60        $ 315.00
                               relating to EWDD grants (.5); email exchange with B. Howard
                               regarding MIP access (.1).
 08/25/20 K Banner             Continue attempts to access Applianz database for information       0.30        $ 157.50
                               to resolve EWDD grant issue.
 08/28/20 K Banner             Email exchange with W. Loo-Smart regarding EWDD                     0.60        $ 315.00
                               receivable (.1); preliminary review of MIP extracts and other
                               accounting files (.5).
           Total B410 – Grant Receivables                                                          6.60       $ 3,546.00


    B420 – Commercial Tort Claims
Atty : JAK, #264 / P1086642                                Page 3                                 Tax ID # XX-XXXXXXX
                                                                                                Exhibit 2, page 144
   Case 2:19-bk-23085-BB             Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                          Desc
                                     Main Document   Page 145 of 377
                                         GREENBERG GLUSKER

     2049 Century Park East                                                       General billing questions: (310) 201-7492
     Suite 2600                                                                                              (310) 785-6842
     Los Angeles, CA 90067                                                                       Payments: (310) 785-6846
                                                                                                          Fax: (310) 553-7018
     Client # 76214,       Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,       Youth Policy Institute, Inc.

     Invoice date: 09/02/20                                                                        Charges through: 08/31/20
     Invoice # 686454

                                                          FEES
 Date     Timekeeper                             Description of Services                          Hours         Amount
 08/03/20 JA Krieger        Telephone conference(s) with K. Banner regarding insurance             0.40        $ 264.00
                            claim (.1); preparation of email to J. Sokol regarding next steps
                            on insurance matters (.2); review response (.1)
 08/04/20 JA Krieger        Telephone conference(s) with K. Banner regarding follow up             0.30        $ 198.00
                            on insurance claims (.1); telephone conference(s) with J. Sokol
                            regarding strategy on timing of different insurance claims (.2)
 08/04/20 JA Krieger        Preparation of email to D. Brown regarding follow up on                0.10         $ 66.00
                            Hanover insurance claim
 08/05/20 JA Krieger        Review email from D. Brown regarding response to tender                0.20        $ 132.00
 08/06/20 JA Krieger        Emails with J. Sokol regarding hanover insurance policy (.2);          0.30        $ 198.00
                            preparation of email to D. Brown regarding response to
                            substantive demand (.1)
 08/10/20 JA Krieger        Review and respond to email from D. Brown regarding                    0.20        $ 132.00
                            response to letter and follow up call timing
 08/11/20 JA Krieger        Telephone conference(s) with J. Rund regarding response from           0.30        $ 198.00
                            Hanover (.2); preparation of emails to J. Rund regarding same
                            (.1)
 08/31/20 JA Krieger        Preparation of email to D. Brown                                       0.10          $ 66.00
          Total B420 – Commercial Tort Claims                                                      1.90       $ 1,254.00


             Total B400 – Bankruptcy-Related Advice                                                8.50       $ 4,800.00


 Total fees for this matter:                                                                                  $ 8,994.00




Atty : JAK, #264 / P1086642                               Page 4                                  Tax ID # XX-XXXXXXX
                                                                                                Exhibit 2, page 145
   Case 2:19-bk-23085-BB                Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                                   Desc
                                        Main Document   Page 146 of 377
                                            GREENBERG GLUSKER

     2049 Century Park East                                                                 General billing questions: (310) 201-7492
     Suite 2600                                                                                                        (310) 785-6842
     Los Angeles, CA 90067                                                                                 Payments: (310) 785-6846
                                                                                                                      Fax: (310) 553-7018
     Client # 76214,      Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,      Youth Policy Institute, Inc.

     Invoice date: 09/02/20                                                                                  Charges through: 08/31/20
     Invoice # 686454

                                             Summary Of Attorney Time By Task
                                                ______________________

                                                                  Hours              Rate                   Value

             B140 – Relief from Stay/Adequate Protection Proceedings
               K Banner                                           5.20            525.00              $ 2,730.00
               JA Krieger                                         1.90            660.00              $ 1,254.00

             B150 – Meetings of and Communications with Creditors
               K Banner                                          0.10             525.00                $ 52.50

             B190 – Other Contested Matters (excluding assumption/rejection motions)
               K Banner                                           0.30            525.00               $ 157.50

             B410 – Grant Receivables
               K Banner                                            6.00           525.00              $ 3,150.00
               JA Krieger                                          0.60           660.00                $ 396.00

             B420 – Commercial Tort Claims
               JA Krieger                                          1.90           660.00              $ 1,254.00

             Total                                                16.00                               $ 8,994.00




                                                         Summary By Task
                                                      ______________________

                                                  Task                                              Hours                Value
                                                  B140 – Relief from Stay/Adequate                   7.10           $ 3,984.00
                                                  Protection Proceedings
                                                  B150 – Meetings of and Communications              0.10              $ 52.50
                                                  with Creditors
                                                  B190 – Other Contested Matters (excluding          0.30             $ 157.50
                                                  assumption/rejection motions)
                                                  B410 – Grant Receivables                           6.60           $ 3,546.00
                                                  B420 – Commercial Tort Claims                      1.90           $ 1,254.00
   Total                                                                                            16.00           $ 8,994.00




                                                               COSTS
                       Date         Description                                                             Amount
                       08/12/20     LASC Online Research                                                    $ 19.60

                       Total costs for this matter:                                                         $ 19.60

Atty : JAK, #264 / P1086642                                     Page 5                                    Tax ID # XX-XXXXXXX
                                                                                                        Exhibit 2, page 146
   Case 2:19-bk-23085-BB                 Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                        Desc
                                         Main Document   Page 147 of 377
                                             GREENBERG GLUSKER

     2049 Century Park East                                                       General billing questions: (310) 201-7492
     Suite 2600                                                                                              (310) 785-6842
     Los Angeles, CA 90067                                                                       Payments: (310) 785-6846
                                                                                                            Fax: (310) 553-7018
     Client # 76214,      Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,      Youth Policy Institute, Inc.

     Invoice date: 09/02/20                                                                         Charges through: 08/31/20
     Invoice # 686454


                                              Summary Of Costs by Expenses Code
                                                 ______________________

                              Expense                                              Value
                              E106 – Online research                              $19.60

                              Total                                               $ 19.60




                                                RECAP OF AMOUNTS DUE
 Total Previous Balance                                                                     $ 251,186.61
                                                                                                             __________
 Balance Forward                                                                                            $ 251,186.61
 Current Month Fees                                                                            $ 8,994.00
 Current Month Costs                                                                              $ 19.60
                                                                                                             __________
 Total Current Charges                                                                                         $ 9,013.60
                                                                                                             __________
 Total Due from Current Charges                                                                                $ 9,013.60
                                                                                                             __________
 AMOUNT DUE                                                                                                 $ 260,200.21




                                                   Summary Of Attorney Time
                                                   ______________________

             Attorney                                          Hours     Rate          Value
             J Krieger                                          4.40   660.00     $ 2,904.00
             K Banner                                          11.60   525.00     $ 6,090.00
             Total                                             16.00              $ 8,994.00




Atty : JAK, #264 / P1086642                                   Page 6                              Tax ID # XX-XXXXXXX
                                                                                                Exhibit 2, page 147
         Case 2:19-bk-23085-BB                Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                                      Desc
                                              Main Document   Page 148 of 377

                                                      GREENBERG GLUSKER
          2049 Century Park East                                                            General billing questions: (310) 201-7492
          Suite 2600                                                                                                   (310) 785-6842
          Los Angeles, CA 90067                                                                            Payments: (310) 785-6846
                                                                                                                      Fax: (310) 553-7018
                                                  Jason M. Rund, Chapter 7 Trustee

          Client # 76214                                                                                      Charges through: 08/31/20
          Invoice date: 09/02/20
          Invoice # 686454




                                                                                              Payments and
Matter                                                    Previous              Current        Retainers To        Adjustments
Number      Name                                           Balance             Charges            09/02/20         To 09/02/20         Amount Due
00002       Youth Policy Institute, Inc.              $ 251,186.61           $ 9,013.60              $ 0.00             $ 0.00        $ 260,200.21

                                                      ___________          __________          __________           __________       ___________
            Bill Total                                $ 251,186.61          $ 9,013.60              $ 0.00               $ 0.00      $ 260,200.21


                                  PLEASE ENCLOSE THIS PAGE WITH YOUR REMITTANCE


                                           Wire instructions for the GENERAL account in US Dollars:
                                         Bank Name:               First Republic Bank
                                                                  111 Pine Street
                                                                  San Francisco, CA 94111
                                         SWIFT CODE:              FRBBUS6S
                                         ABA:                     321081669
                                         Account Name:            Greenberg Glusker Fields Claman &
                                                                  Machtinger
                                         Account No.:             #997-0005-4655




  Please reflect the client name and number, and the matters being paid. Payments received will apply first to accrued interest and then to
  costs and fees.
   Atty : JAK, #264 / P1086642                                          Page 7                                       Tax ID # XX-XXXXXXX
                                                                                                                   Exhibit 2, page 148
        Case 2:19-bk-23085-BB                  Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                                      Desc
                                               Main Document   Page 149 of 377
                                                   GREENBERG GLUSKER
          2049 Century Park East                                                             General billing questions: (310) 201-7492
          Suite 2600                                                                                                    (310) 785-6842
          Los Angeles, CA 90067                                                                             Payments: (310) 785-6846
                                                                                                                       Fax: (310) 553-7018
                                                   Jason M. Rund, Chapter 7 Trustee

          Client # 76214                                                                                       Charges through: 09/30/20
          Invoice date: 10/02/20
          Invoice # 686455



                                                                                              Payments and
Matter                                                     Previous              Current       Retainers To          Adjustments
Number Name                                                 Balance             Charges           10/02/20           To 10/02/20        Amount Due
00002   Youth Policy Institute, Inc.                   $ 260,200.21           $ 8,452.00             $ 0.00               $ 0.00       $ 268,652.21

                                                       ___________          __________          __________           __________       ___________
             Bill Total                                $ 260,200.21          $ 8,452.00              $ 0.00               $ 0.00      $ 268,652.21




                                                                         Jason M. Rund, Chapter 7 Trustee
                                                                         Sheridan & Rund
                                                                         840 Apollo Street
                                                                         Suite 351
                                                                         El Segundo, CA 90402




   Please reflect the client name and number, and the matters being paid. Payments received will apply first to accrued interest and then to
   costs and fees.
    Atty : JAK, #264 / P1090825                                          Page 1                                       Tax ID # XX-XXXXXXX
                                                                                                                    Exhibit 2, page 149
   Case 2:19-bk-23085-BB             Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                          Desc
                                     Main Document   Page 150 of 377
                                         GREENBERG GLUSKER

     2049 Century Park East                                                        General billing questions: (310) 201-7492
     Suite 2600                                                                                               (310) 785-6842
     Los Angeles, CA 90067                                                                        Payments: (310) 785-6846
                                                                                                          Fax: (310) 553-7018
     Client # 76214,     Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,     Youth Policy Institute, Inc.

     Invoice date: 10/02/20                                                                        Charges through: 09/30/20
     Invoice # 686455



                                                            FEES
 Date       Timekeeper                              Description of Services                       Hours         Amount

 B100 – Administration
    B110 – Case Administration
 09/17/20 K Banner             Review case docket for recent developments.                         0.10         $ 52.50
 09/22/20 K Banner             Review case docket for recent developments.                         0.10         $ 52.50
 09/29/20 K Banner             Review case docket for recent developments.                         0.10         $ 52.50
           Total B110 – Case Administration                                                        0.30        $ 157.50


    B120 – Asset Analysis and Recovery
 09/01/20 K Banner             Attempt further access to MIP database.                             0.50        $ 262.50
 09/23/20 JB Sokol             Conference with Jeff Krieger and Keith Banner re claim against      0.70        $ 486.50
                               fidelity bond carrier.
           Total B120 – Asset Analysis and Recovery                                                1.20        $ 749.00


    B130 – Asset Disposition
 09/02/20 K Banner              Email exchange with Trustee regarding inquiry regarding            0.10         $ 52.50
                                abandoned documents.
 09/10/20   K Banner            Email exchange with M. Sparnicht regarding Extra Space             0.10         $ 52.50
                                Storage abandonment.
            Total B130 – Asset Disposition                                                         0.20        $ 105.00


    B140 – Relief from Stay/Adequate Protection Proceedings
 09/01/20 K Banner              Review order approving relief from stay stipulation and email      0.20        $ 105.00
                                to D. Sharpe.
 09/09/20 K Banner              Review insurance policies and email to D. Sharpe regarding         0.60        $ 315.00
                                relief from stay stipulation.
           Total B140 – Relief from Stay/Adequate Protection Proceedings                           0.80        $ 420.00


    B150 – Meetings of and Communications with Creditors
 09/01/20 K Banner            Email to G. Weiner regarding various inquiries of NFF.               0.20        $ 105.00
 09/28/20 K Banner            Email exchange with M. Laverty regarding C3 claim and status         0.10         $ 52.50
                              of case.
           Total B150 – Meetings of and Communications with Creditors                              0.30        $ 157.50


            Total B100 – Administration                                                            2.80       $ 1,589.00


 B200 – Operations
   B220 – Employee Benefits/Pensions
Atty : JAK, #264 / P1090825                                Page 2                                 Tax ID # XX-XXXXXXX
                                                                                                Exhibit 2, page 150
   Case 2:19-bk-23085-BB             Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                         Desc
                                     Main Document   Page 151 of 377
                                         GREENBERG GLUSKER

     2049 Century Park East                                                      General billing questions: (310) 201-7492
     Suite 2600                                                                                             (310) 785-6842
     Los Angeles, CA 90067                                                                      Payments: (310) 785-6846
                                                                                                         Fax: (310) 553-7018
     Client # 76214,    Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,    Youth Policy Institute, Inc.

     Invoice date: 10/02/20                                                                       Charges through: 09/30/20
     Invoice # 686455

                                                          FEES
 Date     Timekeeper                              Description of Services                        Hours         Amount
 09/02/20 K Banner           Review Penchecks agreement.                                          0.30        $ 157.50
 09/03/20 JA Krieger         Review portions of PenChecks agreement (.2); preparation of          0.50        $ 330.00
                             email to K. Banner regarding same (.1); telephone
                             conference(s) with K. Banner regarding possible approaches to
                             court approval (.2)
 09/03/20 K Banner           Further review of Penchecks agreement relating to 401k wind          2.20       $ 1,155.00
                             down and confer with J. Krieger (.5); email exchange with
                             Trustee regarding the same (.1); telephone conference with
                             Trustee regarding 401k and other matters (.5); draft and revise
                             stipulation with PennChecks regarding 401k termination (1.0);
                             confer with J. Krieger regarding the same (.1).
 09/04/20 K Banner           Review and revise stipulation with Penchecks prior to filing         0.50        $ 262.50
                             and draft order thereon.
 09/08/20 K Banner           Review entered order on Penchecks stipulation.                       0.20         $ 105.00
          Total B220 – Employee Benefits/Pensions                                                 3.70       $ 2,010.00


    B240 – Tax Issues
 09/30/20 K Banner             Email exchange with J. Rund regarding FUTA tax overpayment         0.20        $ 105.00
                               and confer with J. Krieger regarding the same.
           Total B240 – Tax Issues                                                                0.20        $ 105.00


           Total B200 – Operations                                                                3.90       $ 2,115.00


 B300 – Claims and Plan
    B310 – Claims Administration and Objections
 09/14/20 K Banner             Review various claim withdrawals filed by employees (.3);          0.60        $ 315.00
                               review proof of claim from Cal. Labor commissioner (.2);
                               email exchange with J. Rund regarding the same (.1).
           Total B310 – Claims Administration and Objections                                      0.60        $ 315.00


           Total B300 – Claims and Plan                                                           0.60        $ 315.00


 B400 – Bankruptcy-Related Advice
    B410 – Grant Receivables
 09/01/20 K Banner             Review and analyze MIP reports regarding program                   1.50        $ 787.50
                               expenditures for information regarding EWDD grants.
 09/30/20 JA Krieger           Email(s) with K. Banner regarding follow up with mayor's           0.10         $ 66.00
                               office on receivable
           Total B410 – Grant Receivables                                                         1.60        $ 853.50



Atty : JAK, #264 / P1090825                               Page 3                                 Tax ID # XX-XXXXXXX
                                                                                               Exhibit 2, page 151
   Case 2:19-bk-23085-BB              Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                             Desc
                                      Main Document   Page 152 of 377
                                          GREENBERG GLUSKER

     2049 Century Park East                                                          General billing questions: (310) 201-7492
     Suite 2600                                                                                                 (310) 785-6842
     Los Angeles, CA 90067                                                                          Payments: (310) 785-6846
                                                                                                              Fax: (310) 553-7018
     Client # 76214,       Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,       Youth Policy Institute, Inc.

     Invoice date: 10/02/20                                                                            Charges through: 09/30/20
     Invoice # 686455

                                                             FEES
 Date      Timekeeper                               Description of Services                           Hours         Amount
    B420 – Commercial Tort Claims
 09/21/20 JA Krieger           Review correspondence from D. Brown (.2); review email from             0.40        $ 264.00
                               K. Banner regarding response (.1); preparation of email to J.
                               Sokol (.1)
 09/22/20 JA Krieger           Preparation of further email to J. Sokol (.1); review response          0.20        $ 132.00
                               regarding Hanover letter (.1)
 09/22/20 JB Sokol             Review correspondence from theft loss insurer.                          0.70        $ 486.50
 09/23/20 JA Krieger           Telephone conference(s) with K. Banner regarding insurance              1.10        $ 726.00
                               company letter (.2); conference call with K. Banner and J.
                               Sokol regarding response to insurance letter (.7); t/call(s) to J.
                               Rund (.1); follow up with K. Banner regarding draft of response
                               (.1)
 09/23/20 K Banner             Telephone conference with J. Krieger and J. Sokol regarding             1.00        $ 525.00
                               strategy for Crime policy claim and further review of various
                               informational requests from Hanover.
 09/24/20 JA Krieger           Conference call with J. Rund regarding response to insurance            0.60        $ 396.00
                               company (.3); follow up with K. Banner regarding same (.3)
 09/24/20 K Banner             Review and analyze prior correspondence with Hanover                    2.00       $ 1,050.00
                               regarding crime coverage and draft response (1.7); telephone
                               conference with J. Krieger and J. Rund regarding the same (.3).
           Total B420 – Commercial Tort Claims                                                         6.00       $ 3,579.50


             Total B400 – Bankruptcy-Related Advice                                                    7.60       $ 4,433.00


 Total fees for this matter:                                                                                      $ 8,452.00




Atty : JAK, #264 / P1090825                                 Page 4                                    Tax ID # XX-XXXXXXX
                                                                                                    Exhibit 2, page 152
   Case 2:19-bk-23085-BB                Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                         Desc
                                        Main Document   Page 153 of 377
                                            GREENBERG GLUSKER

     2049 Century Park East                                                          General billing questions: (310) 201-7492
     Suite 2600                                                                                                 (310) 785-6842
     Los Angeles, CA 90067                                                                          Payments: (310) 785-6846
                                                                                                            Fax: (310) 553-7018
     Client # 76214,    Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,    Youth Policy Institute, Inc.

     Invoice date: 10/02/20                                                                          Charges through: 09/30/20
     Invoice # 686455

                                           Summary Of Attorney Time By Task
                                              ______________________

                                                                Hours         Rate                 Value

             B110 – Case Administration
               K Banner                                          0.30    525.00                 $ 157.50

             B120 – Asset Analysis and Recovery
               K Banner                                          0.50    525.00                 $ 262.50
               JB Sokol                                          0.70    695.00                 $ 486.50

             B130 – Asset Disposition
               K Banner                                          0.20    525.00                 $ 105.00

             B140 – Relief from Stay/Adequate Protection Proceedings
               K Banner                                           0.80   525.00                 $ 420.00

             B150 – Meetings of and Communications with Creditors
               K Banner                                          0.30    525.00                 $ 157.50

             B220 – Employee Benefits/Pensions
               K Banner                                          3.20    525.00                $ 1,680.00
               JA Krieger                                        0.50    660.00                  $ 330.00

             B240 – Tax Issues
               K Banner                                          0.20    525.00                 $ 105.00

             B310 – Claims Administration and Objections
               K Banner                                          0.60    525.00                 $ 315.00

             B410 – Grant Receivables
               K Banner                                          1.50    525.00                 $ 787.50
               JA Krieger                                        0.10    660.00                  $ 66.00

             B420 – Commercial Tort Claims
               K Banner                                          3.00    525.00                $ 1,575.00
               JA Krieger                                        2.30    660.00                $ 1,518.00
               JB Sokol                                          0.70    695.00                  $ 486.50

             Total                                              14.90                          $ 8,452.00




Atty : JAK, #264 / P1090825                                  Page 5                                Tax ID # XX-XXXXXXX
                                                                                                 Exhibit 2, page 153
   Case 2:19-bk-23085-BB            Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                             Desc
                                    Main Document   Page 154 of 377
                                        GREENBERG GLUSKER

     2049 Century Park East                                                          General billing questions: (310) 201-7492
     Suite 2600                                                                                                 (310) 785-6842
     Los Angeles, CA 90067                                                                          Payments: (310) 785-6846
                                                                                                            Fax: (310) 553-7018
     Client # 76214,      Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,      Youth Policy Institute, Inc.

     Invoice date: 10/02/20                                                                          Charges through: 09/30/20
     Invoice # 686455

                                                Summary By Task
                                             ______________________

                                             Task                                            Hours             Value
                                             B110 – Case Administration                       0.30          $ 157.50
                                             B120 – Asset Analysis and Recovery               1.20          $ 749.00
                                             B130 – Asset Disposition                         0.20          $ 105.00
                                             B140 – Relief from Stay/Adequate                 0.80          $ 420.00
                                             Protection Proceedings
                                             B150 – Meetings of and Communications            0.30          $ 157.50
                                             with Creditors
                                             B220 – Employee Benefits/Pensions                3.70       $ 2,010.00
                                             B240 – Tax Issues                                0.20         $ 105.00
                                             B310 – Claims Administration and                 0.60         $ 315.00
                                             Objections
                                             B410 – Grant Receivables                         1.60         $ 853.50
                                             B420 – Commercial Tort Claims                    6.00       $ 3,579.50
   Total                                                                                     14.90       $ 8,452.00




                                           RECAP OF AMOUNTS DUE
 Total Previous Balance                                                                      $ 260,200.21
                                                                                                             __________
 Balance Forward                                                                                            $ 260,200.21
 Current Month Fees                                                                            $ 8,452.00
 Current Month Costs                                                                               $ 0.00
                                                                                                             __________
 Total Current Charges                                                                                         $ 8,452.00
                                                                                                             __________
 Total Due from Current Charges                                                                                $ 8,452.00
                                                                                                             __________
 AMOUNT DUE                                                                                                 $ 268,652.21




Atty : JAK, #264 / P1090825                               Page 6                                   Tax ID # XX-XXXXXXX
                                                                                                 Exhibit 2, page 154
   Case 2:19-bk-23085-BB           Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                    Desc
                                   Main Document   Page 155 of 377
                                       GREENBERG GLUSKER

     2049 Century Park East                                                  General billing questions: (310) 201-7492
     Suite 2600                                                                                         (310) 785-6842
     Los Angeles, CA 90067                                                                  Payments: (310) 785-6846
                                                                                                  Fax: (310) 553-7018
     Client # 76214,     Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,     Youth Policy Institute, Inc.

     Invoice date: 10/02/20                                                                  Charges through: 09/30/20
     Invoice # 686455

                                            Summary Of Attorney Time
                                            ______________________

             Attorney                                       Hours     Rate        Value
             J Krieger                                       2.90   660.00   $ 1,914.00
             J Sokol                                         1.40   695.00     $ 973.00
             K Banner                                       10.60   525.00   $ 5,565.00
             Total                                          14.90            $ 8,452.00




Atty : JAK, #264 / P1090825                            Page 7                               Tax ID # XX-XXXXXXX
                                                                                          Exhibit 2, page 155
         Case 2:19-bk-23085-BB                Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                                      Desc
                                              Main Document   Page 156 of 377

                                                      GREENBERG GLUSKER
          2049 Century Park East                                                            General billing questions: (310) 201-7492
          Suite 2600                                                                                                   (310) 785-6842
          Los Angeles, CA 90067                                                                            Payments: (310) 785-6846
                                                                                                                      Fax: (310) 553-7018
                                                  Jason M. Rund, Chapter 7 Trustee

          Client # 76214                                                                                      Charges through: 09/30/20
          Invoice date: 10/02/20
          Invoice # 686455




                                                                                              Payments and
Matter                                                    Previous              Current        Retainers To        Adjustments
Number      Name                                           Balance             Charges            10/02/20         To 10/02/20         Amount Due
00002       Youth Policy Institute, Inc.              $ 260,200.21           $ 8,452.00              $ 0.00             $ 0.00        $ 268,652.21

                                                      ___________          __________          __________           __________       ___________
            Bill Total                                $ 260,200.21          $ 8,452.00              $ 0.00               $ 0.00      $ 268,652.21


                                  PLEASE ENCLOSE THIS PAGE WITH YOUR REMITTANCE


                                           Wire instructions for the GENERAL account in US Dollars:
                                         Bank Name:               First Republic Bank
                                                                  111 Pine Street
                                                                  San Francisco, CA 94111
                                         SWIFT CODE:              FRBBUS6S
                                         ABA:                     321081669
                                         Account Name:            Greenberg Glusker Fields Claman &
                                                                  Machtinger
                                         Account No.:             #997-0005-4655




  Please reflect the client name and number, and the matters being paid. Payments received will apply first to accrued interest and then to
  costs and fees.
   Atty : JAK, #264 / P1090825                                          Page 8                                       Tax ID # XX-XXXXXXX
                                                                                                                   Exhibit 2, page 156
        Case 2:19-bk-23085-BB                  Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                                      Desc
                                               Main Document   Page 157 of 377
                                                   GREENBERG GLUSKER
          2049 Century Park East                                                             General billing questions: (310) 201-7492
          Suite 2600                                                                                                    (310) 785-6842
          Los Angeles, CA 90067                                                                             Payments: (310) 785-6846
                                                                                                                       Fax: (310) 553-7018
                                                   Jason M. Rund, Chapter 7 Trustee

          Client # 76214                                                                                       Charges through: 10/31/20
          Invoice date: 11/30/20
          Invoice # 688202



                                                                                              Payments and
Matter                                                     Previous              Current       Retainers To          Adjustments
Number Name                                                 Balance             Charges           11/30/20           To 11/30/20        Amount Due
00002   Youth Policy Institute, Inc.                   $ 268,652.21          $ 12,026.00             $ 0.00               $ 0.00       $ 280,678.21

                                                       ___________          __________          __________           __________       ___________
             Bill Total                                $ 268,652.21         $ 12,026.00              $ 0.00               $ 0.00      $ 280,678.21




                                                                         Jason M. Rund, Chapter 7 Trustee
                                                                         Sheridan & Rund
                                                                         840 Apollo Street
                                                                         Suite 351
                                                                         El Segundo, CA 90402




   Please reflect the client name and number, and the matters being paid. Payments received will apply first to accrued interest and then to
   costs and fees.
    Atty : JAK, #264 / P1093722                                          Page 1                                       Tax ID # XX-XXXXXXX
                                                                                                                    Exhibit 2, page 157
   Case 2:19-bk-23085-BB             Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                            Desc
                                     Main Document   Page 158 of 377
                                         GREENBERG GLUSKER

     2049 Century Park East                                                         General billing questions: (310) 201-7492
     Suite 2600                                                                                                (310) 785-6842
     Los Angeles, CA 90067                                                                         Payments: (310) 785-6846
                                                                                                            Fax: (310) 553-7018
     Client # 76214,     Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,     Youth Policy Institute, Inc.

     Invoice date: 11/30/20                                                                          Charges through: 10/31/20
     Invoice # 688202



                                                             FEES
 Date       Timekeeper                               Description of Services                        Hours         Amount

 B100 – Administration
    B110 – Case Administration
 10/08/20 K Banner             Review case docket for developments.                                  0.10         $ 52.50
           Total B110 – Case Administration                                                          0.10         $ 52.50


    B140 – Relief from Stay/Adequate Protection Proceedings
 10/12/20 K Banner              Email exchange with B. Turner regarding automatic stay               0.20        $ 105.00
                                relating to matter pending before bankruptcy and confer with J.
                                Krieger.
           Total B140 – Relief from Stay/Adequate Protection Proceedings                             0.20        $ 105.00


    B150 – Meetings of and Communications with Creditors
 10/23/20 K Banner            Review schedules and proof of claim of NIU College and                 0.30        $ 157.50
                              telephone call with representative regarding general status of
                              the bankruptcy case.
           Total B150 – Meetings of and Communications with Creditors                                0.30        $ 157.50


    B190 – Other Contested Matters (excluding assumption/rejection motions)
 10/19/20 K Banner             Review DOL subpoena and responses thereto served on                   0.60        $ 315.00
                               Ultimate Software (.3); email exchange with B. Marks
                               regarding the same (.1); review correspondence from insurer
                               regarding molestation claims and confer with J. Krieger
                               regarding the same (.2).
 10/20/20 K Banner             Email exchange with D. Devine regarding production of                 0.40        $ 210.00
                               documents from Ultimate Software, review of secure
                               correspondence regarding the same and confer with C. Pickrell
                               regarding download and storing of information (.3); email to
                               Trustee regarding the same (.1).
 10/27/20 K Banner             Email exchange with D. Devine regarding Ultimate Software             0.50        $ 262.50
                               SQL backup production (.1); telephone call with litigation
                               support team regarding SQL data received from Ultipro (.4).
 10/29/20 K Banner             Email exchange with D. Johnston regarding molestation                 0.10         $ 52.50
                               insurance claim.
 10/30/20 K Banner             Email exchange with B. Caudill regarding Camino molestation           0.10         $ 52.50
                               action.
           Total B190 – Other Contested Matters (excluding assumption/rejection motions)             1.70        $ 892.50


            Total B100 – Administration                                                              2.30       $ 1,207.50


Atty : JAK, #264 / P1093722                                 Page 2                                  Tax ID # XX-XXXXXXX
                                                                                                  Exhibit 2, page 158
   Case 2:19-bk-23085-BB              Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                         Desc
                                      Main Document   Page 159 of 377
                                          GREENBERG GLUSKER

     2049 Century Park East                                                       General billing questions: (310) 201-7492
     Suite 2600                                                                                              (310) 785-6842
     Los Angeles, CA 90067                                                                       Payments: (310) 785-6846
                                                                                                          Fax: (310) 553-7018
     Client # 76214,     Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,     Youth Policy Institute, Inc.

     Invoice date: 11/30/20                                                                        Charges through: 10/31/20
     Invoice # 688202

                                                           FEES
 Date       Timekeeper                             Description of Services                        Hours         Amount

 B200 – Operations
    B240 – Tax Issues
 10/12/20 K Banner              Review FUTA tax refund payments and email exchange with            0.30        $ 157.50
                                Trustee regarding the same (.2); confer with J. Krieger
                                regarding the same (.1).
            Total B240 – Tax Issues                                                                0.30        $ 157.50


            Total B200 – Operations                                                                0.30        $ 157.50


 B300 – Claims and Plan
    B310 – Claims Administration and Objections
 10/12/20 K Banner             Review amended claim of Ca Labor Commission and compare             0.20        $ 105.00
                               to data of initial claim filed.
           Total B310 – Claims Administration and Objections                                       0.20        $ 105.00


            Total B300 – Claims and Plan                                                           0.20        $ 105.00


 B400 – Carve-Out Matters
    B410 – Grant Receivables
 10/01/20 JA Krieger           Preparation of email to K. Banner regarding grant receivable        0.20        $ 132.00
                               from Mayor's office and review response (.1); telephone
                               conference(s) with K. Banner regarding same (.1)
 10/06/20   K Banner           Further review of MIP accounting files on Applianz database         1.30        $ 682.50
                               for information regarding grant receivables (.5); review and
                               analyze invoices and documents located on OneDrive for
                               Champions for Change grant receivable (.8).
 10/07/20   K Banner           Research regarding appropriate contact at LA County for             2.00       $ 1,050.00
                               Champions for Change receivable, compile information on
                               receivable, and extended email exchange with representatives
                               from LA County (.6); review documents and invoices on
                               OneDrive system relating to Kids Code program receivables
                               and draft email to M. Heyn of CDE (1.2); email exchange with
                               W. Loo-Smart regarding EWDD receivable and information
                               and access to accounting information (.2).
 10/08/20   K Banner           Review and analyze OneDrive database of YPI records for             1.10        $ 577.50
                               information relating to Unidos receivable and draft inquiry
                               regarding unpaid receivable (.8); review and analyze
                               information from LA County regarding Champions for Change
                               (.2); email to Trustee regarding status of invoiced receivable
                               collection (.1).
 10/09/20   K Banner           Email exchange with Trustee regarding receivable from               0.50        $ 262.50
Atty : JAK, #264 / P1093722                               Page 3                                  Tax ID # XX-XXXXXXX
                                                                                                Exhibit 2, page 159
   Case 2:19-bk-23085-BB             Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                            Desc
                                     Main Document   Page 160 of 377
                                         GREENBERG GLUSKER

     2049 Century Park East                                                        General billing questions: (310) 201-7492
     Suite 2600                                                                                               (310) 785-6842
     Los Angeles, CA 90067                                                                        Payments: (310) 785-6846
                                                                                                            Fax: (310) 553-7018
     Client # 76214,     Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,     Youth Policy Institute, Inc.

     Invoice date: 11/30/20                                                                          Charges through: 10/31/20
     Invoice # 688202

                                                            FEES
 Date      Timekeeper                               Description of Services                         Hours         Amount
                              Mayor's office (.1); telephone call with M. Heyn regarding
                              CDE-related receivables (.2); further review of information
                              regarding CDE-related programs (.2).
 10/13/20 K Banner            Telephone call with Trustee regarding latest developments re:          0.20        $ 105.00
                              grant receivables.
 10/14/20 K Banner            Review information from M. Heyn regarding payments on                  0.20        $ 105.00
                              CDE programs and email exchange with M. Heyn.
 10/16/20 K Banner            Review list of documents needed for EWDD receivable and                0.30        $ 157.50
                              email to D. Oshiro regarding the same.
 10/22/20 K Banner            Email exchange with D. Oshiro regarding gathering records for          1.10        $ 577.50
                              EWDD receivable (.1); review and analyze payroll and other
                              information from Trustee re voluminous document request by
                              EWDD (1.0).
          Total B410 – Grant Receivables                                                             6.90       $ 3,649.50


    B420 – Commercial Tort Claims
 10/05/20 JA Krieger           Email with K. Banner regarding draft letter to insurance              0.30        $ 198.00
                               company (.1); Email(s) with J. Sokol regarding comments on
                               draft letter (.2)
 10/05/20 JB Sokol             Prepare letter responding to insurer's coverage position.             1.00        $ 695.00
 10/06/20 JA Krieger           Review changes to draft letter to insurance company (.1);             0.30        $ 198.00
                               preparation of email to Sokol (.1); telephone conference(s) with
                               K. Banner regarding same (.1)
 10/06/20 K Banner             Review and revise letter to Hanover and confer with J. Krieger        0.70        $ 367.50
                               (.6); email exchange with Trustee regarding the same (.1).
 10/08/20 K Banner             Further review of district court records for information              0.20        $ 105.00
                               regarding potential actions against D. Slingerland.
 10/12/20 JA Krieger           Review email from D. Fife regarding FUTA payments (.1);               0.30        $ 198.00
                               review email from K. Banner (.1); telephone conference(s) with
                               K. Banner regarding same (.1)
 10/12/20 K Banner             Research regarding extent and application of extension of time        1.10        $ 577.50
                               to bring actions under 11 USC 108 with respect to commercial
                               tort claims.
 10/23/20 JA Krieger           Analyze Brown correspondence regarding insurance                      1.00        $ 660.00
                               coverage(.3); telephone conference(s) with K. Banner regarding
                               same (.4); review J. Sokol emails (.2) and preparation of email
                               to K. Banner (.1)
 10/23/20 JA Krieger           Telephone conference(s) with J. Sokol and K. Banner regarding         0.80        $ 528.00
                               response to D. Brown
 10/23/20 JB Sokol             Review and analyze insurer's coverage position letter (.7); call      1.50       $ 1,042.50
                               with Jeff Krieger and Keith Banner re same (.8).
 10/23/20 K Banner             Review new detailed correspondence from Hanover regarding             3.30       $ 1,732.50
                               crime policy claim and confer with J. Krieger and J. Sokol
                               regarding preliminary thoughts (.6); further research and draft
                               findings regarding application of 2 year statute of limitations
Atty : JAK, #264 / P1093722                                Page 4                                   Tax ID # XX-XXXXXXX
                                                                                                  Exhibit 2, page 160
   Case 2:19-bk-23085-BB             Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                           Desc
                                     Main Document   Page 161 of 377
                                         GREENBERG GLUSKER

     2049 Century Park East                                                        General billing questions: (310) 201-7492
     Suite 2600                                                                                               (310) 785-6842
     Los Angeles, CA 90067                                                                        Payments: (310) 785-6846
                                                                                                           Fax: (310) 553-7018
     Client # 76214,       Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,       Youth Policy Institute, Inc.

     Invoice date: 11/30/20                                                                         Charges through: 10/31/20
     Invoice # 688202

                                                             FEES
 Date        Timekeeper                             Description of Services                        Hours         Amount
                               extension on claims relevant to commercial tort claims (1.0);
                               review and analyze previous voluminous requests and
                               documents produced re Hanover claim in light of new
                               developments (1.0); telephone conference with J. Krieger and J.
                               Sokol regarding strategy and response re crime policy claim
                               (.7).
 10/27/20    JA Krieger        Telephone conference(s) with K. Banner regarding strategy on         0.20        $ 132.00
                               Hanover insurance claim
 10/27/20    K Banner          Confer with J. Krieger regarding next steps for crime policy         0.90        $ 472.50
                               claim and email to Trustee regarding the same (.2); review
                               latest Hanover letter in preparation for meeting with Trustee
                               (.2); telephone conference with Trustee and J. Krieger
                               regarding strategy for crime insurance policy (.5).
             Total B420 – Commercial Tort Claims                                                   11.60       $ 6,906.50


             Total B400 – Carve-Out Matters                                                        18.50     $ 10,556.00


 Total fees for this matter:                                                                                  $ 12,026.00




Atty : JAK, #264 / P1093722                                Page 5                                  Tax ID # XX-XXXXXXX
                                                                                                 Exhibit 2, page 161
   Case 2:19-bk-23085-BB                Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                               Desc
                                        Main Document   Page 162 of 377
                                            GREENBERG GLUSKER

     2049 Century Park East                                                                General billing questions: (310) 201-7492
     Suite 2600                                                                                                       (310) 785-6842
     Los Angeles, CA 90067                                                                                Payments: (310) 785-6846
                                                                                                                  Fax: (310) 553-7018
     Client # 76214,    Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,    Youth Policy Institute, Inc.

     Invoice date: 11/30/20                                                                                Charges through: 10/31/20
     Invoice # 688202

                                           Summary Of Attorney Time By Task
                                              ______________________

                                                                Hours              Rate                  Value

             B110 – Case Administration
               K Banner                                           0.10           525.00                 $ 52.50

             B140 – Relief from Stay/Adequate Protection Proceedings
               K Banner                                           0.20           525.00               $ 105.00

             B150 – Meetings of and Communications with Creditors
               K Banner                                          0.30            525.00               $ 157.50

             B190 – Other Contested Matters (excluding assumption/rejection motions)
               K Banner                                           1.70            525.00              $ 892.50

             B240 – Tax Issues
               K Banner                                           0.30           525.00               $ 157.50

             B310 – Claims Administration and Objections
               K Banner                                           0.20           525.00               $ 105.00

             B410 – Grant Receivables
               K Banner                                           6.70           525.00              $ 3,517.50
               JA Krieger                                         0.20           660.00                $ 132.00

             B420 – Commercial Tort Claims
               K Banner                                           6.20           525.00              $ 3,255.00
               JA Krieger                                         2.90           660.00              $ 1,914.00
               JB Sokol                                           2.50           695.00              $ 1,737.50

             Total                                               21.30                              $ 12,026.00




Atty : JAK, #264 / P1093722                                   Page 6                                     Tax ID # XX-XXXXXXX
                                                                                                       Exhibit 2, page 162
   Case 2:19-bk-23085-BB            Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                            Desc
                                    Main Document   Page 163 of 377
                                        GREENBERG GLUSKER

     2049 Century Park East                                                         General billing questions: (310) 201-7492
     Suite 2600                                                                                                (310) 785-6842
     Los Angeles, CA 90067                                                                         Payments: (310) 785-6846
                                                                                                           Fax: (310) 553-7018
     Client # 76214,      Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,      Youth Policy Institute, Inc.

     Invoice date: 11/30/20                                                                         Charges through: 10/31/20
     Invoice # 688202

                                                Summary By Task
                                             ______________________

                                             Task                                           Hours             Value
                                             B110 – Case Administration                      0.10           $ 52.50
                                             B140 – Relief from Stay/Adequate                0.20          $ 105.00
                                             Protection Proceedings
                                             B150 – Meetings of and Communications           0.30          $ 157.50
                                             with Creditors
                                             B190 – Other Contested Matters (excluding       1.70          $ 892.50
                                             assumption/rejection motions)
                                             B240 – Tax Issues                               0.30          $ 157.50
                                             B310 – Claims Administration and                0.20          $ 105.00
                                             Objections
                                             B410 – Grant Receivables                        6.90       $ 3,649.50
                                             B420 – Commercial Tort Claims                  11.60       $ 6,906.50
   Total                                                                                    21.30      $ 12,026.00




                                           RECAP OF AMOUNTS DUE
 Total Previous Balance                                                                     $ 268,652.21
                                                                                                            __________
 Balance Forward                                                                                           $ 268,652.21
 Current Month Fees                                                                          $ 12,026.00
 Current Month Costs                                                                              $ 0.00
                                                                                                            __________
 Total Current Charges                                                                                      $ 12,026.00
                                                                                                            __________
 Total Due from Current Charges                                                                             $ 12,026.00
                                                                                                            __________
 AMOUNT DUE                                                                                                $ 280,678.21




Atty : JAK, #264 / P1093722                               Page 7                                  Tax ID # XX-XXXXXXX
                                                                                                Exhibit 2, page 163
   Case 2:19-bk-23085-BB           Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                     Desc
                                   Main Document   Page 164 of 377
                                       GREENBERG GLUSKER

     2049 Century Park East                                                   General billing questions: (310) 201-7492
     Suite 2600                                                                                          (310) 785-6842
     Los Angeles, CA 90067                                                                   Payments: (310) 785-6846
                                                                                                   Fax: (310) 553-7018
     Client # 76214,     Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,     Youth Policy Institute, Inc.

     Invoice date: 11/30/20                                                                   Charges through: 10/31/20
     Invoice # 688202

                                            Summary Of Attorney Time
                                            ______________________

             Attorney                                       Hours     Rate         Value
             J Krieger                                       3.10   660.00    $ 2,046.00
             J Sokol                                         2.50   695.00    $ 1,737.50
             K Banner                                       15.70   525.00    $ 8,242.50
             Total                                          21.30            $ 12,026.00




Atty : JAK, #264 / P1093722                            Page 8                                Tax ID # XX-XXXXXXX
                                                                                           Exhibit 2, page 164
         Case 2:19-bk-23085-BB                Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                                      Desc
                                              Main Document   Page 165 of 377

                                                      GREENBERG GLUSKER
          2049 Century Park East                                                            General billing questions: (310) 201-7492
          Suite 2600                                                                                                   (310) 785-6842
          Los Angeles, CA 90067                                                                            Payments: (310) 785-6846
                                                                                                                      Fax: (310) 553-7018
                                                  Jason M. Rund, Chapter 7 Trustee

          Client # 76214                                                                                      Charges through: 10/31/20
          Invoice date: 11/30/20
          Invoice # 688202




                                                                                              Payments and
Matter                                                    Previous              Current        Retainers To        Adjustments
Number      Name                                           Balance             Charges            11/30/20         To 11/30/20         Amount Due
00002       Youth Policy Institute, Inc.              $ 268,652.21          $ 12,026.00              $ 0.00             $ 0.00        $ 280,678.21

                                                      ___________          __________          __________           __________       ___________
            Bill Total                                $ 268,652.21         $ 12,026.00              $ 0.00               $ 0.00      $ 280,678.21


                                  PLEASE ENCLOSE THIS PAGE WITH YOUR REMITTANCE


                                           Wire instructions for the GENERAL account in US Dollars:
                                         Bank Name:               First Republic Bank
                                                                  111 Pine Street
                                                                  San Francisco, CA 94111
                                         SWIFT CODE:              FRBBUS6S
                                         ABA:                     321081669
                                         Account Name:            Greenberg Glusker Fields Claman &
                                                                  Machtinger
                                         Account No.:             #997-0005-4655




  Please reflect the client name and number, and the matters being paid. Payments received will apply first to accrued interest and then to
  costs and fees.
   Atty : JAK, #264 / P1093722                                          Page 9                                       Tax ID # XX-XXXXXXX
                                                                                                                   Exhibit 2, page 165
        Case 2:19-bk-23085-BB                  Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                                      Desc
                                               Main Document   Page 166 of 377
                                                   GREENBERG GLUSKER
          2049 Century Park East                                                             General billing questions: (310) 201-7492
          Suite 2600                                                                                                    (310) 785-6842
          Los Angeles, CA 90067                                                                             Payments: (310) 785-6846
                                                                                                                       Fax: (310) 553-7018
                                                   Jason M. Rund, Chapter 7 Trustee


          Client # 76214                                                                                       Charges through: 11/30/20
          Invoice date: 01/25/21
          Invoice # 691035



                                                                                              Payments and
Matter                                                     Previous              Current       Retainers To          Adjustments
Number Name                                                 Balance             Charges           01/25/21           To 01/25/21        Amount Due
00002   Youth Policy Institute, Inc.                   $ 280,678.21           $ 1,288.50             $ 0.00               $ 0.00       $ 281,966.71

                                                       ___________          __________          __________           __________       ___________
             Bill Total                                $ 280,678.21          $ 1,288.50              $ 0.00               $ 0.00      $ 281,966.71




                                                                         Jason M. Rund, Chapter 7 Trustee
                                                                         Sheridan & Rund
                                                                         840 Apollo Street
                                                                         Suite 351
                                                                         El Segundo, CA 90402




   Please reflect the client name and number, and the matters being paid. Payments received will apply first to accrued interest and then to
   costs and fees.
    Atty : JAK, #264 / P1097564                                          Page 1                                       Tax ID # XX-XXXXXXX
                                                                                                                    Exhibit 2, page 166
   Case 2:19-bk-23085-BB              Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                           Desc
                                      Main Document   Page 167 of 377
                                          GREENBERG GLUSKER

     2049 Century Park East                                                          General billing questions: (310) 201-7492
     Suite 2600                                                                                                 (310) 785-6842
     Los Angeles, CA 90067                                                                          Payments: (310) 785-6846
                                                                                                            Fax: (310) 553-7018
     Client # 76214,       Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,       Youth Policy Institute, Inc.

     Invoice date: 01/25/21                                                                          Charges through: 11/30/20
     Invoice # 691035



                                                             FEES
 Date        Timekeeper                              Description of Services                        Hours         Amount

 B100 – Administration
    B190 – Other Contested Matters (excluding assumption/rejection motions)
 11/03/20 K Banner             Telephone call with B. Caudill regarding state court                  0.90        $ 472.50
                               molestation action (.5); review relief from stay stipulation and
                               order and email to B. Caudill (.2); review complaint filed
                               against Camino Nuevo school and email inquiry to D. Oshiro
                               (.2).
 11/12/20 K Banner             Email exchange with D. Oshiro regarding access to Ultipro             0.30        $ 157.50
                               system (.1); email exchange with Trustee regarding the same
                               and review of Payroll information from Google drive (.2).
           Total B190 – Other Contested Matters (excluding assumption/rejection motions)             1.20        $ 630.00


             Total B100 – Administration                                                             1.20        $ 630.00


 B400 – Carve-Out Matters
    B410 – Grant Receivables
 11/20/20 JA Krieger          Telephone conference(s) with K. Banner regarding addressing            0.40        $ 264.00
                              City's response on the grant payment
 11/20/20 JA Krieger          Preparation of email to city regarding demand for payment (.1);        0.20        $ 132.00
                              preparation of email to client (.1)
 11/20/20 K Banner            Conference with J. Krieger regarding HCID grant receivable             0.50        $ 262.50
                              and email to Trustee regarding the same (.4); email exchange
                              with T. Leong regarding HCID proposal (.1).
          Total B410 – Grant Receivables                                                             1.10        $ 658.50


             Total B400 – Carve-Out Matters                                                          1.10        $ 658.50


 Total fees for this matter:                                                                                    $ 1,288.50




Atty : JAK, #264 / P1097564                                 Page 2                                  Tax ID # XX-XXXXXXX
                                                                                                  Exhibit 2, page 167
   Case 2:19-bk-23085-BB                Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                                  Desc
                                        Main Document   Page 168 of 377
                                            GREENBERG GLUSKER

     2049 Century Park East                                                                General billing questions: (310) 201-7492
     Suite 2600                                                                                                       (310) 785-6842
     Los Angeles, CA 90067                                                                                Payments: (310) 785-6846
                                                                                                                    Fax: (310) 553-7018
     Client # 76214,      Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,      Youth Policy Institute, Inc.

     Invoice date: 01/25/21                                                                                 Charges through: 11/30/20
     Invoice # 691035

                                           Summary Of Attorney Time By Task
                                              ______________________

                                                                Hours              Rate                    Value

             B190 – Other Contested Matters (excluding assumption/rejection motions)
               K Banner                                           1.20            525.00              $ 630.00

             B410 – Grant Receivables
               K Banner                                           0.50           525.00               $ 262.50
               JA Krieger                                         0.60           660.00               $ 396.00

             Total                                                2.30                               $ 1,288.50




                                                   Summary By Task
                                                ______________________

                                                Task                                               Hours               Value
                                                B190 – Other Contested Matters (excluding           1.20            $ 630.00
                                                assumption/rejection motions)
                                                B410 – Grant Receivables                            1.10             $ 658.50
   Total                                                                                            2.30           $ 1,288.50




                                              RECAP OF AMOUNTS DUE
 Total Previous Balance                                                                            $ 280,678.21
                                                                                                                     __________
 Balance Forward                                                                                                    $ 280,678.21
 Current Month Fees                                                                                  $ 1,288.50
 Current Month Costs                                                                                     $ 0.00
                                                                                                                     __________
 Total Current Charges                                                                                                 $ 1,288.50
                                                                                                                     __________
 Total Due from Current Charges                                                                                        $ 1,288.50
                                                                                                                     __________
 AMOUNT DUE                                                                                                         $ 281,966.71




Atty : JAK, #264 / P1097564                                   Page 3                                     Tax ID # XX-XXXXXXX
                                                                                                       Exhibit 2, page 168
   Case 2:19-bk-23085-BB           Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                    Desc
                                   Main Document   Page 169 of 377
                                       GREENBERG GLUSKER

     2049 Century Park East                                                  General billing questions: (310) 201-7492
     Suite 2600                                                                                         (310) 785-6842
     Los Angeles, CA 90067                                                                  Payments: (310) 785-6846
                                                                                                  Fax: (310) 553-7018
     Client # 76214,     Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,     Youth Policy Institute, Inc.

     Invoice date: 01/25/21                                                                  Charges through: 11/30/20
     Invoice # 691035

                                            Summary Of Attorney Time
                                            ______________________

             Attorney                                       Hours     Rate        Value
             J Krieger                                       0.60   660.00     $ 396.00
             K Banner                                        1.70   525.00     $ 892.50
             Total                                           2.30            $ 1,288.50




Atty : JAK, #264 / P1097564                            Page 4                               Tax ID # XX-XXXXXXX
                                                                                          Exhibit 2, page 169
         Case 2:19-bk-23085-BB                Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                                      Desc
                                              Main Document   Page 170 of 377

                                                      GREENBERG GLUSKER
          2049 Century Park East                                                            General billing questions: (310) 201-7492
          Suite 2600                                                                                                   (310) 785-6842
          Los Angeles, CA 90067                                                                            Payments: (310) 785-6846
                                                                                                                      Fax: (310) 553-7018
                                                  Jason M. Rund, Chapter 7 Trustee


          Client # 76214                                                                                      Charges through: 11/30/20
          Invoice date: 01/25/21
          Invoice # 691035




                                                                                              Payments and
Matter                                                    Previous              Current        Retainers To        Adjustments
Number      Name                                           Balance             Charges            01/25/21         To 01/25/21         Amount Due
00002       Youth Policy Institute, Inc.              $ 280,678.21           $ 1,288.50              $ 0.00             $ 0.00        $ 281,966.71

                                                      ___________          __________          __________           __________       ___________
            Bill Total                                $ 280,678.21          $ 1,288.50              $ 0.00               $ 0.00      $ 281,966.71


                                  PLEASE ENCLOSE THIS PAGE WITH YOUR REMITTANCE


                                           Wire instructions for the GENERAL account in US Dollars:
                                         Bank Name:               First Republic Bank
                                                                  111 Pine Street
                                                                  San Francisco, CA 94111
                                         SWIFT CODE:              FRBBUS6S
                                         ABA:                     321081669
                                         Account Name:            Greenberg Glusker Fields Claman &
                                                                  Machtinger
                                         Account No.:             #997-0005-4655




  Please reflect the client name and number, and the matters being paid. Payments received will apply first to accrued interest and then to
  costs and fees.
   Atty : JAK, #264 / P1097564                                          Page 5                                       Tax ID # XX-XXXXXXX
                                                                                                                   Exhibit 2, page 170
        Case 2:19-bk-23085-BB                  Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                                      Desc
                                               Main Document   Page 171 of 377
                                                   GREENBERG GLUSKER
          2049 Century Park East                                                             General billing questions: (310) 201-7492
          Suite 2600                                                                                                    (310) 785-6842
          Los Angeles, CA 90067                                                                             Payments: (310) 785-6846
                                                                                                                       Fax: (310) 553-7018
                                                   Jason M. Rund, Chapter 7 Trustee

          Client # 76214                                                                                       Charges through: 12/31/20
          Invoice date: 01/25/21
          Invoice # 691036



                                                                                              Payments and
Matter                                                     Previous              Current       Retainers To          Adjustments
Number Name                                                 Balance             Charges           01/25/21           To 01/25/21        Amount Due
00002   Youth Policy Institute, Inc.                   $ 281,966.71          $ 11,215.50             $ 0.00               $ 0.00       $ 293,182.21

                                                       ___________          __________          __________           __________       ___________
             Bill Total                                $ 281,966.71         $ 11,215.50              $ 0.00               $ 0.00      $ 293,182.21




                                                                         Jason M. Rund, Chapter 7 Trustee
                                                                         Sheridan & Rund
                                                                         840 Apollo Street
                                                                         Suite 351
                                                                         El Segundo, CA 90402




   Please reflect the client name and number, and the matters being paid. Payments received will apply first to accrued interest and then to
   costs and fees.
    Atty : JAK, #264 / P1102196                                          Page 1                                       Tax ID # XX-XXXXXXX
                                                                                                                    Exhibit 2, page 171
   Case 2:19-bk-23085-BB              Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                            Desc
                                      Main Document   Page 172 of 377
                                          GREENBERG GLUSKER

     2049 Century Park East                                                          General billing questions: (310) 201-7492
     Suite 2600                                                                                                 (310) 785-6842
     Los Angeles, CA 90067                                                                          Payments: (310) 785-6846
                                                                                                             Fax: (310) 553-7018
     Client # 76214,     Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,     Youth Policy Institute, Inc.

     Invoice date: 01/25/21                                                                           Charges through: 12/31/20
     Invoice # 691036



                                                             FEES
 Date       Timekeeper                               Description of Services                         Hours         Amount

 B100 – Administration
    B190 – Other Contested Matters (excluding assumption/rejection motions)
 12/02/20 JA Krieger           Review vmail from attorney service regarding subpoena (.1);            0.20        $ 132.00
                               conference with K. Banner regarding same (.1)
 12/03/20 JA Krieger           Review and respond to voicemail regarding subpoena (.1);               0.50        $ 330.00
                               telephone conference(s) with K. Block regarding attorney
                               service request for payroll records (.2); telephone conference(s)
                               with attorney service regarding same (.2)
 12/03/20 K Banner             Confer with J. Krieger regarding new subpoena request for              0.20        $ 105.00
                               payroll records.
 12/17/20 K Banner             Review subpoena relating to Robledo arbitration.                       0.20        $ 105.00
 12/18/20 K Banner             Telephone conference with J. Sokol and J. Krieger regarding            0.50        $ 262.50
                               subpoena relating to Kaiser matter and email to Trustee
                               regarding the same.
 12/21/20 JA Krieger           Telephone conference(s) with J. Rund regarding response to             0.20        $ 132.00
                               subpoena from Lewis Brisbois
 12/21/20 K Banner             Telephone conference with Trustee regarding responding to              0.50        $ 262.50
                               subpoena (.2); email exchange with S. Chow regarding YPI
                               paper records per request of DOL (.2); email exchange with M.
                               Heyn regarding the same (.1).
 12/23/20 K Banner             Draft informal objections and response to counsel regarding            0.50        $ 262.50
                               subpoena.
           Total B190 – Other Contested Matters (excluding assumption/rejection motions)              2.80       $ 1,591.50


            Total B100 – Administration                                                               2.80       $ 1,591.50


 B400 – Carve-Out Matters
    B410 – Grant Receivables
 12/02/20 K Banner               Review and analyze documentation from city regarding HCID            0.70        $ 367.50
                                 receivable (.5); email exchange with T. Leong and Trustee
                                 regarding the same (.2).
 12/03/20   K Banner             Email exchange with T. Leong regarding resolution of HCID            0.20        $ 105.00
                                 receivable.
 12/04/20   JA Krieger           Telephone conference(s) with K. Banner regarding agreement           0.10         $ 66.00
                                 with city
 12/04/20   K Banner             Draft and revise accord and satisfaction agreement with HCID.        1.10        $ 577.50
 12/05/20   JA Krieger           Review and revise accord and satisfaction agreement (.2);            0.30        $ 198.00
                                 preparation of email to K. Banner (.1)
 12/08/20   JA Krieger           Telephone conference(s) with K. Banner regarding accord and          0.20        $ 132.00
                                 satisfaction and motion
 12/08/20   K Banner             Confer with J. Krieger regarding accord and satisfaction             0.60        $ 315.00
Atty : JAK, #264 / P1102196                                 Page 2                                   Tax ID # XX-XXXXXXX
                                                                                                   Exhibit 2, page 172
   Case 2:19-bk-23085-BB             Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                           Desc
                                     Main Document   Page 173 of 377
                                         GREENBERG GLUSKER

     2049 Century Park East                                                        General billing questions: (310) 201-7492
     Suite 2600                                                                                               (310) 785-6842
     Los Angeles, CA 90067                                                                        Payments: (310) 785-6846
                                                                                                           Fax: (310) 553-7018
     Client # 76214,     Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,     Youth Policy Institute, Inc.

     Invoice date: 01/25/21                                                                         Charges through: 12/31/20
     Invoice # 691036

                                                              FEES
 Date       Timekeeper                               Description of Services                       Hours         Amount
                                agreement with HCID (.3); review and revise accord and
                                satisfaction agreement (.3).
 12/09/20   JA Krieger          Review and revise accord and satisfaction agreement                 0.30        $ 198.00
 12/09/20   K Banner            Review and revise HCID agreement and email exchange with            0.60        $ 315.00
                                Trustee (.2); telephone call with Trustee regarding HCID and
                                other matters (.3); email to T. Leung regarding the HCID
                                agreement (.1).
 12/11/20   K Banner            Telephone conference with Trustee regarding EWDD grant              0.20        $ 105.00
                                receivable.
 12/15/20   K Banner            Further review of MIP accounting records for information            0.50        $ 262.50
                                requested by EWDD receivable.
 12/16/20   K Banner            Prepare and review general ledger reports as requested by           0.50        $ 262.50
                                EWDD.
 12/18/20   JA Krieger          Telephone conference(s) with K. Banner and J. Sokol regarding       1.20        $ 792.00
                                response to insurance coverage letter
 12/24/20   K Banner            Review and revise accord and satisfaction agreement for HCID        0.40        $ 210.00
                                receivable and email to HCID (.3); email exchange with
                                Trustee regarding the same (.1).
            Total B410 – Grant Receivables                                                          6.90       $ 3,906.00


    B420 – Commercial Tort Claims
 12/02/20 K Banner             Review prior correspondence from Hanover and draft portions          2.20       $ 1,155.00
                               of detailed response regarding crime coverage claim.
 12/04/20 K Banner             Continue draft portions of letter to Hanover responding to           1.00        $ 525.00
                               voluminous requests.
 12/09/20 JA Krieger           Address issues relating to response to Hanover                       0.20        $ 132.00
 12/09/20 K Banner             Continue drafting and revising letter to Hanover responding to       1.60        $ 840.00
                               voluminous information requests.
 12/14/20 JA Krieger           Telephone conference(s) with K. Banner regarding revisions to        0.40        $ 264.00
                               response to Hanover
 12/15/20 JA Krieger           Review and revise correspondence to D. Brown                         0.60        $ 396.00
 12/17/20 JB Sokol             Prepare letter to coverage counsel for employee dishonesty           0.70        $ 486.50
                               carrier.
 12/18/20 JA Krieger           Telephone conference(s) with J. Sokol regarding response to          0.40        $ 264.00
                               subpoena
 12/18/20 JB Sokol             Conference with Jeff Krieger and Keith Banner re response to         1.40        $ 973.00
                               Hanover's coverage position letter.
 12/18/20 K Banner             Review revised draft of letter to Hanover in preparation for         1.30        $ 682.50
                               conference call (.3); telephone conference with J. Sokol and J.
                               Krieger regarding response to Hanover (1.0).
           Total B420 – Commercial Tort Claims                                                      9.80       $ 5,718.00


            Total B400 – Carve-Out Matters                                                         16.70       $ 9,624.00


Atty : JAK, #264 / P1102196                                Page 3                                  Tax ID # XX-XXXXXXX
                                                                                                 Exhibit 2, page 173
   Case 2:19-bk-23085-BB                  Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                                  Desc
                                          Main Document   Page 174 of 377
                                              GREENBERG GLUSKER

     2049 Century Park East                                                                  General billing questions: (310) 201-7492
     Suite 2600                                                                                                         (310) 785-6842
     Los Angeles, CA 90067                                                                                  Payments: (310) 785-6846
                                                                                                                      Fax: (310) 553-7018
     Client # 76214,       Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,       Youth Policy Institute, Inc.

     Invoice date: 01/25/21                                                                                   Charges through: 12/31/20
     Invoice # 691036

                                                                FEES
 Date        Timekeeper                                 Description of Services                              Hours            Amount

 Total fees for this matter:                                                                                             $ 11,215.50


                                             Summary Of Attorney Time By Task
                                                ______________________

                                                                  Hours              Rate                    Value

               B190 – Other Contested Matters (excluding assumption/rejection motions)
                 K Banner                                           1.90            525.00              $ 997.50
                 JA Krieger                                         0.90            660.00              $ 594.00

               B410 – Grant Receivables
                 K Banner                                           4.80           525.00              $ 2,520.00
                 JA Krieger                                         2.10           660.00              $ 1,386.00

               B420 – Commercial Tort Claims
                 K Banner                                           6.10           525.00              $ 3,202.50
                 JA Krieger                                         1.60           660.00              $ 1,056.00
                 JB Sokol                                           2.10           695.00              $ 1,459.50

               Total                                               19.50                              $ 11,215.50




                                                     Summary By Task
                                                  ______________________

                                                  Task                                               Hours                Value
                                                  B190 – Other Contested Matters (excluding           2.80           $ 1,591.50
                                                  assumption/rejection motions)
                                                  B410 – Grant Receivables                            6.90        $ 3,906.00
                                                  B420 – Commercial Tort Claims                       9.80        $ 5,718.00
   Total                                                                                             19.50       $ 11,215.50




Atty : JAK, #264 / P1102196                                     Page 4                                     Tax ID # XX-XXXXXXX
                                                                                                         Exhibit 2, page 174
   Case 2:19-bk-23085-BB            Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                       Desc
                                    Main Document   Page 175 of 377
                                        GREENBERG GLUSKER

     2049 Century Park East                                                    General billing questions: (310) 201-7492
     Suite 2600                                                                                           (310) 785-6842
     Los Angeles, CA 90067                                                                    Payments: (310) 785-6846
                                                                                                      Fax: (310) 553-7018
     Client # 76214,      Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,      Youth Policy Institute, Inc.

     Invoice date: 01/25/21                                                                    Charges through: 12/31/20
     Invoice # 691036

                                           RECAP OF AMOUNTS DUE
 Total Previous Balance                                                                $ 281,966.71
                                                                                                       __________
 Balance Forward                                                                                      $ 281,966.71
 Current Month Fees                                                                     $ 11,215.50
 Current Month Costs                                                                         $ 0.00
                                                                                                       __________
 Total Current Charges                                                                                 $ 11,215.50
                                                                                                       __________
 Total Due from Current Charges                                                                        $ 11,215.50
                                                                                                       __________
 AMOUNT DUE                                                                                           $ 293,182.21




                                             Summary Of Attorney Time
                                             ______________________

             Attorney                                        Hours     Rate         Value
             J Krieger                                        4.60   660.00    $ 3,036.00
             J Sokol                                          2.10   695.00    $ 1,459.50
             K Banner                                        12.80   525.00    $ 6,720.00
             Total                                           19.50            $ 11,215.50




Atty : JAK, #264 / P1102196                             Page 5                                Tax ID # XX-XXXXXXX
                                                                                            Exhibit 2, page 175
         Case 2:19-bk-23085-BB                Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                                      Desc
                                              Main Document   Page 176 of 377

                                                      GREENBERG GLUSKER
          2049 Century Park East                                                            General billing questions: (310) 201-7492
          Suite 2600                                                                                                   (310) 785-6842
          Los Angeles, CA 90067                                                                            Payments: (310) 785-6846
                                                                                                                      Fax: (310) 553-7018
                                                  Jason M. Rund, Chapter 7 Trustee

          Client # 76214                                                                                      Charges through: 12/31/20
          Invoice date: 01/25/21
          Invoice # 691036




                                                                                              Payments and
Matter                                                    Previous              Current        Retainers To        Adjustments
Number      Name                                           Balance             Charges            01/25/21         To 01/25/21         Amount Due
00002       Youth Policy Institute, Inc.              $ 281,966.71          $ 11,215.50              $ 0.00             $ 0.00        $ 293,182.21

                                                      ___________          __________          __________           __________       ___________
            Bill Total                                $ 281,966.71         $ 11,215.50              $ 0.00               $ 0.00      $ 293,182.21


                                  PLEASE ENCLOSE THIS PAGE WITH YOUR REMITTANCE


                                           Wire instructions for the GENERAL account in US Dollars:
                                         Bank Name:               First Republic Bank
                                                                  111 Pine Street
                                                                  San Francisco, CA 94111
                                         SWIFT CODE:              FRBBUS6S
                                         ABA:                     321081669
                                         Account Name:            Greenberg Glusker Fields Claman &
                                                                  Machtinger
                                         Account No.:             #997-0005-4655




  Please reflect the client name and number, and the matters being paid. Payments received will apply first to accrued interest and then to
  costs and fees.
   Atty : JAK, #264 / P1102196                                          Page 6                                       Tax ID # XX-XXXXXXX
                                                                                                                   Exhibit 2, page 176
        Case 2:19-bk-23085-BB                  Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                                      Desc
                                               Main Document   Page 177 of 377
                                                   GREENBERG GLUSKER
          2049 Century Park East                                                             General billing questions: (310) 201-7492
          Suite 2600                                                                                                    (310) 785-6842
          Los Angeles, CA 90067                                                                             Payments: (310) 785-6846
                                                                                                                       Fax: (310) 553-7018
                                                   Jason M. Rund, Chapter 7 Trustee

          Client # 76214                                                                                       Charges through: 01/31/21
          Invoice date: 04/23/21
          Invoice # 695280



                                                                                              Payments and
Matter                                                     Previous              Current       Retainers To          Adjustments
Number Name                                                 Balance             Charges           04/23/21           To 04/23/21        Amount Due
00002   Youth Policy Institute, Inc.                   $ 293,182.21           $ 6,546.62             $ 0.00               $ 0.00       $ 299,728.83

                                                       ___________          __________          __________           __________       ___________
             Bill Total                                $ 293,182.21          $ 6,546.62              $ 0.00               $ 0.00      $ 299,728.83




                                                                         Jason M. Rund, Chapter 7 Trustee
                                                                         Sheridan & Rund
                                                                         840 Apollo Street
                                                                         Suite 351
                                                                         El Segundo, CA 90402




   Please reflect the client name and number, and the matters being paid. Payments received will apply first to accrued interest and then to
   costs and fees.
    Atty : JAK, #264 / P1113648                                          Page 1                                       Tax ID # XX-XXXXXXX
                                                                                                                    Exhibit 2, page 177
   Case 2:19-bk-23085-BB             Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                         Desc
                                     Main Document   Page 178 of 377
                                         GREENBERG GLUSKER

     2049 Century Park East                                                      General billing questions: (310) 201-7492
     Suite 2600                                                                                             (310) 785-6842
     Los Angeles, CA 90067                                                                      Payments: (310) 785-6846
                                                                                                         Fax: (310) 553-7018
     Client # 76214,    Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,    Youth Policy Institute, Inc.

     Invoice date: 04/23/21                                                                       Charges through: 01/31/21
     Invoice # 695280



                                                           FEES
 Date      Timekeeper                              Description of Services                       Hours         Amount

 B100 – Administration
    B110 – Case Administration
 01/06/21 JA Krieger           Telephone conference(s) with K. Banner regarding                   0.30        $ 202.50
                               correspondence from landlordâ€™s counsel (.1); review
                               multiple emails. From Meadows and emails from Latham
                               regarding documents at landlordâ€™s location (.2)
           Total B110 – Case Administration                                                       0.30        $ 202.50


    B150 – Meetings of and Communications with Creditors
 01/08/21 K Banner            Email exchange with M. Laverty regarding creditor inquiry re        0.10         $ 57.50
                              status of case.
           Total B150 – Meetings of and Communications with Creditors                             0.10         $ 57.50


    B190 – Other Contested Matters (excluding assumption/rejection motions)
 01/06/21 K Banner             Email exchange with D. Medows regarding items abandoned at         0.20        $ 115.00
                               Beverly facility (.1); email exchange with DOL contacts
                               regarding the same (.1).
           Total B190 – Other Contested Matters (excluding assumption/rejection motions)          0.20        $ 115.00


           Total B100 – Administration                                                            0.60        $ 375.00


 B200 – Operations
    B230 – Financing/Cash Collateral
 01/11/21 K Banner             Email exchange with counsel for NFF regarding status of            0.10         $ 57.50
                               bankruptcy.
 01/12/21 K Banner             Telephone conference with counsel for NFF regarding status of      0.30        $ 172.50
                               grant collections, etc.
 01/15/21 K Banner             Email exchange with K. Lay regarding 9019 motion and status        0.10         $ 57.50
                               of carve out matters.
           Total B230 – Financing/Cash Collateral                                                 0.50        $ 287.50


           Total B200 – Operations                                                                0.50        $ 287.50


 B400 – Carve-Out Matters
    B410 – Grant Receivables
 01/07/21 K Banner              Email exchange with T. Leong regarding settlement re HCID         0.10         $ 57.50
                                receivable.
Atty : JAK, #264 / P1113648                               Page 2                                 Tax ID # XX-XXXXXXX
                                                                                               Exhibit 2, page 178
   Case 2:19-bk-23085-BB            Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                           Desc
                                    Main Document   Page 179 of 377
                                        GREENBERG GLUSKER

     2049 Century Park East                                                       General billing questions: (310) 201-7492
     Suite 2600                                                                                              (310) 785-6842
     Los Angeles, CA 90067                                                                       Payments: (310) 785-6846
                                                                                                          Fax: (310) 553-7018
     Client # 76214,    Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,    Youth Policy Institute, Inc.

     Invoice date: 04/23/21                                                                        Charges through: 01/31/21
     Invoice # 695280

                                                             FEES
 Date     Timekeeper                                Description of Services                       Hours         Amount
 01/08/21 K Banner            Draft and revise 9019 motion relating to agreement with HCID         1.40        $ 805.00
                              regarding grant receivable.
 01/11/21 K Banner            Review general ledger information and payroll information for        1.90       $ 1,092.50
                              EWDD response and draft response to EWDD (1.0); email
                              exchange with Trustee regarding the same (.1); review and
                              revise 9019 motion regarding HCID agreement and draft
                              Trustee's supporting declaration (.6); review changes to accord
                              and satisfaction agreement and email exchange with M. Zavala
                              and Trustee regarding the same (.2).
 01/12/21 K Banner            Review partially executed HCID agreement and further email           0.50        $ 287.50
                              exchange with Trustee and M. Zavala (.2); review and revise
                              9019 motion regarding the same (.3).
 01/13/21 K Banner            Confer with J. Krieger and email exchange with Trustee               1.00        $ 575.00
                              regarding 9019 motion re HCID receivable (.2); draft and revise
                              notice of 9019 motion re HCID receivable (.5); review motion
                              and notice prior to filing (.2); email to HCID regarding filed
                              motion and notice (.1).
 01/20/21 K Banner            Review and analyze documents of YPI relating to the Kids             2.40       $ 1,380.00
                              Code Program under the CDE and draft demand letters to
                              Academia Moderna, Camino Nuevo Acadamy, Camino Nuevo
                              Academy #2, and Crown Preparatory Academy regarding
                              unpaid receivables (1.5); review YPI documents relating to
                              Unidos grant receivable and draft demand letter regarding the
                              same (.5); review champions for change receivable information
                              and draft and revise follow up correspondence to La County
                              regarding outstanding receivable under Champions for Change
                              program (.3); follow up email to M. Ryder regarding Unidos
                              receivable (.1).
 01/21/21 K Banner            Review responses from various Kids Code charter schools              0.30        $ 172.50
                              regarding outstanding receivables and email to Trustee.
 01/22/21 K Banner            Review case docket for developments relating to HCID 9019            0.10         $ 57.50
                              motion.
 01/26/21 K Banner            Review case docket for any developments relating to HCID             0.10         $ 57.50
                              9019 motion.
 01/27/21 K Banner            Review case docket for any opposition to HCID 9019 motion            0.20        $ 115.00
                              and review court's posted calendar regarding the same.
 01/28/21 K Banner            Email exchange with W. Loo-Smart regarding EWDD                      0.20        $ 115.00
                              receivable discussions and analysis and email exchange with
                              Trustee regarding the same.
 01/29/21 K Banner            Review court's posted calendar regarding hearing on HCID             0.10         $ 57.50
                              9019 motion.
          Total B410 – Grant Receivables                                                           8.30       $ 4,772.50


    B420 – Commercial Tort Claims
 01/08/21 JA Krieger           Review and revise letter to D. Brown regarding insurance claim      0.20        $ 135.00
Atty : JAK, #264 / P1113648                               Page 3                                  Tax ID # XX-XXXXXXX
                                                                                                Exhibit 2, page 179
   Case 2:19-bk-23085-BB                  Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                                Desc
                                          Main Document   Page 180 of 377
                                              GREENBERG GLUSKER

     2049 Century Park East                                                                  General billing questions: (310) 201-7492
     Suite 2600                                                                                                         (310) 785-6842
     Los Angeles, CA 90067                                                                                  Payments: (310) 785-6846
                                                                                                                     Fax: (310) 553-7018
     Client # 76214,       Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,       Youth Policy Institute, Inc.

     Invoice date: 04/23/21                                                                                  Charges through: 01/31/21
     Invoice # 695280

                                                             FEES
 Date     Timekeeper                                 Description of Services                                Hours          Amount
 01/08/21 K Banner             Further review of forensic investigation documents and review                 1.00         $ 575.00
                               and revise letter to Hanover re Crime policy; email exchange
                               with Trustee regarding the same.
 01/13/21    JA Krieger        Review and revise motion to approve grant receivable                           0.30        $ 202.50
                               settlement
 01/15/21    K Banner          Telephone call with Trustee regarding response to Hanover and                  0.30        $ 172.50
                               review and revise letter to Hanover.
             Total B420 – Commercial Tort Claims                                                              1.80       $ 1,085.00


             Total B400 – Carve-Out Matters                                                                 10.10        $ 5,857.50


 Total fees for this matter:                                                                                             $ 6,520.00


                                             Summary Of Attorney Time By Task
                                                ______________________

                                                                  Hours              Rate                  Value

               B110 – Case Administration
                 JA Krieger                                         0.30           675.00               $ 202.50

               B150 – Meetings of and Communications with Creditors
                 K Banner                                          0.10            575.00                $ 57.50

               B190 – Other Contested Matters (excluding assumption/rejection motions)
                 K Banner                                           0.20            575.00              $ 115.00

               B230 – Financing/Cash Collateral
                 K Banner                                           0.50           575.00               $ 287.50

               B410 – Grant Receivables
                 K Banner                                           8.30           575.00              $ 4,772.50

               B420 – Commercial Tort Claims
                 K Banner                                           1.30           575.00               $ 747.50
                 JA Krieger                                         0.50           675.00               $ 337.50

               Total                                               11.20                               $ 6,520.00




Atty : JAK, #264 / P1113648                                     Page 4                                     Tax ID # XX-XXXXXXX
                                                                                                         Exhibit 2, page 180
   Case 2:19-bk-23085-BB                 Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                                   Desc
                                         Main Document   Page 181 of 377
                                             GREENBERG GLUSKER

     2049 Century Park East                                                                General billing questions: (310) 201-7492
     Suite 2600                                                                                                       (310) 785-6842
     Los Angeles, CA 90067                                                                                Payments: (310) 785-6846
                                                                                                                       Fax: (310) 553-7018
     Client # 76214,      Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,      Youth Policy Institute, Inc.

     Invoice date: 04/23/21                                                                                   Charges through: 01/31/21
     Invoice # 695280

                                                         Summary By Task
                                                      ______________________

                                                    Task                                             Hours                Value
                                                    B110 – Case Administration                        0.30             $ 202.50
                                                    B150 – Meetings of and Communications             0.10              $ 57.50
                                                    with Creditors
                                                    B190 – Other Contested Matters (excluding         0.20             $ 115.00
                                                    assumption/rejection motions)
                                                    B230 – Financing/Cash Collateral                  0.50          $ 287.50
                                                    B410 – Grant Receivables                          8.30        $ 4,772.50
                                                    B420 – Commercial Tort Claims                     1.80        $ 1,085.00
   Total                                                                                             11.20        $ 6,520.00




                                                                COSTS
                   Date               Description                                                            Amount
           through 01/31/21           Postage                                                                $ 26.62

                       Total costs for this matter:                                                          $ 26.62


                                               Summary Of Costs by Expenses Code
                                                  ______________________

                              Expense                                                        Value
                              E108 – Postage                                                $26.62

                              Total                                                        $ 26.62




Atty : JAK, #264 / P1113648                                      Page 5                                   Tax ID # XX-XXXXXXX
                                                                                                        Exhibit 2, page 181
   Case 2:19-bk-23085-BB            Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                         Desc
                                    Main Document   Page 182 of 377
                                        GREENBERG GLUSKER

     2049 Century Park East                                                   General billing questions: (310) 201-7492
     Suite 2600                                                                                          (310) 785-6842
     Los Angeles, CA 90067                                                                   Payments: (310) 785-6846
                                                                                                        Fax: (310) 553-7018
     Client # 76214,      Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,      Youth Policy Institute, Inc.

     Invoice date: 04/23/21                                                                     Charges through: 01/31/21
     Invoice # 695280

                                           RECAP OF AMOUNTS DUE
 Total Previous Balance                                                               $ 293,182.21
                                                                                                         __________
 Balance Forward                                                                                        $ 293,182.21
 Current Month Fees                                                                        $ 6,520.00
 Current Month Costs                                                                          $ 26.62
                                                                                                         __________
 Total Current Charges                                                                                     $ 6,546.62
                                                                                                         __________
 Total Due from Current Charges                                                                            $ 6,546.62
                                                                                                         __________
 AMOUNT DUE                                                                                             $ 299,728.83




                                             Summary Of Attorney Time
                                             ______________________

             Attorney                                        Hours     Rate        Value
             J Krieger                                        0.80   675.00     $ 540.00
             K Banner                                        10.40   575.00   $ 5,980.00
             Total                                           11.20            $ 6,520.00




Atty : JAK, #264 / P1113648                             Page 6                                Tax ID # XX-XXXXXXX
                                                                                            Exhibit 2, page 182
         Case 2:19-bk-23085-BB                Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                                      Desc
                                              Main Document   Page 183 of 377

                                                      GREENBERG GLUSKER
          2049 Century Park East                                                            General billing questions: (310) 201-7492
          Suite 2600                                                                                                   (310) 785-6842
          Los Angeles, CA 90067                                                                            Payments: (310) 785-6846
                                                                                                                      Fax: (310) 553-7018
                                                  Jason M. Rund, Chapter 7 Trustee


          Client # 76214                                                                                      Charges through: 01/31/21
          Invoice date: 04/23/21
          Invoice # 695280




                                                                                              Payments and
Matter                                                    Previous              Current        Retainers To        Adjustments
Number      Name                                           Balance             Charges            04/23/21         To 04/23/21         Amount Due
00002       Youth Policy Institute, Inc.              $ 293,182.21           $ 6,546.62              $ 0.00             $ 0.00        $ 299,728.83

                                                      ___________          __________          __________           __________       ___________
            Bill Total                                $ 293,182.21          $ 6,546.62              $ 0.00               $ 0.00      $ 299,728.83


                                  PLEASE ENCLOSE THIS PAGE WITH YOUR REMITTANCE


                                           Wire instructions for the GENERAL account in US Dollars:
                                         Bank Name:               First Republic Bank
                                                                  111 Pine Street
                                                                  San Francisco, CA 94111
                                         SWIFT CODE:              FRBBUS6S
                                         ABA:                     321081669
                                         Account Name:            Greenberg Glusker Fields Claman &
                                                                  Machtinger
                                         Account No.:             #997-0005-4655




  Please reflect the client name and number, and the matters being paid. Payments received will apply first to accrued interest and then to
  costs and fees.
   Atty : JAK, #264 / P1113648                                          Page 7                                       Tax ID # XX-XXXXXXX
                                                                                                                   Exhibit 2, page 183
        Case 2:19-bk-23085-BB                  Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                                      Desc
                                               Main Document   Page 184 of 377
                                                   GREENBERG GLUSKER
          2049 Century Park East                                                             General billing questions: (310) 201-7577
          Suite 2600                                                                                                    (310) 785-6842
          Los Angeles, CA 90067                                                                             Payments: (310) 785-6846
                                                                                                                       Fax: (310) 553-7018
                                                   Jason M. Rund, Chapter 7 Trustee

          Client # 76214                                                                                       Charges through: 02/28/21
          Invoice date: 04/23/21
          Invoice # 695281



                                                                                              Payments and
Matter                                                     Previous              Current       Retainers To          Adjustments
Number Name                                                 Balance             Charges           04/23/21           To 04/23/21        Amount Due
00002   Youth Policy Institute, Inc.                   $ 299,728.83          $ 19,405.00             $ 0.00               $ 0.00       $ 319,133.83

                                                       ___________          __________          __________           __________       ___________
             Bill Total                                $ 299,728.83         $ 19,405.00              $ 0.00               $ 0.00      $ 319,133.83




                                                                         Jason M. Rund, Chapter 7 Trustee
                                                                         Sheridan & Rund
                                                                         840 Apollo Street
                                                                         Suite 351
                                                                         El Segundo, CA 90402




   Please reflect the client name and number, and the matters being paid. Payments received will apply first to accrued interest and then to
   costs and fees.
    Atty : JAK, #264 / P1113649                                          Page 1                                       Tax ID # XX-XXXXXXX
                                                                                                                    Exhibit 2, page 184
   Case 2:19-bk-23085-BB             Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                            Desc
                                     Main Document   Page 185 of 377
                                         GREENBERG GLUSKER

     2049 Century Park East                                                        General billing questions: (310) 201-7577
     Suite 2600                                                                                               (310) 785-6842
     Los Angeles, CA 90067                                                                        Payments: (310) 785-6846
                                                                                                            Fax: (310) 553-7018
     Client # 76214,     Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,     Youth Policy Institute, Inc.
                                                                                                     Charges through: 02/28/21
     Invoice date: 04/23/21
     Invoice # 695281



                                                            FEES
 Date       Timekeeper                              Description of Services                         Hours         Amount

 B100 – Administration
    B110 – Case Administration
 02/10/21 C Pickrell           Hosting data for transmittal.                                         0.10         $ 35.00
           Total B110 – Case Administration                                                          0.10         $ 35.00


    B150 – Meetings of and Communications with Creditors
 02/10/21 K Banner            Email exchange with C. Danielson regarding creditor inquiry as         0.10         $ 57.50
                              to status of case.
           Total B150 – Meetings of and Communications with Creditors                                0.10         $ 57.50


    B180 – Avoidance Action Analysis
 02/03/21 K Banner            Review Debtor's electronic records regarding documents                 3.20       $ 1,840.00
                              relating to tax payment as potential preference (1.2); review and
                              analyze Oracle accounting data for information regarding
                              potential preference claims (2.0).
 02/04/21 JA Krieger          Telephone conference(s) with K. Banner regarding avoidance             0.30        $ 202.50
                              action analysis
 02/04/21 K Banner            Detailed review of Oracle AP payment report and assess                 4.80       $ 2,760.00
                              potential preference payments (2.3); conference with J. Krieger
                              regarding the same (.2); preliminary research regarding
                              recovery of late paid insurance premiums as preference
                              payments (.8); review and analyze bank statements with regard
                              to potential Kaiser preference claims (.8); review and analyze
                              various claims filed in bankruptcy case with respect to potential
                              recipients of preferential transfers (.7).
 02/05/21 K Banner            Review and analyze tax transcript, payroll reports, information        4.20       $ 2,415.00
                              on YPI's OneDrive and other documents regarding potential
                              IRS preference (1.8); email exchange with Trustee and D. Fife
                              regarding the same (.2); supplemental research regarding
                              potential recovery of those funds (.5); review and analyze bank
                              statements of debtor for information relating to potential
                              preference payments in accounting records (1.7).
 02/08/21 JA Krieger          Review K. Banner email analysis of preference actions                  0.20         $ 135.00
 02/08/21 K Banner            Further review of Oracle accounting records for additional             1.90       $ 1,092.50
                              potential preference payments (.9); draft and review
                              memorandum regarding preference analysis from Oracle books
                              (1.0).
 02/09/21 K Banner            Further research regarding potential avoidance of tax payments         1.10        $ 632.50
                              (.5); further review and analysis of tax payments and payroll
                              records regarding the same (.6).
 02/10/21 K Banner            Further research regarding potential recovery of delinquent            1.70        $ 977.50
Atty : JAK, #264 / P1113649                                Page 2                                   Tax ID # XX-XXXXXXX
                                                                                                  Exhibit 2, page 185
   Case 2:19-bk-23085-BB              Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                         Desc
                                      Main Document   Page 186 of 377
                                          GREENBERG GLUSKER

     2049 Century Park East                                                        General billing questions: (310) 201-7577
     Suite 2600                                                                                               (310) 785-6842
     Los Angeles, CA 90067                                                                        Payments: (310) 785-6846
                                                                                                          Fax: (310) 553-7018
     Client # 76214,     Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,     Youth Policy Institute, Inc.
                                                                                                   Charges through: 02/28/21
     Invoice date: 04/23/21
     Invoice # 695281

                                                             FEES
 Date       Timekeeper                               Description of Services                      Hours         Amount
                               payroll taxes (.8); review of SOFA against information in
                               Oracle regarding potential preferences (.9).
 02/11/21   K Banner           Further research regarding potential bases to avoid $1m pre-        2.00       $ 1,150.00
                               petition late tax payment.
 02/12/21   JA Krieger         Telephone conference(s) with K. Banner regarding preference         1.00        $ 675.00
                               analysis
 02/12/21   K Banner           Telephone conference with J. Krieger regarding analysis of          1.00        $ 575.00
                               preference claims, including potential tax claims and findings
                               from Oracle records.
            Total B180 – Avoidance Action Analysis                                                21.40     $ 12,455.00


            Total B100 – Administration                                                           21.60     $ 12,547.50


 B200 – Operations
    B240 – Tax Issues
 02/03/21 K Banner             Email exchange with Trustee regarding tax transcript status.        0.10         $ 57.50
 02/24/21 K Banner             Review tax transcripts from 2016-2019.                              0.30        $ 172.50
           Total B240 – Tax Issues                                                                 0.40        $ 230.00


            Total B200 – Operations                                                                0.40        $ 230.00


 B300 – Claims and Plan
    B310 – Claims Administration and Objections
 02/24/21 K Banner             Review proof of claim from CA Dept of Tax.                          0.20        $ 115.00
           Total B310 – Claims Administration and Objections                                       0.20        $ 115.00


            Total B300 – Claims and Plan                                                           0.20        $ 115.00


 B400 – Bankruptcy-Related Advice
    B410 – General Bankruptcy Advice/Opinions
 02/01/21 K Banner             Telephone call and email exchange with E. Cuevas regarding          0.40        $ 230.00
                               Academia Moderna receivable (.2); email to Trustee regarding
                               the same (.1); review court's posted calendar for updates
                               regarding HCID 9019 motion (.1).
 02/02/21 K Banner             Email exchange with L. Ryder regarding Unidos receivable.           0.10         $ 57.50
 02/05/21 K Banner             Review court's tentative rulings for information regarding          0.10         $ 57.50
                               HCID 9019 motion.
 02/08/21 JA Krieger           Review email from K. Banner regarding recovery of Alta              0.10         $ 67.50
                               Public Schools grant receivable
 02/08/21 K Banner             Email exchange with Trustee and E. Cuevas regarding                 0.90        $ 517.50
Atty : JAK, #264 / P1113649                                Page 3                                 Tax ID # XX-XXXXXXX
                                                                                                Exhibit 2, page 186
   Case 2:19-bk-23085-BB              Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                             Desc
                                      Main Document   Page 187 of 377
                                          GREENBERG GLUSKER

     2049 Century Park East                                                          General billing questions: (310) 201-7577
     Suite 2600                                                                                                 (310) 785-6842
     Los Angeles, CA 90067                                                                          Payments: (310) 785-6846
                                                                                                              Fax: (310) 553-7018
     Client # 76214,       Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,       Youth Policy Institute, Inc.
                                                                                                       Charges through: 02/28/21
     Invoice date: 04/23/21
     Invoice # 695281

                                                               FEES
 Date       Timekeeper                                Description of Services                         Hours         Amount
                                receivable from Academia Moderna (.2); review court's
                                calendar and tentative ruling regarding HCID 9019 motion (.2);
                                draft order approving 9019 motion regarding HCID grant
                                receivable (.5).
 02/10/21   K Banner            Review cash reconciliation reports and bank statements                 1.10        $ 632.50
                                requested by EWDD re: outstanding receivable (1.0); email to
                                W. Loo-Smart regarding the same (.1).
 02/11/21   K Banner            Further email exchange with W. Loo-Smart regarding EWDD                0.60        $ 345.00
                                receivable (.1); email to Trustee regarding the same (.1); review
                                and revise order and notice of lodgment relating to HCID
                                receivable prior to filing/lodgment (.4).
 02/12/21   K Banner            Review entered order on HCID compromise and email to T.                0.30        $ 172.50
                                Leung (.2); email exchange with Trustee regarding the same
                                (.1).
 02/16/21   JA Krieger          Telephone conference(s) with K. Banner regarding Mayor's               0.20        $ 135.00
                                office response (.1); preparation of email to J. Rund regarding
                                same and review response (.1)
 02/16/21   K Banner            Email exchange with various representatives of HCID                    0.40        $ 230.00
                                regarding payment of receivable (.2); confer with J. Krieger
                                regarding status of grant receivables (.2).
 02/17/21   K Banner            Email exchange with HCID and trustee regarding payment of              0.20        $ 115.00
                                receivable.
 02/22/21   K Banner           Email exchange with HCID regarding payment on receivable                0.20        $ 115.00
                                and email exchange with Trustee regarding the same.
 02/26/21   K Banner            Email exchange with M. Mork regarding Unidos grant                     0.20        $ 115.00
                                receivable.
            Total B410 – General Bankruptcy Advice/Opinions                                            4.80       $ 2,790.00


    B420 – Restructuring
 02/03/21 JA Krieger             Telephone conference(s) with K. Banner regarding litigation           0.90        $ 607.50
                                 strategy (.2); telephone conference(s) with A. Caimi regarding
                                 possible contingent fee representation against Slingerland (.7)
 02/03/21   JA Krieger           Telephone conference(s) with J. Rund regarding potential              0.30        $ 202.50
                                 counsel for insurance claim (.2); telephone conference(s) with
                                 K. Banner regarding same (.1)
 02/03/21   K Banner             Conferences with J. Krieger regarding strategy going forward          0.40        $ 230.00
                                 on insurance claim.
 02/04/21   JA Krieger           Telephone conference(s) with J. Sokol regarding insurance             1.70       $ 1,147.50
                                 claim strategy (.5); telephone conference(s) with potential
                                 contingency fee counsel (.5); review correspondence with
                                 insurance company (.3); preparation of email to proposed
                                 counsel (.2); telephone conference(s) with K. Banner regarding
                                 overall strategy regarding policies (.2)
 02/04/21   K Banner             Further conference with J. Krieger regarding strategy for             0.50        $ 287.50
                                 insurance litigation (.2); review public information regarding
Atty : JAK, #264 / P1113649                                 Page 4                                    Tax ID # XX-XXXXXXX
                                                                                                    Exhibit 2, page 187
   Case 2:19-bk-23085-BB             Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                            Desc
                                     Main Document   Page 188 of 377
                                         GREENBERG GLUSKER

     2049 Century Park East                                                         General billing questions: (310) 201-7577
     Suite 2600                                                                                                (310) 785-6842
     Los Angeles, CA 90067                                                                         Payments: (310) 785-6846
                                                                                                            Fax: (310) 553-7018
     Client # 76214,       Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,       Youth Policy Institute, Inc.
                                                                                                     Charges through: 02/28/21
     Invoice date: 04/23/21
     Invoice # 695281

                                                            FEES
 Date        Timekeeper                             Description of Services                         Hours         Amount
                              former auditor for status and potential insurance coverage (.3).
 02/08/21 JA Krieger          Review email from possible contingent fee counsel regarding            0.10         $ 67.50
                              willingness
 02/16/21 JA Krieger          Telephone conference(s) with K. Banner regarding insurance             1.00        $ 675.00
                              lawsuits (.4); telephone conference(s) with J. Sokol regarding
                              strategy on insurance litigation (.5); preparation of email to K.
                              Banner (.1)
 02/16/21 K Banner            Confer with J. Krieger regarding strategy for insurance claims.        0.20        $ 115.00
 02/26/21 JB Sokol            Review letter from insurer's counsel.                                  0.30        $ 217.50
 02/26/21 K Banner            Review new correspondence from Hanover re: crime coverage              0.30        $ 172.50
                              claim and confer with J. Krieger and J. Sokol.
          Total B420 – Restructuring                                                                 5.70       $ 3,722.50


             Total B400 – Bankruptcy-Related Advice                                                 10.50       $ 6,512.50


 Total fees for this matter:                                                                                   $ 19,405.00




Atty : JAK, #264 / P1113649                                 Page 5                                  Tax ID # XX-XXXXXXX
                                                                                                  Exhibit 2, page 188
   Case 2:19-bk-23085-BB             Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                            Desc
                                     Main Document   Page 189 of 377
                                         GREENBERG GLUSKER

     2049 Century Park East                                                          General billing questions: (310) 201-7577
     Suite 2600                                                                                                 (310) 785-6842
     Los Angeles, CA 90067                                                                          Payments: (310) 785-6846
                                                                                                            Fax: (310) 553-7018
     Client # 76214,    Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,    Youth Policy Institute, Inc.
                                                                                                     Charges through: 02/28/21
     Invoice date: 04/23/21
     Invoice # 695281

                                           Summary Of Attorney Time By Task
                                              ______________________

                                                               Hours          Rate                 Value

             B110 – Case Administration
               C Pickrell                                       0.10     350.00                   $ 35.00

             B150 – Meetings of and Communications with Creditors
               K Banner                                          0.10    575.00                   $ 57.50

             B180 – Avoidance Action Analysis
               K Banner                                        19.90     575.00               $ 11,442.50
               JA Krieger                                       1.50     675.00                $ 1,012.50

             B240 – Tax Issues
               K Banner                                         0.40     575.00                 $ 230.00

             B310 – Claims Administration and Objections
               K Banner                                         0.20     575.00                 $ 115.00

             B410 – General Bankruptcy Advice/Opinions
               K Banner                                         4.50     575.00                $ 2,587.50
               JA Krieger                                       0.30     675.00                  $ 202.50

             B420 – Restructuring
               K Banner                                         1.40     575.00                  $ 805.00
               JA Krieger                                       4.00     675.00                $ 2,700.00
               JB Sokol                                         0.30     725.00                  $ 217.50

             Total                                             32.70                          $ 19,405.00




Atty : JAK, #264 / P1113649                                 Page 6                                 Tax ID # XX-XXXXXXX
                                                                                                 Exhibit 2, page 189
   Case 2:19-bk-23085-BB            Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                             Desc
                                    Main Document   Page 190 of 377
                                        GREENBERG GLUSKER

     2049 Century Park East                                                          General billing questions: (310) 201-7577
     Suite 2600                                                                                                 (310) 785-6842
     Los Angeles, CA 90067                                                                          Payments: (310) 785-6846
                                                                                                            Fax: (310) 553-7018
     Client # 76214,      Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,      Youth Policy Institute, Inc.
                                                                                                     Charges through: 02/28/21
     Invoice date: 04/23/21
     Invoice # 695281

                                                Summary By Task
                                             ______________________

                                             Task                                            Hours            Value
                                             B110 – Case Administration                       0.10           $ 35.00
                                             B150 – Meetings of and Communications            0.10           $ 57.50
                                             with Creditors
                                             B180 – Avoidance Action Analysis                21.40      $ 12,455.00
                                             B240 – Tax Issues                                0.40         $ 230.00
                                             B310 – Claims Administration and                 0.20         $ 115.00
                                             Objections
                                             B410 – General Bankruptcy                        4.80       $ 2,790.00
                                             Advice/Opinions
                                             B420 – Restructuring                             5.70       $ 3,722.50
   Total                                                                                     32.70      $ 19,405.00




                                           RECAP OF AMOUNTS DUE
 Total Previous Balance                                                                      $ 299,728.83
                                                                                                             __________
 Balance Forward                                                                                            $ 299,728.83
 Current Month Fees                                                                           $ 19,405.00
 Current Month Costs                                                                               $ 0.00
                                                                                                             __________
 Total Current Charges                                                                                       $ 19,405.00
                                                                                                             __________
 Total Due from Current Charges                                                                              $ 19,405.00
                                                                                                             __________
 AMOUNT DUE                                                                                                 $ 319,133.83




Atty : JAK, #264 / P1113649                               Page 7                                   Tax ID # XX-XXXXXXX
                                                                                                 Exhibit 2, page 190
   Case 2:19-bk-23085-BB            Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                     Desc
                                    Main Document   Page 191 of 377
                                        GREENBERG GLUSKER

     2049 Century Park East                                                    General billing questions: (310) 201-7577
     Suite 2600                                                                                           (310) 785-6842
     Los Angeles, CA 90067                                                                    Payments: (310) 785-6846
                                                                                                    Fax: (310) 553-7018
     Client # 76214,      Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,      Youth Policy Institute, Inc.
                                                                                               Charges through: 02/28/21
     Invoice date: 04/23/21
     Invoice # 695281

                                             Summary Of Attorney Time
                                             ______________________

             Attorney                                        Hours     Rate         Value
             C Pickrell                                       0.10   350.00       $ 35.00
             J Krieger                                        5.80   675.00    $ 3,915.00
             J Sokol                                          0.30   725.00      $ 217.50
             K Banner                                        26.50   575.00   $ 15,237.50
             Total                                           32.70            $ 19,405.00




Atty : JAK, #264 / P1113649                             Page 8                                Tax ID # XX-XXXXXXX
                                                                                            Exhibit 2, page 191
         Case 2:19-bk-23085-BB                Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                                      Desc
                                              Main Document   Page 192 of 377

                                                      GREENBERG GLUSKER
          2049 Century Park East                                                            General billing questions: (310) 201-7577
          Suite 2600                                                                                                   (310) 785-6842
          Los Angeles, CA 90067                                                                            Payments: (310) 785-6846
                                                                                                                      Fax: (310) 553-7018
                                                  Jason M. Rund, Chapter 7 Trustee

          Client # 76214                                                                                      Charges through: 02/28/21
          Invoice date: 04/23/21
          Invoice # 695281




                                                                                              Payments and
Matter                                                    Previous              Current        Retainers To        Adjustments
Number      Name                                           Balance             Charges            04/23/21         To 04/23/21         Amount Due
00002       Youth Policy Institute, Inc.              $ 299,728.83          $ 19,405.00              $ 0.00             $ 0.00        $ 319,133.83

                                                      ___________          __________          __________           __________       ___________
            Bill Total                                $ 299,728.83         $ 19,405.00              $ 0.00               $ 0.00      $ 319,133.83


                                  PLEASE ENCLOSE THIS PAGE WITH YOUR REMITTANCE


                                           Wire instructions for the GENERAL account in US Dollars:
                                         Bank Name:               First Republic Bank
                                                                  111 Pine Street
                                                                  San Francisco, CA 94111
                                         SWIFT CODE:              FRBBUS6S
                                         ABA:                     321081669
                                         Account Name:            Greenberg Glusker Fields Claman &
                                                                  Machtinger
                                         Account No.:             #997-0005-4655




  Please reflect the client name and number, and the matters being paid. Payments received will apply first to accrued interest and then to
  costs and fees.
   Atty : JAK, #264 / P1113649                                          Page 9                                       Tax ID # XX-XXXXXXX
                                                                                                                   Exhibit 2, page 192
        Case 2:19-bk-23085-BB                  Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                                      Desc
                                               Main Document   Page 193 of 377
                                                   GREENBERG GLUSKER
          2049 Century Park East                                                             General billing questions: (310) 201-7492
          Suite 2600                                                                                                    (310) 785-6842
          Los Angeles, CA 90067                                                                             Payments: (310) 785-6846
                                                                                                                       Fax: (310) 553-7018
                                                   Jason M. Rund, Chapter 7 Trustee

          Client # 76214                                                                                       Charges through: 03/31/21
          Invoice date: 04/23/21
          Invoice # 695282



                                                                                              Payments and
Matter                                                     Previous              Current       Retainers To          Adjustments
Number Name                                                 Balance             Charges           04/23/21           To 04/23/21        Amount Due
00002   Youth Policy Institute, Inc.                   $ 319,133.83           $ 5,530.00             $ 0.00               $ 0.00       $ 324,663.83

                                                       ___________          __________          __________           __________       ___________
             Bill Total                                $ 319,133.83          $ 5,530.00              $ 0.00               $ 0.00      $ 324,663.83




                                                                         Jason M. Rund, Chapter 7 Trustee
                                                                         Sheridan & Rund
                                                                         840 Apollo Street
                                                                         Suite 351
                                                                         El Segundo, CA 90402




   Please reflect the client name and number, and the matters being paid. Payments received will apply first to accrued interest and then to
   costs and fees.
    Atty : JAK, #264 / P1112113                                          Page 1                                       Tax ID # XX-XXXXXXX
                                                                                                                    Exhibit 2, page 193
   Case 2:19-bk-23085-BB              Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                              Desc
                                      Main Document   Page 194 of 377
                                          GREENBERG GLUSKER

     2049 Century Park East                                                           General billing questions: (310) 201-7492
     Suite 2600                                                                                                  (310) 785-6842
     Los Angeles, CA 90067                                                                           Payments: (310) 785-6846
                                                                                                               Fax: (310) 553-7018
     Client # 76214,     Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,     Youth Policy Institute, Inc.

     Invoice date: 04/23/21                                                                             Charges through: 03/31/21
     Invoice # 695282



                                                              FEES
 Date       Timekeeper                                Description of Services                          Hours         Amount

 B100 – Administration
    B110 – Case Administration
 03/18/21 JA Krieger           Review email from D. Devine regarding Ultimate Software                  0.10         $ 67.50
                               response to doj subpoena
 03/18/21 K Banner             Review case docket for recent developments.                              0.10         $ 57.50
           Total B110 – Case Administration                                                             0.20        $ 125.00


    B190 – Other Contested Matters (excluding assumption/rejection motions)
 03/18/21 K Banner             Email exchange with D. Devine and Trustee regarding                      0.20        $ 115.00
                               documents to be produced to the DOJ.
           Total B190 – Other Contested Matters (excluding assumption/rejection motions)                0.20        $ 115.00


            Total B100 – Administration                                                                 0.40        $ 240.00


 B400 – Carve-Out Matters
    B410 – Grant Receivables
 03/18/21 K Banner              Email exchange with T. Stanton regarding Camino Nuevo                   0.10         $ 57.50
                                receivable.
            Total B410 – Grant Receivables                                                              0.10         $ 57.50


    B420 – Commercial Tort Claims
 03/02/21 JA Krieger           Telephone conference(s) with K. Banner regarding insurance               0.20        $ 135.00
                               counsel's response (.1); preparation of email to J. Rund
                               regarding litigation counsel (.1)
 03/02/21 K Banner             Confer with J. Krieger regarding strategy for crime insurance            0.20        $ 115.00
                               claim.
 03/03/21 JA Krieger           Telephone conference(s) with K. Banner regarding insurance               0.50        $ 337.50
                               litigation claim (.1); conference call with J. Rund and K.
                               Banner regarding same (.4)
 03/03/21 K Banner             Conference with J. Krieger and (portion of) J. Rund regarding            0.50        $ 287.50
                               strategy for crime insurance claim.
 03/10/21 JA Krieger           Telephone conference(s) with prospective law firm regarding              0.60        $ 405.00
                               representation in insurance case (.5); preparation of follow up
                               email (.1)
 03/11/21 JA Krieger           Review vmail from Bidart's office regarding insurance                    0.30        $ 202.50
                               litigation (.1); preparation of emails to K. Banner (.1); t/call(s)
                               to J. Sokol regarding strategy (.1)
 03/11/21 K Banner             Confer with J. Krieger regarding latest developments relating to         0.20        $ 115.00
                               retention of insurance attorney and review preliminary
Atty : JAK, #264 / P1112113                                  Page 2                                    Tax ID # XX-XXXXXXX
                                                                                                     Exhibit 2, page 194
   Case 2:19-bk-23085-BB             Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                      Desc
                                     Main Document   Page 195 of 377
                                         GREENBERG GLUSKER

     2049 Century Park East                                                   General billing questions: (310) 201-7492
     Suite 2600                                                                                          (310) 785-6842
     Los Angeles, CA 90067                                                                   Payments: (310) 785-6846
                                                                                                      Fax: (310) 553-7018
     Client # 76214,       Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,       Youth Policy Institute, Inc.

     Invoice date: 04/23/21                                                                    Charges through: 03/31/21
     Invoice # 695282

                                                         FEES
 Date        Timekeeper                          Description of Services                      Hours         Amount
                            assessment of counsel regarding the same.
 03/12/21 JA Krieger        Emails with J. Sokol regarding insurance call                      0.10         $ 67.50
 03/15/21 JA Krieger        Telephone conference(s) with J. Sokol and K. Banner regarding      1.20        $ 810.00
                            response to insurance counsel and litigation strategy (1.1);
                            telephone conference(s) with K. Banner regarding follow up
                            (.1)
 03/15/21 JB Sokol          Conference with Jeff Krieger and Keith Banner re insurance         1.10        $ 797.50
                            claims.
 03/15/21 K Banner          Zoom conference with J. Sokol and J. Krieger regarding next        1.00        $ 575.00
                            steps in crime policy coverage.
 03/16/21 JA Krieger        Telephone conference(s) with J. Rund and K. Banner regarding       0.80        $ 540.00
                            response to insurance company and overall litigation strategy
                            regarding officers
 03/16/21 K Banner          Telephone conference with Trustee and J. Krieger regarding         0.80        $ 460.00
                            strategy re crime policy.
 03/17/21 JA Krieger        Preparation of email to D. Brown requesting call on insurance      0.10         $ 67.50
                            coverage
 03/26/21 JA Krieger        Telephone conference(s) with K. Banner regarding insurance         0.30        $ 202.50
                            non-response (.1); preparation of follow email to insurance
                            counsel (.1); review response and arrange call (.1)
 03/26/21 K Banner          Confer with J. Kreiger regarding conference with insurance         0.20        $ 115.00
                            counsel and review correspondence with counsel.
          Total B420 – Commercial Tort Claims                                                  8.10       $ 5,232.50


             Total B400 – Carve-Out Matters                                                    8.20       $ 5,290.00


 Total fees for this matter:                                                                              $ 5,530.00




Atty : JAK, #264 / P1112113                              Page 3                               Tax ID # XX-XXXXXXX
                                                                                            Exhibit 2, page 195
   Case 2:19-bk-23085-BB                Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                                  Desc
                                        Main Document   Page 196 of 377
                                            GREENBERG GLUSKER

     2049 Century Park East                                                                General billing questions: (310) 201-7492
     Suite 2600                                                                                                       (310) 785-6842
     Los Angeles, CA 90067                                                                                Payments: (310) 785-6846
                                                                                                                    Fax: (310) 553-7018
     Client # 76214,    Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,    Youth Policy Institute, Inc.

     Invoice date: 04/23/21                                                                                 Charges through: 03/31/21
     Invoice # 695282

                                           Summary Of Attorney Time By Task
                                              ______________________

                                                                Hours              Rate                    Value

             B110 – Case Administration
               K Banner                                           0.10           575.00                $ 57.50
               JA Krieger                                         0.10           675.00                $ 67.50

             B190 – Other Contested Matters (excluding assumption/rejection motions)
               K Banner                                           0.20            575.00              $ 115.00

             B410 – Grant Receivables
               K Banner                                           0.10           575.00                $ 57.50

             B420 – Commercial Tort Claims
               K Banner                                           2.90           575.00              $ 1,667.50
               JA Krieger                                         4.10           675.00              $ 2,767.50
               JB Sokol                                           1.10           725.00                $ 797.50

             Total                                                8.60                               $ 5,530.00




                                                   Summary By Task
                                                ______________________

                                                Task                                               Hours               Value
                                                B110 – Case Administration                          0.20            $ 125.00
                                                B190 – Other Contested Matters (excluding           0.20            $ 115.00
                                                assumption/rejection motions)
                                                B410 – Grant Receivables                            0.10              $ 57.50
                                                B420 – Commercial Tort Claims                       8.10           $ 5,232.50
   Total                                                                                            8.60           $ 5,530.00




Atty : JAK, #264 / P1112113                                   Page 4                                     Tax ID # XX-XXXXXXX
                                                                                                       Exhibit 2, page 196
   Case 2:19-bk-23085-BB            Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                         Desc
                                    Main Document   Page 197 of 377
                                        GREENBERG GLUSKER

     2049 Century Park East                                                   General billing questions: (310) 201-7492
     Suite 2600                                                                                          (310) 785-6842
     Los Angeles, CA 90067                                                                   Payments: (310) 785-6846
                                                                                                        Fax: (310) 553-7018
     Client # 76214,      Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,      Youth Policy Institute, Inc.

     Invoice date: 04/23/21                                                                     Charges through: 03/31/21
     Invoice # 695282

                                           RECAP OF AMOUNTS DUE
 Total Previous Balance                                                               $ 319,133.83
                                                                                                         __________
 Balance Forward                                                                                        $ 319,133.83
 Current Month Fees                                                                        $ 5,530.00
 Current Month Costs                                                                           $ 0.00
                                                                                                         __________
 Total Current Charges                                                                                     $ 5,530.00
                                                                                                         __________
 Total Due from Current Charges                                                                            $ 5,530.00
                                                                                                         __________
 AMOUNT DUE                                                                                             $ 324,663.83




                                             Summary Of Attorney Time
                                             ______________________

             Attorney                                        Hours     Rate        Value
             J Krieger                                        4.20   675.00   $ 2,835.00
             J Sokol                                          1.10   725.00     $ 797.50
             K Banner                                         3.30   575.00   $ 1,897.50
             Total                                            8.60            $ 5,530.00




Atty : JAK, #264 / P1112113                             Page 5                                Tax ID # XX-XXXXXXX
                                                                                            Exhibit 2, page 197
         Case 2:19-bk-23085-BB                Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                                      Desc
                                              Main Document   Page 198 of 377

                                                      GREENBERG GLUSKER
          2049 Century Park East                                                            General billing questions: (310) 201-7492
          Suite 2600                                                                                                   (310) 785-6842
          Los Angeles, CA 90067                                                                            Payments: (310) 785-6846
                                                                                                                      Fax: (310) 553-7018
                                                  Jason M. Rund, Chapter 7 Trustee

          Client # 76214                                                                                      Charges through: 03/31/21
          Invoice date: 04/23/21
          Invoice # 695282




                                                                                              Payments and
Matter                                                    Previous              Current        Retainers To        Adjustments
Number      Name                                           Balance             Charges            04/23/21         To 04/23/21         Amount Due
00002       Youth Policy Institute, Inc.              $ 319,133.83           $ 5,530.00              $ 0.00             $ 0.00        $ 324,663.83

                                                      ___________          __________          __________           __________       ___________
            Bill Total                                $ 319,133.83          $ 5,530.00              $ 0.00               $ 0.00      $ 324,663.83


                                  PLEASE ENCLOSE THIS PAGE WITH YOUR REMITTANCE


                                           Wire instructions for the GENERAL account in US Dollars:
                                         Bank Name:               First Republic Bank
                                                                  111 Pine Street
                                                                  San Francisco, CA 94111
                                         SWIFT CODE:              FRBBUS6S
                                         ABA:                     321081669
                                         Account Name:            Greenberg Glusker Fields Claman &
                                                                  Machtinger
                                         Account No.:             #997-0005-4655




  Please reflect the client name and number, and the matters being paid. Payments received will apply first to accrued interest and then to
  costs and fees.
   Atty : JAK, #264 / P1112113                                          Page 6                                       Tax ID # XX-XXXXXXX
                                                                                                                   Exhibit 2, page 198
        Case 2:19-bk-23085-BB                  Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                                      Desc
                                               Main Document   Page 199 of 377
                                                   GREENBERG GLUSKER
          2049 Century Park East                                                             General billing questions: (310) 201-7492
          Suite 2600                                                                                                    (310) 785-6842
          Los Angeles, CA 90067                                                                             Payments: (310) 785-6846
                                                                                                                       Fax: (310) 553-7018
                                                   Jason M. Rund, Chapter 7 Trustee

          Client # 76214                                                                                       Charges through: 04/30/21
          Invoice date: 05/26/21
          Invoice # 696350



                                                                                              Payments and
Matter                                                     Previous              Current       Retainers To          Adjustments
Number Name                                                 Balance             Charges           05/26/21           To 05/26/21        Amount Due
00002   Youth Policy Institute, Inc.                   $ 324,663.83          $ 21,810.00             $ 0.00               $ 0.00       $ 346,473.83

                                                       ___________          __________          __________           __________       ___________
             Bill Total                                $ 324,663.83         $ 21,810.00              $ 0.00               $ 0.00      $ 346,473.83




                                                                         Jason M. Rund, Chapter 7 Trustee
                                                                         Sheridan & Rund
                                                                         840 Apollo Street
                                                                         Suite 351
                                                                         El Segundo, CA 90402




   Please reflect the client name and number, and the matters being paid. Payments received will apply first to accrued interest and then to
   costs and fees.
    Atty : JAK, #264 / P1116071                                          Page 1                                       Tax ID # XX-XXXXXXX
                                                                                                                    Exhibit 2, page 199
   Case 2:19-bk-23085-BB             Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                           Desc
                                     Main Document   Page 200 of 377
                                         GREENBERG GLUSKER

     2049 Century Park East                                                        General billing questions: (310) 201-7492
     Suite 2600                                                                                               (310) 785-6842
     Los Angeles, CA 90067                                                                        Payments: (310) 785-6846
                                                                                                           Fax: (310) 553-7018
     Client # 76214,    Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,    Youth Policy Institute, Inc.

     Invoice date: 05/26/21                                                                         Charges through: 04/30/21
     Invoice # 696350



                                                            FEES
 Date      Timekeeper                               Description of Services                        Hours         Amount

 B100 – Administration
    B150 – Meetings of and Communications with Creditors
 04/16/21 K Banner            Review demand re E. Morales wage claim and draft                      0.60        $ 345.00
                              correspondence to counsel regarding bankruptcy, automatic
                              stay, etc.
 04/21/21 K Banner            Review claims register and claim filed by Cal. Labor                  0.30        $ 172.50
                              Commission and email exchange with A. Macaraeg regarding
                              E. Morales wages claim.
           Total B150 – Meetings of and Communications with Creditors                               0.90        $ 517.50


    B180 – Avoidance Action Analysis
 04/08/21 JA Krieger          Telephone conference(s) with K. Banner regarding preference           0.80        $ 540.00
                              claim on insurance payments (.1); review complaints in Verity
                              regarding same (.2); t/call(s) to other counsel regarding
                              preference theory (.1); review and revise demand letter to IRS
                              (.2); preparation of emails to K. Banner regarding same (.2)
 04/08/21 K Banner            Draft memorandum regarding potential avoidance of                     1.80       $ 1,035.00
                              withholding taxes (.6); research regarding potential recovery of
                              insurance premium payments as avoidable transfers (1.2).
 04/09/21 JA Krieger          Review and respond to email from other counsel regarding              0.40        $ 270.00
                              possible preference (.1); review K. Banner email to client
                              regarding tax penalty preference (.1); review Schwartz 9th
                              Circuit case regarding interplay of 362 and 549 (.2)
 04/09/21 JA Krieger          Telephone conference(s) with other counsel regarding possible         0.50        $ 337.50
                              preference and defenses of insurance company (.2); preparation
                              of email to K. Banner regarding same (.2); review response (.1)
 04/09/21 K Banner            Research regarding potential avoidance of insurance premiums.         2.00       $ 1,150.00
 04/12/21 K Banner            Further research regarding potential avoidance of pre-petition        1.60         $ 920.00
                              insurance premiums.
 04/14/21 K Banner            Review research regarding potential preference recovery of            1.60        $ 920.00
                              insurance premiums and draft memorandum for Trustee.
 04/15/21 JA Krieger          Analyze K. Banner preference analysis (.3); telephone                 1.50       $ 1,012.50
                              conference(s) with K. Banner (.1); conference call with K.
                              Banner and J. Rund (1.1) regarding preference analysis and
                              decisions
 04/15/21 K Banner            Review non-tax avoidance action analysis in advance of call           1.30        $ 747.50
                              with Trustee (.2); telephone conference with Trustee and J.
                              Krieger regarding potential preference actions (1.1).
 04/22/21 K Banner            Draft and revise form demand letter.                                  0.60        $ 345.00
 04/23/21 K Banner            Review and revise form demand payment and confer with J.              0.40        $ 230.00
                              Krieger regarding the same.
 04/27/21 JA Krieger          Review and revise preference demand                                   0.20        $ 135.00
Atty : JAK, #264 / P1116071                                Page 2                                  Tax ID # XX-XXXXXXX
                                                                                                 Exhibit 2, page 200
   Case 2:19-bk-23085-BB              Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                          Desc
                                      Main Document   Page 201 of 377
                                          GREENBERG GLUSKER

     2049 Century Park East                                                        General billing questions: (310) 201-7492
     Suite 2600                                                                                               (310) 785-6842
     Los Angeles, CA 90067                                                                        Payments: (310) 785-6846
                                                                                                           Fax: (310) 553-7018
     Client # 76214,    Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,    Youth Policy Institute, Inc.

     Invoice date: 05/26/21                                                                         Charges through: 04/30/21
     Invoice # 696350

                                                            FEES
 Date     Timekeeper                               Description of Services                         Hours         Amount
 04/27/21 K Banner             Review and revise draft form demand letter and confer with J.        1.10        $ 632.50
                               Krieger regarding the same (.4); email exchange with Trustee
                               regarding the same (.1); research regarding proper agents for
                               certain avoidance claims and review and revise preference
                               analysis (.6).
 04/28/21   JA Krieger         Telephone conference(s) with K. Banner regarding preference          0.60        $ 405.00
                               demand letters
            Total B180 – Avoidance Action Analysis                                                 14.40       $ 8,680.00


    B190 – Other Contested Matters (excluding assumption/rejection motions)
 04/06/21 K Banner             Email exchange with D. Devine regarding DOL production of            0.10         $ 57.50
                               documents.
           Total B190 – Other Contested Matters (excluding assumption/rejection motions)            0.10         $ 57.50


            Total B100 – Administration                                                            15.40       $ 9,255.00


 B200 – Operations
    B240 – Tax Issues
 04/23/21 K Banner              Review latest correspondence from D. Fife to IRS itemizing          0.80        $ 460.00
                                amounts due and review and analyze related tax transcripts and
                                tax transcripts relating to employment tax filings.
            Total B240 – Tax Issues                                                                 0.80        $ 460.00


            Total B200 – Operations                                                                 0.80        $ 460.00


 B400 – Carve-Out Matters
    B410 – Grant Receivables
 04/08/21 K Banner              Review and analyze information from Mayor's office and              1.10        $ 632.50
                                compare against Debtor's records regarding receivable (.6);
                                email exchange with Mayor's office and trustee regarding the
                                same (.2); review information regarding Gear Up receivable
                                and email exchange with D. Oshiro (.3).
 04/09/21   K Banner            Review signed affidavit regarding Mayor's office receivable         0.20        $ 115.00
                                and email exchange with Trustee and Mayor's office regarding
                                the same.
 04/12/21   K Banner            Email exchange with Trustee and D. Oshiro regarding potential       0.20        $ 115.00
                                Gear Up receivable.
 04/13/21   K Banner            Review file regarding status of various grant receivables and       0.80        $ 460.00
                                email exchange with Trustee (.6); email to E. Nash regarding
                                status of promise neighborhood grant (.1); email to S. Ruiz-
                                Perez regarding Champions for Change grant (.1).
Atty : JAK, #264 / P1116071                                Page 3                                  Tax ID # XX-XXXXXXX
                                                                                                 Exhibit 2, page 201
   Case 2:19-bk-23085-BB             Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                             Desc
                                     Main Document   Page 202 of 377
                                         GREENBERG GLUSKER

     2049 Century Park East                                                         General billing questions: (310) 201-7492
     Suite 2600                                                                                                (310) 785-6842
     Los Angeles, CA 90067                                                                         Payments: (310) 785-6846
                                                                                                             Fax: (310) 553-7018
     Client # 76214,     Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,     Youth Policy Institute, Inc.

     Invoice date: 05/26/21                                                                           Charges through: 04/30/21
     Invoice # 696350

                                                             FEES
 Date     Timekeeper                                 Description of Services                         Hours         Amount
 04/14/21 K Banner              Email exchange with J. Garcia regarding Chapions for Change           0.10         $ 57.50
                                outstanding grant receivable.
 04/15/21   K Banner            Review OneDrive files and other files of YPI for information          1.30        $ 747.50
                                regarding Promise Neighborhoods grant receivable.
 04/16/21   K Banner            Conference with D. Neesen and email to N. Pham regarding              0.70        $ 402.50
                                accessing potential grant receivable information on Microsoft
                                365 server and further review of Microsoft 365 admin. portal.
            Total B410 – Grant Receivables                                                            4.40       $ 2,530.00


    B420 – Commercial Tort Claims
 04/05/21 JA Krieger           Review correspondence with Hanover in preparation for call             1.10        $ 742.50
                               with Hanover (.5); preparation of email to K. Banner regarding
                               topics and strategy regarding call (.4); review K. Banner update
                               (.1); preparation of email to J. Sokol regarding insurance call
                               (.1)
 04/05/21 JB Sokol             Prepare for call with coverage counsel for Hanover.                    0.20        $ 145.00
 04/05/21 K Banner             Confer with J. Krieger regarding strategy for call with Hanover        0.50        $ 287.50
                               counsel (.2); review past correspondence with counsel
                               regarding crime policy claim (.3).
 04/06/21 JA Krieger           Preparation for call with insurer                                      0.30        $ 202.50
 04/06/21 JA Krieger           Conference call with counsel for Hanover (.6); follow ups with         1.20        $ 810.00
                               J. Sokol and K. Banner (.3); review message from K. Banner
                               (.1); confirm B. Howard availability (.1); review email to
                               counsel for insurance company (.1);
 04/06/21 JB Sokol             Call with coverage counsel for Hanover.                                0.60        $ 435.00
 04/06/21 K Banner             Telephone conference with D. Brown, J. Krieger and J. Sokol            1.70        $ 977.50
                               regarding crime insurance claim (.6); confer with J. Krieger and
                               J. Sokol thereafter regarding strategy; telephone call with
                               Trustee regarding the same; telephone call with B. Howard
                               regarding the same (.3); email exchange with D. Brown
                               regarding scheduling of interview with B. Howard and confer
                               with J. Krieger regarding the same.
 04/08/21 K Banner             Review information from IRS regarding potential avoidable              2.00       $ 1,150.00
                               penalty (.4); draft and revise demand letter to IRS regarding the
                               same (.8); conference with J. Krieger regarding demand letter
                               and legal issues identified (.3); supplemental research on
                               section 549 avoidance and violations of the automatic stay (.5).
 04/09/21 K Banner             Review and revise draft demand letter to IRS and review and            0.50        $ 287.50
                               revise memo to trustee regarding the same.
 04/16/21 K Banner             Conference with J. Krieger regarding strategy for crime policy         0.20        $ 115.00
                               claim.
 04/19/21 K Banner             Review detailed correspondence with Hanover and email                  0.40        $ 230.00
                               exchange with B. Howard regarding prep for meeting with
                               Hanover's counsel.
 04/21/21 JA Krieger           Telephone conference(s) with K. Banner and B. Howard                   1.00        $ 675.00
Atty : JAK, #264 / P1116071                                 Page 4                                   Tax ID # XX-XXXXXXX
                                                                                                   Exhibit 2, page 202
   Case 2:19-bk-23085-BB              Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                            Desc
                                      Main Document   Page 203 of 377
                                          GREENBERG GLUSKER

     2049 Century Park East                                                         General billing questions: (310) 201-7492
     Suite 2600                                                                                                (310) 785-6842
     Los Angeles, CA 90067                                                                         Payments: (310) 785-6846
                                                                                                             Fax: (310) 553-7018
     Client # 76214,       Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,       Youth Policy Institute, Inc.

     Invoice date: 05/26/21                                                                           Charges through: 04/30/21
     Invoice # 696350

                                                             FEES
 Date        Timekeeper                             Description of Services                          Hours         Amount
                               regarding preparation for call with insurance company
 04/21/21    K Banner          Review documents and correspondence relating to crime policy           1.50        $ 862.50
                               claim in preparation for call with B. Howard (.3); telephone
                               conference with B. Howard and J. Krieger regarding prep for
                               call with Hanover (1.0); email exchange with B. Howard
                               regarding various items for Hanover call (.2).
 04/23/21    K Banner          Review documents previously produced to Hanover,                       1.20        $ 690.00
                               correspondence, and other materials in preparation for Hanover
                               meeting with B. Howard (.5); telephone conference with D.
                               Brown and B. Howard regarding Hanover's initial questions for
                               B. Howard (.5); conference with J. Krieger thereafter (.2).
 04/23/21    K Banner          Email exchange with D. Oshiro regarding contact information            0.20        $ 115.00
                               for N. Pham for investigations (.1); follow up email to N. Pham
                               regarding the same (.1).
 04/29/21    K Banner          Draft and revise demand letter to Principal's exchange (.6);           3.20       $ 1,840.00
                               draft and revise demand letter to Princeton Review (.4); draft
                               and revise demand letter to Maximus Security (.4); draft and
                               revise demand letter to C3 business solutions (.4); draft and
                               revise demand letter to AFLAC (.4); draft and revise demand
                               letter to Benuck & Rainey (.3); draft and revise demand letter to
                               Cal. Dental Network (.3); draft and revise demand letter to
                               PLIC (.4).
             Total B420 – Commercial Tort Claims                                                     15.80       $ 9,565.00


             Total B400 – Carve-Out Matters                                                          20.20     $ 12,095.00


 Total fees for this matter:                                                                                    $ 21,810.00




Atty : JAK, #264 / P1116071                                 Page 5                                   Tax ID # XX-XXXXXXX
                                                                                                   Exhibit 2, page 203
   Case 2:19-bk-23085-BB                Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                                  Desc
                                        Main Document   Page 204 of 377
                                            GREENBERG GLUSKER

     2049 Century Park East                                                                General billing questions: (310) 201-7492
     Suite 2600                                                                                                       (310) 785-6842
     Los Angeles, CA 90067                                                                                Payments: (310) 785-6846
                                                                                                                    Fax: (310) 553-7018
     Client # 76214,    Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,    Youth Policy Institute, Inc.

     Invoice date: 05/26/21                                                                                 Charges through: 04/30/21
     Invoice # 696350

                                           Summary Of Attorney Time By Task
                                              ______________________

                                                                Hours              Rate                    Value

             B150 – Meetings of and Communications with Creditors
               K Banner                                          0.90            575.00               $ 517.50

             B180 – Avoidance Action Analysis
               K Banner                                          10.40           575.00              $ 5,980.00
               JA Krieger                                         4.00           675.00              $ 2,700.00

             B190 – Other Contested Matters (excluding assumption/rejection motions)
               K Banner                                           0.10            575.00                $ 57.50

             B240 – Tax Issues
               K Banner                                           0.80           575.00               $ 460.00

             B410 – Grant Receivables
               K Banner                                           4.40           575.00              $ 2,530.00

             B420 – Commercial Tort Claims
               K Banner                                          11.40           575.00              $ 6,555.00
               JA Krieger                                         3.60           675.00              $ 2,430.00
               JB Sokol                                           0.80           725.00                $ 580.00

             Total                                               36.40                              $ 21,810.00




                                                   Summary By Task
                                                ______________________

                                                Task                                               Hours               Value
                                                B150 – Meetings of and Communications               0.90            $ 517.50
                                                with Creditors
                                                B180 – Avoidance Action Analysis                   14.40           $ 8,680.00
                                                B190 – Other Contested Matters (excluding           0.10              $ 57.50
                                                assumption/rejection motions)
                                                B240 – Tax Issues                                   0.80          $ 460.00
                                                B410 – Grant Receivables                            4.40        $ 2,530.00
                                                B420 – Commercial Tort Claims                      15.80        $ 9,565.00
   Total                                                                                           36.40       $ 21,810.00




Atty : JAK, #264 / P1116071                                   Page 6                                     Tax ID # XX-XXXXXXX
                                                                                                       Exhibit 2, page 204
   Case 2:19-bk-23085-BB            Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                       Desc
                                    Main Document   Page 205 of 377
                                        GREENBERG GLUSKER

     2049 Century Park East                                                    General billing questions: (310) 201-7492
     Suite 2600                                                                                           (310) 785-6842
     Los Angeles, CA 90067                                                                    Payments: (310) 785-6846
                                                                                                      Fax: (310) 553-7018
     Client # 76214,      Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,      Youth Policy Institute, Inc.

     Invoice date: 05/26/21                                                                    Charges through: 04/30/21
     Invoice # 696350


                                           RECAP OF AMOUNTS DUE
 Total Previous Balance                                                                $ 324,663.83
                                                                                                       __________
 Balance Forward                                                                                      $ 324,663.83
 Current Month Fees                                                                     $ 21,810.00
 Current Month Costs                                                                         $ 0.00
                                                                                                       __________
 Total Current Charges                                                                                 $ 21,810.00
                                                                                                       __________
 Total Due from Current Charges                                                                        $ 21,810.00
                                                                                                       __________
 AMOUNT DUE                                                                                           $ 346,473.83




                                             Summary Of Attorney Time
                                             ______________________

             Attorney                                        Hours     Rate         Value
             J Krieger                                        7.60   675.00    $ 5,130.00
             J Sokol                                          0.80   725.00      $ 580.00
             K Banner                                        28.00   575.00   $ 16,100.00
             Total                                           36.40            $ 21,810.00




Atty : JAK, #264 / P1116071                             Page 7                                Tax ID # XX-XXXXXXX
                                                                                            Exhibit 2, page 205
         Case 2:19-bk-23085-BB                Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                                      Desc
                                              Main Document   Page 206 of 377

                                                      GREENBERG GLUSKER
          2049 Century Park East                                                            General billing questions: (310) 201-7492
          Suite 2600                                                                                                   (310) 785-6842
          Los Angeles, CA 90067                                                                            Payments: (310) 785-6846
                                                                                                                      Fax: (310) 553-7018
                                                  Jason M. Rund, Chapter 7 Trustee

          Client # 76214                                                                                      Charges through: 04/30/21
          Invoice date: 05/26/21
          Invoice # 696350




                                                                                              Payments and
Matter                                                    Previous              Current        Retainers To        Adjustments
Number      Name                                           Balance             Charges            05/26/21         To 05/26/21         Amount Due
00002       Youth Policy Institute, Inc.              $ 324,663.83          $ 21,810.00              $ 0.00             $ 0.00        $ 346,473.83

                                                      ___________          __________          __________           __________       ___________
            Bill Total                                $ 324,663.83         $ 21,810.00              $ 0.00               $ 0.00      $ 346,473.83


                                  PLEASE ENCLOSE THIS PAGE WITH YOUR REMITTANCE


                                           Wire instructions for the GENERAL account in US Dollars:
                                         Bank Name:               First Republic Bank
                                                                  111 Pine Street
                                                                  San Francisco, CA 94111
                                         SWIFT CODE:              FRBBUS6S
                                         ABA:                     321081669
                                         Account Name:            Greenberg Glusker Fields Claman &
                                                                  Machtinger
                                         Account No.:             #997-0005-4655




  Please reflect the client name and number, and the matters being paid. Payments received will apply first to accrued interest and then to
  costs and fees.
   Atty : JAK, #264 / P1116071                                          Page 8                                       Tax ID # XX-XXXXXXX
                                                                                                                   Exhibit 2, page 206
        Case 2:19-bk-23085-BB                  Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                                      Desc
                                               Main Document   Page 207 of 377
                                                   GREENBERG GLUSKER
          2049 Century Park East                                                             General billing questions: (310) 201-7492
          Suite 2600                                                                                                    (310) 785-6842
          Los Angeles, CA 90067                                                                             Payments: (310) 785-6846
                                                                                                                       Fax: (310) 553-7018
                                                   Jason M. Rund, Chapter 7 Trustee

          Client # 76214                                                                                       Charges through: 05/31/21
          Invoice date: 06/28/21
          Invoice # 698611



                                                                                              Payments and
Matter                                                     Previous              Current       Retainers To          Adjustments
Number Name                                                 Balance             Charges           06/28/21           To 06/28/21        Amount Due
00002   Youth Policy Institute, Inc.                   $ 346,473.83           $ 6,107.10             $ 0.00               $ 0.00       $ 352,580.93

                                                       ___________          __________          __________           __________       ___________
             Bill Total                                $ 346,473.83          $ 6,107.10              $ 0.00               $ 0.00      $ 352,580.93




                                                                         Jason M. Rund, Chapter 7 Trustee
                                                                         Sheridan & Rund
                                                                         840 Apollo Street
                                                                         Suite 351
                                                                         El Segundo, CA 90402




   Please reflect the client name and number, and the matters being paid. Payments received will apply first to accrued interest and then to
   costs and fees.
    Atty : JAK, #264 / P1119947                                          Page 1                                       Tax ID # XX-XXXXXXX
                                                                                                                    Exhibit 2, page 207
   Case 2:19-bk-23085-BB             Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                           Desc
                                     Main Document   Page 208 of 377
                                         GREENBERG GLUSKER

     2049 Century Park East                                                       General billing questions: (310) 201-7492
     Suite 2600                                                                                              (310) 785-6842
     Los Angeles, CA 90067                                                                       Payments: (310) 785-6846
                                                                                                           Fax: (310) 553-7018
     Client # 76214,    Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,    Youth Policy Institute, Inc.

     Invoice date: 06/28/21                                                                         Charges through: 05/31/21
     Invoice # 698611



                                                            FEES
 Date      Timekeeper                               Description of Services                        Hours         Amount

 B100 – Administration
    B120 – Asset Analysis and Recovery
 05/04/21 K Banner             Review and revise various demand letters (.5); confer with J.        0.60        $ 345.00
                               Krieger regarding the same (.1).
 05/05/21 JA Krieger           Telephone conference(s) with K. Banner regarding demand to           0.40        $ 270.00
                               Kaiser and structure of complaint and motion against IRS
 05/05/21 K Banner             Final review and revision of 8 demand letter packages to             2.30       $ 1,322.50
                               various preference recipients (1.0); draft and revise demand
                               letter to Kaiser (.5); telephone conference with J. Krieger
                               regarding various demands and strategy for IRS demand (.5);
                               email exchange with Trustee regarding Kaiser demand (.3).
 05/06/21 K Banner             Review and revise Kaiser demand letter.                              0.30        $ 172.50
 05/07/21 K Banner             Telephone call with M. Ebersole regarding Kaiser demand and          0.50        $ 287.50
                               review debtor records and update Kaiser spreadsheet with
                               payment details (.4); confer with J. Krieger regarding the same
                               (.1).
 05/08/21 K Banner             Email exchange with M. Matthews regarding C3 preference              0.20        $ 115.00
                               demand.
 05/13/21 K Banner             Extended email exchange with N. Shariff and Trustee regarding        0.20        $ 115.00
                               IRS avoidance demand letter.
 05/24/21 K Banner             Review response to preference demand from AFLAC and                  0.80        $ 460.00
                               contract attached thereto (.2); email exchange with M. George
                               regarding the same (.1); review documents relating to Maximus
                               preference demand and telephone call with J. Lopez regarding
                               the same (.4); email to Trustee regarding the same (.1).
 05/27/21 K Banner             Email exchange with M. Matthews regarding C3 preference              0.60        $ 345.00
                               demand (.1); review prior demand to the Princeton Review and
                               telephone calls with G. Langon regarding the same (.4); email
                               to trustee regarding counteroffer from Princeton Review (.1).
 05/28/21 K Banner             Telephone call with G. Langon regarding Princeton review             0.50        $ 287.50
                               avoidance claim and draft correspondence regarding resolution
                               of the same (.4); telephone call to J. Lopez regarding Maxim
                               preference claim (.1).
           Total B120 – Asset Analysis and Recovery                                                 6.40       $ 3,720.00


    B150 – Meetings of and Communications with Creditors
 05/03/21 K Banner            Email exchange with M. Guzman regarding status of                     0.10         $ 57.50
                              bankruptcy case.
           Total B150 – Meetings of and Communications with Creditors                               0.10         $ 57.50


    B190 – Other Contested Matters (excluding assumption/rejection motions)
Atty : JAK, #264 / P1119947                                Page 2                                  Tax ID # XX-XXXXXXX
                                                                                                 Exhibit 2, page 208
   Case 2:19-bk-23085-BB             Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                            Desc
                                     Main Document   Page 209 of 377
                                         GREENBERG GLUSKER

     2049 Century Park East                                                          General billing questions: (310) 201-7492
     Suite 2600                                                                                                 (310) 785-6842
     Los Angeles, CA 90067                                                                          Payments: (310) 785-6846
                                                                                                            Fax: (310) 553-7018
     Client # 76214,     Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,     Youth Policy Institute, Inc.

     Invoice date: 06/28/21                                                                          Charges through: 05/31/21
     Invoice # 698611

                                                             FEES
 Date     Timekeeper                                Description of Services                         Hours         Amount
 05/11/21 K Banner              Review prior pleadings relating to relief from stay to pursue        0.40        $ 230.00
                                molestation claims and extended email exchange with B.
                                Caudill regarding the same.
            Total B190 – Other Contested Matters (excluding assumption/rejection motions)            0.40        $ 230.00


            Total B100 – Administration                                                              6.90       $ 4,007.50


 B400 – Carve-Out Matters
    B410 – Grant Receivables
 05/10/21 K Banner              Review information from Mayor's office regarding receivable          0.30        $ 172.50
                                and email exchange with G. Jasso.
 05/11/21   K Banner            Email exchange with Trustee regarding Mayor's office                 0.10         $ 57.50
                                payments.
 05/13/21   K Banner            Review invoices and other information on Champions for               0.50        $ 287.50
                                change receivable in advance of call with counsel (.3);
                                telephone call and email exchange with counsel regarding the
                                same (.2).
 05/17/21   K Banner            Review and analyze debtor's records regarding Champions for          0.90        $ 517.50
                                Change grant receivable in advance of call with LA County
                                (.5); telephone conference with W. Bernie and D. Shaw
                                regarding the same (.3); email to Trustee regarding status of
                                grant receivable (.1).
 05/21/21   K Banner            Email exchange with G. Jasso and the Trustee regarding               0.20        $ 115.00
                                Mayor's office grant receivable.
            Total B410 – Grant Receivables                                                           2.00       $ 1,150.00


    B420 – Commercial Tort Claims
 05/13/21 JA Krieger           Telephone conference(s) with K. Banner regarding follow up            0.20        $ 135.00
                               with D. Brown (.1); review Email to Brown
 05/13/21 K Banner             Email exchange with D. Brown regarding Hanover claim (.2);            0.50        $ 287.50
                               research district court records and other public records for any
                               developments regarding action against D. Slingerland and email
                               to C. Penilla regarding the same (.3).
 05/24/21 JA Krieger           Review email from D. Brown regarding response on insurance            0.20        $ 135.00
                               claim
 05/24/21 K Banner             Email exchange with D. Brown regarding status of crime policy         0.20        $ 115.00
                               negotiations.
 05/27/21 K Banner             Confer with J. Krieger regarding strategy for crime policy            0.20        $ 115.00
                               claim.
           Total B420 – Commercial Tort Claims                                                       1.30        $ 787.50


            Total B400 – Carve-Out Matters                                                           3.30       $ 1,937.50
Atty : JAK, #264 / P1119947                                 Page 3                                  Tax ID # XX-XXXXXXX
                                                                                                  Exhibit 2, page 209
   Case 2:19-bk-23085-BB                  Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                                   Desc
                                          Main Document   Page 210 of 377
                                              GREENBERG GLUSKER

     2049 Century Park East                                                                   General billing questions: (310) 201-7492
     Suite 2600                                                                                                          (310) 785-6842
     Los Angeles, CA 90067                                                                                   Payments: (310) 785-6846
                                                                                                                       Fax: (310) 553-7018
     Client # 76214,       Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,       Youth Policy Institute, Inc.

     Invoice date: 06/28/21                                                                                    Charges through: 05/31/21
     Invoice # 698611

                                                                  FEES
 Date        Timekeeper                                   Description of Services                             Hours            Amount


 Total fees for this matter:                                                                                                $ 5,945.00


                                             Summary Of Attorney Time By Task
                                                ______________________

                                                                    Hours              Rate                   Value

               B120 – Asset Analysis and Recovery
                 K Banner                                            6.00           575.00              $ 3,450.00
                 JA Krieger                                          0.40           675.00                $ 270.00

               B150 – Meetings of and Communications with Creditors
                 K Banner                                          0.10             575.00                $ 57.50

               B190 – Other Contested Matters (excluding assumption/rejection motions)
                 K Banner                                           0.40            575.00               $ 230.00

               B410 – Grant Receivables
                 K Banner                                            2.00           575.00              $ 1,150.00

               B420 – Commercial Tort Claims
                 K Banner                                            0.90           575.00               $ 517.50
                 JA Krieger                                          0.40           675.00               $ 270.00

               Total                                                10.20                               $ 5,945.00




                                                       Summary By Task
                                                    ______________________

                                                    Task                                              Hours                Value
                                                    B120 – Asset Analysis and Recovery                 6.40           $ 3,720.00
                                                    B150 – Meetings of and Communications              0.10              $ 57.50
                                                    with Creditors
                                                    B190 – Other Contested Matters (excluding          0.40            $ 230.00
                                                    assumption/rejection motions)
                                                    B410 – Grant Receivables                           2.00           $ 1,150.00
                                                    B420 – Commercial Tort Claims                      1.30             $ 787.50
   Total                                                                                              10.20           $ 5,945.00




Atty : JAK, #264 / P1119947                                      Page 4                                     Tax ID # XX-XXXXXXX
                                                                                                          Exhibit 2, page 210
   Case 2:19-bk-23085-BB                 Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                          Desc
                                         Main Document   Page 211 of 377
                                             GREENBERG GLUSKER

     2049 Century Park East                                                         General billing questions: (310) 201-7492
     Suite 2600                                                                                                (310) 785-6842
     Los Angeles, CA 90067                                                                         Payments: (310) 785-6846
                                                                                                              Fax: (310) 553-7018
     Client # 76214,      Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,      Youth Policy Institute, Inc.

     Invoice date: 06/28/21                                                                           Charges through: 05/31/21
     Invoice # 698611


                                                              COSTS
                   Date               Description                                                   Amount
           through 05/31/21           Postage                                                      $ 162.10

                       Total costs for this matter:                                                $ 162.10


                                               Summary Of Costs by Expenses Code
                                                  ______________________

                              Expense                                                Value
                              E108 – Postage                                       $162.10

                              Total                                                $ 162.10




                                                 RECAP OF AMOUNTS DUE
 Total Previous Balance                                                                       $ 346,473.83
                                                                                                               __________
 Balance Forward                                                                                              $ 346,473.83
 Current Month Fees                                                                              $ 5,945.00
 Current Month Costs                                                                               $ 162.10
                                                                                                               __________
 Total Current Charges                                                                                           $ 6,107.10
                                                                                                               __________
 Total Due from Current Charges                                                                                  $ 6,107.10
                                                                                                               __________
 AMOUNT DUE                                                                                                   $ 352,580.93




                                                    Summary Of Attorney Time
                                                    ______________________

             Attorney                                           Hours     Rate           Value
             J Krieger                                           0.80   675.00        $ 540.00
             K Banner                                            9.40   575.00      $ 5,405.00
             Total                                              10.20               $ 5,945.00




Atty : JAK, #264 / P1119947                                    Page 5                               Tax ID # XX-XXXXXXX
                                                                                                  Exhibit 2, page 211
         Case 2:19-bk-23085-BB                Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                                      Desc
                                              Main Document   Page 212 of 377

                                                      GREENBERG GLUSKER
          2049 Century Park East                                                            General billing questions: (310) 201-7492
          Suite 2600                                                                                                   (310) 785-6842
          Los Angeles, CA 90067                                                                            Payments: (310) 785-6846
                                                                                                                      Fax: (310) 553-7018
                                                  Jason M. Rund, Chapter 7 Trustee

          Client # 76214                                                                                      Charges through: 05/31/21
          Invoice date: 06/28/21
          Invoice # 698611




                                                                                              Payments and
Matter                                                    Previous              Current        Retainers To        Adjustments
Number      Name                                           Balance             Charges            06/28/21         To 06/28/21         Amount Due
00002       Youth Policy Institute, Inc.              $ 346,473.83           $ 6,107.10              $ 0.00             $ 0.00        $ 352,580.93

                                                      ___________          __________          __________           __________       ___________
            Bill Total                                $ 346,473.83          $ 6,107.10              $ 0.00               $ 0.00      $ 352,580.93


                                  PLEASE ENCLOSE THIS PAGE WITH YOUR REMITTANCE


                                           Wire instructions for the GENERAL account in US Dollars:
                                         Bank Name:               First Republic Bank
                                                                  111 Pine Street
                                                                  San Francisco, CA 94111
                                         SWIFT CODE:              FRBBUS6S
                                         ABA:                     321081669
                                         Account Name:            Greenberg Glusker Fields Claman &
                                                                  Machtinger
                                         Account No.:             #997-0005-4655




  Please reflect the client name and number, and the matters being paid. Payments received will apply first to accrued interest and then to
  costs and fees.
   Atty : JAK, #264 / P1119947                                          Page 6                                       Tax ID # XX-XXXXXXX
                                                                                                                   Exhibit 2, page 212
        Case 2:19-bk-23085-BB                  Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                                      Desc
                                               Main Document   Page 213 of 377
                                                   GREENBERG GLUSKER
          2049 Century Park East                                                             General billing questions: (310) 201-7492
          Suite 2600                                                                                                    (310) 785-6842
          Los Angeles, CA 90067                                                                             Payments: (310) 785-6846
                                                                                                                       Fax: (310) 553-7018
                                                   Jason M. Rund, Chapter 7 Trustee

          Client # 76214                                                                                       Charges through: 06/30/21
          Invoice date: 07/07/21
          Invoice # 698980



                                                                                              Payments and
Matter                                                     Previous              Current       Retainers To          Adjustments
Number Name                                                 Balance             Charges           07/07/21           To 07/07/21        Amount Due
00002   Youth Policy Institute, Inc.                   $ 352,580.93          $ 16,935.00             $ 0.00               $ 0.00       $ 369,515.93

                                                       ___________          __________          __________           __________       ___________
             Bill Total                                $ 352,580.93         $ 16,935.00              $ 0.00               $ 0.00      $ 369,515.93




                                                                         Jason M. Rund, Chapter 7 Trustee
                                                                         Sheridan & Rund
                                                                         840 Apollo Street
                                                                         Suite 351
                                                                         El Segundo, CA 90402




   Please reflect the client name and number, and the matters being paid. Payments received will apply first to accrued interest and then to
   costs and fees.
    Atty : JAK, #264 / P1123986                                          Page 1                                       Tax ID # XX-XXXXXXX
                                                                                                                    Exhibit 2, page 213
   Case 2:19-bk-23085-BB             Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                            Desc
                                     Main Document   Page 214 of 377
                                         GREENBERG GLUSKER

     2049 Century Park East                                                        General billing questions: (310) 201-7492
     Suite 2600                                                                                               (310) 785-6842
     Los Angeles, CA 90067                                                                        Payments: (310) 785-6846
                                                                                                            Fax: (310) 553-7018
     Client # 76214,     Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,     Youth Policy Institute, Inc.

     Invoice date: 07/07/21                                                                          Charges through: 06/30/21
     Invoice # 698980



                                                            FEES
 Date       Timekeeper                              Description of Services                         Hours         Amount

 B100 – Administration
    B120 – Asset Analysis and Recovery
 06/02/21 K Banner             Email exchange with N. Rainey regarding payment on                    0.10         $ 57.50
                               preference claim.
 06/03/21 K Banner             Email exchange with G. Langan regarding status of settlement          2.00       $ 1,150.00
                               payment (.1); review new value analysis from C3 and compare
                               to internal analysis, email exchange with Trustee regarding the
                               same (.3); review and analyze information from books and
                               records regarding AFLAC preference payments in light of
                               response from AFLAC and draft letter response (1.6).
 06/04/21 K Banner             Email exchange with G. Langan regarding preference                    0.20        $ 115.00
                               settlement payment (.1); email exchange with Trustee regarding
                               Pro Sight preference settlement (.1).
 06/07/21 K Banner             Email exchange with C. Switzer regarding preference demand            0.10         $ 57.50
                               to Principal.
 06/09/21 K Banner             Email exchange with M. Matthews regarding C3 preference               0.20        $ 115.00
                               demand and email exchange with Trustee regarding the same.
 06/10/21 K Banner             Review detailed response regarding preference demand to               0.60        $ 345.00
                               Kaiser and confer with J. Krieger regarding the same (.5); email
                               to Trustee regarding the same (.1).
 06/17/21 K Banner             Review and analyze Kaiser records with respect to preference          1.90       $ 1,092.50
                               action against records of Debtor (.9); draft and revise portions
                               of response letter to Kaiser (1.0).
 06/20/21 K Banner             Email exchange with V. Balani regarding Princeton Group               0.10         $ 57.50
                               settlement payment and email to Trustee.
 06/21/21 K Banner             Continue detailed review of Kaiser defenses and accompanying          2.50       $ 1,437.50
                               documentation, conduct supplemental research and further draft
                               and revise response to Kaiser (2.1); email exchange with
                               Trustee and V. Balani regarding payment on Princeton review
                               preference (.1); conference with J. Krieger regarding response
                               to Kaiser (.3).
 06/22/21 K Banner             Review and analyze response from PLIC regarding preference            1.10        $ 632.50
                               demand; review debtor's records; and draft response to PLIC
                               (1.0); email exchange with Trustee regarding the same (.1).
 06/23/21 K Banner             Review and revise response letter to Principal regarding              0.40        $ 230.00
                               preference demand and further review and revise exhibits
                               thereto.
 06/28/21 K Banner             Review California Labor Commissioner claim and review and             0.20        $ 115.00
                               revise response letter to Kaiser.
 06/29/21 K Banner             Review and revise letter response to Kaiser regarding                 0.30        $ 172.50
                               preference demand.
 06/29/21 K Banner             Email exchange with D. Harris regarding AFLAC preference              0.10         $ 57.50
                               demand.
Atty : JAK, #264 / P1123986                                Page 2                                   Tax ID # XX-XXXXXXX
                                                                                                  Exhibit 2, page 214
   Case 2:19-bk-23085-BB              Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                           Desc
                                      Main Document   Page 215 of 377
                                          GREENBERG GLUSKER

     2049 Century Park East                                                         General billing questions: (310) 201-7492
     Suite 2600                                                                                                (310) 785-6842
     Los Angeles, CA 90067                                                                         Payments: (310) 785-6846
                                                                                                            Fax: (310) 553-7018
     Client # 76214,     Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,     Youth Policy Institute, Inc.

     Invoice date: 07/07/21                                                                          Charges through: 06/30/21
     Invoice # 698980

                                                             FEES
 Date     Timekeeper                                Description of Services                         Hours         Amount
 06/30/21 K Banner              Email exchange with M. Ebersole regarding demand to Kaiser,          0.20        $ 115.00
                                confer with J. Krieger regarding the same and email to trustee.
            Total B120 – Asset Analysis and Recovery                                                10.00       $ 5,750.00


    B180 – Avoidance Action Analysis
 06/10/21 JA Krieger          Review email from counsel for Kaiser and K. Banner analysis            0.50        $ 337.50
                              (.3); telephone conference(s) with K. Banner regarding
                              response (.2)
 06/21/21 JA Krieger          Review correspondence from Kaiser regarding preference                 0.80        $ 540.00
                              defenses; review and revise letter to Kaiser
           Total B180 – Avoidance Action Analysis                                                    1.30        $ 877.50


    B190 – Other Contested Matters (excluding assumption/rejection motions)
 06/03/21 JA Krieger           Telephone conference(s) with A. Caimi regarding possible              1.00        $ 675.00
                               contingent fee representation of estate
 06/08/21 JA Krieger           Telephone conference(s) with K. Banner regarding fraudulent           0.40        $ 270.00
                               transfer theory and other litigation issues for claim against
                               officers and Amex
           Total B190 – Other Contested Matters (excluding assumption/rejection motions)             1.40        $ 945.00


            Total B100 – Administration                                                             12.70       $ 7,572.50


 B200 – Operations
    B240 – Tax Issues
 06/07/21 K Banner              Email exchange with D. Fife regarding status of FUTA tax             0.10         $ 57.50
                                issues.
            Total B240 – Tax Issues                                                                  0.10         $ 57.50


            Total B200 – Operations                                                                  0.10         $ 57.50


 B400 – Carve-Out Matters
    B410 – Grant Receivables
 06/03/21 K Banner               Email exchange with G. Jasso regarding Mayor's office grant         0.10         $ 57.50
                                 receivable.
 06/21/21   K Banner             Email exchange with W. Birnie regarding status of Champions         0.10         $ 57.50
                                 for Change receivables.
 06/25/21   K Banner             Supplemental research regarding potential causes of action          1.30        $ 747.50
                                 against EWDD to collect grant receivable (.3); email exchange
                                 with W. Loo-Smart regarding status of EWDD receivable (.1);
                                 telephone call with W. Loo-Smart regarding EWDD receivable
Atty : JAK, #264 / P1123986                                 Page 3                                  Tax ID # XX-XXXXXXX
                                                                                                  Exhibit 2, page 215
   Case 2:19-bk-23085-BB             Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                            Desc
                                     Main Document   Page 216 of 377
                                         GREENBERG GLUSKER

     2049 Century Park East                                                         General billing questions: (310) 201-7492
     Suite 2600                                                                                                (310) 785-6842
     Los Angeles, CA 90067                                                                         Payments: (310) 785-6846
                                                                                                            Fax: (310) 553-7018
     Client # 76214,     Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,     Youth Policy Institute, Inc.

     Invoice date: 07/07/21                                                                          Charges through: 06/30/21
     Invoice # 698980

                                                              FEES
 Date      Timekeeper                                 Description of Services                       Hours         Amount
                                (.4); telephone call with Trustee regarding the same and other
                                developments (.5).
            Total B410 – Grant Receivables                                                           1.50        $ 862.50


    B420 – Commercial Tort Claims
 06/03/21 K Banner             Telephone conference with J. Krieger and potential special            1.00        $ 575.00
                               counsel regarding D&O coverage claims (.8); assemble various
                               documents relating to the claim for transmittal to potential
                               special counsel (.2).
 06/04/21 K Banner             Draft correspondence to B. Brown regarding crime policy claim         1.60        $ 920.00
                               (1.4); compile relevant documents and transmit to potential
                               special counsel regarding insurance claims (.2).
 06/07/21 JB Sokol             Review coverage correspondence from fidelity bond carrier;            0.30        $ 217.50
                               prepare response.
 06/08/21 JA Krieger           Review email from J. Sokol regarding response to insurance            0.30        $ 202.50
                               company (.1); review email from K. Banner (.1); preparation of
                               email to K. Banner (.1)
 06/08/21 K Banner             Review and revise response to Hanover regarding crime policy          0.80        $ 460.00
                               claim (.3); email exchange with trustee regarding the same (.1);
                               conference with J. Krieger regarding strategy for crime policy
                               and other insurance claims (.4).
 06/11/21 JA Krieger           Review and respond to email from potential contingent fee             0.10         $ 67.50
                               counsel
 06/16/21 JA Krieger           Telephone conference(s) with possible contingent fee counsel          1.40        $ 945.00
                               (.4); telephone conference(s) with K. Banner regarding same
                               (.5); telephone conference(s) with J. Sokol regarding litigation
                               strategy (.5)
 06/16/21 JB Sokol             Call with Jeff Krieger to discuss adversary proceeding against        0.40        $ 290.00
                               insurer and directors and officers.
 06/16/21 K Banner             Conference with J. Krieger and potential special litigation           1.40        $ 805.00
                               counsel regarding commercial tort claims (.3); confer with J.
                               Krieger thereafter regarding the same (.4); review stipulation
                               with NFF for potential impact on potential recovery (.2);
                               conference with J. Krieger and J. Sokol regarding potential
                               contingency action (.5).
 06/18/21 JA Krieger           Preparation of email to K. Banner regarding review of possible        0.50        $ 337.50
                               contingency fee counsel (.2); review emails from K. Banner
                               regarding trustee comments and regarding board resolutions
                               (.2); review email from possible contingent fee counsel (.1)
 06/18/21 K Banner             Telephone call with Trustee regarding commercial tort claims          1.40        $ 805.00
                               contingency strategy (.7); review and analyze board meeting
                               minutes for information regarding applicable directors and
                               email exchange with A. Caimie (.5); review insurance policies
                               and collate them for potential special counsel (.2).
 06/21/21 JA Krieger           Preparation of correspondence to P. Dracht regarding possible         0.20        $ 135.00
Atty : JAK, #264 / P1123986                                 Page 4                                  Tax ID # XX-XXXXXXX
                                                                                                  Exhibit 2, page 216
   Case 2:19-bk-23085-BB             Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                        Desc
                                     Main Document   Page 217 of 377
                                         GREENBERG GLUSKER

     2049 Century Park East                                                     General billing questions: (310) 201-7492
     Suite 2600                                                                                            (310) 785-6842
     Los Angeles, CA 90067                                                                     Payments: (310) 785-6846
                                                                                                        Fax: (310) 553-7018
     Client # 76214,       Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,       Youth Policy Institute, Inc.

     Invoice date: 07/07/21                                                                      Charges through: 06/30/21
     Invoice # 698980

                                                          FEES
 Date        Timekeeper                          Description of Services                        Hours         Amount
                            contingent fee representation of estate
 06/22/21 JA Krieger        Review and respond to email from P. Dracht regarding possible        0.20        $ 135.00
                            representation
 06/22/21 K Banner          Gather various party names for potential contingency counsel         0.70        $ 402.50
                            and email exchange with contingency counsel (.3); review
                            board documentation per request from potential contingency
                            counsel (.4).
 06/23/21 JA Krieger        Mulitiple emails with possible contingent fee counsel regarding      0.90        $ 607.50
                            facts and circumstances giving rise to claims
 06/23/21 K Banner          Review claims register per request of potential contingency          0.30        $ 172.50
                            counsel and confer with J. Krieger regarding the same.
 06/24/21 JA Krieger        Telephone conference(s) with P. Dracht regarding possible            1.00        $ 675.00
                            contingent fee representation
 06/24/21 K Banner          Telephone conference with J. Krieger and new potential               1.20        $ 690.00
                            contingency counsel regarding commercial tort claims (1.0);
                            gather and collate various documents relating to commercial
                            tort claims and transmit to potential contingency counsel (.2).
          Total B420 – Commercial Tort Claims                                                   13.70       $ 8,442.50


             Total B400 – Carve-Out Matters                                                     15.20       $ 9,305.00


 Total fees for this matter:                                                                               $ 16,935.00




Atty : JAK, #264 / P1123986                              Page 5                                 Tax ID # XX-XXXXXXX
                                                                                              Exhibit 2, page 217
   Case 2:19-bk-23085-BB                Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                                   Desc
                                        Main Document   Page 218 of 377
                                            GREENBERG GLUSKER

     2049 Century Park East                                                                 General billing questions: (310) 201-7492
     Suite 2600                                                                                                        (310) 785-6842
     Los Angeles, CA 90067                                                                                 Payments: (310) 785-6846
                                                                                                                     Fax: (310) 553-7018
     Client # 76214,    Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,    Youth Policy Institute, Inc.

     Invoice date: 07/07/21                                                                                  Charges through: 06/30/21
     Invoice # 698980

                                           Summary Of Attorney Time By Task
                                              ______________________

                                                                  Hours              Rate                   Value

             B120 – Asset Analysis and Recovery
               K Banner                                           10.00           575.00              $ 5,750.00

             B180 – Avoidance Action Analysis
               JA Krieger                                          1.30           675.00               $ 877.50

             B190 – Other Contested Matters (excluding assumption/rejection motions)
               JA Krieger                                         1.40            675.00               $ 945.00

             B240 – Tax Issues
               K Banner                                            0.10           575.00                 $ 57.50

             B410 – Grant Receivables
               K Banner                                            1.50           575.00               $ 862.50

             B420 – Commercial Tort Claims
               K Banner                                            8.40           575.00              $ 4,830.00
               JA Krieger                                          4.60           675.00              $ 3,105.00
               JB Sokol                                            0.70           725.00                $ 507.50

             Total                                                28.00                              $ 16,935.00




                                                     Summary By Task
                                                  ______________________

                                                  Task                                              Hours                Value
                                                  B120 – Asset Analysis and Recovery                10.00           $ 5,750.00
                                                  B180 – Avoidance Action Analysis                   1.30             $ 877.50
                                                  B190 – Other Contested Matters (excluding          1.40             $ 945.00
                                                  assumption/rejection motions)
                                                  B240 – Tax Issues                                  0.10           $ 57.50
                                                  B410 – Grant Receivables                           1.50          $ 862.50
                                                  B420 – Commercial Tort Claims                     13.70        $ 8,442.50
   Total                                                                                            28.00       $ 16,935.00




Atty : JAK, #264 / P1123986                                    Page 6                                     Tax ID # XX-XXXXXXX
                                                                                                        Exhibit 2, page 218
   Case 2:19-bk-23085-BB            Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                       Desc
                                    Main Document   Page 219 of 377
                                        GREENBERG GLUSKER

     2049 Century Park East                                                    General billing questions: (310) 201-7492
     Suite 2600                                                                                           (310) 785-6842
     Los Angeles, CA 90067                                                                    Payments: (310) 785-6846
                                                                                                      Fax: (310) 553-7018
     Client # 76214,      Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,      Youth Policy Institute, Inc.

     Invoice date: 07/07/21                                                                    Charges through: 06/30/21
     Invoice # 698980

                                           RECAP OF AMOUNTS DUE
 Total Previous Balance                                                                $ 352,580.93
                                                                                                       __________
 Balance Forward                                                                                      $ 352,580.93
 Current Month Fees                                                                     $ 16,935.00
 Current Month Costs                                                                         $ 0.00
                                                                                                       __________
 Total Current Charges                                                                                 $ 16,935.00
                                                                                                       __________
 Total Due from Current Charges                                                                        $ 16,935.00
                                                                                                       __________
 AMOUNT DUE                                                                                           $ 369,515.93




                                             Summary Of Attorney Time
                                             ______________________

             Attorney                                        Hours     Rate         Value
             J Krieger                                        7.30   675.00    $ 4,927.50
             J Sokol                                          0.70   725.00      $ 507.50
             K Banner                                        20.00   575.00   $ 11,500.00
             Total                                           28.00            $ 16,935.00




Atty : JAK, #264 / P1123986                             Page 7                                Tax ID # XX-XXXXXXX
                                                                                            Exhibit 2, page 219
         Case 2:19-bk-23085-BB                Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                                      Desc
                                              Main Document   Page 220 of 377

                                                      GREENBERG GLUSKER
          2049 Century Park East                                                            General billing questions: (310) 201-7492
          Suite 2600                                                                                                   (310) 785-6842
          Los Angeles, CA 90067                                                                            Payments: (310) 785-6846
                                                                                                                      Fax: (310) 553-7018
                                                  Jason M. Rund, Chapter 7 Trustee

          Client # 76214                                                                                      Charges through: 06/30/21
          Invoice date: 07/07/21
          Invoice # 698980




                                                                                              Payments and
Matter                                                    Previous              Current        Retainers To        Adjustments
Number      Name                                           Balance             Charges            07/07/21         To 07/07/21         Amount Due
00002       Youth Policy Institute, Inc.              $ 352,580.93          $ 16,935.00              $ 0.00             $ 0.00        $ 369,515.93

                                                      ___________          __________          __________           __________       ___________
            Bill Total                                $ 352,580.93         $ 16,935.00              $ 0.00               $ 0.00      $ 369,515.93


                                  PLEASE ENCLOSE THIS PAGE WITH YOUR REMITTANCE


                                           Wire instructions for the GENERAL account in US Dollars:
                                         Bank Name:               First Republic Bank
                                                                  111 Pine Street
                                                                  San Francisco, CA 94111
                                         SWIFT CODE:              FRBBUS6S
                                         ABA:                     321081669
                                         Account Name:            Greenberg Glusker Fields Claman &
                                                                  Machtinger
                                         Account No.:             #997-0005-4655




  Please reflect the client name and number, and the matters being paid. Payments received will apply first to accrued interest and then to
  costs and fees.
   Atty : JAK, #264 / P1123986                                          Page 8                                       Tax ID # XX-XXXXXXX
                                                                                                                   Exhibit 2, page 220
        Case 2:19-bk-23085-BB                  Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                                      Desc
                                               Main Document   Page 221 of 377
                                                   GREENBERG GLUSKER
          2049 Century Park East                                                             General billing questions: (310) 201-7492
          Suite 2600                                                                                                    (310) 785-6842
          Los Angeles, CA 90067                                                                             Payments: (310) 785-6846
                                                                                                                       Fax: (310) 553-7018
                                                   Jason M. Rund, Chapter 7 Trustee


          Client # 76214                                                                                       Charges through: 07/31/21
          Invoice date: 09/16/21
          Invoice # 702688



                                                                                              Payments and
Matter                                                     Previous              Current       Retainers To          Adjustments
Number Name                                                 Balance             Charges           09/16/21           To 09/16/21        Amount Due
00002   Youth Policy Institute, Inc.                   $ 369,515.93          $ 34,049.24             $ 0.00               $ 0.00       $ 403,565.17

                                                       ___________          __________          __________           __________       ___________
             Bill Total                                $ 369,515.93         $ 34,049.24              $ 0.00               $ 0.00      $ 403,565.17




                                                                         Jason M. Rund, Chapter 7 Trustee
                                                                         Sheridan & Rund
                                                                         840 Apollo Street
                                                                         Suite 351
                                                                         El Segundo, CA 90402




   Please reflect the client name and number, and the matters being paid. Payments received will apply first to accrued interest and then to
   costs and fees.
    Atty : JAK, #264 / P1133669                                          Page 1                                       Tax ID # XX-XXXXXXX
                                                                                                                    Exhibit 2, page 221
   Case 2:19-bk-23085-BB             Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                            Desc
                                     Main Document   Page 222 of 377
                                         GREENBERG GLUSKER

     2049 Century Park East                                                        General billing questions: (310) 201-7492
     Suite 2600                                                                                               (310) 785-6842
     Los Angeles, CA 90067                                                                        Payments: (310) 785-6846
                                                                                                            Fax: (310) 553-7018
     Client # 76214,     Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,     Youth Policy Institute, Inc.

     Invoice date: 09/16/21                                                                          Charges through: 07/31/21
     Invoice # 702688



                                                            FEES
 Date       Timekeeper                              Description of Services                         Hours         Amount

 B100 – Administration
    B120 – Asset Analysis and Recovery
 07/01/21 K Banner             Email exchange with M. Ebersole regarding Kaiser preference           0.10         $ 57.50
                               demand.
 07/07/21 K Banner             Email exchange with D. Hunter regarding AFLAC preference              0.10         $ 57.50
                               demand.
 07/08/21 K Banner             Review prior correspondence with AFLAC and debtor records             0.50        $ 287.50
                               in preparation for call with counsel; telephone call with
                               AFLAC counsel regarding preference demand.
 07/13/21 K Banner             Review records regarding preference payments to VSP and               1.10        $ 632.50
                               draft and revise demand letter to VSP (.8); review various
                               correspondence and information relating to PLIC claim (.3).
 07/14/21 K Banner             Draft and revise 9019 motion regarding settled preference             1.90       $ 1,092.50
                               payments and accompanying declaration (1.4); draft notice of
                               9019 motion (.5).
 07/20/21 K Banner             Email exchange with M. Ebersole regarding Kaiser demand.              0.10         $ 57.50
 07/22/21 K Banner             Review and revise 9019 motion and separate notice regarding           1.40        $ 805.00
                               various smaller preference recipients (.5); draft and revise
                               follow up demand letters to CDN and Orenda regarding
                               preference payments (.9).
 07/23/21 K Banner             Review response from PLIC regarding preference liability,             1.00        $ 575.00
                               review file regarding the same and email to Trustee (.3);
                               telephone call with Trustee regarding the same (.1); preliminary
                               review and analysis of detailed response from Kaiser regarding
                               preference demand and draft email to Trustee (.5); email
                               exchange with M. Ebersole regarding the same (.1).
 07/26/21 B Davidoff           Teleconference with Keith Banner regarding possible defenses          0.30        $ 232.50
                               to potential preference claim.
 07/26/21 K Banner             Review response from VSP to preference demand and                     0.30        $ 172.50
                               supporting documentation (.2); email to Trustee regarding the
                               same (.1).
 07/27/21 K Banner             Review and analyze data in response to VSP demand letter and          0.70        $ 402.50
                               draft portions of response.
 07/28/21 K Banner             Further review of Debtor records regarding VSP preference and         0.60        $ 345.00
                               review and revise draft response (.5); email exchange with
                               Trustee regarding the same (.1).
 07/29/21 K Banner             Review and revise letter response to VSP regarding preference         4.00       $ 2,300.00
                               demand and accompanying exhibits (.3); review and analyze
                               detailed response from Kaiser to demand and conduct related
                               research regarding various purported defenses (2.2); further
                               research and analysis regarding the "trust fund" defense
                               asserted by Kaiser to preference demand (1.0); review payroll
                               records of YPI for information regarding employer and
Atty : JAK, #264 / P1133669                                Page 2                                   Tax ID # XX-XXXXXXX
                                                                                                  Exhibit 2, page 222
   Case 2:19-bk-23085-BB            Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                           Desc
                                    Main Document   Page 223 of 377
                                        GREENBERG GLUSKER

     2049 Century Park East                                                       General billing questions: (310) 201-7492
     Suite 2600                                                                                              (310) 785-6842
     Los Angeles, CA 90067                                                                       Payments: (310) 785-6846
                                                                                                          Fax: (310) 553-7018
     Client # 76214,    Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,    Youth Policy Institute, Inc.

     Invoice date: 09/16/21                                                                        Charges through: 07/31/21
     Invoice # 702688

                                                           FEES
 Date      Timekeeper                             Description of Services                         Hours         Amount
                               employee portions of health insurance premiums (.5).
           Total B120 – Asset Analysis and Recovery                                               12.10       $ 7,017.50


    B170 – Fee/Employment Objections
 07/20/21 JA Krieger          Review and revise employment application of Dracht firm (.5);        0.80        $ 540.00
                              telephone conference(s) with K. Banner regarding revisions and
                              declarations regarding disclosures (.3)
           Total B170 – Fee/Employment Objections                                                  0.80        $ 540.00


    B180 – Avoidance Action Analysis
 07/13/21 K Banner            Conference with J. Krieger regarding preference claims and           0.30        $ 172.50
                              strategy.
 07/22/21 K Banner            Further review of books and records of the Debtor for any            1.00        $ 575.00
                              further potential preference claims.
 07/26/21 JA Krieger           Telephone conference(s) with K. Banner regarding possible           0.30        $ 202.50
                              multi-million dollar preference claim
 07/26/21 K Banner            Review debtor records regarding potential preference action          4.00       $ 2,300.00
                              against AMEX (.5); review and analyze CCF loan documents
                              for potential preference exposure (.5); telephone call with
                              Trustee regarding the same (.5); review and analyze One Drive
                              documents and Oracle database for further information
                              regarding CCF loan (1.3); research regarding earmark and
                              ordinary course defenses relating to CCF loan preference (1.2).
 07/27/21 H Waldman           Discussed matter with Jeff Krieger and began research into           2.20           $ 0.00
                              intercreditor agreements and insolvency
 07/27/21 JA Krieger          Telephone conference(s) with k. Banner regarding impact of           2.30       $ 1,552.50
                              subordination agreement on preference (.8); emails with H.
                              Waldman regarding research (.2); conference with H. Waldman
                              regarding legal analysis (1); telephone conference(s) with J.
                              Rund regarding claims against preference defendant (.3)
 07/27/21 K Banner            Further research regarding ordinary course defense regarding         3.40       $ 1,955.00
                              possible $2m preference claim (1.0); conference with J. Krieger
                              regarding potential defenses in such an action (.8); review
                              intercreditor agreement with respect to the same (.3); further
                              research regarding enforceability of intercreditor agreement
                              with unsecured creditor (.5); further research regarding
                              potential earmark or constructive trust defenses to preference
                              (.5); telephone conference with Trustee and J. Krieger
                              regarding the same (.3).
 07/28/21 K Banner            Further review and analysis of Debtor accounting records and         2.60       $ 1,495.00
                              bank statements for information regarding further potential
                              preferences (1.5); email exchanges with Trustee regarding the
                              same (.1); further review and analysis of CCF loan documents
                              and draft demand letter (1.0).
Atty : JAK, #264 / P1133669                               Page 3                                  Tax ID # XX-XXXXXXX
                                                                                                Exhibit 2, page 223
   Case 2:19-bk-23085-BB              Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                             Desc
                                      Main Document   Page 224 of 377
                                          GREENBERG GLUSKER

     2049 Century Park East                                                          General billing questions: (310) 201-7492
     Suite 2600                                                                                                 (310) 785-6842
     Los Angeles, CA 90067                                                                          Payments: (310) 785-6846
                                                                                                              Fax: (310) 553-7018
     Client # 76214,     Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,     Youth Policy Institute, Inc.

     Invoice date: 09/16/21                                                                            Charges through: 07/31/21
     Invoice # 702688

                                                           FEES
 Date       Timekeeper                            Description of Services                             Hours          Amount
 07/29/21   H Waldman        Conducted research into intercreditor agreements                          3.20            $ 0.00
 07/29/21   JA Krieger       Analyze legal research and case law on preference defenses                1.50       $ 1,012.50
 07/29/21   JA Krieger       Review and revise correspondence regarding Preference claims              0.40         $ 270.00
 07/29/21   K Banner         Follow up research regarding antecedent debt and promissory               0.80         $ 460.00
                             notes and confer with J. Krieger regarding the same.
 07/30/21 JA Krieger         Telephone conference(s) with K. Banner regarding multiple                 0.30        $ 202.50
                             potential preference actions
 07/30/21 K Banner           Review of research from H. Waldman regarding affect of                    1.60        $ 920.00
                             intercreditor agreement on potential preference claim and
                             further supplemental research (.6); confer with J. Krieger
                             regarding potential claim (.3); email exchange with Trustee
                             regarding CCF potential preference (.1); general research
                             regarding public records of CCF (.3); review and revise demand
                             letter to CCF (.3).
          Total B180 – Avoidance Action Analysis                                                      23.90     $ 11,117.50


    B190 – Other Contested Matters (excluding assumption/rejection motions)
 07/08/21 K Banner             Email exchange with B. Turner regarding status of bankruptcy            0.10          $ 57.50
                               with respect to Padilla v. YPI.
           Total B190 – Other Contested Matters (excluding assumption/rejection motions)               0.10          $ 57.50


            Total B100 – Administration                                                               36.90     $ 18,732.50


 B200 – Operations
    B240 – Tax Issues
 07/20/21 K Banner              Email exchange with N. Shariff regarding FUTA tax                      0.10          $ 57.50
                                overpayment status.
 07/22/21   K Banner            Email exchange with N. Shariff regarding FUTA tax issue                0.20        $ 115.00
                                status.
 07/23/21   K Banner            Review and analyze tax transcripts, prior correspondence with          1.50        $ 862.50
                                IRS and other tax records in preparation for call with N. Shariff
                                (.5); telephone call with J. Shariff regarding avoidable transfer
                                claim and FUTA tax overpayment (.6); draft emails to N.
                                Shariff and the Trustee regarding the same (.4).
            Total B240 – Tax Issues                                                                    1.80       $ 1,035.00


            Total B200 – Operations                                                                    1.80       $ 1,035.00


 B300 – Claims and Plan
    B310 – Claims Administration and Objections
 07/19/21 K Banner             Review correspondence and prior information regarding                   0.20        $ 115.00
Atty : JAK, #264 / P1133669                                  Page 4                                   Tax ID # XX-XXXXXXX
                                                                                                    Exhibit 2, page 224
   Case 2:19-bk-23085-BB             Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                            Desc
                                     Main Document   Page 225 of 377
                                         GREENBERG GLUSKER

     2049 Century Park East                                                        General billing questions: (310) 201-7492
     Suite 2600                                                                                               (310) 785-6842
     Los Angeles, CA 90067                                                                        Payments: (310) 785-6846
                                                                                                            Fax: (310) 553-7018
     Client # 76214,     Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,     Youth Policy Institute, Inc.

     Invoice date: 09/16/21                                                                          Charges through: 07/31/21
     Invoice # 702688

                                                            FEES
 Date       Timekeeper                              Description of Services                         Hours         Amount
                                Barbara Schwartz administrative claim.
 07/27/21   K Banner            Review proof of claim filed by B. Schwartz.                          0.10         $ 57.50
            Total B310 – Claims Administration and Objections                                        0.30        $ 172.50


            Total B300 – Claims and Plan                                                             0.30        $ 172.50


 B400 – Carve-Out Matters
    B410 – Grant Receivables
 07/13/21 K Banner              Review voluminous information from EWDD regarding                    0.70        $ 402.50
                                receivable and email exchange with Trustee and W. Loo-Smart
                                regarding the same.
 07/15/21   K Banner            Review further detail from EWDD regarding receivable and             0.40        $ 230.00
                                various document requests and email exchange with Trustee
                                regarding the same.
 07/20/21   K Banner            Review SQL payroll files received from Ultipro for information       0.30        $ 172.50
                                relating to EWDD receivable.
 07/21/21   JA Krieger          Review correspondence to client regarding Dracht employment          0.10         $ 67.50
                                app
 07/23/21   K Banner            Telephone conference with Trustee regarding EWDD                     0.50        $ 287.50
                                receivable and various other outstanding items.
 07/30/21   JA Krieger          Review updates to employment application for litigation              0.30        $ 202.50
                                counsel
            Total B410 – Grant Receivables                                                           2.30       $ 1,362.50


    B420 – Commercial Tort Claims
 07/02/21 JA Krieger           Review and respond to email from potential contingent fee             0.20        $ 135.00
                               counsel
 07/06/21 JA Krieger           Telephone conference(s) with K. Banner regarding contingent           0.20        $ 135.00
                               fee counsel
 07/06/21 K Banner             Confer with J. Krieger regarding contingency counsel.                 0.20        $ 115.00
 07/13/21 JA Krieger           Review and revise draft contingency fee agreement                     0.40        $ 270.00
 07/13/21 K Banner             Email exchange with potential contingency counsel (.1); review        0.70        $ 402.50
                               draft engagement letter from potential contingency counsel (.3);
                               telephone conference with Trustee and J. Krieger regarding
                               latest developments and other matters (.3).
 07/14/21 JA Krieger           Telephone conference(s) with proposed contingency fee                 0.90        $ 607.50
                               counsel (.6); follow up telephone conference(s) with K. Banner
                               regarding revisions to engagement letter (.3)
 07/14/21 K Banner             Review draft retainer agreement from proposed contingency             1.20        $ 690.00
                               counsel in advance of conference call (.2); telephone
                               conference with potential contingency counsel and J. Krieger
                               regarding potential engagement (.5); conference with J. Krieger
                               thereafter regarding the same (.3); preliminary research
Atty : JAK, #264 / P1133669                                Page 5                                   Tax ID # XX-XXXXXXX
                                                                                                  Exhibit 2, page 225
   Case 2:19-bk-23085-BB           Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                               Desc
                                   Main Document   Page 226 of 377
                                       GREENBERG GLUSKER

     2049 Century Park East                                                         General billing questions: (310) 201-7492
     Suite 2600                                                                                                (310) 785-6842
     Los Angeles, CA 90067                                                                         Payments: (310) 785-6846
                                                                                                             Fax: (310) 553-7018
     Client # 76214,     Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,     Youth Policy Institute, Inc.

     Invoice date: 09/16/21                                                                           Charges through: 07/31/21
     Invoice # 702688

                                                             FEES
 Date       Timekeeper                               Description of Services                         Hours         Amount
                               regarding terms of contingency fee agreements (.2).
 07/15/21   JA Krieger         Review emails from K. Banner regarding contingency fee                 1.10        $ 742.50
                               agreement issues (.3); preparation of comments (.1); review and
                               revise contingency fee agreement (.3); telephone conference(s)
                               with K. Banner regarding same (.4)
 07/15/21   K Banner           Research regarding contingency fee arrangements and post-              3.20       $ 1,840.00
                               withdrawal compensation (1.0); review and revise contingency
                               fee engagement agreement and confer with J. Krieger regarding
                               the same (1.5); research regarding compensation of contingency
                               counsel under 328 (.6); email exchange with Trustee regarding
                               contingency agreement (.1).
 07/16/21   JA Krieger         Review J. Rund comments on contingent fee agreement (.1);              0.40        $ 270.00
                               telephone conference(s) with K. Banner regarding revisions (.3)
 07/16/21   K Banner           Confer with J. Krieger regarding revisions to contingency fee          1.10        $ 632.50
                               agreement (.2); review and revise draft contingency fee
                               agreement (.5); draft correspondence to potential counsel
                               regarding the same (.4).
 07/19/21   JA Krieger         Review email from P. Dracht with final engagement letter (.1);         0.40        $ 270.00
                               review vmail and email from K. Banner regarding same (.1);
                               review correspondence to Trustee (.1); telephone conference(s)
                               with K. Banner regarding remaining questions for special
                               counsel (.1)
 07/19/21   K Banner           Draft and revise employment application re special litigation          2.50       $ 1,437.50
                               counsel and accompanying declarations (2.2); review final
                               engagement letter and email exchange with trustee and
                               potential special counsel regarding the same (.3).
 07/20/21   JA Krieger          conference call with client and contingent fee counsel                0.60        $ 405.00
                               regarding case strategy
 07/20/21   K Banner           Continue drafting and revising application to employ special           5.10       $ 2,932.50
                               counsel to pursue commercial tort claims (1.2): draft and
                               review notice of application (.7); review and analyze
                               voluminous files relating to commercial tort claims and collate
                               information for special litigation counsel (1.0); research
                               regarding appropriate application of disinterestedness and
                               disclosures in connection with special counsel application (1.0);
                               confer with J. Krieger regarding the same (.2); telephone
                               conference with P. Dracht, trustee, and J. Krieger regarding
                               retention (.6); collate information regarding crime policy claim
                               and transmit to P. Dracht (.4).
 07/21/21   K Banner           Review and revise application to employ special counsel to             1.50        $ 862.50
                               pursue commercial tort claims (.8); email exchange with
                               Trustee regarding the same (.1); email to P. Dracht regarding
                               the same (.1); review and collate correspondence relating to
                               D&O policies and email to P. Dracht (.3); telephone conference
                               with Trustee and J. Krieger regarding commercial tort claims
                               (.2).
Atty : JAK, #264 / P1133669                               Page 6                                     Tax ID # XX-XXXXXXX
                                                                                                   Exhibit 2, page 226
   Case 2:19-bk-23085-BB              Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                           Desc
                                      Main Document   Page 227 of 377
                                          GREENBERG GLUSKER

     2049 Century Park East                                                        General billing questions: (310) 201-7492
     Suite 2600                                                                                               (310) 785-6842
     Los Angeles, CA 90067                                                                        Payments: (310) 785-6846
                                                                                                            Fax: (310) 553-7018
     Client # 76214,       Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,       Youth Policy Institute, Inc.

     Invoice date: 09/16/21                                                                          Charges through: 07/31/21
     Invoice # 702688

                                                            FEES
 Date     Timekeeper                                Description of Services                         Hours         Amount
 07/23/21 JA Krieger           Preparation of Email to potential contingent fee counsel              0.10         $ 67.50
 07/27/21 K Banner             Review district court records for any information regarding           0.20        $ 115.00
                               Slingerland indictment.
 07/30/21    JA Krieger        Review correspondence from Hanover's counsel regarding                0.50        $ 337.50
                               denial of coverage (.2); preparation of email to K. Banner (.1);
                               review response and emails to client and litigation counsel (.2)
 07/30/21    K Banner          Review correspondence from Hanover and compare to prior               0.80        $ 460.00
                               correspondence regarding the same (.3); email exchange with
                               Trustee and P. Dracht regarding the same (.2); review
                               comments to special counsel employment application and email
                               exchange with P. Dracht (.3).
             Total B420 – Commercial Tort Claims                                                    21.30     $ 12,727.50


             Total B400 – Carve-Out Matters                                                         23.60     $ 14,090.00


 Total fees for this matter:                                                                                   $ 34,030.00




Atty : JAK, #264 / P1133669                                 Page 7                                  Tax ID # XX-XXXXXXX
                                                                                                  Exhibit 2, page 227
   Case 2:19-bk-23085-BB                Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                               Desc
                                        Main Document   Page 228 of 377
                                            GREENBERG GLUSKER

     2049 Century Park East                                                                General billing questions: (310) 201-7492
     Suite 2600                                                                                                       (310) 785-6842
     Los Angeles, CA 90067                                                                                Payments: (310) 785-6846
                                                                                                                  Fax: (310) 553-7018
     Client # 76214,    Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,    Youth Policy Institute, Inc.

     Invoice date: 09/16/21                                                                                Charges through: 07/31/21
     Invoice # 702688

                                           Summary Of Attorney Time By Task
                                              ______________________

                                                                Hours              Rate                  Value

             B120 – Asset Analysis and Recovery
               K Banner                                          11.80           575.00              $ 6,785.00
               B Davidoff                                         0.30           775.00                $ 232.50

             B170 – Fee/Employment Objections
               JA Krieger                                         0.80           675.00               $ 540.00

             B180 – Avoidance Action Analysis
               K Banner                                          13.70           575.00              $ 7,877.50
               H Waldman                                          5.40             0.00                  $ 0.00
               JA Krieger                                         4.80           675.00              $ 3,240.00

             B190 – Other Contested Matters (excluding assumption/rejection motions)
               K Banner                                           0.10            575.00                $ 57.50

             B240 – Tax Issues
               K Banner                                           1.80           575.00              $ 1,035.00

             B310 – Claims Administration and Objections
               K Banner                                           0.30           575.00               $ 172.50

             B410 – Grant Receivables
               K Banner                                           1.90           575.00              $ 1,092.50
               JA Krieger                                         0.40           675.00                $ 270.00

             B420 – Commercial Tort Claims
               K Banner                                          16.50           575.00              $ 9,487.50
               JA Krieger                                         4.80           675.00              $ 3,240.00

             Total                                               62.60                              $ 34,030.00




Atty : JAK, #264 / P1133669                                   Page 8                                     Tax ID # XX-XXXXXXX
                                                                                                       Exhibit 2, page 228
   Case 2:19-bk-23085-BB                 Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                                   Desc
                                         Main Document   Page 229 of 377
                                             GREENBERG GLUSKER

     2049 Century Park East                                                                General billing questions: (310) 201-7492
     Suite 2600                                                                                                       (310) 785-6842
     Los Angeles, CA 90067                                                                                Payments: (310) 785-6846
                                                                                                                       Fax: (310) 553-7018
     Client # 76214,      Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,      Youth Policy Institute, Inc.

     Invoice date: 09/16/21                                                                                   Charges through: 07/31/21
     Invoice # 702688

                                                         Summary By Task
                                                      ______________________

                                                    Task                                             Hours             Value
                                                    B120 – Asset Analysis and Recovery               12.10        $ 7,017.50
                                                    B170 – Fee/Employment Objections                  0.80          $ 540.00
                                                    B180 – Avoidance Action Analysis                 23.90       $ 11,117.50
                                                    B190 – Other Contested Matters (excluding         0.10           $ 57.50
                                                    assumption/rejection motions)
                                                    B240 – Tax Issues                                 1.80        $ 1,035.00
                                                    B310 – Claims Administration and                  0.30          $ 172.50
                                                    Objections
                                                    B410 – Grant Receivables                          2.30        $ 1,362.50
                                                    B420 – Commercial Tort Claims                    21.30       $ 12,727.50
   Total                                                                                             62.60       $ 34,030.00




                                                                COSTS
                   Date               Description                                                            Amount
           through 07/31/21           Postage                                                                $ 19.24

                       Total costs for this matter:                                                          $ 19.24


                                               Summary Of Costs by Expenses Code
                                                  ______________________

                              Expense                                                        Value
                              E108 – Postage                                                $19.24

                              Total                                                        $ 19.24




Atty : JAK, #264 / P1133669                                      Page 9                                   Tax ID # XX-XXXXXXX
                                                                                                        Exhibit 2, page 229
   Case 2:19-bk-23085-BB            Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                        Desc
                                    Main Document   Page 230 of 377
                                        GREENBERG GLUSKER

     2049 Century Park East                                                    General billing questions: (310) 201-7492
     Suite 2600                                                                                           (310) 785-6842
     Los Angeles, CA 90067                                                                    Payments: (310) 785-6846
                                                                                                       Fax: (310) 553-7018
     Client # 76214,      Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,      Youth Policy Institute, Inc.

     Invoice date: 09/16/21                                                                     Charges through: 07/31/21
     Invoice # 702688

                                           RECAP OF AMOUNTS DUE
 Total Previous Balance                                                                 $ 369,515.93
                                                                                                        __________
 Balance Forward                                                                                       $ 369,515.93
 Current Month Fees                                                                      $ 34,030.00
 Current Month Costs                                                                         $ 19.24
                                                                                                        __________
 Total Current Charges                                                                                  $ 34,049.24
                                                                                                        __________
 Total Due from Current Charges                                                                         $ 34,049.24
                                                                                                        __________
 AMOUNT DUE                                                                                            $ 403,565.17




                                             Summary Of Attorney Time
                                             ______________________

             Attorney                                        Hours     Rate         Value
             B Davidoff                                       0.30   775.00      $ 232.50
             H Waldman                                        5.40     0.00         $ 0.00
             J Krieger                                       10.80   675.00    $ 7,290.00
             K Banner                                        46.10   575.00   $ 26,507.50
             Total                                           62.60            $ 34,030.00




Atty : JAK, #264 / P1133669                             Page 10                                Tax ID # XX-XXXXXXX
                                                                                             Exhibit 2, page 230
         Case 2:19-bk-23085-BB                Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                                      Desc
                                              Main Document   Page 231 of 377

                                                      GREENBERG GLUSKER
          2049 Century Park East                                                            General billing questions: (310) 201-7492
          Suite 2600                                                                                                   (310) 785-6842
          Los Angeles, CA 90067                                                                            Payments: (310) 785-6846
                                                                                                                      Fax: (310) 553-7018
                                                  Jason M. Rund, Chapter 7 Trustee


          Client # 76214                                                                                      Charges through: 07/31/21
          Invoice date: 09/16/21
          Invoice # 702688




                                                                                              Payments and
Matter                                                    Previous              Current        Retainers To        Adjustments
Number      Name                                           Balance             Charges            09/16/21         To 09/16/21         Amount Due
00002       Youth Policy Institute, Inc.              $ 369,515.93          $ 34,049.24              $ 0.00             $ 0.00        $ 403,565.17

                                                      ___________          __________          __________           __________       ___________
            Bill Total                                $ 369,515.93         $ 34,049.24              $ 0.00               $ 0.00      $ 403,565.17


                                  PLEASE ENCLOSE THIS PAGE WITH YOUR REMITTANCE


                                           Wire instructions for the GENERAL account in US Dollars:
                                         Bank Name:               First Republic Bank
                                                                  111 Pine Street
                                                                  San Francisco, CA 94111
                                         SWIFT CODE:              FRBBUS6S
                                         ABA:                     321081669
                                         Account Name:            Greenberg Glusker Fields Claman &
                                                                  Machtinger
                                         Account No.:             #997-0005-4655




  Please reflect the client name and number, and the matters being paid. Payments received will apply first to accrued interest and then to
  costs and fees.
   Atty : JAK, #264 / P1133669                                         Page 11                                       Tax ID # XX-XXXXXXX
                                                                                                                   Exhibit 2, page 231
        Case 2:19-bk-23085-BB                  Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                                      Desc
                                               Main Document   Page 232 of 377
                                                   GREENBERG GLUSKER
          2049 Century Park East                                                             General billing questions: (310) 201-7492
          Suite 2600                                                                                                    (310) 785-6842
          Los Angeles, CA 90067                                                                             Payments: (310) 785-6846
                                                                                                                       Fax: (310) 553-7018
                                                   Jason M. Rund, Chapter 7 Trustee
                                                          Due Date: October 18, 2021

          Client # 76214                                                                                       Charges through: 08/31/21
          Invoice date: 09/27/21
          Invoice # 702687



                                                                                              Payments and
Matter                                                     Previous              Current       Retainers To          Adjustments
Number Name                                                 Balance             Charges           09/27/21           To 09/27/21        Amount Due
00002   Youth Policy Institute, Inc.                   $ 403,565.17           $ 8,904.37             $ 0.00               $ 0.00       $ 412,469.54

                                                       ___________          __________          __________           __________       ___________
             Bill Total                                $ 403,565.17          $ 8,904.37              $ 0.00               $ 0.00      $ 412,469.54




                                                                         Jason M. Rund, Chapter 7 Trustee
                                                                         Sheridan & Rund
                                                                         840 Apollo Street
                                                                         Suite 351
                                                                         El Segundo, CA 90402




   Please reflect the client name and number, and the matters being paid. Payments received will apply first to accrued interest and then to
   costs and fees.
    Atty : JAK, #264 / P1131834                                          Page 1                                       Tax ID # XX-XXXXXXX
                                                                                                                    Exhibit 2, page 232
   Case 2:19-bk-23085-BB             Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                           Desc
                                     Main Document   Page 233 of 377
                                         GREENBERG GLUSKER

     2049 Century Park East                                                       General billing questions: (310) 201-7492
     Suite 2600                                                                                              (310) 785-6842
     Los Angeles, CA 90067                                                                       Payments: (310) 785-6846
                                                                                                           Fax: (310) 553-7018
     Client # 76214,     Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,     Youth Policy Institute, Inc.
                                                     Due Date: October 13, 2022
     Invoice date: 09/27/21                                                                         Charges through: 08/31/21
     Invoice # 702687



                                                            FEES
 Date      Timekeeper                               Description of Services                        Hours         Amount

 B100 – Administration
    B120 – Asset Analysis and Recovery
 08/02/21 K Banner             Review and revise final demand letters to Orenda and CDN             0.50        $ 287.50
                               (.3); review file for status of other preference demands (.2).
 08/02/21 K Banner             Review Kaiser correspondence in preparation for call with            1.70        $ 977.50
                               Kaiser's counsel regarding preference (.3); telephone call with
                               M. Ebersole regarding the same (1.0); telephone call with
                               Trustee regarding the same (.4).
 08/04/21 K Banner             Review response from AFLAC to preference demand.                     0.20        $ 115.00
 08/06/21 K Banner             Review settlement proposal from Kaiser regarding preference          0.80        $ 460.00
                               and email exchange with M. Ebersole and Trustee (.3); confer
                               with Trustee regarding strategy for Kaiser and other preference
                               demands (.5).
 08/11/21 K Banner             Further review of detail information from Kaiser regarding           0.80        $ 460.00
                               preferential transfers and collate data for response.
 08/13/21 K Banner             Further review of Kaiser records and draft settlement proposal       1.80       $ 1,035.00
                               calculation (.3); email exchange with Trustee regarding the
                               same (.1); further research regarding Kaiser's purported
                               ordinary course defense and draft portions of response (1.4).
 08/16/21 K Banner             Draft and revise correspondence to Kaiser regarding settlement       1.20        $ 690.00
                               proposal and conduct supplemental research.
 08/18/21 K Banner             Review file for status and timing of CCF demand letter (.1);         0.20        $ 115.00
                               email exchange with M. Ebersole regarding Kaiser preference
                               (.1).
 08/24/21 K Banner             Email exchange with R. Clement regarding preference demand           0.20        $ 115.00
                               on California Dental Network and review prior correspondence
                               to the same.
 08/27/21 JA Krieger           Analyze email from K. Banner and CCF response to demand/             0.30        $ 202.50
                               settlement offer
 08/27/21 K Banner             Email exchange with S. Gurvitz regarding CCF demand, review          0.30        $ 172.50
                               response to CCF demand and email to Trustee regarding the
                               same.
 08/30/21 K Banner             Preliminary review of further response by Kaiser to preference       0.20        $ 115.00
                               demand.
 08/31/21 JA Krieger           Telephone conference(s) with K. Banner regarding status of           0.40        $ 270.00
                               avoidance actions
           Total B120 – Asset Analysis and Recovery                                                 8.60       $ 5,015.00


    B150 – Meetings of and Communications with Creditors
 08/05/21 K Banner            Telephone call with former employee E. Morales and review of          0.30        $ 172.50
                              Labor Commission proof of claim with respect to the same.
           Total B150 – Meetings of and Communications with Creditors                               0.30        $ 172.50
Atty : JAK, #264 / P1131834                                Page 2                                  Tax ID # XX-XXXXXXX
                                                                                                 Exhibit 2, page 233
   Case 2:19-bk-23085-BB              Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                            Desc
                                      Main Document   Page 234 of 377
                                          GREENBERG GLUSKER

     2049 Century Park East                                                          General billing questions: (310) 201-7492
     Suite 2600                                                                                                 (310) 785-6842
     Los Angeles, CA 90067                                                                          Payments: (310) 785-6846
                                                                                                             Fax: (310) 553-7018
     Client # 76214,     Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,     Youth Policy Institute, Inc.
                                                     Due Date: October 13, 2022
     Invoice date: 09/27/21                                                                           Charges through: 08/31/21
     Invoice # 702687

                                                             FEES
 Date       Timekeeper                               Description of Services                         Hours         Amount


            Total B100 – Administration                                                               8.90       $ 5,187.50


 B200 – Operations
    B230 – Financing/Cash Collateral
 08/19/21 K Banner             Email exchange with G. Weiner regarding NFF inquiry re                 0.10         $ 57.50
                               status.
 08/23/21 K Banner             Review and analyze grant receivable information in preparation         0.80        $ 460.00
                               for call with NFF's counsel (.4); telephone call with G. Weiner
                               regarding NFF inquiries (.4).
           Total B230 – Financing/Cash Collateral                                                     0.90        $ 517.50


            Total B200 – Operations                                                                   0.90        $ 517.50


 B400 – Carve-Out Matters
    B410 – Grant Receivables
 08/04/21 K Banner              Review and analyze documents from Champions for Change                1.40        $ 805.00
                                regarding receivable (.7); email to Trustee regarding
                                observations relating to the same (.1); telephone call with J.
                                Rund regarding the same and other issues regarding grant
                                receivables (.5); email exchange with D. Devine regarding
                                access to payroll records in connection with grant receivables
                                (.1).
 08/05/21   K Banner            Further review of information regarding Champions for Change          0.40        $ 230.00
                                receivable and draft email to county regarding the same.
 08/10/21   K Banner            Email exchange with J. Garcia regarding Champions for                 0.20        $ 115.00
                                Change receivable (.1); telephone call with Trustee regarding
                                the same (.1).
            Total B410 – Grant Receivables                                                            2.00       $ 1,150.00


    B420 – Commercial Tort Claims
 08/02/21 K Banner             Review and revise special counsel employment application,              1.00        $ 575.00
                               notice, and accompanying declarations for filing.
 08/03/21 K Banner             Review filed employment application and notice and email to            0.20        $ 115.00
                               P. Dracht.
 08/09/21 K Banner             Email exchange with P. Dracht regarding commercial tort                0.10         $ 57.50
                               claims.
 08/18/21 K Banner             Draft and revise order approving special litigation counsel (.5);      1.20        $ 690.00
                               telephone call with P. Dracht regarding status and strategy (.3);
                               collate and review documents for P. Dracht regarding
                               commercial tort claims (.4).
Atty : JAK, #264 / P1131834                                 Page 3                                   Tax ID # XX-XXXXXXX
                                                                                                   Exhibit 2, page 234
   Case 2:19-bk-23085-BB                  Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                           Desc
                                          Main Document   Page 235 of 377
                                              GREENBERG GLUSKER

     2049 Century Park East                                                             General billing questions: (310) 201-7492
     Suite 2600                                                                                                    (310) 785-6842
     Los Angeles, CA 90067                                                                             Payments: (310) 785-6846
                                                                                                                Fax: (310) 553-7018
     Client # 76214,     Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,     Youth Policy Institute, Inc.
                                                     Due Date: October 13, 2022
     Invoice date: 09/27/21                                                                             Charges through: 08/31/21
     Invoice # 702687

                                                              FEES
 Date     Timekeeper                                 Description of Services                           Hours          Amount
 08/19/21 K Banner             Review and revise order granting employment of special                   0.60         $ 345.00
                               litigation counsel re commercial tort claims (.2); draft and
                               review notice of lodgment regarding the same (.1); email
                               exchange with Trustee regarding status of commercial tort
                               claims litigation (.1); review and revise declaration re: non-
                               opposition to special counsel employment app (.2).
 08/20/21    K Banner          Review entered order on special counsel's employment                      0.20        $ 115.00
                               application and email exchange with P. Dracht.
 08/23/21    K Banner          Review district court records for information regarding any               0.20        $ 115.00
                               potential criminal action against D. Slingerland.
             Total B420 – Commercial Tort Claims                                                         3.50       $ 2,012.50


             Total B400 – Carve-Out Matters                                                              5.50       $ 3,162.50


 Total fees for this matter:                                                                                        $ 8,867.50


                                             Summary Of Attorney Time By Task
                                                ______________________

                                                                 Hours           Rate                 Value

               B120 – Asset Analysis and Recovery
                 K Banner                                         7.90         575.00             $ 4,542.50
                 JA Krieger                                       0.70         675.00               $ 472.50

               B150 – Meetings of and Communications with Creditors
                 K Banner                                          0.30        575.00              $ 172.50

               B230 – Financing/Cash Collateral
                 K Banner                                         0.90         575.00              $ 517.50

               B410 – Grant Receivables
                 K Banner                                         2.00         575.00             $ 1,150.00

               B420 – Commercial Tort Claims
                 K Banner                                         3.50         575.00             $ 2,012.50

               Total                                             15.30                            $ 8,867.50




Atty : JAK, #264 / P1131834                                   Page 4                                  Tax ID # XX-XXXXXXX
                                                                                                    Exhibit 2, page 235
   Case 2:19-bk-23085-BB                Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                                   Desc
                                        Main Document   Page 236 of 377
                                            GREENBERG GLUSKER

     2049 Century Park East                                                               General billing questions: (310) 201-7492
     Suite 2600                                                                                                      (310) 785-6842
     Los Angeles, CA 90067                                                                               Payments: (310) 785-6846
                                                                                                                      Fax: (310) 553-7018
     Client # 76214,     Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,     Youth Policy Institute, Inc.
                                                     Due Date: October 13, 2022
     Invoice date: 09/27/21                                                                                  Charges through: 08/31/21
     Invoice # 702687

                                                         Summary By Task
                                                      ______________________

                                                  Task                                              Hours             Value
                                                  B120 – Asset Analysis and Recovery                 8.60        $ 5,015.00
                                                  B150 – Meetings of and Communications              0.30          $ 172.50
                                                  with Creditors
                                                  B230 – Financing/Cash Collateral                   0.90          $ 517.50
                                                  B410 – Grant Receivables                           2.00        $ 1,150.00
                                                  B420 – Commercial Tort Claims                      3.50        $ 2,012.50
   Total                                                                                            15.30        $ 8,867.50




                                                               COSTS
                   Date             Description                                                             Amount
           through 08/31/21         Postage                                                                 $ 36.87

                       Total costs for this matter:                                                         $ 36.87


                                             Summary Of Costs by Expenses Code
                                                ______________________

                            Expense                                                        Value
                            E108 – Postage                                                $36.87

                            Total                                                         $ 36.87




Atty : JAK, #264 / P1131834                                     Page 5                                   Tax ID # XX-XXXXXXX
                                                                                                       Exhibit 2, page 236
   Case 2:19-bk-23085-BB            Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                        Desc
                                    Main Document   Page 237 of 377
                                        GREENBERG GLUSKER

     2049 Century Park East                                                       General billing questions: (310) 201-7492
     Suite 2600                                                                                              (310) 785-6842
     Los Angeles, CA 90067                                                                       Payments: (310) 785-6846
                                                                                                       Fax: (310) 553-7018
     Client # 76214,     Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,     Youth Policy Institute, Inc.
                                                     Due Date: October 13, 2022
     Invoice date: 09/27/21                                                                       Charges through: 08/31/21
     Invoice # 702687

                                            RECAP OF AMOUNTS DUE
 Total Previous Balance                                                                                $ 403,565.17
                                                                                                        __________
 Balance Forward                                                                                       $ 403,565.17
 Current Month Fees                                                                      $ 8,867.50
 Current Month Costs                                                                        $ 36.87
                                                                                                        __________
 Total Current Charges                                                                                    $ 8,904.37
                                                                                                        __________
 Total Due from Current Charges                                                                           $ 8,904.37
                                                                                                        __________
 AMOUNT DUE                                                                                            $ 412,469.54




                                              Summary Of Attorney Time
                                              ______________________

             Attorney                                       Hours      Rate            Value
             J Krieger                                       0.70    675.00         $ 472.50
             K Banner                                       14.60    575.00       $ 8,395.00
             Total                                          15.30                 $ 8,867.50




Atty : JAK, #264 / P1131834                               Page 6                                 Tax ID # XX-XXXXXXX
                                                                                               Exhibit 2, page 237
        Case 2:19-bk-23085-BB                  Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                                      Desc
                                               Main Document   Page 238 of 377

                                                       GREENBERG GLUSKER
          2049 Century Park East                                                             General billing questions: (310) 201-7492
          Suite 2600                                                                                                    (310) 785-6842
          Los Angeles, CA 90067                                                                             Payments: (310) 785-6846
                                                                                                                       Fax: (310) 553-7018
                                                   Jason M. Rund, Chapter 7 Trustee
                                                          Due Date: October 18, 2021

          Client # 76214                                                                                       Charges through: 08/31/21
          Invoice date: 09/27/21
          Invoice # 702687




                                                                                              Payments and
Matter                                                     Previous              Current       Retainers To          Adjustments
Number Name                                                 Balance             Charges           09/27/21           To 09/27/21        Amount Due
00002   Youth Policy Institute, Inc.                   $ 403,565.17           $ 8,904.37             $ 0.00               $ 0.00       $ 412,469.54

                                                       ___________          __________          __________           __________       ___________
             Bill Total                                $ 403,565.17          $ 8,904.37              $ 0.00               $ 0.00      $ 412,469.54


                                   PLEASE ENCLOSE THIS PAGE WITH YOUR REMITTANCE


                                            Wire instructions for the GENERAL account in US Dollars:
                                          Bank Name:               First Republic Bank
                                                                   111 Pine Street
                                                                   San Francisco, CA 94111
                                          SWIFT CODE:              FRBBUS6S
                                          ABA:                     321081669
                                          Account Name:            Greenberg Glusker Fields Claman &
                                                                   Machtinger
                                          Account No.:             #997-0005-4655




   Please reflect the client name and number, and the matters being paid. Payments received will apply first to accrued interest and then to
   costs and fees.
    Atty : JAK, #264 / P1131834                                          Page 7                                       Tax ID # XX-XXXXXXX
                                                                                                                    Exhibit 2, page 238
        Case 2:19-bk-23085-BB                  Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                                      Desc
                                               Main Document   Page 239 of 377
                                                   GREENBERG GLUSKER
          2049 Century Park East                                                             General billing questions: (310) 201-7577
          Suite 2600                                                                                                    (310) 785-6842
          Los Angeles, CA 90067                                                                             Payments: (310) 785-6846
                                                                                                                       Fax: (310) 553-7018
                                                   Jason M. Rund, Chapter 7 Trustee

          Client # 76214                                                                                       Charges through: 09/30/21
          Invoice date: 09/30/22
          Invoice # 720639



                                                                                              Payments and
Matter                                                     Previous              Current       Retainers To          Adjustments
Number Name                                                 Balance             Charges           09/30/22           To 09/30/22        Amount Due
00002   Youth Policy Institute, Inc.                   $ 489,176.48          $ 16,155.85             $ 0.00               $ 0.00       $ 505,332.33

                                                       ___________          __________          __________           __________       ___________
             Bill Total                                $ 489,176.48         $ 16,155.85              $ 0.00               $ 0.00      $ 505,332.33




                                                                         Jason M. Rund, Chapter 7 Trustee
                                                                         Sheridan & Rund
                                                                         840 Apollo Street
                                                                         Suite 351
                                                                         El Segundo, CA 90402




   Please reflect the client name and number, and the matters being paid. Payments received will apply first to accrued interest and then to
   costs and fees.
    Atty : JAK, #264 / P1183135                                          Page 1                                       Tax ID # XX-XXXXXXX
                                                                                                                    Exhibit 2, page 239
   Case 2:19-bk-23085-BB             Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                           Desc
                                     Main Document   Page 240 of 377
                                         GREENBERG GLUSKER

     2049 Century Park East                                                       General billing questions: (310) 201-7577
     Suite 2600                                                                                              (310) 785-6842
     Los Angeles, CA 90067                                                                       Payments: (310) 785-6846
                                                                                                           Fax: (310) 553-7018
     Client # 76214,    Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,    Youth Policy Institute, Inc.

     Invoice date: 09/30/22                                                                         Charges through: 09/30/21
     Invoice # 720639



                                                            FEES
 Date      Timekeeper                               Description of Services                        Hours         Amount

 B100 – Administration
    B120 – Asset Analysis and Recovery
 09/03/21 K Banner             Draft and revise response to Orenda regarding preference             3.10       $ 1,782.50
                               demand (.7); draft and revise response to Kaiser regarding
                               preference demand and conduct supplemental research (1.5);
                               email exchange with Trustee regarding various preference
                               demands (.2); draft and revise further response to VSP
                               regarding preference demand (.7).
 09/07/21 K Banner             Review and revise letter response to VSP regarding preference        2.50       $ 1,437.50
                               demand (.5); email exchange with M. Ebersole regarding
                               Kaiser preference demand (.1); draft and revise response to
                               CCF regarding preference demand and supplemental research
                               (1.9).
 09/08/21 B Davidoff           Teleconference with Keith Banner regarding analysis of loan          0.30        $ 232.50
                               preference recovery.
 09/08/21 K Banner             Review counteroffer from VSP regarding preference demand,            1.40        $ 805.00
                               email exchange with N. Wasylkiw and Trustee regarding the
                               same (.2); conference with J. Krieger and B. Davidoff regarding
                               CCF preference demand (.3); supplemental research regarding
                               potential defenses of CCF regarding preference (.5); further
                               conference with J. Krieger regarding response to CCF and
                               review and revise demand (.3); email exchange with Trustee
                               regarding the same (.1).
 09/09/21 K Banner             Email exchange with N. Wasylkiw regarding VSP preference             2.00       $ 1,150.00
                               liability (.2); draft and revise settlement agreement for VSP
                               preference (1.0); email exchange with Trustee regarding the
                               same (.1); review and revise draft omnibus 9019 motion and
                               accompanying declaration for preference recipients (.7).
 09/10/21 K Banner             Compile and review fully executed copy of VSP settlement             0.50        $ 287.50
                               agreement and email exchange with Trustee and N. Wasylkiw
                               (.2); email exchange with R. Clement regarding CDN
                               preference demand (.1); review and update worksheet regarding
                               preference demands (.2).
 09/17/21 K Banner             Review counteroffer and detail from Kaiser regarding                 0.90        $ 517.50
                               preference demand, confer with Trustee regarding the same,
                               and email exchange with M. Ebersole (.6); email exchange with
                               S. Gurvitz regarding CCF preference demand (.1); conferences
                               with J. Krieger and Trustee regarding developments (.2).
 09/20/21 K Banner             Draft and revise Kaiser preference settlement agreement (.6);        0.90        $ 517.50
                               email exchange with M. Ebersole regarding the same (.1);
                               review correspondence from California Dental Network
                               regarding preference demand and email exchange with Trustee
                               regarding the same (.2).
Atty : JAK, #264 / P1183135                                Page 2                                  Tax ID # XX-XXXXXXX
                                                                                                 Exhibit 2, page 240
   Case 2:19-bk-23085-BB              Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                          Desc
                                      Main Document   Page 241 of 377
                                          GREENBERG GLUSKER

     2049 Century Park East                                                        General billing questions: (310) 201-7577
     Suite 2600                                                                                               (310) 785-6842
     Los Angeles, CA 90067                                                                        Payments: (310) 785-6846
                                                                                                           Fax: (310) 553-7018
     Client # 76214,    Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,    Youth Policy Institute, Inc.

     Invoice date: 09/30/22                                                                         Charges through: 09/30/21
     Invoice # 720639

                                                            FEES
 Date     Timekeeper                                Description of Services                        Hours          Amount
 09/21/21 K Banner            Email exchange with M. Ebersole regarding Kaiser settlement           2.30       $ 1,322.50
                              agreement (.1); review records and information regarding CDN
                              preference payments and draft response to CDN (1.2); email
                              exchange with Trustee regarding the same (.1); review
                              November bank statements for information relating to CDN
                              preference claims (.1); review CCF correspondence and records
                              regarding CCF preference in preparation for call with CCF
                              counsel (.2); telephone call with S. Gurvitz regarding CCF
                              preference (.6).
 09/22/21 K Banner            Research client file and OneDrive for further information             2.20       $ 1,265.00
                              regarding 21st century grants as they relate to CCF preference
                              (1.0); telephone conference with Trustee regarding the same
                              (.5); further review of documents including CDE proof of claim
                              and draft email to CCf's counsel regarding preference (.5);
                              review and revise letter to California Dental Network regarding
                              preference (.2).
 09/28/21 K Banner            Review and revise Kaiser preference settlement agreement and          0.60        $ 345.00
                              email exchange with Trustee regarding the same (.3); email
                              exchange with N. Wasylkiw regarding VSP preference
                              settlement payment (.1); confer with J. Krieger regarding status
                              of preference demands (.2).
 09/29/21 K Banner            Review and revise Kaiser preference settlement agreement and          0.60        $ 345.00
                              email exchange with M. Ebersole (.3); review file regarding
                              Orenda preference and email to M. Barth regarding the same
                              (.3).
 09/30/21 K Banner            Email exchange with M. Ebersole regarding Kaiser preference           1.90       $ 1,092.50
                              settlement (.1); review preference worksheet and update for
                              latest developments (.2); continue drafting and revising 9019
                              motion and supporting declaration regarding omnibus
                              preference settlements (1.6).
          Total B120 – Asset Analysis and Recovery                                                 19.20     $ 11,100.00


            Total B100 – Administration                                                            19.20     $ 11,100.00


 B200 – Operations
    B240 – Tax Issues
 09/10/21 K Banner              Review IRS amended proof of claim and confer with Trustee           0.20        $ 115.00
                                and D. Fife regarding the same.
 09/30/21   K Banner            Review file regarding IRS demand and email to N. Shariff            0.20        $ 115.00
                                regarding the same.
            Total B240 – Tax Issues                                                                 0.40        $ 230.00


            Total B200 – Operations                                                                 0.40        $ 230.00
Atty : JAK, #264 / P1183135                                Page 3                                  Tax ID # XX-XXXXXXX
                                                                                                 Exhibit 2, page 241
   Case 2:19-bk-23085-BB             Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                          Desc
                                     Main Document   Page 242 of 377
                                         GREENBERG GLUSKER

     2049 Century Park East                                                       General billing questions: (310) 201-7577
     Suite 2600                                                                                              (310) 785-6842
     Los Angeles, CA 90067                                                                       Payments: (310) 785-6846
                                                                                                          Fax: (310) 553-7018
     Client # 76214,       Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,       Youth Policy Institute, Inc.

     Invoice date: 09/30/22                                                                        Charges through: 09/30/21
     Invoice # 720639

                                                              FEES
 Date        Timekeeper                               Description of Services                     Hours         Amount


 B400 – Bankruptcy-Related Advice
    B410 – General Bankruptcy Advice/Opinions
 09/02/21 K Banner             Review payroll information transmitted from Ultipro with            0.80        $ 460.00
                               respect to EWDD grant information requests (.7); email
                               exchange with Trustee regarding the same (.1).
 09/30/21 K Banner             Email exchange with J. Garcia regarding status of Champions         0.10         $ 57.50
                               for Change receivable.
           Total B410 – General Bankruptcy Advice/Opinions                                         0.90        $ 517.50


    B420 – Restructuring
 09/03/21 JA Krieger          Emails with K. Banner regarding complaint status (.1); review        0.30        $ 202.50
                              email from K. Banner to special counsel regarding timing of
                              draft complaint (.1); review email from special counsel
                              regarding subpoena (.1)
 09/08/21 JA Krieger          Analyze draft response to preference defendant (.2); telephone       0.50        $ 337.50
                              conference(s) with K. Banner regarding same (.3)
 09/08/21 K Banner            Review district court records for any information on possible        0.60        $ 345.00
                              Slingerland indictment (.2); research regarding public records
                              of the Debtor for commercial tort claims (.4).
 09/13/21 JA Krieger          Review and revise draft complaint against Slingerland, Schultz,      1.30        $ 877.50
                              et. al.
 09/13/21 K Banner            Email exchange with B. Howard regarding scheduling meeting           1.90       $ 1,092.50
                              for commercial tort claims (.1); review and revise draft
                              complaint regarding commercial tort claims (1.0); email
                              exchange with Trustee regarding the same (.1); telephone
                              conference with P. Dracht and B. Howard regarding
                              commercial tort claims (.7).
 09/14/21 K Banner            Continue review and revise of draft commercial tort claim            0.90        $ 517.50
                              complaint (.8); email exchange with P. Dracht regarding the
                              same (.1).
 09/16/21 K Banner            Review client file and one drive database for information            1.10        $ 632.50
                              relating to former audits relevant to commercial tort claims.
 09/20/21 K Banner            Conference with Trustee regarding documents relating to              0.30        $ 172.50
                              commercial tort claims.
 09/30/21 K Banner            Review district court records for status of any criminal action      0.20        $ 115.00
                              against Slingerland.
          Total B420 – Restructuring                                                               7.10       $ 4,292.50


             Total B400 – Bankruptcy-Related Advice                                                8.00       $ 4,810.00


 Total fees for this matter:                                                                                 $ 16,140.00
Atty : JAK, #264 / P1183135                                  Page 4                               Tax ID # XX-XXXXXXX
                                                                                                Exhibit 2, page 242
   Case 2:19-bk-23085-BB               Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                                      Desc
                                       Main Document   Page 243 of 377
                                           GREENBERG GLUSKER

     2049 Century Park East                                                                   General billing questions: (310) 201-7577
     Suite 2600                                                                                                          (310) 785-6842
     Los Angeles, CA 90067                                                                                   Payments: (310) 785-6846
                                                                                                                        Fax: (310) 553-7018
     Client # 76214,      Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,      Youth Policy Institute, Inc.

     Invoice date: 09/30/22                                                                                    Charges through: 09/30/21
     Invoice # 720639



                                           Summary Of Attorney Time By Task
                                              ______________________

                                                                 Hours                 Rate                   Value

             B120 – Asset Analysis and Recovery
               K Banner                                           18.90           575.00               $ 10,867.50
               B Davidoff                                          0.30           775.00                  $ 232.50

             B240 – Tax Issues
               K Banner                                            0.40           575.00                 $ 230.00

             B410 – General Bankruptcy Advice/Opinions
               K Banner                                            0.90           575.00                 $ 517.50

             B420 – Restructuring
               K Banner                                            5.00           575.00                $ 2,875.00
               JA Krieger                                          2.10           675.00                $ 1,417.50

             Total                                                27.60                                $ 16,140.00




                                                     Summary By Task
                                                  ______________________

                                                  Task                                                Hours             Value
                                                  B120 – Asset Analysis and Recovery                  19.20       $ 11,100.00
                                                  B240 – Tax Issues                                    0.40          $ 230.00
                                                  B410 – General Bankruptcy                            0.90          $ 517.50
                                                  Advice/Opinions
                                                  B420 – Restructuring                                 7.10        $ 4,292.50
   Total                                                                                              27.60       $ 16,140.00




                                                          COSTS
                       Date         Description                                                               Amount
                       10/21/21     VENDOR: Wells Fargo Card Services, Inc. INVOICE#:                          $ 5.60
                                    20211103-1754 DATE: 11/3/2021
                                    Pacer Account Payment (PACER800-676-6856IR, 800-
                                    676-6856 TX)
                       08/02/21     VENDOR: First Legal Network, LLC INVOICE#:                                $ 10.25
                                    10421497 DATE: 8/8/2021

Atty : JAK, #264 / P1183135                                    Page 5                                       Tax ID # XX-XXXXXXX
                                                                                                          Exhibit 2, page 243
   Case 2:19-bk-23085-BB                 Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                           Desc
                                         Main Document   Page 244 of 377
                                             GREENBERG GLUSKER

     2049 Century Park East                                                           General billing questions: (310) 201-7577
     Suite 2600                                                                                                  (310) 785-6842
     Los Angeles, CA 90067                                                                           Payments: (310) 785-6846
                                                                                                               Fax: (310) 553-7018
     Client # 76214,      Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,      Youth Policy Institute, Inc.

     Invoice date: 09/30/22                                                                            Charges through: 09/30/21
     Invoice # 720639

                                                                  COSTS
                       Date           Description                                                    Amount

                       Total costs for this matter:                                                  $ 15.85


                                              Summary Of Costs by Expenses Code
                                                 ______________________

                              Expense                                                  Value
                              E107 – Delivery services/messengers                     $10.25

                              E118 – Litigation support vendors                        $5.60

                              Total                                                   $ 15.85




                                                 RECAP OF AMOUNTS DUE
 Total Previous Balance                                                                         $ 489,176.48
                                                                                                                __________
 Balance Forward                                                                                               $ 489,176.48
 Current Month Fees                                                                              $ 16,140.00
 Current Month Costs                                                                                 $ 15.85
                                                                                                                __________
 Total Current Charges                                                                                          $ 16,155.85
                                                                                                                __________
 Total Due from Current Charges                                                                                 $ 16,155.85
                                                                                                                __________
 AMOUNT DUE                                                                                                    $ 505,332.33




                                                    Summary Of Attorney Time
                                                    ______________________

             Attorney                                               Hours     Rate         Value
             B Davidoff                                              0.30   775.00      $ 232.50
             J Krieger                                               2.10   675.00    $ 1,417.50
             K Banner                                               25.20   575.00   $ 14,490.00
             Total                                                  27.60            $ 16,140.00




Atty : JAK, #264 / P1183135                                       Page 6                             Tax ID # XX-XXXXXXX
                                                                                                   Exhibit 2, page 244
         Case 2:19-bk-23085-BB                Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                                      Desc
                                              Main Document   Page 245 of 377

                                                      GREENBERG GLUSKER
          2049 Century Park East                                                            General billing questions: (310) 201-7577
          Suite 2600                                                                                                   (310) 785-6842
          Los Angeles, CA 90067                                                                            Payments: (310) 785-6846
                                                                                                                      Fax: (310) 553-7018
                                                  Jason M. Rund, Chapter 7 Trustee


          Client # 76214                                                                                      Charges through: 09/30/21
          Invoice date: 09/30/22
          Invoice # 720639




                                                                                              Payments and
Matter                                                    Previous              Current        Retainers To        Adjustments
Number      Name                                           Balance             Charges            09/30/22         To 09/30/22         Amount Due
00002       Youth Policy Institute, Inc.              $ 489,176.48          $ 16,155.85              $ 0.00             $ 0.00        $ 505,332.33

                                                      ___________          __________          __________           __________       ___________
            Bill Total                                $ 489,176.48         $ 16,155.85              $ 0.00               $ 0.00      $ 505,332.33


                                  PLEASE ENCLOSE THIS PAGE WITH YOUR REMITTANCE


                                           Wire instructions for the GENERAL account in US Dollars:
                                         Bank Name:               First Republic Bank
                                                                  111 Pine Street
                                                                  San Francisco, CA 94111
                                         SWIFT CODE:              FRBBUS6S
                                         ABA:                     321081669
                                         Account Name:            Greenberg Glusker Fields Claman &
                                                                  Machtinger
                                         Account No.:             #997-0005-4655




  Please reflect the client name and number, and the matters being paid. Payments received will apply first to accrued interest and then to
  costs and fees.
   Atty : JAK, #264 / P1183135                                          Page 7                                       Tax ID # XX-XXXXXXX
                                                                                                                   Exhibit 2, page 245
        Case 2:19-bk-23085-BB                  Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                                      Desc
                                               Main Document   Page 246 of 377
                                                   GREENBERG GLUSKER
          2049 Century Park East                                                             General billing questions: (310) 201-7492
          Suite 2600                                                                                                    (310) 785-6842
          Los Angeles, CA 90067                                                                             Payments: (310) 785-6846
                                                                                                                       Fax: (310) 553-7018
                                                   Jason M. Rund, Chapter 7 Trustee

          Client # 76214                                                                                       Charges through: 10/31/21
          Invoice date: 09/30/22
          Invoice # 720639



                                                                                              Payments and
Matter                                                     Previous              Current       Retainers To          Adjustments
Number Name                                                 Balance             Charges           09/30/22           To 09/30/22        Amount Due
00002   Youth Policy Institute, Inc.                   $ 482,981.48          $ 16,155.85             $ 0.00               $ 0.00       $ 499,137.33

                                                       ___________          __________          __________           __________       ___________
             Bill Total                                $ 482,981.48         $ 16,155.85              $ 0.00               $ 0.00      $ 499,137.33




                                                                         Jason M. Rund, Chapter 7 Trustee
                                                                         Sheridan & Rund
                                                                         840 Apollo Street
                                                                         Suite 351
                                                                         El Segundo, CA 90402




   Please reflect the client name and number, and the matters being paid. Payments received will apply first to accrued interest and then to
   costs and fees.
    Atty : JAK, #264 / P1183135                                          Page 1                                       Tax ID # XX-XXXXXXX
                                                                                                                    Exhibit 2, page 246
   Case 2:19-bk-23085-BB             Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                           Desc
                                     Main Document   Page 247 of 377
                                         GREENBERG GLUSKER

     2049 Century Park East                                                       General billing questions: (310) 201-7492
     Suite 2600                                                                                              (310) 785-6842
     Los Angeles, CA 90067                                                                       Payments: (310) 785-6846
                                                                                                           Fax: (310) 553-7018
     Client # 76214,    Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,    Youth Policy Institute, Inc.

     Invoice date: 09/30/22                                                                         Charges through: 10/31/21
     Invoice # 720639



                                                            FEES
 Date      Timekeeper                               Description of Services                        Hours         Amount

 B100 – Administration
    B120 – Asset Analysis and Recovery
 09/03/21 K Banner             Draft and revise response to Orenda regarding preference             3.10       $ 1,782.50
                               demand (.7); draft and revise response to Kaiser regarding
                               preference demand and conduct supplemental research (1.5);
                               email exchange with Trustee regarding various preference
                               demands (.2); draft and revise further response to VSP
                               regarding preference demand (.7).
 09/07/21 K Banner             Review and revise letter response to VSP regarding preference        2.50       $ 1,437.50
                               demand (.5); email exchange with M. Ebersole regarding
                               Kaiser preference demand (.1); draft and revise response to
                               CCF regarding preference demand and supplemental research
                               (1.9).
 09/08/21 B Davidoff           Teleconference with Keith Banner regarding analysis of loan          0.30        $ 232.50
                               preference recovery.
 09/08/21 K Banner             Review counteroffer from VSP regarding preference demand,            1.40        $ 805.00
                               email exchange with N. Wasylkiw and Trustee regarding the
                               same (.2); conference with J. Krieger and B. Davidoff regarding
                               CCF preference demand (.3); supplemental research regarding
                               potential defenses of CCF regarding preference (.5); further
                               conference with J. Krieger regarding response to CCF and
                               review and revise demand (.3); email exchange with Trustee
                               regarding the same (.1).
 09/09/21 K Banner             Email exchange with N. Wasylkiw regarding VSP preference             2.00       $ 1,150.00
                               liability (.2); draft and revise settlement agreement for VSP
                               preference (1.0); email exchange with Trustee regarding the
                               same (.1); review and revise draft omnibus 9019 motion and
                               accompanying declaration for preference recipients (.7).
 09/10/21 K Banner             Compile and review fully executed copy of VSP settlement             0.50        $ 287.50
                               agreement and email exchange with Trustee and N. Wasylkiw
                               (.2); email exchange with R. Clement regarding CDN
                               preference demand (.1); review and update worksheet regarding
                               preference demands (.2).
 09/17/21 K Banner             Review counteroffer and detail from Kaiser regarding                 0.90        $ 517.50
                               preference demand, confer with Trustee regarding the same,
                               and email exchange with M. Ebersole (.6); email exchange with
                               S. Gurvitz regarding CCF preference demand (.1); conferences
                               with J. Krieger and Trustee regarding developments (.2).
 09/20/21 K Banner             Draft and revise Kaiser preference settlement agreement (.6);        0.90        $ 517.50
                               email exchange with M. Ebersole regarding the same (.1);
                               review correspondence from California Dental Network
                               regarding preference demand and email exchange with Trustee
                               regarding the same (.2).
Atty : JAK, #264 / P1183135                                Page 2                                  Tax ID # XX-XXXXXXX
                                                                                                 Exhibit 2, page 247
   Case 2:19-bk-23085-BB              Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                          Desc
                                      Main Document   Page 248 of 377
                                          GREENBERG GLUSKER

     2049 Century Park East                                                        General billing questions: (310) 201-7492
     Suite 2600                                                                                               (310) 785-6842
     Los Angeles, CA 90067                                                                        Payments: (310) 785-6846
                                                                                                           Fax: (310) 553-7018
     Client # 76214,    Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,    Youth Policy Institute, Inc.

     Invoice date: 09/30/22                                                                         Charges through: 10/31/21
     Invoice # 720639

                                                            FEES
 Date     Timekeeper                                Description of Services                        Hours          Amount
 09/21/21 K Banner            Email exchange with M. Ebersole regarding Kaiser settlement           2.30       $ 1,322.50
                              agreement (.1); review records and information regarding CDN
                              preference payments and draft response to CDN (1.2); email
                              exchange with Trustee regarding the same (.1); review
                              November bank statements for information relating to CDN
                              preference claims (.1); review CCF correspondence and records
                              regarding CCF preference in preparation for call with CCF
                              counsel (.2); telephone call with S. Gurvitz regarding CCF
                              preference (.6).
 09/22/21 K Banner            Research client file and OneDrive for further information             2.20       $ 1,265.00
                              regarding 21st century grants as they relate to CCF preference
                              (1.0); telephone conference with Trustee regarding the same
                              (.5); further review of documents including CDE proof of claim
                              and draft email to CCf's counsel regarding preference (.5);
                              review and revise letter to California Dental Network regarding
                              preference (.2).
 09/28/21 K Banner            Review and revise Kaiser preference settlement agreement and          0.60        $ 345.00
                              email exchange with Trustee regarding the same (.3); email
                              exchange with N. Wasylkiw regarding VSP preference
                              settlement payment (.1); confer with J. Krieger regarding status
                              of preference demands (.2).
 09/29/21 K Banner            Review and revise Kaiser preference settlement agreement and          0.60        $ 345.00
                              email exchange with M. Ebersole (.3); review file regarding
                              Orenda preference and email to M. Barth regarding the same
                              (.3).
 09/30/21 K Banner            Email exchange with M. Ebersole regarding Kaiser preference           1.90       $ 1,092.50
                              settlement (.1); review preference worksheet and update for
                              latest developments (.2); continue drafting and revising 9019
                              motion and supporting declaration regarding omnibus
                              preference settlements (1.6).
          Total B120 – Asset Analysis and Recovery                                                 19.20     $ 11,100.00


            Total B100 – Administration                                                            19.20     $ 11,100.00


 B200 – Operations
    B240 – Tax Issues
 09/10/21 K Banner              Review IRS amended proof of claim and confer with Trustee           0.20        $ 115.00
                                and D. Fife regarding the same.
 09/30/21   K Banner            Review file regarding IRS demand and email to N. Shariff            0.20        $ 115.00
                                regarding the same.
            Total B240 – Tax Issues                                                                 0.40        $ 230.00


            Total B200 – Operations                                                                 0.40        $ 230.00
Atty : JAK, #264 / P1183135                                Page 3                                  Tax ID # XX-XXXXXXX
                                                                                                 Exhibit 2, page 248
   Case 2:19-bk-23085-BB             Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                           Desc
                                     Main Document   Page 249 of 377
                                         GREENBERG GLUSKER

     2049 Century Park East                                                        General billing questions: (310) 201-7492
     Suite 2600                                                                                               (310) 785-6842
     Los Angeles, CA 90067                                                                        Payments: (310) 785-6846
                                                                                                           Fax: (310) 553-7018
     Client # 76214,       Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,       Youth Policy Institute, Inc.

     Invoice date: 09/30/22                                                                         Charges through: 10/31/21
     Invoice # 720639

                                                            FEES
 Date        Timekeeper                             Description of Services                        Hours         Amount


 B400 – Carve-Out Matters
    B410 – Grant Receivables
 09/02/21 K Banner               Review payroll information transmitted from Ultipro with           0.80        $ 460.00
                                 respect to EWDD grant information requests (.7); email
                                 exchange with Trustee regarding the same (.1).
 09/30/21    K Banner            Email exchange with J. Garcia regarding status of Champions        0.10         $ 57.50
                                 for Change receivable.
             Total B410 – Grant Receivables                                                         0.90        $ 517.50


    B420 – Commercial Tort Claims
 09/03/21 JA Krieger           Emails with K. Banner regarding complaint status (.1); review        0.30        $ 202.50
                               email from K. Banner to special counsel regarding timing of
                               draft complaint (.1); review email from special counsel
                               regarding subpoena (.1)
 09/08/21 JA Krieger           Analyze draft response to preference defendant (.2); telephone       0.50        $ 337.50
                               conference(s) with K. Banner regarding same (.3)
 09/08/21 K Banner             Review district court records for any information on possible        0.60        $ 345.00
                               Slingerland indictment (.2); research regarding public records
                               of the Debtor for commercial tort claims (.4).
 09/13/21 JA Krieger           Review and revise draft complaint against Slingerland, Schultz,      1.30        $ 877.50
                               et. al.
 09/13/21 K Banner             Email exchange with B. Howard regarding scheduling meeting           1.90       $ 1,092.50
                               for commercial tort claims (.1); review and revise draft
                               complaint regarding commercial tort claims (1.0); email
                               exchange with Trustee regarding the same (.1); telephone
                               conference with P. Dracht and B. Howard regarding
                               commercial tort claims (.7).
 09/14/21 K Banner             Continue review and revise of draft commercial tort claim            0.90        $ 517.50
                               complaint (.8); email exchange with P. Dracht regarding the
                               same (.1).
 09/16/21 K Banner             Review client file and one drive database for information            1.10        $ 632.50
                               relating to former audits relevant to commercial tort claims.
 09/20/21 K Banner             Conference with Trustee regarding documents relating to              0.30        $ 172.50
                               commercial tort claims.
 09/30/21 K Banner             Review district court records for status of any criminal action      0.20        $ 115.00
                               against Slingerland.
           Total B420 – Commercial Tort Claims                                                      7.10       $ 4,292.50


             Total B400 – Carve-Out Matters                                                         8.00       $ 4,810.00


 Total fees for this matter:                                                                                  $ 16,140.00
Atty : JAK, #264 / P1183135                                Page 4                                  Tax ID # XX-XXXXXXX
                                                                                                 Exhibit 2, page 249
   Case 2:19-bk-23085-BB                Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                                     Desc
                                        Main Document   Page 250 of 377
                                            GREENBERG GLUSKER

     2049 Century Park East                                                                   General billing questions: (310) 201-7492
     Suite 2600                                                                                                          (310) 785-6842
     Los Angeles, CA 90067                                                                                   Payments: (310) 785-6846
                                                                                                                        Fax: (310) 553-7018
     Client # 76214,      Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,      Youth Policy Institute, Inc.

     Invoice date: 09/30/22                                                                                    Charges through: 10/31/21
     Invoice # 720639



                                           Summary Of Attorney Time By Task
                                              ______________________

                                                                 Hours                 Rate                   Value

             B120 – Asset Analysis and Recovery
               K Banner                                           18.90           575.00               $ 10,867.50
               B Davidoff                                          0.30           775.00                  $ 232.50

             B240 – Tax Issues
               K Banner                                            0.40           575.00                 $ 230.00

             B410 – Grant Receivables
               K Banner                                            0.90           575.00                 $ 517.50

             B420 – Commercial Tort Claims
               K Banner                                            5.00           575.00                $ 2,875.00
               JA Krieger                                          2.10           675.00                $ 1,417.50

             Total                                                27.60                                $ 16,140.00




                                                     Summary By Task
                                                  ______________________

                                                  Task                                                Hours             Value
                                                  B120 – Asset Analysis and Recovery                  19.20       $ 11,100.00
                                                  B240 – Tax Issues                                    0.40          $ 230.00
                                                  B410 – Grant Receivables                             0.90          $ 517.50
                                                  B420 – Commercial Tort Claims                        7.10        $ 4,292.50
   Total                                                                                              27.60       $ 16,140.00




                                                        COSTS
                       Date       Description                                                                 Amount
                       10/21/21   VENDOR: Wells Fargo Card Services, Inc. INVOICE#:                            $ 5.60
                                  20211103-1754 DATE: 11/3/2021
                                  Pacer Account Payment (PACER800-676-6856IR, 800-
                                  676-6856 TX)
                       08/02/21   VENDOR: First Legal Network, LLC INVOICE#:                                  $ 10.25
                                  10421497 DATE: 8/8/2021


Atty : JAK, #264 / P1183135                                    Page 5                                       Tax ID # XX-XXXXXXX
                                                                                                          Exhibit 2, page 250
   Case 2:19-bk-23085-BB                 Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                           Desc
                                         Main Document   Page 251 of 377
                                             GREENBERG GLUSKER

     2049 Century Park East                                                           General billing questions: (310) 201-7492
     Suite 2600                                                                                                  (310) 785-6842
     Los Angeles, CA 90067                                                                           Payments: (310) 785-6846
                                                                                                               Fax: (310) 553-7018
     Client # 76214,      Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,      Youth Policy Institute, Inc.

     Invoice date: 09/30/22                                                                            Charges through: 10/31/21
     Invoice # 720639

                                                                  COSTS
                       Date         Description                                                      Amount
                       Total costs for this matter:                                                  $ 15.85


                                              Summary Of Costs by Expenses Code
                                                 ______________________

                              Expense                                                  Value
                              E107 – Delivery services/messengers                     $10.25

                              E118 – Litigation support vendors                        $5.60

                              Total                                                   $ 15.85




                                                 RECAP OF AMOUNTS DUE
 Total Previous Balance                                                                         $ 482,981.48
                                                                                                                __________
 Balance Forward                                                                                               $ 482,981.48
 Current Month Fees                                                                              $ 16,140.00
 Current Month Costs                                                                                 $ 15.85
                                                                                                                __________
 Total Current Charges                                                                                          $ 16,155.85
                                                                                                                __________
 Total Due from Current Charges                                                                                 $ 16,155.85
                                                                                                                __________
 AMOUNT DUE                                                                                                    $ 499,137.33




                                                   Summary Of Attorney Time
                                                   ______________________

             Attorney                                               Hours     Rate         Value
             B Davidoff                                              0.30   775.00      $ 232.50
             J Krieger                                               2.10   675.00    $ 1,417.50
             K Banner                                               25.20   575.00   $ 14,490.00
             Total                                                  27.60            $ 16,140.00




Atty : JAK, #264 / P1183135                                       Page 6                             Tax ID # XX-XXXXXXX
                                                                                                   Exhibit 2, page 251
         Case 2:19-bk-23085-BB                Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                                      Desc
                                              Main Document   Page 252 of 377

                                                      GREENBERG GLUSKER
          2049 Century Park East                                                            General billing questions: (310) 201-7492
          Suite 2600                                                                                                   (310) 785-6842
          Los Angeles, CA 90067                                                                            Payments: (310) 785-6846
                                                                                                                      Fax: (310) 553-7018
                                                  Jason M. Rund, Chapter 7 Trustee

          Client # 76214                                                                                      Charges through: 10/31/21
          Invoice date: 09/30/22
          Invoice # 720639




                                                                                              Payments and
Matter                                                    Previous              Current        Retainers To        Adjustments
Number      Name                                           Balance             Charges            09/30/22         To 09/30/22         Amount Due
00002       Youth Policy Institute, Inc.              $ 482,981.48          $ 16,155.85              $ 0.00             $ 0.00        $ 499,137.33

                                                      ___________          __________          __________           __________       ___________
            Bill Total                                $ 482,981.48         $ 16,155.85              $ 0.00               $ 0.00      $ 499,137.33


                                  PLEASE ENCLOSE THIS PAGE WITH YOUR REMITTANCE


                                           Wire instructions for the GENERAL account in US Dollars:
                                         Bank Name:               First Republic Bank
                                                                  111 Pine Street
                                                                  San Francisco, CA 94111
                                         SWIFT CODE:              FRBBUS6S
                                         ABA:                     321081669
                                         Account Name:            Greenberg Glusker Fields Claman &
                                                                  Machtinger
                                         Account No.:             #997-0005-4655




  Please reflect the client name and number, and the matters being paid. Payments received will apply first to accrued interest and then to
  costs and fees.
   Atty : JAK, #264 / P1183135                                          Page 7                                       Tax ID # XX-XXXXXXX
                                                                                                                   Exhibit 2, page 252
        Case 2:19-bk-23085-BB                  Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                                      Desc
                                               Main Document   Page 253 of 377
                                                   GREENBERG GLUSKER
          2049 Century Park East                                                             General billing questions: (310) 201-7492
          Suite 2600                                                                                                    (310) 785-6842
          Los Angeles, CA 90067                                                                             Payments: (310) 785-6846
                                                                                                                       Fax: (310) 553-7018
                                                   Jason M. Rund, Chapter 7 Trustee

          Client # 76214                                                                                       Charges through: 11/30/21
          Invoice date: 12/06/21
          Invoice # 706871



                                                                                              Payments and
Matter                                                     Previous              Current       Retainers To          Adjustments
Number Name                                                 Balance             Charges           12/06/21           To 12/06/21        Amount Due
00002   Youth Policy Institute, Inc.                   $ 442,620.39          $ 15,429.32             $ 0.00               $ 0.00       $ 458,049.71

                                                       ___________          __________          __________           __________       ___________
             Bill Total                                $ 442,620.39         $ 15,429.32              $ 0.00               $ 0.00      $ 458,049.71




                                                                         Jason M. Rund, Chapter 7 Trustee
                                                                         Sheridan & Rund
                                                                         840 Apollo Street
                                                                         Suite 351
                                                                         El Segundo, CA 90402




   Please reflect the client name and number, and the matters being paid. Payments received will apply first to accrued interest and then to
   costs and fees.
    Atty : JAK, #264 / P1144406                                          Page 1                                       Tax ID # XX-XXXXXXX
                                                                                                                    Exhibit 2, page 253
   Case 2:19-bk-23085-BB            Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                           Desc
                                    Main Document   Page 254 of 377
                                        GREENBERG GLUSKER

     2049 Century Park East                                                       General billing questions: (310) 201-7492
     Suite 2600                                                                                              (310) 785-6842
     Los Angeles, CA 90067                                                                       Payments: (310) 785-6846
                                                                                                          Fax: (310) 553-7018
     Client # 76214,     Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,     Youth Policy Institute, Inc.

     Invoice date: 12/06/21                                                                        Charges through: 11/30/21
     Invoice # 706871



                                                           FEES
 Date       Timekeeper                             Description of Services                        Hours         Amount

 B100 – Administration
    B120 – Asset Analysis and Recovery
 11/01/21 K Banner             Research regarding requirements under 9019 motions (.2);            1.70        $ 977.50
                               review and revise omnibus 9019 motion (.6); confer with J.
                               Krieger regarding the same (.3); draft and revise notice of
                               omnibus 9019 motion (.6).
 11/02/21 K Banner             Review filed 9019 motion and notice.                                0.20        $ 115.00
 11/15/21 K Banner             Email exchange with M. Ebersole regarding omnibus 9019              0.20        $ 115.00
                               motion (.1); review case docket for status regarding the same
                               (.1).
 11/22/21 K Banner             Draft and revise order approving omnibus preference                 0.60        $ 345.00
                               settlements (.5); review case docket for status regarding the
                               same (.1).
 11/29/21 K Banner             Email exchange with R. Clement regarding status of CDN              0.60        $ 345.00
                               settlement payment (.1); review and revise order and
                               declaration re: Omnibus 9019 motion (.2); review entered order
                               on 9019 motion and emails to the various preference recipients
                               regarding the same (.3).
 11/30/21 K Banner             Review filings relating to PLC settlement.                          0.20         $ 115.00
           Total B120 – Asset Analysis and Recovery                                                3.50       $ 2,012.50


    B130 – Asset Disposition
 11/03/21 K Banner              Email exchange with E. Karasik regarding disposition of            0.40        $ 230.00
                                abandoned documents (.1); review debtor records and prior
                                pleadings with respect to the Pacoima Worksource center and
                                email to Trustee (.3)
 11/05/21   K Banner            Review of documents regarding Pacoima site and email               0.30        $ 172.50
                                exchagne with E. Karasik and Trustee.
 11/08/21   K Banner            Review VEDC site use agreements with respect to personal           0.20        $ 115.00
                                property of debtor left on site.
 11/09/21   K Banner            Conference with Trustee regarding Pacoima site (.3); email         0.40        $ 230.00
                                exchange with E. Karasik regarding the same (.1).
            Total B130 – Asset Disposition                                                         1.30        $ 747.50


    B160 – Fee/Employment Applications
 11/01/21 JA Krieger          Telephone conference(s) with J. Rund regarding additional            0.20        $ 135.00
                              disclosures (.1); telephone conference(s) with K. Banner
                              regarding same (.1)
 11/05/21 K Banner            Draft further portions of GG fee application.                        0.60        $ 345.00
           Total B160 – Fee/Employment Applications                                                0.80        $ 480.00


Atty : JAK, #264 / P1144406                               Page 2                                  Tax ID # XX-XXXXXXX
                                                                                                Exhibit 2, page 254
   Case 2:19-bk-23085-BB             Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                             Desc
                                     Main Document   Page 255 of 377
                                         GREENBERG GLUSKER

     2049 Century Park East                                                         General billing questions: (310) 201-7492
     Suite 2600                                                                                                (310) 785-6842
     Los Angeles, CA 90067                                                                         Payments: (310) 785-6846
                                                                                                             Fax: (310) 553-7018
     Client # 76214,     Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,     Youth Policy Institute, Inc.

     Invoice date: 12/06/21                                                                           Charges through: 11/30/21
     Invoice # 706871

                                                             FEES
 Date       Timekeeper                               Description of Services                         Hours         Amount

    B180 – Avoidance Action Analysis
 11/03/21 JA Krieger          Telephone conference(s) with K. Banner regarding complaint v.           0.30        $ 202.50
                              Slingerland and response to CFCC settlement offer
 11/03/21 JA Krieger          Review and revise tolling agreement (.3); telephone                     0.80        $ 540.00
                              conference(s) with R. Cestero regarding tolling agreement
                              provisions (.2); telephone conference(s) with K. Banner
                              regarding tolling agreement updates and info from potential
                              defendant(.3)
           Total B180 – Avoidance Action Analysis                                                     1.10        $ 742.50


    B190 – Other Contested Matters (excluding assumption/rejection motions)
 11/01/21 JA Krieger           Telephone conference(s) with K. Banner regarding revisions to          0.30        $ 202.50
                               complaint
 11/01/21 K Banner             Review and revise draft complaint against CCF (.3); confer             0.80        $ 460.00
                               with J. Krieger regarding the same (.3); confer with Trustee
                               regarding the same (.2).
 11/02/21 K Banner             Preliminary review of response from CCF regarding preference.          0.20        $ 115.00
 11/03/21 JA Krieger           Review and revise complaint against Slingerland, et. al (.4);          0.70        $ 472.50
                               telephone conference(s) with K. Banner regarding same (.3)
 11/03/21 K Banner             Draft stipulation to toll statute of limitations as to CCF (.7);       1.10        $ 632.50
                               telephone call with Trustee regarding the same (.1);
                               conferences with J. Krieger regarding the same (.3).
 11/04/21 K Banner             Email exchange with Trustee regarding CCF tolling stipulation          1.40        $ 805.00
                               (.1); review and revise preference complaint against CCF and
                               compile and review exhibits thereto (.7); draft and revise order
                               on tolling stipulation (.4); review tolling stipulation prior to,
                               and following filing (.2).
 11/05/21 K Banner             Review court's order on tolling stipulation with CCF and email         0.20        $ 115.00
                               exchange with S. Gurvitz.
 11/23/21 JA Krieger           Telephone conference(s) with K. Banner regarding analysis of           0.20        $ 135.00
                               defendant's position and offer
 11/23/21 K Banner             Review and analyze latest response from CCF and conduct                1.60        $ 920.00
                               research regarding the same.
 11/29/21 JA Krieger           Analyze Bayonne case (.8); review and revise settlement letter         2.40       $ 1,620.00
                               (.3); telephone conference(s) with K. Banner regarding
                               response and policy arguments (.7); research regarding ordinary
                               course (.6)
 11/29/21 K Banner             Continue research regarding CCF's ordinary course defense and          2.30       $ 1,322.50
                               continue drafting and revising response regarding the same
                               (1.6); conference with J. Krieger regarding the same (.7).
 11/30/21 JA Krieger           Telephone conference(s) with K. Banner regarding response to           0.50        $ 337.50
                               CCF settlement offer (.1); review and revise response (.4)
 11/30/21 K Banner             Review and revise response to CCF (.5); conferences with J.            0.70        $ 402.50
                               Krieger regarding the same (.2).
Atty : JAK, #264 / P1144406                                 Page 3                                   Tax ID # XX-XXXXXXX
                                                                                                   Exhibit 2, page 255
   Case 2:19-bk-23085-BB              Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                           Desc
                                      Main Document   Page 256 of 377
                                          GREENBERG GLUSKER

     2049 Century Park East                                                        General billing questions: (310) 201-7492
     Suite 2600                                                                                               (310) 785-6842
     Los Angeles, CA 90067                                                                        Payments: (310) 785-6846
                                                                                                            Fax: (310) 553-7018
     Client # 76214,     Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,     Youth Policy Institute, Inc.

     Invoice date: 12/06/21                                                                          Charges through: 11/30/21
     Invoice # 706871

                                                            FEES
 Date       Timekeeper                              Description of Services                         Hours          Amount
            Total B190 – Other Contested Matters (excluding assumption/rejection motions)           12.40       $ 7,540.00


            Total B100 – Administration                                                             19.10     $ 11,522.50


 B200 – Operations
    B240 – Tax Issues
 11/01/21 K Banner              Telephone call with Trustee regarding FUTA refund issues (.2);       1.10        $ 632.50
                                research regarding time limitations re: tax refund claims (.9).
 11/02/21   K Banner            Further research on FUTA tax refund issue and draft                  1.00        $ 575.00
                                preliminary conclusions for Trustee.
 11/03/21   K Banner            Telephone call with Trustee regarding tax refund claims.             0.30         $ 172.50
            Total B240 – Tax Issues                                                                  2.40       $ 1,380.00


            Total B200 – Operations                                                                  2.40       $ 1,380.00


 B400 – Carve-Out Matters
    B410 – Grant Receivables
 11/01/21 K Banner              Email exchange with J. Garcia regarding Champions for                0.10         $ 57.50
                                Change receivable.
 11/23/21   K Banner            Review and analyze invoices from Champions for Change                0.30        $ 172.50
                                receivable and email exchange with J. Garcia and Trustee
                                regarding the same.
            Total B410 – Grant Receivables                                                           0.40        $ 230.00


    B420 – Commercial Tort Claims
 11/01/21 JA Krieger           Telephone conference(s) with J. Rund regarding motions to             0.30        $ 202.50
                               approve settlements (.2); telephone conference(s) with K.
                               Banner regarding settlement and 9019 motion (.1)
 11/02/21 K Banner             Preliminary review of final draft of complaint and email              0.30        $ 172.50
                               exchange with P. Dracht and Trustee.
 11/03/21 K Banner             Review and revise revised draft of complaint against                  2.00       $ 1,150.00
                               Slingerland (1.1); telephone conferences with J. Krieger
                               regarding the same (.6); telephone call with Trustee regarding
                               the same (.3).
 11/04/21 K Banner             Review correspondence to insurance companies on filed claims          0.20        $ 115.00
                               and email exchange with P. Dracht.
 11/11/21 K Banner             Review information from City of LA regarding allegations in           0.20        $ 115.00
                               commercial tort claim complaint and email exchange with W.
                               Loo-Smart.
 11/19/21 JA Krieger           Review correspondence from D&O insurance carrier (.1);                0.30        $ 202.50
                               preparation of email to K. Banner regarding response (.1);
Atty : JAK, #264 / P1144406                                Page 4                                   Tax ID # XX-XXXXXXX
                                                                                                  Exhibit 2, page 256
   Case 2:19-bk-23085-BB                  Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                                Desc
                                          Main Document   Page 257 of 377
                                              GREENBERG GLUSKER

     2049 Century Park East                                                                  General billing questions: (310) 201-7492
     Suite 2600                                                                                                         (310) 785-6842
     Los Angeles, CA 90067                                                                                  Payments: (310) 785-6846
                                                                                                                     Fax: (310) 553-7018
     Client # 76214,       Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,       Youth Policy Institute, Inc.

     Invoice date: 12/06/21                                                                                  Charges through: 11/30/21
     Invoice # 706871

                                                             FEES
 Date        Timekeeper                             Description of Services                                 Hours          Amount
                               review memo to j. Sokol regarding insurance issue (.1)
 11/19/21    K Banner          Review letter from RSUI regarding D&O coverage for action.                     0.20        $ 115.00
 11/29/21    K Banner          Review adversary case docket and various filings, including                    0.30        $ 172.50
                               recent stipulation with S. Schultz (.2); email exchange with
                               U.S. Attorney's office regarding filing of complaint (.1).
             Total B420 – Commercial Tort Claims                                                              3.80       $ 2,245.00


             Total B400 – Carve-Out Matters                                                                   4.20       $ 2,475.00


 Total fees for this matter:                                                                                            $ 15,377.50


                                             Summary Of Attorney Time By Task
                                                ______________________

                                                                  Hours              Rate                  Value

               B120 – Asset Analysis and Recovery
                 K Banner                                           3.50           575.00              $ 2,012.50

               B130 – Asset Disposition
                 K Banner                                           1.30           575.00               $ 747.50

               B160 – Fee/Employment Applications
                 K Banner                                           0.60           575.00               $ 345.00
                 JA Krieger                                         0.20           675.00               $ 135.00

               B180 – Avoidance Action Analysis
                 JA Krieger                                         1.10           675.00               $ 742.50

               B190 – Other Contested Matters (excluding assumption/rejection motions)
                 K Banner                                           8.30            575.00             $ 4,772.50
                 JA Krieger                                         4.10            675.00             $ 2,767.50

               B240 – Tax Issues
                 K Banner                                           2.40           575.00              $ 1,380.00

               B410 – Grant Receivables
                 K Banner                                           0.40           575.00               $ 230.00

               B420 – Commercial Tort Claims
                 K Banner                                           3.20           575.00              $ 1,840.00
                 JA Krieger                                         0.60           675.00                $ 405.00

               Total                                               25.70                              $ 15,377.50

Atty : JAK, #264 / P1144406                                     Page 5                                     Tax ID # XX-XXXXXXX
                                                                                                         Exhibit 2, page 257
   Case 2:19-bk-23085-BB                 Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                                   Desc
                                         Main Document   Page 258 of 377
                                             GREENBERG GLUSKER

     2049 Century Park East                                                                General billing questions: (310) 201-7492
     Suite 2600                                                                                                       (310) 785-6842
     Los Angeles, CA 90067                                                                                Payments: (310) 785-6846
                                                                                                                       Fax: (310) 553-7018
     Client # 76214,      Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,      Youth Policy Institute, Inc.

     Invoice date: 12/06/21                                                                                   Charges through: 11/30/21
     Invoice # 706871



                                                         Summary By Task
                                                      ______________________

                                                    Task                                             Hours             Value
                                                    B120 – Asset Analysis and Recovery                3.50        $ 2,012.50
                                                    B130 – Asset Disposition                          1.30          $ 747.50
                                                    B160 – Fee/Employment Applications                0.80          $ 480.00
                                                    B180 – Avoidance Action Analysis                  1.10          $ 742.50
                                                    B190 – Other Contested Matters (excluding        12.40        $ 7,540.00
                                                    assumption/rejection motions)
                                                    B240 – Tax Issues                                 2.40        $ 1,380.00
                                                    B410 – Grant Receivables                          0.40          $ 230.00
                                                    B420 – Commercial Tort Claims                     3.80        $ 2,245.00
   Total                                                                                             25.70       $ 15,377.50




                                                            COSTS
                       Date           Description                                                            Amount
                       11/04/21       VENDOR: First Legal Network, LLC INVOICE#:                             $ 29.00
                                      10446445 DATE: 11/8/2021

                       11/02/21       VENDOR: First Legal Network, LLC INVOICE#:                             $ 10.25
                                      10446445 DATE: 11/8/2021

           through 11/30/21           Postage                                                                $ 12.57

                       Total costs for this matter:                                                          $ 51.82


                                                Summary Of Costs by Expenses Code
                                                   ______________________

                              Expense                                                        Value
                              E107 – Delivery services/messengers                           $39.25

                              E108 – Postage                                                $12.57

                              Total                                                        $ 51.82




Atty : JAK, #264 / P1144406                                      Page 6                                   Tax ID # XX-XXXXXXX
                                                                                                        Exhibit 2, page 258
   Case 2:19-bk-23085-BB            Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                       Desc
                                    Main Document   Page 259 of 377
                                        GREENBERG GLUSKER

     2049 Century Park East                                                    General billing questions: (310) 201-7492
     Suite 2600                                                                                           (310) 785-6842
     Los Angeles, CA 90067                                                                    Payments: (310) 785-6846
                                                                                                      Fax: (310) 553-7018
     Client # 76214,      Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,      Youth Policy Institute, Inc.

     Invoice date: 12/06/21                                                                    Charges through: 11/30/21
     Invoice # 706871

                                           RECAP OF AMOUNTS DUE
 Total Previous Balance                                                                $ 442,620.39
                                                                                                       __________
 Balance Forward                                                                                      $ 442,620.39
 Current Month Fees                                                                     $ 15,377.50
 Current Month Costs                                                                        $ 51.82
                                                                                                       __________
 Total Current Charges                                                                                 $ 15,429.32
                                                                                                       __________
 Total Due from Current Charges                                                                        $ 15,429.32
                                                                                                       __________
 AMOUNT DUE                                                                                           $ 458,049.71




                                             Summary Of Attorney Time
                                             ______________________

             Attorney                                        Hours     Rate         Value
             J Krieger                                        6.00   675.00    $ 4,050.00
             K Banner                                        19.70   575.00   $ 11,327.50
             Total                                           25.70            $ 15,377.50




Atty : JAK, #264 / P1144406                             Page 7                                Tax ID # XX-XXXXXXX
                                                                                            Exhibit 2, page 259
        Case 2:19-bk-23085-BB                  Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                                      Desc
                                               Main Document   Page 260 of 377

                                                       GREENBERG GLUSKER
          2049 Century Park East                                                             General billing questions: (310) 201-7492
          Suite 2600                                                                                                    (310) 785-6842
          Los Angeles, CA 90067                                                                             Payments: (310) 785-6846
                                                                                                                       Fax: (310) 553-7018
                                                   Jason M. Rund, Chapter 7 Trustee
          Client # 76214                                                                                       Charges through: 11/30/21
          Invoice date: 12/06/21
          Invoice # 706871




                                                                                              Payments and
Matter                                                     Previous              Current       Retainers To          Adjustments
Number Name                                                 Balance             Charges           12/06/21           To 12/06/21        Amount Due
00002   Youth Policy Institute, Inc.                   $ 442,620.39          $ 15,429.32             $ 0.00               $ 0.00       $ 458,049.71

                                                       ___________          __________          __________           __________       ___________
             Bill Total                                $ 442,620.39         $ 15,429.32              $ 0.00               $ 0.00      $ 458,049.71


                                   PLEASE ENCLOSE THIS PAGE WITH YOUR REMITTANCE


                                            Wire instructions for the GENERAL account in US Dollars:
                                          Bank Name:               First Republic Bank
                                                                   111 Pine Street
                                                                   San Francisco, CA 94111
                                          SWIFT CODE:              FRBBUS6S
                                          ABA:                     321081669
                                          Account Name:            Greenberg Glusker Fields Claman &
                                                                   Machtinger
                                          Account No.:             #997-0005-4655




   Please reflect the client name and number, and the matters being paid. Payments received will apply first to accrued interest and then to
   costs and fees.
    Atty : JAK, #264 / P1144406                                          Page 8                                       Tax ID # XX-XXXXXXX
                                                                                                                    Exhibit 2, page 260
        Case 2:19-bk-23085-BB                  Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                                      Desc
                                               Main Document   Page 261 of 377
                                                   GREENBERG GLUSKER
          2049 Century Park East                                                             General billing questions: (310) 201-7492
          Suite 2600                                                                                                    (310) 785-6842
          Los Angeles, CA 90067                                                                             Payments: (310) 785-6846
                                                                                                                       Fax: (310) 553-7018
                                                   Jason M. Rund, Chapter 7 Trustee

          Client # 76214                                                                                       Charges through: 12/31/21
          Invoice date: 01/14/22
          Invoice # 708130



                                                                                              Payments and
Matter                                                     Previous              Current       Retainers To          Adjustments
Number Name                                                 Balance             Charges           01/14/22           To 01/14/22        Amount Due
00002   Youth Policy Institute, Inc.                   $ 458,049.71           $ 3,241.00             $ 0.00               $ 0.00       $ 461,290.71

                                                       ___________          __________          __________           __________       ___________
             Bill Total                                $ 458,049.71          $ 3,241.00              $ 0.00               $ 0.00      $ 461,290.71




                                                                         Jason M. Rund, Chapter 7 Trustee
                                                                         Sheridan & Rund
                                                                         840 Apollo Street
                                                                         Suite 351
                                                                         El Segundo, CA 90402




   Please reflect the client name and number, and the matters being paid. Payments received will apply first to accrued interest and then to
   costs and fees.
    Atty : JAK, #264 / P1148750                                          Page 1                                       Tax ID # XX-XXXXXXX
                                                                                                                    Exhibit 2, page 261
   Case 2:19-bk-23085-BB             Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                             Desc
                                     Main Document   Page 262 of 377
                                         GREENBERG GLUSKER

     2049 Century Park East                                                         General billing questions: (310) 201-7492
     Suite 2600                                                                                                (310) 785-6842
     Los Angeles, CA 90067                                                                         Payments: (310) 785-6846
                                                                                                             Fax: (310) 553-7018
     Client # 76214,    Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,    Youth Policy Institute, Inc.

     Invoice date: 01/14/22                                                                           Charges through: 12/31/21
     Invoice # 708130



                                                            FEES
 Date      Timekeeper                               Description of Services                          Hours         Amount

 B100 – Administration
    B130 – Asset Disposition
 12/03/21 K Banner             Review information regarding Valley Economic Development               1.10        $ 632.50
                               Corporation and associated pictures (.4); draft and revise notice
                               of abandonment regarding the same (.7).
           Total B130 – Asset Disposition                                                             1.10        $ 632.50


    B190 – Other Contested Matters (excluding assumption/rejection motions)
 12/01/21 K Banner             Review and revise response to CCF and confer with J. Krieger           0.20        $ 115.00
                               regarding the same.
 12/14/21 JA Krieger           Review settlement offer from CCF(.1); telephone conference(s)          0.40        $ 270.00
                               with K. Banner regarding response to CCF offer (.2); review
                               correspondence with client regarding same (.1)
 12/17/21 JA Krieger           Review Slingerland answer to complaint                                 0.20        $ 135.00
 12/20/21 JA Krieger           Conference with B. Davidoff regarding Strategy for preference          0.40        $ 270.00
                               claim
 12/20/21 K Banner             Conference with J. Krieger and B. Davidoff regarding strategy          0.40        $ 230.00
                               re CCF.
 12/21/21 JA Krieger           Conference call with J. Rund and K. Banner regarding analysis          0.60        $ 405.00
                               of litigation claim
 12/21/21 K Banner             Telephone conference with Trustee and J. Krieger regarding             0.70        $ 402.50
                               strategy for CCF (.6); email to S. Gurvitz regarding the same
                               (.1).
           Total B190 – Other Contested Matters (excluding assumption/rejection motions)              2.90       $ 1,827.50


           Total B100 – Administration                                                                4.00       $ 2,460.00


 B300 – Claims and Plan
    B310 – Claims Administration and Objections
 12/08/21 K Banner             Review proof of claim filed by Kaiser.                                 0.20        $ 115.00
           Total B310 – Claims Administration and Objections                                          0.20        $ 115.00


           Total B300 – Claims and Plan                                                               0.20        $ 115.00


 B400 – Carve-Out Matters
    B420 – Commercial Tort Claims
 12/07/21 K Banner             Confer with Trustee regarding documents relating to                    0.20        $ 115.00
                               commercial tort litigation.
Atty : JAK, #264 / P1148750                                 Page 2                                   Tax ID # XX-XXXXXXX
                                                                                                   Exhibit 2, page 262
   Case 2:19-bk-23085-BB                  Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                                Desc
                                          Main Document   Page 263 of 377
                                              GREENBERG GLUSKER

     2049 Century Park East                                                                  General billing questions: (310) 201-7492
     Suite 2600                                                                                                         (310) 785-6842
     Los Angeles, CA 90067                                                                                  Payments: (310) 785-6846
                                                                                                                     Fax: (310) 553-7018
     Client # 76214,       Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,       Youth Policy Institute, Inc.

     Invoice date: 01/14/22                                                                                  Charges through: 12/31/21
     Invoice # 708130

                                                             FEES
 Date     Timekeeper                               Description of Services                                  Hours          Amount
 12/08/21 K Banner             Review various databases of information that may relate to                    0.70         $ 402.50
                               discoverable materials, and multiple emails to P. Dracht
                               regarding the same (.5); preliminary review of answer filed by
                               Hill Morgan (.2).
 12/22/21    K Banner          Review adversary status report.                                                0.20        $ 115.00
             Total B420 – Commercial Tort Claims                                                              1.10        $ 632.50


             Total B400 – Carve-Out Matters                                                                   1.10        $ 632.50


 Total fees for this matter:                                                                                             $ 3,207.50


                                             Summary Of Attorney Time By Task
                                                ______________________

                                                                  Hours              Rate                  Value

               B130 – Asset Disposition
                 K Banner                                           1.10           575.00               $ 632.50

               B190 – Other Contested Matters (excluding assumption/rejection motions)
                 K Banner                                           1.30            575.00               $ 747.50
                 JA Krieger                                         1.60            675.00             $ 1,080.00

               B310 – Claims Administration and Objections
                 K Banner                                           0.20           575.00               $ 115.00

               B420 – Commercial Tort Claims
                 K Banner                                           1.10           575.00               $ 632.50

               Total                                                5.30                               $ 3,207.50




Atty : JAK, #264 / P1148750                                     Page 3                                     Tax ID # XX-XXXXXXX
                                                                                                         Exhibit 2, page 263
   Case 2:19-bk-23085-BB                 Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                                 Desc
                                         Main Document   Page 264 of 377
                                             GREENBERG GLUSKER

     2049 Century Park East                                                              General billing questions: (310) 201-7492
     Suite 2600                                                                                                     (310) 785-6842
     Los Angeles, CA 90067                                                                              Payments: (310) 785-6846
                                                                                                                     Fax: (310) 553-7018
     Client # 76214,      Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,      Youth Policy Institute, Inc.

     Invoice date: 01/14/22                                                                                 Charges through: 12/31/21
     Invoice # 708130

                                                         Summary By Task
                                                      ______________________

                                                  Task                                             Hours             Value
                                                  B130 – Asset Disposition                          1.10          $ 632.50
                                                  B190 – Other Contested Matters (excluding         2.90        $ 1,827.50
                                                  assumption/rejection motions)
                                                  B310 – Claims Administration and                  0.20             $ 115.00
                                                  Objections
                                                  B420 – Commercial Tort Claims                     1.10          $ 632.50
   Total                                                                                            5.30        $ 3,207.50




                                                            COSTS
                       Date           Description                                                          Amount
                       12/07/21       VENDOR: First Legal Network, LLC INVOICE#:                           $ 23.25
                                      10453777 DATE: 12/8/2021

                       11/29/21       VENDOR: First Legal Network, LLC INVOICE#:                           $ 10.25
                                      10451155 DATE: 11/30/2021


                       Total costs for this matter:                                                        $ 33.50


                                              Summary Of Costs by Expenses Code
                                                 ______________________

                              Expense                                                      Value
                              E107 – Delivery services/messengers                         $33.50

                              Total                                                      $ 33.50




Atty : JAK, #264 / P1148750                                     Page 4                                  Tax ID # XX-XXXXXXX
                                                                                                      Exhibit 2, page 264
   Case 2:19-bk-23085-BB            Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                         Desc
                                    Main Document   Page 265 of 377
                                        GREENBERG GLUSKER

     2049 Century Park East                                                   General billing questions: (310) 201-7492
     Suite 2600                                                                                          (310) 785-6842
     Los Angeles, CA 90067                                                                   Payments: (310) 785-6846
                                                                                                        Fax: (310) 553-7018
     Client # 76214,      Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,      Youth Policy Institute, Inc.

     Invoice date: 01/14/22                                                                     Charges through: 12/31/21
     Invoice # 708130

                                           RECAP OF AMOUNTS DUE
 Total Previous Balance                                                               $ 458,049.71
                                                                                                         __________
 Balance Forward                                                                                        $ 458,049.71
 Current Month Fees                                                                        $ 3,207.50
 Current Month Costs                                                                          $ 33.50
                                                                                                         __________
 Total Current Charges                                                                                     $ 3,241.00
                                                                                                         __________
 Total Due from Current Charges                                                                            $ 3,241.00
                                                                                                         __________
 AMOUNT DUE                                                                                             $ 461,290.71




                                             Summary Of Attorney Time
                                             ______________________

             Attorney                                        Hours     Rate        Value
             J Krieger                                        1.60   675.00   $ 1,080.00
             K Banner                                         3.70   575.00   $ 2,127.50
             Total                                            5.30            $ 3,207.50




Atty : JAK, #264 / P1148750                             Page 5                                Tax ID # XX-XXXXXXX
                                                                                            Exhibit 2, page 265
        Case 2:19-bk-23085-BB                  Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                                      Desc
                                               Main Document   Page 266 of 377

                                                       GREENBERG GLUSKER
          2049 Century Park East                                                             General billing questions: (310) 201-7492
          Suite 2600                                                                                                    (310) 785-6842
          Los Angeles, CA 90067                                                                             Payments: (310) 785-6846
                                                                                                                       Fax: (310) 553-7018
                                                   Jason M. Rund, Chapter 7 Trustee

          Client # 76214                                                                                       Charges through: 12/31/21
          Invoice date: 01/14/22
          Invoice # 708130




                                                                                              Payments and
Matter                                                     Previous              Current       Retainers To          Adjustments
Number Name                                                 Balance             Charges           01/14/22           To 01/14/22        Amount Due
00002   Youth Policy Institute, Inc.                   $ 458,049.71           $ 3,241.00             $ 0.00               $ 0.00       $ 461,290.71

                                                       ___________          __________          __________           __________       ___________
             Bill Total                                $ 458,049.71          $ 3,241.00              $ 0.00               $ 0.00      $ 461,290.71


                                   PLEASE ENCLOSE THIS PAGE WITH YOUR REMITTANCE


                                            Wire instructions for the GENERAL account in US Dollars:
                                          Bank Name:               First Republic Bank
                                                                   111 Pine Street
                                                                   San Francisco, CA 94111
                                          SWIFT CODE:              FRBBUS6S
                                          ABA:                     321081669
                                          Account Name:            Greenberg Glusker Fields Claman &
                                                                   Machtinger
                                          Account No.:             #997-0005-4655




   Please reflect the client name and number, and the matters being paid. Payments received will apply first to accrued interest and then to
   costs and fees.
    Atty : JAK, #264 / P1148750                                          Page 6                                       Tax ID # XX-XXXXXXX
                                                                                                                    Exhibit 2, page 266
         Case 2:19-bk-23085-BB                Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                                      Desc
                                              Main Document   Page 267 of 377
                                                  GREENBERG GLUSKER
          2049 Century Park East                                                            General billing questions: (310) 201-7492
          Suite 2600                                                                                                   (310) 785-6842
          Los Angeles, CA 90067                                                                            Payments: (310) 785-6846
                                                                                                                      Fax: (310) 553-7018
                                                  Jason M. Rund, Chapter 7 Trustee

          Client # 76214                                                                                      Charges through: 01/31/22
          Invoice date: 02/09/22
          Invoice # 709662



                                                                                              Payments and
Matter                                                    Previous              Current        Retainers To        Adjustments
Number      Name                                           Balance             Charges            02/09/22         To 02/09/22         Amount Due
00002       Youth Policy Institute, Inc.              $ 461,290.71           $ 5,915.50              $ 0.00             $ 0.00        $ 467,206.21

                                                      ___________          __________          __________           __________       ___________
            Bill Total                                $ 461,290.71          $ 5,915.50              $ 0.00               $ 0.00      $ 467,206.21




                                                                        Jason M. Rund, Chapter 7 Trustee
                                                                        Sheridan & Rund
                                                                        840 Apollo Street
                                                                        Suite 351
                                                                        El Segundo, CA 90402




  Please reflect the client name and number, and the matters being paid. Payments received will apply first to accrued interest and then to
  costs and fees.
   Atty : JAK, #264 / P1152542                                          Page 1                                       Tax ID # XX-XXXXXXX
                                                                                                                   Exhibit 2, page 267
   Case 2:19-bk-23085-BB             Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                           Desc
                                     Main Document   Page 268 of 377
                                         GREENBERG GLUSKER

     2049 Century Park East                                                        General billing questions: (310) 201-7492
     Suite 2600                                                                                               (310) 785-6842
     Los Angeles, CA 90067                                                                        Payments: (310) 785-6846
                                                                                                           Fax: (310) 553-7018
     Client # 76214,    Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,    Youth Policy Institute, Inc.

     Invoice date: 02/09/22                                                                         Charges through: 01/31/22
     Invoice # 709662



                                                            FEES
 Date      Timekeeper                               Description of Services                        Hours         Amount

 B100 – Administration
    B120 – Asset Analysis and Recovery
 01/31/22 K Banner             Email exchange with M. Barth regarding tax information               0.20        $ 122.00
                               relating to preference settlement.
           Total B120 – Asset Analysis and Recovery                                                 0.20        $ 122.00


    B130 – Asset Disposition
 01/20/22 K Banner              Email exchange with K. Meshefejian regarding abandonment of         0.10         $ 61.00
                                Pacoima Entrepreneurial Center assets.
            Total B130 – Asset Disposition                                                          0.10         $ 61.00


    B160 – Fee/Employment Applications
 01/12/22 K Banner            Continue to draft portions of GG interim fee application.             2.10       $ 1,281.00
           Total B160 – Fee/Employment Applications                                                 2.10       $ 1,281.00


    B190 – Other Contested Matters (excluding assumption/rejection motions)
 01/10/22 K Banner             Conference with J. Krieger regarding CCF preference                  0.60        $ 366.00
                               counterproposal (.3); conference with Trustee regarding the
                               same (.2); email exchange with S. Gurvitz regarding the same
                               (.1).
 01/21/22 K Banner             Review latest offer from CCF and review prior stipulation and        0.50        $ 305.00
                               order with CCF (.2); confer with J. Krieger regarding strategy
                               (.2); telephone call with Trustee regarding the same (.1).
 01/25/22 JA Krieger           Review email from counsel for CCF regarding agreement to             0.20        $ 139.00
                               tolling (.1); telephone conference(s) with K. Banner regarding
                               stipulation and strategy regarding settlement (.1)
 01/25/22 K Banner             Draft and revise second tolling stipulation with CCF to extend       0.80        $ 488.00
                               statute of limitations (.5); draft and revise order on the same
                               (.3).
 01/26/22 K Banner             Final review of stipulation and proposed order regarding CCF         0.30        $ 183.00
                               tolling agreement and email exchange with S. Gurvitz and
                               Trustee regarding the same.
 01/27/22 K Banner             Review filed stipulation and entered order regarding CCF             0.30        $ 183.00
                               tolling agreement (.2); email exchange with S. Gurvitz
                               regarding the same (.1).
 01/28/22 JA Krieger           Review and respond to email from K. Banner regarding                 0.30        $ 208.50
                               settlement response (.1); telephone conference(s) with K.
                               Banner regarding countr (.2)
 01/28/22 K Banner             Conferences with J. Krieger regarding strategy for CCF               0.50        $ 305.00
                               settlement discussions (.3); email exchange with Trustee and S.
Atty : JAK, #264 / P1152542                                Page 2                                  Tax ID # XX-XXXXXXX
                                                                                                 Exhibit 2, page 268
   Case 2:19-bk-23085-BB               Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                            Desc
                                       Main Document   Page 269 of 377
                                           GREENBERG GLUSKER

     2049 Century Park East                                                          General billing questions: (310) 201-7492
     Suite 2600                                                                                                 (310) 785-6842
     Los Angeles, CA 90067                                                                          Payments: (310) 785-6846
                                                                                                              Fax: (310) 553-7018
     Client # 76214,       Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,       Youth Policy Institute, Inc.

     Invoice date: 02/09/22                                                                            Charges through: 01/31/22
     Invoice # 709662

                                                             FEES
 Date        Timekeeper                              Description of Services                          Hours         Amount
                                 Gurvitz regarding the same (.2).
             Total B190 – Other Contested Matters (excluding assumption/rejection motions)             3.50       $ 2,177.50


             Total B100 – Administration                                                               5.90       $ 3,641.50


 B200 – Operations
    B240 – Tax Issues
 01/12/22 K Banner               Email exchange with D. Fife regarding status of FUTA tax              0.20        $ 122.00
                                 recovery and review EDD certifications sent to IRS.
             Total B240 – Tax Issues                                                                   0.20        $ 122.00


             Total B200 – Operations                                                                   0.20        $ 122.00


 B400 – Carve-Out Matters
    B420 – Commercial Tort Claims
 01/10/22 JA Krieger           Telephone conference(s) with K. Banner regarding responses to           0.20        $ 139.00
                               complaint and mediation order including mediator
                               recommendations
 01/10/22 K Banner             Review mediation panel information and email exchange with              1.40        $ 854.00
                               P. Dracht (.3); review motion to dismiss filed by S. Schultz (.3);
                               conference with J. Krieger regarding status of litigation and
                               mediation consideration (.3); conference with Trustee regarding
                               the same (.2); review answers filed by Slingerland and Steinke
                               (.3).
 01/18/22 K Banner             Review and revise draft opposition to Schultz 12(b) motion              0.70        $ 427.00
                               (.6); review filed copy of opposition (.1).
 01/25/22 K Banner             Review reply filed by S. Schultz.                                       0.30        $ 183.00
 01/26/22 K Banner             Review proposed mediation order and email exchange with P.              0.40        $ 244.00
                               Dracht (.2); review disclosures and other information from
                               proposed mediator (.2).
           Total B420 – Commercial Tort Claims                                                         3.00       $ 1,847.00


             Total B400 – Carve-Out Matters                                                            3.00       $ 1,847.00


 Total fees for this matter:                                                                                      $ 5,610.50




Atty : JAK, #264 / P1152542                                 Page 3                                    Tax ID # XX-XXXXXXX
                                                                                                    Exhibit 2, page 269
   Case 2:19-bk-23085-BB                Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                                   Desc
                                        Main Document   Page 270 of 377
                                            GREENBERG GLUSKER

     2049 Century Park East                                                                 General billing questions: (310) 201-7492
     Suite 2600                                                                                                        (310) 785-6842
     Los Angeles, CA 90067                                                                                 Payments: (310) 785-6846
                                                                                                                     Fax: (310) 553-7018
     Client # 76214,    Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,    Youth Policy Institute, Inc.

     Invoice date: 02/09/22                                                                                  Charges through: 01/31/22
     Invoice # 709662

                                           Summary Of Attorney Time By Task
                                              ______________________

                                                                  Hours              Rate                   Value

             B120 – Asset Analysis and Recovery
               K Banner                                            0.20           610.00               $ 122.00

             B130 – Asset Disposition
               K Banner                                            0.10           610.00                $ 61.00

             B160 – Fee/Employment Applications
               K Banner                                            2.10           610.00              $ 1,281.00

             B190 – Other Contested Matters (excluding assumption/rejection motions)
               K Banner                                           3.00            610.00              $ 1,830.00
               JA Krieger                                         0.50            695.00                $ 347.50

             B240 – Tax Issues
               K Banner                                            0.20           610.00               $ 122.00

             B420 – Commercial Tort Claims
               K Banner                                            2.80           610.00              $ 1,708.00
               JA Krieger                                          0.20           695.00                $ 139.00

             Total                                                 9.10                               $ 5,610.50




                                                     Summary By Task
                                                  ______________________

                                                  Task                                              Hours                Value
                                                  B120 – Asset Analysis and Recovery                 0.20             $ 122.00
                                                  B130 – Asset Disposition                           0.10              $ 61.00
                                                  B160 – Fee/Employment Applications                 2.10           $ 1,281.00
                                                  B190 – Other Contested Matters (excluding          3.50           $ 2,177.50
                                                  assumption/rejection motions)
                                                  B240 – Tax Issues                                  0.20             $ 122.00
                                                  B420 – Commercial Tort Claims                      3.00           $ 1,847.00
   Total                                                                                             9.10           $ 5,610.50




Atty : JAK, #264 / P1152542                                    Page 4                                     Tax ID # XX-XXXXXXX
                                                                                                        Exhibit 2, page 270
   Case 2:19-bk-23085-BB            Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                         Desc
                                    Main Document   Page 271 of 377
                                        GREENBERG GLUSKER

     2049 Century Park East                                                   General billing questions: (310) 201-7492
     Suite 2600                                                                                          (310) 785-6842
     Los Angeles, CA 90067                                                                   Payments: (310) 785-6846
                                                                                                        Fax: (310) 553-7018
     Client # 76214,      Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,      Youth Policy Institute, Inc.

     Invoice date: 02/09/22                                                                     Charges through: 01/31/22
     Invoice # 709662

                                           RECAP OF AMOUNTS DUE
 Total Previous Balance                                                               $ 461,290.71
                                                                                                         __________
 Balance Forward                                                                                        $ 461,290.71
 Current Month Fees                                                                        $ 5,610.50
 Current Month Costs                                                                           $ 0.00
 Discount                                                                                    $ 305.00
                                                                                                         __________
 Total Current Charges                                                                                     $ 5,915.50
                                                                                                         __________
 Total Due from Current Charges                                                                            $ 5,915.50
                                                                                                         __________
 AMOUNT DUE                                                                                             $ 467,206.21




                                             Summary Of Attorney Time
                                             ______________________

             Attorney                                        Hours     Rate        Value
             J Krieger                                        0.70   695.00     $ 486.50
             K Banner                                         8.40   610.00   $ 5,124.00
             Total                                            9.10            $ 5,610.50




Atty : JAK, #264 / P1152542                             Page 5                                Tax ID # XX-XXXXXXX
                                                                                            Exhibit 2, page 271
         Case 2:19-bk-23085-BB                Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                                      Desc
                                              Main Document   Page 272 of 377

                                                      GREENBERG GLUSKER
          2049 Century Park East                                                            General billing questions: (310) 201-7492
          Suite 2600                                                                                                   (310) 785-6842
          Los Angeles, CA 90067                                                                            Payments: (310) 785-6846
                                                                                                                      Fax: (310) 553-7018
                                                  Jason M. Rund, Chapter 7 Trustee

          Client # 76214                                                                                      Charges through: 01/31/22
          Invoice date: 02/09/22
          Invoice # 709662




                                                                                              Payments and
Matter                                                    Previous              Current        Retainers To        Adjustments
Number      Name                                           Balance             Charges            02/09/22         To 02/09/22         Amount Due
00002       Youth Policy Institute, Inc.              $ 461,290.71           $ 5,915.50              $ 0.00             $ 0.00        $ 467,206.21

                                                      ___________          __________          __________           __________       ___________
            Bill Total                                $ 461,290.71          $ 5,915.50              $ 0.00               $ 0.00      $ 467,206.21


                                  PLEASE ENCLOSE THIS PAGE WITH YOUR REMITTANCE


                                           Wire instructions for the GENERAL account in US Dollars:
                                         Bank Name:               First Republic Bank
                                                                  111 Pine Street
                                                                  San Francisco, CA 94111
                                         SWIFT CODE:              FRBBUS6S
                                         ABA:                     321081669
                                         Account Name:            Greenberg Glusker Fields Claman &
                                                                  Machtinger
                                         Account No.:             #997-0005-4655




  Please reflect the client name and number, and the matters being paid. Payments received will apply first to accrued interest and then to
  costs and fees.
   Atty : JAK, #264 / P1152542                                          Page 6                                       Tax ID # XX-XXXXXXX
                                                                                                                   Exhibit 2, page 272
         Case 2:19-bk-23085-BB                Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                                      Desc
                                              Main Document   Page 273 of 377
                                                  GREENBERG GLUSKER
          2049 Century Park East                                                            General billing questions: (310) 201-7492
          Suite 2600                                                                                                   (310) 785-6842
          Los Angeles, CA 90067                                                                            Payments: (310) 785-6846
                                                                                                                      Fax: (310) 553-7018
                                                  Jason M. Rund, Chapter 7 Trustee
          Client # 76214                                                                                      Charges through: 02/28/22
          Invoice date: 03/30/22
          Invoice # 712209



                                                                                              Payments and
Matter                                                    Previous              Current        Retainers To        Adjustments
Number      Name                                           Balance             Charges            03/30/22         To 03/30/22         Amount Due
00002       Youth Policy Institute, Inc.              $ 467,206.21           $ 8,540.75              $ 0.00             $ 0.00        $ 475,746.96

                                                      ___________          __________          __________           __________       ___________
            Bill Total                                $ 467,206.21          $ 8,540.75              $ 0.00               $ 0.00      $ 475,746.96




                                                                        Jason M. Rund, Chapter 7 Trustee
                                                                        Sheridan & Rund
                                                                        840 Apollo Street
                                                                        Suite 351
                                                                        El Segundo, CA 90402




  Please reflect the client name and number, and the matters being paid. Payments received will apply first to accrued interest and then to
  costs and fees.
   Atty : JAK, #264 / P1158482                                          Page 1                                       Tax ID # XX-XXXXXXX
                                                                                                                   Exhibit 2, page 273
   Case 2:19-bk-23085-BB            Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                           Desc
                                    Main Document   Page 274 of 377
                                        GREENBERG GLUSKER

     2049 Century Park East                                                       General billing questions: (310) 201-7492
     Suite 2600                                                                                              (310) 785-6842
     Los Angeles, CA 90067                                                                       Payments: (310) 785-6846
                                                                                                          Fax: (310) 553-7018
     Client # 76214,    Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,    Youth Policy Institute, Inc.

     Invoice date: 03/30/22                                                                        Charges through: 02/28/22
     Invoice # 712209



                                                           FEES
 Date      Timekeeper                              Description of Services                        Hours         Amount

 B100 – Administration
    B110 – Case Administration
 02/07/22 K Banner             Email exchange with B. Turner regarding status of bankruptcy        0.10         $ 61.00
                               case.
           Total B110 – Case Administration                                                        0.10         $ 61.00


    B160 – Fee/Employment Applications
 02/17/22 K Banner            Continue drafting background facts relating to GG fee                0.80        $ 488.00
                              application.
 02/23/22 K Banner            Further draft and revise background section of GG interim fee        0.60        $ 366.00
                              application (.5); email exchange with T. Shokrai regarding fees
                              incurred as field agent to Trustee (.1).
           Total B160 – Fee/Employment Applications                                                1.40        $ 854.00


    B190 – Other Contested Matters (excluding assumption/rejection motions)
 02/04/22 JA Krieger           Telephone conference(s) with K. Banner regarding settlement         0.50        $ 347.50
                               strategy (.2); review email from counsel for CCF regarding
                               offer (.1); review Banner and Rund emails regarding same (.1);
                               review further CCF and Banner emails regarding offer and
                               acceptance (.1)
 02/04/22 K Banner             Telephone calls and email exchange with S. Gurvitz regarding        1.00        $ 610.00
                               CCF settlement negotiations (.4); confer with J. Krieger
                               regarding the same (.2); telephone call with Trustee regarding
                               the same and general developments (.4).
 02/07/22 K Banner             Draft and revise CCF settlement agreement (1.2); email              4.10       $ 2,501.00
                               exchange with Trustee regarding the same (.1); email exchange
                               with S. Gurvitz regarding the same (.1); draft 9019 motion
                               regarding CCF settlement (2.0); draft Rund declaration in
                               support thereof (.7).
 02/08/22 K Banner             Review and revise CCF 9019 motion and accompanying Rund             0.70        $ 427.00
                               declaration.
 02/11/22 K Banner             Review comments to CCF settlement agreement from S.                 0.50        $ 305.00
                               Gurvits and email exchange with Trustee (.2); review and
                               revise settlement agreement and email exchange with S.
                               Gurvitz (.2); prepare execution copy of the same (.1).
 02/14/22 K Banner             Email exchange with S. Gurvitz regarding CCF settlement             1.50        $ 915.00
                               agreement (.2); review and revise draft 9019 motion regarding
                               CCF settlement (.7); draft and revise notice regarding 9019
                               motion re: CCF settlement (.5); email exchange with Trustee
                               regarding 9019 motion (.1).
 02/15/22 K Banner             Review and revise 9019 motion, accompanying notice and              0.60        $ 366.00
Atty : JAK, #264 / P1158482                               Page 2                                  Tax ID # XX-XXXXXXX
                                                                                                Exhibit 2, page 274
   Case 2:19-bk-23085-BB             Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                           Desc
                                     Main Document   Page 275 of 377
                                         GREENBERG GLUSKER

     2049 Century Park East                                                        General billing questions: (310) 201-7492
     Suite 2600                                                                                               (310) 785-6842
     Los Angeles, CA 90067                                                                        Payments: (310) 785-6846
                                                                                                           Fax: (310) 553-7018
     Client # 76214,       Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,       Youth Policy Institute, Inc.

     Invoice date: 03/30/22                                                                         Charges through: 02/28/22
     Invoice # 712209

                                                             FEES
 Date        Timekeeper                              Description of Services                       Hours         Amount
                                 declaration regarding compromise with CCF.
             Total B190 – Other Contested Matters (excluding assumption/rejection motions)          8.90       $ 5,471.50


             Total B100 – Administration                                                           10.40       $ 6,386.50


 B300 – Claims and Plan
    B310 – Claims Administration and Objections
 02/07/22 K Banner             Review new claim filed by DOL - EBSA.                                0.20        $ 122.00
           Total B310 – Claims Administration and Objections                                        0.20        $ 122.00


             Total B300 – Claims and Plan                                                           0.20        $ 122.00


 B400 – Carve-Out Matters
    B420 – Commercial Tort Claims
 02/01/22 K Banner             Review entered mediation order and court's tentative rulings         0.30        $ 183.00
                               regarding motions to dismiss and proposed order regarding the
                               same.
 02/02/22 K Banner             Review mediator's correspondence and email exchange with P.          0.30        $ 183.00
                               Dracht (.2); review entered order on 12(b) motion (.1).
 02/03/22 K Banner             Conference with J. Krieger regarding mediation strategy.             0.20        $ 122.00
 02/09/22 JA Krieger           Review email from P. Dracht regarding mediation date                 0.10         $ 69.50
 02/09/22 K Banner             Email exchange with mediator and counsel regarding mediation         0.10         $ 61.00
                               procedures.
 02/17/22 K Banner             Mediation telephone conference with L. Gumport and all               1.50        $ 915.00
                               counsel (.5); telephone call with P. Dracht regarding mediation
                               strategy (.5); telephone call with Trustee regarding mediation
                               strategy and other developments (.5).
 02/18/22 K Banner             Review mediator's confidentiality stipulation and email              0.20        $ 122.00
                               exchange with Trustee regarding the same.
 02/23/22 K Banner             Review information to send to P. Dracht and email exchange           0.20        $ 122.00
                               with P. Dracht.
 02/24/22 K Banner             Review answer filed by S. Schultz.                                   0.40         $ 244.00
           Total B420 – Commercial Tort Claims                                                      3.30       $ 2,021.50


             Total B400 – Carve-Out Matters                                                         3.30       $ 2,021.50


 Total fees for this matter:                                                                                   $ 8,530.00




Atty : JAK, #264 / P1158482                                Page 3                                  Tax ID # XX-XXXXXXX
                                                                                                 Exhibit 2, page 275
   Case 2:19-bk-23085-BB              Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                                    Desc
                                      Main Document   Page 276 of 377
                                          GREENBERG GLUSKER

     2049 Century Park East                                                                General billing questions: (310) 201-7492
     Suite 2600                                                                                                       (310) 785-6842
     Los Angeles, CA 90067                                                                                Payments: (310) 785-6846
                                                                                                                     Fax: (310) 553-7018
     Client # 76214,      Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,      Youth Policy Institute, Inc.

     Invoice date: 03/30/22                                                                                 Charges through: 02/28/22
     Invoice # 712209

                                           Summary Of Attorney Time By Task
                                              ______________________

                                                                Hours              Rate                    Value

             B110 – Case Administration
               K Banner                                           0.10           610.00                $ 61.00

             B160 – Fee/Employment Applications
               K Banner                                           1.40           610.00               $ 854.00

             B190 – Other Contested Matters (excluding assumption/rejection motions)
               K Banner                                           8.40            610.00             $ 5,124.00
               JA Krieger                                         0.50            695.00               $ 347.50

             B310 – Claims Administration and Objections
               K Banner                                           0.20           610.00               $ 122.00

             B420 – Commercial Tort Claims
               K Banner                                           3.20           610.00              $ 1,952.00
               JA Krieger                                         0.10           695.00                 $ 69.50

             Total                                               13.90                               $ 8,530.00




                                                   Summary By Task
                                                ______________________

                                                Task                                               Hours                Value
                                                B110 – Case Administration                          0.10              $ 61.00
                                                B160 – Fee/Employment Applications                  1.40             $ 854.00
                                                B190 – Other Contested Matters (excluding           8.90           $ 5,471.50
                                                assumption/rejection motions)
                                                B310 – Claims Administration and                    0.20             $ 122.00
                                                Objections
                                                B420 – Commercial Tort Claims                       3.30           $ 2,021.50
   Total                                                                                           13.90           $ 8,530.00




                                                        COSTS
                       Date       Description                                                              Amount
                       02/15/22   VENDOR: First Legal Network, LLC INVOICE#:                               $ 10.75
                                  10476774 DATE: 2/23/2022



Atty : JAK, #264 / P1158482                                   Page 4                                     Tax ID # XX-XXXXXXX
                                                                                                       Exhibit 2, page 276
   Case 2:19-bk-23085-BB                 Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                           Desc
                                         Main Document   Page 277 of 377
                                             GREENBERG GLUSKER

     2049 Century Park East                                                          General billing questions: (310) 201-7492
     Suite 2600                                                                                                 (310) 785-6842
     Los Angeles, CA 90067                                                                          Payments: (310) 785-6846
                                                                                                               Fax: (310) 553-7018
     Client # 76214,      Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,      Youth Policy Institute, Inc.

     Invoice date: 03/30/22                                                                            Charges through: 02/28/22
     Invoice # 712209

                                                               COSTS
                       Date         Description                                                      Amount
                       Total costs for this matter:                                                  $ 10.75


                                              Summary Of Costs by Expenses Code
                                                 ______________________

                              Expense                                                 Value
                              E107 – Delivery services/messengers                    $10.75

                              Total                                                  $ 10.75




                                                RECAP OF AMOUNTS DUE
 Total Previous Balance                                                                        $ 467,264.84
                                                                                                                __________
 Balance Forward                                                                                               $ 467,264.84
 Current Month Fees                                                                               $ 8,530.00
 Current Month Costs                                                                                 $ 10.75
                                                                                                                __________
 Total Current Charges                                                                                            $ 8,540.75
                                                                                                                __________
 Total Due from Current Charges                                                                                   $ 8,540.75
                                                                                                                __________
 AMOUNT DUE                                                                                                    $ 475,805.59




                                                   Summary Of Attorney Time
                                                   ______________________

             Attorney                                               Hours     Rate        Value
             J Krieger                                               0.60   695.00     $ 417.00
             K Banner                                               13.30   610.00   $ 8,113.00
             Total                                                  13.90            $ 8,530.00




Atty : JAK, #264 / P1158482                                     Page 5                               Tax ID # XX-XXXXXXX
                                                                                                   Exhibit 2, page 277
         Case 2:19-bk-23085-BB                Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                                      Desc
                                              Main Document   Page 278 of 377

                                                      GREENBERG GLUSKER
          2049 Century Park East                                                            General billing questions: (310) 201-7492
          Suite 2600                                                                                                   (310) 785-6842
          Los Angeles, CA 90067                                                                            Payments: (310) 785-6846
                                                                                                                      Fax: (310) 553-7018
                                                  Jason M. Rund, Chapter 7 Trustee

          Client # 76214                                                                                      Charges through: 02/28/22
          Invoice date: 03/30/22
          Invoice # 712209




                                                                                              Payments and
Matter                                                    Previous              Current        Retainers To        Adjustments
Number      Name                                           Balance             Charges            03/30/22         To 03/30/22         Amount Due
00002       Youth Policy Institute, Inc.              $ 467,206.21           $ 8,540.75              $ 0.00             $ 0.00        $ 475,746.96

                                                      ___________          __________          __________           __________       ___________
            Bill Total                                $ 467,206.21          $ 8,540.75              $ 0.00               $ 0.00      $ 475,746.96


                                  PLEASE ENCLOSE THIS PAGE WITH YOUR REMITTANCE


                                           Wire instructions for the GENERAL account in US Dollars:
                                         Bank Name:               First Republic Bank
                                                                  111 Pine Street
                                                                  San Francisco, CA 94111
                                         SWIFT CODE:              FRBBUS6S
                                         ABA:                     321081669
                                         Account Name:            Greenberg Glusker Fields Claman &
                                                                  Machtinger
                                         Account No.:             #997-0005-4655




  Please reflect the client name and number, and the matters being paid. Payments received will apply first to accrued interest and then to
  costs and fees.
   Atty : JAK, #264 / P1158482                                          Page 6                                       Tax ID # XX-XXXXXXX
                                                                                                                   Exhibit 2, page 278
         Case 2:19-bk-23085-BB                Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                                      Desc
                                              Main Document   Page 279 of 377
                                                  GREENBERG GLUSKER
          2049 Century Park East                                                            General billing questions: (310) 201-7492
          Suite 2600                                                                                                   (310) 785-6842
          Los Angeles, CA 90067                                                                            Payments: (310) 785-6846
                                                                                                                      Fax: (310) 553-7018
                                                  Jason M. Rund, Chapter 7 Trustee

          Client # 76214                                                                                      Charges through: 03/31/22
          Invoice date: 04/27/22
          Invoice # 713655



                                                                                              Payments and
Matter                                                    Previous              Current        Retainers To        Adjustments
Number      Name                                           Balance             Charges            04/27/22         To 04/27/22         Amount Due
00002       Youth Policy Institute, Inc.              $ 475,746.96           $ 1,426.37              $ 0.00             $ 0.00        $ 477,173.33

                                                      ___________          __________          __________           __________       ___________
            Bill Total                                $ 475,746.96          $ 1,426.37              $ 0.00               $ 0.00      $ 477,173.33




                                                                        Jason M. Rund, Chapter 7 Trustee
                                                                        Sheridan & Rund
                                                                        840 Apollo Street
                                                                        Suite 351
                                                                        El Segundo, CA 90402




  Please reflect the client name and number, and the matters being paid. Payments received will apply first to accrued interest and then to
  costs and fees.
   Atty : JAK, #264 / P1160661                                          Page 1                                       Tax ID # XX-XXXXXXX
                                                                                                                   Exhibit 2, page 279
   Case 2:19-bk-23085-BB              Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                           Desc
                                      Main Document   Page 280 of 377
                                          GREENBERG GLUSKER

     2049 Century Park East                                                         General billing questions: (310) 201-7492
     Suite 2600                                                                                                (310) 785-6842
     Los Angeles, CA 90067                                                                         Payments: (310) 785-6846
                                                                                                            Fax: (310) 553-7018
     Client # 76214,     Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,     Youth Policy Institute, Inc.

     Invoice date: 04/27/22                                                                          Charges through: 03/31/22
     Invoice # 713655



                                                            FEES
 Date      Timekeeper                               Description of Services                         Hours         Amount

 B100 – Administration
    B110 – Case Administration
 03/14/22 K Banner             Telephone conference with Trustee regarding latest                    0.20        $ 122.00
                               developments and strategy.
           Total B110 – Case Administration                                                          0.20        $ 122.00


    B190 – Other Contested Matters (excluding assumption/rejection motions)
 03/07/22 K Banner             Review case docket for status and developments relating to            1.00        $ 610.00
                               CCF 9019 motion (.1); draft and revise order thereon (.5); draft
                               and revise declaration of non-opposition and notice of lodgment
                               regarding the same and review filed declaration (.4).
 03/08/22 K Banner             Review entered order on CCF 9019 motion and email exchange            0.20        $ 122.00
                               with S. Gurvitz.
 03/10/22 K Banner             Review proof of claim filed by CCF.                                   0.20        $ 122.00
           Total B190 – Other Contested Matters (excluding assumption/rejection motions)             1.40        $ 854.00


            Total B100 – Administration                                                              1.60        $ 976.00


 B200 – Operations
    B230 – Financing/Cash Collateral
 03/08/22 K Banner             Telephone call with G. Weiner and A. Gumport (counsel for             0.40        $ 244.00
                               NFF) regarding NFF's inquiries re status of case.
           Total B230 – Financing/Cash Collateral                                                    0.40        $ 244.00


            Total B200 – Operations                                                                  0.40        $ 244.00


 B400 – Carve-Out Matters
    B420 – Commercial Tort Claims
 03/10/22 K Banner             Email exchange with P. Dracht regarding correspondence to             0.10         $ 61.00
                               Hanover.
 03/16/22 K Banner             Email exchange with P. Dracht regarding mediation                     0.20        $ 122.00
                               conference.
           Total B420 – Commercial Tort Claims                                                       0.30        $ 183.00


            Total B400 – Carve-Out Matters                                                           0.30        $ 183.00



Atty : JAK, #264 / P1160661                                Page 2                                   Tax ID # XX-XXXXXXX
                                                                                                  Exhibit 2, page 280
   Case 2:19-bk-23085-BB                Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                                    Desc
                                        Main Document   Page 281 of 377
                                            GREENBERG GLUSKER

     2049 Century Park East                                                                  General billing questions: (310) 201-7492
     Suite 2600                                                                                                         (310) 785-6842
     Los Angeles, CA 90067                                                                                  Payments: (310) 785-6846
                                                                                                                       Fax: (310) 553-7018
     Client # 76214,       Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,       Youth Policy Institute, Inc.

     Invoice date: 04/27/22                                                                                   Charges through: 03/31/22
     Invoice # 713655

                                                                  FEES
 Date        Timekeeper                                   Description of Services                            Hours            Amount
 Total fees for this matter:                                                                                               $ 1,403.00


                                              Summary Of Attorney Time By Task
                                                 ______________________

                                                                   Hours             Rate                    Value

               B110 – Case Administration
                 K Banner                                           0.20            610.00              $ 122.00

               B190 – Other Contested Matters (excluding assumption/rejection motions)
                 K Banner                                           1.40            610.00              $ 854.00

               B230 – Financing/Cash Collateral
                 K Banner                                           0.40            610.00              $ 244.00

               B420 – Commercial Tort Claims
                 K Banner                                           0.30            610.00              $ 183.00

               Total                                                2.30                               $ 1,403.00




                                                         Summary By Task
                                                      ______________________

                                                  Task                                               Hours                Value
                                                  B110 – Case Administration                          0.20             $ 122.00
                                                  B190 – Other Contested Matters (excluding           1.40             $ 854.00
                                                  assumption/rejection motions)
                                                  B230 – Financing/Cash Collateral                    0.40             $ 244.00
                                                  B420 – Commercial Tort Claims                       0.30             $ 183.00
   Total                                                                                              2.30           $ 1,403.00




                                                          COSTS
                       Date         Description                                                              Amount
                       03/08/22     VENDOR: First Legal Network, LLC INVOICE#:                               $ 10.75
                                    10481563 DATE: 3/8/2022

             through 03/31/22       Postage                                                                  $ 12.62

                       Total costs for this matter:                                                          $ 23.37
Atty : JAK, #264 / P1160661                                      Page 3                                    Tax ID # XX-XXXXXXX
                                                                                                         Exhibit 2, page 281
   Case 2:19-bk-23085-BB                 Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                           Desc
                                         Main Document   Page 282 of 377
                                             GREENBERG GLUSKER

     2049 Century Park East                                                          General billing questions: (310) 201-7492
     Suite 2600                                                                                                 (310) 785-6842
     Los Angeles, CA 90067                                                                          Payments: (310) 785-6846
                                                                                                               Fax: (310) 553-7018
     Client # 76214,      Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,      Youth Policy Institute, Inc.

     Invoice date: 04/27/22                                                                            Charges through: 03/31/22
     Invoice # 713655



                                               Summary Of Costs by Expenses Code
                                                  ______________________

                              Expense                                                 Value
                              E107 – Delivery services/messengers                    $10.75

                              E108 – Postage                                         $12.62

                              Total                                                  $ 23.37




                                                 RECAP OF AMOUNTS DUE
 Total Previous Balance                                                                        $ 475,746.96
                                                                                                                __________
 Balance Forward                                                                                               $ 475,746.96
 Current Month Fees                                                                               $ 1,403.00
 Current Month Costs                                                                                 $ 23.37
                                                                                                                __________
 Total Current Charges                                                                                            $ 1,426.37
                                                                                                                __________
 Total Due from Current Charges                                                                                   $ 1,426.37
                                                                                                                __________
 AMOUNT DUE                                                                                                    $ 477,173.33




                                                   Summary Of Attorney Time
                                                   ______________________

             Attorney                                               Hours     Rate        Value
             K Banner                                                2.30   610.00   $ 1,403.00
             Total                                                   2.30            $ 1,403.00




Atty : JAK, #264 / P1160661                                     Page 4                               Tax ID # XX-XXXXXXX
                                                                                                   Exhibit 2, page 282
         Case 2:19-bk-23085-BB                Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                                      Desc
                                              Main Document   Page 283 of 377

                                                      GREENBERG GLUSKER
          2049 Century Park East                                                            General billing questions: (310) 201-7492
          Suite 2600                                                                                                   (310) 785-6842
          Los Angeles, CA 90067                                                                            Payments: (310) 785-6846
                                                                                                                      Fax: (310) 553-7018
                                                  Jason M. Rund, Chapter 7 Trustee

          Client # 76214                                                                                      Charges through: 03/31/22
          Invoice date: 04/27/22
          Invoice # 713655




                                                                                              Payments and
Matter                                                    Previous              Current        Retainers To        Adjustments
Number      Name                                           Balance             Charges            04/27/22         To 04/27/22         Amount Due
00002       Youth Policy Institute, Inc.              $ 475,746.96           $ 1,426.37              $ 0.00             $ 0.00        $ 477,173.33

                                                      ___________          __________          __________           __________       ___________
            Bill Total                                $ 475,746.96          $ 1,426.37              $ 0.00               $ 0.00      $ 477,173.33


                                  PLEASE ENCLOSE THIS PAGE WITH YOUR REMITTANCE


                                           Wire instructions for the GENERAL account in US Dollars:
                                         Bank Name:               First Republic Bank
                                                                  111 Pine Street
                                                                  San Francisco, CA 94111
                                         SWIFT CODE:              FRBBUS6S
                                         ABA:                     321081669
                                         Account Name:            Greenberg Glusker Fields Claman &
                                                                  Machtinger
                                         Account No.:             #997-0005-4655




  Please reflect the client name and number, and the matters being paid. Payments received will apply first to accrued interest and then to
  costs and fees.
   Atty : JAK, #264 / P1160661                                          Page 5                                       Tax ID # XX-XXXXXXX
                                                                                                                   Exhibit 2, page 283
         Case 2:19-bk-23085-BB                Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                                      Desc
                                              Main Document   Page 284 of 377
                                                  GREENBERG GLUSKER
          2049 Century Park East                                                            General billing questions: (310) 201-7492
          Suite 2600                                                                                                   (310) 785-6842
          Los Angeles, CA 90067                                                                            Payments: (310) 785-6846
                                                                                                                      Fax: (310) 553-7018
                                                  Jason M. Rund, Chapter 7 Trustee

          Client # 76214                                                                                      Charges through: 04/30/22
          Invoice date: 05/10/22
          Invoice # 714208



                                                                                              Payments and
Matter                                                    Previous              Current        Retainers To        Adjustments
Number      Name                                           Balance             Charges            05/10/22         To 05/10/22         Amount Due
00002       Youth Policy Institute, Inc.              $ 477,173.33           $ 9,179.00              $ 0.00             $ 0.00        $ 486,352.33

                                                      ___________          __________          __________           __________       ___________
            Bill Total                                $ 477,173.33          $ 9,179.00              $ 0.00               $ 0.00      $ 486,352.33




                                                                        Jason M. Rund, Chapter 7 Trustee
                                                                        Sheridan & Rund
                                                                        840 Apollo Street
                                                                        Suite 351
                                                                        El Segundo, CA 90402




  Please reflect the client name and number, and the matters being paid. Payments received will apply first to accrued interest and then to
  costs and fees.
   Atty : JAK, #264 / P1164853                                          Page 1                                       Tax ID # XX-XXXXXXX
                                                                                                                   Exhibit 2, page 284
   Case 2:19-bk-23085-BB              Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                             Desc
                                      Main Document   Page 285 of 377
                                          GREENBERG GLUSKER

     2049 Century Park East                                                          General billing questions: (310) 201-7492
     Suite 2600                                                                                                 (310) 785-6842
     Los Angeles, CA 90067                                                                          Payments: (310) 785-6846
                                                                                                              Fax: (310) 553-7018
     Client # 76214,     Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,     Youth Policy Institute, Inc.

     Invoice date: 05/10/22                                                                            Charges through: 04/30/22
     Invoice # 714208



                                                              FEES
 Date       Timekeeper                                Description of Services                         Hours         Amount

 B300 – Claims and Plan
    B310 – Claims Administration and Objections
 04/01/22 K Banner             Review claim filed by Veronica Hernandez.                               0.10         $ 61.00
 04/25/22 K Banner             Per inquiry from creditor, review California Labor Commission           0.20        $ 122.00
                               proof of claim and email exchange with E. Morales.
           Total B310 – Claims Administration and Objections                                           0.30        $ 183.00


            Total B300 – Claims and Plan                                                               0.30        $ 183.00


 B400 – Carve-Out Matters
    B420 – Commercial Tort Claims
 04/04/22 JA Krieger           Review pleadings; status report; motions, replies, court orders         1.00        $ 695.00
                               and mediator emails in preparation for mediation prep call
 04/04/22 JA Krieger           Telephone conference(s) with K. Banner in preparation for call          0.50        $ 347.50
                               with litigation counsel regarding mediation
 04/04/22 JA Krieger           Conference call with P. Dracht, J. Rund and K. Banner for               1.00        $ 695.00
                               mediation strategy
 04/04/22 K Banner             Review complaint, answers and other documents in advance of             2.10       $ 1,281.00
                               strategy meeting regarding commercial tort claims adversary
                               proceeding (.5); conference with J. Krieger regarding the same
                               (.5); Zoom conference with P. Dracht, Trustee, and J. Krieger
                               regarding mediation strategy (1.1).
 04/20/22 K Banner             Review correspondence from Hanover and email exchange                   0.20        $ 122.00
                               with P. Dracht.
 04/21/22 JA Krieger           Review email from P. Dracht regarding Schultz request to                0.30        $ 208.50
                               withdraw consent to bk court (.1); telephone conference(s) with
                               K. Banner regarding same (.2)
 04/21/22 K Banner             Confer with J. Krieger regarding Schultz consent issue and              0.30        $ 183.00
                               email exchange with P. Dracht (.2); review notice of non-
                               consent filed by S. Schultz (.1).
 04/22/22 JA Krieger           Telephone conference(s) with K. Banner regarding Mediation              1.10        $ 764.50
                               brief (.1); review and revise Mediation brief (.9); preparation of
                               Email to K. Banner (.1)
 04/24/22 K Banner             Review and revise mediation brief and review documents of               1.50        $ 915.00
                               YPI which may further support the mediation position of the
                               Trustee.
 04/25/22 JA Krieger           Review and respond to email from P. Dracht regarding                    0.30        $ 208.50
                               mediation (1); review email from P. Dracht regarding
                               mediation brief (.1); review email from J. Rund regarding
                               mediation strategy (.1)
 04/26/22 JA Krieger           Review email from P. Dracht (.1); review redline of mediation           1.10        $ 764.50
Atty : JAK, #264 / P1164853                                  Page 2                                   Tax ID # XX-XXXXXXX
                                                                                                    Exhibit 2, page 285
   Case 2:19-bk-23085-BB               Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                             Desc
                                       Main Document   Page 286 of 377
                                           GREENBERG GLUSKER

     2049 Century Park East                                                            General billing questions: (310) 201-7492
     Suite 2600                                                                                                   (310) 785-6842
     Los Angeles, CA 90067                                                                            Payments: (310) 785-6846
                                                                                                               Fax: (310) 553-7018
     Client # 76214,       Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,       Youth Policy Institute, Inc.

     Invoice date: 05/10/22                                                                            Charges through: 04/30/22
     Invoice # 714208

                                                             FEES
 Date        Timekeeper                             Description of Services                           Hours          Amount
                               brief (.8); review email from J. Rund regarding comments (.1);
                               preparation of email to K. Banner regarding comments (.1)
 04/26/22    K Banner          Email exchange with L. Gumport regarding mediation (.1);                 0.60        $ 366.00
                               review revised mediation brief and confer with J. Krieger
                               regarding the same (.5).
 04/27/22    K Banner          Conference with J. Krieger regarding demands to insurance                0.20        $ 122.00
                               carriers and email exchange with P. Dracht regarding the same.
 04/28/22    JA Krieger        Review Schultz' mediation brief                                          0.30        $ 208.50
 04/28/22    K Banner          Review and analyze redacted mediation brief from S. Schultz              0.60        $ 366.00
                               (.5); email exchange with B. Howard regarding mediation (.1).
 04/29/22    K Banner          Email exchange with B. Howard regarding mediation (.1);                  1.30        $ 793.00
                               telephone conference with L. Gumport and P. Dracht regarding
                               mediation (.3); telephone conference with P. Dracht and J.
                               Krieger regarding the same (.3); telephone call with Trustee
                               regarding the same (.2); review redacted mediation brief and
                               conferences with P. Dracht (.4).
 04/30/22    JA Krieger        Review emails from mediator and co-counsel; review pleadings             1.20        $ 834.00
                               and briefs in preparation for mediation
 04/30/22    K Banner          Review new request from mediator and email exchange with P.              0.20        $ 122.00
                               Dracht regarding the same.
             Total B420 – Commercial Tort Claims                                                      13.80        $ 8,996.00


             Total B400 – Carve-Out Matters                                                           13.80        $ 8,996.00


 Total fees for this matter:                                                                                       $ 9,179.00


                                             Summary Of Attorney Time By Task
                                                ______________________

                                                               Hours            Rate                 Value

               B310 – Claims Administration and Objections
                 K Banner                                       0.30        610.00                $ 183.00

               B420 – Commercial Tort Claims
                 K Banner                                       7.00        610.00               $ 4,270.00
                 JA Krieger                                     6.80        695.00               $ 4,726.00

               Total                                           14.10                             $ 9,179.00




Atty : JAK, #264 / P1164853                                  Page 3                                  Tax ID # XX-XXXXXXX
                                                                                                   Exhibit 2, page 286
   Case 2:19-bk-23085-BB            Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                           Desc
                                    Main Document   Page 287 of 377
                                        GREENBERG GLUSKER

     2049 Century Park East                                                     General billing questions: (310) 201-7492
     Suite 2600                                                                                            (310) 785-6842
     Los Angeles, CA 90067                                                                     Payments: (310) 785-6846
                                                                                                          Fax: (310) 553-7018
     Client # 76214,      Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,      Youth Policy Institute, Inc.

     Invoice date: 05/10/22                                                                       Charges through: 04/30/22
     Invoice # 714208

                                                Summary By Task
                                             ______________________

                                             Task                                       Hours                Value
                                             B310 – Claims Administration and            0.30             $ 183.00
                                             Objections
                                             B420 – Commercial Tort Claims              13.80         $ 8,996.00
   Total                                                                                14.10         $ 9,179.00




                                           RECAP OF AMOUNTS DUE
 Total Previous Balance                                                                 $ 477,173.33
                                                                                                           __________
 Balance Forward                                                                                          $ 477,173.33
 Current Month Fees                                                                          $ 9,179.00
 Current Month Costs                                                                             $ 0.00
                                                                                                           __________
 Total Current Charges                                                                                       $ 9,179.00
                                                                                                           __________
 Total Due from Current Charges                                                                              $ 9,179.00
                                                                                                           __________
 AMOUNT DUE                                                                                               $ 486,352.33




                                             Summary Of Attorney Time
                                             ______________________

             Attorney                                        Hours     Rate          Value
             J Krieger                                        6.80   695.00     $ 4,726.00
             K Banner                                         7.30   610.00     $ 4,453.00
             Total                                           14.10              $ 9,179.00




Atty : JAK, #264 / P1164853                               Page 4                                Tax ID # XX-XXXXXXX
                                                                                              Exhibit 2, page 287
         Case 2:19-bk-23085-BB                Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                                      Desc
                                              Main Document   Page 288 of 377

                                                      GREENBERG GLUSKER
          2049 Century Park East                                                            General billing questions: (310) 201-7492
          Suite 2600                                                                                                   (310) 785-6842
          Los Angeles, CA 90067                                                                            Payments: (310) 785-6846
                                                                                                                      Fax: (310) 553-7018
                                                  Jason M. Rund, Chapter 7 Trustee

          Client # 76214                                                                                      Charges through: 04/30/22
          Invoice date: 05/10/22
          Invoice # 714208




                                                                                              Payments and
Matter                                                    Previous              Current        Retainers To        Adjustments
Number      Name                                           Balance             Charges            05/10/22         To 05/10/22         Amount Due
00002       Youth Policy Institute, Inc.              $ 477,173.33           $ 9,179.00              $ 0.00             $ 0.00        $ 486,352.33

                                                      ___________          __________          __________           __________       ___________
            Bill Total                                $ 477,173.33          $ 9,179.00              $ 0.00               $ 0.00      $ 486,352.33


                                  PLEASE ENCLOSE THIS PAGE WITH YOUR REMITTANCE


                                           Wire instructions for the GENERAL account in US Dollars:
                                         Bank Name:               First Republic Bank
                                                                  111 Pine Street
                                                                  San Francisco, CA 94111
                                         SWIFT CODE:              FRBBUS6S
                                         ABA:                     321081669
                                         Account Name:            Greenberg Glusker Fields Claman &
                                                                  Machtinger
                                         Account No.:             #997-0005-4655




  Please reflect the client name and number, and the matters being paid. Payments received will apply first to accrued interest and then to
  costs and fees.
   Atty : JAK, #264 / P1164853                                          Page 5                                       Tax ID # XX-XXXXXXX
                                                                                                                   Exhibit 2, page 288
         Case 2:19-bk-23085-BB                Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                                      Desc
                                              Main Document   Page 289 of 377
                                                  GREENBERG GLUSKER
          2049 Century Park East                                                            General billing questions: (310) 201-7492
          Suite 2600                                                                                                   (310) 785-6842
          Los Angeles, CA 90067                                                                            Payments: (310) 785-6846
                                                                                                                      Fax: (310) 553-7018
                                                  Jason M. Rund, Chapter 7 Trustee

          Client # 76214                                                                                      Charges through: 05/31/22
          Invoice date: 06/14/22
          Invoice # 715801



                                                                                              Payments and
Matter                                                    Previous              Current        Retainers To        Adjustments
Number      Name                                           Balance             Charges            06/14/22         To 06/14/22         Amount Due
00002       Youth Policy Institute, Inc.              $ 486,352.33          $ 10,040.00              $ 0.00             $ 0.00        $ 496,392.33

                                                      ___________          __________          __________           __________       ___________
            Bill Total                                $ 486,352.33         $ 10,040.00              $ 0.00               $ 0.00      $ 496,392.33




                                                                        Jason M. Rund, Chapter 7 Trustee
                                                                        Sheridan & Rund
                                                                        840 Apollo Street
                                                                        Suite 351
                                                                        El Segundo, CA 90402




  Please reflect the client name and number, and the matters being paid. Payments received will apply first to accrued interest and then to
  costs and fees.
   Atty : JAK, #264 / P1168891                                          Page 1                                       Tax ID # XX-XXXXXXX
                                                                                                                   Exhibit 2, page 289
   Case 2:19-bk-23085-BB             Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                           Desc
                                     Main Document   Page 290 of 377
                                         GREENBERG GLUSKER

     2049 Century Park East                                                        General billing questions: (310) 201-7492
     Suite 2600                                                                                               (310) 785-6842
     Los Angeles, CA 90067                                                                        Payments: (310) 785-6846
                                                                                                           Fax: (310) 553-7018
     Client # 76214,       Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,       Youth Policy Institute, Inc.

     Invoice date: 06/14/22                                                                         Charges through: 05/31/22
     Invoice # 715801



                                                            FEES
 Date        Timekeeper                             Description of Services                        Hours         Amount

 B400 – Carve-Out Matters
    B420 – Commercial Tort Claims
 05/02/22 JA Krieger           Telephone conference(s) with K. Banner regarding mediation           0.20        $ 139.00
                               prep and emails from mediator
 05/02/22 JA Krieger           Attend mediation in adversary proceeding                             6.00       $ 4,170.00
 05/02/22 K Banner             Telephone conference with J. Krieger regarding mediation (.1);       6.50       $ 3,965.00
                               review insurance demands and other information in preparation
                               for mediation (.4); attend mediation session with L. Gumport
                               as mediator and conference with J. Krieger, Trustee and P.
                               Dracht thereafter (6.0).
 05/09/22 JA Krieger           Review email from P. Dracht regarding possible testimony             0.20        $ 139.00
                               from auditors(.1); review email from L. Gumport and P. Dracht
                               response regarding status (.1)
 05/12/22 K Banner             Email exchange with P. Dracht regarding insurance demand.            0.20        $ 122.00
 05/17/22 K Banner             Review mediators certificate.                                        0.10         $ 61.00
 05/19/22 JA Krieger           Telephone conference(s) with K. Banner regarding demand              0.10         $ 69.50
                               against insurance companies (.1); review
 05/19/22 K Banner             Review and revise demand from P. Dracht (.8); telephone              1.00        $ 610.00
                               conference with Trustee regarding the same (.2).
 05/20/22 JA Krieger           Review and revise insurance demand brief (.4); telephone             0.70        $ 486.50
                               conference(s) with K. Banner regarding same (.2); preparation
                               of email to P. Dracht (.1)
 05/23/22 JA Krieger           Preparation of email to P. Dracht regarding demand letter (.2);      0.30        $ 208.50
                               review response (.1)
 05/31/22 JA Krieger           Review notice of mediation filed by D. Slingerland                   0.10         $ 69.50
           Total B420 – Commercial Tort Claims                                                     15.40     $ 10,040.00


             Total B400 – Carve-Out Matters                                                        15.40     $ 10,040.00


 Total fees for this matter:                                                                                  $ 10,040.00




Atty : JAK, #264 / P1168891                                Page 2                                  Tax ID # XX-XXXXXXX
                                                                                                 Exhibit 2, page 290
   Case 2:19-bk-23085-BB            Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                                Desc
                                    Main Document   Page 291 of 377
                                        GREENBERG GLUSKER

     2049 Century Park East                                                            General billing questions: (310) 201-7492
     Suite 2600                                                                                                   (310) 785-6842
     Los Angeles, CA 90067                                                                            Payments: (310) 785-6846
                                                                                                               Fax: (310) 553-7018
     Client # 76214,      Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,      Youth Policy Institute, Inc.

     Invoice date: 06/14/22                                                                             Charges through: 05/31/22
     Invoice # 715801

                                         Summary Of Attorney Time By Task
                                            ______________________

                                                             Hours             Rate                    Value

             B420 – Commercial Tort Claims
               K Banner                                       7.80            610.00             $ 4,758.00
               JA Krieger                                     7.60            695.00             $ 5,282.00

             Total                                           15.40                              $ 10,040.00




                                                 Summary By Task
                                              ______________________

                                              Task                                             Hours             Value
                                              B420 – Commercial Tort Claims                    15.40       $ 10,040.00
   Total                                                                                       15.40       $ 10,040.00




                                             RECAP OF AMOUNTS DUE
 Total Previous Balance                                                                        $ 486,352.33
                                                                                                                __________
 Balance Forward                                                                                               $ 486,352.33
 Current Month Fees                                                                             $ 10,040.00
 Current Month Costs                                                                                 $ 0.00
                                                                                                                __________
 Total Current Charges                                                                                          $ 10,040.00
                                                                                                                __________
 Total Due from Current Charges                                                                                 $ 10,040.00
                                                                                                                __________
 AMOUNT DUE                                                                                                    $ 496,392.33




Atty : JAK, #264 / P1168891                                Page 3                                    Tax ID # XX-XXXXXXX
                                                                                                   Exhibit 2, page 291
   Case 2:19-bk-23085-BB           Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                     Desc
                                   Main Document   Page 292 of 377
                                       GREENBERG GLUSKER

     2049 Century Park East                                                   General billing questions: (310) 201-7492
     Suite 2600                                                                                          (310) 785-6842
     Los Angeles, CA 90067                                                                   Payments: (310) 785-6846
                                                                                                   Fax: (310) 553-7018
     Client # 76214,     Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,     Youth Policy Institute, Inc.

     Invoice date: 06/14/22                                                                   Charges through: 05/31/22
     Invoice # 715801

                                            Summary Of Attorney Time
                                            ______________________

             Attorney                                       Hours     Rate         Value
             J Krieger                                       7.60   695.00    $ 5,282.00
             K Banner                                        7.80   610.00    $ 4,758.00
             Total                                          15.40            $ 10,040.00




Atty : JAK, #264 / P1168891                            Page 4                                Tax ID # XX-XXXXXXX
                                                                                           Exhibit 2, page 292
         Case 2:19-bk-23085-BB                Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                                      Desc
                                              Main Document   Page 293 of 377

                                                      GREENBERG GLUSKER
          2049 Century Park East                                                            General billing questions: (310) 201-7492
          Suite 2600                                                                                                   (310) 785-6842
          Los Angeles, CA 90067                                                                            Payments: (310) 785-6846
                                                                                                                      Fax: (310) 553-7018
                                                  Jason M. Rund, Chapter 7 Trustee

          Client # 76214                                                                                      Charges through: 05/31/22
          Invoice date: 06/14/22
          Invoice # 715801




                                                                                              Payments and
Matter                                                    Previous              Current        Retainers To        Adjustments
Number      Name                                           Balance             Charges            06/14/22         To 06/14/22         Amount Due
00002       Youth Policy Institute, Inc.              $ 486,352.33          $ 10,040.00              $ 0.00             $ 0.00        $ 496,392.33

                                                      ___________          __________          __________           __________       ___________
            Bill Total                                $ 486,352.33         $ 10,040.00              $ 0.00               $ 0.00      $ 496,392.33


                                  PLEASE ENCLOSE THIS PAGE WITH YOUR REMITTANCE


                                           Wire instructions for the GENERAL account in US Dollars:
                                         Bank Name:               First Republic Bank
                                                                  111 Pine Street
                                                                  San Francisco, CA 94111
                                         SWIFT CODE:              FRBBUS6S
                                         ABA:                     321081669
                                         Account Name:            Greenberg Glusker Fields Claman &
                                                                  Machtinger
                                         Account No.:             #997-0005-4655




  Please reflect the client name and number, and the matters being paid. Payments received will apply first to accrued interest and then to
  costs and fees.
   Atty : JAK, #264 / P1168891                                          Page 5                                       Tax ID # XX-XXXXXXX
                                                                                                                   Exhibit 2, page 293
         Case 2:19-bk-23085-BB                Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                                      Desc
                                              Main Document   Page 294 of 377
                                                  GREENBERG GLUSKER
          2049 Century Park East                                                            General billing questions: (310) 201-7492
          Suite 2600                                                                                                   (310) 785-6842
          Los Angeles, CA 90067                                                                            Payments: (310) 785-6846
                                                                                                                      Fax: (310) 553-7018
                                                  Jason M. Rund, Chapter 7 Trustee

          Client # 76214                                                                                      Charges through: 06/30/22
          Invoice date: 07/19/22
          Invoice # 717257



                                                                                              Payments and
Matter                                                    Previous              Current        Retainers To        Adjustments
Number      Name                                           Balance             Charges            07/19/22         To 07/19/22         Amount Due
00002       Youth Policy Institute, Inc.              $ 496,392.33           $ 2,745.00              $ 0.00             $ 0.00        $ 499,137.33

                                                      ___________          __________          __________           __________       ___________
            Bill Total                                $ 496,392.33          $ 2,745.00              $ 0.00               $ 0.00      $ 499,137.33




                                                                        Jason M. Rund, Chapter 7 Trustee
                                                                        Sheridan & Rund
                                                                        840 Apollo Street
                                                                        Suite 351
                                                                        El Segundo, CA 90402




  Please reflect the client name and number, and the matters being paid. Payments received will apply first to accrued interest and then to
  costs and fees.
   Atty : JAK, #264 / P1173002                                          Page 1                                       Tax ID # XX-XXXXXXX
                                                                                                                   Exhibit 2, page 294
   Case 2:19-bk-23085-BB               Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                             Desc
                                       Main Document   Page 295 of 377
                                           GREENBERG GLUSKER

     2049 Century Park East                                                            General billing questions: (310) 201-7492
     Suite 2600                                                                                                   (310) 785-6842
     Los Angeles, CA 90067                                                                            Payments: (310) 785-6846
                                                                                                               Fax: (310) 553-7018
     Client # 76214,       Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,       Youth Policy Institute, Inc.

     Invoice date: 07/19/22                                                                            Charges through: 06/30/22
     Invoice # 717257



                                                            FEES
 Date        Timekeeper                             Description of Services                           Hours          Amount

 B200 – Operations
    B240 – Tax Issues
 06/09/22 K Banner             Telephone call with Trustee regarding FUTA tax status.                   0.10         $ 61.00
           Total B240 – Tax Issues                                                                      0.10         $ 61.00


             Total B200 – Operations                                                                    0.10         $ 61.00


 B400 – Carve-Out Matters
    B420 – Commercial Tort Claims
 06/02/22 K Banner             Review Slingerland settlement proposal (.2); conference with             0.60        $ 366.00
                               Trustee regarding Slingerland proposal (.1); telephone
                               conference with P. Dracht regarding strategy re: Slingerland
                               proposal and insurance demand (.3).
 06/03/22 K Banner             Telephone conference with J. Krieger regarding strategy for              0.20        $ 122.00
                               insurance demand (.1); review new mediation order (.1).
 06/29/22 K Banner             Review settlement letter from Slingerland and other documents            3.60       $ 2,196.00
                               in preparation for Slingerland mediation (.4); attend mediation
                               session regarding Slingerland intentional claims (3.0);
                               conference with Trustee thereafter regarding strategy (.2).
           Total B420 – Commercial Tort Claims                                                          4.40       $ 2,684.00


             Total B400 – Carve-Out Matters                                                             4.40       $ 2,684.00


 Total fees for this matter:                                                                                       $ 2,745.00


                                           Summary Of Attorney Time By Task
                                              ______________________

                                                              Hours            Rate                  Value

               B240 – Tax Issues
                 K Banner                                      0.10           610.00               $ 61.00

               B420 – Commercial Tort Claims
                 K Banner                                      4.40           610.00             $ 2,684.00

               Total                                           4.50                              $ 2,745.00


Atty : JAK, #264 / P1173002                                Page 2                                    Tax ID # XX-XXXXXXX
                                                                                                   Exhibit 2, page 295
   Case 2:19-bk-23085-BB            Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                         Desc
                                    Main Document   Page 296 of 377
                                        GREENBERG GLUSKER

     2049 Century Park East                                                   General billing questions: (310) 201-7492
     Suite 2600                                                                                          (310) 785-6842
     Los Angeles, CA 90067                                                                   Payments: (310) 785-6846
                                                                                                        Fax: (310) 553-7018
     Client # 76214,      Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,      Youth Policy Institute, Inc.

     Invoice date: 07/19/22                                                                     Charges through: 06/30/22
     Invoice # 717257



                                                Summary By Task
                                             ______________________

                                             Task                                     Hours              Value
                                             B240 – Tax Issues                         0.10            $ 61.00
                                             B420 – Commercial Tort Claims             4.40         $ 2,684.00
   Total                                                                               4.50         $ 2,745.00




                                           RECAP OF AMOUNTS DUE
 Total Previous Balance                                                               $ 496,392.33
                                                                                                         __________
 Balance Forward                                                                                        $ 496,392.33
 Current Month Fees                                                                        $ 2,745.00
 Current Month Costs                                                                           $ 0.00
                                                                                                         __________
 Total Current Charges                                                                                     $ 2,745.00
                                                                                                         __________
 Total Due from Current Charges                                                                            $ 2,745.00
                                                                                                         __________
 AMOUNT DUE                                                                                             $ 499,137.33




                                             Summary Of Attorney Time
                                             ______________________

             Attorney                                        Hours     Rate        Value
             K Banner                                         4.50   610.00   $ 2,745.00
             Total                                            4.50            $ 2,745.00




Atty : JAK, #264 / P1173002                               Page 3                              Tax ID # XX-XXXXXXX
                                                                                            Exhibit 2, page 296
         Case 2:19-bk-23085-BB                Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                                      Desc
                                              Main Document   Page 297 of 377

                                                      GREENBERG GLUSKER
          2049 Century Park East                                                            General billing questions: (310) 201-7492
          Suite 2600                                                                                                   (310) 785-6842
          Los Angeles, CA 90067                                                                            Payments: (310) 785-6846
                                                                                                                      Fax: (310) 553-7018
                                                  Jason M. Rund, Chapter 7 Trustee

          Client # 76214                                                                                      Charges through: 06/30/22
          Invoice date: 07/19/22
          Invoice # 717257




                                                                                              Payments and
Matter                                                    Previous              Current        Retainers To        Adjustments
Number      Name                                           Balance             Charges            07/19/22         To 07/19/22         Amount Due
00002       Youth Policy Institute, Inc.              $ 496,392.33           $ 2,745.00              $ 0.00             $ 0.00        $ 499,137.33

                                                      ___________          __________          __________           __________       ___________
            Bill Total                                $ 496,392.33          $ 2,745.00              $ 0.00               $ 0.00      $ 499,137.33


                                  PLEASE ENCLOSE THIS PAGE WITH YOUR REMITTANCE


                                           Wire instructions for the GENERAL account in US Dollars:
                                         Bank Name:               First Republic Bank
                                                                  111 Pine Street
                                                                  San Francisco, CA 94111
                                         SWIFT CODE:              FRBBUS6S
                                         ABA:                     321081669
                                         Account Name:            Greenberg Glusker Fields Claman &
                                                                  Machtinger
                                         Account No.:             #997-0005-4655




  Please reflect the client name and number, and the matters being paid. Payments received will apply first to accrued interest and then to
  costs and fees.
   Atty : JAK, #264 / P1173002                                          Page 4                                       Tax ID # XX-XXXXXXX
                                                                                                                   Exhibit 2, page 297
        Case 2:19-bk-23085-BB                  Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                                      Desc
                                               Main Document   Page 298 of 377
                                                   GREENBERG GLUSKER
          2049 Century Park East                                                             General billing questions: (310) 201-7492
          Suite 2600                                                                                                    (310) 785-6842
          Los Angeles, CA 90067                                                                             Payments: (310) 785-6846
                                                                                                                       Fax: (310) 553-7018
                                                   Jason M. Rund, Chapter 7 Trustee

          Client # 76214                                                                                       Charges through: 07/31/22
          Invoice date: 09/30/22
          Invoice # 720413



                                                                                              Payments and
Matter                                                     Previous              Current       Retainers To          Adjustments
Number Name                                                 Balance             Charges           09/30/22           To 09/30/22        Amount Due
00002   Youth Policy Institute, Inc.                   $ 499,137.33           $ 1,620.00             $ 0.00               $ 0.00       $ 500,757.33

                                                       ___________          __________          __________           __________       ___________
             Bill Total                                $ 499,137.33          $ 1,620.00              $ 0.00               $ 0.00      $ 500,757.33




                                                                         Jason M. Rund, Chapter 7 Trustee
                                                                         Sheridan & Rund
                                                                         840 Apollo Street
                                                                         Suite 351
                                                                         El Segundo, CA 90402




   Please reflect the client name and number, and the matters being paid. Payments received will apply first to accrued interest and then to
   costs and fees.
    Atty : JAK, #264 / P1182875                                          Page 1                                       Tax ID # XX-XXXXXXX
                                                                                                                    Exhibit 2, page 298
   Case 2:19-bk-23085-BB             Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                           Desc
                                     Main Document   Page 299 of 377
                                         GREENBERG GLUSKER

     2049 Century Park East                                                        General billing questions: (310) 201-7492
     Suite 2600                                                                                               (310) 785-6842
     Los Angeles, CA 90067                                                                        Payments: (310) 785-6846
                                                                                                           Fax: (310) 553-7018
     Client # 76214,       Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,       Youth Policy Institute, Inc.

     Invoice date: 09/30/22                                                                         Charges through: 07/31/22
     Invoice # 720413



                                                            FEES
 Date        Timekeeper                             Description of Services                        Hours         Amount

 B100 – Administration
    B130 – Asset Disposition
 07/06/22 K Banner               Review previous abandonment notices in light of inquiry from       0.30        $ 183.00
                                 EWDD and email exchange with C. Loo-Smart regarding the
                                 same.
             Total B130 – Asset Disposition                                                         0.30        $ 183.00


             Total B100 – Administration                                                            0.30        $ 183.00


 B400 – Carve-Out Matters
    B420 – Commercial Tort Claims
 07/01/22 K Banner             Telephone conference with Trustee regarding strategy.                0.20        $ 122.00
 07/06/22 JA Krieger           Review email from K. Banner to P. Dracht regarding damages           0.10         $ 69.50
                               analysis
 07/06/22 K Banner             Research regarding damages calculation re: Bankruptcy claims         0.50        $ 305.00
                               (.4); email exchange with P. Dracht regarding the same (.1).
 07/13/22 K Banner             Review Slngerland supplemental mediation brief.                      0.30        $ 183.00
 07/22/22 K Banner             Review supplement to demand letter re: Damages.                      0.10         $ 61.00
 07/27/22 JA Krieger           Review email from P.Dracht regarding Schultz' computer files         0.30        $ 208.50
                               (.1); review emails from K. Banner regarding efforts to obtain
                               from AUSA (.2)
 07/28/22 K Banner             Email exchange with P. Dracht regarding information relating         0.50        $ 305.00
                               to Schultz (.1); email to C. Penilla regarding DOL's possession
                               of YPI computers (.1); telephone call to M. Blas of the DOL
                               regarding the same (.1); telephone call with M. Johnson of the
                               DOL regarding the same (.2).
 07/29/22 K Banner             Email exchange with L. Gumport regarding mediation (.1);             0.30        $ 183.00
                               email exchange and telephone call with Trustee regarding the
                               same (.2).
           Total B420 – Commercial Tort Claims                                                      2.30       $ 1,437.00


             Total B400 – Carve-Out Matters                                                         2.30       $ 1,437.00


 Total fees for this matter:                                                                                   $ 1,620.00




Atty : JAK, #264 / P1182875                                Page 2                                  Tax ID # XX-XXXXXXX
                                                                                                 Exhibit 2, page 299
   Case 2:19-bk-23085-BB                Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                              Desc
                                        Main Document   Page 300 of 377
                                            GREENBERG GLUSKER

     2049 Century Park East                                                            General billing questions: (310) 201-7492
     Suite 2600                                                                                                   (310) 785-6842
     Los Angeles, CA 90067                                                                            Payments: (310) 785-6846
                                                                                                                Fax: (310) 553-7018
     Client # 76214,      Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,      Youth Policy Institute, Inc.

     Invoice date: 09/30/22                                                                             Charges through: 07/31/22
     Invoice # 720413

                                           Summary Of Attorney Time By Task
                                              ______________________

                                                             Hours             Rate                    Value

             B130 – Asset Disposition
               K Banner                                       0.30            610.00              $ 183.00

             B420 – Commercial Tort Claims
               K Banner                                       1.90            610.00             $ 1,159.00
               JA Krieger                                     0.40            695.00               $ 278.00

             Total                                            2.60                               $ 1,620.00




                                                  Summary By Task
                                               ______________________

                                              Task                                             Hours                Value
                                              B130 – Asset Disposition                          0.30             $ 183.00
                                              B420 – Commercial Tort Claims                     2.30           $ 1,437.00
   Total                                                                                        2.60           $ 1,620.00




                                             RECAP OF AMOUNTS DUE
 Total Previous Balance                                                                        $ 499,137.33
                                                                                                                 __________
 Balance Forward                                                                                                $ 499,137.33
 Current Month Fees                                                                              $ 1,620.00
 Current Month Costs                                                                                 $ 0.00
                                                                                                                 __________
 Total Current Charges                                                                                             $ 1,620.00
                                                                                                                 __________
 Total Due from Current Charges                                                                                    $ 1,620.00
                                                                                                                 __________
 AMOUNT DUE                                                                                                     $ 500,757.33




Atty : JAK, #264 / P1182875                                Page 3                                    Tax ID # XX-XXXXXXX
                                                                                                   Exhibit 2, page 300
   Case 2:19-bk-23085-BB           Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                    Desc
                                   Main Document   Page 301 of 377
                                       GREENBERG GLUSKER

     2049 Century Park East                                                  General billing questions: (310) 201-7492
     Suite 2600                                                                                         (310) 785-6842
     Los Angeles, CA 90067                                                                  Payments: (310) 785-6846
                                                                                                  Fax: (310) 553-7018
     Client # 76214,     Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,     Youth Policy Institute, Inc.

     Invoice date: 09/30/22                                                                  Charges through: 07/31/22
     Invoice # 720413

                                            Summary Of Attorney Time
                                            ______________________

             Attorney                                       Hours     Rate        Value
             J Krieger                                       0.40   695.00     $ 278.00
             K Banner                                        2.20   610.00   $ 1,342.00
             Total                                           2.60            $ 1,620.00




Atty : JAK, #264 / P1182875                            Page 4                               Tax ID # XX-XXXXXXX
                                                                                          Exhibit 2, page 301
        Case 2:19-bk-23085-BB                  Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                                      Desc
                                               Main Document   Page 302 of 377

                                                       GREENBERG GLUSKER
          2049 Century Park East                                                             General billing questions: (310) 201-7492
          Suite 2600                                                                                                    (310) 785-6842
          Los Angeles, CA 90067                                                                             Payments: (310) 785-6846
                                                                                                                       Fax: (310) 553-7018
                                                   Jason M. Rund, Chapter 7 Trustee

          Client # 76214                                                                                       Charges through: 07/31/22
          Invoice date: 09/30/22
          Invoice # 720413




                                                                                              Payments and
Matter                                                     Previous              Current       Retainers To          Adjustments
Number Name                                                 Balance             Charges           09/30/22           To 09/30/22        Amount Due
00002   Youth Policy Institute, Inc.                   $ 499,137.33           $ 1,620.00             $ 0.00               $ 0.00       $ 500,757.33

                                                       ___________          __________          __________           __________       ___________
             Bill Total                                $ 499,137.33          $ 1,620.00              $ 0.00               $ 0.00      $ 500,757.33


                                   PLEASE ENCLOSE THIS PAGE WITH YOUR REMITTANCE


                                            Wire instructions for the GENERAL account in US Dollars:
                                          Bank Name:               First Republic Bank
                                                                   111 Pine Street
                                                                   San Francisco, CA 94111
                                          SWIFT CODE:              FRBBUS6S
                                          ABA:                     321081669
                                          Account Name:            Greenberg Glusker Fields Claman &
                                                                   Machtinger
                                          Account No.:             #997-0005-4655




   Please reflect the client name and number, and the matters being paid. Payments received will apply first to accrued interest and then to
   costs and fees.
    Atty : JAK, #264 / P1182875                                          Page 5                                       Tax ID # XX-XXXXXXX
                                                                                                                    Exhibit 2, page 302
        Case 2:19-bk-23085-BB                  Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                                      Desc
                                               Main Document   Page 303 of 377
                                                   GREENBERG GLUSKER
          2049 Century Park East                                                             General billing questions: (310) 201-7492
          Suite 2600                                                                                                    (310) 785-6842
          Los Angeles, CA 90067                                                                             Payments: (310) 785-6846
                                                                                                                       Fax: (310) 553-7018
                                                   Jason M. Rund, Chapter 7 Trustee

          Client # 76214                                                                                       Charges through: 08/31/22
          Invoice date: 09/30/22
          Invoice # 720414



                                                                                              Payments and
Matter                                                     Previous              Current       Retainers To          Adjustments
Number Name                                                 Balance             Charges           09/30/22           To 09/30/22        Amount Due
00002   Youth Policy Institute, Inc.                   $ 500,757.33           $ 4,575.00             $ 0.00               $ 0.00       $ 505,332.33

                                                       ___________          __________          __________           __________       ___________
             Bill Total                                $ 500,757.33          $ 4,575.00              $ 0.00               $ 0.00      $ 505,332.33




                                                                         Jason M. Rund, Chapter 7 Trustee
                                                                         Sheridan & Rund
                                                                         840 Apollo Street
                                                                         Suite 351
                                                                         El Segundo, CA 90402




   Please reflect the client name and number, and the matters being paid. Payments received will apply first to accrued interest and then to
   costs and fees.
    Atty : JAK, #264 / P1180736                                          Page 1                                       Tax ID # XX-XXXXXXX
                                                                                                                    Exhibit 2, page 303
   Case 2:19-bk-23085-BB             Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                           Desc
                                     Main Document   Page 304 of 377
                                         GREENBERG GLUSKER

     2049 Century Park East                                                        General billing questions: (310) 201-7492
     Suite 2600                                                                                               (310) 785-6842
     Los Angeles, CA 90067                                                                        Payments: (310) 785-6846
                                                                                                           Fax: (310) 553-7018
     Client # 76214,       Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,       Youth Policy Institute, Inc.

     Invoice date: 09/30/22                                                                         Charges through: 08/31/22
     Invoice # 720414



                                                            FEES
 Date        Timekeeper                             Description of Services                        Hours         Amount

 B400 – Carve-Out Matters
    B420 – Commercial Tort Claims
 08/02/22 K Banner             Further review of Slingerland supplemental mediation                 0.60        $ 366.00
                               statement (.3); extended email exchange with P. Dracht and
                               telephone conference with J. Krieger regarding the same (.3).
 08/03/22 K Banner             Review bylaw and other analysis from P. Dracht regarding             0.20        $ 122.00
                               Slingerland claims.
 08/08/22 K Banner             Email exchange with Trustee regarding mediation scheduling           0.20        $ 122.00
                               (.1); email exchange with L. Gumport regarding the same (.1).
 08/11/22 K Banner             Further email exchange with DOL special investigator.                0.10         $ 61.00
 08/16/22 K Banner             Review and revise statement to mediator regarding Slingerland        0.30        $ 183.00
                               and review supplemental documentation.
 08/17/22 K Banner             Review draft Rule 26 disclosures from P. Dracht (.3); review         5.40       $ 3,294.00
                               supplemental mediation statement from Slingerland and other
                               documents in preparation for mediation session (.4); email
                               exchange with D. Fife regarding imaging of YPI computers
                               (.1); review prior information regarding Applianz database with
                               MIP accounting data and email exchange with P. Dracht
                               regarding the same (.3); attend Zoom mediation session
                               regarding Slingerland claims (4.0); review umbrella insurance
                               policy and confer with P. Dracht regarding the same (.3).
 08/18/22 K Banner             Telephone conference with Trustee regarding strategy post-           0.30        $ 183.00
                               mediation.
 08/25/22 K Banner             Telephone conference with Trustee regarding third party              0.20        $ 122.00
                               discovery and email exchange with P. Dracht regarding the
                               same.
 08/29/22 K Banner             Review draft mediation order (.1); review mediators certificate      0.20        $ 122.00
                               regarding Slingerland mediation conclusion (.1).
           Total B420 – Commercial Tort Claims                                                      7.50       $ 4,575.00


             Total B400 – Carve-Out Matters                                                         7.50       $ 4,575.00


 Total fees for this matter:                                                                                   $ 4,575.00




Atty : JAK, #264 / P1180736                                Page 2                                  Tax ID # XX-XXXXXXX
                                                                                                 Exhibit 2, page 304
   Case 2:19-bk-23085-BB            Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                                  Desc
                                    Main Document   Page 305 of 377
                                        GREENBERG GLUSKER

     2049 Century Park East                                                            General billing questions: (310) 201-7492
     Suite 2600                                                                                                   (310) 785-6842
     Los Angeles, CA 90067                                                                            Payments: (310) 785-6846
                                                                                                                Fax: (310) 553-7018
     Client # 76214,      Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,      Youth Policy Institute, Inc.

     Invoice date: 09/30/22                                                                             Charges through: 08/31/22
     Invoice # 720414

                                         Summary Of Attorney Time By Task
                                            ______________________

                                                             Hours             Rate                    Value

             B420 – Commercial Tort Claims
               K Banner                                       7.50            610.00             $ 4,575.00

             Total                                            7.50                               $ 4,575.00




                                                 Summary By Task
                                              ______________________

                                              Task                                             Hours                Value
                                              B420 – Commercial Tort Claims                     7.50           $ 4,575.00
   Total                                                                                        7.50           $ 4,575.00




                                             RECAP OF AMOUNTS DUE
 Total Previous Balance                                                                        $ 482,981.48
                                                                                                                 __________
 Balance Forward                                                                                                $ 482,981.48
 Current Month Fees                                                                              $ 4,575.00
 Current Month Costs                                                                                 $ 0.00
                                                                                                                 __________
 Total Current Charges                                                                                             $ 4,575.00
                                                                                                                 __________
 Total Due from Current Charges                                                                                    $ 4,575.00
                                                                                                                 __________
 AMOUNT DUE                                                                                                     $ 487,556.48




Atty : JAK, #264 / P1180736                                Page 3                                    Tax ID # XX-XXXXXXX
                                                                                                   Exhibit 2, page 305
   Case 2:19-bk-23085-BB          Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                    Desc
                                  Main Document   Page 306 of 377
                                      GREENBERG GLUSKER

     2049 Century Park East                                                 General billing questions: (310) 201-7492
     Suite 2600                                                                                        (310) 785-6842
     Los Angeles, CA 90067                                                                 Payments: (310) 785-6846
                                                                                                 Fax: (310) 553-7018
     Client # 76214,    Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,    Youth Policy Institute, Inc.

     Invoice date: 09/30/22                                                                 Charges through: 08/31/22
     Invoice # 720414

                                           Summary Of Attorney Time
                                           ______________________

             Attorney                                      Hours     Rate        Value
             K Banner                                       7.50   610.00   $ 4,575.00
             Total                                          7.50            $ 4,575.00




Atty : JAK, #264 / P1180736                           Page 4                               Tax ID # XX-XXXXXXX
                                                                                         Exhibit 2, page 306
        Case 2:19-bk-23085-BB                  Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                                      Desc
                                               Main Document   Page 307 of 377

                                                       GREENBERG GLUSKER
          2049 Century Park East                                                             General billing questions: (310) 201-7492
          Suite 2600                                                                                                    (310) 785-6842
          Los Angeles, CA 90067                                                                             Payments: (310) 785-6846
                                                                                                                       Fax: (310) 553-7018
                                                   Jason M. Rund, Chapter 7 Trustee
                                                          Due Date: October 23, 2022

          Client # 76214                                                                                       Charges through: 08/31/22
          Invoice date: 09/30/22
          Invoice # 720414




                                                                                              Payments and
Matter                                                     Previous              Current       Retainers To          Adjustments
Number Name                                                 Balance             Charges           09/30/22           To 09/30/22        Amount Due
00002   Youth Policy Institute, Inc.                   $ 500,757.33           $ 4,575.00             $ 0.00               $ 0.00       $ 505,332.33

                                                       ___________          __________          __________           __________       ___________
             Bill Total                                $ 500,757.33          $ 4,575.00              $ 0.00               $ 0.00      $ 505,332.33


                                   PLEASE ENCLOSE THIS PAGE WITH YOUR REMITTANCE


                                            Wire instructions for the GENERAL account in US Dollars:
                                          Bank Name:               First Republic Bank
                                                                   111 Pine Street
                                                                   San Francisco, CA 94111
                                          SWIFT CODE:              FRBBUS6S
                                          ABA:                     321081669
                                          Account Name:            Greenberg Glusker Fields Claman &
                                                                   Machtinger
                                          Account No.:             #997-0005-4655




   Please reflect the client name and number, and the matters being paid. Payments received will apply first to accrued interest and then to
   costs and fees.
    Atty : JAK, #264 / P1180736                                          Page 5                                       Tax ID # XX-XXXXXXX
                                                                                                                    Exhibit 2, page 307
        Case 2:19-bk-23085-BB                  Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                                      Desc
                                               Main Document   Page 308 of 377
                                                   GREENBERG GLUSKER
          2049 Century Park East                                                             General billing questions: (310) 201-7577
          Suite 2600                                                                                                    (310) 785-6842
          Los Angeles, CA 90067                                                                             Payments: (310) 785-6846
                                                                                                                       Fax: (310) 553-7018
                                                   Jason M. Rund, Chapter 7 Trustee
                                                         Due Date: November 8, 2022

          Client # 76214                                                                                       Charges through: 09/30/22
          Invoice date: 10/18/22
          Invoice # 721694



                                                                                              Payments and
Matter                                                     Previous              Current       Retainers To          Adjustments
Number Name                                                 Balance             Charges           10/18/22           To 10/18/22        Amount Due
00002   Youth Policy Institute, Inc.                   $ 505,332.33           $ 3,797.50             $ 0.00               $ 0.00       $ 509,129.83

                                                       ___________          __________          __________           __________       ___________
             Bill Total                                $ 505,332.33          $ 3,797.50              $ 0.00               $ 0.00      $ 509,129.83




                                                                         Jason M. Rund, Chapter 7 Trustee
                                                                         Sheridan & Rund
                                                                         840 Apollo Street
                                                                         Suite 351
                                                                         El Segundo, CA 90402




   Please reflect the client name and number, and the matters being paid. Payments received will apply first to accrued interest and then to
   costs and fees.
    Atty : JAK, #264 / P1186765                                          Page 1                                       Tax ID # XX-XXXXXXX
                                                                                                                    Exhibit 2, page 308
   Case 2:19-bk-23085-BB             Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                         Desc
                                     Main Document   Page 309 of 377
                                         GREENBERG GLUSKER

     2049 Century Park East                                                      General billing questions: (310) 201-7577
     Suite 2600                                                                                             (310) 785-6842
     Los Angeles, CA 90067                                                                      Payments: (310) 785-6846
                                                                                                         Fax: (310) 553-7018
     Client # 76214,     Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,     Youth Policy Institute, Inc.
                                                    Due Date: November 8, 2022
     Invoice date: 10/18/22                                                                       Charges through: 09/30/22
     Invoice # 721694



                                                           FEES
 Date        Timekeeper                            Description of Services                       Hours         Amount

 B100 – Administration
    B150 – Meetings of and Communications with Creditors
 09/01/22 K Banner            Email exchange with M. Guzman regarding creditor inquiry re:        0.10         $ 61.00
                              status of case.
           Total B150 – Meetings of and Communications with Creditors                             0.10         $ 61.00


             Total B100 – Administration                                                          0.10         $ 61.00


 B400 – Carve-Out Matters
    B420 – Commercial Tort Claims
 09/01/22 K Banner             Telephone conference with mediator regarding mediation with        0.70        $ 427.00
                               RSUI (.4); telephone conference with Trustee and P. Dracht
                               thereafter (.3).
 09/13/22 K Banner             Various correspondence regarding mediation (.1); review            0.20        $ 122.00
                               disclosures received from mediator (.1).
 09/23/22 K Banner             Review spreadsheets from Slingerland in preparation for            1.50        $ 915.00
                               conference with Trustee and P. Dracht (.4); telephone
                               conference with Trustee and P. Dracht regarding strategy for
                               insurance mediation (1.1).
 09/27/22 K Banner             Conference with J. Krieger regarding strategy for mediation        0.70        $ 427.00
                               (.2); review and revise YPI mediation brief re: Insurers
                               mediation (.5).
 09/28/22 K Banner             Review pre-mediation correspondence from RSUI (.2); confer         0.40        $ 244.00
                               with Trustee and email exchange with P. Dracht regarding the
                               same (.2).
 09/30/22 JA Krieger           Telephone conference(s) with Trustee and K. Banner regarding       0.90        $ 625.50
                               Insurance coverage issues
 09/30/22 K Banner             Review detailed correspondence regarding insurance                 1.60        $ 976.00
                               negotiations and further review policy documents (.3);
                               telephone conference(s) with J. Krieger, P. Dracht and the
                               Trustee regarding the same (.3); further telephone confernece
                               with Trustee and J. Kriege rregarding RSUI insurance (1.0).
           Total B420 – Commercial Tort Claims                                                    6.00       $ 3,736.50


             Total B400 – Carve-Out Matters                                                       6.00       $ 3,736.50


 Total fees for this matter:                                                                                 $ 3,797.50



Atty : JAK, #264 / P1186765                               Page 2                                 Tax ID # XX-XXXXXXX
                                                                                               Exhibit 2, page 309
   Case 2:19-bk-23085-BB             Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                                 Desc
                                     Main Document   Page 310 of 377
                                         GREENBERG GLUSKER

     2049 Century Park East                                                            General billing questions: (310) 201-7577
     Suite 2600                                                                                                   (310) 785-6842
     Los Angeles, CA 90067                                                                            Payments: (310) 785-6846
                                                                                                                Fax: (310) 553-7018
     Client # 76214,     Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,     Youth Policy Institute, Inc.
                                                    Due Date: November 8, 2022
     Invoice date: 10/18/22                                                                             Charges through: 09/30/22
     Invoice # 721694

                                          Summary Of Attorney Time By Task
                                             ______________________

                                                               Hours            Rate                   Value

             B150 – Meetings of and Communications with Creditors
               K Banner                                          0.10         610.00               $ 61.00

             B420 – Commercial Tort Claims
               K Banner                                         5.10          610.00             $ 3,111.00
               JA Krieger                                       0.90          695.00               $ 625.50

             Total                                              6.10                             $ 3,797.50




                                                   Summary By Task
                                                ______________________

                                               Task                                            Hours              Value
                                               B150 – Meetings of and Communications            0.10             $ 61.00
                                               with Creditors
                                               B420 – Commercial Tort Claims                    6.00           $ 3,736.50
   Total                                                                                        6.10           $ 3,797.50




                                             RECAP OF AMOUNTS DUE
 Total Previous Balance                                                                        $ 505,332.33
                                                                                                                 __________
 Balance Forward                                                                                                $ 505,332.33
 Current Month Fees                                                                              $ 3,797.50
 Current Month Costs                                                                                 $ 0.00
                                                                                                                 __________
 Total Current Charges                                                                                             $ 3,797.50
                                                                                                                 __________
 Total Due from Current Charges                                                                                    $ 3,797.50
                                                                                                                 __________
 AMOUNT DUE                                                                                                     $ 509,129.83




Atty : JAK, #264 / P1186765                                 Page 3                                   Tax ID # XX-XXXXXXX
                                                                                                   Exhibit 2, page 310
   Case 2:19-bk-23085-BB            Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                       Desc
                                    Main Document   Page 311 of 377
                                        GREENBERG GLUSKER

     2049 Century Park East                                                      General billing questions: (310) 201-7577
     Suite 2600                                                                                             (310) 785-6842
     Los Angeles, CA 90067                                                                      Payments: (310) 785-6846
                                                                                                      Fax: (310) 553-7018
     Client # 76214,     Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,     Youth Policy Institute, Inc.
                                                    Due Date: November 8, 2022
     Invoice date: 10/18/22                                                                      Charges through: 09/30/22
     Invoice # 721694

                                             Summary Of Attorney Time
                                             ______________________

             Attorney                                      Hours     Rate             Value
             J Krieger                                      0.90   695.00          $ 625.50
             K Banner                                       5.20   610.00        $ 3,172.00
             Total                                          6.10                 $ 3,797.50




Atty : JAK, #264 / P1186765                              Page 4                                 Tax ID # XX-XXXXXXX
                                                                                              Exhibit 2, page 311
         Case 2:19-bk-23085-BB                Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                                      Desc
                                              Main Document   Page 312 of 377

                                                      GREENBERG GLUSKER
          2049 Century Park East                                                            General billing questions: (310) 201-7577
          Suite 2600                                                                                                   (310) 785-6842
          Los Angeles, CA 90067                                                                            Payments: (310) 785-6846
                                                                                                                      Fax: (310) 553-7018
                                                  Jason M. Rund, Chapter 7 Trustee
                                                        Due Date: November 8, 2022

          Client # 76214                                                                                      Charges through: 09/30/22
          Invoice date: 10/18/22
          Invoice # 721694




                                                                                              Payments and
Matter                                                    Previous              Current        Retainers To        Adjustments
Number      Name                                           Balance             Charges            10/18/22         To 10/18/22         Amount Due
00002       Youth Policy Institute, Inc.              $ 505,332.33           $ 3,797.50              $ 0.00             $ 0.00        $ 509,129.83

                                                      ___________          __________          __________           __________       ___________
            Bill Total                                $ 505,332.33          $ 3,797.50              $ 0.00               $ 0.00      $ 509,129.83


                                  PLEASE ENCLOSE THIS PAGE WITH YOUR REMITTANCE


                                           Wire instructions for the GENERAL account in US Dollars:
                                         Bank Name:               First Republic Bank
                                                                  111 Pine Street
                                                                  San Francisco, CA 94111
                                         SWIFT CODE:              FRBBUS6S
                                         ABA:                     321081669
                                         Account Name:            Greenberg Glusker Fields Claman &
                                                                  Machtinger
                                         Account No.:             #997-0005-4655




  Please reflect the client name and number, and the matters being paid. Payments received will apply first to accrued interest and then to
  costs and fees.
   Atty : JAK, #264 / P1186765                                          Page 5                                       Tax ID # XX-XXXXXXX
                                                                                                                   Exhibit 2, page 312
        Case 2:19-bk-23085-BB                  Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                                      Desc
                                               Main Document   Page 313 of 377
                                                   GREENBERG GLUSKER
          2049 Century Park East                                                             General billing questions: (310) 201-7577
          Suite 2600                                                                                                    (310) 785-6842
          Los Angeles, CA 90067                                                                             Payments: (310) 785-6846
                                                                                                                       Fax: (310) 553-7018
                                                   Jason M. Rund, Chapter 7 Trustee
                                                        Due Date: November 30, 2022

          Client # 76214                                                                                       Charges through: 10/31/22
          Invoice date: 11/09/22
          Invoice # 722984



                                                                                              Payments and
Matter                                                     Previous              Current       Retainers To          Adjustments
Number Name                                                 Balance             Charges           11/09/22           To 11/09/22        Amount Due
00002   Youth Policy Institute, Inc.                   $ 509,129.83           $ 2,030.00             $ 0.00               $ 0.00       $ 511,159.83

                                                       ___________          __________          __________           __________       ___________
             Bill Total                                $ 509,129.83          $ 2,030.00              $ 0.00               $ 0.00      $ 511,159.83




                                                                         Jason M. Rund, Chapter 7 Trustee
                                                                         Sheridan & Rund
                                                                         840 Apollo Street
                                                                         Suite 351
                                                                         El Segundo, CA 90402




   Please reflect the client name and number, and the matters being paid. Payments received will apply first to accrued interest and then to
   costs and fees.
    Atty : JAK, #264 / P1188531                                          Page 1                                       Tax ID # XX-XXXXXXX
                                                                                                                    Exhibit 2, page 313
   Case 2:19-bk-23085-BB              Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                             Desc
                                      Main Document   Page 314 of 377
                                          GREENBERG GLUSKER

     2049 Century Park East                                                           General billing questions: (310) 201-7577
     Suite 2600                                                                                                  (310) 785-6842
     Los Angeles, CA 90067                                                                           Payments: (310) 785-6846
                                                                                                              Fax: (310) 553-7018
     Client # 76214,     Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,     Youth Policy Institute, Inc.
                                                   Due Date: November 30, 2022
     Invoice date: 11/09/22                                                                           Charges through: 10/31/22
     Invoice # 722984



                                                           FEES
 Date        Timekeeper                            Description of Services                           Hours          Amount

 B400 – Carve-Out Matters
    B420 – Commercial Tort Claims
 10/04/22 K Banner             Review revised demand from P. Dracht and confer with Trustee            0.20        $ 122.00
                               regarding the same.
 10/05/22 K Banner             Review supplemental demand from P. Dracht.                              0.10         $ 61.00
 10/06/22 K Banner             Review detailed correspondence from RSUI and Hanover and                0.40        $ 244.00
                               confer with J. Krieger and the Trustee regarding the same.
 10/07/22 K Banner             Email exchange with P. Dracht regarding strategy re: Hanover.           0.10         $ 61.00
 10/25/22 JA Krieger           Review email from P. Dracht and enclosed email from                     0.20        $ 139.00
                               Hanover's counsel regarding document production
 10/26/22 K Banner             Review detailed document requests from Hanover (.1); further            0.70        $ 427.00
                               review of prior correspondence with Hanover and extensive
                               document production made to them (.3); email exchange with
                               P. Dracht regarding the same (.1); conference with Trustee
                               regarding strategy (.2).
 10/27/22 K Banner             Review prior correspondence with FEC re: document requests              0.50        $ 305.00
                               from Hanover (.3); email exchange with P. Dracht regarding
                               the same (.1); email to D. Shallman regarding the same (.1).
 10/28/22 K Banner             Review and analyze report and other information from                    1.10        $ 671.00
                               Covington (.3); telephone conference(s) with P. Dracht
                               regarding Hanover document request (.3); review and analyze
                               prior production and correspondence to Hanover and
                               documents produced (.5).
           Total B420 – Commercial Tort Claims                                                         3.30       $ 2,030.00


             Total B400 – Carve-Out Matters                                                            3.30       $ 2,030.00


 Total fees for this matter:                                                                                      $ 2,030.00


                                         Summary Of Attorney Time By Task
                                            ______________________

                                                            Hours             Rate                  Value

               B420 – Restructuring
                 K Banner                                    3.10            610.00             $ 1,891.00
                 JA Krieger                                  0.20            695.00               $ 139.00

               Total                                         3.30                               $ 2,030.00


Atty : JAK, #264 / P1188531                               Page 2                                    Tax ID # XX-XXXXXXX
                                                                                                  Exhibit 2, page 314
   Case 2:19-bk-23085-BB           Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                             Desc
                                   Main Document   Page 315 of 377
                                       GREENBERG GLUSKER

     2049 Century Park East                                                      General billing questions: (310) 201-7577
     Suite 2600                                                                                             (310) 785-6842
     Los Angeles, CA 90067                                                                      Payments: (310) 785-6846
                                                                                                           Fax: (310) 553-7018
     Client # 76214,     Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,     Youth Policy Institute, Inc.
                                                   Due Date: November 30, 2022
     Invoice date: 11/09/22                                                                        Charges through: 10/31/22
     Invoice # 722984



                                                Summary By Task
                                             ______________________

                                            Task                                         Hours              Value
                                            B420 – Commercial Tort Claims                 3.30         $ 2,030.00
   Total                                                                                  3.30         $ 2,030.00




                                           RECAP OF AMOUNTS DUE
 Total Previous Balance                                                                  $ 509,129.83
                                                                                                            __________
 Balance Forward                                                                                           $ 509,129.83
 Current Month Fees                                                                           $ 2,030.00
 Current Month Costs                                                                              $ 0.00
                                                                                                            __________
 Total Current Charges                                                                                        $ 2,030.00
                                                                                                            __________
 Total Due from Current Charges                                                                               $ 2,030.00
                                                                                                            __________
 AMOUNT DUE                                                                                                $ 511,159.83




                                             Summary Of Attorney Time
                                             ______________________

             Attorney                                     Hours      Rate             Value
             J Krieger                                     0.20    695.00          $ 139.00
             K Banner                                      3.10    610.00        $ 1,891.00
             Total                                         3.30                  $ 2,030.00




Atty : JAK, #264 / P1188531                              Page 3                                  Tax ID # XX-XXXXXXX
                                                                                               Exhibit 2, page 315
         Case 2:19-bk-23085-BB                Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                                      Desc
                                              Main Document   Page 316 of 377

                                                      GREENBERG GLUSKER
          2049 Century Park East                                                            General billing questions: (310) 201-7577
          Suite 2600                                                                                                   (310) 785-6842
          Los Angeles, CA 90067                                                                            Payments: (310) 785-6846
                                                                                                                      Fax: (310) 553-7018
                                                  Jason M. Rund, Chapter 7 Trustee
                                                       Due Date: November 30, 2022

          Client # 76214                                                                                      Charges through: 10/31/22
          Invoice date: 11/09/22
          Invoice # 722984




                                                                                              Payments and
Matter                                                    Previous              Current        Retainers To        Adjustments
Number      Name                                           Balance             Charges            11/09/22         To 11/09/22         Amount Due
00002       Youth Policy Institute, Inc.              $ 509,129.83           $ 2,030.00              $ 0.00             $ 0.00        $ 511,159.83

                                                      ___________          __________          __________           __________       ___________
            Bill Total                                $ 509,129.83          $ 2,030.00              $ 0.00               $ 0.00      $ 511,159.83


                                  PLEASE ENCLOSE THIS PAGE WITH YOUR REMITTANCE


                                           Wire instructions for the GENERAL account in US Dollars:
                                         Bank Name:               First Republic Bank
                                                                  111 Pine Street
                                                                  San Francisco, CA 94111
                                         SWIFT CODE:              FRBBUS6S
                                         ABA:                     321081669
                                         Account Name:            Greenberg Glusker Fields Claman &
                                                                  Machtinger
                                         Account No.:             #997-0005-4655




  Please reflect the client name and number, and the matters being paid. Payments received will apply first to accrued interest and then to
  costs and fees.
   Atty : JAK, #264 / P1188531                                          Page 4                                       Tax ID # XX-XXXXXXX
                                                                                                                   Exhibit 2, page 316
        Case 2:19-bk-23085-BB                  Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                                      Desc
                                               Main Document   Page 317 of 377
                                                   GREENBERG GLUSKER
          2049 Century Park East                                                             General billing questions: (310) 201-7577
          Suite 2600                                                                                                    (310) 785-6842
          Los Angeles, CA 90067                                                                             Payments: (310) 785-6846
                                                                                                                       Fax: (310) 553-7018
                                                   Jason M. Rund, Chapter 7 Trustee

          Client # 76214                                                                                       Charges through: 11/30/22
          Invoice date: 12/14/22
          Invoice # 725281



                                                                                              Payments and
Matter                                                     Previous              Current       Retainers To          Adjustments
Number Name                                                 Balance             Charges           12/14/22           To 12/14/22        Amount Due
00002   Youth Policy Institute, Inc.                   $ 511,159.83          $ 20,057.50             $ 0.00               $ 0.00       $ 531,217.33

                                                       ___________          __________          __________           __________       ___________
             Bill Total                                $ 511,159.83         $ 20,057.50              $ 0.00               $ 0.00      $ 531,217.33




                                                                         Jason M. Rund, Chapter 7 Trustee
                                                                         Sheridan & Rund
                                                                         840 Apollo Street
                                                                         Suite 351
                                                                         El Segundo, CA 90402




   Please reflect the client name and number, and the matters being paid. Payments received will apply first to accrued interest and then to
   costs and fees.
    Atty : JAK, #264 / P1195667                                          Page 1                                       Tax ID # XX-XXXXXXX
                                                                                                                    Exhibit 2, page 317
   Case 2:19-bk-23085-BB              Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                             Desc
                                      Main Document   Page 318 of 377
                                          GREENBERG GLUSKER

     2049 Century Park East                                                          General billing questions: (310) 201-7577
     Suite 2600                                                                                                 (310) 785-6842
     Los Angeles, CA 90067                                                                          Payments: (310) 785-6846
                                                                                                              Fax: (310) 553-7018
     Client # 76214,     Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,     Youth Policy Institute, Inc.

     Invoice date: 12/14/22                                                                            Charges through: 11/30/22
     Invoice # 725281



                                                             FEES
 Date       Timekeeper                               Description of Services                          Hours         Amount

 B300 – Claims and Plan
    B310 – Claims Administration and Objections
 11/11/22 K Banner             Review claims register and individual claims in preparation for         2.50       $ 1,525.00
                               claims analysis (1.0); review and analyze state court dockets
                               and filings relating to molestation claims (.4); email exchange
                               with D. Sharpe regarding withdrawal of those claims (.1);
                               conference with H. Waldman regarding claims administration
                               analysis project (.7); telephone call with D. Sharpe regarding
                               withdrawal of A.M. and I.M. claims (.1); review draft claim
                               withdrawals received from D. Sharpe (.2).
 11/14/22 K Banner             Review Kaiser proof of claim and research regarding 502(h)              2.10       $ 1,281.00
                               claims and asserted priority status (.8); research regarding wage
                               claim employment penalties (.4); further review of claims filed
                               in bankruptcy case and draft email to City Year regarding their
                               claim (.4); conference with Trustee regarding claims
                               administration strategy (.5).
 11/15/22 K Banner             Email exchange with D. Sharpe regarding withdrawal of                   0.20        $ 122.00
                               molestation claims (.1); telephone conference with Trustee
                               regarding claims administration (.1).
 11/16/22 K Banner             Email exchange with S. Beamon regarding City Year claim                 1.40        $ 854.00
                               (.1); review detailed claims analysis from H. Waldman and
                               further review of certain filed proofs of claim (.5); email
                               exchange with M. Heyn regarding CDE unliquidated claim (.1);
                               review and analyze Claim No. 88 from Yehudellie, LLC and
                               email to claimant detailing objection thereto (.7),
 11/17/22 K Banner             Review and analyze EdNet claim and supporting                           3.60       $ 2,196.00
                               documentation (.6); draft email to EdNet regarding removal of
                               priority designation (.2); telephone call with S. Hamilton
                               regarding EdNet claim (.2); research regarding potential
                               challengers to Kaiser priority claim (.4); telephone call with
                               representative of N. Rostami regarding Yehudellie LLC claim
                               (.2); draft and revise stipulation resolving Yehudellie LLC
                               claim (.5); draft and revise stipulation resolving EdNet claim
                               (.4); draft order on stipulation re: Yehudellie claim (.3); draft
                               order on stipulation re EdNet claim (.3); further review of
                               claims register and various claims and update claims analysis
                               (.5).
 11/18/22 K Banner             Review documents provided by City Year in support of their              1.50        $ 915.00
                               claim (.4); email exchange with S. Beamon regarding the same
                               (.1); email exchange with Trustee regarding the same (.1);
                               conference with Trustee regarding claims administration
                               outstanding issues and strategy (.4); draft and revise stipulation
                               with City Year regarding claims (.5).
Atty : JAK, #264 / P1195667                                 Page 2                                    Tax ID # XX-XXXXXXX
                                                                                                    Exhibit 2, page 318
   Case 2:19-bk-23085-BB              Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                             Desc
                                      Main Document   Page 319 of 377
                                          GREENBERG GLUSKER

     2049 Century Park East                                                          General billing questions: (310) 201-7577
     Suite 2600                                                                                                 (310) 785-6842
     Los Angeles, CA 90067                                                                          Payments: (310) 785-6846
                                                                                                              Fax: (310) 553-7018
     Client # 76214,     Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,     Youth Policy Institute, Inc.

     Invoice date: 12/14/22                                                                            Charges through: 11/30/22
     Invoice # 725281

                                                               FEES
 Date     Timekeeper                                  Description of Services                         Hours         Amount
 11/21/22 K Banner              Email exchange with N. Rostami regarding claim stipulation             0.50        $ 305.00
                                (.1); review and revise order on stipulation re: Yehudellie claim
                                (.2); review claim stipulation and notice of lodgment prior to
                                filing (.2).
 11/22/22   K Banner            Draft and revise order on stipulation with City Year regarding         0.60        $ 366.00
                                proofs of claim (.3); review signed stipulation and prepare for
                                filing City Year stipulation (.2); review entered order on
                                stipulation re: Yehudellie claim (.1).
 11/28/22   K Banner            Review entered order on City Year claims stipulation (.1);             0.20        $ 122.00
                                email exchange with S. Beamon regarding the same (.1).
 11/29/22   K Banner            Email exchange with K. Nowicki regarding Public Counsel                0.40        $ 244.00
                                proof of claim (.1); email exchange with S. Hamilton regarding
                                status of EdNet claim stipulation (.1); review Ednet stipulation
                                and review and revise proposed order thereon prior to filing
                                (.2).
 11/30/22   K Banner            Review withdrawal of claim filed by M. Johnson (.1); further           0.70        $ 427.00
                                review and analysis of claims register and filed proofs of claim
                                for required claims administration (.6).
            Total B310 – Claims Administration and Objections                                         13.70       $ 8,357.00


            Total B300 – Claims and Plan                                                              13.70       $ 8,357.00


 B400 – Carve-Out Matters
    B420 – Commercial Tort Claims
 11/01/22 K Banner             Review status report.                                                   0.10         $ 61.00
 11/04/22 K Banner             Review prior correspondence and other information in file               0.50        $ 305.00
                               relating to computation of damages per request from Hanover
                               (.4); email exchange with P. Dracht regarding the same (.1).
 11/09/22 K Banner             Review detailed information and research regarding settling             0.40        $ 244.00
                               non-covered claims and supplemental research regarding the
                               same .
 11/10/22 K Banner             Review latest correspondence from Hanover and confer with P.            0.70        $ 427.00
                               Dracht (.2); email exchange with D. Brown regarding the same
                               (.1); conference with Trustee regarding latest developments and
                               strategy going forward for claims administration (.4).
 11/11/22 K Banner             Telephone conference with P. Dracht regarding settlement                0.40        $ 244.00
                               negotiations with Slingerland, etc. (.3); email to Trustee
                               regarding the same (.1).
 11/14/22 JA Krieger           Review P. Dracht query on extended payment terms and J.                 0.10         $ 69.50
                               Rund response
 11/15/22 K Banner             Review and analyze Slingerland proof of claim and email                 5.50       $ 3,355.00
                               exchange with P. Dracht regarding the same in connection with
                               settlement negotiations (.3); draft and revise portions of 9019
                               motion regarding settlement of commercial tort claims (2.5);
Atty : JAK, #264 / P1195667                                 Page 3                                    Tax ID # XX-XXXXXXX
                                                                                                    Exhibit 2, page 319
   Case 2:19-bk-23085-BB            Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                           Desc
                                    Main Document   Page 320 of 377
                                        GREENBERG GLUSKER

     2049 Century Park East                                                       General billing questions: (310) 201-7577
     Suite 2600                                                                                              (310) 785-6842
     Los Angeles, CA 90067                                                                       Payments: (310) 785-6846
                                                                                                          Fax: (310) 553-7018
     Client # 76214,     Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,     Youth Policy Institute, Inc.

     Invoice date: 12/14/22                                                                        Charges through: 11/30/22
     Invoice # 725281

                                                            FEES
 Date       Timekeeper                              Description of Services                       Hours         Amount
                              email exchange with P. Dracht regarding settlement agreement
                              (.1); review and revise draft settlement agreement (1.5);
                              observe adversary status conference via Zoom (.1); telephone
                              conference with P. Dracht regarding settlement agreement (.5);
                              telephone conference with Trustee regarding settlement
                              agreement (.5).
 11/16/22   K Banner          Continue drafting portions of 9019 motion regarding settlement       3.00       $ 1,830.00
                              (1.9); review and analyze redline changes to settlement
                              agreement from S. Goldsobel and draft analysis (.4); draft and
                              revise Rund declaration in support of 9019 motion (.7).
 11/17/22   JA Krieger        Telephone conference(s) with K. Banner regarding Settlement          0.40        $ 278.00
                              agreement.
 11/17/22   K Banner          Review and revise 9019 motion and accompanying declaration           2.00       $ 1,220.00
                              (.8); telephone conference(s) with P. Dracht regarding
                              settlement agreement (.3); telephone conference(s) with J.
                              Krieger regarding settlement agreement (.4); draft and revise
                              notice of 9019 motion (.5).
 11/18/22   K Banner          Further review and revise settlement agreement (.6); email           1.10        $ 671.00
                              exchange with P. Dracht regarding the same (.1); review further
                              proposals from S. Goldsobel and C. Prince and further email
                              exchange with P. Dracht and Trustee (.3); review and revise
                              draft response to C. Prince (.1).
 11/21/22   JA Krieger        Review draft Dracht email to counsel regarding Settlement (.1);      0.30        $ 208.50
                              telephone conference(s) with K. Banner regarding same (.1);
                              review Comment and final email (.1)
 11/21/22   K Banner          Email exchange with P. Dracht regarding Slingerland demands          0.10         $ 61.00
                              re settlement.
 11/28/22   K Banner          Email exchange with P. Dracht regarding settlement strategy.         0.10         $ 61.00
 11/29/22   JA Krieger        Review multiple emails from K. Banner, P. Dracht and J. Rund         0.40        $ 278.00
                              regarding settlement and regarding proposed order
 11/29/22   K Banner          Telephone conferences with P. Dracht and (portion with) S.           2.10       $ 1,281.00
                              Goldsobel regarding settlement agreement (.8); draft and revise
                              proposed order on 9019 motion (.7); email exchange with
                              Trustee regarding the same (.1); telephone conference(s) with
                              Trustee regarding proposed order (.3); review revised versions
                              of settlement agreement and proposed order from S. Goldsobel
                              (.2).
 11/30/22   JA Krieger        Review K. Banner correspondence regarding revisions to               0.10         $ 69.50
                              settlement agreement and order
 11/30/22   K Banner          Review and revise settlement agreement and proposed order            1.70       $ 1,037.00
                              based on comments from S. Goldsobel (.5); email exchange
                              with P. Dracht regarding the same (.1); further review and
                              revise compromise motion and accompanying declaration (.5);
                              conduct research in connection with the same re: contingency
                              fee final approval (.6).
            Total B420 – Commercial Tort Claims                                                   19.00     $ 11,700.50
Atty : JAK, #264 / P1195667                               Page 4                                  Tax ID # XX-XXXXXXX
                                                                                                Exhibit 2, page 320
   Case 2:19-bk-23085-BB               Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                                     Desc
                                       Main Document   Page 321 of 377
                                           GREENBERG GLUSKER

     2049 Century Park East                                                                  General billing questions: (310) 201-7577
     Suite 2600                                                                                                         (310) 785-6842
     Los Angeles, CA 90067                                                                                  Payments: (310) 785-6846
                                                                                                                      Fax: (310) 553-7018
     Client # 76214,       Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,       Youth Policy Institute, Inc.

     Invoice date: 12/14/22                                                                                   Charges through: 11/30/22
     Invoice # 725281

                                                               FEES
 Date        Timekeeper                                Description of Services                               Hours            Amount


             Total B400 – Carve-Out Matters                                                                   19.00      $ 11,700.50


 Total fees for this matter:                                                                                             $ 20,057.50


                                             Summary Of Attorney Time By Task
                                                ______________________

                                                                Hours                Rate                    Value

               B310 – Claims Administration and Objections
                 K Banner                                        13.70              610.00             $ 8,357.00

               B420 – Commercial Tort Claims
                 K Banner                                        17.70              610.00            $ 10,797.00
                 JA Krieger                                       1.30              695.00               $ 903.50

               Total                                             32.70                                $ 20,057.50




                                                     Summary By Task
                                                  ______________________

                                                 Task                                                Hours                Value
                                                 B310 – Claims Administration and                    13.70           $ 8,357.00
                                                 Objections
                                                 B420 – Commercial Tort Claims                       19.00       $ 11,700.50
   Total                                                                                             32.70       $ 20,057.50




Atty : JAK, #264 / P1195667                                   Page 5                                       Tax ID # XX-XXXXXXX
                                                                                                         Exhibit 2, page 321
   Case 2:19-bk-23085-BB            Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                       Desc
                                    Main Document   Page 322 of 377
                                        GREENBERG GLUSKER

     2049 Century Park East                                                    General billing questions: (310) 201-7577
     Suite 2600                                                                                           (310) 785-6842
     Los Angeles, CA 90067                                                                    Payments: (310) 785-6846
                                                                                                      Fax: (310) 553-7018
     Client # 76214,      Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,      Youth Policy Institute, Inc.

     Invoice date: 12/14/22                                                                    Charges through: 11/30/22
     Invoice # 725281

                                           RECAP OF AMOUNTS DUE
 Total Previous Balance                                                                $ 511,159.83
                                                                                                       __________
 Balance Forward                                                                                      $ 511,159.83
 Current Month Fees                                                                     $ 20,057.50
 Current Month Costs                                                                         $ 0.00
                                                                                                       __________
 Total Current Charges                                                                                 $ 20,057.50
                                                                                                       __________
 Total Due from Current Charges                                                                        $ 20,057.50
                                                                                                       __________
 AMOUNT DUE                                                                                           $ 531,217.33




                                             Summary Of Attorney Time
                                             ______________________

             Attorney                                        Hours     Rate         Value
             J Krieger                                        1.30   695.00      $ 903.50
             K Banner                                        31.40   610.00   $ 19,154.00
             Total                                           32.70            $ 20,057.50




Atty : JAK, #264 / P1195667                             Page 6                                Tax ID # XX-XXXXXXX
                                                                                            Exhibit 2, page 322
         Case 2:19-bk-23085-BB                Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                                      Desc
                                              Main Document   Page 323 of 377

                                                      GREENBERG GLUSKER
          2049 Century Park East                                                            General billing questions: (310) 201-7577
          Suite 2600                                                                                                   (310) 785-6842
          Los Angeles, CA 90067                                                                            Payments: (310) 785-6846
                                                                                                                      Fax: (310) 553-7018
                                                  Jason M. Rund, Chapter 7 Trustee

          Client # 76214                                                                                      Charges through: 11/30/22
          Invoice date: 12/14/22
          Invoice # 725281




                                                                                              Payments and
Matter                                                    Previous              Current        Retainers To        Adjustments
Number      Name                                           Balance             Charges            12/14/22         To 12/14/22         Amount Due
00002       Youth Policy Institute, Inc.              $ 511,159.83          $ 20,057.50              $ 0.00             $ 0.00        $ 531,217.33

                                                      ___________          __________          __________           __________       ___________
            Bill Total                                $ 511,159.83         $ 20,057.50              $ 0.00               $ 0.00      $ 531,217.33


                                  PLEASE ENCLOSE THIS PAGE WITH YOUR REMITTANCE


                                           Wire instructions for the GENERAL account in US Dollars:
                                         Bank Name:               First Republic Bank
                                                                  111 Pine Street
                                                                  San Francisco, CA 94111
                                         SWIFT CODE:              FRBBUS6S
                                         ABA:                     321081669
                                         Account Name:            Greenberg Glusker Fields Claman &
                                                                  Machtinger
                                         Account No.:             #997-0005-4655




  Please reflect the client name and number, and the matters being paid. Payments received will apply first to accrued interest and then to
  costs and fees.
   Atty : JAK, #264 / P1195667                                          Page 7                                       Tax ID # XX-XXXXXXX
                                                                                                                   Exhibit 2, page 323
        Case 2:19-bk-23085-BB                  Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                                      Desc
                                               Main Document   Page 324 of 377
                                                   GREENBERG GLUSKER
          2049 Century Park East                                                             General billing questions: (310) 201-7577
          Suite 2600                                                                                                    (310) 785-6842
          Los Angeles, CA 90067                                                                             Payments: (310) 785-6846
                                                                                                                       Fax: (310) 553-7018
                                                   Jason M. Rund, Chapter 7 Trustee
                                                          Due Date: February 7, 2023

          Client # 76214                                                                                       Charges through: 12/31/22
          Invoice date: 01/17/23
          Invoice # 726339



                                                                                              Payments and
Matter                                                     Previous              Current       Retainers To          Adjustments
Number Name                                                 Balance             Charges           01/17/23           To 01/17/23        Amount Due
00002   Youth Policy Institute, Inc.                   $ 531,217.33          $ 11,327.50             $ 0.00               $ 0.00       $ 542,544.83

                                                       ___________          __________          __________           __________       ___________
             Bill Total                                $ 531,217.33         $ 11,327.50              $ 0.00               $ 0.00      $ 542,544.83




                                                                         Jason M. Rund, Chapter 7 Trustee
                                                                         Sheridan & Rund
                                                                         840 Apollo Street
                                                                         Suite 351
                                                                         El Segundo, CA 90402




   Please reflect the client name and number, and the matters being paid. Payments received will apply first to accrued interest and then to
   costs and fees.
    Atty : JAK, #264 / P1197381                                          Page 1                                       Tax ID # XX-XXXXXXX
                                                                                                                    Exhibit 2, page 324
   Case 2:19-bk-23085-BB              Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                          Desc
                                      Main Document   Page 325 of 377
                                          GREENBERG GLUSKER

     2049 Century Park East                                                        General billing questions: (310) 201-7577
     Suite 2600                                                                                               (310) 785-6842
     Los Angeles, CA 90067                                                                        Payments: (310) 785-6846
                                                                                                           Fax: (310) 553-7018
     Client # 76214,     Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,     Youth Policy Institute, Inc.
                                                     Due Date: February 7, 2023
     Invoice date: 01/17/23                                                                         Charges through: 12/31/22
     Invoice # 726339



                                                            FEES
 Date       Timekeeper                              Description of Services                        Hours         Amount

 B100 – Administration
    B160 – Fee/Employment Applications
 12/01/22 K Banner            Email to and telephone call with T. Shokrai regarding final fee       3.00       $ 1,830.00
                              application (.3); review extensive invoices and draft and revise
                              GG final fee application and accompanying declaration (2.7).
 12/02/22 K Banner            Email exchange with T. Shokrai and review of schedules for            0.20        $ 122.00
                              information relating to field agent activities.
 12/13/22 K Banner            Continue drafting and revising GG fee application.                    0.50         $ 305.00
           Total B160 – Fee/Employment Applications                                                 3.70       $ 2,257.00


            Total B100 – Administration                                                             3.70       $ 2,257.00


 B200 – Operations
    B230 – Financing/Cash Collateral
 12/01/22 K Banner             Email exchange with G. Weiner regarding NFF request for              0.10         $ 61.00
                               update.
 12/05/22 K Banner             Review NFF stipulation and related documents in preparation          0.40        $ 244.00
                               for call with G. Weiner (.2); telephone call with G. Weiner
                               regarding the same (.2).
 12/13/22 K Banner             Draft and revise stipulation with NFF regarding carve our            1.10        $ 671.00
                               distribution.
           Total B230 – Financing/Cash Collateral                                                   1.60        $ 976.00


            Total B200 – Operations                                                                 1.60        $ 976.00


 B300 – Claims and Plan
    B310 – Claims Administration and Objections
 12/01/22 K Banner             Review entered order on stipulation re: Ednet (.1); email            0.90        $ 549.00
                               exchange with S. Hamilton regarding the same (.1); review and
                               analyze Think Together proof of claim and email exchange
                               with Trustee regarding the same (.3); draft proposal to Think
                               Together regarding claim (.4).
 12/02/22 K Banner             Review City of Philadelphia amended claim and supporting             0.20        $ 122.00
                               documentation.
 12/06/22 K Banner             Email exchange with M. Barth regarding Think Together claim          0.80        $ 488.00
                               (.1); further detailed review and analysis of filed claims and
                               update claims analysis (.7).
           Total B310 – Claims Administration and Objections                                        1.90       $ 1,159.00


Atty : JAK, #264 / P1197381                                Page 2                                  Tax ID # XX-XXXXXXX
                                                                                                 Exhibit 2, page 325
   Case 2:19-bk-23085-BB             Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                             Desc
                                     Main Document   Page 326 of 377
                                         GREENBERG GLUSKER

     2049 Century Park East                                                         General billing questions: (310) 201-7577
     Suite 2600                                                                                                (310) 785-6842
     Los Angeles, CA 90067                                                                         Payments: (310) 785-6846
                                                                                                             Fax: (310) 553-7018
     Client # 76214,     Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,     Youth Policy Institute, Inc.
                                                     Due Date: February 7, 2023
     Invoice date: 01/17/23                                                                           Charges through: 12/31/22
     Invoice # 726339

                                                             FEES
 Date       Timekeeper                               Description of Services                         Hours         Amount

            Total B300 – Claims and Plan                                                              1.90       $ 1,159.00


 B400 – Carve-Out Matters
    B420 – Commercial Tort Claims
 12/01/22 K Banner             Research regarding status of Hill Morgan (.3); review financial        0.50        $ 305.00
                               statements from Hill (.2).
 12/02/22 K Banner             Review revisions to settlement agreement from C. Prince (.2);          1.90       $ 1,159.00
                               telephone conference(s) with P. Dracht regarding latest requests
                               from Slingerland as part of settlement and strategy related
                               thereto(.6) ; review and revise settlement agreement (1.1).
 12/06/22 K Banner             Review detailed invoices and information from C. Prince                1.40        $ 854.00
                               regarding defense cost reimbursement issues (.3); telephone
                               conference with P. Dracht regarding settlement developments
                               and strategy going forward (.5); review further correspondence
                               with C. Prince and D. Tartaglio and further conferences with
                               Trustee and P. Dracht regarding strategy (.6).
 12/07/22 K Banner             Review detailed correspondence with C. Prince regarding                0.30        $ 183.00
                               settlement and conferences with P. Dracht regarding the same.
 12/09/22 JA Krieger           Telephone conference(s) with K. Banner regarding last minute           0.10         $ 69.50
                               settlement delays
 12/09/22 K Banner             Email exchange with P. Dracht regarding status of settlement           0.20        $ 122.00
                               negotiations (.1); confer with J. Krieger regarding strategy for
                               settlement (.1).
 12/12/22 K Banner             Review and revise 9019 motion with Slingerland, et al. (.9);           1.00        $ 610.00
                               email exchange with P. Dracht regarding settlement progress
                               (.1).
 12/14/22 K Banner             Telephone conference(s) with P. Dracht regarding revisions to          0.80        $ 488.00
                               settlement agreement (.3); review latest iterations of settlement
                               agreement and draft comments (.3); telephone conference(s)
                               with Trustee regarding the same (.2).
 12/15/22 K Banner             Review Hanover comments to settlement agreement and                    0.70        $ 427.00
                               responses of Defendants to such comments and further review
                               and revise settlement agreement (.4); telephone conference(s)
                               with P. Dracht regarding the same (.3).
 12/16/22 K Banner             Review further revisions of settlement agreement and various           0.20        $ 122.00
                               comments of counsel (.1); conference with Trustee regarding
                               timing of 9019 motion and strategy re: settlement (.1).
 12/19/22 K Banner             Telephone call with D. Eldan regarding Attorney General                1.50        $ 915.00
                               inquiry re: settlement (.5); review and revise 9019 motion and
                               proposed order regarding settlement (.7); review revised
                               settlement agreement (.1); conference with Trustee regarding
                               9019 motion (.2).
 12/20/22 K Banner             Review and revise 9019 motion (.4); review and revise                  1.70       $ 1,037.00
                               proposed order (.3); extended email exchange with counsel
Atty : JAK, #264 / P1197381                                 Page 3                                   Tax ID # XX-XXXXXXX
                                                                                                   Exhibit 2, page 326
   Case 2:19-bk-23085-BB                Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                            Desc
                                        Main Document   Page 327 of 377
                                            GREENBERG GLUSKER

     2049 Century Park East                                                            General billing questions: (310) 201-7577
     Suite 2600                                                                                                   (310) 785-6842
     Los Angeles, CA 90067                                                                            Payments: (310) 785-6846
                                                                                                               Fax: (310) 553-7018
     Client # 76214,     Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,     Youth Policy Institute, Inc.
                                                     Due Date: February 7, 2023
     Invoice date: 01/17/23                                                                            Charges through: 12/31/22
     Invoice # 726339

                                                            FEES
 Date        Timekeeper                            Description of Services                            Hours          Amount
                               regarding proposed order and timing (.2); telephone conference
                               with P. Dracht regarding 9019 motion and settlement (.5);
                               review and revise notice of 9019 motion (.3).
 12/21/22    K Banner          Review further revisions to settlement agreement and confer              0.30        $ 183.00
                               with P. Dracht and Trustee regarding the same.
 12/22/22    JA Krieger        Telephone conference(s) with K. Banner regarding finalizing              0.20        $ 139.00
                               settlement agreement issues
 12/22/22    K Banner          Review latest developments regarding settlement (.1);                    0.30        $ 183.00
                               telephone conference(s) with J. Krieger regarding strategy for
                               compromise motion (.2).
 12/27/22    JA Krieger        Telephone conference(s) with P. Dracht regarding Settlement              0.10         $ 69.50
                               status
 12/29/22    JA Krieger        Preparation of email to J. Rund regarding status of settlement           0.10         $ 69.50
                               discussions
             Total B420 – Commercial Tort Claims                                                      11.30        $ 6,935.50


             Total B400 – Carve-Out Matters                                                           11.30        $ 6,935.50


 Total fees for this matter:                                                                                      $ 11,327.50


                                             Summary Of Attorney Time By Task
                                                ______________________

                                                               Hours            Rate                 Value

               B160 – Fee/Employment Applications
                 K Banner                                       3.70        610.00               $ 2,257.00

               B230 – Financing/Cash Collateral
                 K Banner                                       1.60        610.00                $ 976.00

               B310 – Claims Administration and Objections
                 K Banner                                       1.90        610.00               $ 1,159.00

               B420 – Commercial Tort Claims
                 K Banner                                      10.80        610.00               $ 6,588.00
                 JA Krieger                                     0.50        695.00                 $ 347.50

               Total                                           18.50                            $ 11,327.50




Atty : JAK, #264 / P1197381                                  Page 4                                  Tax ID # XX-XXXXXXX
                                                                                                   Exhibit 2, page 327
   Case 2:19-bk-23085-BB            Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                            Desc
                                    Main Document   Page 328 of 377
                                        GREENBERG GLUSKER

     2049 Century Park East                                                         General billing questions: (310) 201-7577
     Suite 2600                                                                                                (310) 785-6842
     Los Angeles, CA 90067                                                                         Payments: (310) 785-6846
                                                                                                           Fax: (310) 553-7018
     Client # 76214,     Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,     Youth Policy Institute, Inc.
                                                     Due Date: February 7, 2023
     Invoice date: 01/17/23                                                                         Charges through: 12/31/22
     Invoice # 726339

                                                 Summary By Task
                                              ______________________

                                              Task                                          Hours            Value
                                              B160 – Fee/Employment Applications             3.70       $ 2,257.00
                                              B230 – Financing/Cash Collateral               1.60         $ 976.00
                                              B310 – Claims Administration and               1.90       $ 1,159.00
                                              Objections
                                              B420 – Commercial Tort Claims                 11.30       $ 6,935.50
   Total                                                                                    18.50      $ 11,327.50




                                            RECAP OF AMOUNTS DUE
 Total Previous Balance                                                                     $ 531,217.33
                                                                                                            __________
 Balance Forward                                                                                           $ 531,217.33
 Current Month Fees                                                                          $ 11,327.50
 Current Month Costs                                                                              $ 0.00
                                                                                                            __________
 Total Current Charges                                                                                      $ 11,327.50
                                                                                                            __________
 Total Due from Current Charges                                                                             $ 11,327.50
                                                                                                            __________
 AMOUNT DUE                                                                                                $ 542,544.83




                                              Summary Of Attorney Time
                                              ______________________

             Attorney                                       Hours      Rate              Value
             J Krieger                                       0.50    695.00           $ 347.50
             K Banner                                       18.00    610.00        $ 10,980.00
             Total                                          18.50                  $ 11,327.50




Atty : JAK, #264 / P1197381                                Page 5                                  Tax ID # XX-XXXXXXX
                                                                                                 Exhibit 2, page 328
         Case 2:19-bk-23085-BB                Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                                      Desc
                                              Main Document   Page 329 of 377

                                                      GREENBERG GLUSKER
          2049 Century Park East                                                            General billing questions: (310) 201-7577
          Suite 2600                                                                                                   (310) 785-6842
          Los Angeles, CA 90067                                                                            Payments: (310) 785-6846
                                                                                                                      Fax: (310) 553-7018
                                                  Jason M. Rund, Chapter 7 Trustee
                                                         Due Date: February 7, 2023

          Client # 76214                                                                                      Charges through: 12/31/22
          Invoice date: 01/17/23
          Invoice # 726339




                                                                                              Payments and
Matter                                                    Previous              Current        Retainers To        Adjustments
Number      Name                                           Balance             Charges            01/17/23         To 01/17/23         Amount Due
00002       Youth Policy Institute, Inc.              $ 531,217.33          $ 11,327.50              $ 0.00             $ 0.00        $ 542,544.83

                                                      ___________          __________          __________           __________       ___________
            Bill Total                                $ 531,217.33         $ 11,327.50              $ 0.00               $ 0.00      $ 542,544.83


                                  PLEASE ENCLOSE THIS PAGE WITH YOUR REMITTANCE


                                           Wire instructions for the GENERAL account in US Dollars:
                                         Bank Name:               First Republic Bank
                                                                  111 Pine Street
                                                                  San Francisco, CA 94111
                                         SWIFT CODE:              FRBBUS6S
                                         ABA:                     321081669
                                         Account Name:            Greenberg Glusker Fields Claman &
                                                                  Machtinger
                                         Account No.:             #997-0005-4655




  Please reflect the client name and number, and the matters being paid. Payments received will apply first to accrued interest and then to
  costs and fees.
   Atty : JAK, #264 / P1197381                                          Page 6                                       Tax ID # XX-XXXXXXX
                                                                                                                   Exhibit 2, page 329
        Case 2:19-bk-23085-BB                  Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                                      Desc
                                               Main Document   Page 330 of 377
                                                   GREENBERG GLUSKER
          2049 Century Park East                                                             General billing questions: (310) 201-7577
          Suite 2600                                                                                                    (310) 785-6842
          Los Angeles, CA 90067                                                                             Payments: (310) 785-6846
                                                                                                                       Fax: (310) 553-7018
                                                   Jason M. Rund, Chapter 7 Trustee
                                                           Due Date: April 12, 2023

          Client # 76214                                                                                       Charges through: 01/31/23
          Invoice date: 03/22/23
          Invoice # 729738



                                                                                              Payments and
Matter                                                     Previous              Current       Retainers To          Adjustments
Number Name                                                 Balance             Charges           03/22/23           To 03/22/23        Amount Due
00002   Youth Policy Institute, Inc.                   $ 542,544.83          $ 11,242.00             $ 0.00               $ 0.00       $ 553,786.83

                                                       ___________          __________          __________           __________       ___________
             Bill Total                                $ 542,544.83         $ 11,242.00              $ 0.00               $ 0.00      $ 553,786.83




                                                                         Jason M. Rund, Chapter 7 Trustee
                                                                         Sheridan & Rund
                                                                         840 Apollo Street
                                                                         Suite 351
                                                                         El Segundo, CA 90402




   Please reflect the client name and number, and the matters being paid. Payments received will apply first to accrued interest and then to
   costs and fees.
    Atty : JAK, #264 / P1206833                                          Page 1                                       Tax ID # XX-XXXXXXX
                                                                                                                    Exhibit 2, page 330
   Case 2:19-bk-23085-BB              Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                          Desc
                                      Main Document   Page 331 of 377
                                          GREENBERG GLUSKER

     2049 Century Park East                                                        General billing questions: (310) 201-7577
     Suite 2600                                                                                               (310) 785-6842
     Los Angeles, CA 90067                                                                        Payments: (310) 785-6846
                                                                                                           Fax: (310) 553-7018
     Client # 76214,     Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,     Youth Policy Institute, Inc.
                                                      Due Date: April 12, 2023
     Invoice date: 03/22/23                                                                         Charges through: 01/31/23
     Invoice # 729738



                                                            FEES
 Date       Timekeeper                              Description of Services                        Hours         Amount

 B100 – Administration
    B150 – Meetings of and Communications with Creditors
 01/18/23 K Banner            Email exchange with M. Guzman regarding creditor inquiries.           0.10         $ 63.50
           Total B150 – Meetings of and Communications with Creditors                               0.10         $ 63.50


            Total B100 – Administration                                                             0.10         $ 63.50


 B200 – Operations
    B230 – Financing/Cash Collateral
 01/20/23 K Banner             Email exchange with G. Weiner regarding NFF inquiries.               0.10         $ 63.50
           Total B230 – Financing/Cash Collateral                                                   0.10         $ 63.50


            Total B200 – Operations                                                                 0.10         $ 63.50


 B300 – Claims and Plan
    B310 – Claims Administration and Objections
 01/10/23 K Banner             Review proposed claim liquidation offer from CDE (.2); email         0.50        $ 317.50
                               exchange with M. Heyn (.2); email exchange with Trustee
                               regarding the same (.1).
 01/21/23 K Banner             Review amended proof of claim filed by Jessica Hendricks.            0.20        $ 127.00
 01/23/23 K Banner             Email exchange with M. Heyn regarding CDE claim (.1);                0.40        $ 254.00
                               review and analyze position of Think Together regarding claim
                               (.3).
 01/24/23 K Banner             Telephone conference with M. Heyn regarding CDE claim                0.60        $ 381.00
                               liquidation (.2); review and analyze Armanino audit report in
                               light of comments from CDE regarding liquidated claim
                               amount (.3); email exchange with Trustee regarding the same
                               (.1).
 01/25/23 K Banner             Review Padilla complaint and other preparations for call with        1.60       $ 1,016.00
                               B. Turner (.3); telephone call with B. Turner regarding Padilla
                               action (.4); telephone conference with Trustee regarding
                               strategy for Padilla action (.3); review and analyze LAUSD
                               proof of claim, accompanying documentation, and prior
                               correspondence with LAUSD (.3); research in connection with
                               the same (.2); email exchange with Trustee regarding the same
                               (.1).
 01/26/23 K Banner             Review and analyze Orenda claim, supporting documentation            0.80        $ 508.00
                               and further review and analyze YPI accounting records
                               regarding payments from YPI (.6); email exchange with
Atty : JAK, #264 / P1206833                                Page 2                                  Tax ID # XX-XXXXXXX
                                                                                                 Exhibit 2, page 331
   Case 2:19-bk-23085-BB             Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                           Desc
                                     Main Document   Page 332 of 377
                                         GREENBERG GLUSKER

     2049 Century Park East                                                        General billing questions: (310) 201-7577
     Suite 2600                                                                                               (310) 785-6842
     Los Angeles, CA 90067                                                                        Payments: (310) 785-6846
                                                                                                           Fax: (310) 553-7018
     Client # 76214,     Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,     Youth Policy Institute, Inc.
                                                      Due Date: April 12, 2023
     Invoice date: 03/22/23                                                                         Charges through: 01/31/23
     Invoice # 729738

                                                             FEES
 Date       Timekeeper                               Description of Services                       Hours         Amount
                                Trustee regarding the same (.1); email exchange with N.
                                Grandin regarding Think Together claim (.1).
 01/27/23   JA Krieger          Telephone conference(s) with K. Banner regarding CDE claim          0.30         $ 208.50
 01/27/23   K Banner            Review and analyze CDE liquidated claim proposal, audits for        2.10       $ 1,333.50
                                prior years and prior correspondence with auditors regarding
                                the same (1.2); telephone conference with J. Krieger re: CDE
                                claim (.3); email exchange with N. Grandin regarding Think
                                Together claim (.1); telephone conference with Trustee
                                regarding CDE claim and other claims administration matters
                                (.5).
 01/30/23   K Banner            Email exchange with M. Heyn regarding CDE claim (.1);               0.80        $ 508.00
                                telephone call with M. Heyn regarding CDE claim (.2);
                                telephone conference with Trustee regarding strategy for CDE
                                claim (.5).
            Total B310 – Claims Administration and Objections                                       7.30       $ 4,653.50


            Total B300 – Claims and Plan                                                            7.30       $ 4,653.50


 B400 – Carve-Out Matters
    B420 – Commercial Tort Claims
 01/03/23 JA Krieger           Telephone conference(s) with J. Rund regarding status of             0.10         $ 69.50
                               adversary settlement
 01/10/23 K Banner             Email exchange with D. Eldan regarding status of settlement          0.50        $ 317.50
                               (.1); review latest draft of settlement agreement and various
                               correspondence regarding the same (.2); various tasks relating
                               to execution of settlement agreement (.2).
 01/13/23 K Banner             Telephone conference(s) with Trustee regarding status of             0.30        $ 190.50
                               settlement and 9019 motion.
 01/17/23 JA Krieger           Review Slingerland guilty plea and plea agreement                    0.30        $ 208.50
 01/17/23 K Banner             Email exchange with P. Dracht regarding settlement (.1);             0.60        $ 381.00
                               review press release re: Slingerland plea deal (.1); telephone
                               conference(s) with P. Dracht regarding the same (.2); telephone
                               conference with Trustee regarding the same (.2).
 01/18/23 JA Krieger           Review emails from P. Dracht and J. Rund regarding RSUI              0.20        $ 139.00
                               issue on fees and thus settlement agreement
 01/18/23 K Banner             Email exchange with D. Eldan regarding status of settlement          1.70       $ 1,079.50
                               and plea agreement (.1); review and analyze Slingerland plea
                               agreement (.3); email exchange and telephone conference with
                               Trustee regarding the same (.6); review new information from
                               RSUI regarding settlement (.2); telephone conference with
                               Trustee regarding the same (.5).
 01/19/23 JA Krieger           Review LA times article on Slingerland plea (.1); review email       0.20        $ 139.00
                               string from P. Dracht and RSUI counsel regarding fee
                               reduction in settlement amount (.1)
Atty : JAK, #264 / P1206833                                Page 3                                  Tax ID # XX-XXXXXXX
                                                                                                 Exhibit 2, page 332
   Case 2:19-bk-23085-BB             Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                         Desc
                                     Main Document   Page 333 of 377
                                         GREENBERG GLUSKER

     2049 Century Park East                                                      General billing questions: (310) 201-7577
     Suite 2600                                                                                             (310) 785-6842
     Los Angeles, CA 90067                                                                      Payments: (310) 785-6846
                                                                                                         Fax: (310) 553-7018
     Client # 76214,     Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,     Youth Policy Institute, Inc.
                                                      Due Date: April 12, 2023
     Invoice date: 03/22/23                                                                       Charges through: 01/31/23
     Invoice # 729738

                                                          FEES
 Date     Timekeeper                              Description of Services                        Hours          Amount
 01/19/23 K Banner          Review Padilla complaint received from RSUI (.3); telephone           1.70       $ 1,079.50
                            conference(s) with Trustee regarding Padilla action and
                            settlement agreement (.4); telephone conference(s) with P.
                            Dracht and portion with S. Goldsobel regarding settlement
                            developments (.6); review and analyze case file and
                            correspondence regarding Padilla claim (.4).
 01/20/23 K Banner          Review and revise 9019 motion and accompanying declaration            3.60       $ 2,286.00
                            (1.6); review and revise notice of 9019 motion (.6); telephone
                            conference(s) with Trustee regarding settlement agreement and
                            9019 motion (.7); email exchange with P. Dracht regarding the
                            same (.1); final review of settlement agreement, 9019 motion
                            and notice prior to filing and various other related tasks (.6).
 01/23/23 K Banner          Review notice of settlement and docket entries associated             0.20        $ 127.00
                            therewith.
 01/24/23 K Banner          Review adversary docket, tentative rulings for status of status       0.60        $ 381.00
                            conference (.2); telephone call with P. Dracht regarding the
                            same (.1); observe status conference in adversary proceeding
                            (.3).
 01/31/23 K Banner          Review RSUI settlement payment information and email                  0.10         $ 63.50
                            exchange with Trustee.
          Total B420 – Commercial Tort Claims                                                    10.10       $ 6,461.50


             Total B400 – Carve-Out Matters                                                      10.10       $ 6,461.50


 Total fees for this matter:                                                                                $ 11,242.00




Atty : JAK, #264 / P1206833                                Page 4                                Tax ID # XX-XXXXXXX
                                                                                               Exhibit 2, page 333
   Case 2:19-bk-23085-BB              Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                                 Desc
                                      Main Document   Page 334 of 377
                                          GREENBERG GLUSKER

     2049 Century Park East                                                             General billing questions: (310) 201-7577
     Suite 2600                                                                                                    (310) 785-6842
     Los Angeles, CA 90067                                                                             Payments: (310) 785-6846
                                                                                                                 Fax: (310) 553-7018
     Client # 76214,     Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,     Youth Policy Institute, Inc.
                                                      Due Date: April 12, 2023
     Invoice date: 03/22/23                                                                              Charges through: 01/31/23
     Invoice # 729738

                                           Summary Of Attorney Time By Task
                                              ______________________

                                                               Hours             Rate                   Value

             B150 – Meetings of and Communications with Creditors
               K Banner                                          0.10          635.00                $ 63.50

             B230 – Financing/Cash Collateral
               K Banner                                         0.10           635.00                $ 63.50

             B310 – Claims Administration and Objections
               K Banner                                         7.00           635.00             $ 4,445.00
               JA Krieger                                       0.30           695.00               $ 208.50

             B420 – Commercial Tort Claims
               K Banner                                         9.30           635.00             $ 5,905.50
               JA Krieger                                       0.80           695.00               $ 556.00

             Total                                             17.60                             $ 11,242.00




                                                   Summary By Task
                                                ______________________

                                                Task                                            Hours              Value
                                                B150 – Meetings of and Communications            0.10             $ 63.50
                                                with Creditors
                                                B230 – Financing/Cash Collateral                 0.10              $ 63.50
                                                B310 – Claims Administration and                 7.30           $ 4,653.50
                                                Objections
                                                B420 – Commercial Tort Claims                   10.10        $ 6,461.50
   Total                                                                                        17.60       $ 11,242.00




Atty : JAK, #264 / P1206833                                  Page 5                                   Tax ID # XX-XXXXXXX
                                                                                                    Exhibit 2, page 334
   Case 2:19-bk-23085-BB             Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                         Desc
                                     Main Document   Page 335 of 377
                                         GREENBERG GLUSKER

     2049 Century Park East                                                       General billing questions: (310) 201-7577
     Suite 2600                                                                                              (310) 785-6842
     Los Angeles, CA 90067                                                                       Payments: (310) 785-6846
                                                                                                         Fax: (310) 553-7018
     Client # 76214,     Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,     Youth Policy Institute, Inc.
                                                      Due Date: April 12, 2023
     Invoice date: 03/22/23                                                                       Charges through: 01/31/23
     Invoice # 729738

                                            RECAP OF AMOUNTS DUE
 Total Previous Balance                                                                   $ 542,544.83
                                                                                                          __________
 Balance Forward                                                                                         $ 542,544.83
 Current Month Fees                                                                        $ 11,242.00
 Current Month Costs                                                                            $ 0.00
                                                                                                          __________
 Total Current Charges                                                                                    $ 11,242.00
                                                                                                          __________
 Total Due from Current Charges                                                                           $ 11,242.00
                                                                                                          __________
 AMOUNT DUE                                                                                              $ 553,786.83




                                              Summary Of Attorney Time
                                              ______________________

             Attorney                                       Hours      Rate            Value
             J Krieger                                       1.10    695.00         $ 764.50
             K Banner                                       16.50    635.00      $ 10,477.50
             Total                                          17.60                $ 11,242.00




Atty : JAK, #264 / P1206833                                Page 6                                Tax ID # XX-XXXXXXX
                                                                                               Exhibit 2, page 335
         Case 2:19-bk-23085-BB                Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                                      Desc
                                              Main Document   Page 336 of 377

                                                      GREENBERG GLUSKER
          2049 Century Park East                                                            General billing questions: (310) 201-7577
          Suite 2600                                                                                                   (310) 785-6842
          Los Angeles, CA 90067                                                                            Payments: (310) 785-6846
                                                                                                                      Fax: (310) 553-7018
                                                  Jason M. Rund, Chapter 7 Trustee
                                                          Due Date: April 12, 2023

          Client # 76214                                                                                      Charges through: 01/31/23
          Invoice date: 03/22/23
          Invoice # 729738




                                                                                              Payments and
Matter                                                    Previous              Current        Retainers To        Adjustments
Number      Name                                           Balance             Charges            03/22/23         To 03/22/23         Amount Due
00002       Youth Policy Institute, Inc.              $ 542,544.83          $ 11,242.00              $ 0.00             $ 0.00        $ 553,786.83

                                                      ___________          __________          __________           __________       ___________
            Bill Total                                $ 542,544.83         $ 11,242.00              $ 0.00               $ 0.00      $ 553,786.83


                                  PLEASE ENCLOSE THIS PAGE WITH YOUR REMITTANCE


                                           Wire instructions for the GENERAL account in US Dollars:
                                         Bank Name:               First Republic Bank
                                                                  111 Pine Street
                                                                  San Francisco, CA 94111
                                         SWIFT CODE:              FRBBUS6S
                                         ABA:                     321081669
                                         Account Name:            Greenberg Glusker Fields Claman &
                                                                  Machtinger
                                         Account No.:             #997-0005-4655




  Please reflect the client name and number, and the matters being paid. Payments received will apply first to accrued interest and then to
  costs and fees.
   Atty : JAK, #264 / P1206833                                          Page 7                                       Tax ID # XX-XXXXXXX
                                                                                                                   Exhibit 2, page 336
        Case 2:19-bk-23085-BB                  Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                                      Desc
                                               Main Document   Page 337 of 377
                                                   GREENBERG GLUSKER
          2049 Century Park East                                                             General billing questions: (310) 201-7577
          Suite 2600                                                                                                    (310) 785-6842
          Los Angeles, CA 90067                                                                             Payments: (310) 785-6846
                                                                                                                       Fax: (310) 553-7018
                                                   Jason M. Rund, Chapter 7 Trustee
                                                           Due Date: April 18, 2023

          Client # 76214                                                                                       Charges through: 02/28/23
          Invoice date: 03/28/23
          Invoice # 730025



                                                                                              Payments and
Matter                                                     Previous              Current       Retainers To          Adjustments
Number Name                                                 Balance             Charges           03/28/23           To 03/28/23        Amount Due
00002   Youth Policy Institute, Inc.                   $ 553,786.83           $ 2,928.54             $ 0.00               $ 0.00       $ 556,715.37

                                                       ___________          __________          __________           __________       ___________
             Bill Total                                $ 553,786.83          $ 2,928.54              $ 0.00               $ 0.00      $ 556,715.37




                                                                         Jason M. Rund, Chapter 7 Trustee
                                                                         Sheridan & Rund
                                                                         840 Apollo Street
                                                                         Suite 351
                                                                         El Segundo, CA 90402




   Please reflect the client name and number, and the matters being paid. Payments received will apply first to accrued interest and then to
   costs and fees.
    Atty : JAK, #264 / P1206881                                          Page 1                                       Tax ID # XX-XXXXXXX
                                                                                                                    Exhibit 2, page 337
   Case 2:19-bk-23085-BB             Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                            Desc
                                     Main Document   Page 338 of 377
                                         GREENBERG GLUSKER

     2049 Century Park East                                                        General billing questions: (310) 201-7577
     Suite 2600                                                                                               (310) 785-6842
     Los Angeles, CA 90067                                                                        Payments: (310) 785-6846
                                                                                                            Fax: (310) 553-7018
     Client # 76214,     Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,     Youth Policy Institute, Inc.
                                                      Due Date: April 18, 2023
     Invoice date: 03/28/23                                                                          Charges through: 02/28/23
     Invoice # 730025



                                                            FEES
 Date       Timekeeper                              Description of Services                         Hours         Amount

 B300 – Claims and Plan
    B310 – Claims Administration and Objections
 02/02/23 K Banner             Email exchange with M. Heyn re: CDE claim (.1); email                 0.20        $ 127.00
                               exchange with N. Grandin regarding Think Together claim (.1).
 02/03/23 K Banner             Review Think Together's claim, detailed response and other            1.30        $ 825.50
                               materials in preparation for call with counsel (.3); telephone
                               conference with T. Dillman and N. Grandin regarding Think
                               Together claim (.4); telephone conference with Trustee
                               regarding Think Together claim (.1); draft and revise
                               stipulation with Think Together regarding claim (.5).
 02/06/23 K Banner             Draft and revise proposed order on Think Together claim               1.40        $ 889.00
                               stipulation (.3); email exchange with T. Dillman regarding the
                               same (.1); further review of claims register for potential claim
                               objections/administration (.4); review further comments to
                               Think Together stipulation and order from LW and confer with
                               Trustee regarding the same (.3); further review and revise
                               stipulation and order (.2); email exchange with N. Grandin
                               regarding the same (.1).
 02/10/23 K Banner             Email exchange with N. Grandin regarding stipulation with             0.10         $ 63.50
                               Think Together.
 02/19/23 K Banner             Preliminary review of CDE amended claim.                              0.20         $ 122.00
           Total B310 – Claims Administration and Objections                                         3.20       $ 2,027.00


            Total B300 – Claims and Plan                                                             3.20       $ 2,027.00


 B400 – Carve-Out Matters
    B420 – Commercial Tort Claims
 02/06/23 K Banner             Telephone conference(s) with Trustee regarding 9019 motion            0.10         $ 63.50
                               and proposed order.
 02/07/23 K Banner             Review 9019 motion and revise proposed 9019 order (.2); email         0.90        $ 571.50
                               to all counsel regarding the same (.1); telephone conference
                               with P. Dracht regarding 9019 motion and settlement (.3); draft
                               and revise declaration re: non-opposition, NOL and other
                               filings (.3),
 02/09/23 K Banner             Review entered 9019 order (.1); email exchange with D. Brown          0.20        $ 127.00
                               regarding the same (.1).
 02/10/23 K Banner             Email exchange with D. Eldan regarding settlement.                    0.10         $ 63.50
 02/24/23 K Banner             Email exchange with Trustee and D. Brown regarding Hanover            0.10         $ 63.50
                               payment.
           Total B420 – Commercial Tort Claims                                                       1.40        $ 889.00


Atty : JAK, #264 / P1206881                                Page 2                                   Tax ID # XX-XXXXXXX
                                                                                                  Exhibit 2, page 338
   Case 2:19-bk-23085-BB                Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                                     Desc
                                        Main Document   Page 339 of 377
                                            GREENBERG GLUSKER

     2049 Century Park East                                                                   General billing questions: (310) 201-7577
     Suite 2600                                                                                                          (310) 785-6842
     Los Angeles, CA 90067                                                                                   Payments: (310) 785-6846
                                                                                                                        Fax: (310) 553-7018
     Client # 76214,     Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,     Youth Policy Institute, Inc.
                                                      Due Date: April 18, 2023
     Invoice date: 03/28/23                                                                                    Charges through: 02/28/23
     Invoice # 730025

                                                                  FEES
 Date        Timekeeper                                   Description of Services                             Hours            Amount

             Total B400 – Carve-Out Matters                                                                     1.40          $ 889.00


 Total fees for this matter:                                                                                                $ 2,916.00


                                             Summary Of Attorney Time By Task
                                                ______________________

                                                                   Hours              Rate                    Value

               B310 – Claims Administration and Objections
                 K Banner                                           3.20             633.44             $ 2,027.00

               B420 – Commercial Tort Claims
                 K Banner                                           1.40             635.00              $ 889.00

               Total                                                4.60                                $ 2,916.00




                                                         Summary By Task
                                                      ______________________

                                                  Task                                                Hours                Value
                                                  B310 – Claims Administration and                     3.20           $ 2,027.00
                                                  Objections
                                                  B420 – Commercial Tort Claims                        1.40             $ 889.00
   Total                                                                                               4.60           $ 2,916.00




                                                          COSTS
                       Date         Description                                                               Amount
                       02/07/23     VENDOR: First Legal Network, LLC INVOICE#:                                $ 12.54
                                    10590151 DATE: 2/8/2023


                       Total costs for this matter:                                                           $ 12.54




Atty : JAK, #264 / P1206881                                      Page 3                                     Tax ID # XX-XXXXXXX
                                                                                                          Exhibit 2, page 339
   Case 2:19-bk-23085-BB             Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                           Desc
                                     Main Document   Page 340 of 377
                                         GREENBERG GLUSKER

     2049 Century Park East                                                      General billing questions: (310) 201-7577
     Suite 2600                                                                                             (310) 785-6842
     Los Angeles, CA 90067                                                                      Payments: (310) 785-6846
                                                                                                           Fax: (310) 553-7018
     Client # 76214,     Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,     Youth Policy Institute, Inc.
                                                      Due Date: April 18, 2023
     Invoice date: 03/28/23                                                                        Charges through: 02/28/23
     Invoice # 730025

                                          Summary Of Costs by Expenses Code
                                             ______________________

                          Expense                                                 Value
                          E107 – Delivery services/messengers                    $12.54

                          Total                                                  $ 12.54




                                            RECAP OF AMOUNTS DUE
 Total Previous Balance                                                                    $ 553,786.83
                                                                                                            __________
 Balance Forward                                                                                           $ 553,786.83
 Current Month Fees                                                                           $ 2,916.00
 Current Month Costs                                                                             $ 12.54
                                                                                                            __________
 Total Current Charges                                                                                        $ 2,928.54
                                                                                                            __________
 Total Due from Current Charges                                                                               $ 2,928.54
                                                                                                            __________
 AMOUNT DUE                                                                                                $ 556,715.37




                                               Summary Of Attorney Time
                                               ______________________

             Attorney                                           Hours     Rate        Value
             K Banner                                            4.60   633.91   $ 2,916.00
             Total                                               4.60            $ 2,916.00




Atty : JAK, #264 / P1206881                                 Page 4                               Tax ID # XX-XXXXXXX
                                                                                               Exhibit 2, page 340
         Case 2:19-bk-23085-BB                Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                                      Desc
                                              Main Document   Page 341 of 377

                                                      GREENBERG GLUSKER
          2049 Century Park East                                                            General billing questions: (310) 201-7577
          Suite 2600                                                                                                   (310) 785-6842
          Los Angeles, CA 90067                                                                            Payments: (310) 785-6846
                                                                                                                      Fax: (310) 553-7018
                                                  Jason M. Rund, Chapter 7 Trustee
                                                          Due Date: April 18, 2023

          Client # 76214                                                                                      Charges through: 02/28/23
          Invoice date: 03/28/23
          Invoice # 730025




                                                                                              Payments and
Matter                                                    Previous              Current        Retainers To        Adjustments
Number      Name                                           Balance             Charges            03/28/23         To 03/28/23         Amount Due
00002       Youth Policy Institute, Inc.              $ 553,786.83           $ 2,928.54              $ 0.00             $ 0.00        $ 556,715.37

                                                      ___________          __________          __________           __________       ___________
            Bill Total                                $ 553,786.83          $ 2,928.54              $ 0.00               $ 0.00      $ 556,715.37


                                  PLEASE ENCLOSE THIS PAGE WITH YOUR REMITTANCE


                                           Wire instructions for the GENERAL account in US Dollars:
                                         Bank Name:               First Republic Bank
                                                                  111 Pine Street
                                                                  San Francisco, CA 94111
                                         SWIFT CODE:              FRBBUS6S
                                         ABA:                     321081669
                                         Account Name:            Greenberg Glusker Fields Claman &
                                                                  Machtinger
                                         Account No.:             #997-0005-4655




  Please reflect the client name and number, and the matters being paid. Payments received will apply first to accrued interest and then to
  costs and fees.
   Atty : JAK, #264 / P1206881                                          Page 5                                       Tax ID # XX-XXXXXXX
                                                                                                                   Exhibit 2, page 341
        Case 2:19-bk-23085-BB                  Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                                      Desc
                                               Main Document   Page 342 of 377
                                                   GREENBERG GLUSKER
          2049 Century Park East                                                             General billing questions: (310) 201-7577
          Suite 2600                                                                                                    (310) 785-6842
          Los Angeles, CA 90067                                                                             Payments: (310) 785-6846
                                                                                                                       Fax: (310) 553-7018
                                                   Jason M. Rund, Chapter 7 Trustee
                                                           Due Date: April 26, 2023

          Client # 76214                                                                                       Charges through: 03/31/23
          Invoice date: 04/05/23
          Invoice # 730253



                                                                                              Payments and
Matter                                                     Previous              Current       Retainers To          Adjustments
Number Name                                                 Balance             Charges           04/05/23           To 04/05/23        Amount Due
00002   Youth Policy Institute, Inc.                   $ 556,715.37             $ 855.50             $ 0.00               $ 0.00       $ 557,570.87

                                                       ___________          __________          __________           __________       ___________
             Bill Total                                $ 556,715.37            $ 855.50              $ 0.00               $ 0.00      $ 557,570.87




                                                                         Jason M. Rund, Chapter 7 Trustee
                                                                         Sheridan & Rund
                                                                         840 Apollo Street
                                                                         Suite 351
                                                                         El Segundo, CA 90402




   Please reflect the client name and number, and the matters being paid. Payments received will apply first to accrued interest and then to
   costs and fees.
    Atty : JAK, #264 / P1209584                                          Page 1                                       Tax ID # XX-XXXXXXX
                                                                                                                    Exhibit 2, page 342
   Case 2:19-bk-23085-BB             Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                          Desc
                                     Main Document   Page 343 of 377
                                         GREENBERG GLUSKER

     2049 Century Park East                                                       General billing questions: (310) 201-7577
     Suite 2600                                                                                              (310) 785-6842
     Los Angeles, CA 90067                                                                       Payments: (310) 785-6846
                                                                                                          Fax: (310) 553-7018
     Client # 76214,     Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,     Youth Policy Institute, Inc.
                                                      Due Date: April 26, 2023
     Invoice date: 04/05/23                                                                        Charges through: 03/31/23
     Invoice # 730253



                                                            FEES
 Date        Timekeeper                             Description of Services                       Hours         Amount

 B300 – Claims and Plan
    B310 – Claims Administration and Objections
 03/23/23 K Banner             Review and revise Think Together stipulation and proposed           0.30        $ 190.50
                               order (.2); email exchange with N. Grandin regarding the same
                               (.1).
 03/27/23 K Banner             Review entered order on Think Together stipulation (.1); email      0.20        $ 127.00
                               exchange with N. Grandin regarding the same (.1).
           Total B310 – Claims Administration and Objections                                       0.50        $ 317.50


             Total B300 – Claims and Plan                                                          0.50        $ 317.50


 B400 – Carve-Out Matters
    B420 – Commercial Tort Claims
 03/01/23 JA Krieger           Review email from DOJ (.1); telephone conference(s) with K.         0.50        $ 347.50
                               Banner regarding same (.1); telephone conference(s) with D.
                               Eldan of DOJ (charity division) (.3)
 03/02/23 K Banner             Email exchange with D. Brown regarding settlement payment.          0.10         $ 63.50
 03/28/23 K Banner             Review adversary case docket and entered dismissal order (.1);      0.20        $ 127.00
                               email exchange with S. Shaw regarding the same (.1).
           Total B420 – Commercial Tort Claims                                                     0.80        $ 538.00


             Total B400 – Carve-Out Matters                                                        0.80        $ 538.00


 Total fees for this matter:                                                                                   $ 855.50




Atty : JAK, #264 / P1209584                                Page 2                                 Tax ID # XX-XXXXXXX
                                                                                                Exhibit 2, page 343
   Case 2:19-bk-23085-BB             Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                                   Desc
                                     Main Document   Page 344 of 377
                                         GREENBERG GLUSKER

     2049 Century Park East                                                                General billing questions: (310) 201-7577
     Suite 2600                                                                                                       (310) 785-6842
     Los Angeles, CA 90067                                                                                Payments: (310) 785-6846
                                                                                                                   Fax: (310) 553-7018
     Client # 76214,     Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,     Youth Policy Institute, Inc.
                                                      Due Date: April 26, 2023
     Invoice date: 04/05/23                                                                                 Charges through: 03/31/23
     Invoice # 730253

                                           Summary Of Attorney Time By Task
                                              ______________________

                                                              Hours                Rate                    Value

             B310 – Claims Administration and Objections
               K Banner                                         0.50              635.00              $ 317.50

             B420 – Commercial Tort Claims
               K Banner                                         0.30              635.00              $ 190.50
               JA Krieger                                       0.50              695.00              $ 347.50

             Total                                              1.30                                  $ 855.50




                                                   Summary By Task
                                                ______________________

                                               Task                                                Hours              Value
                                               B310 – Claims Administration and                     0.50           $ 317.50
                                               Objections
                                               B420 – Commercial Tort Claims                        0.80           $ 538.00
   Total                                                                                            1.30           $ 855.50




                                             RECAP OF AMOUNTS DUE
 Total Previous Balance                                                                            $ 556,715.37
                                                                                                                    __________
 Balance Forward                                                                                                   $ 556,715.37
 Current Month Fees                                                                                    $ 855.50
 Current Month Costs                                                                                     $ 0.00
                                                                                                                    __________
 Total Current Charges                                                                                                 $ 855.50
                                                                                                                    __________
 Total Due from Current Charges                                                                                        $ 855.50
                                                                                                                    __________
 AMOUNT DUE                                                                                                        $ 557,570.87




Atty : JAK, #264 / P1209584                                 Page 3                                       Tax ID # XX-XXXXXXX
                                                                                                       Exhibit 2, page 344
   Case 2:19-bk-23085-BB             Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                      Desc
                                     Main Document   Page 345 of 377
                                         GREENBERG GLUSKER

     2049 Century Park East                                                      General billing questions: (310) 201-7577
     Suite 2600                                                                                             (310) 785-6842
     Los Angeles, CA 90067                                                                      Payments: (310) 785-6846
                                                                                                      Fax: (310) 553-7018
     Client # 76214,     Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,     Youth Policy Institute, Inc.
                                                      Due Date: April 26, 2023
     Invoice date: 04/05/23                                                                     Charges through: 03/31/23
     Invoice # 730253

                                              Summary Of Attorney Time
                                              ______________________

             Attorney                                       Hours      Rate          Value
             J Krieger                                       0.50    695.00       $ 347.50
             K Banner                                        0.80    635.00       $ 508.00
             Total                                           1.30                 $ 855.50




Atty : JAK, #264 / P1209584                                Page 4                              Tax ID # XX-XXXXXXX
                                                                                             Exhibit 2, page 345
         Case 2:19-bk-23085-BB                Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                                      Desc
                                              Main Document   Page 346 of 377

                                                      GREENBERG GLUSKER
          2049 Century Park East                                                            General billing questions: (310) 201-7577
          Suite 2600                                                                                                   (310) 785-6842
          Los Angeles, CA 90067                                                                            Payments: (310) 785-6846
                                                                                                                      Fax: (310) 553-7018
                                                  Jason M. Rund, Chapter 7 Trustee
                                                          Due Date: April 26, 2023

          Client # 76214                                                                                      Charges through: 03/31/23
          Invoice date: 04/05/23
          Invoice # 730253




                                                                                              Payments and
Matter                                                    Previous              Current        Retainers To        Adjustments
Number      Name                                           Balance             Charges            04/05/23         To 04/05/23         Amount Due
00002       Youth Policy Institute, Inc.              $ 556,715.37             $ 855.50              $ 0.00             $ 0.00        $ 557,570.87

                                                      ___________          __________          __________           __________       ___________
            Bill Total                                $ 556,715.37            $ 855.50              $ 0.00               $ 0.00      $ 557,570.87


                                  PLEASE ENCLOSE THIS PAGE WITH YOUR REMITTANCE


                                           Wire instructions for the GENERAL account in US Dollars:
                                         Bank Name:               First Republic Bank
                                                                  111 Pine Street
                                                                  San Francisco, CA 94111
                                         SWIFT CODE:              FRBBUS6S
                                         ABA:                     321081669
                                         Account Name:            Greenberg Glusker Fields Claman &
                                                                  Machtinger
                                         Account No.:             #997-0005-4655




  Please reflect the client name and number, and the matters being paid. Payments received will apply first to accrued interest and then to
  costs and fees.
   Atty : JAK, #264 / P1209584                                          Page 5                                       Tax ID # XX-XXXXXXX
                                                                                                                   Exhibit 2, page 346
        Case 2:19-bk-23085-BB                  Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                                      Desc
                                               Main Document   Page 347 of 377
                                                   GREENBERG GLUSKER
          2049 Century Park East                                                             General billing questions: (310) 201-7577
          Suite 2600                                                                                                    (310) 785-6842
          Los Angeles, CA 90067                                                                             Payments: (310) 785-6846
                                                                                                                       Fax: (310) 553-7018
                                                   Jason M. Rund, Chapter 7 Trustee
                                                            Due Date: June 6, 2023

          Client # 76214                                                                                       Charges through: 04/30/23
          Invoice date: 05/16/23
          Invoice # 732341



                                                                                              Payments and
Matter                                                     Previous              Current       Retainers To          Adjustments
Number Name                                                 Balance             Charges           05/16/23           To 05/16/23        Amount Due
00002   Youth Policy Institute, Inc.                   $ 557,570.87             $ 786.54             $ 0.00               $ 0.00       $ 558,357.41

                                                       ___________          __________          __________           __________       ___________
             Bill Total                                $ 557,570.87            $ 786.54              $ 0.00               $ 0.00      $ 558,357.41




                                                                         Jason M. Rund, Chapter 7 Trustee
                                                                         Sheridan & Rund
                                                                         840 Apollo Street
                                                                         Suite 351
                                                                         El Segundo, CA 90402




   Please reflect the client name and number, and the matters being paid. Payments received will apply first to accrued interest and then to
   costs and fees.
    Atty : JAK, #264 / P1213564                                          Page 1                                       Tax ID # XX-XXXXXXX
                                                                                                                    Exhibit 2, page 347
   Case 2:19-bk-23085-BB             Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                         Desc
                                     Main Document   Page 348 of 377
                                         GREENBERG GLUSKER

     2049 Century Park East                                                       General billing questions: (310) 201-7577
     Suite 2600                                                                                              (310) 785-6842
     Los Angeles, CA 90067                                                                       Payments: (310) 785-6846
                                                                                                         Fax: (310) 553-7018
     Client # 76214,     Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,     Youth Policy Institute, Inc.
                                                      Due Date: June 6, 2023
     Invoice date: 05/16/23                                                                       Charges through: 04/30/23
     Invoice # 732341



                                                            FEES
 Date        Timekeeper                             Description of Services                      Hours         Amount

 B100 – Administration
    B160 – Fee/Employment Applications
 04/18/23 K Banner            Preliminary review invoices from field agent.                       0.20        $ 127.00
           Total B160 – Fee/Employment Applications                                               0.20        $ 127.00


             Total B100 – Administration                                                          0.20        $ 127.00


 B300 – Claims and Plan
    B310 – Claims Administration and Objections
 04/03/23 JA Krieger           Telephone conference(s) with K. Banner regarding remaining         0.20        $ 139.00
                               claims resolution
 04/03/23 K Banner             Telephone conference(s) with J. Krieger regarding status of        0.20        $ 127.00
                               outstanding claims and potential objections.
 04/07/23 K Banner             Review amended claim of Jasmine Tovar.                             0.10         $ 63.50
           Total B310 – Claims Administration and Objections                                      0.50        $ 329.50


             Total B300 – Claims and Plan                                                         0.50        $ 329.50


 B400 – Carve-Out Matters
    B420 – Commercial Tort Claims
 04/21/23 K Banner             Review 9019 order and executed settlement agreement and            0.30        $ 190.50
                               email exchange with C. Prince regarding status of Slingerland
                               settlement.
 04/28/23 K Banner             Email exchange with C. Prince regarding the status of              0.20        $ 127.00
                               Slingerland settlement payment (.1); review settlement
                               agreement in connection with the same (.1).
           Total B420 – Commercial Tort Claims                                                    0.50        $ 317.50


             Total B400 – Carve-Out Matters                                                       0.50        $ 317.50


 Total fees for this matter:                                                                                  $ 774.00




Atty : JAK, #264 / P1213564                                Page 2                                Tax ID # XX-XXXXXXX
                                                                                               Exhibit 2, page 348
   Case 2:19-bk-23085-BB                Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                                 Desc
                                        Main Document   Page 349 of 377
                                            GREENBERG GLUSKER

     2049 Century Park East                                                              General billing questions: (310) 201-7577
     Suite 2600                                                                                                     (310) 785-6842
     Los Angeles, CA 90067                                                                              Payments: (310) 785-6846
                                                                                                                    Fax: (310) 553-7018
     Client # 76214,     Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,     Youth Policy Institute, Inc.
                                                      Due Date: June 6, 2023
     Invoice date: 05/16/23                                                                                Charges through: 04/30/23
     Invoice # 732341

                                             Summary Of Attorney Time By Task
                                                ______________________

                                                                  Hours           Rate                    Value

             B160 – Fee/Employment Applications
               K Banner                                            0.20         635.00               $ 127.00

             B310 – Claims Administration and Objections
               K Banner                                            0.30         635.00               $ 190.50
               JA Krieger                                          0.20         695.00               $ 139.00

             B420 – Commercial Tort Claims
               K Banner                                            0.50         635.00               $ 317.50

             Total                                                 1.20                              $ 774.00




                                                         Summary By Task
                                                      ______________________

                                                  Task                                            Hours                Value
                                                  B160 – Fee/Employment Applications               0.20             $ 127.00
                                                  B310 – Claims Administration and                 0.50             $ 329.50
                                                  Objections
                                                  B420 – Restructuring                             0.50             $ 317.50
   Total                                                                                           1.20             $ 774.00




                                                          COSTS
                       Date         Description                                                           Amount
                       03/23/23     VENDOR: First Legal Network, LLC INVOICE#:                            $ 12.54
                                    10608873 DATE: 3/31/2023


                       Total costs for this matter:                                                       $ 12.54


                                             Summary Of Costs by Expenses Code
                                                ______________________

                            Expense                                                       Value
                            E107 – Delivery services/messengers                          $12.54



Atty : JAK, #264 / P1213564                                     Page 3                                 Tax ID # XX-XXXXXXX
                                                                                                     Exhibit 2, page 349
   Case 2:19-bk-23085-BB            Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                         Desc
                                    Main Document   Page 350 of 377
                                        GREENBERG GLUSKER

     2049 Century Park East                                                    General billing questions: (310) 201-7577
     Suite 2600                                                                                           (310) 785-6842
     Los Angeles, CA 90067                                                                    Payments: (310) 785-6846
                                                                                                        Fax: (310) 553-7018
     Client # 76214,     Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,     Youth Policy Institute, Inc.
                                                      Due Date: June 6, 2023
     Invoice date: 05/16/23                                                                     Charges through: 04/30/23
     Invoice # 732341

                          Expense                                               Value
                          Total                                                $ 12.54




                                           RECAP OF AMOUNTS DUE
 Total Previous Balance                                                                  $ 557,570.87
                                                                                                         __________
 Balance Forward                                                                                        $ 557,570.87
 Current Month Fees                                                                          $ 774.00
 Current Month Costs                                                                          $ 12.54
                                                                                                         __________
 Total Current Charges                                                                                      $ 786.54
                                                                                                         __________
 Total Due from Current Charges                                                                             $ 786.54
                                                                                                         __________
 AMOUNT DUE                                                                                             $ 558,357.41




                                             Summary Of Attorney Time
                                             ______________________

             Attorney                                      Hours      Rate         Value
             J Krieger                                      0.20    695.00      $ 139.00
             K Banner                                       1.00    635.00      $ 635.00
             Total                                          1.20                $ 774.00




Atty : JAK, #264 / P1213564                               Page 4                              Tax ID # XX-XXXXXXX
                                                                                            Exhibit 2, page 350
         Case 2:19-bk-23085-BB                Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                                      Desc
                                              Main Document   Page 351 of 377

                                                      GREENBERG GLUSKER
          2049 Century Park East                                                            General billing questions: (310) 201-7577
          Suite 2600                                                                                                   (310) 785-6842
          Los Angeles, CA 90067                                                                            Payments: (310) 785-6846
                                                                                                                      Fax: (310) 553-7018
                                                  Jason M. Rund, Chapter 7 Trustee
                                                           Due Date: June 6, 2023

          Client # 76214                                                                                      Charges through: 04/30/23
          Invoice date: 05/16/23
          Invoice # 732341




                                                                                              Payments and
Matter                                                    Previous              Current        Retainers To        Adjustments
Number      Name                                           Balance             Charges            05/16/23         To 05/16/23         Amount Due
00002       Youth Policy Institute, Inc.              $ 557,570.87             $ 786.54              $ 0.00             $ 0.00        $ 558,357.41

                                                      ___________          __________          __________           __________       ___________
            Bill Total                                $ 557,570.87            $ 786.54              $ 0.00               $ 0.00      $ 558,357.41


                                  PLEASE ENCLOSE THIS PAGE WITH YOUR REMITTANCE


                                           Wire instructions for the GENERAL account in US Dollars:
                                         Bank Name:               First Republic Bank
                                                                  111 Pine Street
                                                                  San Francisco, CA 94111
                                         SWIFT CODE:              FRBBUS6S
                                         ABA:                     321081669
                                         Account Name:            Greenberg Glusker Fields Claman &
                                                                  Machtinger
                                         Account No.:             #997-0005-4655




  Please reflect the client name and number, and the matters being paid. Payments received will apply first to accrued interest and then to
  costs and fees.
   Atty : JAK, #264 / P1213564                                          Page 5                                       Tax ID # XX-XXXXXXX
                                                                                                                   Exhibit 2, page 351
        Case 2:19-bk-23085-BB                  Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                                      Desc
                                               Main Document   Page 352 of 377
                                                   GREENBERG GLUSKER
          2049 Century Park East                                                             General billing questions: (310) 201-7577
          Suite 2600                                                                                                    (310) 785-6842
          Los Angeles, CA 90067                                                                             Payments: (310) 785-6846
                                                                                                                       Fax: (310) 553-7018
                                                   Jason M. Rund, Chapter 7 Trustee

          Client # 76214                                                                                       Charges through: 05/31/23
          Invoice date: 06/06/23
          Invoice # 733169



                                                                                              Payments and
Matter                                                     Previous              Current       Retainers To          Adjustments
Number Name                                                 Balance             Charges           06/06/23           To 06/06/23        Amount Due
00002   Youth Policy Institute, Inc.                   $ 558,357.41           $ 2,603.50             $ 0.00               $ 0.00       $ 560,960.91

                                                       ___________          __________          __________           __________       ___________
             Bill Total                                $ 558,357.41          $ 2,603.50              $ 0.00               $ 0.00      $ 560,960.91




                                                                         Jason M. Rund, Chapter 7 Trustee
                                                                         Sheridan & Rund
                                                                         840 Apollo Street
                                                                         Suite 351
                                                                         El Segundo, CA 90402




   Please reflect the client name and number, and the matters being paid. Payments received will apply first to accrued interest and then to
   costs and fees.
    Atty : JAK, #264 / P1217473                                          Page 1                                       Tax ID # XX-XXXXXXX
                                                                                                                    Exhibit 2, page 352
   Case 2:19-bk-23085-BB               Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                        Desc
                                       Main Document   Page 353 of 377
                                           GREENBERG GLUSKER

     2049 Century Park East                                                        General billing questions: (310) 201-7577
     Suite 2600                                                                                               (310) 785-6842
     Los Angeles, CA 90067                                                                        Payments: (310) 785-6846
                                                                                                          Fax: (310) 553-7018
     Client # 76214,     Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,     Youth Policy Institute, Inc.
     Invoice date: 06/06/23                                                                        Charges through: 05/31/23
     Invoice # 733169



                                                            FEES
 Date        Timekeeper                             Description of Services                       Hours         Amount

 B100 – Administration
    B120 – Asset Analysis and Recovery
 05/11/23 K Banner             Review Slingerland plea agreement and draft correspondence to       0.30        $ 190.50
                               US Attorneys office.
 05/16/23 K Banner             Email to AUSA regarding Slingerland restitution.                    0.10         $ 63.50
           Total B120 – Asset Analysis and Recovery                                                0.40        $ 254.00


             Total B100 – Administration                                                           0.40        $ 254.00


 B200 – Operations
    B230 – Financing/Cash Collateral
 05/16/23 K Banner             Review and analyze receipt report from J. Rund for carve-out        0.80        $ 508.00
                               analysis (.3); telephone conference with Trustee regarding the
                               same (.3); review invoice records for billed time by category
                               (.2).
 05/17/23 K Banner             Review invoices and confer with Trustee regarding carve out         0.30        $ 190.50
                               categories.
 05/22/23 K Banner             Review further calculation regarding NFF disbursements and          0.20        $ 127.00
                               email exchange with Trustee regarding the same.
 05/23/23 K Banner             Telephone conference with Trustee regarding NFF calculation         0.70        $ 444.50
                               and other outstanding matters (.6); email exchange with G.
                               Weiner regarding the same (.1).
 05/24/23 K Banner             Email exchange with G. Weiner regarding NFF stipulation.            0.10         $ 63.50
 05/25/23 K Banner             Review and revise NFF secured claim distribution stipulation        1.00        $ 635.00
                               (.9); email exchange with Trustee regarding the same (.1).
 05/26/23 K Banner             Draft and revise order on NFF distribution stipulation.             0.60         $ 381.00
           Total B230 – Financing/Cash Collateral                                                  3.70       $ 2,349.50


             Total B200 – Operations                                                               3.70       $ 2,349.50


 Total fees for this matter:                                                                                  $ 2,603.50




Atty : JAK, #264 / P1217473                                Page 2                                 Tax ID # XX-XXXXXXX
                                                                                                Exhibit 2, page 353
   Case 2:19-bk-23085-BB              Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                                       Desc
                                      Main Document   Page 354 of 377
                                          GREENBERG GLUSKER

     2049 Century Park East                                                                   General billing questions: (310) 201-7577
     Suite 2600                                                                                                          (310) 785-6842
     Los Angeles, CA 90067                                                                                   Payments: (310) 785-6846
                                                                                                                       Fax: (310) 553-7018
     Client # 76214,     Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,     Youth Policy Institute, Inc.
     Invoice date: 06/06/23                                                                                    Charges through: 05/31/23
     Invoice # 733169

                                           Summary Of Attorney Time By Task
                                              ______________________

                                                                 Hours                 Rate                   Value

             B120 – Asset Analysis and Recovery
               K Banner                                            0.40           635.00                 $ 254.00

             B230 – Financing/Cash Collateral
               K Banner                                            3.70           635.00                $ 2,349.50

             Total                                                 4.10                                 $ 2,603.50




                                                     Summary By Task
                                                  ______________________

                                                  Task                                                Hours                Value
                                                  B120 – Asset Analysis and Recovery                   0.40             $ 254.00
                                                  B230 – Financing/Cash Collateral                     3.70           $ 2,349.50
   Total                                                                                               4.10           $ 2,603.50




                                                RECAP OF AMOUNTS DUE
 Total Previous Balance                                                                               $ 558,357.41
                                                                                                                        __________
 Balance Forward                                                                                                       $ 558,357.41
 Current Month Fees                                                                                     $ 2,603.50
 Current Month Costs                                                                                        $ 0.00
                                                                                                                        __________
 Total Current Charges                                                                                                    $ 2,603.50
                                                                                                                        __________
 Total Due from Current Charges                                                                                           $ 2,603.50
                                                                                                                        __________
 AMOUNT DUE                                                                                                            $ 560,960.91




Atty : JAK, #264 / P1217473                                    Page 3                                       Tax ID # XX-XXXXXXX
                                                                                                          Exhibit 2, page 354
   Case 2:19-bk-23085-BB          Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                     Desc
                                  Main Document   Page 355 of 377
                                      GREENBERG GLUSKER

     2049 Century Park East                                                  General billing questions: (310) 201-7577
     Suite 2600                                                                                         (310) 785-6842
     Los Angeles, CA 90067                                                                  Payments: (310) 785-6846
                                                                                                  Fax: (310) 553-7018
     Client # 76214,     Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,     Youth Policy Institute, Inc.
     Invoice date: 06/06/23                                                                  Charges through: 05/31/23
     Invoice # 733169

                                           Summary Of Attorney Time
                                           ______________________

             Attorney                                       Hours     Rate        Value
             K Banner                                        4.10   635.00   $ 2,603.50
             Total                                           4.10            $ 2,603.50




Atty : JAK, #264 / P1217473                            Page 4                               Tax ID # XX-XXXXXXX
                                                                                          Exhibit 2, page 355
         Case 2:19-bk-23085-BB                Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                                      Desc
                                              Main Document   Page 356 of 377

                                                      GREENBERG GLUSKER
          2049 Century Park East                                                            General billing questions: (310) 201-7577
          Suite 2600                                                                                                   (310) 785-6842
          Los Angeles, CA 90067                                                                            Payments: (310) 785-6846
                                                                                                                      Fax: (310) 553-7018
                                                  Jason M. Rund, Chapter 7 Trustee

          Client # 76214                                                                                      Charges through: 05/31/23
          Invoice date: 06/06/23
          Invoice # 733169




                                                                                              Payments and
Matter                                                    Previous              Current        Retainers To        Adjustments
Number      Name                                           Balance             Charges            06/06/23         To 06/06/23         Amount Due
00002       Youth Policy Institute, Inc.              $ 558,357.41           $ 2,603.50              $ 0.00             $ 0.00        $ 560,960.91

                                                      ___________          __________          __________           __________       ___________
            Bill Total                                $ 558,357.41          $ 2,603.50              $ 0.00               $ 0.00      $ 560,960.91


                                  PLEASE ENCLOSE THIS PAGE WITH YOUR REMITTANCE


                                           Wire instructions for the GENERAL account in US Dollars:
                                         Bank Name:               First Republic Bank
                                                                  111 Pine Street
                                                                  San Francisco, CA 94111
                                         SWIFT CODE:              FRBBUS6S
                                         ABA:                     321081669
                                         Account Name:            Greenberg Glusker Fields Claman &
                                                                  Machtinger
                                         Account No.:             #997-0005-4655




  Please reflect the client name and number, and the matters being paid. Payments received will apply first to accrued interest and then to
  costs and fees.
   Atty : JAK, #264 / P1217473                                          Page 5                                       Tax ID # XX-XXXXXXX
                                                                                                                   Exhibit 2, page 356
        Case 2:19-bk-23085-BB                  Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                                      Desc
                                               Main Document   Page 357 of 377
                                                   GREENBERG GLUSKER
          2049 Century Park East                                                             General billing questions: (310) 201-7577
          Suite 2600                                                                                                    (310) 785-6842
          Los Angeles, CA 90067                                                                             Payments: (310) 785-6846
                                                                                                                       Fax: (310) 553-7018
                                                   Jason M. Rund, Chapter 7 Trustee

          Client # 76214                                                                                       Charges through: 06/30/23
          Invoice date: 07/11/23
          Invoice # 734924



                                                                                              Payments and
Matter                                                     Previous              Current       Retainers To          Adjustments
Number Name                                                 Balance             Charges           07/11/23           To 07/11/23        Amount Due
00002   Youth Policy Institute, Inc.                   $ 560,960.91           $ 3,206.75             $ 0.00               $ 0.00       $ 564,167.66

                                                       ___________          __________          __________           __________       ___________
             Bill Total                                $ 560,960.91          $ 3,206.75              $ 0.00               $ 0.00      $ 564,167.66




                                                                         Jason M. Rund, Chapter 7 Trustee
                                                                         Sheridan & Rund
                                                                         840 Apollo Street
                                                                         Suite 351
                                                                         El Segundo, CA 90402




   Please reflect the client name and number, and the matters being paid. Payments received will apply first to accrued interest and then to
   costs and fees.
    Atty : JAK, #264 / P1224080                                          Page 1                                       Tax ID # XX-XXXXXXX
                                                                                                                    Exhibit 2, page 357
   Case 2:19-bk-23085-BB              Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                         Desc
                                      Main Document   Page 358 of 377
                                          GREENBERG GLUSKER

     2049 Century Park East                                                        General billing questions: (310) 201-7577
     Suite 2600                                                                                               (310) 785-6842
     Los Angeles, CA 90067                                                                        Payments: (310) 785-6846
                                                                                                          Fax: (310) 553-7018
     Client # 76214,     Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,     Youth Policy Institute, Inc.
                                                                                                   Charges through: 06/30/23
     Invoice date: 07/11/23
     Invoice # 734924



                                                            FEES
 Date      Timekeeper                               Description of Services                       Hours         Amount

 B100 – Administration
    B120 – Asset Analysis and Recovery
 06/02/23 K Banner             Telephone conference with Trustee regarding restitution in          0.30        $ 190.50
                               criminal action.
           Total B120 – Asset Analysis and Recovery                                                0.30        $ 190.50


    B160 – Fee/Employment Applications
 06/01/23 JA Krieger          Review outstanding issues for fee application                        0.10          $ 69.50
 06/02/23 K Banner            Review and revise GG final fee application (1.2); review             2.20       $ 1,397.00
                              Interco Invoice and other documents relating to Interco
                              Services and draft narrative in support of Interco Final Fee
                              Application (1.0).
 06/09/23 K Banner            Review and revise fee spreadsheets for final fee application.        0.40         $ 254.00
           Total B160 – Fee/Employment Applications                                                2.70       $ 1,720.50


            Total B100 – Administration                                                            3.00       $ 1,911.00


 B200 – Operations
    B230 – Financing/Cash Collateral
 06/02/23 K Banner             Email exchange with G. Weiner regarding NFF distribution            0.10         $ 63.50
                               stipulation.
 06/03/23 K Banner             Review revisions from NFF to secured claim distribution             0.30        $ 190.50
                               stipulation and email exchange with G. Weiner regarding the
                               same.
 06/05/23 K Banner             Review and revise NFF stipulation (.3); draft and revise            0.80        $ 508.00
                               proposed order on NFF stipulation (.4); email exchange with G.
                               Weiner and Trustee regarding the same (.1).
 06/06/23 K Banner             Review NFF revisions to order and email exchange with NFF           0.20        $ 127.00
                               counsel.
 06/08/23 K Banner             Final review of NFF stipulation and review and revise order         0.40        $ 254.00
                               thereon (.3); email exchange with Trustee and NFF counsel
                               regarding the same (.1).
 06/09/23 K Banner             Review entered NFF stipulation order and email exchange with        0.20        $ 127.00
                               Trustee and NFF counsel.
           Total B230 – Financing/Cash Collateral                                                  2.00       $ 1,270.00


            Total B200 – Operations                                                                2.00       $ 1,270.00



Atty : JAK, #264 / P1224080                                Page 2                                 Tax ID # XX-XXXXXXX
                                                                                                Exhibit 2, page 358
   Case 2:19-bk-23085-BB                Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                                    Desc
                                        Main Document   Page 359 of 377
                                            GREENBERG GLUSKER

     2049 Century Park East                                                                  General billing questions: (310) 201-7577
     Suite 2600                                                                                                         (310) 785-6842
     Los Angeles, CA 90067                                                                                  Payments: (310) 785-6846
                                                                                                                       Fax: (310) 553-7018
     Client # 76214,       Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,       Youth Policy Institute, Inc.
                                                                                                              Charges through: 06/30/23
     Invoice date: 07/11/23
     Invoice # 734924

                                                                  FEES
 Date        Timekeeper                                   Description of Services                            Hours            Amount
 Total fees for this matter:                                                                                               $ 3,181.00


                                             Summary Of Attorney Time By Task
                                                ______________________

                                                                   Hours             Rate                    Value

               B120 – Asset Analysis and Recovery
                 K Banner                                           0.30            635.00              $ 190.50

               B160 – Fee/Employment Applications
                 K Banner                                           2.60            635.00             $ 1,651.00
                 JA Krieger                                         0.10            695.00                $ 69.50

               B230 – Financing/Cash Collateral
                 K Banner                                           2.00            635.00             $ 1,270.00

               Total                                                5.00                               $ 3,181.00




                                                         Summary By Task
                                                      ______________________

                                                    Task                                             Hours                Value
                                                    B120 – Asset Analysis and Recovery                0.30             $ 190.50
                                                    B160 – Fee/Employment Applications                2.70           $ 1,720.50
                                                    B230 – Financing/Cash Collateral                  2.00           $ 1,270.00
   Total                                                                                              5.00           $ 3,181.00




                                                          COSTS
                       Date         Description                                                              Amount
                       06/08/23     VENDOR: First Legal Network, LLC INVOICE#:                               $ 25.75
                                    10633018 DATE: 6/15/2023


                       Total costs for this matter:                                                          $ 25.75




Atty : JAK, #264 / P1224080                                      Page 3                                    Tax ID # XX-XXXXXXX
                                                                                                         Exhibit 2, page 359
   Case 2:19-bk-23085-BB                 Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                           Desc
                                         Main Document   Page 360 of 377
                                             GREENBERG GLUSKER

     2049 Century Park East                                                          General billing questions: (310) 201-7577
     Suite 2600                                                                                                 (310) 785-6842
     Los Angeles, CA 90067                                                                          Payments: (310) 785-6846
                                                                                                               Fax: (310) 553-7018
     Client # 76214,      Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,      Youth Policy Institute, Inc.
                                                                                                       Charges through: 06/30/23
     Invoice date: 07/11/23
     Invoice # 734924

                                              Summary Of Costs by Expenses Code
                                                 ______________________

                              Expense                                                 Value
                              E107 – Delivery services/messengers                    $25.75

                              Total                                                  $ 25.75




                                                RECAP OF AMOUNTS DUE
 Total Previous Balance                                                                        $ 560,960.91
                                                                                                                __________
 Balance Forward                                                                                               $ 560,960.91
 Current Month Fees                                                                               $ 3,181.00
 Current Month Costs                                                                                 $ 25.75
                                                                                                                __________
 Total Current Charges                                                                                            $ 3,206.75
                                                                                                                __________
 Total Due from Current Charges                                                                                   $ 3,206.75
                                                                                                                __________
 AMOUNT DUE                                                                                                    $ 564,167.66




                                                   Summary Of Attorney Time
                                                   ______________________

             Attorney                                               Hours     Rate        Value
             J Krieger                                               0.10   695.00      $ 69.50
             K Banner                                                4.90   635.00   $ 3,111.50
             Total                                                   5.00            $ 3,181.00




Atty : JAK, #264 / P1224080                                     Page 4                               Tax ID # XX-XXXXXXX
                                                                                                   Exhibit 2, page 360
         Case 2:19-bk-23085-BB                Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                                      Desc
                                              Main Document   Page 361 of 377

                                                      GREENBERG GLUSKER
          2049 Century Park East                                                            General billing questions: (310) 201-7577
          Suite 2600                                                                                                   (310) 785-6842
          Los Angeles, CA 90067                                                                            Payments: (310) 785-6846
                                                                                                                      Fax: (310) 553-7018
                                                  Jason M. Rund, Chapter 7 Trustee

          Client # 76214                                                                                      Charges through: 06/30/23
          Invoice date: 07/11/23
          Invoice # 734924




                                                                                              Payments and
Matter                                                    Previous              Current        Retainers To        Adjustments
Number      Name                                           Balance             Charges            07/11/23         To 07/11/23         Amount Due
00002       Youth Policy Institute, Inc.              $ 560,960.91           $ 3,206.75              $ 0.00             $ 0.00        $ 564,167.66

                                                      ___________          __________          __________           __________       ___________
            Bill Total                                $ 560,960.91          $ 3,206.75              $ 0.00               $ 0.00      $ 564,167.66


                                  PLEASE ENCLOSE THIS PAGE WITH YOUR REMITTANCE


                                           Wire instructions for the GENERAL account in US Dollars:
                                         Bank Name:               First Republic Bank
                                                                  111 Pine Street
                                                                  San Francisco, CA 94111
                                         SWIFT CODE:              FRBBUS6S
                                         ABA:                     321081669
                                         Account Name:            Greenberg Glusker Fields Claman &
                                                                  Machtinger
                                         Account No.:             #997-0005-4655




  Please reflect the client name and number, and the matters being paid. Payments received will apply first to accrued interest and then to
  costs and fees.
   Atty : JAK, #264 / P1224080                                          Page 5                                       Tax ID # XX-XXXXXXX
                                                                                                                   Exhibit 2, page 361
        Case 2:19-bk-23085-BB                  Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                                      Desc
                                               Main Document   Page 362 of 377
                                                   GREENBERG GLUSKER
          2049 Century Park East                                                             General billing questions: (310) 201-7577
          Suite 2600                                                                                                    (310) 785-6842
          Los Angeles, CA 90067                                                                             Payments: (310) 785-6846
                                                                                                                       Fax: (310) 553-7018
                                                   Jason M. Rund, Chapter 7 Trustee

          Client # 76214                                                                                       Charges through: 07/31/23
          Invoice date: 08/07/23
          Invoice # 736559



                                                                                              Payments and
Matter                                                     Previous              Current       Retainers To          Adjustments
Number Name                                                 Balance             Charges           08/07/23           To 08/07/23        Amount Due
00002   Youth Policy Institute, Inc.                   $ 564,167.66             $ 635.00             $ 0.00               $ 0.00       $ 564,802.66

                                                       ___________          __________          __________           __________       ___________
             Bill Total                                $ 564,167.66            $ 635.00              $ 0.00               $ 0.00      $ 564,802.66




                                                                         Jason M. Rund, Chapter 7 Trustee
                                                                         Sheridan & Rund
                                                                         840 Apollo Street
                                                                         Suite 351
                                                                         El Segundo, CA 90402




   Please reflect the client name and number, and the matters being paid. Payments received will apply first to accrued interest and then to
   costs and fees.
    Atty : JAK, #264 / P1228390                                          Page 1                                       Tax ID # XX-XXXXXXX
                                                                                                                    Exhibit 2, page 362
   Case 2:19-bk-23085-BB               Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                            Desc
                                       Main Document   Page 363 of 377
                                           GREENBERG GLUSKER

     2049 Century Park East                                                            General billing questions: (310) 201-7577
     Suite 2600                                                                                                   (310) 785-6842
     Los Angeles, CA 90067                                                                            Payments: (310) 785-6846
                                                                                                              Fax: (310) 553-7018
     Client # 76214,       Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,       Youth Policy Institute, Inc.

     Invoice date: 08/07/23                                                                           Charges through: 07/31/23
     Invoice # 736559



                                                            FEES
 Date        Timekeeper                             Description of Services                          Hours          Amount

 B100 – Administration
    B110 – Case Administration
 07/12/23 K Banner             Telephone conference with Trustee regarding outstanding items           0.20        $ 127.00
                               prior to case closure.
           Total B110 – Case Administration                                                            0.20        $ 127.00


    B160 – Fee/Employment Applications
 07/25/23 K Banner            Review case docket and recent filings for status of feel                 0.80        $ 508.00
                              applications (.1); review and revise GG final fee application
                              (.5); telephone conference with Trustee regarding the same (.2).
           Total B160 – Fee/Employment Applications                                                    0.80        $ 508.00


             Total B100 – Administration                                                               1.00        $ 635.00


 Total fees for this matter:                                                                                       $ 635.00


                                            Summary Of Attorney Time By Task
                                               ______________________

                                                              Hours            Rate                  Value

               B110 – Case Administration
                 K Banner                                      0.20           635.00              $ 127.00

               B160 – Fee/Employment Applications
                 K Banner                                      0.80           635.00              $ 508.00

               Total                                           1.00                               $ 635.00




Atty : JAK, #264 / P1228390                                Page 2                                    Tax ID # XX-XXXXXXX
                                                                                                   Exhibit 2, page 363
   Case 2:19-bk-23085-BB            Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                          Desc
                                    Main Document   Page 364 of 377
                                        GREENBERG GLUSKER

     2049 Century Park East                                                       General billing questions: (310) 201-7577
     Suite 2600                                                                                              (310) 785-6842
     Los Angeles, CA 90067                                                                       Payments: (310) 785-6846
                                                                                                         Fax: (310) 553-7018
     Client # 76214,      Jason M. Rund, Chapter 7 Trustee
     Matter # 00002,      Youth Policy Institute, Inc.

     Invoice date: 08/07/23                                                                       Charges through: 07/31/23
     Invoice # 736559

                                                Summary By Task
                                             ______________________

                                             Task                                         Hours             Value
                                             B110 – Case Administration                    0.20          $ 127.00
                                             B160 – Fee/Employment Applications            0.80          $ 508.00
   Total                                                                                   1.00          $ 635.00




                                           RECAP OF AMOUNTS DUE
 Total Previous Balance                                                                   $ 564,167.66
                                                                                                          __________
 Balance Forward                                                                                         $ 564,167.66
 Current Month Fees                                                                           $ 635.00
 Current Month Costs                                                                            $ 0.00
                                                                                                          __________
 Total Current Charges                                                                                       $ 635.00
                                                                                                          __________
 Total Due from Current Charges                                                                              $ 635.00
                                                                                                          __________
 AMOUNT DUE                                                                                              $ 564,802.66




                                             Summary Of Attorney Time
                                             ______________________

             Attorney                                        Hours     Rate           Value
             K Banner                                         1.00   635.00        $ 635.00
             Total                                            1.00                 $ 635.00




Atty : JAK, #264 / P1228390                               Page 3                                Tax ID # XX-XXXXXXX
                                                                                              Exhibit 2, page 364
         Case 2:19-bk-23085-BB                Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                                      Desc
                                              Main Document   Page 365 of 377

                                                      GREENBERG GLUSKER
          2049 Century Park East                                                            General billing questions: (310) 201-7577
          Suite 2600                                                                                                   (310) 785-6842
          Los Angeles, CA 90067                                                                            Payments: (310) 785-6846
                                                                                                                      Fax: (310) 553-7018
                                                  Jason M. Rund, Chapter 7 Trustee

          Client # 76214                                                                                      Charges through: 07/31/23
          Invoice date: 08/07/23
          Invoice # 736559




                                                                                              Payments and
Matter                                                    Previous              Current        Retainers To        Adjustments
Number      Name                                           Balance             Charges            08/07/23         To 08/07/23         Amount Due
00002       Youth Policy Institute, Inc.              $ 564,167.66             $ 635.00              $ 0.00             $ 0.00        $ 564,802.66

                                                      ___________          __________          __________           __________       ___________
            Bill Total                                $ 564,167.66            $ 635.00              $ 0.00               $ 0.00      $ 564,802.66


                                  PLEASE ENCLOSE THIS PAGE WITH YOUR REMITTANCE


                                           Wire instructions for the GENERAL account in US Dollars:
                                         Bank Name:               First Republic Bank
                                                                  111 Pine Street
                                                                  San Francisco, CA 94111
                                         SWIFT CODE:              FRBBUS6S
                                         ABA:                     321081669
                                         Account Name:            Greenberg Glusker Fields Claman &
                                                                  Machtinger
                                         Account No.:             #997-0005-4655




  Please reflect the client name and number, and the matters being paid. Payments received will apply first to accrued interest and then to
  costs and fees.
   Atty : JAK, #264 / P1228390                                          Page 4                                       Tax ID # XX-XXXXXXX
                                                                                                                   Exhibit 2, page 365
Case 2:19-bk-23085-BB   Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49   Desc
                        Main Document   Page 366 of 377




               Exhibit 3
   Case 2:19-bk-23085-BB                      Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                                    Desc
                                              Main Document   Page 367 of 377

                    Task Code    Attorney or Paraprofessional            Hourly Rate ($)       TIME         VALUE
                    B110 Case Adminstration
                    B110         Banner, Keith                                475-635          14.10         $6,405.00
                    B110         Krieger, Jeffrey A                           625-695           5.90         $3,666.00
                    B110         Pickrell, Curtis                              350              2.30           $35.00
                    B120 Asset Analysis and Recovery
                    B120         Banner, Keith                                475-635         116.00        $62,854.00
                    B120         Davidoff, Brian                               725              1.20          $900.00
                    B120         Krieger, Jeffrey A                           625-695          26.80        $16,404.50
                    B120         Parino, Daniel                                325              6.20         $2,015.00
                    B120         Sokol, Jonathan B                            675-725           4.40         $2,646.50
                    B130 Asset Disposition
                    B130         Banner, Keith                                475-635          29.90        $15,851.50
                    B130         Krieger, Jeffrey A                           625-695           1.80          $979.50
                    B140 Relief from Stay / Adequate Protection Proceedings
                    B140         Banner, Keith                                475-635           7.10         $3,412.50
                    B140         Krieger, Jeffrey A                           625-695           1.90         $1,254.00
                    B150 Meetings of and Communications with Creditors
                    B150         Banner, Keith                                475-635          14.70         $7,442.00
                    B150         Krieger, Jeffrey A                           625-695           0.70          $253.50
                    B160 Fee/Employment Applications
                    B160         Banner, Keith                                475-635          24.20        $13,545.50
                    B160         Davidoff, Brian                               725              0.30          $217.50
                    B160         Krieger, Jeffrey A                           625-695           4.30         $2,820.00
                    B170 Fee/Employment Objections
                    B170         Krieger, Jeffrey A                           625-695           0.80          $540.00
                    B180 Avoidance Action Analysis
                    B180         Banner, Keith                                475-635          47.80        $27,190.00
                    B180         Krieger, Jeffrey A                           625-695          13.70         $8,572.50
                    B185 Assumption/Rejection of Leases and Contracts
                    B185         Banner, Keith                                475-635          55.60        $27,822.50
                    B185         Fishelman, Lauren R                           400              4.20         $1,680.00
                    B185         Krieger, Jeffrey A                           625-695          22.50        $14,373.50
                    B190 Other Contested Matters (excluding assumption/rejection motions)
                    B190         Azar, Alan                                    425              1.90          $807.50
                    B190         Banner, Keith                                475-635          70.40        $37,978.00
                    B190         Krieger, Jeffrey A                           625-695          14.50         $9,495.00
                    B220 Employee Benefits / Pensions
                    B220         Banner, Keith                                475-635          10.20         $5,025.00
                    B220         Krieger, Jeffrey A                           625-695           3.50         $2,205.00
                    B220         Lane, Wendy E                                 625              0.20          $125.00
                    B230 Financing / Cash Collateral
                    B230         Banner, Keith                                475-635          48.20        $25,700.50
                    B230         Krieger, Jeffrey A                           625-695          25.30        $15,942.00
                    B240 Tax Issues
                    B240         Banner, Keith                                475-635           7.40         $4,230.50
                    B310 Claims Administration and Objections
                    B310         Banner, Keith                                475-635          33.90        $20,301.00
                    B310         Cestero, Ricardo P                            675              0.00             $0.00
                    B310         Krieger, Jeffrey A                           625-695           1.90         $1,139.50
                    B410 Grant Receivables
                    B410         Banner, Keith                                475-635          68.40        $36,427.50
                    B410         Krieger, Jeffrey A                           625-695           8.40         $4,564.50
                    B420 Commercial Tort Claims
                    B420         Banner, Keith                                475-635         187.80       $107,918.50
                    B420         Cestero, Ricardo P                            675              0.50          $337.50
                    B420         Krieger, Jeffrey A                           625-695          82.30        $52,350.50
                    B420         Sokol, Jonathan B                            675-725          14.20         $9,886.50

                                                      GRAND TOTAL:                            985.40       $555,314.50

                                                                                            Blended Rate   $563.54




11/14/2018 2:26:34 PM                                                                                                Exhibit 3, page 367
Case 2:19-bk-23085-BB   Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49   Desc
                        Main Document   Page 368 of 377




               Exhibit 4
  Case 2:19-bk-23085-BB      Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                        Desc
                             Main Document   Page 369 of 377

                        Cost Code                    Description             Amount
                            E100    Expenses                                   $0.00
                            E101    Copying                                    $0.00
                            E102    Outside printing                         $450.70
                            E103    Word processing                            $0.00
                            E104    Facsimile                                  $0.00
                            E105    Telephone                                 $50.33
                            E106    Online research                          $770.11
                            E107    Delivery services/messengers             $719.28
                            E108    Postage                                  $668.57
                            E109    Local travel                               $0.00
                            E110    Out-of-town travel                         $0.00
                            E111    Meals                                      $0.00
                            E112    Court fees                              $6,450.31
                            E113    Subpoena fees                              $0.00
                            E114    Witness fees                               $0.00
                            E115    Deposition transcripts                     $0.00
                            E116    Trial transcripts                          $0.00
                            E117    Trial exhibits                             $0.00
                            E118    Litigation support vendors               $370.76
                            E119    Experts                                    $0.00
                            E120    Private investigators                      $0.00
                            E121    Arbitrators/mediators                      $0.00
                            E122    Local counsel                              $0.00
                            E123    Other professionals                        $0.00
                            E124    Other                                      $8.10

                                                                   TOTAL:   $9,488.16




11/14/2018 2:26:34 PM                                                                   Exhibit 4, page 369
Case 2:19-bk-23085-BB   Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49   Desc
                        Main Document   Page 370 of 377




                Exhibit 5
8/15/23, 2:30Case
              PM  2:19-bk-23085-BB                    Doc 265 Filed 08/15/23         Entered
                                                                    Biography | Jeffrey A. Krieger 08/15/23 18:10:49           Desc
                                                      Main Document     Page 371 of 377
~   Greenberg
~ ~ Glusker


Jeffrey A. Krieger
Partner
Ph. 310-785-6869
Fax 310-201-2343


HOME > OUR PEOPLE > JEFFREY A. KRIEGER


Jeff Krieger is a partner at Greenberg Glusker and a specialist in
bankruptcy-related matters. He joined the firm in October of                                            SERVICES
1991 after a stint as a summer associate during law school. He                                          Bankruptcy, Reorganization &
                                                                                                        Capital Recovery
returned after graduation and became a partner in 1998.
                                                                                                        Restructuring & Loan
                                                                                                        Workout
Jeff’s practice is broad and encompasses both creditors and debtors, as well as
clients whose business dealings are potentially affected by financial distress,                         Real Estate
whether involving a vendor, a customer, business partner or simply a                                    Financing Transactions
stakeholder. By combining strategic, high-level counsel with deep expertise in                          Sports
the procedural elements of bankruptcy law, Jeff assists his clients in managing
the risks presented by bankruptcy proceedings and maximizing the
opportunities.
                                                                                                                 • Chambers t
Whenever someone engaged in a business undertaking becomes involved,
even obliquely, in Chapter 11, it affects everyone connected with them. By
strategizing early and acting decisively in these situations, Jeff’s clients can
often either limit their potential exposure, take advantage of a newly uncovered
opportunity, or both.
                                                                                                         -- -.
                                                                                                         '
                                                                                                             '         RANK ED IN


                                                                                                                       USA 1
                                                                                                                  •2023•
                                                                                                                  Jeffrey Krieger
                                                                                                                                    '




Although he has counseled clients in a range of industries, real estate and
entertainment (particularly production studios and television companies) are
two of Jeff’s primary industry verticals. For these clients, he often acts as a kind                     JEl=rReY A. KAIEGER            2023

of Distant Early Warning system when a party with whom they have business
dealings—say, a contractual relationship—either enters Chapter 11 or begins                              Best Lawjeis
exhibiting signs of financial distress. In these situations, Jeff works with a client
to evaluate the situation, and review the key tactical issues: “How do I protect                        Bankruptcy and Creditor
myself?”; “Can I continue to do business with this company?”; “How do we                                Debtor Rights / Insolvency
collect what we’re owed?”; and “When should we terminate this arrangement?”                             and Reorganization Law

Jeff’s experience and strategic sense often enable him to utilize bankruptcy as
a source of competitive advantage for his clients. For example, this may involve
purchasing an asset from a bankrupt entity at a significant discount using
Section 363 proceedings. It may also mean enabling a client to recover assets
that were assumed to be unavailable by carefully reviewing the bankruptcy
filings and the debtor’s status. An example of this might be a subordinated
creditor who, unexpectedly, had not been required by the senior creditor to                                      Jeffrey A. Krieger
waive the right to marshall assets and consequently recovered over one million

                                                                                                          Exhibit 5, page 371
https://www.greenbergglusker.com/jeffrey-a-krieger/                                                                                            1/3
8/15/23, 2:30Case
              PM  2:19-bk-23085-BB       Doc 265 Filed 08/15/23                 Entered
                                                               Biography | Jeffrey A. Krieger 08/15/23 18:10:49   Desc
                                         Main   Document           Page     372
dollars for the client. Jeff has a wide array of tools in his legal toolbox and    of 377
                                                                                       will
use the most effective one for the business situation at hand.

Bankruptcy is, despite all the legal issues involved, ultimately a business
situation. In that context, Jeff recognizes that a negotiated resolution is usually
preferable to a litigated one. A practical solution that’s based on a business-
oriented analysis of the cost and benefits of different options is almost always
superior to heading for the courthouse. Jeff’s ability to do this is informed by an
intimate, firsthand knowledge of the bankruptcy bench—his longstanding
working relationship with Southern California bankruptcy judges gives his
arguments impact—they listen because they know him. Effective arguments
and practice before the bankruptcy bench can often forestall the need to make
arguments elsewhere later.

As is so often the case in business, the ultimate effect of bankruptcy
proceedings depends in large measure on how they’re managed. What initially
appears to be an unworkable or very negative situation can often contain
significant latent advantages. Utilizing a combination of strategic thinking and
planning, and careful, expert guidance through the nuances of bankruptcy
statutes and procedure, Jeff insures the best possible outcome for his clients
and converts latent advantages into tangible ones.


Professional Af liations
 ●   Member, Athletes Touch networking group
 ●   Former Chair, Commercial Law and Bankruptcy Section of Los Angeles
     County Bar Association

Charitable & Civic Involvement
 ●   Board of Directors and Executive Committee, Special Olympics Southern
     California
     – Member (January 2002 - December 2018)
     – Chairman (January 2016 - December 2018)
     – Chair Emeritus (January 2019 - Present)
 ●   Voting Member, Maccabi USA Sports for Israel

Awards
 ●   Chambers USA, Leading Lawyer in Bankruptcy/Restructuring, 2022-2023
 ●   Selected to Los Angeles Times' Banking and Finance Visionaries List, 2023
                                                      ®
 ●   Listed, The Best Lawyers in America - Bankruptcy Law, 2018-2023
 ●   Southern California Super Lawyers, 2021-2023
 ●   Rated, "AV Preeminent 5.0 out of 5," Martindale Hubbell

Bar Admissions
 ●   California


Education
 ●   University of California, Davis School of Law (J.D., 1991)
                                                                                                   Exhibit 5, page 372
https://www.greenbergglusker.com/jeffrey-a-krieger/                                                                      2/3
8/15/23, 2:30Case
              PM  2:19-bk-23085-BB   Doc 265 Filed 08/15/23         Entered
                                                   Biography | Jeffrey A. Krieger 08/15/23 18:10:49              Desc
 ●   Swarthmore College (B.A., 1986) Main Document     Page     373    of 377
     – Economics Major


                                          Greenberg Glusker Fields Claman & Machtinger LLP
               2049 Century Park East · Suite 2600 · Los Angeles, CA · 90067 310-553-3610 · info@greenbergglusker.com
                       Copyright © 2023 Greenberg Glusker Fields Claman & Machtinger LLP. Website Credits




                                                                                                   Exhibit 5, page 373
https://www.greenbergglusker.com/jeffrey-a-krieger/                                                                      3/3
8/15/23, 2:30Case
              PM  2:19-bk-23085-BB                Doc 265 FiledBiography
                                                                08/15/23         Entered
                                                                         | Keith Patrick      08/15/23 18:10:49
                                                                                         Banner                      Desc
                                                  Main Document     Page 374 of 377
~   Greenberg
~ ~ Glusker


Keith Patrick Banner
Partner
Ph. 310-201-7469
Fax 310-553-0687


HOME > OUR PEOPLE > KEITH PATRICK BANNER


Keith Patrick Banner is a partner in Greenberg Glusker’s
Bankruptcy and Financial Restructuring Group.                                                      SERVICES
                                                                                                   Bankruptcy, Reorganization &
Keith focuses on business insolvency and distressed transactions with relevant                     Capital Recovery
experience in a variety of industries, including retail, entertainment, technology                 Restructuring & Loan
and real estate. Providing a calm and understanding approach to what often                         Workout
amounts to a rather tumultuous time for a business, Keith helps guide                              Corporate Structuring &
companies through a myriad of insolvency solutions that are appropriate for                        Operations
the particular circumstance, including out-of-court transactions, such as the                      Mergers & Acquisitions
refinance of complex loan facilities or an assignment for the benefit of creditors
(“ABC”); or through the bankruptcy court in a chapter 11 reorganization or                         Corporate,
                                                                                                   -  ---     Finance
                                                                                                                 --   &
                                                                                                   Securities
chapter 7 liquidation.

In addition to representing distressed businesses, Keith also represents
bankruptcy trustees in chapter 11 and chapter 7 cases, navigating through
                                                                                                           • Chambers t


                                                                                                   -- -.
complex investigations, asset sales, contentious litigation and the variety of                         '      RANKED IN    '

other aspects of such bankruptcies. Keith is further skilled in bankruptcy-
related litigation, including fraudulent transfer and preference recovery                          '         USA 1
actions.
                                                                                                           •2023•
Beyond his bankruptcy practice, Keith also has significant experience in a                                  Keith Banner
variety of corporate transactions, including mergers and acquisitions and
private equity investments.

Prior to joining the firm, Keith served as the judicial law clerk to the Honorable
Peter H. Carroll, U.S. Bankruptcy Judge for the Central District of California. Prior
to clerking, Keith practiced at an AM Law 100 firm and a boutique insolvency
firm, both located in Los Angeles. This diversity of experience provides Keith
with a broad perspective and the tools for a company’s successful
rehabilitation.


Clerkship
 ●   Honorable U.S. Bankruptcy Judge Peter H. Carroll for the Central District of
     California

Professional Af liations
 ●   Board Member, Los Angeles Bankruptcy Forum (LABF)
                                                                                                       Exhibit 5, page 374
https://www.greenbergglusker.com/keith-patrick-banner/                                                                         1/2
8/15/23, 2:30Case
              PM  2:19-bk-23085-BB   Doc 265 FiledBiography
                                                    08/15/23        Entered
                                                            | Keith Patrick      08/15/23 18:10:49
                                                                            Banner                               Desc
 ●
                                     Main  Document
     Member, Financial Lawyers Conference (FLC)        Page     375    of   377
 ●   Member, American Bankruptcy Institute (ABI)

Awards
 ●   Chambers USA, Up and Coming in Bankruptcy/Restructuring, 2022–2023
 ●   Selected to Los Angeles Times' Banking and Finance Visionaries List, 2023

Bar Admissions
 ●   California

Court Admissions
 ●   Central District of California
 ●   Eastern District of California
 ●   Northern District of California


Education
 ●   Northwestern University School of Law (J.D., cum laude, 2008)
 ●   University of California, Los Angeles (B.A., summa cum laude, 2005)
     – Political Science


                                          Greenberg Glusker Fields Claman & Machtinger LLP
               2049 Century Park East · Suite 2600 · Los Angeles, CA · 90067 310-553-3610 · info@greenbergglusker.com
                       Copyright © 2023 Greenberg Glusker Fields Claman & Machtinger LLP. Website Credits




                                                                                                   Exhibit 5, page 375
https://www.greenbergglusker.com/keith-patrick-banner/                                                                   2/2
        Case 2:19-bk-23085-BB                    Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                                       Desc
                                                 Main Document   Page 376 of 377



                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
2049 Century Park E #2600, Los Angeles, CA 90067


A true and correct copy of the foregoing document entitled (specify): GREENBERG GLUSKER FIELDS
CLAMAN & MACHTINGER LLP’S FIRST AND FINAL APPLICATION FOR COMPENSATION AND REIMBURSEMENT
OF EXPENSES: DECLARATION OF KEITH PATRICK BANNER IN SUPPORT THEREOF

will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in
the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
August 15, 2023      , I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:
• Keith Patrick Banner kbanner@greenbergglusker.com, vafanasieva@greenbergglusker.com,
calendar@greenbergglusker.com
• Robert D Bass bob.bass47@icloud.com
• Magdalena R Bordeaux mbordeaux@publiccounsel.org
• Shawn M Christianson cmcintire@buchalter.com, schristianson@buchalter.com
• Brian L Davidoff bdavidoff@greenbergglusker.com, calendar@greenbergglusker.com, jking@greenbergglusker.com
• Philip D Dracht pdracht@drachtlaw.com
• Steven Goldsobel steve@sgoldsobel.com, vandad@sgoldsobel.com
• EmmaElizabeth A Gonzalez egonzalez@publiccounsel.org
• Sheryl K Ith sith@cookseylaw.com
• Jeffrey A Krieger jkrieger@ggfirm.com, kwoodson@greenbergglusker.com, calendar@greenbergglusker.com,
jking@greenbergglusker.com
• David W. Meadows david@davidwmeadowslaw.com
• Kevin Meek kmeek@robinskaplan.com, kevinmeek32@gmail.com, kmeek@ecf.inforuptcy.com
• Hayes F Michel hmichel@krakowskymichel.com
• Christopher E Prince cprince@lesnickprince.com, jmack@lesnickprince.com, cprince@ecf.courtdrive.com,
jnavarro@lesnickprince.com
• Jason M Rund (TR) trustee@srlawyers.com, jrund@ecf.axosfs.com
• Daniel C Sharpe daniel.c.sharpe@me.com
• Summer M Shaw ss@shaw.law, shawsr70161@notify.bestcase.com, shawsr91811@notify.bestcase.com
• Matthew N Sirolly msirolly@dir.ca.gov
• United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov
• Andy C Warshaw awarshaw@bwlawcenter.com, warshaw.andyb110606@notify.bestcase.com
• Genevieve G Weiner gweiner@sidley.com, laefilingnotice@sidley.com, genevieve-weiner-0813@ecf.pacerpro.com

                                                                                       □ Service information continued on attached page
2. SERVED BY UNITED STATES MAIL:
On (date)                     , I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.




                                                                                       □ Service information continued on attached page
            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
        Case 2:19-bk-23085-BB                    Doc 265 Filed 08/15/23 Entered 08/15/23 18:10:49                                       Desc
                                                 Main Document   Page 377 of 377


3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) August 15, 2023 , I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.
Honorable Sheri Bluebond
United States Bankruptcy Court
Central District of California
Edward R. Roybal Federal Building and Courthouse
255 E. Temple Street, Suite 1534 / Courtroom 1539
Los Angeles, CA 90012

                                                                                       □ Service information continued on attached page
I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

August 15, 2023                Viktoriia Afanasieva                                            /s/ Viktoriia Afanasieva
 Date                          Printed Name                                                     Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
